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                            2024-1504, 2024-1566


UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                                 CVB, INC.,
                              Plaintiff-Appellant

                                      v.

                            UNITED STATES,
                         Defendant-Cross-Appellant

  BROOKLYN BEDDING, LLC, CORSICANA MATTRESS CO., ELITE
 COMFORT SOLUTIONS, FXI, INC., INNOCOR, INC., KOLCRAFT EN-
   TERPRISES, INC., LEGGETT & PLATT, INC., INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, UNITED STEEL, PAPER AND FOR-
ESTRY, RUBBER, MANUFACTURING, ENERGY, ALLIED INDUSTRIAL
   AND SERVICE WORKERS INTERNATIONAL UNION, AFL-CIO,
                       Defendants-Appellees


        Appeals from the United States Court of International Trade in
         No. 1:21-cv-00288-SAV, Judge Stephen Alexander Vaden


       NONCONFIDENTIAL PRINCIPAL BRIEF OF CVB, INC.

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Dated: June 21, 2024                 Counsel to Plaintiff-Appellant CVB, Inc.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-1504, 2024-1566
   Short Case Caption CVB, Inc. v. US
   Filing Party/Entity CVB, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        06/21/2024
  Date: _________________                   Signature:    /s/ Geoffrey M. Goodale

                                            Name:         Geoffrey M. Goodale
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




CVB, Inc.




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬
                                           ✔     Additional pages attached

See Attachment A




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                       ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬     Additional pages attached
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   ATTACHMENT A
           Case: 24-1504        Document: 26   Page: 6   Filed: 06/21/2024




                     Attachment A to Certificate of Interest
                        CAFC No. 2024-1504, 2024-1566


The names of all law firms and the partners or associates that appeared for the party
or amicus now represented by me in the trial court or agency or are expected to
appear in this court are:



Appearing before this Court:                   Duane Morris LLP
                                               Geoffrey M. Goodale, Partner
                                               Andrew R. Sperl, Partner
                                               Lauren E. Wyszomierski, Associate
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Before trial court or agency:                  Duane Morris LLP
                                               Geoffrey M. Goodale, Brian H.
                                               Pandya, Andrew R. Sperl, Ryan M.
                                               Eletto, Nathan J. Heeter, and Lauren E.
                                               Wyszomierski

                                               Larson LLP
                                               Stephen G. Larson, Robert C. O’Brien,
                                               and Paul A. Rigali
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CONFIDENTIAL MATERIAL OMITTED
The material omitted on page 10 describes specific numbers of producers provid-
ing particular U.S. Producer Questionnaire responses. The material omitted in foot-
note 1 on page 10 is the names of two mattress producers. The material omitted on
page 11 is a descriptor of specific mattress production figures, and a specific per-
centage of relative market share. The material omitted on page 12 is the names of
specific purchasers. The material omitted on page 14 is specific percentages of
mattress consumption across the period of investigation. The material omitted on
page 15 is specific market share percentages. The material omitted on page 16 is a
descriptor of the size of a share of U.S. consumption. The material omitted on page
17 is descriptors of shares and specific percentages of shares of the boxed mattress
and flat-packed mattress market segments. The material omitted on page 29 is a
descriptor of specific mattress production figures. The material omitted on page 31


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is the name of a specific purchaser. The material omitted on page 33 is a percent-
age from a proprietary sleep study. The material omitted on page 41 is specific per-
centage declines of certain domestic sales prices. The material omitted at the top of
page 42 is a specific product number, and a descriptor of a specific quantity of
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                        STATEMENT OF RELATED CASES

      Pursuant to Rule 47.5 of the Rules of the United States Court of Appeals for

the Federal Circuit, counsel for Plaintiff-Appellant CVB, Inc. identifies the follow-

ing related cases, as previously noticed in CVB, Inc.’s Notice of Related Case Infor-

mation:


   1. PT Zinus Global Indonesia v. United States, Consol. Court No. 2021-00277

      (Ct. of Int’l Trade); opinion issued February 20, 2024; Jennifer Choe-Groves,

      Judge; 686 F. Supp. 3d 1349


   2. Best Mattresses International Company Limited et al v. United States, Consol.

      Court No. 2021- 00281 (Ct. Int’l Trade); opinion issued May 16, 2024; Gary

      S. Katzmann, Judge; 2024 WL 2206461


   3. Ashley Furniture industries, LLC, et al., Court No. 2021-00283 (Ct. Int’l

      Trade); opinion issued November 28, 2022; Timothy M. Reif, Judge; 607 F.

      Supp. 3d 1210


   4. Brooklyn Bedding, LLC, et al. v. United States, Court No. 2021-00285 (Ct.

      Int’l Trade); opinion issued December 22, 2023; M. Miller Baker, Judge; 2023

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                          JURISDICTIONAL STATEMENT

      The International Trade Commission issued its final affirmative injury deter-

mination on May 14, 2021, and CVB timely filed its complaint in the Court of In-

ternational Trade on July 13, 2021. The Court of International Trade had jurisdiction

pursuant to 28 U.S.C. § 1581(c).

      The Court of International Trade sustained the Commission’s final affirmative

injury determination by order and opinion dated December 19, 2023, and CVB

timely appealed to this Court on February 15, 2024. Appx005, Appx673. The Court

of International Trade’s order sustaining the Commission’s final affirmative injury

determination was a final order that disposed of all parties’ claims. This Court has

jurisdiction pursuant to 28 U.S.C. § 1295(a)(5).




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                            STATEMENT OF THE ISSUES

      1.     Was the affirmative injury determination of the International Trade

Commission unsupported by substantial evidence and contrary to law where the

Commission did not fairly address all of the record evidence establishing significant

market segmentation between boxed mattresses (“Mattresses in a Box” or “MiBs”)

and flat-packed mattresses (“FPM”), and where the Commission manipulated data

to avoid a finding of significant market segmentation?

      2.     Was the Commission’s cursory alternative holding that domestic man-

ufacturers of MiBs were injured by subject imports sufficient by itself to support the

Commission’s affirmative injury determination, such that the Commission’s multi-

ple errors were harmless?




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                             STATEMENT OF THE CASE

I.    Procedural Background

      Petitioners Brooklyn Bedding, Corsicana Mattress Co., Elite Comfort Solu-

tions, FXI, Inc., Innocor, Inc., Kolcraft Enterprises, Inc., Leggett & Platt, Inc., the

International Brotherhood of Teamsters, and United Steel, Paper and Forestry, Rub-

ber, Manufacturing, Energy, Allied Industrial and Service Workers International Un-

ion, AFL-CIO (collectively, “Petitioners”), filed petitions with the U.S. Department

of Commerce (“Commerce”) and the International Trade Commission (“Commis-

sion”) seeking the imposition of antidumping and countervailing duties on imports

of mattresses from Cambodia, China, Indonesia, Malaysia, Serbia, Thailand, Tur-

key, and Vietnam (the “Subject Countries”) on March 31, 2020. Appx1000-1004.

Appellant CVB, Inc. (“CVB”) is an importer of subject merchandise and participated

in proceedings before the Commission as an interested party pursuant to 19 U.S.C.

§ 1677(9)(A). Appx099.

      The Commission made a preliminary affirmative injury determination on May

15, 2020. See Appx9046. Commerce then published its preliminary affirmative

countervailing duty determination on mattresses from China on September 11, 2020,

and its preliminary affirmative determinations on sales at less than fair value for

mattresses from Cambodia, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vi-

etnam on November 3, 2020. See Mattresses From the People’s Republic of China:



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Preliminary Affirmative Countervailing Duty Determination, and Alignment of Fi-

nal Determination With Final Antidumping Duty Determination, 85 Fed. Reg.

56,216 (Dep’t Commerce Sept. 11, 2020); see also 85 Fed. Reg. 69,594 (Cambodia),

69,597 (Indonesia), 69,574 (Malaysia), 69,589 (Serbia), 69,568 (Thailand), 69,571

(Turkey), 69,591 (Vietnam) (Dep’t Commerce Nov. 3, 2020).

      Following the Commission’s final phase investigations, five Commissioners

made an affirmative determination that an industry in the United States is materially

injured by reasons of imports of mattresses from the Subject Countries. The Com-

mission published its final determinations on May 14, 2021. See Appx14727-14738.

On that same date, Commerce published its antidumping duty order on mattresses

from the Subject Countries, as well as its countervailing duty order on mattresses

from China. See Mattresses From Cambodia, Indonesia, Malaysia, Serbia, Thai-

land, the Republic of Turkey, and the Socialist Republic of Vietnam: Antidumping

Duty Orders and Amended Final Affirmative Antidumping Determination for Cam-

bodia, 86 Fed. Reg. 26,460 (Dep’t Commerce May 14, 2021); Mattresses From the

People’s Republic of China: Countervailing Duty Order, 86 Fed. Reg. 26,463 (Dep’t

Commerce May 14, 2021).

      CVB sought judicial review of the Commission’s final affirmative injury de-

termination. It timely filed a complaint on July 13, 2021 in the Court of International

Trade. Appx087. The case was assigned to Judge Stephen Alexander Vaden.


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Appx088. Petitioners were granted leave to intervene in the Court of International

Trade as Defendant-Intervenors. Appx088. CVB filed its Motion for Judgment on

the Agency Record on March 29, 2022, pursuant to Court of International Trade

Rule 56.2. Appx091. After the Motion was fully briefed, the Court of International

Trade heard argument on December 15, 2022. Appx094. Just over one year later, on

December 19, 2023, the Court issued its opinion sustaining the Commission’s final

affirmative injury determination. Appx095-096. See CVB, Inc. v. United States, 675

F. Supp. 3d 1324 (Ct. Int’l Trade 2023) (Vaden, J.).

II.   Factual Background

      A.     The U.S. mattress industry and U.S. mattress market are highly
             segmented between boxed mattresses and flat-packed mattresses.

             1.    MiBs and FPMs are significantly different products.
      The Commission’s affirmative injury determination was predicated on the

Commission’s refusal to recognize the attenuated competition between two types of

mattresses: “Mattresses in a Box”, or “MiBs”, on the one hand, and “Flat-Packed

Mattresses”, or “FPMs”, on the other hand. As described below, the Commission’s

failure to analyze FPMs and MiBs as distinct market segments undermined most of

its reasoning and was rightly criticized by the Court of International Trade.

      In general, “{m}attresses are defined by the industry as a resilient material or

combination of materials generally enclosed by ticking that is intended or promoted

for sleeping upon by people.” Appx14745. As the Commission defined them, FPMs


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are mattresses that are “packaged for shipment and delivery flat”, while MiBs are

“rolled and boxed.” Appx14745. However, contrary to the Commission’s reasoning,

MiBs and FPMs differ in much more than packaging. Although their consumer uses

may be similar, the products differ significantly in their overall business model, in-

cluding design, production, transportation, and sale.

      Mattresses that are rolled and compressed as MiBs are designed and produced

differently than FPMs. Whereas FPMs do not need to be rolled, MiB mattresses are

rolled, which requires particular equipment and production steps (such as drying and

roll packing) oriented toward ensuring that MiB products return to their original

form once unpacked. Appx7821. To achieve successful recovery from compression

and avoid breakage issues, an entirely new product must be engineered, and the MiB-

specific production steps can take years of trial and error to perfect. Appx7822. MiB

production requires investments in “capital intensive machines that enclose the foam

mattress in plastic, compress the mattress, then roll the mattress to be put into a box.”

See Appx14808.

      In the Commission’s previous investigation of mattresses from China, Ashley

Furniture’s Vice President of Procurement, International Sourcing Operations and

Regulatory Affairs explained the design and production differences, stating that:

             {T}ransitioning to production of MiBs is not as simple as
             purchasing a rolling machine and flipping the switch. We
             invested millions of dollars, not just in the machinery to
             compress, roll-pack, bale, wrap, and box the product, but

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              also to reengineer the product all together. . . It also re-
              quires the perfect engineering of pocketed coil manufac-
              turing, fabric and foam layer application and sewing in
              quilting in a way that is able to feed efficiently into the
              compression machine. In order to make this production
              work, we had to completely redesign the products we sold
              to be compatible with this process.

Appx7574-7575.

       CVB likewise noted in the preliminary phase of the Commission’s investiga-

tion that:

              {O}n mattresses made to be roll compressed, foam must
              be a certain quality and cured for a longer duration before
              it can be reliably compressed. After curing, the smart pro-
              ducers also pre-compress the foam in bulk through large
              compression machines to remove air and make certain the
              rebound is sufficient. If the foam is not made to specific
              certifications, the mattress will not decompress. This
              means that a mattress stays in a flattened state, would not
              provide any cushioning, and doesn’t return to the original
              pre-compressed height.

Appx7862.

       Testimony during the Commission hearing further highlighted the physical

differences between MiBs and FPMs. See Appx12437-12438; see also

Appx115233-115235 (providing full specifications of foam and coil design for

MiBs). The Commission ignored this evidence in concluding simply that “MiBs and

FPMs can be produced to the same specifications using the same springs and foam,

with the exception that innerspring MiBs must omit the border wire that innerspring

FPMs may possess.” Appx14768.

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      Additionally, public statements from companies within the petitioning group

showed that such companies view the MiB segment as distinct and requiring signif-

icant investment. After investing roughly $9 million to open a 165,000-square-foot

manufacturing facility in La Porte, Indiana, the CEO of Corsicana Mattress Co., Mi-

chael Thompson, stated that Corsicana has had “significant growth in our boxed bed

business and require{s} a facility that is appropriately equipped with well-trained

employees to provide the manufacturing efficiency to support that growth.”

Appx11712. The company also explained that the new facility would allow it to ac-

cess “key markets and provide same day shipping for customers.” Appx11712. In its

2019 annual report, Leggett & Platt, Inc. described MiBs as products that have “rev-

olutionized the U.S. bedding industry and created tremendous opportunities.”

Appx11718. The report describes the growth in online compressed mattress brands

as transforming the industry by providing “{p}roducts that are easily shippable, ef-

ficiently stored by retailers, and easily carried home by consumers.” Appx11725.

      If the product differences between FPMs and MiBs were limited to the pack-

aging, then FPM producers would quickly and easily shift to selling more preferable

MiBs. Indeed, from the perspective of the MiB producer, the efficiencies generated

by the MiB model make the transition to MiB, if possible, a “no-brainer.” Appx7570.

The fact that producers have not made that transition suggests that the differences

between FPMs and MiBs extends beyond their packaging material.


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            2.     There is significant specialization between domestic produc-
                   ers of boxed mattresses and flat-packed mattresses.

      Domestic producers tend to focus on either FPM or MiB production. As de-

scribed above, the production of MiBs requires capital-intensive investments in spe-

cific assets and operations. These include rolling and compression machinery

(Appx14808 (“{f}or compressed mattresses, U.S. producers use capital intensive

machines that enclose the foam mattress in plastic, compress the mattress, then roll

the mattress to be put into a box.”)), as well as development of components which

are compatible with the MiB production process. See Appx7862-7863. Companies

cannot merely flip a switch and begin producing MiBs. See Appx7574.

      In fact, almost all firms specialize in production of either MiB or FPM mat-

tresses. Of the 53 U.S. producers submitting usable U.S. Producers’ Questionnaire

responses, [  ] produce only MiBs, and [  ] produce only FPMs (and [  ] more

produce 90 percent or more FPMs).1 See Appx114520. Further, out of 53 responding

U.S. producers, only 12 produced both MiBs and FPMs. Appx114520;

Appx124195-124198. The Court of International Trade found that despite the Com-

mission’s insistence that the domestic producers that produced both MiBs and FPMs

“represented a majority of domestic boxed mattress production in 2019”, they in fact


1
 The compilation chart appearing at Appx114520 omits producers [QDPH ] (which
makes exclusively MiBs) and [ QDPH ] (which makes exclusively FPMs). See
Appx124195-124198.

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represent “less than a quarter” of such production when, as described further below,

the data are analyzed fairly. Appx031. In fact, the top producers of each product

have little if any production of the other product. With respect to manufacturers of

MiBs, “all three of the largest domestic boxed mattress producers manufactured no

flat-packed mattresses.” Appx030. Conversely, each of the “three largest domestic

producers of flat-packed mattresses” produced only a “[…………]”
                                                       GHVFULSWLRQ volume of

MiBs, with their “market share in flat-packed mattresses . . . at least [    ] times

greater than its share of the domestic boxed mattress market.” Appx032-033. See

also Appx124195-124198.

             3.    Purchasers of boxed mattresses and flat-packed mattresses
                   are specialized and have distinct preferences between mat-
                   tress types.

      Consumer preferences for one style of mattress or the other are also articulated

at the wholesaler level, when retailers—be they online, brick and mortar, or omni-

channel2—place their orders for products. Even if their customers have the ability to

choose between an MiB and an FPM, retailers have already committed to one of the

two types, and the data demonstrate significant bifurcation in wholesale purchasing

decisions. “Eight of the nineteen purchasers buy only one kind of mattress packag-




2
 An “omni-channel” retailer sells through both brick and mortar and online chan-
nels. Appx10378.

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ing; and eight of the remaining eleven wholesale mattress purchasers are highly spe-

cialized.” Appx035. For instance, “[ QDPH ] purchases one type of mattress more

than another at nearly a 10-to-1 ratio”; “[ QDPH ] at a 15-to-1 ratio”; “[ QDPH

  ] at a 50-to-1 ratio”; “[ QDPH ] at a 13-to-1 ratio”; “[ QDPH ] at a 62-to-1 ratio”;

and “[ QDPH     ] at a 6.5-to-1 ratio.” Appx035. See also Appx115148. Amazon is

perhaps the best example. Amazon has a very specific set of requirements—a “phys-

ical profile”—for which its distribution is optimized. Appx12400. MiBs fit that pro-

file, and FPMs do not. To a purchaser like Amazon, MiBs and FPMs are not re-

motely competitive, even though its customer may be comparing an MiB on Amazon

with an FPM at Mattress Firm. The Commission ignored this evidence in concluding

that “{c}onsumer indifference toward mattress packaging is reflected in purchasing

behavior at the wholesale level.” Appx14770. Further, as the Court of International

Trade recognized, the preference for MiBs is not limited to Amazon. Indeed, “{s}ix-

teen of nineteen wholesale purchasers either purchase only one kind of mattress

packaging or purchase overwhelmingly one kind of packaging.” Appx036 (com-

menting that “{n}o reasonable person could review this data and determine that it

shows wholesaler purchasers are ‘indifferent’ to packaging.”)

      In concluding simply that “MiBs and FPMs are also functionally interchange-

able once unpackaged”, (Appx14769), the Commission likewise ignored substantial

evidence of benefits to consumers, which are myriad. Consumers are allowed to


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avoid in-store sales pitches in favor of valuable peer-to-peer reviews. See Appx7637.

A plurality of purchasers indicated that the ability to ship via common carrier was a

“very important” purchase factor. Appx14848. Given these benefits, it is “{n}o sur-

prise that 71 {percent} of consumers between 18 and 35 years old prefer to buy

online.” Appx11710. Indeed, Petitioners themselves admitted the fact that individual

customers prefer one format to the other, despite their argument that MiBs and FPMs

are entirely and completely fungible with each other. See Appx12251-12252 (Cor-

sicana Bedding LLC’s Vice President testifying that “{d}ifferent end user consum-

ers have different expectations for their mattresses. Some prefer to buy a mattress

that is packaged and delivered to their doorstep as an MiB. Others will always prefer

full white-glove delivery of a flat mattress into their bedroom and removal of their

old mattress.”); see also Appx12309 (Petitioners’ counsel arguing that “{s}ome peo-

ple want it to be in a box, either the consumer themselves or the retailer. Some

don’t.”). Indeed, Petitioners also recognize that companies like Casper, Leesa, and

Tuft & Needle have spent millions specifically to promote MiBs in order to generate

more customer demand in that segment of the market. Appx12225-12226 (argument

of Petitioners’ counsel); see also Appx12356 (testimony of Ashley Furniture Indus-

tries’ Vice President). The Petitioners themselves specifically advertise MiBs as a

feature for their consumers, an unnecessary advertising expense for a mere packag-

ing distinction. Appx11872-11874.


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        B.    Subject imports have not had adverse effects on U.S. producers,
              including U.S. producers who exclusively manufacture boxed
              mattresses.
        U.S. producers focused in the MiB market segment and competing most di-

rectly with subject imports showed strong and significant improvements by increas-

ing production, shipments, market share, and profitability for domestically-produced

MiBs.

        Overall apparent U.S. consumption of mattresses increased over the period of

investigation by [ ] percent from 2017 to 2019 and by a further [  ] percent across

the interim periods. Appx124461-124463. The Commission observed that “FPMs

accounted for a larger share of apparent U.S. consumption than MiBs.” Appx14764.

However, the increase in overall consumption was entirely driven by strong growth

in consumption of MiBs, which increased by [  ] percent from 2017 to 2019, and

by a further [  ] percent in the interim periods. Appx124263. The growth in MiBs

was obscured by a decline in consumption of FPMs, which fell by [  ] percent

from 2017 to 2019, before falling by [  ] percent across the interim periods.

Appx124267. Indeed, by interim 2020 the change in market preference is evident,

with MiBs reaching [ ] percent of total mattress consumption (up from [  ]

percent in 2017) and FPMs falling to [ ] percent (down from [  ] percent in

2017.) Appx124265, Appx124269.




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      The cumulative performance of the U.S. mattress industry camouflages the

robust performance of the growing domestic MiB segment, reflecting instead the

poor performance of the larger domestic share of FPM producers losing out to the

paradigm shift towards MiBs. In 2017, U.S. producers’ U.S. shipments were 8.8

percent MiB and 91.2 percent FPM, and by interim 2020 were 23.6 percent MiB and

76.4 percent FPM. Appx14931, Appx14935. As such, the apparent [  ] percentage

point decline in U.S. producers’ share of the total U.S. mattress market between 2017

and interim 2020 (Appx124461-124463) is in fact a tale of two trends: an [  ] per-

centage point increase in market share by U.S.-produced MiBs and a [ ] percent-

age point decrease by U.S.-produced FPMs, as that segment declined as a share of

total consumption. Appx124265, Appx124269. Indeed, the Commission reported

that “U.S. production of MiBs increased by 133.2 percent from 2017 to 2019, while

U.S. production of FPMs declined by 16.1 percent over the same period.”

Appx14878. Thus, despite increases in subject import volume during the period of

investigation, those volumes did not prevent U.S. producers from gaining share in

the burgeoning MiB market. Therefore, the volume and market share of subject im-

ports were not significant and did not produce any adverse effects in the MiB seg-

ment of the mattress market, which is the only market segment in which there is a

meaningful competitive overlap with the domestic industry.




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      U.S. producers have significantly increased MiB capacity and production

since 2017. As detailed in Table 1 below, the absolute increases in U.S. MiB capacity

and production mirror the reductions in FPM capacity and production over the same

periods. This shows that the domestic industry responded to shifts in market demand

away from FPMs toward MiBs by reorienting its production to serve the MiB market

segment.

           Table 1: U.S. Producers’ Shift in Production from FPMs to MiBs

                            2017-2019                        PY 2019-PY 2020
                           Change in:                            Change in:
                      Units        Percentage               Units      Percentage
 MiB
   Capacity         3,408,513           121.2              2,126,803             48.6
   Production       2,141,716           133.2               405,372              14.3
 FPM
   Capacity         -3,417,473          -15.1          -1,559,727            -10.5
   Production       -2,823,056          -16.1           -427,289              -3.8


See Appx14879.

      MiB production now represents a sizeable portion of total U.S. production and

nearly [VL]H] of apparent U.S. consumption overall. Appx124265. Between 2017 and

2019, U.S. producers’ MiB production grew by over 2 million units. Appx14931. In

terms of absolute volume, U.S. shipments of MiBs more than doubled during the full

years of the period of investigation, and increased by a further 19.6 percent between

the interim periods. Appx14931. MiBs grew from representing 8.4 percent of the

domestic industry’s production at the beginning of the POI to 20.3 percent of all U.S.

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mattress production in 2019 and 22.9 percent in part-year 2020. Appx14879. Do-

mestic producers’ share of the MiB market segment also [DFWLRQ] from [  ] percent

in 2017 to [  ] percent in interim 2020. Appx124263. In other words, as a share

of apparent U.S. consumption of MiBs, U.S. producers [ DFWLRQ ] percentage

points between 2017 and interim 2020. Domestic producers’ 119.9 percent growth

in MiB shipments from 2017 to 2019 far outpaced the growth in U.S. shipments of

subject imports to the MiB segment, which registered 53.9 percent growth during

the POI. Appx14931. Simultaneously, U.S. producers maintained their near-exclu-

sive hold on the FPM market segment, with a market share of [  ] percent in 2017

and [  ] percent in interim 2020. Appx124267.

      The domestic industry has made these inroads into the MiB sector through

significant investment. The questionnaire responses gathered by the Commission in

the final phase describe notable changes in operations. See Appx124202-124206.

Public information likewise reveals additional investment in production facilities in

the MiB segment and other adjustments to operations to account for the market shift

to MiBs:

      x      Corsicana invested $22 million in a new, 376,000 sq. ft. headquarters
             and manufacturing center. Appx11957-11958.

      x      Corsicana invested $8.6 Million in a new Indiana MiB production fa-
             cility. Appx11961-11962.

      x      Purple invested in a new MiB production facility in Georgia.
             Appx11953-11955; see also Appx11964-11965.

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      x     MLILY USA opened a 650,000-square-foot facility in December 2019
            and expanded production to more than 6,000 units per day in 2020.
            Appx11967-11968.

      x     Bedding Industries of America scheduled opening a new 80,000-
            square-foot manufacturing facility. Appx11979-11981.

      x     Brooklyn Bedding invested more than $72 million to expand its U.S.
            manufacturing footprint with a new MiB factory located in Arizona.
            Appx11988-11989.

      x     Zinus announced plans to build a new production facility in
            McDonough, Georgia. Appx11991-11992.

      x     President of Diamond Mattress Shawn Pennington stated: “we in-
            creased our boxed bed product offering to enable more e-commerce and
            to ship nationwide.” Appx11904.

      x     CEO of Englander, Kevin Toman stated: “We’re also enhancing our
            ability to serve the retailers with bed-in-a-box programs and will
            strengthen our social media programs that have become important for
            brand awareness among consumers.” Appx11947-11948.

      This shift from FPMs to MiBs is not new. “In recent years, including since

2017, the mattress market has seen an increase in the popularity of mattresses sold

via e-commerce, particularly mattresses-in-a-box (‘MiBs’).” Appx14815. Multiple

firms have confirmed “a continuing trend away from innerspring mattresses and to-

ward {non-innerspring, hybrid, and MiB mattresses}, especially those sold online.”

Appx14841. “A majority of purchasers reported a decrease in demand for inner-

spring mattresses and an increase in most other types of mattresses (except FPMs).”

Appx14839. Compared to FPMs, producers cited that the growth in MiBs “stem{s}


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from the ease with which suppliers can store, package and ship such mattresses.”

Appx14841. Other factors such as continued increase of direct-to-consumer sales,

advertising of MiBs, consumer acceptance of e-commerce, digital sales and market-

ing and variety of brands also contributed to the shift from FPMs to MiBs.

Appx14817.

      Responses from U.S. producers to the Commission’s questionnaires further

confirmed that the demand for MiBs is here to stay. A U.S. producer stated that MiBs

sold over the internet are already accounting for an increasing share of all mattresses

sold and that consumers have become more comfortable making internet purchases.

Appx13682. Likewise, as CEO of Culp Home Fashions, Sandy Brown, stated, “We

continue to see favorable growth trends in our sewn mattress cover business, with

current and expected demand exceeding pre-Covid-19 levels. This demand is pri-

marily driven by the ongoing growth in the boxed bedding space.” Appx11920 (em-

phasis added).

      In other words, domestic MiB producers are successfully competing with im-

ported MiBs, while FPM producers are failing to keep up with either. Domestic pro-

ducers engaged in MiB production have experienced robust sales growth and finan-

cial performance, while domestic FPM producers’ sales and financial performance

languished during the period of investigation. The shift from FPM to MiB is an in-

dustry paradigm change of speed and impact rarely observed by the Commission


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that disproportionately affected domestic producers wedded to FPM production, re-

sulting in apparent declines having nothing to do with subject imports.

                           SUMMARY OF THE ARGUMENT

      The Commission’s affirmative injury determination, and the Court of Interna-

tional Trade’s affirmance of that determination, are both premised on a failure to

recognize significant segmentation within the mattress market. See Appx14789

(Commission stating “we base our impact analysis entirely on the domestic industry

as a whole”). The Commission’s determination was therefore unsupported by sub-

stantial evidence and not in accordance with law, and the Court of International

Trade erred when it strained to find an alternative basis to affirm it.

      The U.S. mattress industry and the U.S. mattress market are split into two

segments – one segment focusing on mattresses-in-a-box (“MiBs”) and one focused

on flat-packed mattresses (“FPMs”). Competition between these two segments is

highly attenuated, and the MiB segment has experienced impressive market growth

during the period of investigation (“POI”) while the FPM segment is in decline.

MiBs are mattresses of any size or type (e.g., foam, innerspring or hybrid) that are

compressed, rolled, and placed into a box after production, and FPMs constitute the

remainder. The segment of the U.S. industry producing MiBs is the segment of the

industry in greatest competition with subject imports yet is also the segment of the

industry with the strongest financial performance. It is indisputable that the MiB


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segment of the market is growing and the domestic industry is increasing its share

of that segment. By contrast, the FPM segment is experiencing contraction in terms

of production capacity, production and shipments. But this downturn was not caused

by subject imports, since they are nearly absent from the FPM segment; rather, this

downturn has occurred because FPMs are falling out of favor with U.S. consumers.

Because the FPM segment is relatively larger than the MiB segment, its contraction

has a disproportionate negative impact on the entire U.S. industry. When the industry

and the market are analyzed on a segmented basis, however, the conclusion is clear:

subject imports did not injure the domestic industry.

      Nonetheless, the Commission largely failed to address CVB’s arguments on

market segmentation and attenuated competition. To the extent the Commission con-

sidered these arguments at all, its conclusions were not supported by substantial ev-

idence, lacked a rational connection to the facts in the record, were divorced from

the inferences fairly demanded by the facts, and were otherwise not in accordance

with law. In fact, as the Court of International Trade found, the Commission did not

just ignore or overlook relevant evidence. It engaged in what the Court of Interna-

tional Trade described as “legerdemain” to actively avoid a finding of market seg-

mentation that necessarily would have resulted in a negative injury determination.

Appx447.




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      The “mathematical obfuscation and statistical chicanery” that the Court of In-

ternational Trade recognized in the Commission’s determination should have re-

sulted in a remand. See Appx028. Instead, the Court of International Trade relied on

the Commission’s cursory finding that domestic MiB manufacturers were harmed

by Subject Imports. That finding—comprising four pages at the end of the 73-page

Views—was an afterthought by the Commission. See Appx124035-Appx124039.

Because it was not supported by substantial evidence and not in accordance with

law, it was not sufficient to justify the Commission’s determination. Accordingly,

this Court should reverse the decision of the Court of International Trade and remand

to the Commission.




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                                      ARGUMENT

I.    Legal Standard and Standard of Review

      In the final phase of antidumping and countervailing duty investigations, the

Commission must determine whether an industry in the United States is materially

injured or threatened with material injury “by reason of” the subject imports. See 19

U.S.C. §§ 1671d(b)(1), 1673d(b). “‘{M}aterial injury’ means harm which is not in-

consequential, immaterial, or unimportant.” 19 U.S.C. § 1677(7)(A). In making this

determination, the Commission must consider the volume of subject imports, their

effect on prices for the domestic like product, and their impact on domestic produc-

ers of the domestic like product. See 19 U.S.C. § 1677(7)(B). Additionally, the Com-

mission must “evaluate all relevant economic factors . . . within the context of the

business cycle and conditions of competition that are distinctive to the affected in-

dustry.” 19 U.S.C. § 1677(7)(C)(iii). Such economic factors might include changes

in demand, consumer tastes, non-subject imports, or management decisions by do-

mestic producers. The Commission must “explain its analysis of each factor,” as

well as “such other economic factors as are relevant to the determination.” See 19

U.S.C. § 1677(7)(B)(ii).

      Material injury to the domestic industry must be “by reason of the subject

imports.” See 19 U.S.C. §§ 1671d(b)(1), 1673d(b). That is, there must be a causal

link between the subject imports and the material injury. The Commission “must



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examine other factors to ensure that it is not attributing injury from other sources to

the subject imports.” Uruguay Round Agreements Act, Statement of Administrative

Action, H.R. Doc. No. 103-316, Vol. 1, at 851-52 (1994), reprinted in 1994

U.S.C.C.A.N. 4040, 4184-85 (“SAA”)); accord S. Rep. 96-249 at 75 (1979); H.R.

Rep. 96-317 at 47; Mittal Steel Point Lisas Ltd. v. United States, 542 F.3d 867, 877

(Fed. Cir. 2008); Taiwan Semiconductors Indus. Ass’n v. Int’l Trade Comm’n, 266

F.3d 1339, 1345 (Fed. Cir. 2001). The statute directs the Commission to include in

a final determination of injury an explanation of the basis for its determination that

addresses relevant arguments that are made by interested parties. 19 U.S.C. §

1677f(i)(3)(B).

      In turn, the Court of International Trade (“CIT”) reviews the Commission’s

determinations in antidumping duty proceedings to determine whether they are “un-

supported by substantial evidence on the record, or otherwise not in accordance with

law.” 19 U.S.C. § 1516a(b)(1)(B)(i). The “substantial evidence” standard requires

more than “a mere scintilla” of evidence, Consol. Edison Co. v. NLRB, 305 U.S. 197,

229 (1938), but is satisfied by “something less than the weight of the evidence,”

Luoyang Bearing Factory v. United States, 288 F. Supp. 2d 1369, 1370 (Ct. Int’l

Trade 2003) (quoting Consolo v. Fed. Maritime Comm’n, 383 U.S. 607, 620 (1966)).

It is such evidence that “a reasonable mind might accept as adequate to support a

conclusion.” Micron Tech., Inc. v. United States, 117 F.3d 1386, 1393 (Fed. Cir.


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1997) (quoting Consol. Edison Co., 305 U.S. at 229). Where the Commission’s find-

ings are not supported by substantial evidence, the CIT will remand the case to the

Commission for reconsideration. See Chung Ling Co., Ltd. v. United States, 805 F.

Supp. 45, 50, 54 (Ct. Int’l Trade 1992).

      This Court reviews the CIT’s “evaluation of the Commission’s factual deter-

minations ‘by stepping into the shoes of the Court and duplicating its review, eval-

uating whether Commission determinations are unsupported by substantial evidence

or otherwise not in accordance with law.’” Altx, Inc. v. United States, 370 F.3d 1108,

1116 (Fed. Cir. 2004) (quoting Allegheny Ludlum Corp. v. United States, 287 F.3d

1365, 1370 (Fed. Cir. 2002)).

II.   The Commission ignored and manipulated the evidence in determining
      that the U.S. Market is not sharply segmented and that competition be-
      tween the MiB and FPM segments is not highly attenuated.
      The Commission erred as a matter of law in failing to consider alternative

methods of analyzing subject imports, in particular, by distinguishing between the

MiB and FPM market segments. The Commission fundamentally erred in finding

that “subject imports of MiBs competed with domestically produced FPMs” without

recognizing that any competition is highly attenuated. Appx14768.

      As described above, competition is now split, with domestic and imported

MiBs competing against each other in the MiB segment, and domestic FPM manu-

facturers having the (diminishing) U.S. FPM segment more or less to themselves.


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Competition between subject imports and the domestic like product is therefore

highly attenuated. See Blast Furnace Coke from China and Japan, Inv. Nos. 731-

TA-951-952, USITC Pub. 3619 at 3 (Aug. 2003) (Prelim.) (Remand), aff’d by

Comm. for Fair Coke Trade v. United States, 28 C.I.T. 1140 (Ct. Int’l Trade 2004)

(holding that “{a}ttenuated competition does not refer to a lack of direct competition

between subject imports and the domestic product. Rather, attenuated competition

indicates competition that has reduced force or effect.”).

      The Commission improperly ignored and manipulated record evidence that

clearly demonstrated that MiBs and FPMs are segmented in relevant aspects of the

mattress industry, including that MiBs and FPMs are designed and engineered dif-

ferently and that FPM producers cannot quickly and easily shift to MiB production.

Consequently, mattress producers significantly focus on either one type of product

or the other. The Commission also erred in failing to consider record evidence show-

ing that purchasers prefer one format to the other, which makes it clear that the dif-

ferences between MiBs and FPMs go beyond packaging. As explained above, the

record in this case draws but one logical conclusion: that the U.S. mattress industry

and the U.S. mattress market are split into the MiB and FPM segments, and that

competition between these segments is highly attenuated.




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      It is not just CVB’s view that the Commission’s determination is unsupported

by substantial evidence. The CIT reached the same conclusion. Judge Vaden ex-

pressly found that “{f}or much of its Views, the Commission employed mathemat-

ical obfuscation and statistical chicanery to make the mattress industry appear less

segmented than it is.” Appx028. Judge Vaden focused on three aspects of the “Com-

mission’s unfortunate attempt to paint a perfect picture of an unsegmented market”

(Appx029): (1) producer specialization statistics, (2) consumer specialization statis-

tics, and (3) the Commission’s analysis of purchaser surveys. Each of those aspects

of the Commission’s Views is discussed below, with an explanation of the errors

that Judge Vaden correctly found as well as why, absent the Commission’s data ma-

nipulation, the evidence clearly demonstrates market segmentation.

      A.     The Commission manipulated data to minimize the specialization
             that exists between domestic producers of FPMs and MiBs.

      As the Court of International Trade found, “{t}he Commission’s first error is

its analysis of producer specialization.” Appx029. At the heart of its analysis were

the Commission’s findings that (1) “two of the three largest domestic producers of

boxed mattresses produced no flat-packed mattresses”; (2) “the three largest produc-

ers of flat-packed mattresses also produced boxed mattresses”; and (3) that “{n}early

a quarter (12) of responding domestic producers produced both flat-packed mat-




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tresses and boxed mattresses in 2019.” Appx029-030 (quoting Appx124080). How-

ever, as the Court of International Trade recognized, those findings are based on

manipulation and selective examination of the data.

      First, the Commission’s findings that “two of the three largest domestic pro-

ducers of boxed mattresses produced no flat-packed mattresses” and that “the twelve

producers that produced both kinds of mattresses represented a majority of domestic

boxed mattress production in 2019” are based on a “statistical gimmick.” Appx030-

031. That is because “{t}hroughout the Views, the Commission treated” two pairs

of domestic producers, which had merged, “as four separate companies.” Appx029.

But in “its analysis of producer specialization, it treated the producers that merged

as two companies instead of four; and it gave no explanation for making the change.”

Appx029. The effect was to give “the impression that more domestic producers man-

ufacture both boxed and flat-packed mattresses.” Appx029.

      In fact, if the Commission had treated the companies at issue as separate en-

tities, it is immediately obvious that “all three of the largest domestic boxed mattress

producers manufactured no flat-packed mattresses in 2019.” Appx030 (emphasis in

original). The Commission’s “statistical gimmick” also underlies its finding that “the

twelve producers that produced both kinds of mattresses represented a majority of

domestic boxed mattress production in 2019.” Appx031. In fact, if the producers are

treated consistently throughout the Commission’s analysis, those producers that


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manufacture both FPMs and MiBs manufacture “less than a quarter” of domestic

MiB production in 2019. Appx031.

      Second, the Commission’s finding “that the three largest domestic producers

of flat-packed mattresses also produced boxed mattresses” is based on a selective

review of the data. Appx032. Although it is “strictly true”, that finding “fails to tell

the whole story” because “{a}lthough the three companies produced both boxed and

flat-packed mattresses, each produced multiples more flat-packed mattresses.”

Appx032. Ultimately, “{t}he Commission’s statement that the three largest domes-

tic producers of flat-packed mattresses also produced boxed mattresses obscured the

fact that their boxed mattress production was [GHVFULSWLRQ].” Appx032-033. As such,

the Commission “failed” to “draw from the evidence all inferences the evidence rea-

sonably demands, not just those that are convenient{,}” as it was required to do.

Appx033 (citing Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 378

(1998)).

      Third, in finding that “{n}early a quarter (12) of responding domestic produc-

ers produced both flat-packed mattresses and boxed mattresses in 2019, with these

producers accounting for a majority of boxed mattress production that year”, the

Commission ignored the actual numbers of mattresses produced by these companies

and painted a misleading picture of the market. Appx033. In reality, “{o}f the twelve

companies that produced both mattress types in 2019, five produced virtually none


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of one kind”; “{o}f the remaining seven domestic manufacturers, four have stark

production differences{,}”; and of the “remaining three companies” only one had a

relatively “balanced” ratio of MiB to FPM production. Appx033.

      Indeed, as the Court of International Trade observed during the hearing, “if

you look through every purchaser that {the Commission} looked at, there are only

two … that had anything close to parity in their purchases of mattresses in a box and

flat-pack mattresses.” Appx449. Beyond these two purchasers, every other pur-

chaser’s ratio, “were verging on the comical.” Appx449. “{T}he Commission failed

to provide necessary context by drawing all those inferences fairly demanded by the

evidence.” Appx034. “Because the Commission opportunistically combined produc-

tion figures only when it found it useful to avoid CVB’s market segmentation objec-

tions, the Commission has failed to support its findings on producer specialization

with substantial evidence.” Appx034.

      B.     The Commission ignored evidence establishing significant special-
             ization among purchasers of FPMs and MiBs and purchaser pref-
             erences for either FPMs or MiBs.
      Just as it selectively considered data to support its preferred view of producer

specialization, the Commission also “ignored or failed to provide important context

in its analysis of purchaser specialization” and thereby “gave the false impression

that purchasers are indifferent about mattress packaging.” Appx034.




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      The Commission started with the finding that “eleven of nineteen responding

purchasers reported purchasing and/or importing both boxed and flat-packed mat-

tresses.” Appx035. However, as with its findings on producer specialization, this

technically-true statistic paints a false picture. The fact that some brick and mortar

stores sell some MiBs, and some online retailers sell some FPMs, does not change

the fact that there is significant polarization in those sales channels. Appx035. As

described above, in fact, “{t}he data demonstrate significant bifurcation in whole-

sale purchasing decisions.” Appx035. That is well-illustrated by a seller like [ QDPH

   ]. Although [ QDPH ] sold both MiBs and FPMs during the period of investiga-

tion, it purchased MiBs and FPMs “at a 15-to-1 ratio.” Appx035. [………….]
                                                                  1DPH V neg-

ligible purchases of FPMs only serves to illustrate the degree of polarization in the

market, and the same is true with other significant wholesalers. Appx035. Moreover,

the share of subject imports, which the Commission concedes were predominantly

MiBs, that were sold to brick and mortar retailers was only 14.8 percent to 20.0

percent of total shipments during the POI. See Appx255.

      The Court of International Trade was therefore correct to find that “{t}he data

demonstrate significant bifurcation in wholesale purchasing decisions” with eight of

nineteen purchasers buying only one kind of mattress packaging and eight of the

remaining eleven being highly specialized. Appx035. As the Court put it, “{n}o rea-




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sonable person could review this data and determine that it shows wholesale pur-

chasers are ‘indifferent’ to packaging.” Appx036. The Commission’s failure to

“acknowledge{} this data and provide{} its views . . . {was} error.” Appx036.

      C.     The Commission was misleading in its discussion of survey data

      Finally, the Court of International Trade correctly determined that “the Com-

mission ignored or failed to provide important context” in its analysis of purchaser

surveys. Appx037. In particular, the Commission found that “{a}lthough 11 pur-

chasers reported that packaging was very important to their purchasing decisions,

only two purchasers ranked packaging among the top three factors driving their pur-

chasing decisions, consistent with the large number of purchasers reporting pur-

chases of both boxed and flat-packed mattresses.” Appx037 (quoting Appx124086).

It also asserted that “{a}lthough responding purchasers were free to rank ‘Packaging

(i.e., boxed or flat packed mattresses)’ among their top three purchasing factors, as

among the purchasing factors enumerated in the purchasers’ questionnaire, only two

did so.” Appx037 (quoting Appx124086).

      However, as the Court of International Trade recognized, the Commission’s

explanation falsely suggested “that the question involved ranking from a pre-se-

lected list”, which it did not. Appx037. Moreover, the Court noted that the question-

naire responses “told a more nuanced story about what drove {purchasers’} deci-

sions.” Appx037. In fact, the purchaser questionnaires—when considered in their


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totality, as the Commission was required to do—reflect the importance that consum-

ers place on packaging. Even respondents who did not identify “packaging” as one

of their top factors revealed either through their narrative responses or their data that

they considered packaging to be important. See Appx038.

      The Commission’s selective reliance on consumer survey data was similarly

misleading. For instance, the Commission found that “sleep studies” suggest that

packaging is relatively unimportant to consumers. Appx124085. However, with re-

spect to the study cited by the Commission, the Commission ignores that the study

indicated that [  ] percent of consumers reported that a retailer’s selling of a mat-

tress in a box was a decision driver in their purchase, as well as the importance of

other factors that are closely correlated with sales of MiBs. Appx114990.

      As the CIT recognized, the Commission was required to “weigh all the evi-

dence in the record—not just the evidence that supports its decision.” Appx038 (em-

phasis in original). Therefore, “{i}t was error” and not in accordance with law for

the Commission “to not examine this data on the record and explain what it meant

for the Commission’s ultimate decision.” Appx038.

      D.     The Commission’s manipulation and disregard of evidence is fatal
             to its affirmative injury determination.

      It necessarily follows from the Court of International Trade’s analysis that the

Commission’s findings were unsupported by substantial evidence and not in accord-



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ance with law. See Appx027 (“The Court first analyzes three sections of the Com-

mission’s Views that were not supported by substantial evidence.”); Appx028 (“The

Commission’s Views contain errors{.}”); Appx034 (“The Commission must fairly

analyze the data. See Allentown Mack Sales & Serv., 522 U.S. at 378. Here, the evi-

dence demanded acknowledgement that nearly every producer is highly specialized.

The Commission’s failure to do so was not merely ‘inartful.’ It misread the data in

question.”). Indeed, Judge Vaden’s description of the Commission’s Views is ex-

actly how the Commission should not approach its task: The Commission’s statisti-

cal summaries were “misleading”; the Commission “employed mathematical obfus-

cation and statistical chicanery”; its description of purchaser surveys “omitted im-

portant context”; and it “opportunistically combined production figures only when

it found it useful”, all in an “unfortunate attempt to paint a perfect picture of an

unsegmented market.” Appx023; Appx028; Appx029; Appx034. As Judge Vaden

put it, “{t}he only thing the Commission has proven is the truth of the adage that

‘{t}here are three kinds of lies: Lies, Damned Lies, and Statistics.’” Appx039.

      There is no way to square the Commission’s approach with the requirement

that its Views must include “an examination of the relevant data and a reasoned

explanation supported by a stated connection between the facts found and the choice

made.” U.S. Steel Grp. v. United States, 162 F. Supp. 2d 676, 678 (Ct. Int’l Trade

2001) (quotation omitted); see Bratsk Aluminum Smelter v. United States, 444 F.3d


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1369, 1375 (Fed. Cir. 2006) (vacating affirmative injury determination where “the

Commission did not sufficiently explain . . . its causation analysis” and address the

possibility “that the elimination of the subject imports from the domestic market

might simply have increased the market share of the non-subject imports”); Altx, 370

F.3d at 1119-20 (criticizing the Commission for its “inconsistent weighing of subject

and non-subject imports,” its “failure to consider all relevant arguments,” and its

failure “to address the possible relationship between the bankruptcy of a large do-

mestic producer . . . and the poor performance of the domestic industry”). The Com-

mission “is not free to prescribe what inference from the evidence it will accept or

reject, but must draw all those inferences that the evidence fairly demands.” Pohang

Iron & Steel Co., Ltd. v. United States, 23 C.I.T. 778, 1999 WL 970743, at *11 (Ct.

Int’l Trade Oct. 20, 1999) (quoting Allentown Mack, 522 U.S. at 378). The Commis-

sion must address significant arguments and evidence which seriously undermine its

reasoning and conclusions. CP Kelco US, Inc. v. United States, 24 F. Supp. 3d 1337,

1344 (Ct. Int’l Trade 2014) (quotation omitted); see also Motor Vehicle Mfrs. Ass’n

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (noting that an agency’s

“fail{ure} to consider an important aspect of the problem” is arbitrary and capri-

cious).




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      The Commission’s mandate to fairly consider all the record evidence is par-

ticularly important where, as here, there are other explanations for any adverse im-

pact to the domestic industry. For instance, in Outboard Engines from Japan, there

were alternative factors that accounted for adverse impacts to the domestic industry.

Outboard Engines from Japan, Inv. No. 731-TA-1069, USITC Pub. 3752, 2005 WL

630159 (Feb. 2005) (Final). In particular, in Outboard Engines, demand for emis-

sions-compliant two-stroke direct injection and four-stroke engines increased during

the POI, and the demand for non-compliant two-stroke carbureted and two-stroke

EFI engines, mainly produced by the domestic industry, decreased during the same

period. 2005 WL 630159, at *8, *10-11. Although domestic industry did not fully

keep up with overall consumption increases over the POI, the Commission found

that imports did not have a significant effect on the domestic industry’s performance

because the growing demand for four-stroke engines was in fact the cause of the

declines in financial performance of the domestic industry. Id. at *22-24. Thus, Out-

board Engines makes clear that a decline in share for a domestic product (here,

FPMs) is not necessarily a sign of injury by reason of subject imports (here, MiBs).

      Uncoated Groundwood Paper from Canada is another example of a case in

which alternative factors were the primary cause of harm to the domestic industry,

as opposed to subject imports. See generally Inv. Nos. 701-TA-584, 731-TA-1382,

USITC Pub. 4822, 2018 WL 5292180 (Sept. 2018). There, the Commission found


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no material impact from subject imports because certain losses in market share were

due to an inability of domestic producers to produce enough of the product to meet

demand, not due to subject imports. Id. at 36-38. And although some share had been

lost to imports, the Commission determined those losses were due to a shift in cor-

porate strategy. Id. at 37. The Commission’s failure to engage in an analysis similar

to those it performed in Outboard Engines and Uncoated Groundwood Paper is fatal

to its affirmative injury determination here.

      To be sure, the errors that the Court of International Trade identified are not

the only reasons that the Commission’s determinations were unsupported by sub-

stantial evidence or contrary to the law. But they are enough to undermine the entire

affirmative injury determination, because the lynchpin of that determination is that

the market is not segmented between FPMs and MiBs. See, e.g., Appx124035

(“There is no discrete segment of the domestic industry that produces only MiBs. . .

{a}ccordingly. . . we base our impact analysis entirely on the domestic industry as a

whole”). Where, as here, the Commission fails to carry out its duties properly or

neglects to provide an adequate basis for its conclusions, the Court of International

Trade is required to find the Commission’s determination unlawful. See Rhone-Pou-

lenc, Inc. v. United States, 927 F. Supp. 451, 454 (Ct. Int’l Trade 1996); see also

Anshan Iron & Steel Co., Ltd. v. United States, 358 F. Supp. 2d 1236, 1239, 1243

(Ct. Int’l Trade 2004) (remanding for these reasons). That was clearly the case here,


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and the Court of International Trade should have remanded. Rather than doing so,

however, the Court found what it perceived as a basis to affirm the Commission’s

Views in a cursory explanation in the last pages of its report. That was error, as

described next.

III.   The Court of International Trade erred in affirming the Commission’s
       affirmative injury determination on the basis of its cursory, alternative
       holding.

       Despite its findings that the Commission manipulated data and relied on in-

complete evidence, the Court of International Trade nevertheless affirmed. It did so

based on the Commission’s finding of injury to “the domestic boxed mattress indus-

try as a distinct segment.” Appx039. The Court’s reliance on that abbreviated anal-

ysis—which comprised a mere four pages of the Commission’s 73-page Views—is

an implicit rejection of the bulk of the Commission’s Views, which are predicated

on competition between FPMs and MiBs. That left the Court to affirm the Commis-

sion’s Views on the basis of what was really an afterthought. And, in fact, the Com-

mission’s brief, alternative finding of injury to domestic MiB manufacturers is un-

supported by substantial evidence, not in accordance with law, and cannot justify the

Commission’s final affirmative injury determination. For that reason, the Commis-

sion’s multiple errors, described above, were not “harmless” as the Court ultimately

concluded.




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      A.    The alternative holding ignores substantial evidence that demon-
            strates the health of domestic MiB production.

      The Court affirmed the Commission based entirely on its finding that subject

imports injured domestic manufacturers of MiBs—despite the fact that “domestic

boxed mattress manufacturers ‘improved their performance’ during the period of

investigation”—because the Commission found that the “these manufacturers could

have performed even better if not for the subject imports.” Appx041 (citing

Appx124111-Appx124114).

      Indeed, the record evidence establishes that domestic manufacturers of MiBs

are healthy and, as the Commission acknowledged, have improved their perfor-

mance by most measures over the period of investigation. See Appx14789. As de-

scribed above, to the extent U.S. producers’ volume and market share appear to have

declined over the POI, those losses were limited to the FPM segment, where market

demand has been in decline for several years because of shifts in consumer prefer-

ences, not because of subject imports. In the MiB segment, U.S. producers increased

production and shipments of MiBs during the period of investigation, gaining share

over subject imports as a share of U.S. MiB consumption. Appx124036. To put it in

simple terms, MiBs are growing as a segment of the overall mattress market

(Appx124265), and U.S. producers are growing as a share of the MiB segment for

the full year periods from 2017-2019. Appx124263.



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      In order to make a finding, supported by substantial evidence and in accord-

ance with law, that the domestic MiB producers experienced material injury “by

reason of” the subject imports, the Commission should have considered the factors

set forth in Section 771 of the Tariff Act (19 U.S.C. § 1677(7)). Those include “(I)

the volume of imports of the subject merchandise, (II) the effect of imports of that

merchandise on prices in the United States for domestic like products, and (III) the

impact of imports of such merchandise on domestic producers of domestic like prod-

ucts, but only in the context of production operations within the United States.” Id.

§ 1677(7)(B)(i). In evaluating “impact,” the Commission is required by law to “eval-

uate all relevant economic factors which have a bearing on the state of the industry

in the United States.” Id. § 1677(7)(C)(iii). Economic factors that the Commission

often considers include, inter alia: non-subject imports, changes in technology, de-

mand or consumer tastes, competition among domestic producers, or management

decisions by domestic producers. See, e.g., Wire Decking from China, Inv. Nos. 701-

TA-466, 731-TA-1162, USITC Pub. 4172, 2010 WL 4778779, at *8 (July 2010)

(Final).

      The Commission must consider all factors in rendering its decision regarding

impact, and no one factor is dispositive. 19 U.S.C. §1677(7)(C)(iii). These factors

include, but are not limited to:




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        (I) actual and potential decline in output, sales, market share, gross
        profits, operating profits, net profits, ability to service debt, productiv-
        ity, return on investments, return on assets, and utilization of capacity;
        (II) factors affecting domestic prices; (III) actual and potential negative
        effects on cash flow, inventories, employment, wages, growth, ability
        to raise capital, and investment; (IV) actual and potential negative ef-
        fects on the existing development and production efforts of the domes-
        tic industry, including efforts to develop a derivative or more advanced
        version of the domestic like product.”

19 U.S.C. § 1677(7)(C)(iii)(I)-(IV) (emphasis added).

        The Commission claimed that “the performance of domestic MiB producers

would have been appreciably stronger” but for the “significant volume and increase

in volume of lowဨpriced subject imports that displaced domestic industry shipments

from the U.S. market and depressed domestic like product prices to a significant

degree, including the prices of MiB products.” Appx14789. To support this claim,

the Commission stated that “domestic sales prices still declined [  ] percent for

product 1, [  ] percent for product 3, and [……]
                                               percent for product 5.”3

Appx124098. However, the Commission’s calculations do not accurately reflect the

price effects on MiB products for the majority of Subject Countries entering the

market because, for all but China, there is virtually no pricing data until Q1 of 2019

at the earliest. Appx116051-116054; Appx116057-116061; Appx116063-116067.

The only pricing data that predates Q1 of 2019 for the Subject Countries other than



3
    Products 1, 3, and 5 are mattresses shipped as a MiB.

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                             [ ] from Vietnam in Q4 of 2018. However, the quantity
China is imports of Product 

of mattresses imported from Vietnam during that time period was [GHVFULSWLRQ ].

Appx116051-116054. Any pricing data for domestic like products before Q1 of 2019

is thus irrelevant to demonstrate how domestic prices responded to increased quan-

tities of imports from the Subject Countries other than China.4 Recalibrating the cal-

culation to evaluate prices for the domestic like product beginning in 2019 (when all

Subject Countries other than China entered the market), the domestic MiB market

experienced a price increase of [  ]% for Product [], an increase of [  ]% for

Product [ ], and a much more [DGMHFWLYH] decrease of [    ]% for Product [ ] from

Q1 2019 to Q3 2020. Appx116051-116054, Appx116057-116061, Appx116063-

116067. Therefore, the evidence reflects that there was no “significant” depression

of domestic MiB prices caused by imports from the Subject Countries.

      Next, the Commission attempted to support its contention that the domestic

MiB industry would have performed even better but for subject imports by citing to

the domestic MiB producers’ low capacity utilization rates over the POI.

Appx124036. Domestic MiB producers’ capacity utilization was 57.2 percent in



4
 It is necessary and appropriate to focus on the price effects of imports from the
Subject Countries other than China because the adverse price effects of less than fair
value imports from China have already been remedied by the imposition of anti-
dumping duties on mattresses from China that went into effect on December 16,
2019. Appx115901-Appx115902.

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2017, 62.0 percent in 2018, 60.3 percent in 2019, 64.7 percent in interim 2019, and

49.8 percent in interim 2020. Appx124036. Although the Commission acknowl-

edged in passing in a footnote that the domestic MiB producers’ reduced rate of

capacity utilization in interim 2020 partly reflects raw material shortages, the Com-

mission did not properly take into account the full context of domestic production

operations when considering the capacity utilization rates, as discussed below.

Appx124036. According to the Commission, the unused capacity is evidence that

but for subject import competition, domestic MiB producers could have increased

their U.S. shipments and market share more than they did during the POI.

Appx124037.

      Of all the factors that the Commission must analyze in rendering its decision

regarding impact, only capacity utilization actually declined; and again, the Com-

mission acknowledged that the domestic MiB producers’ reduced rate of capacity

utilization in interim 2020 reflects raw material shortages. See 19 U.S.C.

§1677(7)(C)(iii) (listing factors). The Commission supported its reliance on these

low capacity utilization rates by noting that the rates “remained low both in absolute

terms and relative to domestic FPM producers throughout the period of investiga-

tion.” Appx124036. The Commission, however, improperly ignored the full “con-

text of production operations within the United States” when focusing on these ca-

pacity utilization rates. 19 U.S.C. §1677(7)(B)(i)(III).


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      The record evidence provides relevant details regarding the full context of

domestic production operations, and explains:

      The domestic industry made substantial investments to expand its ca-
      pacity to produce MiBs during the period of investigation, increasing
      such capacity by 121.2 percent between 2017 and 2019 and by another
      48.6 percent in interim 2020 compared to interim 2019. At the same
      time, the industry’s capacity to produce FPMs declined by a similar
      quantity.

Appx124005. Thus, in the same period from 2017 to 2019 where domestic MiB pro-

ducers increased their capacity by 121.2 percent; their capacity utilization not only

kept pace with this rapid growth, but also increased by an additional 5.4 percent

(from 57.2 percent in 2017 to 60.3 percent in 2019). Appx124036. On the other hand,

when this growth is compared to FPM producers’ capacity utilization, which re-

mained essentially stable despite decreasing capacity in this same period, see

Appx124211, this is not evidence of injury to MiB producers, but rather evidence of

the MiB segment’s strength.

      Further, in this same period, “{a}pparent U.S. consumption of MiBs increased

[  ] percent between 2017 and 2019 and was [ ] percent higher in interim 2020

compared to interim 2019.” Appx124078. In this time of growth, U.S. producers’

share of combined U.S. MiB shipments increased by [ ] percent from 2017 to

2019. Appx124262. Meanwhile, the share of MiB shipments held by imports from

all Subject Countries combined declined by 
                                             [ ] percent from 2017 to 2019.

Appx124262. Therefore, when the full context of production operations within the

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United States is considered — as it must be — the allegedly injuriously low capacity

utilization rates of the domestic MiB industry are not indicative of injury by reason

of subject imports; rather, they reflect the rapid expansion of the MiB segment of

the market.

      The Commission also ignored factors other than subject imports that explain

the capacity utilization rates. For instance, the record reflects that seven importers

“indicated that subject imports … were superior to product from the United States,

describing imported mattresses as superior to U.S. mattresses in terms of quality,

design, packaging, durability, reliability, and/or communication.” Appx14857. In

addition, the Commission did not sufficiently consider the impact of raw material

shortages. The volume of domestic MiB shipments would have been even greater

but for supply-related factors. First, U.S. producers experienced substantial foam

shortages throughout the period of investigation, which affected their ability to pro-

duce MiBs in particular. Appx115065-115066, Appx115079-115084, Appx115092-

115093. In interim 2020, 17 U.S. producers indicated supply constraints linked to

the pandemic (Appx14831), with leading U.S. MiB producers reporting reduced pro-

duction in interim 2020 either because of local regulations, a lack of adequate raw

materials, a repurposing of their production facilities toward PPE materials, or a

combination thereof. Appx124477-124480. These factors adversely affected the do-




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mestic industry’s ability to take even greater advantage of the growth in MiB de-

mand during the period of investigation, and to increase its shipment volume even

more than it did. And, domestic producers had even greater difficulties with severe

weather in Texas that further hampered their ability to produce product in a timely

manner. See, e.g., Appx12237-12238 (testimony of Karl Glassman, Chairman and

CEO of Leggett & Platt); Appx12245 (testimony of John Mervin, CEO of Brooklyn

Bedding). None of these supply-related difficulties can be laid at the feet of subject

imports.

      Domestic MiB producers likely would have increased their volumes even

more than they did if not for these supply constraints on raw materials. The Com-

mission was mistaken when it attributed the domestic industry’s inability to capital-

ize on strong demand growth to an increase in low-priced subject imports, see

Appx14781, when in fact, the raw material shortage was the culprit for such an ina-

bility to capitalize. Foam is a critical component of mattress construction, and alt-

hough foam capacity was abundant in the domestic industry, the chemicals that

would be necessary in order to actually produce foam were in short supply.

Appx12458 (Jim Dougan, respondents’ economist, noting there was “plenty of foam

capacity” but domestic producers “weren’t able to get the chemicals”); Appx12395

(Dougan analogizing restrictions on raw material inputs to an automobile:

“…{T}hat’s a little bit like saying, you know, I have no constraint on how far I can


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drive because I have a 15-gallon tank, but if I can’t get gas, that’s irrelevant.”). With

these other factors in mind, and noting that “the high variable cost nature of mattress

production would enable domestic producers to operate at rates of capacity utiliza-

tion that would be considered low in other industries,” the capacity utilization rates

alone are not substantial evidence that the domestic MiB industry was injured by

reason of subject imports. Appx124037.

      The remainder of the Commission’s cursory, four-page determination regard-

ing the MiB segment is likewise unsupported by substantial evidence. The Commis-

sion attempts to downplay the strength of the domestic MiB producers’ performance

by countering the fact that “the domestic industry increased its share of apparent

U.S. consumption of MiBs during the period of investigation” with an observation

that “subject imports of MiBs increased their share of overall apparent U.S. con-

sumption by more than domestically produced MiBs during the period.”

Appx124113 (emphasis added). This abrupt shift from the universe of MiBs only to

a comparison with overall mattress consumption is inappropriate and misleading in

a section of the analysis that purports to address the MiB segment alone, not the

domestic industry as a whole. Otherwise, the Commission supports its finding with

conclusory statements such as, “domestic producers of MiBs could have had greater

sales revenues and operating and net income than they did during the period of in-

vestigation but for subject import competition.” Appx124113-Appx124114. The


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Commission attempts to support this conclusion with a footnote that again concedes

the growth and strength of the MiB segment during the POI. Appx124114.

       For the reasons stated above, the Commission’s alleged “alternative holding,”

covering a mere four pages, is not supported by substantial evidence and is not in

accordance with law.

       B.      The Commissions’ alternative holding does not allow its errors to
               be dismissed as harmless.

       Although the Court of International Trade recognized the Commission’s seri-

ous errors, it dismissed them as harmless and affirmed on that basis. That was a

misapplication of the doctrine of harmless error, and the Court erred by affirming on

that basis.

       “{W}hen a court hears a challenge to an agency action, ‘due account shall be

taken of the rule of prejudicial error.’” Suntec Indus. Co., Ltd. v. United States, 857

F.3d 1363, 1368 (Fed. Cir. 2017) (quoting 5 U.S.C. § 706). “The Supreme Court has

held that the Section 706 ‘rule of prejudicial error’ command requires application of

a traditional harmless-error analysis and that the person seeking relief from the error

has the burden of showing prejudice caused by the error.” Id. (citing Shinseki v.

Sanders, 556 U.S. 396, 406, 409 (2009)). Prejudice in this context “means injury to

an interest that the statute, regulation, or rule in question was designed to protect.”

Mid Continent Nail Corp. v. United States, 846 F.3d 1364, 1383-85 (Fed. Cir. 2017)

(quoting Intercargo Ins. Co. v. United States, 83 F.3d 391, 396 (Fed. Cir. 1996)).

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The burden of showing prejudice does not impose “a particularly onerous require-

ment.” Shinseki, 556 U.S. at 410. “Often the circumstances of the case will make

clear to the appellate judge” that an error was prejudicial, “and nothing further need

be said.” Id. “{I}f one cannot say, with fair assurance . . . that the judgment was not

substantially swayed by the error, it is impossible to conclude that substantial rights

were not affected,” and the harmless error doctrine should not be applied. Kotteakos

v. United States, 328 U.S. 750, 764-65 (1946).

      Accordingly, the harmless error doctrine properly applies to mere technical

defects that have no bearing on the outcome, but it does not apply to situations where

the outcome would have been different but for the error. Compare SolarWorld Amer-

icas, Inc. v. United States, 962 F.3d 1351, 1359-60 (Fed. Cir. 2020) (finding that any

mathematical error in Department of Commerce’s use of certain data to calculate

antidumping duty rates was harmless because “the effect of the alleged error was so

small as to be negligible” and it “had essentially no impact on {the party’s} anti-

dumping duty rate”), with United States v. Nat’l Semiconductor Corp., 496 F.3d

1354, 1361 (Fed. Cir. 2007) (holding that error was not harmless where the Court of

International Trade erroneously awarded compensatory interest to government be-

cause this significant “error was based upon a misapplication of the law and resulted

in an award to the government in excess of that authorized by . . . statute”), and 11

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2883


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(3d ed. June 2024) (“{E}rrors that are more than mere technicalities and that affect

a substantial right” render “the judgment below . . . suspect” such “that ‘unless the

appellate court believes it highly probable that the error did not affect the judgment,

it should reverse.’”) (quoting Roger J. Traynor, The Riddle of Harmless Error 35

(1970)).

      The Commission’s errors identified by the Court of International Trade and

discussed in Section II, above, are not harmless “technical” errors. To the contrary,

(1) they undermined the Commission’s finding that the mattress market is not seg-

mented, which formed the basis nearly all of its Views; and (2) the Commission’s

alternative observations about domestic boxed mattress manufacturers were unsup-

ported by substantial evidence, as described in Section III.A above. That left no basis

for the Commission’s affirmative injury determination. As such, the Commission’s

errors impaired CVB’s interest(s) “that the statute, regulation, or rule in question

was designed to protect.” Intercargo, 83 F.3d at 396; see also Mid Continent Nail

Corp., 846 F.3d at 1383-85 (discussing Intercargo and holding that the Department

of Commerce’s “failure to comply with the {notice-and-comment requirements of

the} APA was not a mere technical defect” constituting harmless error). Specifically,

the relevant statutes at issue are designed to protect CVB’s interest in a final deter-

mination that fairly addresses relevant arguments made by CVB and evaluates all




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relevant economic factors within the mattress industry. See 19 U.S.C. §

1677f(i)(3)(B); 19 U.S.C. § 1677(7)(C)(iii).

      The Commission’s failure to adequately acknowledge both the evidence in

favor of and against a negative injury determination is the same type of error that

required remand to the Commission in Nevinnomysskiy Azot v. United States, 31

C.I.T. 1373 (2007). In that case, the Commission considered whether subject imports

of urea would depress U.S. urea prices. Id. at 1390. The Commission rendered an

affirmative injury determination. Id. at 1374, 1376. On appeal, the Court of Interna-

tional Trade observed that the Commission only cited data supporting its position.

See id. at 1392, 1394. Due to the Commission’s “total failure to consider or discuss

record evidence” that “provide{d} significant support for an alternative conclusion,”

the Court remanded the Commission’s determination “for further analysis of

whether the subject imports likely would depress U.S. urea prices.” Id. at 1392 (quo-

tation omitted). On remand, the Commission was ordered to “look at the evidence

as a whole and not draw conclusions from isolated points of data while ignoring the

context of the industry’s business cycle.” Id. at 1394. Similarly, in this case, the

Commission ignored considerable record evidence — not only in its market seg-

mentation analysis (see Section II above) but also in its analysis of supposed injury

to domestic boxed mattress manufacturers (see Section III.A above).




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      Appellate courts have likewise held that similar errors by other agencies were

not harmless. For example, in Hermes Consolidated, LLC v. EPA, 787 F.3d 568,

579-80 (D.C. Cir. 2015), the Court of Appeals for the D.C. Circuit held that the

harmless error rule did not apply where the EPA denied an economic hardship ex-

emption to an oil company because of mathematical errors the EPA made in evalu-

ating the company’s financial data, which “resulted in a substantial overstatement of

{the company’s} net income.” The court stated that it would affirm the EPA’s deci-

sion despite these errors if “‘it {was} clear that . . . the agency would have reached

the same ultimate result’ had the errors not been made.” Id. at 579 (quoting Salt

River Project Agric. Improvement & Power Dist. v. United States, 762 F.2d 1053,

1061 n.8 (D.C. Cir. 1985)). But “because the conceded errors significantly alter{ed}

important figures in {the} EPA’s independent analysis of {the company’s} financial

data,” the court could not “conclude with sufficient certainty that the agency would

have made the same decision absent its errors.” Id.

      Similarly, in United States v. Schwarzbaum, 24 F.4th 1355, 1366-67 (11th Cir.

2022), the Court of Appeals for the Eleventh Circuit held that the IRS’s error in

“starting with the wrong numbers” to calculate an individual’s tax penalties was not

harmless. This error “flowed through {the IRS’s} calculations from beginning to

end,” preventing the court from concluding with sufficient certainty that the IRS

would have reached the same result notwithstanding the error. See id. (“{T}he fact


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that the IRS may reach a different result when it recalculates {the individual’s} pen-

alties . . . is enough to justify remand.”). Indeed, the “{a}bsence of . . . preju-

dice . . . must be clear for harmless error to be applicable.” Id. at 1366 (quotation

omitted).

      Here, too, the Commission’s errors identified by the Court of International

Trade and discussed in Section II, above, are not harmless because it is impossible

to conclude with sufficient certainty that the Commission would have reached the

same conclusion notwithstanding its errors. As the Court of International Trade has

already explained in great detail, the Commission’s errors render the bulk of its

Views “not supported by substantial evidence.” Appx027. Further, the Commis-

sion’s cursory, four-page “alternative holding” regarding the domestic boxed mat-

tress industry is insufficient to save its affirmative injury determination, because as

described above in Section III.A, it was likewise unsupported by substantial evi-

dence and not in accordance with law. This Court therefore cannot conclude that the

Commission would have reached the same ultimate result had the errors not been

made. For these reasons, the errors are not harmless, and the determination should

have been remanded to the Commission.




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                                    CONCLUSION

      For the foregoing reasons, this Court should reverse the Court of Interna-

tional Trade, vacate the Commission’s affirmative injury determination, and re-

mand to the Commission for further proceedings.




                                             Respectfully submitted,


                                             /s/ Geoffrey M. Goodale

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                                             Inc.




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                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

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                                                Name:        Geoffrey M. Goodale
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  Date: _________________                     Signature:   /s/ Geoffrey M. Goodale

                                              Name:        Geoffrey M. Goodale
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             ADDENDUM OF REQUIRED DOCUMENTS

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   1    Opinion and Order sustaining the International      Appx628-672;
        Trade Commission’s final affirmative injury deter-  Appx005-051
        mination (redacted version)
   2    Opinion denying the Defendant’s Joint Motion to     Appx052-070
        Retract the Court’s Public Slip Opinion and Ac-
        cord Confidential Treatment to Alleged Business
        Propriety Information Contained Therein
   3    International Trade Commission’s Final Determi-       Appx071
        nation in Mattresses from Cambodia, China, Indo-
        nesia, Malaysia, Serbia, Thailand, Turkey, and Vi-
        etnam (as published in Federal Register)
   4    Consolidated Staff Report and Views of the Com-      Appx14727-
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                                 Slip Op. No. 23-184

             UNITED STATES COURT OF INTERNATIONAL TRADE


CVB, INC.,

                Plaintiff,

v.
                                                  Before: Stephen Alexander Vaden,
UNITED STATES,
                                                                   Judge
                Defendant,
                                                  Court No. 1:21-cv-00288 (SAV)
      and

BROOKLYN BEDDING, LLC, et al.,

               Defendant-Intervenors.


                                        OPINION

[Sustaining the International Trade Commission’s final affirmative injury
determination.]

                                                            Dated: December 19, 2023

Geoffrey M. Goodale, Duane Morris LLP, of Washington, DC, for Plaintiff CVB, Inc.
With him on the briefs were Andrew R. Sperl, Nathan J. Heeter, and Lauren E.
Wyszomierski, Duane Morris LLP, and Stephen G. Larson, Robert C. O’Brien, and
Paul A. Rigali, Larson LLP, of Los Angeles, CA.

Jane C. Dempsey, Office of the General Counsel, United States International Trade
Commission, of Washington, DC, for Defendant United States. With her on the
briefs were Dominic Bianchi, General Counsel; Andrea C. Casson, Assistant
General Counsel for Litigation; and Brian R. Soiset, Attorney-Advisor.

Mary Jane Alves, Cassidy Levy Kent (USA) LLP, of Washington, DC, for Defendant-
Intervenors Brooklyn Bedding, LLC; Corsicana Mattress Company; Elite Comfort
Solutions; FXI, Inc.; Innocor, Inc.; Kolcraft Enterprises, Inc.; Leggett & Platt, Inc.;
the International Brotherhood of Teamsters; and United Steel, Paper and Forestry,
Rubber, Manufacturing, Energy, Allied Industrial and Service Workers
International Union, AFL-CIO. With her on the briefs were Yohai Baisburd and
Sydney Reed.



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      Vaden, Judge:        CVB, Inc. (CVB) challenges the International Trade

Commission’s (ITC or the Commission) final affirmative injury determination in its

antidumping and countervailing duty investigations of mattresses from Cambodia,

China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam. See Compl. ¶

1, ECF No. 8; Mattresses from Cambodia, China, Indonesia, Malaysia, Serbia,

Thailand, Turkey, and Vietnam, 86 Fed. Reg. 26,545 (ITC May 14, 2021), J.A. at

14,715, ECF No. 60; Mattresses from Cambodia, China, Indonesia, Malaysia,

Serbia, Thailand, Turkey, and Vietnam (Final Determination), Inv. Nos. 701–TA–

645 and 731–TA–1495–1501 (Final), USITC Pub. No. 5,191 (May 2021), J.A. at

124,040, ECF No. 66. Defendant-Intervenors in support of the Commission’s final

affirmative injury determination are Brooklyn Bedding, LLC; Corsicana Mattress

Co.; Elite Comfort Solutions; FXI, Inc.; Innocor, Inc.; Kolcraft Enterprises, Inc.;

Leggett & Platt, Inc.; the International Brotherhood of Teamsters; and the United

Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and

Service   Workers    International   Union,    AFL-CIO     (collectively,   Defendant-

Intervenors). See Def.-Ints.’ Resp. to Pl.’s Mot. for J. on the Agency R. (Def.-Ints.’

Resp.) at 1, ECF No. 53. Before the Court is CVB’s Motion for Judgment on the

Agency Record. Pl.’s Mot. for J. on the Agency R. (Pl.’s Br.), ECF No. 48. CVB

contends that the Commission’s final affirmative injury determination is

unsupported by substantial evidence. Id. at 1–2. For the reasons set forth below,

the Court SUSTAINS the Commission’s determination.




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                                 BACKGROUND

                                A. Procedural History

      On March 31, 2020, the Defendant-Intervenors petitioned the Department of

Commerce and the Commission to impose antidumping and countervailing duties

on imports of mattresses from Cambodia, China, Indonesia, Malaysia, Serbia,

Thailand, Turkey, and Vietnam (the Subject Countries). See Petition: Mattresses

from Cambodia, China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and

Vietnam:   Antidumping and Countervailing Duty Petitions, J.A. at 1,000–3,951,

ECF No. 60. The Commission’s period of investigation covered calendar year 2017

through September 2020. Def.’s Resp. to Pl.’s Mot. for J. on the Agency R. (Def.’s

Resp.) at 6, ECF No. 51. On May 15, 2020, the Commission issued its preliminary

determination. See Mattresses from Cambodia, China, Indonesia, Malaysia, Serbia,

Thailand, Turkey, and Vietnam, 85 Fed. Reg. 30,984 (ITC May 21, 2020), J.A. at

9,046, ECF No. 60; Mattresses from Cambodia, China, Indonesia, Malaysia, Serbia,

Thailand, Turkey, and Vietnam, Inv. Nos. 701–TA–645 and 731–TA–1495–1501

(Preliminary), USITC Pub. No. 5,059 (May 2020), J.A. at 9,048–373, ECF No. 60.

Nearly one year later, on May 14, 2021, the Commission published its final

determination. See Final Determination, J.A. at 124,040–570, ECF No. 66.

                 B. Prior Mattresses from China Investigation

      In December 2019, three months before the underlying petition in this case,

the Commission published its final affirmative injury determination in an




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                                                        BUSINESS PROPRIETARY INFORMATION SUBJECT
                                                                    TO PROTECTIVE ORDER5('$&7('



investigation of Chinese mattress imports. Mattresses from China, Inv. No. 731–

TA–1424 (Final), USITC Pub. No. 5,000 (December 2019), J.A. at 6,505–62, ECF

No. 60. In 2017 and 2018, Chinese imports accounted for roughly                        of

cumulated subject imports. Final Determination at 39, J.A. at 124,081, ECF No. 66.

In 2019, Chinese imports constituted less than            of all imports while subject

imports from other countries rose by                  percent. Id. at 39–40, J.A. at

124,081–82. Between interim 2019 and interim 2020, Chinese imports declined to

almost nothing; but subject imports from other countries rose a further

percent. Id. at 40, J.A. at 124,082. These imports from other countries were often

from companies related to Chinese producers that no longer exported their products

to the United States. Id. At 39 n. 165, 40 n.168, J.A. at 124,081–82.

                           C. The Present Factual Record

      The Commission began its material injury investigation by defining the

“domestic like product.” Final Determination at 7–9, J.A. at 124,049–51, ECF No.

66; see also 19 U.S.C. § 1677(10).      The Commission defined the domestic like

product as:

              The products covered by this investigation are all types of
              youth and adult mattresses. The term “mattress” denotes
              an assembly of materials that at a minimum includes a
              “core,” which provides the main support system of the
              mattress, and may consist of innersprings, foam, other
              resilient filling, or a combination of these materials.
              Mattresses may also contain (1) “upholstery,” the material
              between the core and the top panel of the ticking on a
              singleဨsided mattress, or between the core and the top and
              bottom panel of the ticking on a doubleဨsided mattress;



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            and/or (2) “ticking,” the outermost layer of fabric or other
            material (e.g., vinyl) that encloses the core and any
            upholstery, also known as a cover.

            The scope of this investigation is restricted to only “adult
            mattresses” and “youth mattresses.” [. . . .] All adult and
            youth mattresses are included regardless of size or size
            description.

            The scope encompasses all types of “innerspring
            mattresses,” “nonဨinnerspring mattresses,” and “hybrid
            mattresses.” [. . . .]

            Mattresses covered by the scope of this investigation may
            be imported independently, as part of furniture or
            furniture mechanisms (e.g., convertible sofa bed
            mattresses, sofa bed mattresses imported with sofa bed
            mechanisms,      corner   group    mattresses,      dayဨbed
            mattresses, rollဨaway bed mattresses, high risers, trundle
            bed mattresses, crib mattresses), or as part of a set in
            combination with a “mattress foundation.” [. . . .]

            Excluded from the scope of this investigation are “futon”
            mattresses. [. . . . ]

            Also excluded from the scope are airbeds (including
            inflatable mattresses) and waterbeds, which consist of
            airဨ or liquidဨfilled bladders as the core or main support
            system of the mattress. Also excluded is certain
            multifunctional furniture that is convertible from seating
            to sleeping [. . . .] Such furniture may, and without
            limitation, be commonly referred to as “convertible sofas,”
            “sofa beds,” “sofa chaise sleepers,” “futons,” “ottoman
            sleepers” or a like description.

            Also excluded from the scope of this investigation are any
            products covered by the existing antidumping duty orders
            on uncovered innerspring units from China or Vietnam.

            Also excluded from the scope of this investigation are
            bassinet pads with a nominal length of less than 39




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               inches, a nominal width less than 25 inches, and a
               nominal depth of less than 2 inches.

               Additionally, also excluded from the scope of this
               investigation are “mattress toppers.” [. . . .]

Final Determination at 7–9, J.A. at 124,049–51, ECF No. 66 (internal citations

omitted).    No party challenges the like product definition, which includes many

mattress varieties. See Def.’s Resp. at 7, ECF No. 51 (“During the final phase, CVB

did not argue for another domestic like product definition or against cumulation,

and it does not challenge the Commission’s findings on these issues.”); Pl.’s Reply at

6–7, ECF No. 58 (agreeing that CVB did not challenge the domestic like product

determination and distinguishing its argument from a challenge to the domestic

like product determination).

         Mattresses are either boxed or flat-packed.   Both packaging methods are

included in the domestic like product definition. See Def.’s Resp. at 6–7, ECF No.

51; Pl.’s Reply at 4, ECF No. 58. Boxed mattresses are compressed and rolled into a

box for shipping, while flat-packed mattresses are boxed as-is and not compressed.

Statement of Brian Adams at 143:7–13, J.A. at 7,569, ECF No. 60. Shipping boxed

mattresses is typically cheaper and easier than shipping flat-packed mattresses

because boxed mattresses are smaller when packaged.         Id. at 144:7–17, J.A. at

7,570.     Consumers can transport boxed mattresses themselves or have them

delivered to their door, whereas flat-packed mattresses require specialized delivery.

Id. at 144:13–45:11, J.A. at 7,571–72. CVB argued throughout the administrative




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proceeding that the two packaging methods represent distinct, segmented markets

with little direct competition. See, e.g., Pl.’s Reply at 6, ECF No. 58 (“[C]ompetition

between the [flat-packed] and [boxed mattress] segments is highly attenuated”).

      The Commission based its U.S. industry data on responses from fifty-three

domestic producers that represented the vast majority of domestic production in

2019. Final Determination at III-1, J.A. at 124,193, ECF No. 66. It based its U.S.

import data on questionnaire responses from forty-nine companies that represented

the majority of U.S. imports from the subject countries. Id. at IV-1, J.A. at 124,223.

The foreign producer and exporter data was based on nineteen questionnaire

responses from companies that represent a significant portion of subject imports.

Id. at 4–5, J.A. at 124,046–47.1

      The Commission may issue an affirmative injury determination when it

concludes that an industry in the United States is materially injured or threatened

with material injury by reason of certain imports.           19 U.S.C. §§ 1671d(b),

1673d(b). In making this determination, the Commission must consider the volume

of subject imports, their effect on prices for the domestic like product, and their

impact on producers of the domestic like product. 19 U.S.C. § 1677(7)(B). The

statute defines “material injury” as “harm which is not inconsequential, immaterial,

or unimportant.”     19 U.S.C. § 1677(7)(A).      In assessing material injury, the

1 The Commission noted that sixteen responses were received to the final phase
questionnaires, and the Commission relied on three more preliminary phase questionnaires
in the absence of better data from Cambodia, Serbia, and Thailand.            See Final
Determination at 4–5, J.A. at 124,046–47, ECF No. 66.



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Commission considers all relevant economic factors that bear on the state of the

industry in the United States.     19 U.S.C. § 1677(7)(C)(iii).   No single factor is

dispositive, and all relevant factors are considered “within the context of the

business cycle and conditions of competition that are distinctive to the affected

industry.” Id.

        The Commission began its Views by discussing the conditions of competition

in the industry.    It found that mattress demand “is tied to housing sales and

economic activity, particularly new home sales, housing starts, home resales,

interest rates, gross domestic product (“GDP”) growth, and consumer sentiment.”

Final Determination at 35, J.A. at 124,077, ECF No. 66. The Commission found

that demand trends were mixed, but up overall, with different types of mattresses

having different sales trends.    Id. at 36, J.A. at 124,078.     Demand for boxed

mattresses increased, but demand for flat-packed mattresses decreased. Id.

        Turning to supply, the Commission noted that domestic production served

about              of the domestic needs; subject imports served less than

and non-subject imports served the remainder. Id. at 37, J.A. at 124,079. The

Commission found that many domestic producers specialize in certain kinds of

mattresses, but a little less than a quarter of producers overlap between boxed

mattresses and flat-packed mattresses. Id. at 38, J.A. at 124,080. After discussing

industry consolidation and new investment, the Commission noted that domestic

production capacity for boxed mattresses increased by 121.2 percent during the




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period of investigation and a further 48.6 percent in interim 2020. Id. at 38–39,

J.A. at 124,080–81.     The Commission concluded its discussion of supply by

describing the near-total shift in subject imports away from China and toward other

countries during the period of investigation. Id. at 39–40, J.A. at 124,081–82.

      The Commission also considered substitutability. Id. at 41, J.A. at 124,083.

The Commission found a “moderately high degree of substitutability between

domestically produced mattresses and subject imports.” Id. It further found that

subject imports of boxed mattresses competed with flat-packed mattresses. Id. at

41–42, J.A. at 124,083–84.      Although most domestic production was flat-packed

mattresses and most imports were boxed mattresses, the Commission found “the

vast majority of responding purchasers reported that domestically produced

mattresses were interchangeable with and comparable to subject imported

mattresses.” Id. at 42, J.A. at 124,084. From reviewing the provided data, the

Commission concluded that: (1) boxed and flat-packed mattresses can usually be

made to the same specifications and are functionally interchangeable once

unpackaged; (2) packaging is unimportant to end consumers; (3) online retailers do

not provide search filters for packaging; and (4) “[c]onsumer indifference towards

mattress packaging is reflected in purchasing behavior at the wholesale level.” Id.

at 42–43, J.A. at 124,084–85.

      The ITC observed that “price is an important factor in purchasing decisions

for mattresses, although non-price factors are also important.” Id. at 44, J.A. at




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124,086. Among those non-price factors, the Commission found that domestically

produced mattresses and subject imports were “comparable in terms of lead times

and channels of distribution” and “sold through the same channels of distribution.”

Id. at 45, J.A. at 124,087. The Commission noted that the domestic industry faced

about a ten percent increase in raw material costs during the period of

investigation. Id. at 46, J.A. at 124,088.

      Having considered the prevailing conditions of competition, the Commission

moved to the other statutory factors: the volume, price effect, and impact of subject

imports. 19 U.S.C. § 1677(7)(B)(i). In considering these factors, the Commission

must establish a causal connection between the subject imports and the material

injury. Gerald Metals, Inc. v. United States, 132 F.3d 716, 720 (Fed. Cir. 1997). The

statute ensures the Commission cannot “attribut[e] to subject imports an injury

whose cause lies elsewhere.” OCP S.A. v. United States, 47 CIT __, 2023 Ct. Intl.

Trade LEXIS 139 at *64 (citing Hynix Semiconductor, Inc. v. United States, 30 CIT

1208, 1222 (2006)).

      Each of the factors requires the Commission to consider the effects of subject

imports on the domestic industry. In its volume inquiry, the Commission must

consider the significance of the quantity of imports, not just the absolute number.

Id. at *39 (citing USX Corp. v. United States, 11 CIT 82, 85 (1987)). In its price

inquiry, the Commission must consider whether there has been “significant price

underselling” and whether “the effect of imports . . . otherwise depresses prices to a




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significant degree[.]” 19 U.S.C. § 1677(7)(C)(ii). Finally, in its impact inquiry, the

Commission must consider “all relevant economic factors which have a bearing on

the state of the industry[.]” 19 U.S.C. § 1677(7)(C)(iii).

      The Commission found the volume of subject imports was significant, both in

absolute terms and relative to consumption. Final Determination at 48, J.A. at

124,090, ECF No. 66. For price effects, the Commission found that subject imports

sold for less than domestically produced mattresses in nearly every quarterly

comparison. Id. at 50, J.A. at 124,092.

      Based on the moderately high degree of substitutability between
      subject imports and the domestic like product, the importance of price
      in purchasing decisions, and the pervasive underselling, as well as the
      purchase cost data, we find that subject import underselling was
      significant during the period of investigation. The significant
      underselling by cumulated subject imports contributed to subject
      imports gaining sales and market share at the domestic industry’s
      expense during the period of investigation.

Id. at 52, J.A. at 124,094. The Commission therefore determined that imports had

significant adverse effects on domestic like product prices.      Id. at 56, J.A. at

124,098.

      In its impact analysis, the Commission found that low-priced subject imports

kept prices low despite rising U.S. consumption. Id. at 58, J.A. at 124,100. The

Commission based its determination that imports significantly impacted the

domestic industry on reduced capacity utilization, high end-of-period inventories,

slight reductions in sales, and changes in research and development and capital

expenditures.    Id. at 58–73, J.A. at 124,100–15.       Having found that all three



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statutory factors were satisfied under the prevailing conditions of competition, the

Commission concluded that the domestic industry was “materially injured by

reason of imports of mattresses” from the subject countries.      Id. at 73, J.A. at

124,115.

                                D. The Present Case

      On July 13, 2021, CVB filed a complaint with this Court, alleging that the

Commission’s injury determination was unsupported by substantial evidence or

otherwise not in accordance with law. Compl. ¶ 39, ECF No. 8. CVB argues that

the Commission’s determination is unsupported by substantial evidence because:

(1) The Commission improperly ignored record evidence that the U.S. mattress

market is sharply segmented and that competition in it is highly attenuated; (2) it

improperly ignored record evidence showing significant non-price reasons for

increases in subject imports; (3) its determination that subject imports depressed or

suppressed the prices of domestic like products is unsupported without either price

convergence or signs of falling domestic prices; and (4) its determination that

subject imports had a significant impact on the domestic industry improperly failed

to consider the mattress industry’s segmentation between boxed and flat-packed

mattresses. Pl.’s Br. at 2–4, ECF No. 48. CVB filed its Motion for Judgment on the

Agency Record on March 28, 2022; the Commission filed its response on June 13,

2022; Intervenors filed their response on July 1, 2022; and CVB filed its reply on




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August 1, 2022. Pl.’s Br., ECF No. 48; Def.’s Resp., ECF No. 51; Def.-Ints.’ Resp.,

ECF No. 53; Pl.’s Reply, ECF No. 58.

      The crux of CVB’s argument is that boxed mattresses and flat-packed

mattresses occupy different segments of the mattress market — with producers and

purchasers concentrating on one or the other and only highly attenuated

competition existing between the two.       CVB argues that any domestic industry

injury reflected a demand shift away from flat-packed mattresses toward boxed

mattresses and was not a consequence of unfairly priced imports. The parties agree

that boxed mattresses are, as a general matter, cheaper than flat-packed

mattresses. Oral Argument Transcript (Oral Arg. Tr.) at 7:21–22; 37:19, ECF No.

75. Because the domestic industry produced mostly flat-packed mattresses and

subject imports consisted almost exclusively of boxed mattresses, this demand shift

resulted in an increased market share for imports at the expense of the domestic

industry. See Pl.’s Br. at 9, ECF No. 48.

      At oral argument, the Court focused on the Commission’s use of statistics to

support its conclusion that a significant share of producers and purchasers of

mattresses overlapped between flat-packed and boxed mattresses. If true, this

would tend to undermine CVB’s claim of market segmentation and attenuated

competition. First, the Court noted that the Commission opportunistically treated

companies that merged during the period of investigation as single companies in

order to reach the conclusion that “[n]early a quarter (12) of responding domestic




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producers produced both [flat-packed] and [boxed mattresses] in 2019, with these

producers accounting for [a majority] of [boxed mattress] production that year[.]”

Final Determination at 38, J.A. at 124,080, ECF No. 66; Oral Arg. Tr. at 25:1–20,

ECF No. 75. Tempur Sealy acquired Comfort in 2018, and Leggett & Platt acquired

Elite in 2019. In each case, the acquiring company produced primarily flat-packed

mattress; and its merger target predominately produced boxed mattresses. The ITC

treated them as four separate entities throughout its Final Determination — except

the one time it found it convenient to treat the four companies as only two entities

to inflate the market share of producers that manufactured both flat-packed and

boxed mattresses. See id. Second, the Court noted the Commission’s questionable

purchaser data summary, which concluded that “[c]onsumer indifference toward

mattress packaging is reflected in purchasing behavior at the wholesale level” in

part because “[e]leven of [nineteen] responding purchasers reported purchasing

and/or importing both [boxed and flat-packed mattresses].” Final Determination at

43, J.A. at 124,085, ECF No. 66; see also Oral Arg. Tr. at 27:22–28:1, ECF No. 75.

The Court noted that most purchasers who reported buying both packaging types

purchased vastly more of one mattress type than the other and that “there are only

two . . . that had anything close to parity in their purchases of [boxed mattresses]

and flat-pack mattresses.” Oral Arg. Tr. at 27:22–28:1, ECF No. 75. The Court

characterized the Commission’s use of statistics as “legerdemain.” Id. at 26:16. The

Commission responded that, although these portions of its Final Determination




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were “very inarticulately written,” they amounted only to “harmless error.” Id. at

65:2–3.

      The Court recognized that the ITC changed its approach in the final pages of

its Views.   Id. at 41:16–25 (characterizing the last portion of the Views as an

“alternative holding.”). After spending much of the document struggling against the

evidence for a polarized mattress market, the Commission directly answered CVB’s

rejoinder. It found that the domestic boxed mattress sector, considered separately

from the domestic flat-packed mattress sector, was injured by subject imports. See

Final Determination at 69–73, J.A. at 124,111–15, ECF No. 66. Specifically, the

Commission found that, although domestic boxed mattress producers “improved

their performance by most measures during the period of investigation,” their

performance “would have been appreciably stronger during the period of

investigation but for the significant volume and increase in volume of low-priced

subject imports that displaced domestic industry shipments from the U.S. market

and depressed domestic like product prices to a significant degree, including the

prices of [boxed mattress] products.”     Id. at 69–70, J.A. at 124,111–12.      The

Commission cited record evidence in support of this finding, including: (1) low

factory capacity utilization despite increased U.S. boxed mattress consumption, (2)

“subject imports of [boxed mattresses] increased their share of overall apparent U.S.

consumption by more than domestically produced [boxed mattresses] during the

period[,]” and (3) questionnaire responses from domestic boxed mattress producers




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indicated that imports adversely impacted returns on their investments. See id. at

70–72, J.A. at 124,112–14. In other words, imports of boxed mattresses retarded

the growth of domestic boxed mattress manufacturers’ sales.

      The Court ordered the parties to submit supplemental letter briefs

addressing whether the Commission’s “alternative holding” that considered the

domestic boxed mattress industry in isolation allowed for the Commission’s

mishandling of market polarization statistics to be harmless error.      See Minute

Order, ECF No. 71. In its supplemental brief, the Commission argued (1) “there has

been no error” with respect to its handling of statistics; (2) “any lack of perfect

clarity is unfortunate, but not deceptive”; and (3) were the Court to find that the

Commission’s statistics were in error, “such error is harmless and does not warrant

a remand.” Def.’s Supp. Br. at 2, ECF No. 79. The Commission asserted that it

derived its finding of a high degree of overlap between boxed and flat-packed

mattress manufacturers from a table that used data from 2019 only, and the

relevant corporate acquisitions took place in 2018 and 2019. See id. at 2–4; see also

Final Determination at III-3–6, J.A. at 124,195–98, ECF No. 66 (tabulating U.S.

producer shares of flat-packed and boxed mattresses in 2019). Although the table

treated the four producers separately and the Commission combined them to make

its finding, the Commission “indicat[ed] in the corresponding footnote (n. 156) that

‘although [boxed mattress] producers Comfort and Elite completed separate

domestic producers’ questionnaire responses, Tempur Sealy acquired Comfort in




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2018 and Leggett & Platt acquired Elite in 2019.’” Def.’s Supp. Br. at 3–4, ECF No.

79; see also id. at 38 n.156, J.A. at 124,080. The Commission explained that it

included this footnote “specifically to inform how it had tabulated the data and to

provide its reasoning” and that “it was a factually accurate finding, which

reasonably accounted for company acquisitions[.]” Def.’s Supp. Br. at 4, ECF No.

79.

        The ITC next addressed the standard for harmless error. It cited case law in

support of its argument that errors are harmless where, even including the error,

substantial evidence supports the Commission’s determination. Id. at 4–5 (citing

U.S. Steel Grp. v. United States, 96 F.3d 1352, 1363–65 (Fed. Cir. 1996) for the

proposition that errors are harmless where other evidence, taken as a whole, was

sufficient to support the conclusion).   The Commission argued that substantial

evidence still supports its material injury finding because it defined a single

domestic like product that encompassed all mattresses within the scope of its

investigation, which CVB did not challenge. Id. at 5–6. Because the Commission

analyzed the domestic industry as a whole, it was not legally required to analyze

different segments of the domestic industry and assess the impact to each

independently. Id. In a footnote, the Commission also asserted that, even if it

treated Elite and Comfort — the two boxed mattress producers that merged with

flat-packed mattress producers — separately, “there would still be the same 12

domestic producers that produced both [flat-packed] and [boxed mattresses] in




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2019, accounting for a smaller but not insignificant portion of U.S. [boxed mattress]

production . . . that year.” Id. at 4–5, n.6. The Commission concluded by once again

noting that it

         addressed [CVB’s] arguments with respect to the performance of
         [boxed mattress] producers and found that subject imports had an
         impact on this subset of the domestic industry, negatively affecting
         their capacity utilization rates, sales revenues and operating and net
         income, and returns on investments as subject imports surged into the
         U.S. market and displaced domestically produced [boxed mattresses]
         and significantly depressed prices for this product.

Id. at 9.

         The Defendant-Intervenors’ supplemental brief endorsed the Commission’s

brief.      See Def.-Ints.’ Supp. Br. at 1–2, ECF No. 81.     Defendant-Intervenors

similarly argued that the Commission’s statistical summary “while inartful, is

accurate and does not constitute an error”; and even if the Court were to find that

the Commission was in error, such error was harmless.          Id.   The Intervenors

acknowledged that the Commission changed its “tabulation methodology” when

summarizing Table III-1 but claimed that “[i]n footnote 156 on page 38 of its Views,

the Commission attempted to alert the reader” of the change. Id. at 4. Although

“this footnote might have been phrased more artfully . . . it still shows that the

Commission did try to be transparent about this limited instance where it combined

U.S. producer data due to the Leggett & Platt/Elite and Tempur Sealy/Comfort

transactions.” Id. at 4–5. Further, the table “only presented data for 2019 and




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given that the transactions had occurred in mid-2018 and January 2019, it was not

unreasonable to point to combined data in this instance.” Id. at 5.

      Invoking the harmless error standard, Defendant-Intervenors assert that

“Courts have previously affirmed Commission determinations containing an error,

where the outcome would have been the same because the error did not detract from

the substantial evidence as a whole supporting the Commission’s decision.” Id. at

8–9. They claim that “the path of the Commission’s decision here is discernible

even without” the misleading statistical summary because the Commission’s Views

“set forth all issues material to its conclusion[.]” Id. at 9. Defendant-Intervenors

contend that, even if the Commission’s creative statistics detract from its

conclusion, the Commission’s decision was “otherwise reasonable and supported by

the record as a whole.” Id. at 10.

      CVB had the last word. Its brief argued that (1) the Commission was in

error; (2) the error was not harmless because it prejudiced CVB and because, after

correcting the error, the Commission’s material injury determination is not

supported by substantial evidence; and (3) the final pages of the Final

Determination were not supported by substantial evidence and therefore do not

function as an alternative holding. Pl.’s Supp. Br. at 1–2, ECF No. 84. CVB first

offered its standard of harm, writing without citation to authority that “[e]rror is

not harmless if the Commission cannot say for certain that its ultimate injury

finding would not have changed in light of the error.” Id. at 4. CVB then explained




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how it believed it had been harmed by the Commission’s misleading statistical

summary, as “the error contributed to the Commission’s refusal to meaningfully

engage with CVB’s market polarization argument and to evaluate properly the

conditions of competition in the mattress industry.” Id. at 3.

        CVB rejected the Commission’s and Defendant-Intervenors’ assertion that

the Commission did not need to address CVB’s attenuated competition argument,

claiming that the law requires the Commission to evaluate “all relevant economic

factors within the context of the business cycle and conditions of competition that

are distinctive to the affected industry.” Id. at 3 (citing 19 U.S.C. § 1677(7)(C)(iii)).

CVB wrote that “the Commission must comply with the statute no matter how a

respondent allegedly structures its arguments.” Id. Plaintiff acknowledged that

there may be situations where the Commission is not required to engage in a

market segmentation analysis but argued that § 1677(7)(C)(iii) made it necessary

here.   Id. at 5.   It also criticized the Commission’s and Defendant-Intervenors’

attempts to “justify the Commission’s mathematical legerdemain” and argued that

“the record clearly supports a finding of market polarization when the error is

removed.” Id. at 6. CVB invoked the Commission’s purchaser data summary for

support. Id.

        CVB closed by arguing that the Views’ final pages could not function as an

“alternative holding” because they were not supported by substantial evidence. See

id. at 7. Plaintiff asserted that the domestic boxed mattress industry suffered no




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injury, noting that the domestic industry gained market share during the period of

investigation.   See id.   It quoted the Commission’s admission that “‘domestic

producers of [boxed mattresses] improved their performance by most measures

during the period of investigation.’” Id. at 8 (quoting Def.’s Resp. at 45, ECF No.

51). CVB cited cases where this Court sustained the Commission’s finding of no

material injury when the domestic industry’s performance improved during the

period of investigation. Id. at 8–9.     It faulted the Commission for “merely

assum[ing] that the cause of the unused capacity was subject imports, and not some

other cause such as raw material shortages . . . or an inability to produce [boxed

mattresses] to the same standard as importing producers.” Id. at 9 (citing to record

evidence that seven importers indicated that subject imports were superior in

quality).

      With briefing and argument concluded, the Court considers the claims of the

parties.

                 JURISDICTION AND STANDARD OF REVIEW

      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c).

The Court must assess the factual and legal findings underpinning the

Commission’s determinations and “hold unlawful any determination, finding or

conclusion . . . unsupported by substantial evidence on the record, or otherwise not

in accordance with law.” 19 USC § 1516a(b)(1)(B)(i). Substantial evidence is “such

relevant evidence as a reasonable mind might accept as adequate to support a




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conclusion.” Consol. Edison Co. of New York v. NLRB, 305 U.S. 197, 229 (1938). It

must be “more than a scintilla, and must do more than create a suspicion of the

existence of the fact to be established.”       NLRB v. Columbian Enameling &

Stamping Co., 306 U.S. 292, 300 (1939). However, “the possibility of drawing two

inconsistent conclusions from the evidence does not prevent an administrative

agency’s finding from being supported by substantial evidence.” Matsushita Elec.

Indus. Co. v. United States, 750 F.2d 927, 933 (Fed. Cir. 1984).

      This Court’s review of the Commission’s determination is limited to the

administrative record that was before the agency. 19 U.S.C. § 1516a(b)(2)(A). To

determine if substantial evidence exists, the Court considers “the record as a whole,

including evidence that supports as well as evidence that ‘fairly detracts from the

substantiality of the evidence.’” Nippon Steel Corp. v. United States, 337 F.3d 1373,

1379 (Fed. Cir. 2003) (quoting Atlantic Sugar, Ltd. v. United States, 744 F.2d 1556,

1562 (Fed. Cir. 1984)). The Court assesses whether the Commission succeeded in

putting forward a reasoned explanation by “mak[ing] the necessary findings and

hav[ing] an adequate evidentiary basis for its findings.” In re NuVasive, Inc., 842

F.3d 1376, 1382 (Fed. Cir. 2016) (internal citations omitted).          To meet this

threshold, the Commission must not only “examine the relevant data and articulate

a satisfactory explanation for its action,” it must also provide “a rational connection

between the facts found and the choice made.” Id.




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                                   DISCUSSION

      At the heart of CVB’s argument lies the claim that the Commission

unreasonably determined that boxed mattresses and flat-packed mattresses are not

a segmented market. See Pl.’s Br. at 2–4, ECF No. 48 (summarizing argument as

containing four distinct claims, but with the first, second, and fourth claims being

dependent on distinguishing data about boxed and flat-packed mattresses). CVB

argues that boxed mattresses experienced most of the competition from subject

imports, but the domestic boxed mattress industry thrived during the period of

investigation. Id. at 9. In contrast, the domestic flat-packed mattress industry

contracted; but there were relatively few imports of flat-packed mattresses. Id.

CVB therefore argues the downturn cannot be attributed to subject imports but

instead to a marketplace shift characterized by increased boxed mattress demand

and declining flat-packed mattress demand. Id. CVB believes that the Commission

unreasonably found that there was not a segmented market between boxed and flat-

packed mattresses. Id. at 8–17. The Commission responds that it fully considered

and analyzed the data, and CVB’s primary objection is simply that the Commission

came to conclusions opposite CVB’s preference. See generally Def.’s Resp. at 17–26,

ECF No. 51.

      The Court first analyzes three sections of the Commission’s Views that were

not supported by substantial evidence: (1) the discussion of specialization in the

industry, (2) the characterization of mattress purchasers’ specialization, and (3) the




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analysis of purchaser questionnaires. Final Determination at 38, 43–44, J.A. at

124,080, 124,085–86, ECF No. 66. The Court then turns to the question of harmless

error. The Court finds that the Commission’s misleading statistical summaries are

harmless error. Because the Court holds that there remains sufficient reasoning in

the Commission’s Views to uphold its injury determination as supported by

substantial evidence, the determination is SUSTAINED.2

                               I. The Commission’s Errors

        The Commission’s Views contain errors that center around a common theme.

For much of its Views, the Commission employed mathematical obfuscation and

statistical chicanery to make the mattress industry appear less segmented than it

is.   When it addressed producer specialization, the Commission tried to make

producers appear less specialized. To do this, it treated two pairs of companies that

merged during the period of investigation as two single companies that produced

both boxed and flat-packed mattresses, rather than as four companies that each


2 The determination is sustained except with respect to Malaysia.   Plaintiff CVB does not
possess standing to challenge the Commission’s determination with respect to Malaysia.
Def.’s Resp. at 1, ECF No. 51. But see Oral Arg. Tr. at 55:5–16, ECF No. 75 (preserving
standing argument for appeal). It is well-established that each subject country is its own,
unique determination, even when the Commission cumulates imports from multiple
countries for its injury determination. See, e.g., Shandong TTCA Biochemistry Co. v.
United States, 34 CIT 582, 589–90 (2010) (collecting cases). A party requires standing to
challenge the determination for each country. Because CVB conceded there is no evidence
it imports mattresses from Malaysia, it cannot show any injury from the Malaysia
determination and therefore lacks standing to challenge the Commission’s determination
with respect to Malaysia. Oral Arg. Tr. at 55:5–16, ECF No. 75; see also TransUnion LLC
v. Ramirez, 141 S. Ct. 2190, 2200 (2021) (“To have Article III standing to sue in federal
court, plaintiffs must demonstrate, among other things, that they suffered a concrete harm.
No concrete harm, no standing.”).



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specialized in one or the other.   To make purchasers seem less specialized, the

Commission reported that eleven of nineteen purchasers bought both boxed and

flat-packed mattresses but conveniently omitted that almost all of those eleven

purchased far more of one packaging type than the other. Finally, the Commission

omitted important context from its description of purchaser surveys, giving the

impression that wholesale purchasers did not care about packaging type. Each

error demonstrates the Commission’s unfortunate attempt to paint a perfect picture

of an unsegmented market.

                            A. Producer Specialization

      The Commission’s first error is its analysis of producer specialization.

During the period of investigation, two pairs of domestic producers merged. Final

Determination at III-9–10, J.A. at 124,201–02, ECF No. 66. Throughout the Views,

the Commission treated those domestic producers as four separate companies.

However, in its analysis of producer specialization, it treated the producers that

merged as two companies instead of four; and it gave no explanation for making the

change. The reason is self-evident. It was more convenient to treat them as two

companies because doing so gave the impression that more domestic producers

manufacture both boxed and flat-packed mattresses.

      The Commission summarized its findings regarding producer specialization:

            Although two of the three largest domestic producers of
            [boxed mattresses] produced no [flat-packed mattresses],
            the three largest producers of [flat-packed mattresses]
            also produced [boxed mattresses]. Nearly a quarter (12)



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             of responding domestic producers produced both [flat-
             packed mattresses] and [boxed mattresses] in 2019, with
             these producers accounting for [a majority] of [boxed
             mattress] production that year, and nearly half (21) of all
             responding producers reported production of [boxed
             mattresses].

Id. at 38, J.A. at 124,080, (internal citations omitted). To support its claims, the

Commission relies primarily on Table III-1. Id. Table III-1 is a chart that lists for

each U.S. producer in 2019 its share of total mattress production, boxed mattress

production, and flat-packed mattress production. Id. at III-3–6, J.A. at 124,195–98.

      First, the Commission states that two of the three largest domestic producers

of boxed mattresses produced no flat-packed mattresses. Id. at 38, J.A. at 124,080.

According to the table, the three largest domestic producers of boxed mattresses are

                          , none of which produce flat-packed mattresses. Id. at III-

3–4, J.A. at 124,195–96. Looking at the Commission’s chart, it therefore appears

that all three of the largest domestic boxed mattress producers manufactured no

flat-packed mattresses in 2019. However, Leggett & Platt — a flat-packed mattress

producer — acquired Elite in a deal completed in January 2019. Id. at 38 n.156,

J.A. at 124,080. The Commission apparently chose to treat them as one entity in

2019, allowing the Commission to say that one — rather than zero — of the three

largest domestic producers of boxed mattresses also produced flat-packed

mattresses. The Commission did not explain its decision to treat the two companies

as one entity, even though Elite’s data was reported separately in the Commission’s




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own charts and Elite continued to operate separately.3 See id. at III-3–4, III-9–10,

J.A. at 124,195–96, 124,201–02. It also does not explain why it treated Elite as a

separate entity everywhere else in the Views.

       The Commission next states that the twelve producers that produced both

kinds of mattresses represented a majority of domestic boxed mattress production

in 2019. Id. at 38, J.A. at 124,080. But when the Court manually summed the

data, it sums to less than a quarter, as presented by the Commission in the chart.

Id. at III-3–6, J.A. at 124,195–98. The only way to reach a majority of production is

to include Comfort and Elite with their respective acquirers, Tempur Sealy and

Leggett & Platt. Once again, the Commission elsewhere treats these entities as

separate.    It repeatedly references fifty-three companies, not fifty-one; the

acquisitions were not coextensive with the period of investigation; and the

Commission treats Comfort and Elite as separate entities from Tempur Sealy and

Leggett & Platt at almost every other point in its determination. See, e.g., id. at 37–

39, J.A. at 124,079–81. Compare id. at 36, n.156, J.A. at 124,080 (treating Comfort

and Elite as “domestic producers [that] produced both [flat-packed] and [boxed]

mattresses in 2019” to create a useful statistic), with id. at 69, n.305, J.A. at

124,111 (listing “domestic producers that produced [boxed mattresses] but no [flat-

packed mattresses] in 2019” and including both Comfort and Elite). No explanation

for the statistical gimmick appears.

3 The same is true of the Comfort/Tempur Sealy acquisition.      See Final Determination at
III-3–6, III-9–10, J.A. at 124,195–98, 124,201–02, ECF No. 66.



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        Second, the Commission found that the three largest domestic producers of

flat-packed mattresses also produced boxed mattresses. Id. at 38, J.A. at 124,080.

The Commission is correct; it is strictly true that the three largest domestic

producers of flat-packed mattresses also produced boxed mattresses. However, this

fails to tell the whole story. Although the three companies produced both boxed and

flat-packed mattresses, each produced multiples more flat-packed mattresses. The

three largest domestic flat-packed mattress producers are

                      .] Each company’s market share in flat-packed mattresses is at

least         times greater than its share of the domestic boxed mattress market.

Id. at III-3–6, J.A. at 124,195–98.

        The relative shares of boxed and flat-packed mattresses in domestic

production are also important. The Commission reported that in 2019 flat-packed

mattresses were the substantial majority of domestic production, and boxed

mattresses were less than a quarter of domestic production. Id. at III-19, J.A. at

124,211. Correcting for this domestic production ratio,




                                                                                ]   The

Commission’s statement that the three largest domestic producers of flat-packed

mattresses also produced boxed mattresses obscured the fact that their boxed




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mattress production was               The Commission is obligated to draw from the

evidence all inferences the evidence reasonably demands, not just those that are

convenient. See Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 378

(1998) (The Commission must draw “all those inferences that the evidence fairly

demands.”). The Commission failed to do so here.

      Third, the Commission stated, “Nearly a quarter (12) of responding domestic

producers produced both [flat-packed mattresses] and [boxed mattresses] in 2019,

with these producers accounting for [a majority] of [boxed mattress] production that

year[.]” Final Determination at 38, J.A. at 124,080, ECF No. 66. Of the twelve

companies that produced both mattress types in 2019, five produced virtually none

of one kind. Id. at III-3–6 124,195–98 (providing data that

                          each produced far less than one percent of U.S. production

of one kind of mattress). Of the remaining seven domestic manufacturers, four have

stark production differences:             produced more of one type of mattress than

the other by a ratio of 63-to-1;         had a ratio of 74-to-1;                      had a

ratio of 83-to-1; and                 had a ratio of 60-to-1. Id. Of the remaining

three companies,           had a ratio of nearly 11-to-1;                      of nearly 5-

to-1; and the lone balanced producer,                had a nearly 1-to-1 ratio.4 Id.




4Some producers manufactured more flat-packed mattresses, and others produced more
boxed mattresses. These ratios represent either flat-packed-to-boxed or boxed-to-flat-
packed, depending on what packaging type the producer predominantly made.



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Again, the Commission failed to provide necessary context by drawing all those

inferences fairly demanded by the evidence.

      The Commission must fairly analyze the data. See Allentown Mack Sales &

Serv., 522 U.S. at 378. Here, the evidence demanded acknowledgement that nearly

every producer is highly specialized. The Commission’s failure to do so was not

merely “inartful.” It misread the data in question. See Def.-Ints.’ Supp. Br. at 1,

ECF No. 81. The law charges the Commission with explaining how it views the

evidence before it.   When it changes methodologies in analyzing the data, the

Commission must acknowledge and justify any inconsistent treatment.               See

Wheatland Tube Co. v. United States, 161 F.3d 1365, 1369–70 (Fed. Cir. 1998)

(reviewing courts look for “a reasoned analysis or explanation” and can only affirm

when the agency’s path is “reasonably discernible”).      Because the Commission

opportunistically combined production figures only when it found it useful to avoid

CVB’s market segmentation objections, the Commission has failed to support its

findings on producer specialization with substantial evidence.

                      B. Mattress Purchasers’ Specialization

      The Commission’s second error is its analysis of purchaser specialization. As

with producer specialization, the Commission ignored or failed to provide important

context in its analysis of purchaser specialization. This gave the false impression

that purchasers are indifferent about mattress packaging. Not so. Out of nineteen

purchasers, only three purchased flat-packed and boxed mattresses in numbers




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approaching parity. The other sixteen purchased far more of one packaging type

than the other, and eight of the nineteen (42%) exclusively purchased one packaging

type. The Commission papered over these statistics to make purchasers appear less

specialized and therefore make the market appear less segmented.

       The Commission reported that “[c]onsumer indifference towards mattress

packaging is reflected in purchasing behavior at the wholesale level” in part

because “[e]leven of [nineteen] responding purchasers reported purchasing and/or

importing both [boxed and flat-packed mattresses].” Final Determination at 43,

J.A. at 124,085, ECF No. 66. The Commission cites its purchaser questionnaires

but does not provide a detailed analysis of their responses. The data demonstrate

significant bifurcation in wholesale purchasing decisions.      Eight of the nineteen

purchasers buy only one kind of mattress packaging; and eight of the remaining

eleven wholesale mattress purchasers are highly specialized.                  purchases

one type of mattress more than another at nearly a 10-to-1 ratio;             at a 15-to-

1 ratio;             at a 5-to-1 ratio;                              at a 12-to-1 ratio;

              at a 50-to-1 ratio;         at a 13-to-1 ratio;              at a 62-to-1

ratio; and           at a 6.5-to1 ratio. J.A. at 102,831, ECF No. 66                 ; id.

at 103,156          ; id. at 103,086                id. at 103,051                    id.

at 102,935          ; id. at 102,865               ; J.A. at 108,419, ECF No. 65




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                             ; J.A. at 102,977, ECF No. 73                .5 Only

and                             had a roughly 1-to-1 ratio with           at about 2-to-1.

J.A. at 103,268, ECF No. 73             ; id. at 103,122           ; id. at 111,476

            ]

        The Commission must fairly analyze the data and draw all inferences the

data reasonably demands. See Allentown Mack Sales & Serv., 522 U.S. at 378. It is

true that eleven of nineteen purchasers buy both boxed and flat-packed mattresses,

but the data once again show this statistic is misleading. Only three of nineteen

wholesale purchasers buy boxed and flat-packed mattresses in similar quantities.

Sixteen of nineteen wholesale purchasers either purchase only one kind of mattress

packaging or purchase overwhelmingly one kind of packaging.                No reasonable

person could review this data and determine that it shows wholesale purchasers are

“indifferent” to packaging. See Goss Graphics Sys., Inc. v. United States, 22 CIT

983, 1004 (1998), aff’d, 216 F.3d 1357 (Fed. Cir. 2000) (The Commission has

“discretion to make reasonable interpretations of the evidence.”) (emphasis added).

Most purchasers strongly favor one packaging type over the other. The Commission

should have acknowledged this data and provided its views. Its failure to do so is

error. See Allentown Mack Sales & Serv., Inc., 522 U.S. at 378.




5 These ratios represent either flat-packed-to-boxed or boxed-to-flat-packed, depending on

what packaging type the purchaser predominantly bought.



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                           C. Purchaser Survey Rankings

      The Commission’s third error is found in its analysis of purchaser surveys.

Again, the Commission ignored or failed to provide important context that

undermined the Commission’s conclusion that packaging type is irrelevant to

purchasers. The Commission wrote that “[a]lthough 11 purchasers reported that

packaging was very important to their purchasing decisions, only two purchasers

ranked packaging among the top three factors driving their purchasing decisions,

consistent with the large number of purchasers reporting purchases of both [boxed

and flat-packed mattresses].” Final Determination at 44, J.A. at 124,086, ECF No.

66. In a footnote, the Commission added that “[a]lthough responding purchasers

were free to rank ‘Packaging (i.e., [boxed] or flat packed mattresses)’ among their

top three purchasing factors, as among the purchasing factors enumerated in the

purchasers’ questionnaire, only two did so.” Id. at 44, n.185, J.A. at 124,086.

      The Commission’s statements imply that the question involved ranking from

a pre-selected list. It did not. The question merely provided a blank space and

some examples: “Major purchasing factors.Please list, in order of their importance,

the main factors your firm considers in deciding from whom to purchase mattresses

(examples include availability, extension of credit, contracts, price, quality, range of

supplier’s product line, traditional supplier, etc.).”   Despite packaging not being

listed as a factor for this question, many wholesale purchasers’ questionnaire

responses told a more nuanced story about what drove their decisions. See, e.g.,




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                                                       BUSINESS PROPRIETARY INFORMATION SUBJECT
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U.S. Purchasers’ Questionnaire of                                   J.A. at 111,481,

111,490, ECF No. 66 (listing three factors other than packaging but earlier stating

that “[w]e expect the industry to continue towards [boxed mattresses] due to

customer preference and convenience/portability of the product”); U.S. Purchasers’

Questionnaire of              J.A. at 102,902, 102,915, ECF No. 65 (listing three

non-packaging factors as most important but purchasing zero boxed mattresses);

U.S. Purchasers’ Questionnaire of                         J.A. at 103,013, 103,028,

ECF No. 66 (listing three non-packaging factors as most important but purchasing

zero flat-packed mattresses); U.S. Purchasers’ Questionnaire of                  J.A. at

103,051, 103,065 (listing “[p]roduct features and specifications” as third most

important and purchasing a 50-to-1 ratio of flat-packed-to-boxed mattresses).

      Although it is not the Court’s domain to reweigh the evidence, it is the

Court’s domain to require that the Commission weigh all the evidence in the record

— not just the evidence that supports its decision. See Nippon Steel Corp., 337 F.3d

at 1379 (requiring examination of “the record as a whole, including evidence that

supports as well as evidence that fairly detracts from the substantiality of the

evidence”) (internal quotation omitted). The manufacturers’ data combined with

the wholesale purchasers’ data tell a much more complicated story than the

Commission’s initial line that packaging is irrelevant. It was error to not examine

this data on the record and explain what it meant for the Commission’s ultimate

decision. See In re NuVasive, Inc., 842 F.3d at 1382 (requiring the ITC to “examine




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the relevant data and articulate a satisfactory explanation for its action[,]” so that it

provides “a rational connection between the facts found and the choice made”). The

only thing the Commission has proven is the truth of the adage that “There are

three kinds of lies: Lies, Damned Lies, and Statistics.” Mark Twain, Chapters from

My Autobiography – XX, NORTH AMERICAN REVIEW 465, 471 (July 5, 1907).6

                                   II. Harmless Error

      The Commission need not have gone to such lengths to avoid addressing the

segmentation in the U.S. mattress market. When the Commission finally engaged

with CVB’s arguments and addressed the domestic boxed mattress industry as a

distinct segment, the Commission found injury to that segment. These findings are

supported by substantial evidence. Contrary to CVB’s assertions, the Commission

did not need to go further and conduct a formal market segmentation analysis.

Because, even with the Commission’s errors, there is still substantial evidence to

support the Commission’s ultimate injury finding, the Commission’s errors were

harmless. It is on this basis that the Court will sustain the Commission’s Final

Determination.

                                    A. Legal Standard

      The principle of harmless error applies to judicial review of agency action.

See Vermont Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S.

519, 558 (1978) (“Administrative decisions should be set aside . . . only for


6 Twain attributes this adage to British Prime Minister Benjamin Disraeli.




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substantial procedural or substantive reasons[.]”); Intercargo Ins. Co. v. United

States, 83 F.3d 391, 394 (Fed. Cir. 1996) (“It is well settled that principles of

harmless error apply to the review of agency proceedings.”). Injury determinations

by the Commission are no different. See, e.g., CP Kelco US, Inc. v. United States, 38

CIT 1511, 1529–31 (2014) (applying the principle of harmless error to an injury

determination by the Commission), aff'd, 623 F. App’x 1012 (Fed. Cir. 2015).

      The touchstone of the harmless error inquiry is prejudice. If the errors did

not change the ultimate result of the agency action, they are harmless. Put another

way, if the Commission’s injury determination is still supported by substantial

evidence — even with the errors — the errors are harmless; and the Commission’s

determination may be sustained. See Belton Indus., Inc. v. United States, 6 F.3d

756, 761 (Fed. Cir. 1993) (“Commerce’s violation did not prejudice appellees.

Accordingly, Commerce’s violation was harmless error.”); CP Kelco US, 38 CIT at

1529 (finding any potential error harmless because “[the Commission’s] ultimate

injury finding would not have changed”).         The Court thus looks past the

Commission’s clumsy efforts to dodge CVB’s arguments and now examines where

the Commission squarely addressed CVB’s objections regarding harm to domestic

boxed mattress manufacturers.

                   B. The Commission’s Errors Were Harmless

      In the final pages of its Views, the Commission found that — even when

examining only domestic producers who exclusively manufactured boxed mattresses




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— subject imports injured the domestic industry.      The Commission forthrightly

acknowledged that domestic boxed mattress manufacturers “improved their

performance” during the period of investigation, but it found that these

manufacturers could have performed even better if not for the subject imports.

Final Determination at 69–73, J.A. at 124,111–114, ECF No. 66. In support, the

Commission pointed to the low capacity utilization of domestic boxed mattress

factories, which it attributed to the subject imports.   Id.   Substantial evidence

supports this portion of the Commission’s Views, and it is enough to sustain the

Commission’s ultimate injury finding.      See 19 U.S.C. § 1677(7)(B) (requiring

findings as to volume, price effects, and impact to sustain a material injury

determination). Accordingly, the final section of the Commission’s analysis renders

its earlier errors harmless.

      When the Commission finally turned to addressing CVB’s arguments and

examined domestic producers of boxed mattresses, it found subject imports injured

those producers. Final Determination at 69–70, J.A. at 124,111–112, ECF No. 66.

The Commission observed that these producers improved their performance during

the period of investigation. Id. This improvement was expected because boxed

mattress imports from China decreased dramatically in the wake of an antidumping

order, and the domestic industry invested in increasing boxed mattress production

capacity. Id. at 69–72, J.A. at 124,111–14. However, the Commission found that,

but for the subject imports “displac[ing] domestic industry shipments . . . and




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depress[ing] domestic like product prices to a significant degree,” domestic boxed

mattress producers would have improved their performance even more. Id. at 70,

J.A. at 124,112.

      In particular, the Commission pointed to domestic manufacturers’ excess

production capacity at a time when the market for boxed mattresses grew. Id. at

70–71, J.A. at 124,112–113. Capacity utilization “remained low over the [period of

investigation]” and decreased from 2019 to 2020.       Id. at 70, J.A. at 124,112.

Although domestic producers of boxed mattresses grew their share of U.S. mattress

consumption, importers saw their share of the market grow more — even as

domestic producers had unused capacity. Id. at 71, J.A. at 124,113.

      The Commission concluded that low-priced imports caused this excess

domestic manufacturing capacity.     Id. at 70–72, J.A. at 124,112–114.      It also

rejected arguments that factors other than price explained the low utilization of

domestic manufacturing plants. Id. at 70, n.308, J.A. at 124,112. The Commission

found a “moderately high degree of substitutability” between domestically produced

mattresses and imports based on reports from domestic producers, importers, and

purchasers.   Id. at 28–29, J.A. at 124,070–71.       The majority of responding

purchasers said domestic boxed mattresses and imports were similar “in terms of

product range, quality, and reliability of supply,” undercutting any argument that a

deficiency in one of those factors explained imports’ advantage. Id. at 70, n.308,

J.A. at 124,112.   The Commission also noted domestic producers’ low rate of




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warranty claims, indicating the quality of their products.      Id.   These findings

undermine the argument that low quality, and not subject imports, led to low

capacity utilization. Compare Pl.’s Supp. Br. at 9, ECF No. 84 (“[T]he Commission

merely assumes that the cause of the unused capacity was subject imports, and not

some other cause such as . . . an inability to produce [boxed mattresses] to the same

standard as importing producers.”), with Final Determination at 70, n.308, J.A. at

124,112, ECF No. 66 (finding that “[n]on-price differences cannot explain the . . .

low rates of capacity utilization because a majority of responding purchasers

reported that domestically produced mattresses were comparable to subject imports

in . . . quality” and “domestic producers of [boxed mattresses] experienced low

warranty return rates”).

      When comparing the use of available manufacturing capacity between flat-

packed   mattress   manufacturers     and   boxed   mattress   manufacturers,     the

Commission determined that boxed mattress manufacturers had more unused

manufacturing capacity. Final Determination at 70, n.308, J.A. at 124,112, ECF

No. 66. This discredits raw material shortages as a cause of the low utilization

because flat-packed and boxed mattresses use similar inputs so that any raw

material shortage should have affected both similarly. Compare Pl.’s Supp. Br. at 9,

ECF No. 84 (“[T]he Commission merely assumes that the cause of the unused

capacity was subject imports, and not some other cause such as raw material

shortages[.]”), with Final Determination at 70, n.308, J.A. at 124,112, ECF No. 66




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(“While we recognize that the domestic [boxed mattress] producers’ reduced rate of

capacity utilization in interim 2020 partly reflects raw material shortages, their

capacity utilization rates remained low . . . relative to domestic [flat-packed

mattress] producers . . . and there is no evidence that [boxed mattress] producers

were incapable of utilizing more of their reported capacity[.]”). It also undercuts

CVB’s argument that examining domestic boxed mattress manufacturers separately

would lead to a determination of no injury. See Pl.’s Supp. Br. at 1–2, ECF No. 84.

At least for capacity utilization, treating domestic boxed mattress producers

separately hurts rather than helps CVB.

      Plaintiff points to prior decisions of this Court affirming Commission

determinations of no injury where the domestic industry grew during the period of

investigation and suggests the same result should apply here. See Pl.’s Supp. Br. at

7–8, ECF No. 84. Not so. That the Commission could have come to a different

conclusion does not mean its conclusion here was unsupported by substantial

evidence. See Vermont Yankee, 435 U.S. at 558 (administrative review is supposed

to “insure a fully informed and well-considered decision, not necessarily a decision

the judge[] . . . would have reached”). The standard of review the Court must apply

is determinative.   As the Supreme Court has explained, “[T]he possibility of

drawing two inconsistent conclusions from the evidence does not prevent an

administrative agency’s findings from being supported by substantial evidence.”

Consolo v. Fed. Maritime Comm’n, 383 U.S. 607, 620 (1966).        Further, the law




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prohibits the Commission from finding that there is no material injury to an

industry “merely because . . . the performance of that industry has recently

improved.” 19 U.S.C. § 1677(7)(J). The Commission can find injury to the domestic

industry even when the domestic industry’s performance improved by some metrics

over the course of the period of investigation.   See, e.g., OCTAL Inc. v. United

States, 539 F. Supp. 3d 1291, 1311–13 (CIT 2021) (affirming the Commission’s

finding of injury despite an increase in profit for the domestic industry during the

period of investigation when other factors, including capacity utilization, suggest

injury). Indeed, § 1677(7)(C)(iii) directs the Commission to evaluate “all relevant

economic factors” when conducting its impact analysis, including “actual and

potential negative effects on. . . growth[.]” The statute allows the Commission to

consider whether the domestic industry grew less than it otherwise would have. Cf.

19 U.S.C. § 1677(7)(J) (“The Commission may not determine that there is no

material injury or threat of material injury to an industry in the United States

merely because that industry is profitable or because the performance of that

industry has recently improved.”).

      For sixty-nine pages, the Commission dodges and ducks to avoid separately

addressing domestic boxed mattress producers as CVB argued it should. The

Commission buried important information and engaged in statistical chicanery. See

Oral Arg. Tr. at 29:7–14, ECF No. 75 (describing the Commission’s actions as

“mathematical legerdemain”).    The Commission persisted with its strategy even




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after oral argument.        See Def.’s Supp. Br. at 4–5, n.6, ECF No. 79 (only

acknowledging in a footnote that the Commission’s disparate treatment of

companies that merged during the period of investigation resulted in a threefold

increase in the percentage of domestic mattresses produced by companies making

both flat-packed and boxed mattresses); see also Pl.’s Supp. Br. at 3–4, ECF No. 84.

None of this was necessary.      In the final section of its Views, the Commission

addressed CVB’s argument and reached the same ultimate finding of injury in a

manner that satisfies the substantial evidence standard. Rather than attempting to

paint a perfect picture, the Commission could have addressed CVB’s arguments

directly from the beginning. Instead, the Commission prevails only because of the

final section of its Views and the harmless error principle. Candor should be option

one, not the last resort.

      C. The Commission Was Not Required to Conduct a Formal Market
                          Segmentation Analysis

      In a final argument, CVB says that the Commission needed to conduct a

“proper market segmentation analysis” to satisfy its statutory obligation to

“evaluate all relevant economic factors described in this clause within the context of

the business cycle and conditions of competition that are distinctive to the affected

industry.” Pl.’s Supp. Br. at 5, ECF No. 84 (quoting 19 U.S.C. § 1677(7)(C)(iii)).

CVB acknowledges the many cases holding the Commission need not conduct a

formal market segmentation analysis but nonetheless argues that such an analysis

was necessary here. See id.; Def.’s Supp. Br. at 6–7, ECF No. 79 (listing cases).



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Courts will defer to the Commission’s methodology when it is reasonable, even if a

plaintiff presents a reasonable alternative. JMC Steel Grp. v. United States, 39 CIT

649, 657 (2015) (“It is not enough for Plaintiffs simply to proffer an alternate

methodology to that relied upon by the agency, even if that alternate methodology is

reasonable and not inconsistent with the statute.”).       Because the Commission

reasonably found that subject imports injured the domestic industry, the

Commission satisfied its statutory obligations. See supra Section II-B.

      Absent a statutory command, this Court cannot force a specific methodology

onto the Commission. See Vermont Yankee, 435 U.S. at 546–47 (instructing courts

not to mandate procedures beyond those explicitly required by Congress); Perez v.

Mortg. Bankers Ass’n, 575 U.S. 92, 100 (2015) (citing Vermont Yankee and

abrogating a doctrine that “imposes on agencies an obligation beyond” the

Administrative Procedure Act’s requirements); U.S. Steel Grp., 96 F.3d at 1362

(“This court has no independent authority to tell the Commission how to do its job.

We can only direct the Commission to follow the dictates of its statutory mandate.

So long as the Commission’s analysis does not violate any statute and is not

otherwise arbitrary and capricious, the Commission may perform its duties in the

way it believes most suitable.”). Instead, the Court asks whether the Commission’s

methodology complied with the relevant statutes and finds substantial evidentiary

support. See U.S. Steel Grp., 96 F.3d at 1362. Here, it did.




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      No statute requires the Commission to conduct a market segmentation

analysis. The Commission cites many cases holding that it was not obligated to

conduct a market segmentation analysis. See Def.’s Supp. Br. at 6–7 (listing cases);

see also Full Member Subgroup of Am. Inst. of Steel Constr., LLC v. United States,

547 F. Supp. 3d 1211, 1233 (CIT 2021) (“[T]he Commission was not required to

analyze the impact of subject imports on different segments of the domestic

industry.”), aff’d, No. 2022-1176, 2023 WL 5761126 (Fed. Cir. Sept. 7, 2023); ITG

Voma Corp. v. United States Int'l Trade Comm'n, 253 F. Supp. 3d 1339, 1354 (CIT

2017) (rejecting an argument that the Commission was required to engage in a

market segmentation analysis because “the law imposes no such requirement”),

aff’d, 753 F. App’x 913 (Fed. Cir. 2019). CVB meanwhile cites no caselaw to support

its stance. The statute instructs the Commission to “evaluate all relevant economic

factors described in this clause within the context of the business cycle and

conditions of competition that are distinctive to the affected industry.” 19 U.S.C. §

1677(7)(C)(iii). This general instruction does not obligate the Commission to use

any specific methodology. See United Steel, Paper & Forestry, Rubber, Mfg., Energy,

Allied Indus. & Serv. Workers Int'l Union, AFL-CIO, CLC v. United States, 348 F.

Supp. 3d 1328, 1333 (CIT 2018) (“The statute does not provide further guidance,

giving the Commission discretion to assess the conditions of competition in a

particular industry.”). Finding no support in caselaw or statutory text, the Court

finds the Commission was not required to conduct a formal market segmentation




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analysis. The final section of its Views addressed imports’ effects on the domestic

boxed mattress market segment separately and that suffices.

                                 CONCLUSION

     The Commission’s determinations are reviewed under the substantial

evidence standard. 19 U.S.C. § 1516a(b)(1)(B)(i). Here, the Commission’s errors

were needless but ultimately harmless. When the Commission stopped trying to

dodge the issue and instead directly addressed harm to domestic boxed mattress

manufacturers, it made the necessary findings to have its decision supported by

substantial evidence. It is on this basis that the Commission’s final affirmative

injury determination is SUSTAINED, and Plaintiff’s Motion for Judgment on the

Agency Record is respectfully DENIED.



                                            /s/    Stephen Alexander Vaden
                                                        Judge

Dated: December 19, 2023
       New York, New York




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                          Tab 3
     International Trade Commission’s Final
Determination in Mattresses from Cambodia, China,
Indonesia, Malaysia, Serbia, Thailand, Turkey, and
    Vietnam (as published in Federal Register)
                                                          Case 1:21-cv-00288-SAV
                                                                  Case: 24-1504   Document 26
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                                                                                                            Filed: 06/21/2024
                                                                                  Federal Register / Vol. 86, No. 92 / Friday, May 14, 2021 / Notices                                                26545

                                               Commission, without further notice to                    Paper and Forestry, Rubber,                      SUMMARY: The Commission hereby gives
                                               the respondent, to find the facts to be as               Manufacturing, Energy, Allied                    notice of the scheduling of expedited
                                               alleged in the complaint and this notice                 Industrial and Service Workers                   reviews pursuant to the Tariff Act of
                                               and to enter an initial determination                    International Union, AFL–CIO                     1930 (‘‘the Act’’) to determine whether
                                               and a final determination containing                     (Washington, DC). The final phase of the         revocation of the countervailing and
                                               such findings, and may result in the                     investigations was scheduled by the              antidumping duty orders on steel nails
                                               issuance of an exclusion order or a cease                Commission following notification of             from Korea, Malaysia, Oman, Taiwan,
                                               and desist order or both directed against                preliminary determinations by                    and Vietnam would be likely to lead to
                                               the respondent.                                          Commerce that imports of mattresses              continuation or recurrence of material
                                                 By order of the Commission.                            from China were subsidized within the            injury within a reasonably foreseeable
                                                                                                        meaning of section 703(b) of the Act (19         time.
                                                 Issued: May 11, 2021.
                                                                                                        U.S.C. 1671b(b)) and imports of
                                               Lisa Barton,                                             mattresses from Cambodia, Indonesia,             DATES: September 4, 2020.
                                               Secretary to the Commission.                             Malaysia, Serbia, Thailand, Turkey, and          FOR FURTHER INFORMATION CONTACT:
                                               [FR Doc. 2021–10233 Filed 5–13–21; 8:45 am]              Vietnam were sold at LTFV within the             Alejandro Orozco (202–205–3177),
                                               BILLING CODE 7020–02–P                                   meaning of 733(b) of the Act (19 U.S.C.          Office of Investigations, U.S.
                                                                                                        1673b(b)). Notice of the scheduling of           International Trade Commission, 500 E
                                                                                                        the final phase of the Commission’s              Street SW, Washington, DC 20436.
                                               INTERNATIONAL TRADE                                      investigations and of a public hearing to        Hearing-impaired persons can obtain
                                               COMMISSION                                               be held in connection therewith was              information on this matter by contacting
                                               [Investigation Nos. 701–TA–645 and 731–                  given by posting copies of the notice in         the Commission’s TDD terminal on 202–
                                               TA–1495–1501 (Final)]                                    the Office of the Secretary, U.S.                205–1810. Persons with mobility
                                                                                                        International Trade Commission,                  impairments who will need special
                                               Mattresses From Cambodia, China,                         Washington, DC, and by publishing the            assistance in gaining access to the
                                               Indonesia, Malaysia, Serbia, Thailand,                   notice in the Federal Register on                Commission should contact the Office
                                               Turkey, and Vietnam                                      November 27, 2020 (85 FR 76105). In              of the Secretary at 202–205–2000.
                                                                                                        light of the restrictions on access to the       General information concerning the
                                               Determinations                                           Commission building due to the                   Commission may also be obtained by
                                                  On the basis of the record 1 developed                COVID–19 pandemic, the Commission                accessing its internet server (https://
                                               in the subject investigations, the United                conducted its hearing through written            www.usitc.gov). The public record for
                                               States International Trade Commission                    testimony and video conference on                these reviews may be viewed on the
                                               (‘‘Commission’’) determines, pursuant                    March 18, 2020. All persons who                  Commission’s electronic docket (EDIS)
                                               to the Tariff Act of 1930 (‘‘the Act’’),                 requested the opportunity were                   at https://edis.usitc.gov.
                                               that an industry in the United States is                 permitted to participate.
                                                                                                           The Commission made these                     SUPPLEMENTARY INFORMATION:
                                               materially injured by reason of imports
                                                                                                        determinations pursuant to §§ 705(b)             Background.—On September 4, 2020,
                                               of mattresses from Cambodia, Indonesia,
                                                                                                        and 735(b) of the Act (19 U.S.C.                 the Commission determined that the
                                               Malaysia, Serbia, Thailand, Turkey, and
                                                                                                        1671d(b) and 19 U.S.C. 1673d(b)). It             domestic interested party group
                                               Vietnam, provided for in subheadings
                                                                                                        completed and filed its determinations           response to its notice of institution (84
                                               9404.21.00, 9404.29.10, 9404.29.90,
                                                                                                        in these investigations on May 10, 2021.         FR 33195, June 1, 2020) of the subject
                                               9401.40.00, and 9401.90.50 of the
                                                                                                        The views of the Commission are                  five-year reviews was adequate and that
                                               Harmonized Tariff Schedule of the
                                                                                                        contained in USITC Publication 5191              the respondent interested party group
                                               United States, that have been found by
                                                                                                        (May 2021), entitled Mattresses from             response was inadequate. The
                                               the U.S. Department of Commerce
                                                                                                        Cambodia, China, Indonesia, Malaysia,            Commission did not find any other
                                               (‘‘Commerce’’) to be sold in the United
                                                                                                        Serbia, Thailand, Turkey, and Vietnam:           circumstances that would warrant
                                               States at less than fair value (‘‘LTFV’’),
                                                                                                        Investigation Nos. 701–TA–645 and                conducting full reviews.1 Accordingly,
                                               and by reason of imports of mattresses
                                                                                                        731–TA–1495–1501 (Final).                        the Commission determined that it
                                               from China that have been found by
                                                                                                                                                         would conduct expedited reviews
                                               Commerce to be subsidized by the                           By order of the Commission.
                                                                                                                                                         pursuant to section 751(c)(3) of the
                                               government of China.                                       Issued: May 10, 2021.                          Tariff Act of 1930 (19 U.S.C. 1675(c)(3)).
                                               Background                                               Lisa Barton,
                                                                                                                                                            For further information concerning
                                                                                                        Secretary to the Commission.                     the conduct of these reviews and rules
                                                 The Commission instituted these                        [FR Doc. 2021–10165 Filed 5–13–21; 8:45 am]
                                               investigations effective March 31, 2020,                                                                  of general application, consult the
                                               following receipt of petitions filed with
                                                                                                        BILLING CODE 7020–02–P                           Commission’s Rules of Practice and
                                               the Commission and Commerce by                                                                            Procedure, part 201, subparts A and B
                                               Brooklyn Bedding (Phoenix, Arizona),                                                                      (19 CFR part 201), and part 207,
                                                                                                        INTERNATIONAL TRADE                              subparts A, D, E, and F (19 CFR part
                                               Corsicana Mattress Company (Dallas,                      COMMISSION
                                               Texas), Elite Comfort Solutions                                                                           207).
                                               (Newnan, Georgia), FXI, Inc. (Media,                     [Investigation Nos. 701–TA–521 and 731–             Please note the Secretary’s Office will
                                               Pennsylvania), Innocor, Inc. (Media,                     TA–1252–1255 and 1257 (Review)]                  accept only electronic filings at this
                                               Pennsylvania), Kolcraft Enterprises, Inc.                                                                 time. Filings must be made through the
khammond on DSKJM1Z7X2PROD with NOTICES




                                                                                                        Steel Nails From Korea, Malaysia,                Commission’s Electronic Document
                                               (Chicago, Illinois), Leggett & Platt,                    Oman, Taiwan, and Vietnam;
                                               Incorporated (Carthage, Missouri), the                                                                    Information System (EDIS, https://
                                                                                                        Scheduling of Expedited Five-Year                edis.usitc.gov). No in-person paper-
                                               International Brotherhood of Teamsters                   Reviews
                                               (Washington, DC), and United Steel,                                                                       based filings or paper copies of any
                                                                                                        AGENCY: United States International
                                                 1 The record is defined in § 207.2(f) of the           Trade Commission.                                  1 A record of the Commissioners’ votes is

                                               Commission’s Rules of Practice and Procedure (19         ACTION: Notice.                                  available from the Office of the Secretary and at the
                                               CFR 207.2(f)).                                                                                            Commission’s website.



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                     Tab 4
Consolidated Staff Report and Views of the
           Commission (Final)
  Case 1:21-cv-00288-SAV
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                         Document: 60-7 Page:
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      Mattresses from Cambodia, China,
    Indonesia, Malaysia, Serbia, Thailand,
             Turkey, and Vietnam

       Investigation Nos. 701-TA-645 and 731-TA-1495-1501 (Final)




Publication 5191                                                    May 2021
          U.S. International Trade Commission




                              Washington, DC 20436



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     U.S. International Trade Commission

                             COMMISSIONERS

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                      Randolph J. Stayin, Vice Chair
                           David S. Johanson
                         Rhonda K. Schmidtlein
                             Amy A. Karpel




                            Catherine DeFilippo
                           Director of Operations

                                 Staff assigned
                         Mary Messer, Investigator
                    Robert Casanova, Industry Analyst
                     Dixie Downing, Industry Analyst
                        John Benedetto, Economist
                          Emily Kim, Accountant
                         Onslow Hall, Statistician
                        Karl von Schriltz, Attorney
                 Nathanael Comly, Supervisory Investigator

                              Special assistance
                               Russell Duncan
                              Zachary Coughlin
                                Kristina Lara




                           Address all communications to
                            Secretary to the Commission
                   United States International Trade Commission
                              Washington, DC 20436


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                              Washington, DC 20436
                                 www.usitc.gov




      Mattresses from Cambodia, China,
    Indonesia, Malaysia, Serbia, Thailand,
             Turkey, and Vietnam

       Investigation Nos. 701-TA-645 and 731-TA-1495-1501 (Final)




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Note.—Informationthatwouldrevealconfidentialoperationsofindividualconcernsmaynot
bepublished.Suchinformationisidentifiedbybracketsinconfidentialreportsandisdeleted
andreplacedwithasterisks(***)inpublicreports.




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                         UNITEDSTATESINTERNATIONALTRADECOMMISSION


                   InvestigationNos.701ͲTAͲ645and731ͲTAͲ1495Ͳ1501(Final)
                                                
    MattressesfromCambodia,China,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnam



DETERMINATIONS

            Onthebasisoftherecord1 developedinthesubjectinvestigations,theUnitedStates
InternationalTradeCommission(“Commission”)determines,pursuanttotheTariffActof1930
(“theAct”),thatanindustryintheUnitedStatesismateriallyinjuredbyreasonofimportsof
mattressesfromCambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnam,
providedforinsubheadings9404.21.00,9404.29.10,9404.29.90,9401.40.00,and9401.90.50
oftheHarmonizedTariffScheduleoftheUnitedStates,thathavebeenfoundbytheU.S.
DepartmentofCommerce(“Commerce”)tobesoldintheUnitedStatesatlessthanfairvalue
(“LTFV”),andbyreasonofimportsofmattressesfromChinathathavebeenfoundby
CommercetobesubsidizedbythegovernmentofChina.
            
BACKGROUND

            TheCommissioninstitutedtheseinvestigationseffectiveMarch31,2020,following
receiptofpetitionsfiledwiththeCommissionandCommercebyBrooklynBedding(Phoenix,
Arizona),CorsicanaMattressCompany(Dallas,Texas),EliteComfortSolutions(Newnan,
Georgia),FXI,Inc.(Media,Pennsylvania),Innocor,Inc.(Media,Pennsylvania),Kolcraft
Enterprises,Inc.(Chicago,Illinois),Leggett&Platt,Incorporated(Carthage,Missouri),the
InternationalBrotherhoodofTeamsters(Washington,DC),andUnitedSteel,Paperand
Forestry,Rubber,Manufacturing,Energy,AlliedIndustrialandServiceWorkersInternational
Union,AFLͲCIO(Washington,DC).Thefinalphaseoftheinvestigationswasscheduledbythe
CommissionfollowingnotificationofpreliminarydeterminationsbyCommercethatimportsof
mattressesfromChinaweresubsidizedwithinthemeaningofsection703(b)oftheAct(19

        1
        Therecordisdefinedin§207.2(f)oftheCommission’sRulesofPracticeandProcedure(19CFR
207.2(f)).




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U.S.C.1671b(b))andimportsofmattressesfromCambodia,Indonesia,Malaysia,Serbia,
Thailand,Turkey,andVietnamweresoldatLTFVwithinthemeaningof733(b)oftheAct
(19U.S.C.1673b(b)).NoticeoftheschedulingofthefinalphaseoftheCommission’s
investigationsandofapublichearingtobeheldinconnectiontherewithwasgivenbyposting
copiesofthenoticeintheOfficeoftheSecretary,U.S.InternationalTradeCommission,
Washington,DC,andbypublishingthenoticeintheFederalRegisteronNovember27,2020(85
FR76105).InlightoftherestrictionsonaccesstotheCommissionbuildingduetotheCOVID–
19pandemic,theCommissionconducteditshearingthroughwrittentestimonyandvideo
conferenceonMarch18,2020.Allpersonswhorequestedtheopportunitywerepermittedto
participate.
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                                   ViewsoftheCommission
         Basedontherecordinthefinalphaseoftheinvestigations,wedeterminethatan
industryintheUnitedStatesismateriallyinjuredbyreasonofimportsofmattressesfrom
Cambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnamfoundbytheU.S.
DepartmentofCommerce(“Commerce”)tobesoldintheUnitedStatesatlessthanfairvalue
andimportsofthesubjectmerchandisefromChinafoundbyCommercetobesubsidizedbythe
governmentofChina.
         
I.       Background

         ThepetitionsintheseinvestigationswerefiledonMarch31,2020,byBrooklynBedding,
CorsicanaMattressCompany,EliteComfortSolutions,FXI,Inc.,Innocor,Inc.,Kolcraft
Enterprises,Inc.,andLeggett&Platt,Incorporated,whicharedomesticproducersof
mattresses,andtheInternationalBrotherhoodofTeamsters,andtheUnitedSteel,Paperand
Forestry,Rubber,Manufacturing,Energy,AlliedIndustrialandServiceWorkersInternational
Union,AFLͲCIO(“USW”),whichareunionsrepresentingworkersatdomesticmattress
productionfacilities(collectively,“petitioners”).Petitionersappearedatthehearing
representedbycounselandsubmittedprehearingandposthearingbriefs,andfinalcomments.
         Severalrespondententitiesparticipatedintheseinvestigations.Appearingatthe
hearingrepresentedbycounselandsubmittingjointprehearingandposthearingbriefs,and
finalcomments,wereAshleyFurnitureIndustries,Inc.(“Ashley”),adomesticproducerand
importer;ClassicBrands,LLC(“Classic”),adomesticproducerandimporter;andCVB,Inc.
(MaloufSleep)(“MaloufSleep”),animporter(collectively,the“jointrespondents”).Also
participatinginthehearingrepresentedbycounselandsubmittingprehearingandposthearing
briefswereNight&DayFurnitureLLC(“Night&Day”)andCozyComfortLLC(“CozyComfort”),
importersofsubjectmerchandise.Finally,thegovernmentofIndonesiasubmitteda
prehearingbriefandparticipatedinthehearing,andthegovernmentofTurkeyparticipatedin
thehearing.1
         U.S.industrydataarebasedonthequestionnaireresponsesfrom53domestic
producersthataccountedforthevastmajorityofdomesticproductionofmattressesin2019.2

                               
         1
          InlightoftherestrictionsonaccesstotheCommissionbuildingduetotheCOVIDͲ19
pandemic,theCommissionconducteditshearingviavideoconferenceheldonMarch18,2021,asset
forthinproceduresprovidedtothepartiesonMarch8,2021.
         2
          ConfidentialReport(“CR”)/PublicReport(“PR”)atIͲ5andIIIͲ1.


                                                  3
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U.S.importsarebasedonquestionnaireresponsesof49firmsthataccountedformostU.S.
importsfromthesubjectcountries,accordingtodatasubmittedinresponsetotheCommission
questionnairesandofficialimportstatistics.3TheCommissionreceivedresponsestoits
questionnairesfrom16foreignproducers/exportersofsubjectmerchandise:one
producer/exporterinChina,accountingfor***percentofU.S.importsfromChinain2019;
threeproducers/exportersinIndonesia,accountingfor***percentofU.S.importsfrom
Indonesiain2019;fiveproducers/exportersinMalaysia,accountingfor***percentofU.S.
importsfromMalaysiain2019;twoproducers/exportersinTurkey,accountingfor***percent
ofU.S.importsfromTurkeyin2019;andfiveproducers/exportersinVietnam,accountingfor
approximately***percentofU.S.importsfromVietnamin2019.4Intheabsenceofanyfinal
phasequestionnaireresponsesfromproducersinCambodia,Serbia,andThailand,the
Commissionreliedonthepreliminaryphasequestionnaireresponsesofoneproducerin
Cambodia,accountingfor***percentofU.S.importsfromCambodiain2019;oneproducerin
Serbia,accountingfor***percentofU.S.importsfromSerbiain2019;andoneproducerin
Thailand,accountingfor***percentofU.S.importsfromThailandin2019.5
        
II.     DomesticLikeProduct

        A.     InGeneral

        IndeterminingwhetheranindustryintheUnitedStatesismateriallyinjuredor
threatenedwithmaterialinjurybyreasonofimportsofsubjectmerchandise,theCommission
firstdefinesthe“domesticlikeproduct”andthe“industry.”6Section771(4)(A)oftheTariffAct
of1930,asamended(“theTariffAct”),definestherelevantdomesticindustryasthe
“producersasawholeofadomesticlikeproduct,orthoseproducerswhosecollectiveoutput
ofadomesticlikeproductconstitutesamajorproportionofthetotaldomesticproductionof
theproduct.”7Inturn,theTariffActdefines“domesticlikeproduct”as“aproductwhichislike,

                               
        3
         CR/PRatIͲ5andIVͲ1.Questionnaireresponsesrepresentgreaterthan100percentofU.S.
importsfromCambodia,China,Indonesia,Serbia,Thailand,Vietnam,andnonsubjectsourcesin2019,
and***percentfromMalaysiaand***percentfromTurkeyin2019underHTSstatisticalreporting
numbers9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,and9404.29.9087,
whicharetheprimaryHTSstatisticalreportingnumbersforthesubjectmerchandise.Id.atIͲ5n.7.
        4
         CR/PRatVIIͲ7,14,21,41,48.
        5
         CR/PRatVIIͲ3,29,35.
        6
         19U.S.C.§1677(4)(A).
        7
         19U.S.C.§1677(4)(A).


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orintheabsenceoflike,mostsimilarincharacteristicsanduseswith,thearticlesubjecttoan
investigation.”8
        Bystatute,theCommission’s“domesticlikeproduct”analysisbeginswiththe“article
subjecttoaninvestigation,”i.e.,thesubjectmerchandiseasdeterminedbyCommerce.9
Therefore,Commerce’sdeterminationastothescopeoftheimportedmerchandisethatis
subsidizedand/orsoldatlessthanfairvalueis“necessarilythestartingpointofthe
Commission’slikeproductanalysis.”10TheCommissionthendefinesthedomesticlikeproduct
inlightoftheimportedarticlesCommercehasidentified.11Thedecisionregardingthe
appropriatedomesticlikeproduct(s)inaninvestigationisafactualdetermination,andthe
Commissionhasappliedthestatutorystandardof“like”or“mostsimilarincharacteristicsand
uses”onacaseͲbyͲcasebasis.12Nosinglefactorisdispositive,andtheCommissionmay
considerotherfactorsitdeemsrelevantbasedonthefactsofaparticularinvestigation.13The



                                  
        8
          19U.S.C.§1677(10).
         9
          19U.S.C.§1677(10).TheCommissionmustacceptCommerce’sdeterminationastothe
scopeoftheimportedmerchandisethatissubsidizedand/orsoldatlessthanfairvalue.See,e.g.,USEC,
Inc.v.UnitedStates,34Fed.App’x725,730(Fed.Cir.2002)(“TheITCmaynotmodifytheclassorkind
ofimportedmerchandiseexaminedbyCommerce.”);AlgomaSteelCorp.v.UnitedStates,688F.Supp.
639,644(Ct.Int’lTrade1988),aff’d,865F.3d240(Fed.Cir.),cert.denied,492U.S.919(1989).
         10
           CleoInc.v.UnitedStates,501F.3d1291,1298(Fed.Cir.2007);seealsoHitachiMetals,Ltd.v.
UnitedStates,CaseNo.19Ͳ1289,slipop.at8Ͳ9(Fed.Circ.Feb.7,2020)(thestatuterequiresthe
CommissiontostartwithCommerce’ssubjectmerchandiseinreachingitsownlikeproduct
determination).
         11
           Cleo,501F.3dat1298n.1(“Commerce’s{scope}findingdoesnotcontroltheCommission’s
{likeproduct}determination.”);HosidenCorp.v.AdvancedDisplayMfrs.,85F.3d1561,1568(Fed.Cir.
1996)(theCommissionmayfindasinglelikeproductcorrespondingtoseveraldifferentclassesorkinds
definedbyCommerce);TorringtonCo.v.UnitedStates,747F.Supp.744,748–52(Ct.Int’lTrade1990),
aff’d,938F.2d1278(Fed.Cir.1991)(affirmingtheCommission’sdeterminationdefiningsixlikeproducts
ininvestigationswhereCommercefoundfiveclassesorkinds).
         12
           See,e.g.,CleoInc.v.UnitedStates,501F.3d1291,1299(Fed.Cir.2007);NECCorp.v.
DepartmentofCommerce,36F.Supp.2d380,383(Ct.Int’lTrade1998);NipponSteelCorp.v.United
States,19CIT450,455(1995);TorringtonCo.v.UnitedStates,747F.Supp.744,749n.3(Ct.Int’lTrade
1990),aff’d,938F.2d1278(Fed.Cir.1991)(“everylikeproductdetermination‘mustbemadeonthe
particularrecordatissue’andthe‘uniquefactsofeachcase’”).TheCommissiongenerallyconsidersa
numberoffactors,includingthefollowing:(1)physicalcharacteristicsanduses;(2)interchangeability;
(3)channelsofdistribution;(4)customerandproducerperceptionsoftheproducts;(5)common
manufacturingfacilities,productionprocesses,andproductionemployees;and,whereappropriate,(6)
price.SeeNippon,19CITat455n.4;TimkenCo.v.UnitedStates,913F.Supp.580,584(Ct.Int’lTrade
1996).
         13
           See,e.g.,S.Rep.No.96Ͳ249at90Ͳ91(1979).


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Commissionlooksforcleardividinglinesamongpossiblelikeproductsanddisregardsminor
variations.14
        
        B.       ProductDescription

        Commercedefinedtheimportedmerchandisewithinthescopeoftheseinvestigations
as:

             Theproductscoveredbythisinvestigationarealltypesofyouthand
             adultmattresses.Theterm“mattress”denotesanassemblyofmaterials
             thatataminimumincludesa“core,”whichprovidesthemainsupport
             systemofthemattress,andmayconsistofinnersprings,foam,other
             resilientfilling,oracombinationofthesematerials.Mattressesmayalso
             contain(1)“upholstery,”thematerialbetweenthecoreandthetop
             panelofthetickingonasingleͲsidedmattress,orbetweenthecoreand
             thetopandbottompanelofthetickingonadoubleͲsidedmattress;
             and/or(2)“ticking,”theoutermostlayeroffabricorothermaterial(e.g.,
             vinyl)thatenclosesthecoreandanyupholstery,alsoknownasacover.
             
             Thescopeofthisinvestigationisrestrictedtoonly“adultmattresses”and
             “youthmattresses.”“Adultmattresses”arefrequentlydescribedas
             “twin,”“extraͲlongtwin,”“full,”“queen,”“king,”or“Californiaking”
             mattresses.“Youthmattresses”aretypicallydescribedas“crib,”
             “toddler,”or“youth”mattresses.Alladultandyouthmattressesare
             includedregardlessofsizeorsizedescription.
             
             Thescopeencompassesalltypesof“innerspringmattresses,”“nonͲ
             innerspringmattresses,”and“hybridmattresses.”“Innerspring
             mattresses”containinnersprings,aseriesofmetalspringsjoined
             togetherinsizesthatcorrespondtothedimensionsofmattresses.

                                 
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          Nippon,19CITat455;Torrington,747F.Supp.at748Ͳ49;seealsoS.Rep.No.96Ͳ249at90Ͳ91
(Congresshasindicatedthatthelikeproductstandardshouldnotbeinterpretedin“suchanarrow
fashionastopermitminordifferencesinphysicalcharacteristicsorusestoleadtotheconclusionthat
theproductandarticlearenot‘like’eachother,norshouldthedefinitionof‘likeproduct’be
interpretedinsuchafashionastopreventconsiderationofanindustryadverselyaffectedbythe
importsunderconsideration.”).


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           Mattressesthatcontaininnerspringsarereferredtoas“innerspring
           mattresses”or“hybridmattresses.”“Hybridmattresses”containtwo
           ormoresupportsystemsasthecore,suchaslayersofbothmemory
           foamandinnerspringunits.
           
           “NonͲinnerspringmattresses”arethosethatdonotcontainany
           innerspringunits.Theyaregenerallyproducedfromfoams(e.g.,
           polyurethane,memory(viscoelastic),latexfoam,gelͲinfusedviscoelastic
           (gelfoam),thermobondedpolyester,polyethylene)orotherresilient
           filling.
           
           Mattressescoveredbythescopeofthisinvestigationmaybeimported
           independently,aspartoffurnitureorfurnituremechanisms(e.g.,
           convertiblesofabedmattresses,sofabedmattressesimported
           withsofabedmechanisms,cornergroupmattresses,dayͲbedmattresses,
           rollͲawaybedmattresses,highrisers,trundlebedmattresses,crib
           mattresses),oraspartofasetincombinationwitha“mattress
           foundation.”“Mattressfoundations”areanybaseorsupportfora
           mattress.Mattressfoundationsarecommonlyreferredtoas
           “foundations,”“boxsprings,”“platforms,”and/or“bases.”Basescanbe
           static,foldable,oradjustable.Onlythemattressiscoveredbythescope
           ifimportedaspartoffurniture,withfurnituremechanisms,oraspartof
           aset,incombinationwithamattressfoundation.
           
           Excludedfromthescopeofthisinvestigationare“futon”mattresses.A
           “futon”isabiͲfoldframemadeofwood,metal,orplasticmaterial,orany
           combinationthereof,thatfunctionsasbothseatingfurniture(suchasa
           couch,loveseat,orsofa)andabed.A“futonmattress”isatufted
           mattress,wherethetopcoveringissecuredtothebottomwiththread
           thatgoescompletelythroughthemattressfromthetopthroughtothe
           bottom,anditdoesnotcontaininnerspringsorfoam.Afutonmattressis
           boththebedandseatingsurfaceforthefuton.
           




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                                          Appx14743
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             Alsoexcludedfromthescopeareairbeds(includinginflatable
             mattresses)andwaterbeds,whichconsistofairͲorliquidͲfilledbladders
             asthecoreormainsupportsystemofthemattress.
             
             Alsoexcludediscertainmultifunctionalfurniturethatisconvertiblefrom
             seatingtosleeping,regardlessoffillermaterialorcomponents,where
             thatfillermaterialorcomponentsareupholstered,integratedinto
             thedesignandconstructionof,andinseparablefrom,thefurniture
             framing,andtheoutermostlayerofthemultifunctionalfurniture
             convertsintothesleepingsurface.Suchfurnituremay,andwithout
             limitation,becommonlyreferredtoas“convertiblesofas,”“sofabeds,”
             “sofachaisesleepers,”“futons,”“ottomansleepers”oralikedescription.
             
             Alsoexcludedfromthescopeofthisinvestigationareanyproducts
             coveredbytheexistingantidumpingdutyordersonuncovered
             innerspringunitsfromChinaorVietnam.SeeUncoveredInnerspring
             UnitsfromthePeople’sRepublicofChina:NoticeofAntidumpingDuty
             Order,74FR7661(Feb.19,2009);UncoveredInnerspringUnitsFromthe
             SocialistRepublicofVietnam,73FR75391(Dec.11,2008).
             
             Alsoexcludedfromthescopeofthisinvestigationarebassinetpadswith
             anominallengthoflessthan39inches,anominalwidthlessthan25
             inches,andanominaldepthoflessthan2inches.
             
             Additionally,alsoexcludedfromthescopeofthisinvestigationare
             “mattresstoppers.”A“mattresstopper”isaremovablebedding
             accessorythatsupplementsamattressbyprovidinganadditionallayer
             thatisplacedontopofamattress.Excludedmattresstoppershavea
             nominalheightoffourinchesorless.15

                                
        15
           SeeMattressesFromthePeople'sRepublicofChina:FinalAffirmativeCountervailingDuty
Determination,86Fed.Reg.15910(March25,2021);MattressesfromVietnam:FinalAffirmative
DeterminationofSalesatLessThanFairValue,86Fed.Reg.15889(March25,2021);Mattressesfrom
Serbia:FinalAffirmativeDeterminationofSalesatLessThanFairValue,andFinalNegativeFindingof
CriticalCircumstances,86Fed.Reg.15892(March25,2021);MattressesfromCambodia:Final
AffirmativeDeterminationofSalesatLessThanFairValue,andFinalNegativeFindingofCritical
(Continued...)
                                                    8
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        Mattressesaredefinedbytheindustryasaresilientmaterialorcombinationof
materialsgenerallyenclosedbytickingthatisintendedorpromotedforsleepinguponby
people.16Adultmattressesareproducedinstandardlengthsandwidthscorrespondingtothe
sizedescriptorstwin,twinXL,full,queen,king,andCaliforniaking,andyouthmattressesare
producedinstandarddimensionscorrespondingtothesizedescriptorscrib,toddler,and
youth.17Intermsofconstruction,mattressesgenerallyconsistof:(1)acore,whichprovides
themainsupportsystemofthemattress;(2)upholsterymaterialsurroundingthecore;and(3)
ticking,whichisthecoveroroutermostlayeroffabricorothermaterialenclosingthecoreand
anyupholstery.18
        TheU.S.mattressmarketischaracterizedbyalargevarietyofmattresses.Depending
uponthecompositionoftheircores,mattressescanbecharacterizedasinnerspring,nonͲ
innerspring,andhybridmattresses.19Innerspringmattresseshaveacoremadeofdensely
packedrowsofmetalsprings,sometimesindividuallywrapped,surroundedbyupholsteryand
coveredinticking.20NonͲinnerspringmattressesconsistofeitherasingleslaboffoamor
multiplelayersoffoamencasedinafabricsockandcoveredinticking.21Hybridmattresses
haveacorecombiningmetalspringsandoneormorelayersoffoamsurroundedbyupholstery
andcoveredinticking.22Allthreetypesofmattressesmaybepackagedforshipmentand
deliveryflat(flatpackedmattressesor(“FPM”))orrolledandboxedasamattressͲinͲaͲbox
(“MiB”).23Mattressescanalsovaryaccordingtospringquality,foamdensityandtype,
upholsteryandtickingquality,andspecialdesignfeatures.24

                                                                                                             
(…Continued)
Circumstances,86Fed.Reg.15894(March25,2021);MattressesfromIndonesia:FinalAffirmative
DeterminationofSalesatLessThanFairValue,86Fed.Reg.15899(March25,2021);Mattressesfrom
Malaysia:FinalAffirmativeLessThanFairValueDetermination,86Fed.Reg.15901(March25,2021);
MattressesfromTurkey:FinalAffirmativeDeterminationofSalesatLessThanFairValue,andFinal
NegativeFindingofCriticalCircumstances,86Fed.Reg.15917(March25,2021);Mattressesfrom
Thailand:FinalAffirmativeDeterminationofSalesatLessThanFairValue,86Fed.Reg.15928(March
25,2021).
        16
          CR/PRatIͲ13.
        17
          CR/PRatIͲ11,IIͲ1.
        18
          CR/PRatIͲ13Ͳ14.
        19
          CR/PRatIIͲ1.
        20
          CR/PRatIͲ11,IͲ13Ͳ15,FigureIͲ1.
        21
          CR/PRatIͲ16Ͳ17,FigureIͲ2.
        22
          CR/PRatIͲ11,14Ͳ15,IIͲ1,FigureIͲ1.
        23
          CR/PRatIͲ15,IIͲ1.
        24
          SeeMattressesfromChina,Inv.No.731ͲTAͲ1424(Final),USITCPub.5000(Dec.2019)at8.In
September2018,nineU.S.mattressproducersfiledanantidumpingpetitionagainstimportsof
(Continued...)
                                                    9

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        C.      ArgumentsoftheParties

        Petitioners’Argument.PetitionersarguethattheCommissionshoulddefinethe
domesticlikeproductasallmattresseswithinthescopeoftheinvestigations,asitdidin
MattressesfromChina,basedonanexaminationoftheCommission’straditionallikeproduct
factors.25Intheirview,thereisnonewinformationontherecordoftheseinvestigationsthat
wouldwarranttheCommission’sreconsiderationofitsdomesticlikeproductdefinitionfrom
MattressesfromChina.26
        Respondents’Arguments.Thejointrespondentsdonotcontestpetitioners’proposed
definitionofthedomesticlikeproduct.27
        CozyComfortarguesthattheCommissionmistakenlyincludedtheSeatͲtoͲSleep(“STS”)
furniturecomponentwithinthesingledomesticlikeproductdefinedinthepreliminary
determinations.Itcontendsthat,contrarytotheCommission’sanalysis,theSTSfurniture
component,whichisnotproduceddomestically,possessescharacteristicsandusesmost
similartothoseofdomesticallyproducedfutons,whichtheCommissionfoundtodifferfrominͲ
scopemattressesinMattressesfromChina.28CozyComfortarguesthatSTSfurniture
components,unlikesleepsofaorotherinͲscopemattresses,consistofaseatingdeckand
articulationmechanismthatareincorporatedintosofasandchairsforsittingand,when
convertedintoabed,sleeping.29CozyComfortalsoarguesthattheSTSfurniturecomponent
andfutonsdifferfrominͲscopemattressesintermsofinterchangeability,channelsof
distribution,productionfacilities,processes,andemployees,producerandconsumer
perceptions,andprice.30Finally,CozyComfortarguesthattheonlyreasonitdidnotsubmit
commentsonthedraftquestionnairesrequestingthecollectionofdataonthelikeproduct




                                                                                                          
(…Continued)
mattressesfromChina.CR/PRatIͲ5.CommerceandtheCommissionreachedaffirmative
determinationsintheirrespectiveinvestigations,andCommerceissuedanantidumpingdutyorderon
importsofmattressesfromChinainDecember2019.Id.Thescopeinthepriormattressinvestigation
wasvirtuallyidenticaltothescopeofthepresentinvestigations.
        25
          Petitioners’PrehearingBriefat2Ͳ5.
        26
          Petitioners’PrehearingBriefat4.
        27
          JointRespondents’PrehearingBriefat1.
        28
          CozyComfort’sPrehearingBriefat6Ͳ7.
        29
          CozyComfort’sPrehearingBriefat5Ͳ6.
        30
          CozyComfort’sPrehearingBriefat7Ͳ9.CozyComfortcontendsthattheSTSfurniture
componentis***usingpatentedtechnology.Id.at9n.24.


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issueandthedomesticindustryproducingfutonswasthatitdidnotqualifyasaninterested
partyuntilMarch2020,whenitfirstimportedtheSTSfurniturecomponent.31
        Night&DayarguesthattheCommissionshoulddefinetrifoldmemoryfoammattresses
asaseparatedomesticlikeproductbecause,initsview,acleardividinglineseparatessuch
mattressesfromotherinͲscopemattressesundertheCommission’ssixlikeproductfactors.32It
claimsthat,unlikeinͲscopemattresses,trifoldmemoryfoammattressesaredesignedtofold
intothreeequallysizedfoamcomponentsforuseinmurphybedcabinets,andarethussuitable
onlyforperiodicusebyguests.33Giventhesecharacteristics,Night&Dayarguesthattrifold
memoryfoammattressesarenotinterchangeablewithinͲscopemattresses,34aresoldonlyto
producersofcabinetsdesignedtoacceptsuchmattresses,35areperceivedbyconsumersand
producersasinferiortoinͲscopemattresses,36andaresoldonlyaspartoftheMurphyCabinet
BedatpricesmuchhigherthanmostinͲscopemattresses.37Atthehearing,arepresentative
fromNight&Daytestifiedthattrifoldmemoryfoammattressesarenotproduced
domestically.38
        
        D.       DomesticLikeProductAnalysis

        Basedontherecord,wedefineasingledomesticlikeproductthatconsistsof
mattresses,coextensivewiththescopeoftheinvestigations,andconsistentwiththedefinition
inthepreliminarydeterminations.39TheCommissionexplainedinthepreliminary
determinationsthattheCommission’sdomesticlikeproductanalysisinMattressesfromChina,
inwhichthescopewasvirtuallyidentical,remainedvalidandthattherewasnoevidenceor
argumentontherecordsuggestingotherwise.40Therecordofthefinalphaseofthe
                                
        31
          CozyComfort’sPrehearingBriefat10n.28.CozyComfortdidnotenteranappearanceinthe
finalphaseoftheseinvestigationsuntilJanuary12,2021,whilethedeadlineforfilingcommentsonthe
draftquestionnaireswasJuly21,2020,aboutfourmonthsafterCozyComfortwouldhavequalifiedas
aninterestedparty.
        32
          Night&Day’sPrehearingBriefat2.
        33
          Night&Day’sPrehearingBriefat3Ͳ4.
        34
          Night&Day’sPrehearingBriefat4.
        35
          Night&Day’sPrehearingBriefat4.
        36
          Night&Day’sPrehearingBriefat5.
        37
          Night&Day’sPrehearingBriefat5.
        38
          HearingTr.at179Ͳ80(Gallawa).
        39
          MattressesfromCambodia,China,Indonesia,Malaysia,Serbia,Thailand,Turkey,and
Vietnam,Inv.Nos.701ͲTAͲ645and731ͲTAͲ1495Ͳ1501(Preliminary),USITCPub.5059(May2020)at11
(“PreliminaryDeterminations”).
        40
          PreliminaryDeterminations,USITCPub.5059at11.


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investigationscontainsnonewinformationthatwouldwarranttheCommission’s
reconsiderationofthissingledomesticlikeproductdefinition.Wethereforedefineasingle
domesticlikeproductencompassingallmattresseswithinthescopeoftheinvestigations.
        WedonotdefineaseparatedomesticlikeproductcorrespondingtoeithertheSTS
furniturecomponents,asadvocatedbyCozyComfort,ortrifoldmemoryfoammattresses,as
advocatedbyNight&Day.Onlythosearticlesdomesticallyproducedmaybedefinedasa
separatedomesticlikeproductandthereisnodomesticproductionofeitherSTSfurniture
componentsortrifoldmemoryfoammattresses.41Intheabsenceofdomesticproductionof
STSfurniturecomponentsortrifoldmemoryfoammattresses,suchcomponentsarenot
capableofexaminationundertheCommission’straditionaldomesticlikeproductanalysis,
whichentailscomparisonofproductsthatareinfactdomesticallyproduced.42Instead,the
Commissionmustdefineadomesticlikeproducttoincludethedomesticallyproducedarticle
“mostsimilar”totheimportedSTSfurniturecomponentsandtrifoldmemoryfoammattresses
withinthescopeoftheinvestigations.43
        ThedomesticallyproducedarticlemostsimilartoimportedSTSfurniturecomponents
wouldbedomesticallyproducedsleepsofamattresses,whichareincludedwithinthesingle
domesticlikeproductofallmattresses.Sleepsofamattressespossesscharacteristicsanduses
mostsimilartothoseofimportedSTSfurniturecomponents.44LikeSTSfurniturecomponents,
sleepsofamattressesareasleepingsurfaceincorporatedintofurniturethatmayeitherbeused
forsittingor,whenthemattressesisunfoldedandfullyextendedonaretractableframe,
sleeping.CozyComfort’swebsiteindicatesthatthemattressesofferedbyCozyComfortare
“sleepersofa”mattressesthatarefoldedintothesleepersofaandcoveredbyseatcushions


                                 
        41
           CozyComfort’sPrehearingBriefat1;HearingTr.at179Ͳ80(Gallawa).
        42
           SeeLargeResidentialWashersfromChina,Inv.No.731ͲTAͲ1306(Preliminary),USITCPub.
4591(Feb.2016)at10(“Absentevidenceofdomesticproductionofsuchwashers,wehavenobasisfor
determiningwhetheracleardividinglineseparatesdomesticallyproducedoutͲofͲscopelowͲtechand
frontloadextraͲwidewashersfrominͲscopeLRWsintermsofourlikeproductfactors....”);19U.S.C.§
1677(4).
         43
           19U.S.C.§1677(10).
         44
           Asdiscussedabove,sofabedmattresseswereproduceddomesticallyduringtheperiodof
investigation.SeeHearingTr.at131(Glassman);CR/PRatTablesIIIͲ3,VIͲ10(***).Inthepreliminary
phaseoftheinvestigations,CozyComfortrecognizedthatSTSfurniturecomponentspossess
characteristicsandusessimilartothoseofdomesticallyproducedsleepersofamattressesinarguing
that“{t}heCozyComfortSTSfurniturecomponentprovidestheconsumerwithasignificantquality
upgrade”comparedto“{m}ostsleepersofasfittedwithamattress....”CozyComfortPostconference
Briefat3.


                                                     12

                                             Appx14748
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whennotinuse.45Unlikeafutonthatservesasasurfaceforbothsleepingandsitting,the
mattressesofferedbyCozyComfort,incorporatingtheSTSfurniturecomponent,areintended
forsleeping,whiletheseatcushionscoveringthefoldedmattressareusedforsitting.46Evento
theextentthattheSTSfurniturecomponentsharessomesimilaritieswithfutonmattresses,
suchmattressesareoutsidethescopeoftheinvestigationsandnotincludedinthesingle
domesticlikeproductthatwedefinewhichincludesdomesticallyproducedsleepsofa
mattresses.47
        Trifoldmemoryfoammattressesarealsonotproduceddomestically.Thedomestically
producedarticlemostsimilartotrifoldmemoryfoammattresseswouldalsobedomestically
producedsleepsofamattresses,whichpossesscharacteristicsandusesmostsimilartothoseof
importedtrifoldmemoryfoammattresses.48Liketrifoldmemoryfoammattresses,sleepersofa
mattressesfoldawayintoapieceoffurniturewhennotinuse,albeitintoasofainsteadofa
cabinet,andarenotintendedorsuitablefordailyuse.49Asnotedabove,andasexplainedin
thepreliminarydeterminations,sleepsofamattressesareincludedintheCommission’ssingle
domesticlikeproductdefinition.50
        Insum,wedefineasingledomesticlikeproductencompassingallmattresseswithinthe
scopeoftheinvestigations.
        
III.    DomesticIndustry

        Thedomesticindustryisdefinedasthedomestic“producersasawholeofadomestic
likeproduct,orthoseproducerswhosecollectiveoutputofadomesticlikeproductconstitutes


                                
        45
           SeeCozycomfort–CozyMattressforHotels,EDISDoc.No.737895;seealsoCozyComfort’s
PrehearingBriefat5.
         46
           SeeCozycomfort–CozyMattressforHotels,EDISDoc.No.737895.
         47
           WeareunpersuadedbyCozyComfort’sargumentthatitwassomehowdeprivedofthe
opportunitytocommentonthedraftquestionnaires,presumablytorequestthecollectionof
informationonthelikeproductissueandthedomesticproductionoffutons.CozyComfort’sPrehearing
Briefat9Ͳ11.***,id.at10,CozyComfortwasinapositiontofileanoticeofappearanceinthe
investigationswellinadvanceofthecirculationofdraftquestionnairesforpartycomments,particularly
giventhatCozyComforthadretainedexperiencedtradecounselandfiledapostconferencebriefinthe
preliminaryphaseoftheinvestigations.Instead,CozyComfortdidnotenteranappearanceinthese
investigationsuntilJanuary15,2021.
         48
           Sofabedmattresseswereproduceddomesticallyduringtheperiodofinvestigation.See
HearingTr.at131(Glassman);CR/PRatTablesIIIͲ3,VIͲ10.
         49
           SeePetitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ41.
         50
           SeePreliminaryDeterminations,USITCPub.5059at11Ͳ12.


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                                            Appx14749
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amajorproportionofthetotaldomesticproductionoftheproduct.”51Indefiningthedomestic
industry,theCommission’sgeneralpracticehasbeentoincludeintheindustryproducersofall
domesticproductionofthelikeproduct,whethertollͲproduced,captivelyconsumed,orsoldin
thedomesticmerchantmarket.
        
        A.       SufficientProductionͲRelatedActivities

        Indecidingwhetherafirmqualifiesasadomesticproducerofthedomesticlikeproduct,
theCommissiongenerallyanalyzestheoverallnatureofafirm’sU.S.productionͲrelated
activities,althoughproductionͲrelatedactivityatminimumlevelscouldbeinsufficientto
constitutedomesticproduction.52
        
                 1.      ArgumentsoftheParties

        Respondents’Argument.Thejointrespondentsrepeattheirargumentfromthe
preliminaryphaseoftheinvestigationsthattheCommissionshouldincludeinthedomestic
industrycompaniesthatdevelopandpromoteMiBsforsaleovertheinternet(“MiB
developers”),suchasCasper,Nector,Leesa,andTuft&Needle,eventhoughtheyproduceno
mattresses.53JointrespondentsassertthatMiBdevelopersshouldqualifyasdomestic
producersbaseduponthesubstantialcapitalinvestmentandtechnicalexpertiserequiredto
designandmarketMiBs,thevalueaddedbytheiradvertisingcampaigns,thesignificantlevelof
theiremployment,andtherelianceofmanyMiBdevelopersondomesticallysourcedMiBs.54
        Petitioners’Argument.PetitionersarguethattheCommissioncorrectlydeterminednot
toincludeMiBdevelopersinthedomesticindustrybecausesuchfirmsmarketmattressesbut
donotmanufacturemattressesintheUnitedStates.55


                                  
        51
          19U.S.C.§1677(4)(A).
        52
          TheCommissiongenerallyconsiderssixfactors:(1)sourceandextentofthefirm’scapital
investment;(2)technicalexpertiseinvolvedinU.S.productionactivities;(3)valueaddedtotheproduct
intheUnitedStates;(4)employmentlevels;(5)quantityandtypeofpartssourcedintheUnitedStates;
and(6)anyothercostsandactivitiesintheUnitedStatesdirectlyleadingtoproductionofthelike
product.NosinglefactorisdeterminativeandtheCommissionmayconsideranyotherfactorsitdeems
relevantinlightofthespecificfactsofanyinvestigation.CrystallineSilicaPhotovoltaicCellsandModules
fromChina,Inv.Nos.701ͲTAͲ481and731ͲTAͲ1190(Final),USITCPub.4360at12Ͳ13(Nov.2012).
        53
          JointRespondents’PrehearingBriefat5Ͳ6.
        54
          SeeJointRespondents’PrehearingBriefat6Ͳ9.
        55
          Petitioners’PrehearingBriefat7n.27.


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                                              Appx14750
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                2.      Analysis

        Inthepreliminarydeterminations,theCommissionfoundthatMiBdevelopersdidnot
engageinproductionͲrelatedactivitiessufficienttoqualifythemasdomesticproducers.56The
Commission’sproductionͲrelatedactivitiesanalysisfocuseson“costsandactivitiesinthe
UnitedStatesdirectlyleadingtoproductionofthelikeproduct,”andtheactivitiesthatMiB
developersengagein,suchasadvertising,designing,andtestingMiBproducts,leadto
purchasesofmattressesbutnotthedomesticproductionofmattressesbytheMiBdevelopers
themselves.57Therecordcontainsnonewinformationorargumentthatwouldwarrantthe
Commission’sreconsiderationofthisanalysis.58WethereforefindthatMiBdevelopersdonot
engageinproductionͲrelatedactivitiessufficienttoqualifythemasdomesticproducers.

        B.      RelatedParties

        Wemustdeterminewhetheranyproducerofthedomesticlikeproductshouldbe
excludedfromthedomesticindustrypursuanttosection771(4)(B)oftheTariffAct.This
provisionallowstheCommission,ifappropriatecircumstancesexist,toexcludefromthe
domesticindustryproducersthatarerelatedtoanexporterorimporterofsubjectmerchandise
orwhicharethemselvesimporters.59ExclusionofsuchaproduceriswithintheCommission’s
discretionbaseduponthefactspresentedineachinvestigation.60
                                 
        56
            PreliminaryDeterminations,USITCPub.5059at14.
        57
            PreliminaryDeterminations,USITCPub.5059at14.
          58
            JointRespondentsreaffirmthattheMiBdevelopersdonotproducemattressesintheUnited
States.JointRespondents’PrehearingBriefat6.
          59
            SeeTorringtonCo.v.UnitedStates,790F.Supp.1161,1168(Ct.Int’lTrade1992),aff’d
withoutopinion,991F.2d809(Fed.Cir.1993);SandvikABv.UnitedStates,721F.Supp.1322,1331Ͳ32
(Ct.Int’lTrade1989),aff’dmem.,904F.2d46(Fed.Cir.1990);EmpirePlowCo.v.UnitedStates,675F.
Supp.1348,1352(Ct.Int’lTrade1987).
          60
            TheprimaryfactorstheCommissionhasexaminedindecidingwhetherappropriate
circumstancesexisttoexcludearelatedpartyincludethefollowing:
          (1)thepercentageofdomesticproductionattributabletotheimportingproducer;
          (2)thereasontheU.S.producerhasdecidedtoimporttheproductsubjecttoinvestigation
(whetherthefirmbenefitsfromtheLTFVsalesorsubsidiesorwhetherthefirmmustimportinorderto
enableittocontinueproductionandcompeteintheU.S.market);
          (3)whetherinclusionorexclusionoftherelatedpartywillskewthedatafortherestofthe
industry;
          (4)theratioofimportshipmentstoU.S.productionfortheimportedproduct;and
          (5)whethertheprimaryinterestoftheimportingproducerliesindomesticproductionor
importation.ChangzhouTrinaSolarEnergyCo.v.USITC,100F.Supp.3d1314,1326Ͳ31(Ct.Int’l.Trade
2015);seealsoTorringtonCo.v.UnitedStates,790F.Supp.at1168.


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        ***aresubjecttoconsiderationforexclusionundertherelatedpartyprovisionas
importersofsubjectmerchandiseduringtheperiodofinvestigation,and***alsoqualifiesasa
relatedpartybasedonitsaffiliationwithsubjectforeignproducersandexportersandU.S.
importersofsubjectmerchandise.6162Wediscussbelowwhetherappropriatecircumstances
existtoexcludeeachofthemfromthedomesticindustry.
        
                1.      ArgumentsoftheParties

        Petitioners’Argument.PetitionersarguethattheCommissionshouldfindthat
appropriatecircumstancesexisttoexclude***fromthedomesticindustryasarelatedparty,
asitdidinthepreliminarydeterminations.63Arguingthatthecircumstanceshavenotchanged
sincethepreliminaryphaseoftheseinvestigations,petitionersrelyon***highandincreasing
ratioofsubjectimportstodomesticproduction,itssmallshareofU.S.productionin2019,and
itsoppositiontothepetitions.64
        Respondents’Argument.ThejointrespondentsarguethattheCommissionshouldfind
thatappropriatecircumstancesdonotexisttoexclude***fromthedomesticindustry.65
ArguingthatthefactshavechangedsincetheCommission’spreliminarydeterminations,the
                                
        61
          CR/PRatIIIͲ7Ͳ8&n.5,TableIIIͲ2.Although***and***purchasedsubjectimportsfrom
importersduringthePOI,thesepurchaseswerenotsubstantialanddonotdemonstratecontroloflarge
volumesofsubjectimportsasrequiredbythestatute.SeeCR/PRatTableIIIͲ10;19U.S.C.§
1677(4)(B)(ii)(III).***purchasesofsubjectimportsfrom***wereonly***unitsinJanuaryͲSeptember
2020(“interim2020”),while***purchasesofsubjectimportsfrom***wereonly***unitsin2019and
***unitsininterim2020.Id.Wethereforefindthatneither***nor***qualifyasarelatedparty
becausethevolumeoftheirrespectivesubjectimportpurchaseswasnotsubstantial.
        62
          ***alsoqualifiesasarelatedpartybasedonitsaffiliationwithanimporterofsubject
merchandise.CR/PRatIIIͲ7&n.5,TableIIIͲ2.***isrelatedto***,whichimportedsubject
merchandisefrom***.Id.Because***didnotprovidearesponsetotheCommission’simporter
questionnaireinthefinalphaseoftheinvestigations,weareunabletocompareitsimportsofsubject
merchandiseto***domesticproduction.Id.atIIIͲ7n.5.***was***in2019,accountingforonly***
percentofdomesticindustryproduction.Id.atTableIIIͲ1.***reportednoimportsorpurchasesof
subjectmerchandise.Id.atTablesIIIͲ1Ͳ2,9.Basedonthelimitedinformationavailableontherecord,
including***smallshareofU.S.productionwhichmakesitsinclusionorexclusionunlikelytoskewthe
recordinthisinvestigation,wefindthatappropriatecircumstancesdonotexisttoexclude***fromthe
domesticindustryundertherelatedpartyprovision.
        63
          Petitioners’PrehearingBriefat5Ͳ6.
        64
          SeePetitioners’PrehearingBriefat5Ͳ7.
        65
          JointRespondents’PrehearingBriefat2.Thejointrespondentsalsoarguethatthe
Commissionshouldagainfind,asitdidinthepreliminarydeterminations,thatappropriate
circumstancesdonotexisttoexclude***fromthedomesticindustryundertherelatedparties
provision.Id.at5.***.CR/PRatIIIͲ7n.4.


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jointrespondentsmaintainthat***primaryinterestisindomesticproduction,asevidencedby
itsstatusasthe***largestdomesticproducer,***,and***.66Ratherthanseekingtobenefit
fromunfairtrade,thejointrespondentsargue,***.67
        
                2.      Analysis

        Wefindthatappropriatecircumstancesexisttoexclude***butnot***fromthe
domesticindustrybasedonthefollowinganalysis.
        ***.68***fallsundertherelatedpartyprovisionbecauseitimportedsubject
mattressesduringthePOIand***.69Specifically,***imported***unitsofmattressesfrom
subjectcountriesin2017(theequivalentof***percentofitsdomesticproduction),***units
in2018(theequivalentof***percentofitsdomesticproduction),and***unitsin2019(the
equivalentof***percentofitsdomesticproduction).70Itimported***unitsfromsubject
countriesininterim2020(theequivalentof***percentofitsdomesticproduction),compared
to***unitsinJanuaryͲSeptember2019(“interim2019”)(theequivalentof***percentofits
domesticproduction).71***explainsitsreasonsforimportingasfollows:***.”72Itopposes
thepetitions.73
        Therecordshowsthat***primaryinterestincreasinglyisinimportationratherthan
domesticproduction.Inthisregard,***ratioofimportstodomesticproductionwashighand
increasingbetween2017and2019,andwasmuchhigherininterim2020thanininterim2019,
asincreasesinitssubjectimportsfaroutstrippedincreasesinitsdomesticproductionduring
theperiod.74Forallofthesereasons,wefindthatappropriatecircumstancesexisttoexclude
***fromthedomesticindustryundertherelatedpartyprovision.




                                
        66
          JointRespondents’PrehearingBriefat3;CR/PRatTablesIIIͲ1,IIIͲ3.
        67
          JointRespondents’PrehearingBriefat3Ͳ4;CR/PRatTableIIIͲ9.
        68
          ***wasthe***largestdomesticproducerin2019,accountingfor***percentofdomestic
industryproduction.CR/PRatTableIIIͲ1.
        69
          CR/PRatIIIͲ7,TableIIIͲ2.
        70
          CR/PRatTableIIIͲ9.***domesticproductionwas***unitsin2017,***unitsin2018,and
***unitsin2019,and***unitsininterim2020,comparedto***unitsininterim2019.Id.
        71
          CR/PRatTableIIIͲ9.
        72
          CR/PRatTableIIIͲ9.***alsostatesthat“***.”Id.
        73
          SeeCR/PRatTableIIIͲ1.
        74
          CR/PRatTableIIIͲ9.


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                                            Appx14753
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        ***.75***fallsundertherelatedpartyprovisionbecauseitimportedsubject
mattressesfrom***in***.76Specifically,***imported***mattressesin***(theequivalent
of***percentofitsdomesticproduction).77***statedthatitimportedmattressesfrom
***.”78It***thepetitions.79
        Inviewofthefactthat***importationofsubjectmerchandisewassmallinrelationto
itsdomesticproduction,andoccurredonlyin***,itsprincipalinterestappearstobein
domesticproduction.Wethereforefindthatappropriatecircumstancesdonotexisttoexclude
***fromthedomesticindustryundertherelatedpartyprovision.
        ***.80***fallsundertherelatedpartyprovisionbecauseitimportedsubject
mattressesduringthePOI.81Specifically,***imported***mattressesin2017(theequivalent
of***percentofitsdomesticproduction),***unitsin2018(theequivalentof***percentof
itsdomesticproduction),and***unitsin2019(theequivalentof***percentofitsdomestic
production).82Itimported***unitsininterim2020(theequivalentof***percentofits
domesticproduction),comparedto***unitsininterim2019(theequivalentof***percentof
itsdomesticproduction).83***hasexplaineditsreasonsforimportingasfollows:***.”84***
opposesthepetitionswithrespectto***.85
        Therecordshowsthat***primaryinterestisinimportationratherthandomestic
production.Inthisregard,***ratioofimportstodomesticproductionwas***highand
increasingirregularlyduringtheperiodofinvestigation,whileitsdomesticproductionremained
***.86Forallofthesereasons,wefindthatappropriatecircumstancesexisttoexclude***
fromthedomesticindustryundertherelatedpartyprovision.




                                
        75
          ***wasthe***largestdomesticproducerin2019,accountingfor***percentofdomestic
industryproduction.CR/PRatTableIIIͲ1.
        76
          CR/PRatTableIIIͲ9.
        77
          CR/PRatTableIIIͲ9.***domesticproductionwas***unitsininterim2020.Id.
        78
          CR/PRatTableIIIͲ9.
        79
          CR/PRatTableIIIͲ1.
        80
          ***was***domesticproducersin2019,accountingfor***ofdomesticindustryproduction.
CR/PRatIIIͲ2n.3(***percentofdomesticindustryproductionin2019).
        81
          CR/PRatTableIIIͲ9.
        82
          CR/PRatTableIIIͲ9.
        83
          CR/PRatTableIIIͲ9.
        84
          CR/PRatTableIIIͲ9.
        85
          CR/PRatIIIͲ2n.3.***.Id.
        86
          CR/PRatTableIIIͲ9.


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        ***.87***fallsundertherelatedpartyprovisionbecauseitimportedsubject
mattressesfrom***in***.88Specifically,***imported***mattressesin***(theequivalent
of***percentofitsdomesticproduction)and***mattressesin***(theequivalentof***
percentofitsdomesticproduction).89***statedthatitbeganimportingmattressesfrom***
“***.”90***.91
        Inviewofthefactthat***importationofsubjectmerchandisewassmallinrelationto
itsdomesticproduction,andoccurredonlyin***,itsprincipalinterestappearstobein
domesticproduction.Wethereforefindthatappropriatecircumstancesdonotexisttoexclude
***fromthedomesticindustryundertherelatedpartyprovision.
        ***.92***fallsundertherelatedpartyprovisionbecauseitimportedsubject
mattressesfrom***in***.93Specifically,***imported***mattressesin***(theequivalent
of***percentofitsdomesticproduction)and***unitsofmattressesin***(theequivalentof
***percentofitsdomesticproduction).94***didnotindicatethereasonforitsimports,and
takesnopositiononthepetitions.95
        Inviewofthefactthat***importationofsubjectmerchandisewassmallinrelationto
itsdomesticproduction,andoccurredonlyin***,itsprincipalinterestappearstobein
domesticproduction.Wethereforefindthatappropriatecircumstancesdonotexisttoexclude
***fromthedomesticindustryundertherelatedpartyprovision.
        Insum,wefindthatappropriatecircumstancesexisttoexclude***fromthedomestic
industryundertherelatedpartiesprovision,butnot***.Accordingly,basedonourdefinition
ofthedomesticlikeproduct,wedefinethedomesticindustrytoincludealldomesticproducers
ofmattresses,withtheexceptionof***.




                                
        87
          ***wasthe***largestdomesticproducerin2019,accountingfor***percentofdomestic
industryproduction.CR/PRatTableIIIͲ1.
        88
          CR/PRatTableIIIͲ9.
        89
          CR/PRatTableIIIͲ9.
        90
          CR/PRatTableIIIͲ9.
        91
          CR/PRatTableIIIͲ1.
        92
          ***wasthe***largestdomesticproducerin2019,accountingfor***percentofdomestic
industryproduction.CR/PRatTableIIIͲ1.
        93
          CR/PRatTableIIIͲ9.
        94
          CR/PRatTableIIIͲ9.***domesticproductionwas***unitsin2017,and***unitsin2018.
Id.
        95
          CR/PRatTablesIIIͲ1,IIIͲ9.


                                                    19

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IV.     Cumulation96

        Forpurposesofevaluatingthevolumeandeffectsforadeterminationofmaterialinjury
byreasonofsubjectimports,section771(7)(G)(i)oftheTariffActrequirestheCommissionto
cumulatesubjectimportsfromallcountriesastowhichpetitionswerefiledand/or
investigationsselfͲinitiatedbyCommerceonthesameday,ifsuchimportscompetewitheach
otherandwiththedomesticlikeproductintheU.S.market.Inassessingwhethersubject
importscompetewitheachotherandwiththedomesticlikeproduct,theCommissiongenerally
hasconsideredfourfactors:

        (1)    the degree of fungibility between subject imports from different
                countries and between subject imports and the domestic like product,
                including consideration of specific customer requirements and other
                qualityrelatedquestions;

        (2)    thepresenceofsalesorofferstosellinthesamegeographicmarketsof
                subjectimportsfromdifferentcountriesandthedomesticlikeproduct;

        (3)    the existence of common or similar channels of distribution for subject
                importsfromdifferentcountriesandthedomesticlikeproduct;and

        (4)    whetherthesubjectimportsaresimultaneouslypresentinthemarket.97



                                 
        96
          PursuanttoSection771(24)oftheTariffAct,importsfromasubjectcountryofmerchandise
correspondingtoadomesticlikeproductthataccountforlessthan3percentofallsuchmerchandise
importedintotheUnitedStatesduringthemostrecent12monthsforwhichdataareavailable
precedingthefilingofthepetitionshallbedeemednegligible.19U.S.C.§§1671b(a),1673b(a),
1677(24)(A)(i),1677(24)(B);seealso15C.F.R.§2013.1(developingcountriesforpurposesof19U.S.C.§
1677(36)).
        Duringthemostrecent12Ͳmonthperiodprecedingthefilingofthepetitionsinthese
investigations,March2019ͲFebruary2020,respondingimportersreportedthatsubjectimportsfrom
Cambodiaaccountedfor***percentoftotalimports,subjectimportsfromChinaaccountedfor***
percentoftotalimports,subjectimportsfromIndonesiaaccountedfor***percentoftotalimports,
subjectimportsfromMalaysiaaccountedfor***percentoftotalimports,subjectimportsfromSerbia
accountedfor***percentoftotalimports,subjectimportsfromThailandaccountedfor***percentof
totalimports,subjectimportsfromTurkeyaccountedfor***percentoftotalimports,andsubject
importsfromVietnamaccountedfor***percentoftotalimports.CR/PRatTableIVͲ3.Because
importsfromeachsubjectcountrywereabovethestatutorynegligibilitythreshold,wefindthatsuch
importsfromeachsourcearenotnegligible.


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        Whilenosinglefactorisnecessarilydeterminative,andthelistoffactorsisnot
exclusive,thesefactorsareintendedtoprovidetheCommissionwithaframeworkfor
determiningwhetherthesubjectimportscompetewitheachotherandwiththedomesticlike
product.98Onlya“reasonableoverlap”ofcompetitionisrequired.99
        
        A.      ArgumentsoftheParties

        Petitioners’Argument.PetitionersarguethattheCommissionshouldcumulateimports
fromallsubjectcountriesasitdidinthepreliminarydeterminationsbecausethepetitionswere
filedonthesamedayandthereisareasonableoverlapofcompetitionbetweenandamong
importsfromeachsubjectcountryandthedomesticlikeproduct.Specifically,petitioners
highlighttheCommission’sfindingofamoderatelyhighdegreeofsubstitutabilitybetween
mattressesfromallsources,notingthatallareproducedfromthesamematerialsinthesame
sizes,regardlessofpackaging,anddesignedtopromotesleep.100Petitionersalsoarguethat
mattressesfromallsourcesaresoldthroughthesamechannelsofdistribution,primarilyto
retailers,andinthesamegeographicmarkets,throughouttheUnitedStates.101Finally,they
arguethatimportsfromeachsubjectcountryandthedomesticlikeproductwere
simultaneouslypresentintheU.S.market.102
        Respondents’Argument.Thejointrespondentsdonotdisputepetitioners’argument
thatsubjectimportsshouldbecumulatedforpurposesofmaterialinjury.103Theydoargue,
however,thatiftheCommissionagainfindsthestatutorycriteriaforcumulationtobesatisfied,
theCommissionmustconsidersubjectimportsonacumulatedbasis,andnottreatsubject

                                                                                                               
(…Continued)
        97
          SeeCertainCastͲIronPipeFittingsfromBrazil,theRepublicofKorea,andTaiwan,Inv.Nos.
731ͲTAͲ278Ͳ280(Final),USITCPub.1845(May1986),aff’d,FundicaoTupy,S.A.v.UnitedStates,678F.
Supp.898(Ct.Int’lTrade),aff’d,859F.2d915(Fed.Cir.1988).
        98
          See,e.g.,WielandWerke,AGv.UnitedStates,718F.Supp.50(Ct.Int’lTrade1989).
        99
          TheStatementofAdministrativeAction(SAA)totheUruguayRoundAgreementsAct(URAA),
expresslystatesthat“thenewsectionwillnotaffectcurrentCommissionpracticeunderwhichthe
statutoryrequirementissatisfiedifthereisareasonableoverlapofcompetition.”H.R.Rep.No.103Ͳ
316,Vol.Iat848(1994)(citingFundicaoTupy,S.A.v.UnitedStates,678F.Supp.at902;seeGoss
GraphicSys.,Inc.v.UnitedStates,33F.Supp.2d1082,1087(Ct.Int’lTrade1998)(“cumulationdoesnot
requiretwoproductstobehighlyfungible”);WielandWerke,AG,718F.Supp.at52(“Completely
overlappingmarketsarenotrequired.”).
        100
            Petitioners’PrehearingBriefat8Ͳ9.
        101
            Petitioners’PrehearingBriefat9Ͳ11.
        102
            Petitioners’PrehearingBriefat10Ͳ11.
        103
            HearingTr.at197(Emerson);seealsoJointRespondents’PosthearingBriefat1.


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importsfromChinaanydifferentlythanitwouldtreatsubjectimportsfromaparticularcountry
sourceinanyotherinvestigationinwhichsubjectimportsarecumulated.104
        
        B.      Analysis

        WeconsidersubjectimportsfromCambodia,China,Indonesia,Malaysia,Serbia,
Thailand,Turkey,andVietnamonacumulatedbasisbecausethestatutorycriteriafor
cumulationaresatisfied.Asaninitialmatter,petitionersfiledtheantidumpingand
countervailingdutypetitionswithrespecttoallcountriesonthesameday,March31,2020.105
        Fungibility.Therecordindicatesthatthereisamoderatelyhighdegreeof
substitutabilitybetweenandamongdomesticallyproducedmattressesandimportsfromeach
subjectcountry.106Nearlyallrespondingdomesticproducersandmostrespondingimporters
andpurchasersreportedthatimportsfromeachsubjectcountryarealwaysorfrequently
interchangeablewithdomesticallyproducedmattressesandimportsfromeveryothersubject
country.107Mostpurchasersrateddomesticallyproducedmattressesascomparableto
mattressesimportedfromeachsubjectcountrywithrespectto26factorsthatinfluence
purchasingdecisions.108Bothdomesticproducersandimportersofmattressesfromeach
subjectcountryofferedacompleterangeofmattressesin2019,includinginnerspring,foam,
andhybridmattressesinallsizes,withtheexceptionthattherewerenoimportsof***.109
AlthoughmostsubjectimportsfromallsourcesconsistedofMiBs,thedomesticindustry
shippedsubstantialquantitiesofbothMiBsandFPMsofalltypes,andsubstantialvolumesof
FPMswereimportedfrom***.110
        ChannelsofDistribution.Domesticallyproducedmattressesandimportsfromeach
subjectcountryweresoldthroughthesamechannelsofdistribution,primarilytoretailers.111

                                 
        104
           SeeJointRespondents’PosthearingBriefat1Ͳ4.Althoughthejointrespondentsarecorrect
thattheCommissionmustconsidersubjectimportsonacumulatedbasisiftheconditionsfor
cumulationaresatisfied,19U.S.C.§1677(7)(G),theCommissionisnotprecludedfromconsidering
supplytrendsforimportsfromdifferentsubjectcountriesasarelevantconditionofcompetition.Id.at
§1677(7)(C)(iii).
        105
           Noneofthestatutoryexceptionstocumulationapplies.
        106
           CR/PRatIIͲ30Ͳ31.
        107
           CR/PRatTableIIͲ15.
        108
           CR/PRatTableIIͲ14.
        109
           CR/PRatTableIVͲ4.Substantialvolumesofcribmattresseswereshippedbythedomestic
industryandimportedfrom***in2019.Id.atTableIVͲ7.
        110
           CR/PRatTablesIVͲ5Ͳ6.
        111
           CR/PRatIIͲ9,TableIIͲ4.


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
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        GeographicOverlap.Domesticallyproducedmattressesandimportsfromeachsubject
countryweresoldinallgeographicmarketareasoftheUnitedStates.112Inaddition,imports
fromeachsubjectcountryenteredtheUnitedStatesthroughallbordersofentryinsubstantial
volumesin2019.113
        SimultaneousPresenceinMarket.Thereweretemporaldifferencesbetweensubject
countriesintermsoftheirpresenceintheU.S.market.114Accordingtoofficialimportstatistics,
subjectimportsfromChinawerepresentintheU.S.marketineverymonthoftheperiodof
investigation,asweredomesticallyproducedmattresses.115Bycontrast,duringthe2017Ͳ18
period,subjectimportsfromSerbiawereabsentandsubjectimportsfromCambodia,
Indonesia,Malaysia,Thailand,Turkey,andVietnamwerepresentintheU.S.marketforonly10,
2,1,1,10,and7months,respectively.116AssubjectimportsfromChinawereincreasingly
supplantedbysubjectimportsfromothersourcesin2019,however,importsofmattresses
fromCambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnamwerepresentinthe
U.S.marketfor12,9,11,9,7,11,and12months,respectively.117Importsfromallsubject
countriesandthedomesticlikeproductweresimultaneouslypresentintheU.S.marketfrom
June2019throughDecember2019.118Furthermore,respondingpurchasersreported
purchasesofimportsfromallsubjectcountriesineveryyearoftheperiodofinvestigation.119
        Conclusion.Therecordindicatesthatthereisareasonableoverlapofcompetition
betweenandamongdomesticallyproducedmattressesandmattressesimportedfrom
Cambodia,China,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnam.Specifically,the
recordshowsthatthereisamoderatelyhighdegreeofsubstitutabilitybetweenandamong
mattressesfromtheUnitedStatesandeachsubjectcountry.Therecordalsoshowsthat
mattressesfromallsourcesweresoldthroughthesamechannelsofdistributionandinthe
samegeographicmarkets.AlthoughsubjectimportsfromcountrysourcesotherthanChina
werenotpresentineverymonthoftheperiodofinvestigation,importsfromallsubject
countriesandthedomesticlikeproductwerepresentineveryyearoftheperiodandtheir
presenceincreasedduringthelast16monthsoftheperiod.Giventhis,andthesatisfactionof
                                
        112
           CR/PRatTableIIͲ5.
        113
           CR/PRatTableIVͲ8.WhileimportsfromTurkeyalsoenteredthroughallbordersofentry,
veryfewenteredtheUnitedStatesthroughportsofentryintheWest.Id.
        114
           SeeCR/PRatFigureIVͲ10.
        115
           CR/PRatIVͲ32,TableIVͲ9.
        116
           CR/PRatIVͲ32,TableIVͲ9.
        117
           CR/PRatIVͲ32,TableIVͲ9.
        118
           CR/PRatTableIVͲ9.
        119
           SeeU.S.Purchasers’QuestionnaireResponsesatQuestionIIͲ2.


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theotherthreecumulationfactors,wefindareasonableoverlapofcompetitionbetweenand
amongdomesticallyproducedmattressesandimportsfromeachsubjectcountrysufficientto
warrantcumulation.120WethereforecumulatesubjectimportsfromCambodia,China,
Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnamforpurposesofourmaterialinjury
analysis.

        
V.      MaterialInjurybyReasonofSubjectImports

        Basedontherecordinthefinalphaseoftheinvestigations,wedeterminethatan
industryintheUnitedStatesismateriallyinjuredbyreasonofimportsofmattressesfrom
Cambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnamfoundbyCommerceto
besoldintheUnitedStatesatlessthanfairvalueandimportsofthesubjectmerchandisefrom
ChinafoundbyCommercetobesubsidizedbythegovernmentofChina.
        
        A.       LegalStandards

        Inthefinalphaseofantidumpingandcountervailingdutyinvestigations,the
CommissiondetermineswhetheranindustryintheUnitedStatesismateriallyinjuredor
threatenedwithmaterialinjurybyreasonoftheimportsunderinvestigation.121Inmakingthis
determination,theCommissionmustconsiderthevolumeofsubjectimports,theireffecton
pricesforthedomesticlikeproduct,andtheirimpactondomesticproducersofthedomestic
likeproduct,butonlyinthecontextofU.S.productionoperations.122Thestatutedefines
                                  
        120
           A“reasonableoverlap”doesnotrequireimportsfromsubjectcountriestobesimultaneously
presentintheU.S.marketthroughouttheperiodofinvestigation,particularlywhenimportsfromall
subjectcountriesweresimultaneouslypresenttowardstheendoftheperiodandsatisfytheother
cumulationfactors.NosinglefactorisdeterminativefortheCommission’scumulationanalysisandonly
a“reasonableoverlap”ofcompetitionisrequired.Indeed,theCommissionhaspreviouslyfounda
reasonableoverlapofcompetitionevenabsentthesimultaneouspresenceofimportsfromallsubject
countriesthroughouttheperiodofinvestigation.SeeCarbonandCertainAlloySteelWireRodfrom
Belarus,Russia,andtheUnitedArabEmirates,Inv.Nos.731ͲTAͲ1349,1352,and1357(Final),USITCPub.
4752(Jan.2018)at19Ͳ21,IVͲ16toIVͲ20;HotͲRolledSteelProductsfromArgentinaandSouthAfrica,Inv.
Nos.701ͲTAͲ404(Final)and731ͲTAͲ898and905(Final),USITCPub.3446(Aug.2001)at13Ͳ14;Certain
ColdͲRolledSteelProductsfromChina,Indonesia,Slovakia,andTaiwan,Inv.Nos.731ͲTAͲ831Ͳ832,835,
and837(Final),USITCPub.3320(Jul.2000)at7.
        121
           19U.S.C.§§1671d(b),1673d(b).
        122
           19U.S.C.§1677(7)(B).TheCommission“mayconsidersuchothereconomicfactorsasare
relevanttothedetermination”butshall“identifyeach{such}factor...andexplaininfullitsrelevanceto
thedetermination.”19U.S.C.§1677(7)(B).


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“materialinjury”as“harmwhichisnotinconsequential,immaterial,orunimportant.”123In
assessingwhetherthedomesticindustryismateriallyinjuredbyreasonofsubjectimports,we
considerallrelevanteconomicfactorsthatbearonthestateoftheindustryintheUnited
States.124Nosinglefactorisdispositive,andallrelevantfactorsareconsidered“withinthe
contextofthebusinesscycleandconditionsofcompetitionthataredistinctivetotheaffected
industry.”125
        AlthoughthestatuterequirestheCommissiontodeterminewhetherthedomestic
industryis“materiallyinjuredorthreatenedwithmaterialinjurybyreasonof”unfairlytraded
imports,126itdoesnotdefinethephrase“byreasonof,”indicatingthatthisaspectoftheinjury
analysisislefttotheCommission’sreasonableexerciseofitsdiscretion.127Inidentifyinga
causallink,ifany,betweensubjectimportsandmaterialinjurytothedomesticindustry,the
Commissionexaminesthefactsofrecordthatrelatetothesignificanceofthevolumeandprice
effectsofthesubjectimportsandanyimpactofthoseimportsontheconditionofthedomestic
industry.Thisevaluationunderthe“byreasonof”standardmustensurethatsubjectimports
aremorethanaminimalortangentialcauseofinjuryandthatthereisasufficientcausal,not
merelyatemporal,nexusbetweensubjectimportsandmaterialinjury.128
        Inmanyinvestigations,thereareothereconomicfactorsatwork,someorallofwhich
mayalsobehavingadverseeffectsonthedomesticindustry.Sucheconomicfactorsmight
includenonsubjectimports;changesintechnology,demand,orconsumertastes;competition
amongdomesticproducers;ormanagementdecisionsbydomesticproducers.Thelegislative
historyexplainsthattheCommissionmustexaminefactorsotherthansubjectimportsto
ensurethatitisnotattributinginjuryfromotherfactorstothesubjectimports,thereby
                                 
        123
            19U.S.C.§1677(7)(A).
         124
            19U.S.C.§1677(7)(C)(iii).
         125
            19U.S.C.§1677(7)(C)(iii).
         126
            19U.S.C.§§1671d(b),1673d(b).
         127
            AngusChemicalCo.v.UnitedStates,140F.3d1478,1484Ͳ85(Fed.Cir.1998)(“{T}hestatute
doesnot‘compelthecommissioners’toemploy{aparticularmethodology}.”),aff’g,944F.Supp.943,
951(Ct.Int’lTrade1996).
         128
            TheFederalCircuit,inaddressingthecausationstandardofthestatute,observedthat“{a}s
longasitseffectsarenotmerelyincidental,tangential,ortrivial,theforeignproductsoldatlessthan
fairvaluemeetsthecausationrequirement.”NipponSteelCorp.v.USITC,345F.3d1379,1384(Fed.Cir.
2003).ThiswasfurtherratifiedinMittalSteelPointLisasLtd.v.UnitedStates,542F.3d867,873(Fed.
Cir.2008),wheretheFederalCircuit,quotingGeraldMetals,Inc.v.UnitedStates,132F.3d716,722
(Fed.Cir.1997),statedthat“thiscourtrequiresevidenceintherecord‘toshowthattheharmoccurred
“byreasonof”theLTFVimports,notbyreasonofaminimalortangentialcontributiontomaterialharm
causedbyLTFVgoods.’”SeealsoNipponSteelCorp.v.UnitedStates,458F.3d1345,1357(Fed.Cir.
2006);TaiwanSemiconductorIndustryAss’nv.USITC,266F.3d1339,1345(Fed.Cir.2001).


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                                             Appx14761
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inflatinganotherwisetangentialcauseofinjuryintoonethatsatisfiesthestatutorymaterial
injurythreshold.129Inperformingitsexamination,however,theCommissionneednotisolate
theinjurycausedbyotherfactorsfrominjurycausedbyunfairlytradedimports.130Nordoes
the“byreasonof”standardrequirethatunfairlytradedimportsbethe“principal”causeof
injuryorcontemplatethatinjuryfromunfairlytradedimportsbeweighedagainstotherfactors,
suchasnonsubjectimports,whichmaybecontributingtooverallinjurytoanindustry.131Itis
clearthattheexistenceofinjurycausedbyotherfactorsdoesnotcompelanegative
determination.132
        Assessmentofwhethermaterialinjurytothedomesticindustryis“byreasonof”subject
imports“doesnotrequiretheCommissiontoaddressthecausationissueinanyparticularway”
aslongas“theinjurytothedomesticindustrycanreasonablybeattributedtothesubject

                                  
        129
            SAAat851Ͳ52(“{T}heCommissionmustexamineotherfactorstoensurethatitisnot
attributinginjuryfromothersourcestothesubjectimports.”);S.Rep.96Ͳ249at75(1979)(the
Commission“willconsiderinformationwhichindicatesthatharmiscausedbyfactorsotherthanlessͲ
thanͲfairͲvalueimports.”);H.R.Rep.96Ͳ317at47(1979)(“inexaminingtheoverallinjurybeing
experiencedbyadomesticindustry,theITCwilltakeintoaccountevidencepresentedtoitwhich
demonstratesthattheharmattributedbythepetitionertothesubsidizedordumpedimportsis
attributabletosuchotherfactors;”thosefactorsinclude“thevolumeandpricesofnonsubsidized
importsorimportssoldatfairvalue,contractionindemandorchangesinpatternsofconsumption,
traderestrictivepracticesofandcompetitionbetweentheforeignanddomesticproducers,
developmentsintechnologyandtheexportperformanceandproductivityofthedomesticindustry”);
accordMittalSteel,542F.3dat877.
         130
            SAAat851Ͳ52(“{T}heCommissionneednotisolatetheinjurycausedbyotherfactorsfrom
injurycausedbyunfairimports.”);TaiwanSemiconductorIndustryAss’n,266F.3dat1345(“{T}he
Commissionneednotisolatetheinjurycausedbyotherfactorsfrominjurycausedbyunfairimports....
Rather,theCommissionmustexamineotherfactorstoensurethatitisnotattributinginjuryfromother
sourcestothesubjectimports.”(emphasisinoriginal));AsociaciondeProductoresdeSalmonyTrucha
deChileAGv.UnitedStates,180F.Supp.2d1360,1375(Ct.Int’lTrade2002)(“{t}heCommissionisnot
requiredtoisolatetheeffectsofsubjectimportsfromotherfactorscontributingtoinjury”ormake
“brightͲlinedistinctions”betweentheeffectsofsubjectimportsandothercauses.);seealsoSoftwood
LumberfromCanada,Inv.Nos.701ͲTAͲ414and731ͲTAͲ928(Remand),USITCPub.3658at100Ͳ01(Dec.
2003)(Commissionrecognizedthat“{i}fanallegedotherfactorisfoundnottohaveorthreatentohave
injuriouseffectstothedomesticindustry,i.e.,itisnotan‘othercausalfactor,’thenthereisnothingto
furtherexamineregardingattributiontoinjury”),citingGeraldMetals,132F.3dat722(thestatute
“doesnotsuggestthatanimporterofLTFVgoodscanescapecountervailingdutiesbyfindingsome
tangentialorminorcauseunrelatedtotheLTFVgoodsthatcontributedtotheharmfuleffectson
domesticmarketprices.”).
         131
            S.Rep.96Ͳ249at74Ͳ75;H.R.Rep.96Ͳ317at47.
         132
            SeeNipponSteelCorp.,345F.3dat1381(“anaffirmativematerialͲinjurydeterminationunder
thestatuterequiresnomorethanasubstantialͲfactorshowing.Thatis,the‘dumping’neednotbethe
soleorprincipalcauseofinjury.”).


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imports.”133TheCommissionensuresthatithas“evidenceintherecord”to“showthatthe
harmoccurred‘byreasonof’theLTFVimports,”andthatitis“notattributinginjuryfromother
sourcestothesubjectimports.”134TheFederalCircuithasexaminedandaffirmedvarious
Commissionmethodologiesandhasdisavowed“rigidadherencetoaspecificformula.”135
        Thequestionofwhetherthematerialinjurythresholdforsubjectimportsissatisfied
notwithstandinganyinjuryfromotherfactorsisfactual,subjecttoreviewunderthesubstantial
evidencestandard.136CongresshasdelegatedthisfactualfindingtotheCommissionbecause
oftheagency’sinstitutionalexpertiseinresolvinginjuryissues.137
        
        B.      ConditionsofCompetitionandtheBusinessCycle

        Thefollowingconditionsofcompetitioninformouranalysisofwhetherthereismaterial
injurybyreasonofsubjectimports.
        
                1.       DemandConsiderations

        Demandformattressesistiedtohousingsalesandeconomicactivity,particularlynew
homesales,housingstarts,homeresales,interestrates,grossdomesticproduct(“GDP”)
growth,andconsumersentiment.138Manyofthesefactorsincreasedthrough2019,driving
                                 
        133
            MittalSteel,542F.3dat876&78;seealsoid.at873(“WhiletheCommissionmaynotenter
anaffirmativedeterminationunlessitfindsthatadomesticindustryismateriallyinjured‘byreasonof’
subjectimports,theCommissionisnotrequiredtofollowasinglemethodologyformakingthat
determination...{andhas}broaddiscretionwithrespecttoitschoiceofmethodology.”)citingUnited
StatesSteelGroupv.UnitedStates,96F.3d1352,1362(Fed.Cir.1996)andS.Rep.96Ͳ249at75.Inits
decisioninSwiffͲTrainv.UnitedStates,793F.3d1355(Fed.Cir.2015),theFederalCircuitaffirmedthe
Commission’scausationanalysisascomportingwiththeCourt’sguidanceinMittal.
         134
            MittalSteel,542F.3dat873(quotingfromGeraldMetals,132F.3dat722),877Ͳ79.Wenote
thatonerelevant“otherfactor”mayinvolvethepresenceofsignificantvolumesofpriceͲcompetitive
nonsubjectimportsintheU.S.market,particularlywhenacommodityproductisatissue.In
appropriatecases,theCommissioncollectsinformationregardingnonsubjectimportsandproducersin
nonsubjectcountriesinordertoconductitsanalysis.
         135
            NucorCorp.v.UnitedStates,414F.3d1331,1336,1341(Fed.Cir.2005);seealsoMittalSteel,
542F.3dat879(“BratskdidnotreadintotheantidumpingstatuteaProcrusteanformulafor
determiningwhetheradomesticinjurywas‘byreason’ofsubjectimports.”).
         136
            Weprovideinourdiscussionbelowafullanalysisofotherfactorsallegedtohavecausedany
materialinjuryexperiencedbythedomesticindustry.
         137
            MittalSteel,542F.3dat873;NipponSteelCorp.,458F.3dat1350,citingU.S.SteelGroup,96
F.3dat1357;S.Rep.96Ͳ249at75(“ThedeterminationoftheITCwithrespecttocausationis...complex
anddifficult,andisamatterforthejudgmentoftheITC.”).
         138
            CR/PRatIIͲ21Ͳ22.


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increaseddemand,declinedinearly2020duetotheCOVIDͲ19pandemic,andthen
recovered.139Theimpactofthepandemiconmattressdemandwasmixed,withdemanddown
fromhotelsandcolleges,whichaccountforasmallshareoftotaldemand,butupfor
consumersreportedlyduetofactorssuchasincreasedtimespentathomeandstimulus
checks.140Majoritiesorpluralitiesofrespondingdomesticproducers,importers,and
purchasersreportedincreasingdemandformosttypesofmattressesintheU.S.marketduring
theperiodofinvestigation.141
        Demandtrendsdifferedbytypeofmattress.Demandforinnerspringmattresses
declinedwhiledemandfornonͲinnerspringandhybridmattressesincreased.142ApparentU.S.
consumptionofMiBsalsoincreased,whileapparentU.S.consumptionofFPMsdeclined.143
Nevertheless,amajorityofrespondingdomesticproducers,importers,andpurchasers
reportedthatdemandforFPMswasstableorincreasing,andFPMsaccountedforalarger
shareofapparentU.S.consumptionthanMiBsthroughouttheperiodofinvestigation.144
        ApparentU.S.consumptionofmattressesincreasedfrom***unitsin2017to***units
in2018and***unitsin2019,alevel***percenthigherthanin2017.145ApparentU.S.
consumptionofmattresseswas***unitsininterim2020,up***percentcomparedto***
unitsininterim2019.146
        




                                
        139
            SeeCR/PRatIIͲ21Ͳ22,FiguresIIͲ1Ͳ3.
         140
            Petitioners’PrehearingBriefat13;HearingTr.at24(Glassman).
         141
            CR/PRatIIͲ25,TableIIͲ8a.
         142
            SeeCR/PRatTableIIͲ8a(majoritiesofrespondingdomesticproducersandpurchasers
reportedthatdemandforinnerspringmattressesdeclinedduringtheperiodofinvestigation,althougha
pluralityofrespondingimportersreportedthatdemandforsuchmattressesincreased).
         143
            CR/PRatTablesIVͲ12,14.ApparentU.S.consumptionofMiBsincreased***percent
between2017and2019andwas***percenthigherininterim2020comparedtointerim2019.Id.at
TableIVͲ12.ApparentU.S.consumptionofFPMsdeclined***percentbetween2017and2019andwas
***percentlowerininterim2020comparedtointerim2019.Id.atTableIVͲ14.
         144
            CR/PRatIVͲ44,TableIIͲ8a,TableIVͲ14.U.S.shipmentsofMiBsincreasedasashareof
apparentU.S.consumptionfrom***percentin2017to***percentin2019;itwas***percentin
interim2020,comparedto***percentininterim2019.CR/PRatTableIVͲ13.Conversely,U.S.
shipmentsofFPMsdeclinedasashareofapparentU.S.consumptionfrom***percentin2017to***
percentin2019;itwas***percentininterim2020,comparedto***percentininterim2019.Id.at
TableIVͲ15.
         145
            CR/PRatIVͲ36Ͳ37,TableIVͲ10.
         146
            CR/PRatIVͲ36Ͳ37,TableIVͲ10.


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                2.      SupplyConsiderations

        TheU.S.marketformattressesisservedprimarilybydomesticproducers,which
accountedfor***percentofapparentU.S.consumptionin2019,andsubjectimports,which
accountedfor***percentofapparentU.S.consumptionthatsameyear.147Nonsubject
importsaccountedfortheremainderoftheU.S.market,***percentofapparentU.S.
consumptionin2019.148
        FiftyͲthreerespondingdomesticproducersreportedproducingmattressesintheUnited
States.149PetitionersCorsicana,Elite,andKolcraft,togetherwithnonͲpetitioningdomestic
producersLippert,SertaSimmons,andTempurSealy,accountedfor***percentofdomestic
productionin2019,and***domesticproducers,SertaSimmonsandTempurSealy,accounted
for***percentofdomesticproductionthatyear.150DomesticproducerssupplytheU.S.
marketfromproductionfacilitiesacross36states.151Domesticproducersgenerallylocate
productionfacilitiesnearcustomerssoastominimizetransportationcostsandleadtimes
pursuanttoa“justͲinͲtime”deliverymodel,withtheabilitytoproduceanddeliveramattress
doorͲtoͲdoorwithindaysofreceivinganorder.152
        ThedomesticindustrymadecommercialU.S.shipmentsofalltypesofmattresses
duringtheperiodofinvestigation,includinginnerspring,foam,hybrid,adult,andyouth
mattresses,packagedasbothFPMsandMiBs.153Manydomesticproducersspecializein
particulartypesofmattresses.Forexample,***.154Althoughtwoofthethreelargest
domesticproducersofMiBsproducednoFPMs,thethreelargestproducersofFPMsalso
producedMiBs.155Nearlyaquarter(12)ofrespondingdomesticproducersproducedboth




                                
        147
          CR/PRatTablesIVͲ11,CͲ2.
       148
          CR/PRatTableIVͲ11.
       149
          CR/PRatTableIIIͲ1.
       150
          CR/PRatTableIIIͲ1.
       151
          Petitionat27Ͳ28;CR/PRatTableIIIͲ1.
       152
          CR/PRatIͲ15,IIͲ31(averageleadtimeforamattressproducedtoorderbydomestic
producersisfivedays);Petitioners’PrehearingBriefat15Ͳ16;seealsoMattressesfromChina,USITC
Pub.5000at19.
       153
          SeeCR/PRatTablesIVͲ4Ͳ7,FͲ1,FͲ3;HearingTr.at50(Koltun).
       154
          DomesticProducers’QuestionnaireResponsesof***atQuestionIIͲ9;DomesticProducers’
QuestionnaireResponseof***atQuestionIIͲ11.
       155
          CR/PRatTableIIIͲ1.


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FPMsandMiBsin2019,withtheseproducersaccountingfor***percentofMiBproduction
thatyear,andnearlyhalf(21)ofallrespondingproducersreportedproductionofMiBs.156
        Thedomesticindustryunderwentconsolidationandotherchangesduringtheperiodof
investigation.Specifically,***acquired***in***,***acquired***in***,and***merged
with***in***.157***.158Certaindomesticproducersalsoreportedcapacityexpansions
duringtheperiodofinvestigation;***.159***domesticproducersreportedexpansionstotheir
mattressoperations,but***”and***.”160Thedomesticindustrymadesubstantial
investmentstoexpanditscapacitytoproduceMiBsduringtheperiodofinvestigation,
increasingsuchcapacityby121.2percentbetween2017and2019andbyanother48.6percent
ininterim2020comparedtointerim2019.161Atthesametime,theindustry’scapacityto
produceFPMsdeclinedbyasimilarquantity.162Betweenvariouscapacityreductionsand
additions,thedomesticindustry’stotalproductioncapacitydeclined***percentbetween
2017and2019,andwas***percenthigherininterim2020comparedtointerim2019.163
        Thecountrysourcesofsubjectimportschangedduringtheperiodofinvestigation.In
2017and2018,subjectimportsfromChinaaccountedforover***percentofcumulated
subjectimports.164Aftertheimpositionofsection301dutiesandprovisionalmeasures
followedbyanantidumpingdutyorderonimportsfromChina,however,subjectimportsfrom
Chinadeclinedby***percentbetween2018to2019toaccountfor***percentofcumulated
subjectimportsin2019.165AssubjectimportsfromChinadeclinedintheU.S.market,they
                               
        156
           CR/PRatIIIͲ18,TableIIIͲ1.Although***completedseparatedomesticproducers’
questionnaireresponses,***.Id.atIIIͲ9Ͳ10.
        157
           CR/PRatTableIIIͲ3.
        158
           CR/PRatTableIIIͲ3.
        159
           CR/PRatTableIIIͲ3.
        160
           CR/PRatTableIIIͲ3.
        161
           CR/PRatTablesIIIͲ3,IIIͲ5,VIͲ6.
        162
           SeeCR/PRatTableIIIͲ5.
        163
           CR/PRatTableCͲ2.
        164
           CR/PRatIVͲ9,TableIVͲ2.
        165
           CR/PRatIVͲ9,TableIVͲ2.Pursuanttosection301oftheTradeActof1974,importsof
mattressesfromChinabecamesubjecttoanadditionaldutyof25percentinMay2019.CR/PRatIͲ13.
Thevastmajorityofrespondingimportersreportedthatimpositionofsection301dutiesonimports
fromChinareducedthesupplyofsuchimportsandincreasedthesupplyofimportsfromothersubject
countries.Id.atIIͲ17Ͳ18,TableIIͲ7.
        CommerceimposedprovisionalmeasuresonimportsofmattressesfromChinaonJune4,2019
andimposedanantidumpingdutyorderonsuchimportsonDecember6,2019,withfinal
weightedͲaveragedumpingmarginsrangingfrom57.03to1,731.75percent.Id.atIͲ5Ͳ6;Mattresses
FromthePeople'sRepublicofChina:PreliminaryDeterminationofSalesatLessͲThanͲFairͲValue,
PostponementofFinalDeterminationandAffirmativePreliminaryDeterminationofCritical
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weresupplantedbysubjectimportsfromothercountrysources,whichincreasedby***
percentbetween2018and2019anddrovean11.6percentincreaseintotalcumulatedsubject
importvolumeduringthattime.166SubjectimportsfromChinawere***percentlowerin
interim2020thanininterim2019,whileimportsfromothersubjectcountrieswere***
percenthigher.167ManyofthesameChineseͲbasedfirmsthathadsuppliedtheU.S.market
fromproductionfacilitiesinChinabegantoexportmattressestotheUnitedStatesfromrelated
productionfacilitiesinCambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,and
Vietnam.168




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(…Continued)
Circumstances,84Fed.Reg.25732(June4,2019);MattressesFromthePeople'sRepublicofChina:Final
DeterminationofSalesatLessͲThanͲFairͲValue,andFinalAffirmativeDeterminationofCritical
Circumstances,inPart,84Fed.Reg.56761(Oct.23,2019).Whenaskedtodescribetheimpactonthe
orderontheU.S.market,respondingU.S.producers,importers,andpurchasersoftendescribedChinese
mattressesbeingreplacedbymattressesfromothersubjectcountries,sometimesafterabriefperiodof
higherpricesandgreaterdemandforU.S.mattresses.CR/PRatIIͲ20.
        166
           CR/PRatIVͲ10,TableIVͲ2.
        167
           CR/PRatIVͲ9,TableIVͲ2.
        168
           SeePetitionat21Ͳ22;CVB’sResponsestoStaffQuestionsat34(***).Accordingto***.”
Petition,ExhibitIͲ10at11Ͳ12.


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                3.      SubstitutabilityandOtherConditions

        AsdiscussedinsectionIV.Babove,wehavefoundamoderatelyhighdegreeof
substitutabilitybetweendomesticallyproducedmattressesandsubjectimports.169Nearlyall
respondingdomesticproducersandmostrespondingimportersandpurchasersreportedthat
importsfromeachsubjectcountryarealwaysorfrequentlyinterchangeablewithdomestically
producedmattressesandimportsfromeveryothersubjectcountry.170Mostpurchasersrated
domesticallyproducedmattressesascomparabletomattressesimportedfromeachsubject
countrywithrespectto26factorsthatinfluencepurchasingdecisions.171Mostpurchasersalso
reportedthatdomesticallyproducedmattressesandmattressesimportedfromeachsubject
countryalwaysorusuallymetminimumqualityspecifications.172Bothdomesticproducersand
importersofmattressesfromeachsubjectcountryofferedacompleterangeofmattressesin
2019,includinginnerspring,foam,andhybridmattressesinallsizes,withtheexceptionthat
therewerenoimportsof***.173Althoughmostsubjectimportsfromallsourcesconsistedof
MiBs,thedomesticindustryshippedsubstantialquantitiesofbothMiBsandFPMsofalltypes,
andsubstantialvolumesofFPMswereimportedfrom***.174
        WealsofindthatsubjectimportsofMiBscompetedwithdomesticallyproducedFPMs.
Despitethefactthat***percentofdomesticindustryU.S.shipmentsconsistedofFPMsand
***percentofsubjectimportU.S.shipmentsconsistedofMiBs,thevastmajorityofresponding
purchasersreportedthatdomesticallyproducedmattresseswereinterchangeablewithand
comparabletosubjectimportedmattresses.175Furthermore,MiBsandFPMscanbeproduced
tothesamespecificationsusingthesamespringsandfoam,withtheexceptionthatinnerspring
MiBsmustomittheborderwirethatinnerspringFPMsmaypossess.176

                                 
        169
           CR/PRatIIͲ30Ͳ31.Thedegreeofsubstitutionbetweendomesticandimportedmattresses
dependsuponfactorssuchasrelativeprices,quality(e.g.,gradestandards,defectrates,etc.),and
conditionsofsale(e.g.,pricediscounts/rebates,leadtimesbetweenorderanddeliverydates,reliability
ofsupply,productservices,etc.).Id.
        170
           CR/PRatTableIIͲ15.
        171
           CR/PRatTableIIͲ14.
        172
           CR/PRatTableIIͲ16.
        173
           CR/PRatTableIVͲ4.Substantialvolumesofcribmattresseswereshippedbythedomestic
industryandimportedfrom***in2019.Id.atTableIVͲ7.
        174
           CR/PRatTablesIVͲ5Ͳ6.
        175
           CR/PRatTablesIIͲ14Ͳ15,FiguresIVͲ7Ͳ8.
        176
           SeeCR/PRatVͲ6Ͳ7,TablesVͲ3Ͳ8(domesticproducersandimportersreportedsalesof
products1Ͳ6,withproducts1,3,and5possessingthesamedefinitionsasproducts2,4,and6withthe
exceptionofpackaging;products1,3,and5arepackagedasMiBsandproducts2,4,and6arepackaged
(Continued...)
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        MiBsandFPMsarealsofunctionallyinterchangeableonceunpackaged,suchthat
consumersoftencrossͲshopMiBsandFPMs.177Althoughwefocusouranalysisoncompetition
atthewholesalelevel,demandformattressesatthewholesalelevelisderivedfromconsumer
demandformattresses.178Consumerresearchstudiesofthefactorsdrivingconsumermattress
purchasesfrom***andtheBetterSleepCouncil(2020)determinedthatpackagingisamong
theleastimportantfactors,179consistentwithonlinemattressretailerssuchasAmazon.com


                                                                                                            
(…Continued)
asFPMs);HearingTr.at103(Glassman)(“{T}othosethatwesellcomponents,theinnerspringsthatwe
sellintoaflatpackenvironmentarealsoidenticaltotheinnerspringsthataresoldinarolledpack
environment,thesamethingwithfoam.Sowe’resellingfoammanytimesinacomponentformand
thatfoamcouldbeflatpacked,itcouldberollpacksoIdon’tseeanybenefitoranydifferentiationofa
mattressinaboxotherthanfromashipmentperspective.”),104Ͳ05(Merwin)(“{A}retheredifferent
materialsinarollpackedmattressversusaflatpackedmattressand,youknow,100percentthere's
nothingdifferentinthemattress...fromadesignandmaterialaspectit’s100percentthesame
materials.”),129(Merwin)({I}nnerͲspringsusedtohavearealsolidborderrodaroundtheedgeofit,
andso,inordertorollͲpackamattress,youhavetoremakethatborderrod”),137(Merwin)(“{T}here's
acouplelittletweaksthatapersoncando,andyou’reputtingthatmattressinabox.Andso,youknow,
arethereany,youknow,anyspecialsaucetodothat?No,thereisn’t.Sothecomponentsthatweuse,
we'reallusingthesamecomponents...“),138(Earley)(Icanassureyouwe'resellingandusingthe
exactsamefoamproductswhetheritgoesintoaflatͲpackedproductoramattressinabox.There'sno
difference,andasweasagrouptalkedaboutearlier,we’reusingalotofpocketedcoilsinthehybrid
solutionswhichgoinabox,whicharebasicallythesamespringsthatwouldgoinaflatͲpackmattress.
So,byallaccounts,allthematerialsthataregoingintothedifferentmattressesarethesamething.”),
157(Doulas)(statingthatMiBsandFPMs“maybeidenticalonceunpackaged”),228Ͳ29(Adams)(“{T}he
wirethatwouldgoallthewayaround,you’renotabletodothatinarolledandcompressed
mattress.”).
         177
            HearingTr.at157(Douglas)(“WeagreethatindividualconsumersoftenconsiderbothMIBs
andFPMsinmakingtheirpurchasingdecisions.”)
         178
            SeeCR/PRatIIͲ22Ͳ24.Allfactorsdrivingmattressdemandinfluenceconsumerdemandfor
mattresses.
         179
            Petitioners’PosthearingBriefat3;ResponsestoCommissionerQuestionsatExhibit1Ͳ47,
Exhibits2,22Ͳ23.***.Id.atExhibit22.The2020BetterSleepCouncilstudyfoundthatoverhalfof
surveyedconsumersconsidered“freesetup”and“oldmattressremoval”importantinpurchasinganew
mattress,suggestingapreferenceforFPMs.Petitioners’PosthearingBriefat3,Exhibit2.Another
consumerresearchstudyconductedby***.Id.atExhibit23.***.Id.AlthoughtheCommission
requestedthatthepartiessubmitstudiesoftheextenttowhichpackaginginfluencesconsumer
purchasesofmattresses,thejointrespondentswereunabletosubmitanystudyshowingaconsumer
preferenceforMiBs.SeeJointRespondents’ResponsestoAdditionalPosthearingQuestionsat3Ͳ4.
Instead,theyciteddatafromanarticlediscussingtheBetterSleepCouncilstudy***,without
submittingacopyofthearticle.Id.Thus,respondentsdidnotsubmitevidencesupportingtheir
argumentthatapparentU.S.consumptionofMiBsincreasedduringtheperiodofinvestigationfor
“consumerdrivenreasons.”JointRespondents’PosthearingBriefat9.


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andAshleyFurniture.comnotprovidingsearchfiltersforMiBorFPMs.180
        Consumerindifferencetowardsmattresspackagingisreflectedinpurchasingbehavior
atthewholesalelevel.Elevenof19respondingpurchasersreportedpurchasingand/or
importingbothMiBsandFPMs.181TheadvantagesofMiBstopurchasers,includingtheability
tofitmoreunitsintoagivenwarehouseortruckanddeliverybycommoncarrierfromacentral
location,182didnotdetermanyofthelargestrespondingpurchasers,including***,from
purchasingsignificantvolumesofFPMsinadditiontoMiBsin2019.183Majorretailersdisplay
MiBsandFPMssidebysideontheirsalesfloorsandecommercewebsites.184Although11
purchasersreportedthatpackagingwasveryimportanttotheirpurchasingdecisions,onlytwo
purchasersrankedpackagingamongthetopthreefactorsdrivingtheirpurchasingdecisions,
consistentwiththelargenumberofpurchasersreportingpurchasesofbothMiBsandFPMs.185
        Wefurtherfindthatpriceisanimportantfactorinpurchasingdecisionsformattresses,
althoughnonͲpricefactorsarealsoimportant.186Respondingpurchasersrankedpriceamong
thetopthreefactorsinfluencingtheirpurchasingdecisionsmorethananyotherfactorexcept
quality.187Pricewasalsoamongthelistedfactorsthatrespondingpurchaserscitedmostoften
asbeingveryimportanttotheirpurchasingdecisions,althoughagreaternumberofpurchasers
citedfactorssuchasavailability,quality,deliverytime,andreliabilityofsupplyasvery
importantpurchasingfactors.188Fourrespondingpurchasersreportedthattheyusuallyor
alwayspurchasemattressesatthelowestprice,while16respondingpurchasersreportedthat
theysometimesdoso.189Atthehearing,representativesofdomesticproducerstestifiedthat
competitionintheU.S.mattressmarketisprimarilybasedonprice.190

                                 
        180
           Petitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ5,1Ͳ46,Exhibits6,21.
        181
           CR/PRatIIͲ3;seePurchasers’QuestionnaireResponsesof***atQuestionIIͲ1.
        182
           JointRespondents’PrehearingBriefat17Ͳ18;HearingTr.at145Ͳ46(Adams).
        183
           SeePurchasers’QuestionnaireResponsesof***atQuestionIIͲ1(reportingFPMpurchasesof
***unitsby***,***unitsby***,***unitsby***,***unitsby***,and***unitsby***).
        184
           HearingTr.at63Ͳ64(Earley),116(Merwin);Petitioners’PosthearingBriefat8,Exhibits4Ͳ6;
Petitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ5,Exhibits4Ͳ5.
        185
           CR/PRatTablesIIͲ11Ͳ12;Purchasers’QuestionnaireResponsesof***atQuestionIIIͲ26.
Althoughrespondingpurchaserswerefreetorank“Packaging(i.e.,MiBsorflatpackedmattresses)”
amongtheirtopthreepurchasingfactors,asamongthepurchasingfactorsenumeratedinthe
purchasers’questionnaire,onlytwodidso.
        186
           CR/PRatTableIIͲ11Ͳ12.
        187
           CR/PRatTableIIͲ11.
        188
           CR/PRatTableIIͲ12.
        189
           CR/PRatIIͲ33.
        190
           HearingTr.at26(Glassman)(“Letmereiterate,pricedictatesinthemattressmarket.”),33
(Merwin)(“Overandover,Iheardfromtheseretailersthattherewasnothingwrongwithourproducts
(Continued...)
                                                    34
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        Wefurtherfindthatdomesticallyproducedmattressesandsubjectimportsare
comparableintermsofleadtimesandchannelsofdistribution.Mostdomesticindustry
shipmentsweremadetoorder(83.7percentin2019)withanaverageleadtimeoffivedays,
whilethebalance(16.3percent)wassoldfrominventorywithanaverageleadtimeofthree
days.191Mostimportershipmentsweresoldfrominventory(95.2percent)withanaverage
leadtimeoffivedays,whilemostofthebalance(3.9percent)wereproducedtoorderwithan
averageleadtimeof61days.192
        Domesticallyproducedmattressesandsubjectimportswerealsosoldthroughthesame
channelsofdistribution,primarilytoretailers,includingbrickͲandͲmortar,online,andomniͲ
channelretailers,butalsotoendusers.193Althoughamajorityofdomesticindustryshipments
weremadetobrickandmortarretailers,thesharemadetointernetandomniͲchannelretailers
increasedfrom10.6percentin2017to13.5percentin2019and15.3percentininterim2020,
comparedto13.3percentininterim2019.194Thedomesticindustryshippedasubstantial
volumeofmattresses,***units,tointernetandomniͲchannelretailersin2019.195Similarly,
althoughamajorityofsubjectimportshipmentsweremadetointernetandomniͲchannel
retailers,theshareofsubjectimportshipmentsmadetobrickandmortarretailersrangedfrom
***to***percentduringtheperiodofinvestigation,196andthevolumeofsubjectimport
shipmentstosuchretailerswasasubstantial***unitsin2019.197Therewassubstantial
overlapbetweenthelistsoftoptenpurchasersreportedbyrespondingdomesticproducers
andimporters,asreflectedbythevastmajorityofrespondingpurchasers(16of22)that
purchasedbothdomesticandsubjectimportedmattresses.198Thus,domesticproducersand
importerscompeteforsalestothesamepurchasersinthesamechannelsofdistribution.
                                                                                                        
(…Continued)
exceptthattheywerenotpricedlowenough,andthatimporterswerewillingtoprovidelowerprices.”),
40(Earley)(“EverydaywefinditdifficulttocompetewithpricesofimportsonAmazon,Wayfair,
Costco.comandWalmart.com.”),43(Fallen)(“Attheendoftheday,ourretailercustomersarelooking
formattressesthatmeetavarietyofconsumerprofilesandcomfortneedsatthelowestpossible
price.”),50(Koltun)(“Dumpedandsubsidizedimportstooksalesandmarketsharefromusatretailers'
brickandmortarstoresandonline.Someofourlargestcustomerssoughtpricereductionsfromusifwe
wantedtoretainshelfspaceandprimewebsiteplacement.”).
         191
            CR/PRatIIͲ31.
         192
            CR/PRatIIͲ31Ͳ32.
         193
            CR/PRatTableIIͲ4.***.Id.
         194
            CR/PRatTableIIͲ4.
         195
            DerivedfromCR/PRatTableIIͲ4,AppendixD.
         196
            CR/PRatTableIIͲ4.
         197
            DerivedfromCR/PRatTablesIIͲ4,IVͲ10,AppendixD.
         198
            SeePetitioners’PosthearingBriefatExhibit3;CR/PRatTableVͲ22.


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        Thedomesticindustry’srawmaterialcostsgenerallyincreasedduringtheperiodof
investigation.199Thedomesticindustry’saverageCOGSincreasedbetween2017and2019,
drivenbyanincreaseinunitrawmaterialcostsfrom$123in2017to$136in2019.200The
industry’sunitrawmaterialcostswere$130ininterim2020,comparedto$134ininterim
2019.201Mostrespondingdomesticproducersandimportersreportedthatthecostofraw
materialshadincreasedsinceJanuary1,2017,althoughthecostofwirerodforinnersprings
andthechemicalsusedforfoamproductionfluctuatedduringtheperiodofinvestigationwith
noclearincreasingtrend.202StartinginJuly2020,acombinationoffactors,includingthe
COVIDͲ19pandemicandhurricanes,resultedinshortagesandincreasingpricesforthreemajor
chemicalsusedtoproducefoam,includingMDI,polyols,andTDI.203Ataroundthesametime,
theCOVIDͲ19pandemicresultedinshortagesofwireforproducingspringsandnonͲwovensfor
producingcertainmattresscomponents.204Although17respondingproducersreportedsupply
constraintsduringtheperiodofinvestigation,usuallycitingrawmaterialshortagesrelatedto
theCOVIDͲ19pandemic,petitionersreportedthattherawmaterialshortagesdelayedtheir
shipmentsandextendedleadtimeswithoutforcingthemtoforegoproduction.205




                                  
        199
             SeeCR/PRatVͲ1Ͳ3.
          200
             CR/PRatVIͲ12Ͳ13,TableVIͲ1.
          201
             CR/PRatTableVIͲ1.
          202
             CR/PRatVͲ3,FiguresVͲ1Ͳ2.
          203
             CR/PRatVͲ2,FigureVͲ2;HearingTr.at36(Mervin),37Ͳ39(Earley),46(Fallen),52(Koltun),,
151Ͳ52(Adams);Petitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ20Ͳ21,1Ͳ43.Thereis
littleevidenceofanysignificantrawmaterialsupplyshortagespriortomidͲ2020.SeeHearingTr.at
203Ͳ04(Adams).***.SeeDomesticProducers’QuestionnaireResponseof***atQuestionsIIͲ3d,IIͲ10
n.1,IIͲ16.Atthehearing,arepresentativeforoneofthelargestU.S.producersoffoamformattresses
testifiedthatthereisnoshortageoffoamcapacityintheUnitedStatesandthattherewereno
constraintsonfoamproductionbeforemidͲ2020.HearingTr.at37Ͳ39(Earley).Consistentwiththis
testimony,thecostoftherawmaterialsusedtoproducefoamgenerallydeclinedfrom2018through
midͲ2020beforeincreasingduetotheshortages.CR/PRatFigureVͲ2.
          204
             HearingTr.at29(Glassman),52(Koltun),91Ͳ92(Earley),92Ͳ93(Glassman);Petitioners’
ResponsestoCommissionerQuestionsatExhibit1Ͳ43.
          205
             CR/PRatIIͲ17;Petitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ44Ͳ45.When
askedwhetherrawmaterialshortageshadreducedU.S.mattressproduction,thejointrespondents
providednoevidencethattheyhaddoneso.SeeJointRespondents’ResponsestoCommissioner
Questionsat1Ͳ2.


                                                      36
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                                               Appx14772
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        C.      VolumeofSubjectImports

        Section771(7)(C)(i)oftheTariffActprovidesthatthe“Commissionshallconsider
whetherthevolumeofimportsofthemerchandise,oranyincreaseinthatvolume,eitherin
absolutetermsorrelativetoproductionorconsumptionintheUnitedStates,issignificant.”206
        Wefindthatthevolumeandincreaseinvolumeofcumulatedsubjectimportswas
significant,bothabsolutelyandrelativetoapparentU.S.consumption,overtheperiodof
investigation.Subjectimportvolumeincreasedfrom5.5millionunitsin2017to7.0million
unitsin2018andto7.8millionunitsin2019,alevel40.6percenthigherthanin2017.207
Subjectimportvolumewas7.4millionunitsininterim2020,upfrom5.3millionunitsininterim
2019.208U.S.shipmentsofsubjectimportsincreasedfrom***unitsin2017to***unitsin
2018andto***unitsin2019,alevel***percenthigherthanin2017.209U.S.shipmentsof
subjectimportswere***unitsininterim2020,upfrom***unitsininterim2019.210Subject
importsalsoincreasedtheirshareofapparentU.S.consumptionfrom***percentin2017to
***percentin2018and***percentin2019.211Subjectimportmarketsharewas***percent
ininterim2020,upfrom***percentininterim2019.212
        AssubjectimportsincreasedtheirpenetrationoftheU.S.marketby***percentage
pointsbetween2017and2019andanother***percentagepointsininterim2020compared
tointerim2019,thedomesticindustrylostanearlyequivalent***percentagepointsofmarket
sharebetween2017and2019anditssharewas***percentagepointslowerininterim2020
comparedtointerim2019.213
        Weconcludethatthevolumeofsubjectimportsandtheincreaseinthatvolumeare
significantbothinabsolutetermsandrelativetoU.S.consumption.




                                
        206
           19U.S.C.§1677(7)(C)(i).
        207
           CR/PRatTableIVͲ2.
        208
           CR/PRatTableIVͲ2.
        209
           CR/PRatTablesIVͲ10,CͲ2.
        210
           CR/PRatTableIVͲ10.
        211
           CR/PRatTableIVͲ10.
        212
           CR/PRatTableIVͲ10.
        213
           CR/PRatTableCͲ2.Thevolumeofsubjectimportsalsoincreasedasaratiotodomestic
industryproduction,from***percentofU.S.productionin2017to***percentin2018and***
percentin2019.Theratioofsubjectimportstodomesticproductionwas***percentininterim2020,
upfrom***percentininterim2019.Calculatedfromid.atTablesIVͲ2,CͲ2.


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                                            Appx14773
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        D.      PriceEffectsoftheSubjectImports

        Section771(7)(C)(ii)oftheTariffActprovidesthat,inevaluatingthepriceeffectsofthe
subjectimports,theCommissionshallconsiderwhether
                (I) there has been significant price underselling by the imported
                merchandise as compared with the price of domestic like
                productsoftheUnitedStates,and

                (II)theeffectofimportsofsuchmerchandiseotherwisedepresses
                prices to a significant degree or prevents price increases, which
                otherwisewouldhaveoccurred,toasignificantdegree.214

       AsaddressedinsectionV.B.3above,therecordindicatesthatthereisamoderatelyhigh
degreeofsubstitutabilitybetweensubjectimportsandthedomesticlikeproductandthatprice
isanimportantconsiderationinpurchasingdecisions,amongotherfactors.
        TwentyͲeightdomesticproducersand22importersprovidedusablequarterlynetU.S.
f.o.b.sellingpricedataforeightmattressproducts,althoughnotallfirmsreportedpricingfor
allproductsforallquarters.215Pricingdatareportedbythesefirmsaccountedfor
                                 
        214
           19U.S.C.§1677(7)(C)(ii).
        215
           CR/PRatVͲ8(excluding***).Product1wasdefinedas“Memoryfoammattress(without
anyinnersprings),queensize,height(edgetoedge)greaterthanorequalto8.0inchesbutlessthan
10.0inches.Foamdensityinatop/comfortlayerofgreaterthanorequalto3lbspercubicfootbutless
thanorequalto5lbspercubicfoot.ShippedasaMattressͲinͲaͲBox.”Id.atVͲ7.Product2wasdefined
as“Memoryfoammattress(withoutanyinnersprings),queensize,height(edgetoedge)greaterthanor
equalto8.0inchesbutlessthan10.0inches.Foamdensityinatop/comfortlayerofgreaterthanor
equalto3lbspercubicfootbutlessthanorequalto5lbspercubicfoot.Shippedasaflatpacked
mattress.”Id.Product3wasdefinedas“Memoryfoammattress(withoutanyinnersprings),queen
size,height(edgetoedge)greaterthanorequalto10.0inchesbutlessthan12.0inches.Foamdensity
inatop/comfortlayerofgreaterthanorequalto2lbspercubicfootbutlessthan3lbspercubicfoot.
ShippedasaMattressͲinͲaBox.”Id.Product4wasdefinedas“Memoryfoammattress(withoutany
innersprings),queensize,height(edgetoedge)greaterthanorequalto10.0inchesbutlessthan12.0
inches.Foamdensityinatop/comfortlayerofgreaterthanorequalto2lbspercubicfootbutlessthan
3lbspercubicfoot.Shippedasaflatpackedmattress.”Id.Product5wasdefinedas“’Wrapped’
innerspringmattress(includingmattresseswithmultiplecoresand/orfoaminadditiontothe
innerspring),queensize,height(edgetoedge)greaterthanorequalto9.0inchesbutlessthanorequal
to12.0inches.Coilcountlessthan1200coilsinqueensize.ShippedasaMattressͲinͲaͲBox.”Id.atVͲ8.
Product6wasdefinedas“’Wrapped’innerspringmattress(includingmattresseswithmultiplecores
and/orfoaminadditiontotheinnerspring),queensize,height(edgetoedge)greaterthanorequalto
9.0inchesbutlessthanorequalto12.0inches.Coilcountlessthan1200coilsinqueensize.Shippedas
aflatpackedmattress.”Id.Product7wasdefinedas“Open/nonͲwrappedinnerspringmattress
(includingmattresseswithmultiplecoresand/orfoaminadditiontotheinnerspring),queensize,height
(Continued...)
                                                     38
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                                              Appx14774
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approximately***percentofU.S.producers’shipmentsofmattressesin2019,and3.1percent
ofU.S.importsfromCambodia,14.7percentofU.S.importsfromChina,3.5percentofU.S.
importsfromIndonesia,33.2percentofU.S.importsfromMalaysia,12.7percentofU.S.
importsfromSerbia,8.2percentofU.S.importsfromThailand,1.6percentofU.S.imports
fromTurkey,and21.8percentofU.S.importsfromVietnamin2019.216
        Subjectimportsundersoldthedomesticlikeproductin***of***quarterly
comparisons,or***percentofthetime,atmarginsaveraging***percent,andquartersin
whichtherewasundersellingaccountedfor***percentofreportedsubjectimportsales
volume(***of***units).217Subjectimportswerepricedhigherthanthedomesticlike
productintheremaining***instancesatoversellingmarginsaveraging***percent.218
        TheCommissionalsocollectedpurchasecostdataforthesameeightpricingproducts
importedfromallsubjectcountries.Elevenimportersreportedpurchasecostdataforalleight
mattressproducts,althoughnotallfirmsreportedcostdataforallproductsforallquarters.219
Importpurchasecostdatareportedbythesefirmsaccountedfor1.8percentofimportsfrom
Cambodia,4.5percentofimportsfromChina,15.6percentofimportsfromIndonesia,4.2
percentofimportsfromMalaysia,4.3percentofimportsfromSerbia,and3.5percentof
importsfromVietnamin2019.220Basedonthepurchasecostdataobtainedbythe
Commission,landeddutyͲpaid(“LDP”)costsforsubjectimportswerebelowthesalespricefor
U.S.producedmattressesin***of***quarterlycomparisonsinvolving***of***units(***
percent),atpriceͲcostdifferentialsaveraging***percent.221
        Werecognizethattheimportpurchasecostdatamaynotreflectthetotalcostof
importingandthereforerequestedthatimportersprovideadditionalinformationregardingthe
costsandbenefitsofdirectlyimportingmattresses.Siximportersprovidingusablecostdata
reportedtheyincurredadditionalcostsbeyondtheLDPcost,whilefivereportedthattheydid


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(edgetoedge)greaterthanorequalto9.0inchesbutlessthanorequalto12.0inches.Coilcountless
than1200coilsinqueensize.ShippedasaflatͲpackedmattress.”Id.Product8wasdefinedas“Foam
mattress(withoutanyinnersprings),withawidthexceeding27inches,alengthexceeding51inches,
andadepthbetween1.0inchand6.0inchesinclusive,onanominalbasis,typicallydesignedtofitU.S.
standardfullsizecribs.”Id.
        216
           CR/PRatVͲ8,TablesCͲ2,GͲ1.
        217
           CR/PRatTableGͲ3.
        218
           CR/PRatTableGͲ3.
        219
           CR/PRatVͲ39.
        220
           CR/PRatVͲ39.NopurchasecostdatafromThailandorTurkeyin2019werereceived.
        221
           CR/PRatTableGͲ4.


                                                    39
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notincursuchadditionalcosts.222Additionalcostsreportedbysixrespondingimportersranged
fromanaverageof1to9percentoftheLDPvalueofdirectimports.223Giventhatsubject
importcostswereonaverage***percentbelowdomesticsalesprices,asnotedjustabove,the
inclusionoftheadditionalcostsof1to9percentwouldstillleavethecostofimportingsubject
importssignificantlybelowthedomesticsalesprices.224
        Basedonthemoderatelyhighdegreeofsubstitutabilitybetweensubjectimportsand
thedomesticlikeproduct,theimportanceofpriceinpurchasingdecisions,andthepervasive
underselling,aswellasthepurchasecostdata,wefindthatsubjectimportundersellingwas
significantduringtheperiodofinvestigation.Thesignificantundersellingbycumulatedsubject
importscontributedtosubjectimportsgainingsalesandmarketshareatthedomestic
industry’sexpenseduringtheperiodofinvestigation.225
                                 
        222
            CR/PRatVͲ39.
        223
            CR/PRatVͲ39.Importersdescribedwarehousing,logistics,insurance,customsbrokerage
fees,andlaborcostsasadditionalcosts.Id.Tenimportersindicatedthattheycomparecostsof
importingbothtothecostofpurchasingfromaU.S.producerandtothatofpurchasingfromaU.S.
importerindeterminingwhethertoimportmattresses.Id.
         224
            Elevenimportersestimatedthattheysavedbetween5and50percentofLDPvalue,withan
averageof26percent,byimportingdirectlyratherthanpurchasingfromaU.S.producer,whiletwelve
importersestimatedthattheysavedbetween5and60percentofLDPvalue,withanaverageof21
percent,byimportingdirectlyratherthanpurchasingfromaU.S.importer.CR/PRatVͲ40.Elevenof26
importersreportedthatthecostofpurchasingdirectlyfromsubjectproducerswaslowerthan
purchasingfromdomesticproducersorimporters,evenincludingtheadditionalcostsofimporting.Id.
         225
            CR/PRatTableCͲ2.***of***respondingpurchasersreducedthedomesticindustry’sshare
oftheirpurchasesandincreasedthesubjectimportshareoftheirpurchasesbetween2017and2019,by
***to***percentagepoints.Id.atTableVͲ22.Whenaskedwhethersubjectimportpriceswerelower
thandomesticprices,sevenrespondingpurchasersrespondedyesandonedidnotprovideananswer.
Id.atTableVͲ23.Overall,respondingpurchasersreportedthatbetween2017and2019,thedomestic
industry’sshareoftheirpurchasesdeclined***percentagepointswhilethesubjectimportshareof
theirpurchasesincreased***percentagepoints.Id.atTableVͲ22.
         Weareunpersuadedbyrespondents’argumentthatsubjectimportscouldhavehadnoadverse
priceeffectsbecauseonly2of22respondingpurchasersreportedswitchingfromdomesticproducersto
subjectimportswithpriceasaprimaryreasonforbuying***unitsofsubjectimports.Joint
Respondents’PrehearingBriefat52;CR/PRatTableVͲ23.Theseresponsesareincontrasttothe
majorityofrespondingpurchasersreportingthatpricewasamongthetopthreefactorsinfluencingtheir
purchasingdecisionsandaveryimportantpurchasingfactorandthatdomesticproductandsubject
importswerecomparableacrossallpurchasingfactors(withasingleexceptionregardingreliabilityof
supplyforsubjectimportsfromCambodia),CR/PRatTablesIIͲ11Ͳ12,14,andpricingdatashowingthat
subjectimportspervasivelyundersoldthedomesticlikeproduct.Id.atTablesGͲ3Ͳ4.Consistentwith
thepricingdata,allrespondingpurchasersthatreportedtheychosetobuysubjectimportsinsteadof
domesticallyproducedmattressesduringthePOIalsoreportedthatsubjectimportswerepricedlower
thanthedomesticmattresses.Id.atTableVͲ23.Furthermore,withtheexceptionofone***purchaser
(***),allrespondingpurchasersthatreportedshiftingpurchasesfromthedomesticindustrytosubject
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        Wehavealsoconsideredpricetrendsduringtheperiodofinvestigation.Thedomestic
industry’ssalespricesdeclinedforsixoftheeightpricingproductsbetweenthefirstandlast
quartersforwhichdatawerecollected,includinga***percentdeclineforproduct1,a***
percentdeclineforproduct2,a***percentdeclineforproduct3,a***percentdeclinefor
product5,an***percentdeclineforproduct6,anda***percentdeclineforproduct8.226
ThesedeclinesoccurredasapparentU.S.consumptionincreasedby***percentbetween2017
and2019,andwas***percentgreaterininterim2020comparedtointerim2019;the
domesticindustryexperiencedincreasingproductioncostsbetween2017and2019;and
nonsubjectimportsdeclinedasashareofapparentU.S.consumption.227Basedonthe
foregoing,wefindthatthesignificantandgrowingquantityoflowͲpricedsubjectimports
depresseddomesticpricestoasignificantdegree.
        Weareunpersuadedbyrespondents’argumentthattherecouldbenopricedepression
becausetheaverageunitvalueofthedomesticindustry’sU.S.shipmentsincreasedoverthe
periodofinvestigation.228BecausetheU.S.mattressmarketischaracterizedbyawiderangeof
mattresstypesatdifferentpricepoints,wefindthattheaverageunitvalueofthedomestic

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importsfrom2017to2019rankedprice,cost,orprofitabilityamongthetopthreefactorsinfluencing
theirpurchasingdecisions,andfivealsoreportedthatpricewasa“veryimportant”factorinfluencing
suchdecisions.SeePurchasers’QuestionnaireResponsesof***atquestionsIIIͲ26Ͳ27.Thus,we
disagreewithrespondents’contentionthatweshouldpredicateouranalysisoftheadversepriceeffects
ofsubjectimportsonpurchaserresponsestothelostsalesquestionwhentheweightofotherevidence
ontherecordsupportstheconclusionthatlowsubjectimportpricescontributedtothe***percentage
pointshiftinpurchasesfromdomesticproducerstosubjectimportsfrom2017to2019thatpurchasers
reportedinthosepurchasersquestionnaireresponses.CR/PRatTableVͲ22.
        Anotherreasontodiscountthesignificanceofmostrespondingpurchasersreportingthatprice
wasnotaprimaryreasonfortheirincreasedpurchasesofsubjectimportsisthatthesepurchasers’
demandformattressesderivesfromconsumers’demand.Insituationswhereretailerspurchaseatthe
wholesaleleveltheproductsthattheircustomersdemandatretail,retailers’purchasingdecisionswill
besensitivetoconsumers’pricepreferences.Therecordcontainspersuasiveevidencethatmattress
consumersconsiderpriceanimportantfactorintheirpurchasingdecisions.SeePetitioners’Responses
toCommissionerQuestionsatExhibits22Ͳ23(Consumerresearchstudiesconcludingthatpricewas
amongthemostimportantfactorsdrivingconsumermattresspurchasingdecisions).Accordingly,
notwithstandingwhetherpurchasersindicatethattheirownpurchasedecisionswereprimarily
influencedbyprice,evidenceindicatesthatpricewouldhaveexertedanindirectinfluenceonthose
decisions.
        226
            CR/PRatGͲ3,TableVͲ18.Thedomesticindustry’ssalespricesincreasedbetweenthefirst
andlastquartersforwhichdatawerecollectedby***percentforproduct4andby***percentfor
product7.Id.
        227
            CR/PRatVͲ3,TablesIVͲ10,CͲ2.
        228
            JointRespondents’PrehearingBriefat47Ͳ48;seealsoCR/PRatTableCͲ2.


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industry’sU.S.shipmentswouldbeinfluencedbychangesinproductmixovertime.229
Consequently,wedonotrelyontheaverageunitvalueofthedomesticindustry’sU.S.
shipmentsinourevaluationofpricedepressioninthisinvestigation.
        Wearealsounpersuadedbyrespondents’argumentthatthedecliningpricesof
domesticallyproducedFPMproductsresultedentirelyfromdecliningdemandwhilethe
decliningpricesofdomesticallyproducedMiBproductsresultedentirelyfromdecliningraw
materialcostsandtheentranceofnewdomesticproducersofMiBsatlowersalespriceslater
intheperiodofinvestigation.230WefindthatdecliningdemandforFPMsdoesnotexplainthe
extentofthedomesticindustry’sdecliningpricesonsalesofFPMproducts2and6fortwo
reasons.First,theoveralldeclineinapparentU.S.consumptionofFPMsdidnotprevent
domesticpricesonsalesofFPMproducts4and7fromincreasing.231AlthoughapparentU.S.
consumptiondatashowadeclineinshipmentsofFPMs,amajorityofrespondingdomestic
producers,importers,andpurchasersdidnotperceivethatthemarketwassofteningand,in
fact,reportedthatdemandforFPMswasstableorincreasingduringtheperiodofinvestigation,
suggestingthosemarketparticipantswerenotusingaperceiveddeclineindemandtoleverage
downprices.232
        Second,givenourfindingthatimportedMiBscompetewithdomesticallyproduced
FPMs,domesticproducersalesofFPMproducts2and6wouldhavecompetednotonlywith
subjectimportsalesofFPMproducts2and6butalsowithsubjectimportsalesofMiBproducts
1and5,whichwereidenticalinallrespectsbutMiBversusFPMformat.233Subjectimportsof
MiBproducts1and5undersolddomesticproducersalesofFPMproducts2and6in***of***
quarterlycomparisonsatmarginsrangingfrom***to***percent.234Giventhemoderately
highdegreeofsubstitutabilitybetweensubjectimportsanddomesticmattressesandthe
importanceofpricetopurchasers,wefindthatthesignificantandincreasingvolumeoflowͲ
pricedsubjectimportsofFPMproducts2and6andMiBproducts1and5intheaggregate
depresseddomesticpricesonsalesofFPMproducts2and6toasignificantdegree.


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        229
           See,e.g.,CR/PRatTableVͲ18.
        230
           SeeJointRespondents’PosthearingBriefatAnnexVII.
        231
           SeeCR/PRatTableVͲ18.
        232
           CR/PRatTableIIͲ8a.WealsoobservethatU.S.shipmentsoflowͲpricedsubjectimportsof
FPMsincreased27.3percentbetween2017and2019,drivinganincreaseinsubjectimportsasashare
ofapparentU.S.consumptionofFPMsfrom***percentin2017to***percentin2019.CR/PRatTable
IVͲ14.
        233
           SeeCR/PRatVͲ7Ͳ8.
        234
           CalculationsbasedonCR/PRatTablesVͲ3toVͲ8.


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        Wealsofindthatneitherdecliningcostsnortheentranceofnewdomesticproducersof
MiBscanentirelyexplainthe***to***percentdeclineinthedomesticpricesofMiBproducts
1,3,and5duringtheperiodofinvestigation.235Thesepricedeclineswerefarinexcessofthe
***percentdeclineinunitCOGSbetween2017and2019reportedbyMiBproducers,andthe
unitCOGSoftheseproducerswas***percenthigherininterim2020comparedtointerim
2019.236NordoestheentranceofnewdomesticproducersofMiBsatlowersalespriceslater
intheperiodofinvestigationentirelyexplaindecliningMiBproductprices.Includingonly
respondingdomesticproducersthatreportedpricingdatabeginningin2017,domesticsales
pricesstilldeclined***percentforproduct1,***percentforproduct3,and***percentfor
product5.237InlightoftheforegoingandgiventhesignificantincreaseinapparentU.S.
consumptionofMiBsduringtheperiodofinvestigation,includingforthesethreepricing
products,wefindthatthesignificantandincreasingvolumeoflowͲpricedsubjectimports
causedthedomesticindustry’sdecliningpricesonsalesoftheMiBproducts238
        Basedontheabove,wefindthatcumulatedsubjectimportssignificantlyundersoldthe
domesticlikeproductleadingtolostsalesandmarketshareandsignificantpricedepressionfor
thedomesticindustry.Wethereforefindthatsubjectimportshadsignificantadverseprice
effectsonthepricesofthedomesticlikeproduct.




                                
        235
            CR/PRatGͲ3,TableVͲ18.
        236
            CalculatedfromtheDomesticProducers’QuestionnaireResponsesof***.
        237
            CalculatedfromtheDomesticProducers’QuestionnaireResponsesof***.
        238
            Wehavealsoconsideredwhetherthedomesticindustrywaspreventedfromraisingprices,
whichotherwisewouldhaveoccurred,toasignificantdegree.Thedomesticindustry’sratioofCOGSto
netsalesfluctuatedthroughoutthePOI.TheCOGStonetsellratioinitiallyincreasedfrom***percent
in2017to***percentin2018,beforedecliningto***percentin2019;itwas***percentininterim
2020,comparedto***percentininterim2019.CR/PRatTableCͲ2.Theindustry’sperͲunitCOGS
increasedby$***from2017to2019,whiletheindustry’snetsalesAUVincreasedby$***;perͲunit
COGSwere$***lowerininterim2020thanininterim2019,andthenetsalesAUVwas$***higherin
interim2020thanininterim2019.Id.


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        E.      ImpactoftheSubjectImports239

        Section771(7)(C)(iii)oftheTariffActprovidesthatexaminingtheimpactofsubject
imports,theCommission“shallevaluateallrelevanteconomicfactorswhichhaveabearingon
thestateoftheindustry.”240Thesefactorsincludeoutput,sales,inventories,capacity
utilization,marketshare,employment,wages,productivity,grossprofits,netprofits,operating
profits,cashflow,returnoninvestment,returnoncapital,abilitytoraisecapital,abilityto
servicedebts,researchanddevelopment,andfactorsaffectingdomesticprices.Nosingle
factorisdispositiveandallrelevantfactorsareconsidered“withinthecontextofthebusiness
cycleandconditionsofcompetitionthataredistinctivetotheaffectedindustry.”241
        ApparentU.S.consumptionincreased***percentbetween2017and2019,andwas
***percenthigherininterim2020comparedtointerim2019.242Despitestrongdemand
                                 
        239
            ThestatuteinstructstheCommissiontoconsiderthe“magnitudeofthedumpingmargin”in
anantidumpingproceedingaspartofitsconsiderationoftheimpactofimports.19U.S.C.§
1677(7)(C)(iii)(V).Initsfinaldeterminations,Commercefounddumpingmarginsof45.34percentfor
mattressesfromCambodia,2.2percentformattressesfromIndonesia,42.92percentformattresses
fromMalaysia,112.11percentformattressesfromSerbia,37.48–763.28percentformattressesfrom
Thailand,20.03percentformattressesfromTurkey,and144.92–668.38percentformattressesfrom
Vietnam.MattressesfromVietnam:FinalAffirmativeDeterminationofSalesatLessThanFairValue,86
Fed.Reg.15889(March25,2021);MattressesfromSerbia:FinalAffirmativeDeterminationofSalesat
LessThanFairValue,andFinalNegativeFindingofCriticalCircumstances,86Fed.Reg.15892(March25,
2021);MattressesfromCambodia:FinalAffirmativeDeterminationofSalesatLessThanFairValue,and
FinalNegativeFindingofCriticalCircumstances,86Fed.Reg.15894(March25,2021);Mattressesfrom
Indonesia:FinalAffirmativeDeterminationofSalesatLessThanFairValue,86Fed.Reg.15899(March
25,2021);MattressesfromMalaysia:FinalAffirmativeLessThanFairValueDetermination,86Fed.Reg.
15901(March25,2021);MattressesfromTurkey:FinalAffirmativeDeterminationofSalesatLessThan
FairValue,andFinalNegativeFindingofCriticalCircumstances,86Fed.Reg.15917(March25,2021);
MattressesfromThailand:FinalAffirmativeDeterminationofSalesatLessThanFairValue,86Fed.Reg.
15928(March25,2021)).WetakeintoaccountinouranalysisthefactthatCommercehasmadefinal
findingsthatallsubjectproducersinCambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,and
VietnamaresellingsubjectimportsintheUnitedStatesatlessthanfairvalue.Inadditiontothis
consideration,ourimpactanalysishasconsideredotherfactorsaffectingdomesticprices.Ouranalysis
ofthesignificantundersellingandpriceeffectsofsubjectimports,describedinboththepriceeffects
discussionandbelow,isparticularlyprobativetoanassessmentoftheimpactofthesubjectimports.
         240
            19U.S.C.§1677(7)(C)(iii);seealsoSAAat851and885(“Inmaterialinjurydeterminations,
theCommissionconsiders,inadditiontoimports,otherfactorsthatmaybecontributingtooverall
injury.Whilethesefactors,insomecases,mayaccountfortheinjurytothedomesticindustry,theyalso
maydemonstratethatanindustryisfacingdifficultiesfromavarietyofsourcesandisvulnerableto
dumpedorsubsidizedimports.”).
         241
            19U.S.C.§1677(7)(C)(iii).ThisprovisionwasamendedbytheTradePreferencesExtension
Actof2015,Pub.L.114Ͳ27.
         242
            CR/PRatTablesIVͲ10,CͲ2.


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growthandtheavailabilityofdomesticproductioncapacity,assubjectimportscaptured
substantialmarketsharefromthedomesticindustryanddepresseddomesticpricestoa
significantdegree,thedomesticindustry’sperformanceweakenedaccordingtomostmeasures
between2017and2019.243Althoughtheindustry’sperformanceimprovedininterim2020
comparedtointerim2019bysomemeasures,largelyduetotheimpositionofsection301
tariffsandanantidumpingorderonsubjectimportsfromChina,theindustryremainedunable
tofullycapitalizeonstrongdemandgrowthduetoincreasinglowͲpricedsubjectimport
competition.

        Thedomesticindustry’scapacity,production,andrateofcapacityutilizationdeclined
irregularlybetween2017and2019,andtheindustry’shighercapacityininterim2020
comparedtointerim2019wasaccompaniedbyflatproductionandalowerrateofcapacity
utilization.Specifically,theindustry’scapacitydeclinedfrom***unitsin2017to***unitsin
2018beforeincreasingto***unitsin2019,alevelstill***percentlowerthanin2017.244The
industry’scapacitywas***unitsininterim2020,comparedto***unitsininterim2019.245
Theindustry’sproductiondeclinedfrom***unitsin2017to***unitsin2018andto***units
in2019,alevel***percentlowerthanin2017.246Theindustry’sproductionwas***unitsin
interim2020,comparedto***unitsininterim2019.247Theindustry’srateofcapacity
utilizationdeclinedfrom***percentin2017to***percentin2018andto***percentin
2019,alevel***percentagepointslowerthanin2017.248Theindustry’srateofcapacity
utilizationwas***percentininterim2020,comparedto***percentininterim2019.249

        Consistentwiththedomesticindustry’sdecliningcapacityandproduction,the
industry’semploymentdeclinedfrom***productionrelatedworkers(“PRWs”)in2017to***
PRWsin2018beforeincreasingto***PRWsin2019,alevelstill***percentlowerthanin
2017.250Theindustry’semploymentwas***ininterim2020,comparedto***ininterim




                                     
        243
           CR/PRatTableCͲ2.
        244
           CR/PRatTableCͲ2.
        245
           CR/PRatTableCͲ2.
        246
           CR/PRatTableCͲ2.
        247
           CR/PRatTableCͲ2.
        248
           CR/PRatTableCͲ2.
        249
           CR/PRatTableCͲ2.
        250
           CR/PRatTableCͲ2.


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2019.251Theindustry’shoursworkedandwagespaidincreasedirregularlyduringtheperiodof
investigation,whiletheindustry’sproductivitydeclinedirregularly.252

        Asthedomesticindustry’sproductiondeclinedbetween2017and2019,sodiditsU.S.
shipmentsandmarketshare,andtheindustry’sU.S.shipmentswereflatininterim2020
comparedtointerim2019asitcontinuedtolosemarketsharetosubjectimports.The
domesticindustry’sU.S.shipmentsdeclinedfrom***unitsin2017to***unitsin2018and
2019,alevel***percentlowerthanin2017.253U.S.shipmentswere***unitsininterim2020,
comparedto***unitsininterim2019.254Theindustry’sshareofapparentU.S.consumption
declinedfrom***percentin2017to***percentin2018andto***percentin2019,alevel
***percentagepointslowerthanin2017.255Theindustry’sshareofapparentU.S.
consumptionwas***percentininterim2020,comparedto***percentininterim2019.256

        Thedomesticindustry’sendͲofͲperiodinventoriesincreasedbetween2017and2019
andremainedflatatanelevatedlevelininterim2019andinterim2020.Specifically,the
industry’sendͲofͲperiodinventoriesincreasedfrom***unitsin2017to***unitsin2018and
to***unitsin2019,alevel***percenthigherthanin2017.257Thedomesticindustry’sendͲofͲ
periodinventorieswere***unitsininterim2020,comparedto***unitsininterim2019.258
Similarly,theindustry’sendͲofͲperiodinventoriesasashareoftotalshipmentsincreasedfrom
***percentin2017to***percentin2018andto***percentin2019.259Theindustry’sendͲ
ofͲperiodinventoriesasashareoftotalshipmentsremainedelevatedat***percentininterim
2019andinterim2020.260

        Thedomesticindustry’sfinancialperformancealsodeclinedbetween2017and2019,as
subjectimportscapturedmarketsharefromthedomesticindustryanddepressedpricesfor
                            
        251
           CR/PRatTableCͲ2.
        252
           CR/PRatTableCͲ2.Thedomesticindustry’swagespaidandhoursworkedincreased
irregularlyby***percentand***percent,respectively,between2017and2019.Id.Ininterim2020
comparedtointerim2019,theindustry’swagespaidwere***percenthigheranditshoursworked
were***percentlowerthanininterim2019.Id.Theindustry’sproductivityinunitsper1,000hours
declinedirregularlyby***percentbetween2017and2019,butwas***percenthigherininterim2020
comparedtointerim2019.Id.
        253
           CR/PRatTableCͲ2.
        254
           CR/PRatTableCͲ2.
        255
           CR/PRatTableCͲ2.
        256
           CR/PRatTableCͲ2.
        257
           CR/PRatTableCͲ2.
        258
           CR/PRatTableCͲ2.
        259
           CR/PRatTableCͲ2.
        260
           CR/PRatTableCͲ2.


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domesticproducts,beforeimprovingsomewhatininterim2020comparedtointerim2019.261
Specifically,theindustry’snetsalesvaluedeclinedfrom$***in2017to$***in2018before
increasingto$***in2019.262Theindustry’snetsalesvaluewasflatat$***ininterim2019
andinterim2020.263Theindustry’soperatingincomedeclinedfrom$***in2017to$***in
2018beforeincreasingto$***in2019,alevelstill***percentlowerthanin2017.264The
industry’soperatingincomewas$***ininterim2020,comparedto$***ininterim2019.265
Similarly,theindustry’soperatingincomemargindeclinedfrom***percentin2017to***
percentin2018beforeincreasingto***percentin2019,alevel***percentagepointslower
thanin2017.266Theindustry’soperatingincomemarginwas***percentininterim2020,
comparedto***percentininterim2019.267Thedomesticindustry’saverageoperatingreturn
onassetsdeclinedfrom***percentin2017to***percentin2018beforeincreasingto***
percentin2019,alevel***percentagepointslowerthanin2017.268

        Thedomesticindustry’scapitalexpendituresincreasedirregularlyduringtheperiodof
investigation,whileitsresearchanddevelopment(“R&D”)expensesgenerallydeclined.269
Althoughdomesticproducersincreasedtheircapitalexpendituresinanticipationofdemand
growthandrelieffromunfairlytradedimportsfromChina,numerousrespondingproducers
reportedthatthefinancialreturnsontheirrecentinvestmentshavebeendisappointingdueto



        261
           SeeCR/PRatTableCͲ2.
        262
           CR/PRatTableCͲ2.
        263
           CR/PRatTableCͲ2.
        264
           CR/PRatTableCͲ2.
        265
           CR/PRatTableCͲ2.
        266
           CR/PRatTableCͲ2.Thedomesticindustry’sgrossprofitexhibitedasimilarfluctuatingtrend,
decliningfrom***in2017to$***in2018beforeincreasingto$***in2019.Id.Theindustry’sgross
profitwas$***ininterim2020,comparedto$***ininterim2019.Id.Theindustry’snetincome
declinedthroughouttheperiodfrom$***in2017to$***in2018andto$***in2019.Id.The
industry’snetincomewas***ininterim2020,comparedto$***ininterim2019.Id.TwentyͲfour
respondingdomesticproducersreportedthatsubjectimportshadnegativeeffectsontheirinvestment
and25domesticproducersreportedthatsubjectimportshadnegativeeffectsontheirgrowthand
development.CR/PRatTableVIͲ9.
        267
           CR/PRatTableCͲ2.
        268
           DerivedfromCR/PRatTableCͲ2.
        269
           CR/PRatTableCͲ2.Thedomesticindustry’scapitalexpendituresdeclinedfrom$***in2017
to$***in2018butincreasedto$***in2019,alevel***percenthigherthanin2017.Id.The
industry’scapitalexpenditureswere$***ininterim2020,comparedto$***ininterim2019.Id.The
industry’sR&Dexpensesdecreasedfrom$***in2017to$***in2018andto$***in2019,alevel***
percentlowerthanin2017.Id.Theindustry’sR&Dexpenseswere$***ininterim2020,comparedto
$***ininterim2019.Id.


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unrelentingsubjectimportcompetition.270Forexample,atthehearing,arepresentativeof
BrooklynBeddingtestifiedthatthefoamcuttingequipmentthathisfirmacquiredin2015was
barelyusedin2019andthatnomorethanthreeofitssixrollpackingmachineswereutilizedin
2019and2020.271ArepresentativeofKolcrafttestifiedthatsubjectimportcompetitionhas
substantiallyreducedthereturnonhisfirm’sinvestmentsinautomationequipmentin2017,272
and***.”273***.”274
        Wefindacausalnexusbetweensubjectimportsandthedomesticindustry’sdeclining
performancebetween2017and2019andtheindustry’sweakperformancerelativetodemand
growthininterim2020comparedtointerim2019.Subjectimportvolumeincreased
significantlyinabsolutetermsandrelativetoapparentU.S.consumptionthroughouttheperiod
ofinvestigation,drivenbysignificantsubjectimportunderselling.275Theincreasingvolumeof
lowͲpricedsubjectimportscaptured***percentagepointsofmarketsharefromthedomestic
industrybetween2017and2019andanother***percentagepointsofmarketshareininterim
2020comparedtointerim2019.276Consequently,thedomesticindustrysuffereddeclining
capacity,production,capacityutilization,employment,andU.S.shipmentsbetween2017and
2019,despitestrongdemandgrowththatwouldhavebeenexpectedtoboostthesemeasures
ofindustryperformance.277AssignificantvolumesoflowͲpricedsubjectimportsdepressed
domesticproductpricestoasignificantdegreeduringtheperiodofinvestigation,278the
industry’sdecliningpricesandincreasingcoststranslateddirectlyintostagnantnetsales

        270
            SeeCR/PRatTableVIͲ10;seealsoHearingTr.at46(Fallen)(“AftertheinitialChina
investigationandtheresultingantidumpingdutyorder,wethoughtwehadmadeitthroughtheworst.
Wewerewellpositionedtobenefitfromourexistingcapacityandourinvestmentsinproductssuchas
rolledmattresses.Instead,welostevenmoresalesandhadtoclosesomeofourplantsbecauseofthe
continuedinfluxofunfairlylowͲpricedimportsfromevenmorecountries.”),50(Koltun)(“Afterthe
previousmattressinvestigation,weinvestedinnewequipmenttopackagecribmattressesinabox.We
madethatinvestmentbecauseweanticipatedwecouldgettheappropriatereturnifChineseimports
couldnolongerrelyondumpedprices.DespitethenewdutiesonimportsfromChina,therecontinued
tobenewentrantsintotheU.S.mattressmarketfromnewsourcecountries.Wedidnotrealizeforeign
producerswouldsimplyshiftproductiontoothercountriesandcontinuetodumpintotheU.S.market.
EvenwiththeantidumpingorderonChinainplace,wecontinuedlosingsalesandwereunabletofully
capitalizeonourinvestments.”).
         271
            HearingTr.at34(Merwin).
         272
            HearingTr.at48Ͳ49(Koltun).
         273
            SeeCR/PRatTableVIͲ10.
         274
            CR/PRatTableVIͲ10.
         275
            CR/PRatTablesIVͲ2,CͲ2,andDͲ9.
         276
            CR/PRatTableCͲ2.
         277
            CR/PRatTablesIVͲ8,CͲ2.
         278
            CR/PRatTableCͲ2.


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revenuesandgrossprofits,anddecliningoperatingincomeandnetincome,between2017and
2019.279
        Althoughmanymeasuresofthedomesticindustry’sperformancebegantoimprovein
2019,theindustry’sperformancein2019remainedweakerthanin2017andtheindustry’s
improvedperformanceininterim2020comparedtointerim2019wasmuchweakerthan
wouldhavebeenexpectedinlightofstrongdemandgrowth.280Wealsowouldexpecttosee
improvementinthedomesticindustry’sperformancefollowingtheantidumpingduty
investigationandimpositionofanorderonsubjectimportsfromChinaattheendof2019,
giventhatChinawasbyfarthelargestsourceofsubjectimportsthrough2019.281
Representativesofdomesticproducerstestifiedatthehearingthatthetrademeasureson
subjectimportsfromChinabenefittedtheirfirmsinitially,butthatthebenefitwasshortlived
aslowͲpricedimportsfromothersubjectcountriessurgedtoreplace,andultimatelyexceed,
subjectimportsfromChina.282

        Subjectimportcompetitionpreventedthedomesticindustryfromfullycapitalizingon
thetrademeasuresimposedonsubjectimportsfromChinaandthe***percentincreasein
apparentU.S.consumptionininterim2020comparedtointerim2019.283Asthedomestic
industrycontinuedtolosemarketsharetosubjectimports,theindustry’sproductionandU.S.
shipmentswereflatininterim2020comparedtointerim2019,whileitscapacityutilizationrate
andemploymentwerelower.284Theindustry’sgrossprofitandoperatingincomewerehigher
ininterim2020comparedtointerim2019,bothinabsolutetermsandrelativetonetsales,but
lowerthantheywouldhavebeenhadsubjectimportsnotcapturedmarketsharefromthe
industryanddepressedtheindustry’ssalespricestoasignificantdegree.Thedomestic



                               
        279
           CR/PRatTableCͲ2.
        280
           CR/PRatTableCͲ2.
        281
           CR/PRatTableIVͲ2.Thepetitionintheantidumpingdutyinvestigationonimportsfrom
ChinawasfiledinSeptember2018,provisionaldutieswereimposedinJune2019,andanantidumping
orderimposedinDecember2019.CR/PRatIͲ5;MattressesFromthePeople'sRepublicofChina:
PreliminaryDeterminationofSalesatLessͲThanͲFairͲValue,PostponementofFinalDeterminationand
AffirmativePreliminaryDeterminationofCriticalCircumstances,84Fed.Reg.25732(June4,2019);
MattressesFromthePeople'sRepublicofChina:FinalDeterminationofSalesatLessͲThanͲFairͲValue,
andFinalAffirmativeDeterminationofCriticalCircumstances,inPart,84Fed.Reg.56761(Oct.23,
2019).
        282
           SeeHearingTr.at27Ͳ28,30Ͳ31(Glassman),34Ͳ35(Merwin),46(Fallen),50Ͳ51(Koltun)
        283
           CR/PRatTableCͲ2.
        284
           CR/PRatTableCͲ2.


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                                           Appx14785
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industryalsosufferedasubstantialnetlossininterim2020,$***,thatwasequivalentto
negative***percentofnetsales.285

        Weareunpersuadedbythejointrespondents’argumentthatsubjectimport
competitionissignificantlyattenuatedbydifferencesinmarketsegmentation.286Theyargue
thatthereisnocausallinkbetweensubjectimportsanddeclinesinthedomesticindustry’s
performancebecausethosedeclineswereentirelycausedbydomesticproducersofFPMs,
whichdidnotcompetewithsubjectimportsintheirview.287Jointrespondentsfurtherargue
thateventhoughdomesticproducersofMiBscompeteddirectlywithsubjectimports,these
domesticproducersgainedmarketshareandimprovedtheirperformance.288Thejoint
respondentsattributethedecliningperformanceofdomesticproducersofFPMstowhatthey
characterizeasthe“increasingconsumerpreferenceforMiBs.”289Therecorddoesnotsupport
respondents’arguments.
        AsdiscussedinsectionV.B.3above,wehavefoundthatsubjectimportsofMiBcompete
withdomesticallyproducedFPMs,contrarytorespondents’argument.Mostresponding
purchasersreportedthatsubjectimportsareinterchangeablewithandcomparableto
domesticallyproducedmattresses,despitethefactthatmostsubjectimportsconsistedofMiBs
andmostdomesticallyproducedmattressesconsistedofFPMs.290Therecordalsoshowsthat
MiBsandFPMsarefunctionallyinterchangeable,astheyaregenerallymadefromthesame
materialstothesamespecifications,andcrossͲshoppedbyconsumerswhosepurchasesare
motivatedprimarilybypriceandnotbypackaging.291Ratherthanbeingmotivatedbyany
“increasingconsumerpreferenceforMiBs,”asthejointrespondentsclaim,wehavefound
pricetobeaprimarymotivatingfactorforpurchasingsubjectimportsratherthandomestic

                                   
        285
              CR/PRatTableCͲ2.Werecognizethatthedomesticindustry’snetlossininterim2020was
***.Id.atVIͲ15n.12,TableIIIͲ1.***.”CR/PRatVIͲ15n.12,TableIIIͲ1.***.”Id.atTableVIͲ6;seealso
id.atIIIͲ18n.6,IIIͲ29,TableVIͲ10.***.”Id.atIIIͲ18n.6.
           286
              Theyarguethatthereisno“realcompetition”betweensubjectimports,primarilyconsisting
ofMiBs,anddomesticallyproducedFPMsbecauseconsumerspurchasingmattressesonlinewill
generallyreceiveMiBs,eveniftheyhavenotspecifiedMiBs,andbecausepurchasersatthewholesale
levelaregenerallycommittedtoeitherFPMsorMiBs.JointRespondents’PrehearingBriefat11;Joint
Respondents’PosthearingBriefat4Ͳ5.
           287
              JointRespondents’PrehearingBriefat55Ͳ57,60Ͳ64;JointRespondents’PosthearingBriefat
12Ͳ14.
           288
              JointRespondents’PrehearingBriefat55Ͳ57,60Ͳ64;JointRespondents’PosthearingBriefat
12Ͳ14.
           289
              JointRespondents’PrehearingBriefat63Ͳ64.
           290
              CR/PRatTableIIͲ14.
           291
              SeesectionV.B.3above.


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                                                Appx14786
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product.WhileimportersmayhaveaneconomicincentivetoimportprimarilyMiBsfrom
subjectcountriesratherthanFPMsbecausethesmallersizeofMiBsrelativetoFPMsminimizes
oceanfreight,inlandtransportation,andwarehousingcosts,anysuchincentivedoesnot
attenuatecompetitionbetweendomesticproductandsubjectimportsgivenourfindingsthat
FPMsandMiBscompete292andthatdomesticproducersproduceandshipsignificantquantities
ofMiBs.293
        Nordoestherecordsupportrespondents’contentionthatpurchasersarecommittedto
eitherMiBsorFPMs.Therecordshowsthatmostrespondingpurchasers,includingmanyof
thelargestpurchasers,reportedpurchasingbothMiBsandFPMs,andthatmajorpurchasers
displayedMiBsandFPMssidebysideontheirsalesfloorsandwebsites.294Indeed,domestic
producers***.295Furthermore,domesticproducersandimporterscompetedforsalestothe
samepurchasersinthesamechannelsofdistribution,asreflectedinthesevenresponding
purchasersthatincreasedsubjectimportsasashareoftheirpurchasesby27.4percentage
pointsbetween2017and2019atthedirectexpenseofthedomesticindustry.296Thus,the
recordshowsthatsubjectimportedMiBsanddomesticallyproducedFPMscompeteforsalesto
thesamepurchasers.297
        Basedontheprecedingconsiderations,wefindthatthesignificantincreaseinlowͲ
pricedsubjectimportscameattheexpenseofdomesticproducersofallmattresses,
irrespectiveofpackaging.TherecordshowsthatsubjectimportsofMiBswerepriced
significantlylowerthancomparabledomesticallyproducedFPMs.298Giventheimportanceof


                                  
        292
             SeeSectionV.B.3aboveforadiscussionregardingcompetitionbetweenFPMsandMiBs.
        293
             HearingTr.at61(Baisburd),103Ͳ04(Glassman),145Ͳ46(Adams),226(Grimson);seealso
Respondents’PrehearingBriefat17;JointRespondents’ResponsestoCommissionerQuestions,Annex
IIIat2Ͳ4.
          294
             CR/PRatIIͲ3;HearingTr.at63Ͳ64(Earley),116(Merwin);Petitioners’PosthearingBriefat8,
Exhibits4Ͳ6;Petitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ5,Exhibits4Ͳ5.
          295
             Petitioners’ResponsestoCommissionerQuestionsatExhibit1Ͳ4.
          296
             SeesectionV.B.3above;CR/PRatTableVͲ22;Petitioners’PosthearingBriefatExhibit3.
          297
             WerecognizethatMiBsofferpurchaserscertainlogisticaladvantages,suchastheabilityto
fitmoremattressesintoagivenwarehouseortruckanddeliverybycommoncarrierfromacentral
location,andthattheseadvantagesmaycausecertainpurchaserstofavorMiBsoverFPMs.HearingTr.
at145Ͳ46(Adams).Yet,onlytworespondingpurchasersrankedpackagingamongthetopthreefactors
influencingtheirpurchasingdecisions,whilenearlyallcitedpriceorpriceͲrelatedfactors.CR/PRat
TableIIͲ12;Purchasers’QuestionnaireResponsesof***atQuestionIIIͲ26.
          298
             SeesectionV.Dabove.TherecordalsoshowsthatsubjectimportsofFPMswerepriced
lowerthandomesticallyproducedFPMsandthatsubjectimportsofMiBswerepricedlowerthan
domesticallyproducedMiBs.CR/PRatTablesVͲ3,VͲ5andVͲ7.


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                                              Appx14787
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pricetopurchasersandthemoderatelyhighdegreeofsubstitutabilitybetweensubjectimports
anddomesticallyproducedmattresses,thesignificantlylowerpriceofsubjectimportswould
haveencouragedpurchaserstoincreasetheirpurchasesofsubjectimportedMiBsatthe
expenseofdomesticallyproducedmattresses,includingFPMs.299Fiveofthesevenresponding
purchasersthatshiftedtheirpurchasesfromdomesticproducerstosubjectimportspurchased
bothMiBsandFPMs.300Furthermore,theimportanceofpricetoretailconsumersmeansthat
consumersseekingoutmattressesatlowprices,astheycrossͲshoppeddifferenttypesof
mattressesacrosschannelsofdistribution,wouldhavespurredincreasedpurchasesoflowerͲ
pricedsubjectimportsofMiBsattheexpenseofdomesticallyproducedFPMsatthewholesale
level.301Thegreaterimportancethatbothpurchasersandconsumersplacedonpricerelative
topackagingindicatesthatthesignificantincreaseinapparentU.S.consumptionofMiBswas
drivenmorebythelowpricesofsubjectimportspackagedasMiBsthanbyanyshiftin
consumerorpurchaserpreferencesfromFPMstoMiBsfornonͲpricereasons.Thus,the
increasingvolumesoflowͲpricedsubjectimportssignificantlycontributedtothesignificant
declineinthedomesticindustry’sproductionandU.S.shipmentsofFPMsovertheperiodof
investigation.302
        GiventhecompetitionwehavefoundbetweensubjectimportedMiBsanddomestically
producedFPMs,wedonotfinditappropriateorinstructivetofocusourimpactanalysison
domesticproducersofMiBs,asadvocatedbythejointrespondents.303Focusingourimpact
analysisondomesticproducersofMiBswouldalsobeinappropriateinlightofthesubstantial
numberofdomesticproducersthatproducedbothFPMsandMiBsduringtheperiodof
investigation,whichincludedthelargestproducersofFPMsandaccountedfor***ofMiB
productionin2019.304Thereisnodiscretesegmentofthedomesticindustrythatproduces
onlyMiBs,andonly***domesticproducerscontinuedtospecializeinMiBsattheendofthe




                                 
        299
            SeeHearingTr.at198(Dougan)(“{N}otalloftheMiBincreaseisattributabletoastraight
replacementofanFPM,butthereisͲͲIthinkwehavetoconcedethatthereissome.”).
         300
            CR/PRatTableVͲ22;Purchasers’QuestionnaireResponsesof***atQuestionIIͲ1;
Purchasers’QuestionnaireResponseof***atQuestionIIͲ5(***);Petitioners’PosthearingBriefat
Exhibit4(***).***.SeeConfidentialViews,MattressesfromChina,EDISDoc.No.708415,at48n.223.
         301
            SeesectionV.B.3above.
         302
            CR/PRatTablesIIIͲ5,IVͲ14.
         303
            SeeJointRespondents’PrehearingBriefat60;JointRespondents’PosthearingBriefat12Ͳ13.
         304
            SeesectionV.B.2above.


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periodofinvestigation.305Accordingly,webaseourimpactanalysisonthedomesticindustryas
awhole.
        Althoughwebaseourimpactanalysisentirelyonthedomesticindustryasawhole,we
notethatsubjectimportsalsohadanimpactondomesticproducersthatexclusivelyproduced
MiBs.DomesticproducersofMiBsimprovedtheirperformancebymostmeasuresduringthe
periodofinvestigation,aswouldbeexpectedinlightofthedomesticindustry’sincreasesin
U.S.shipmentsofMiBsanditssubstantialinvestmentsinMiBcapacityduringtheperiodof
investigation.306Nevertheless,theperformanceofdomesticMiBproducerswouldhavebeen
appreciablystrongerduringtheperiodofinvestigationbutforthesignificantvolumeand
increaseinvolumeoflowͲpricedsubjectimportsthatdisplaceddomesticindustryshipments
fromtheU.S.marketanddepresseddomesticlikeproductpricestoasignificantdegree,
includingthepricesofMiBproducts.307Moreover,despitethesubstantialincreaseinapparent
U.S.consumptionofMiBsduringtheperiodofinvestigation,domesticproducers’MiBscapacity
utilizationremainedlowoverthePOI.Capacityutilizationwas57.2percentin2017,62.0
percentin2018,and60.3percentin2019,and49.8percentininterim2020,downfrom64.7
percentininterim2019.308
                                 
        305
             SeeCR/PRatIIIͲ9Ͳ10,TableIIIͲ1.RespondingdomesticproducersthatproducedMiBsbutno
FPMsin2019included***.SeeId.
          306
             CompiledfromDomesticProducers’QuestionnaireResponsesof***;CR/PRatTableIVͲ12
(allU.S.producers’U.S.shipmentsofMiBmattressesincreasedby***percentfrom***unitsin2017to
***unitsin2019,andwere***percentlargerininterim2020thanininterim2019).
          307
             SeesectionV.Dabove.
          308
             CR/PRatTableIIIͲ5.WhilewerecognizethatthedomesticMiBproducers’reducedrateof
capacityutilizationininterim2020partlyreflectsrawmaterialshortages,theircapacityutilizationrates
remainedlowbothinabsolutetermsandrelativetodomesticFPMproducersthroughouttheperiodof
investigation,andthereisnoevidencethatMiBproducerswereincapableofutilizingmoreoftheir
reportedcapacity,asthejointrespondentscontend.Id.Weareunpersuadedbythejointrespondents’
argumentthatthedomesticindustrywasincapableofincreasingitsproductionandU.S.shipmentsof
MiBsfurtherduringtheperiodduetotheirinferiorselection,reliability,andqualitycomparedtosubject
imports.JointRespondents’PrehearingBriefat45Ͳ46;JointRespondents’PosthearingBriefat8.NonͲ
pricedifferencescannotexplaintheMiBproducers’lowratesofcapacityutilizationbecauseamajority
ofrespondingpurchasersreportedthatdomesticallyproducedmattresseswerecomparabletosubject
importsintermsofproductrange,quality,andreliabilityofsupply.SeeCR/PRatTableIIͲ14.According
topetitioners,domesticproducersofMiBsexperiencedlowwarrantyreturnratesin2019,including
***.Petitioners’PrehearingBriefat42n.167.Nordoestherecordsupportthejointrespondents’
argumentthattherelativelyweakcapacityutilizationratesofdomesticproducersofMiBsresultedfrom
theirrapidexpansionofMiBcapacityortheirmisreportingofMiBcapacity.SeeJointRespondents’
PosthearingBriefat1Ͳ2,AnnexXat16Ͳ18.Thedomesticproducers’questionnaireinstructions
requested“averageproductioncapacity”definedas“{t}helevelofproductionthatyour
establishment(s)couldreasonablyhaveexpectedtoattainduringthespecifiedperiods.”Domestic
(Continued...)
                                                     53

                                              Appx14789
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        GiventhemagnitudeoftheunusedcapacitypossessedbydomesticMiBproducers
throughouttheperiodofinvestigation,domesticproducersofMiBscouldhaveincreasedtheir
U.S.shipmentsandmarketsharemorethantheydidduringtheperiodbutforsubjectimport
competition.309AlthoughthedomesticindustryincreaseditsshareofapparentU.S
consumptionofMiBsduringtheperiodofinvestigation,subjectimportsofMiBsincreasedtheir
shareofoverallapparentU.S.consumptionbymorethandomesticallyproducedMiBsduring
theperiod.310ImportsfromsubjectsourcesincreasedineveryyearofthePOI;asimportsof
MiBsfromChinaretreatedfromthemarketin2019inresponsetotheimpositionofan
antidumpingdutyorder,subjectimportsfromnewsourcessurgedintothemarket,displacing
domesticallyproducedMiBsandsignificantlydepressingU.S.prices.311Consequently,domestic
producersofMiBscouldhavehadgreatersalesrevenuesandoperatingandnetincomethan
theydidduringtheperiodofinvestigationbutforsubjectimportcompetition.312***
respondingdomesticMiBproducersaccountingfor***percentofdomesticMiBproductionin
2019reportedthatsubjectimportsadverselyimpactedthereturnsontheirinvestmentsduring



                                                                                                            
(…Continued)
Producers’QuestionnairesatQuestionIIͲ7.Thus,respondingdomesticproducersreported,and
certifiedasaccurate,theMiBcapacitythattheycouldhavereasonablyutilizedforproductionofMiBs.
Furthermore,thedomesticindustry’sincreasedcapacitytoproduceMiBsisconsistentwiththe
industry’ssubstantialcapitalinvestmentstoexpandMiBcapacity.CR/PRatTablesIIIͲ3,VIͲ5Ͳ6.Wealso
notethatthehighvariablecostnatureofmattressproductionwouldenabledomesticproducersto
operateatratesofcapacityutilizationthatwouldbeconsideredlowinotherindustries.SeeHearingTr.
at45(Fallen);Petitioners’PrehearingBriefat21.Forthesereasons,wedonotviewthelowcapacity
utilizationratesreportedbycertaindomesticproducersasevidencethattheymisreportedor
exaggeratedtheirMiBcapacity.
          309
             CompiledfromDomesticProducers’QuestionnaireResponsesof***;seealsoCR/PRatTable
IIIͲ5.
          310
             SeeCR/PRatTablesIVͲ12,FͲ1Ͳ2.Theratioofthedomesticindustry’sU.S.shipmentsofMiBs
toapparentU.S.consumptionincreased***percentagepointsbetween2017and2019andwas***
percentagepointshigherininterim2020comparedtointerim2019.Id.atTableFͲ1.Bycontrast,the
ratioofU.S.shipmentsofsubjectimportedMiBstoapparentU.S.consumptionincreased***
percentagepointsbetween2017and2019andwas***percentagepointshigherininterim2020
comparedtointerim2019.Id.atTableFͲ2.
          311
             SeeCR/PRatTableIVͲ12(showingMiBsfromChinadecliningbyover***unitsfrom2018to
2019andtheirshareofMiBconsumptiondecliningby***percentagepoints,whilesubjectimports
fromnewsourcesincreasedbyover***unitsandgained***percentagepointsofmarketshareduring
thesameperiod).
          312
             CompiledfinancialdatafromDomesticProducers’QuestionnaireResponsesof***.***.
Compareid.withCR/PRatTableCͲ2.


                                                    54

                                             Appx14790
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theperiodofinvestigation.313Thus,wefindthattheincreasedvolumesoflowͲpricedsubject
importshadasignificantimpactondomesticproducersofalltypesofmattresses,including
MiBs.
         Wehavealsoconsideredwhetherthereareotherfactorsthatmayhavehadanadverse
impactonthedomesticindustryduringtheperiodofinvestigationtoensurethatwearenot
attributinginjuryfromsuchotherfactorstothesubjectimports.Neitherdemandtrendsnor
nonsubjectimportsexplaintheindustry’sdecliningperformance.ApparentU.S.consumption
increased***percentbetween2017and2019andwas***percenthigherininterim2020
comparedtointerim2019.314ThevolumeofnonsubjectimportsintheU.S.marketwasflat
duringtheperiodofinvestigationandsignificantlysmallerthanthevolumeofcumulated
subjectimportsthroughouttheperiod.315Furthermore,nonsubjectimportsdeclinedasashare
ofapparentU.S.consumptionthroughouttheperiod,neveraccountingformorethan***
percentofsuchconsumption.316

         Insum,wefindthatduringtheperiodofinvestigation,thesignificantvolumeofsubject
imports,theincreaseinsubjectimportvolume,andsignificantsubjectimportunderselling,
whichdepresseddomesticpricestoasignificantdegreeandenabledsubjectimportstogain
marketshareattheexpenseofthedomesticindustry,significantlyimpactedthedomestic
industry.
         
VI.      Conclusion

         Forthereasonsstatedabove,wedeterminethatanindustryintheUnitedStatesis
materiallyinjuredbyreasonofimportsofmattressesfromCambodia,Indonesia,Malaysia,
Serbia,Thailand,Turkey,andVietnamfoundbyCommercetobesoldintheUnitedStatesat
lessthanfairvalueandimportsofthesubjectmerchandisefromChinafoundbyCommerceto
besubsidizedbythegovernmentofChina.




                                
         313
           CR/PRatTablesIIIͲ1,VIͲ10(***).Inaddition,onedomesticproducerthatproducedMiBs
almostexclusively,***,reportednegativeeffectsonitsinvestmentreturnsandthreedomestic
producersthatproducedbothMiBsandFPMs,***,reportednegativeeffectsspecifictotheirMiB
investments.Id.
        314
           CR/PRatTablesIVͲ11,CͲ2.
        315
           CR/PRatTableIVͲ2.
        316
           CR/PRatTablesIVͲ11,CͲ2;seealsosectionV.B.2above.


                                                    55
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                                             Appx14791
Case 1:21-cv-00288-SAV
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                               Appx14792
    Case 1:21-cv-00288-SAV
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                                                      
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             Introduction
Background
         TheseinvestigationsresultfrompetitionsfiledwiththeU.S.DepartmentofCommerce
(“Commerce”)andtheU.S.InternationalTradeCommission(“USITC”or“Commission”)on
March31,2020,byBrooklynBedding,Phoenix,Arizona;CorsicanaMattressCo.(“Corsicana”),
Dallas,Texas;EliteComfortSolutions(“Elite”),Newnan,Georgia;FXI,Inc.(“FXI”),Media,
Pennsylvania;Innocor,Inc.(“Innocor”),Media,Pennsylvania;KolcraftEnterprises,Inc.
(“Kolcraft”),Chicago,Illinois;Leggett&Platt,Inc.(“Leggett&Platt”),Carthage,Missouri;the
InternationalBrotherhoodofTeamsters,Washington,DC;andUnitedSteel,PaperandForestry,
Rubber,Manufacturing,Energy,AlliedIndustrialandServiceWorkersInternationalUnion,AFLͲ
CIO,Washington,DC,allegingthatanindustryintheUnitedStatesismateriallyinjuredand
threatenedwithmaterialinjurybyreasonofsubsidizedimportsofmattressesfromChinaand
lessͲthanͲfairͲvalue(“LTFV”)importsofmattresses1fromCambodia,Indonesia,Malaysia,
Serbia,Thailand,Turkey,andVietnam.Thefollowingtabulationprovidesinformationrelating
tothebackgroundoftheseinvestigations.23

            Effective date           Action
                                     Petitions filed with Commerce and the Commission;
                                     institution of Commission investigations (85 FR 19503, April
            March 31, 2020           7, 2020)
                                     Commerce’s notices of initiation (85 FR 22998, April 24,
                                     2020 (countervailing duty), and 85 FR 23002, April 24, 2020
            April 20, 2020           (antidumping duty))
            May 15, 2020             Commission’s preliminary determinations (85 FR, May 21,
                                     2020)
            September 11, 2020       Commerce’s preliminary countervailing duty determination
                                     and alignment with final antidumping duty determinations
                                     (85 FR 56216 (China), September 11, 2020)
                                



                                 
     1
    Seethesectionentitled“Thesubjectmerchandise”inPartIofthisreportforacomplete
descriptionofthemerchandisesubjectinthisproceeding.
   2
    PertinentFederalRegisternoticesarereferencedinappendixA,andmaybefoundatthe
Commission’swebsite(www.usitc.gov).
   3
    AppendixBisreservedforthewitnessesappearingattheCommission’shearing.

                                                     IͲ1
                                              Appx14793
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                                                    

            Effective date         Action
            November 3, 2020       Commerce’s preliminary antidumping duty determinations
                                   (85 FR 69568 (Thailand), 69571 (Turkey), 69574 (Malaysia),
                                   69589 (Serbia), 69591 (Vietnam), 69594 (Cambodia), and
                                   69597 (Indonesia), November 3, 2020); scheduling of final
                                   phase of Commission investigations (85 FR 76105,
                                   November 27, 2020)
            March 18, 2021         Commission’s hearing
                                   Commerce’s final determinations (86 FR 15889 (Vietnam),
                                   15892 (Serbia), 15894 (Cambodia), 15899 (Indonesia),
                                   15901 (Malaysia), 15910 (China), 15917 (Turkey), 15928
            March 25, 2021         (Thailand), March 25, 2021)
            April 21, 2021         Commission’s vote
            May 10, 2021           Commission’s views


Statutorycriteria
         Section771(7)(B)oftheTariffActof1930(the“Act”)(19U.S.C.§1677(7)(B))provides
thatinmakingitsdeterminationsofinjurytoanindustryintheUnitedStates,theCommissionͲͲ

            shallconsider(I)thevolumeofimportsofthesubjectmerchandise,(II)the
            effectofimportsofthatmerchandiseonpricesintheUnitedStatesfor
            domesticlikeproducts,and(III)theimpactofimportsofsuch
            merchandiseondomesticproducersofdomesticlikeproducts,butonlyin
            thecontextofproductionoperationswithintheUnitedStates;and...
            mayconsidersuchothereconomicfactorsasarerelevanttothe
            determinationregardingwhetherthereismaterialinjurybyreasonof
            imports.
         Section771(7)(C)oftheAct(19U.S.C.§1677(7)(C))furtherprovidesthatͲͲ4

            Inevaluatingthevolumeofimportsofmerchandise,theCommissionshall
            considerwhetherthevolumeofimportsofthemerchandise,orany
            increaseinthatvolume,eitherinabsolutetermsorrelativetoproduction
            orconsumptionintheUnitedStatesissignificant....Inevaluatingthe
            effectofimportsofsuchmerchandiseonprices,theCommissionshall
            considerwhether...(I)therehasbeensignificantpriceundersellingbythe
            importedmerchandiseascomparedwiththepriceofdomesticlike
            productsoftheUnitedStates,and(II)theeffectofimportsofsuch
            merchandiseotherwisedepressespricestoasignificantdegreeor
            preventspriceincreases,whichotherwisewouldhaveoccurred,toa
                               
     4
     AmendedbyPL114Ͳ27(assigned,June29,2015),TradePreferencesExtensionActof2015.

                                                   IͲ2
                                            Appx14794
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                                                    

            significantdegree....Inexaminingtheimpactrequiredtobeconsidered
            undersubparagraph(B)(i)(III),theCommissionshallevaluate(withinthe
            contextofthebusinesscycleandconditionsofcompetitionthatare
            distinctivetotheaffectedindustry)allrelevanteconomicfactorswhich
            haveabearingonthestateoftheindustryintheUnitedStates,including,
            butnotlimitedto...(I)actualandpotentialdeclineinoutput,sales,
            marketshare,grossprofits,operatingprofits,netprofits,abilitytoservice
            debt,productivity,returnoninvestments,returnonassets,andutilization
            ofcapacity,(II)factorsaffectingdomesticprices,(III)actualandpotential
            negativeeffectsoncashflow,inventories,employment,wages,growth,
            abilitytoraisecapital,andinvestment,(IV)actualandpotentialnegative
            effectsontheexistingdevelopmentandproductioneffortsofthe
            domesticindustry,includingeffortstodevelopaderivativeormore
            advancedversionofthedomesticlikeproduct,and(V)in{anantidumping
            investigation},themagnitudeofthemarginofdumping.
            
            Inaddition,Section771(7)(J)oftheAct(19U.S.C.§1677(7)(J))provides
            that—5
            
            (J)EFFECTOFPROFITABILITY.—TheCommissionmaynotdeterminethat
            thereisnomaterialinjuryorthreatofmaterialinjurytoanindustryinthe
            UnitedStatesmerelybecausethatindustryisprofitableorbecausethe
            performanceofthatindustryhasrecentlyimproved.
            

Organizationofreport
         PartIofthisreportpresentsinformationonthesubjectmerchandise,subsidyand
dumpingmargins,anddomesticlikeproduct.PartIIofthisreportpresentsinformationon
conditionsofcompetitionandotherrelevanteconomicfactors.PartIIIpresentsinformationon
theconditionoftheU.S.industry,includingdataoncapacity,production,shipments,
inventories,andemployment.PartsIVandVpresentthevolumeofsubjectimportsandpricing
ofdomesticandimportedproducts,respectively.PartVIpresentsinformationonthefinancial
experienceofU.S.producers.PartVIIpresentsthestatutoryrequirementsandinformation
obtainedforuseintheCommission’sconsiderationofthequestionofthreatofmaterialinjury
aswellasinformationregardingnonsubjectcountries.
                               


                                
     5
     AmendedbyPL114Ͳ27(assigned,June29,2015),TradePreferencesExtensionActof2015.

                                                   IͲ3
                                            Appx14795
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                                                    

Marketsummary
         Mattressesaregenerallyusedbypeopleforsleeping.TheleadingU.S.producersof
mattressesare***,whiletheleadingproducersofmattressesoutsidetheUnitedStatesinclude
***inCambodia,***inChina,***inIndonesia,***inMalaysia,***inSerbia,***inThailand,
***inTurkey,and***inVietnam.TheleadingU.S.importersofmattressesinclude***
(Cambodia);***(China);***(Indonesia);***(Malaysia);***(Serbia);***(Thailand);***
(Turkey);***(Vietnam);and***fromnonsubjectcountries(primarily***).U.S.purchasersof
mattressesaremostlyfirmsthatpurchasedomesticallyproducedmattressesandimported
mattressesandsellthemforretaileitherinbrickandmortarestablishmentsoroverthe
internet;leadingpurchasersinclude***.
         ApparentU.S.consumptionofmattressestotaledapproximately***mattresses($***)
in2019.Currently,atleast60firmsareknowntoproducemattressesintheUnitedStates.6U.S.
producers’U.S.shipmentsofmattressestotaled18.3millionmattresses($5.3billion)in2019
andaccountedfor***percentofapparentU.S.consumptionbyquantityand***percentby
value.U.S.importersU.S.shipmentsfromtheeightsubjectsourcescombinedtotaled8.0
millionmattresses($1.0billion)in2019andaccountedfor***percentofapparentU.S.
consumptionbyquantityand***percentbyvalue.U.S.importers’U.S.shipmentsfrom
nonsubjectsourcestotaled***mattresses($***)in2019andaccountedfor***percentof
apparentU.S.consumptionbyquantityand***percentbyvalue.
                               




                                
     6
    AsdiscussedinPartIII,theCommissionreceivedcompletedresponsestoitsU.S.producers’
questionnairefrom53firmsonatimelybasis,buttherewereseveralotherfirmsthatprovided
incompleteorlateresponsestotheCommission’sU.S.producers’questionnaire.

                                                   IͲ4
                                            Appx14796
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                                                     

Summarydataanddatasources
         AsummaryofdatacollectedintheseinvestigationsispresentedinappendixC,tableCͲ1
(totalU.S.market),andtableCͲ2(U.S.marketexcluding***).Exceptasnoted,U.S.industry
dataarebasedonquestionnaireresponsesof53firmsthataccountedformostU.S.production
ofmattressesduring2019.U.S.importsarebasedonquestionnaireresponsesof49firmsthat
accountedformostU.S.importsfromthesubjectcountries,accordingtodatasubmittedin
responsetotheCommissionquestionnairesandofficialimportstatistics.7

Previousandrelatedinvestigations
         Mattresseshavebeenthesubjectofonepriorantidumpingdutyinvestigationinthe
UnitedStates.ThatinvestigationresultedfromapetitionfiledbynineU.S.producersof
mattressesonSeptember18,2018,allegingthatanindustryintheUnitedStateswasmaterially
injuredandthreatenedwithmaterialinjurybyreasonofLTFVimportsofmattressesfrom
China.8OnOctober23,2019,CommercedeterminedthatimportsofmattressesfromChina
werebeingsoldatLTFV9andonDecember9,2019,theCommissiondeterminedthatthe
domesticindustrywasmateriallyinjuredbyreasonofLTFVimportsofmattressesfromChina.10
OnDecember16,2019,Commerceissueditsantidumpingdutyorderonimportsofmattresses



                                 
     7
     AsdiscussedinPartIV,questionnaireresponsesrepresentgreaterthan100percentofU.S.imports
fromCambodia,China,Indonesia,Serbia,Thailand,Vietnam,andnonsubjectsourcesin2019underHTS
statisticalreportingnumbers9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,
and9404.29.9087,whicharetheprimaryHTSstatisticalreportingnumbersforthesubjectmerchandise.
RespondingimportersmayhavereportedU.S.importsofmattressesenteredundersecondaryHTS
numbers.Questionnaireresponsesrepresent***percentfromMalaysiaand***percentfromTurkey
in2019underthe6primaryHTSstatisticalreportingnumbers.
    8
     TheninepetitionerswereCorsicanaMattressCompany,EliteComfortSolutions,FutureFoamInc.,
FXI,Inc.,Innocor,Inc.,KolcraftEnterprisesInc.,Leggett&Platt,Incorporated,SertaSimmonsBedding,
LLC,andTempurSealyInternational,Inc.MattressesfromChina,Inv.No.731ͲTAͲ1424(Final),USITC
Publication5000,December2019(“Chinafinalpublication”),p.IͲ1.Thescopeoftheinvestigationof
mattressesfromChinawasvirtuallyidenticaltothescopeoftheseinvestigations.Seeid.atpp.IͲ8Ͳ10.
Threeofthosepetitioningfirms(FutureFoamInc.,SertaSimmonsBedding,andTempurSealy
International,Inc.)arenotpartofthepetitioninggroupinthesecurrentinvestigations.
    9
     84FR56761,October23,2019.Commercealsodeterminedthatcriticalcircumstancesexistedwith
respecttoimportsofmattressesfromallnonͲindividuallyexaminedcompaniesthatreceivedaseparate
rateandtheChinaͲwideentity.
    10
      84FR67958,December12,2019.TheCommissionalsofoundthatimportssubjecttoCommerce's
affirmativecriticalcircumstancesdeterminationwerenotlikelytoundermineseriouslytheremedial
effectoftheantidumpingdutyorderonChina.

                                                    IͲ5
                                             Appx14797
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fromChinawiththefinalweightedͲaveragedumpingmarginsrangingfrom57.03to1,731.75
percent.11
          TheCommissionhasalsoconductedseveralantidumpingdutyinvestigationson
uncoveredinnerspringunits,aproductrelatedtomattresses.Commencedin2008,
antidumpinginvestigationsregardinguncoveredinnerspringunitsfromChina,SouthAfrica,and
Vietnamresultedinaffirmativedeterminationsandtheimpositionofantidumpingdutyorders
in2008(SouthAfricaandVietnam)and2009(China).12Theorderswerecontinuedin2014
followingfirstfiveͲyearreviews13andwerecontinuedagainin2019followingthesecondfiveͲ
yearreviews.14

NatureandextentofsubsidiesandsalesatLTFV
Subsidies
          OnMarch25,2021,CommercepublishedanoticeintheFederalRegisterofits
affirmativefinaldeterminationofcountervailablesubsidiesforproducersandexportersof
mattressesfromChina.15TableIͲ1presentsCommerce’sfindingsofsubsidizationofmattresses
inChina.

Table I-1
Mattresses: Commerce’s final subsidy determination with respect to imports from China
                                                                Final countervailable subsidy
                           Entity                                      margin (percent)
Kewei Furniture Co., Ltd.                                                                         97.78
Zinus Xiamen                                                                                      97.78
Ningbo Megafeat Bedding Co., Ltd./Megafeat Bedding Co., Ltd.                                      97.78
Healthcare Co., Ltd.                                                                              97.78

All others                                                                                        97.78
Source: 86 FR 15920, March 25, 2021.



                                
     11
     84FR68395,December16,2019.TheChinaͲwideentityratewas1,731.75percent,HealthcareCo.
Ltd.was57.03percent,ZinusInc.192.04percent,andremaining36individualentities162.76percent.
   12
     73FR75390,December11,2008;73FR75391,December11,2008;74FR7661,February19,
2009;UncoveredInnerspringUnitsfromSouthAfricaandVietnam,Inv.Nos.731ͲTAͲ1141Ͳ1142(Final),
USITCPublication4051,December2008;UncoveredInnerspringUnitsfromChina,Inv.Nos.731ͲTAͲ
1140(Final),USITCPublication4061,February2009.
   13
     79FR22624,April23,2014.
   14
     84FR55285,October16,2019.
   15
     86FR15920,March25,2021.

                                                  IͲ6
                                           Appx14798
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
          CommerceidentifiedthefollowinggovernmentprogramsinChinatobe
countervailable:16
          1. ExportLoansfromChineseStateͲOwnedBanks
          2. ExportSeller’sCredit
          3. ExportBuyer’sCredit
          4. IncomeTaxReductionforHighorNewTechnologyEnterprises
          5. IncomeTaxDeductionsforResearchandDevelopmentExpensesUnderthe
              EnterpriseIncomeTaxLaw
          6. IncomeTaxDeductions/CreditsforPurchaseofSpecialEquipment
          7. TaxIncentivesforBusinessesintheGuangdongProvinceSpecialEconomicZone
          8. VATRebatesonDomesticallyProducedEquipment
          9. ForeignTradeFundDevelopmentGrants
          10.GrantsforEnergyConservationandEmissionReduction
          11.SMETechnologyInnovationFund
          12.GovernmentProvisionofLandͲUseRightsinSpecialEconomicZonesforLessThan
              AdequateRemuneration(“LTAR”)
          13.GovernmentProvisionofElectricityinGuangdongProvinceforLTAR


SalesatLTFV
          OnMarch25,2021,CommercepublishednoticeintheFederalRegisterofitsaffirmative
finaldeterminationsofsalesatLTFVwithrespecttoimportsofmattressesfromCambodia,
Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnam.17TablesIͲ2throughIͲ8present
Commerce’sdumpingmarginswithrespecttoimportsofmattressesfromCambodia,
Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnam.



                                  
     16
      DecisionMemorandumforthePreliminaryDeterminationintheCountervailingDutyInvestigation
ofMattressesfromthePeople’sRepublicofChina,August28,2020,pp.17Ͳ23.Commercemadeno
changestothesubsidyprogramsandratesfoundinitspreliminarydetermination.Itdrewadverse
inferencesandreliedsolelyonfactsavailableinitsfinaldeterminationbecauseneithertheGovernment
ofChina,noranyoftheselectedmandatoryrespondents,participatedintheinvestigation.86FR15910,
March25,2021.
    17
      86FR15889(Vietnam),15892(Serbia),15894(Cambodia),15899(Indonesia),15901(Malaysia),
15917(Turkey),15920(China),15928(Thailand),March25,2021.Initsfinaldeterminationswith
respecttoCambodia,Serbia,andTurkey,Commercealsofoundthatcriticalcircumstancesdonotexist
withrespecttoimportsofmattressesfromCambodia,Serbia,andTurkey.

                                                   IͲ7
                                            Appx14799
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                                                    

Table I-2
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Cambodia
                    Exporter/producer                        Final dumping margin (percent)
Best Mattresses International Co., Ltd./Rose Lion Furniture
International                                                                         45.34

All others                                                                            45.34
Source: 86 FR 15894, March 25, 2021.


Table I-3
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Indonesia
                    Exporter/producer                        Final dumping margin (percent)
PT Zinus Global Indonesia                                                               2.22

All others                                                                              2.22
Source: 86 FR 15899, March 25, 2021.


Table I-4
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Malaysia
                    Exporter/producer                        Final dumping margin (percent)
Delandis Furniture (M) Sdn Bhd                                                        42.92
Far East Foam Industries Sdn Bhd                                                      42.92
Vision Foam Ind. Sdn Bhd                                                              42.92

All others                                                                            42.92
Source: 86 FR 15901, March 25, 2021.


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                                                   IͲ8
                                            Appx14800
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                                                  

Table I-5
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Serbia
                    Exporter/producer                        Final dumping margin (percent)
Healthcare Europe DOO Ruma                                                           112.11

All others                                                                           112.11
Source: 86 FR 15892, March 25, 2021.


Table I-6
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Thailand
                    Exporter/producer                        Final dumping margin (percent)
Nisco (Thailand) Co., Ltd.                                                           763.28
Saffron Living Co., Ltd.                                                              37.48

All others                                                                            37.48
Source: 86 FR 15928, March 25, 2021.


Table I-7
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Turkey
                    Exporter/producer                        Final dumping margin (percent)
BRN Yatak Baza Ev Tekstili Insaat Sanayi Ticaret A.S.                                 20.03

All others                                                                            20.03
Source: 86 FR 15917, March 25, 2021.

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                                                 IͲ9
                                          Appx14801
    Case 1:21-cv-00288-SAV
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                                                   

Table I-8
Mattresses: Commerce’s final weighted-average LTFV margins with respect to imports from
Vietnam
                                                                                       Final dumping
                                                                                           margin
                  Producer                                    Exporter                    (percent)
Cong Ty Tnhm Nem Thien Kim (a.k.a. Better
Z’s, Ltd.)                                   Dockter China Ltd.                                 144.92
Hava’s Co., Ltd.                             Hava’s Co., Ltd.                                   144.92
Cong Ty Tnhn Nem Thien Kim (a.k.a. Better                                                       144.92
Z’s, Ltd.)                                   Healthcare Sleep Products Ltd.
Gesin Vietnam Co., Ltd.                      Hong Kong Gesin Technology Ltd.                    144.92
Sinomax (Vietnam) Household Products Ltd. Sinomax International Trading Ltd.                    144.92
                                             Sinomax Macao Commercial Offshore                  144.92
Sinomax (Vietnam) Household Products Ltd. Ltd.
Super Foam Vietnam Ltd.                      Super Foam Vietnam Ltd.                            144.92
Taimei Co. Ltd. (a.k.a. Taimei Co, Ltd.)     Taimei Co. Ltd. (a.k.a. Taimei Co., Ltd.)          144.92
Tong Li Vietnam Industrial Co., Ltd.         Tong Li Vietnam Industrial Co., Ltd.               144.92
                                             Vietnam Glory Home Furnishings Co.,
Vietnam Glory Home Furnishings Co.,          Ltd./Glory (Viet Nam)
Ltd./Glory (Viet Nam) Industry Co., Ltd.     Industry Co., Ltd.                                 668.38
                                             Wanek Furniture Co., Ltd./Millennium
Wanek Furniture Co., Ltd./Millennium         Furniture Co., Ltd./Comfort Bedding Co.
Furniture Co., Ltd./Comfort Bedding Co. Ltd. Ltd.                                               144.92
Vietnam-wide entity                          Vietnam-wide entity                                668.38
Source: 86 FR 15889, March 25, 2021.



Thesubjectmerchandise
Commerce’sscope
          Initsfinaldeterminations,Commercehasdefinedthescopeasfollows:18

             Theproductscoveredbythisinvestigationarealltypesofyouthandadult
             mattresses.Theterm“mattress”denotesanassemblyofmaterialsthatat
             aminimumincludesa“core,”whichprovidesthemainsupportsystemof
             themattress,andmayconsistofinnersprings,foam,otherresilientfilling,
             oracombinationofthesematerials.Mattressesmayalsocontain:(1)
             “upholstery,”thematerialbetweenthecoreandthetoppanelofthe
             tickingonasingleͲsidedmattress;orbetweenthecoreandthetopand
             bottompanelofthetickingonadoubleͲsidedmattress;and/or(2)
             “ticking,”theoutermostlayeroffabricorothermaterial(e.g.,vinyl)that
             enclosesthecoreandanyupholstery,alsoknownasacover.
                                
     18
    86FR15889(Vietnam),15892(Serbia),15894(Cambodia),15899(Indonesia),15901(Malaysia),
15910(China),15917(Turkey),and15928(Thailand),March25,2021.

                                                 IͲ10
                                           Appx14802
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                                                 
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           
           Thescopeofthisinvestigationisrestrictedtoonly“adultmattresses”and
           “youthmattresses.”“Adultmattresses”arefrequentlydescribedas
           “twin,”“extraͲlongtwin,”“full,”“queen,”“king,”or“Californiaking”
           mattresses.“Youthmattresses”aretypicallydescribedas“crib,”
           “toddler,”or“youth”mattresses.Alladultandyouthmattressesare
           includedregardlessofsizeandsizedescription.
           
           Thescopeencompassesalltypesof“innerspringmattresses,”“nonͲ
           innerspringmattresses,”and“hybridmattresses.”“Innerspring
           mattresses”containinnersprings,aseriesofmetalspringsjoined
           togetherinsizesthatcorrespondtothedimensionsofmattresses.
           Mattressesthatcontaininnerspringsarereferredtoas“innerspring
           mattresses”or“hybridmattresses.”“Hybridmattresses”containtwoor
           moresupportsystemsasthecore,suchaslayersofbothmemoryfoam
           andinnerspringunits.
           
           “NonͲinnerspringmattresses”arethosethatdonotcontainany
           innerspringunits.Theyaregenerallyproducedfromfoams(e.g.,
           polyurethane,memory(viscoelastic),latexfoam,gelͲinfusedviscoelastic
           (gelfoam),thermobondedpolyester,polyethylene)orotherresilient
           filling.
           
           Mattressescoveredbythescopeofthisinvestigationmaybeimported
           independently,aspartoffurnitureorfurnituremechanisms(e.g.,
           convertiblesofabedmattresses,sofabedmattressesimportedwithsofa
           bedmechanisms,cornergroupmattresses,dayͲbedmattresses,rollͲaway
           bedmattresses,highrisers,trundlebedmattresses,cribmattresses),or
           aspartofasetincombinationwitha“mattressfoundation.”“Mattress
           foundations”areanybaseorsupportforamattress.Mattress
           foundationsarecommonlyreferredtoas“foundations,”“boxsprings,”
           “platforms,”and/or“bases.”Basescanbestatic,foldable,oradjustable.
           Onlythemattressiscoveredbythescopeifimportedaspartoffurniture,
           withfurnituremechanisms,oraspartofasetincombinationwitha
           mattressfoundation.
           
           Excludedfromthescopeofthisinvestigationare“futon”mattresses.A
           “futon”isabiͲfoldframemadeofwood,metal,orplasticmaterial,orany
           combinationthereof,thatfunctionsasbothseatingfurniture(suchasa
           couch,loveseat,orsofa)andabed.A“futonmattress”isatufted
           mattress,wherethetopcoveringissecuredtothebottomwiththread
           thatgoescompletelythroughthemattressfromthetopthroughtothe
           bottom,anditdoesnotcontaininnerspringsorfoam.Afutonmattressis
           boththebedandseatingsurfaceforthefuton.

                                               IͲ11
                                         Appx14803
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                                                 

           
           Alsoexcludedfromthescopeareairbeds(includinginflatablemattresses)
           andwaterbeds,whichconsistofairͲorliquidͲfilledbladdersasthecoreor
           mainsupportsystemofthemattress.
           
           Alsoexcludediscertainmultifunctionalfurniturethatisconvertiblefrom
           seatingtosleeping,regardlessoffillermaterialorcomponents,where
           thatfillermaterialorcomponentsareupholstered,integratedintothe
           designandconstructionof,andinseparablefrom,thefurnitureframing,
           andtheoutermostlayerofthemultifunctionalfurnitureconvertsintothe
           sleepingsurface.Suchfurnituremay,andwithoutlimitation,be
           commonlyreferredtoas“convertiblesofas,”“sofabeds,”“sofachaise
           sleepers,”“futons,”“ottomansleepers”oralikedescription.
           
           Alsoexcludedfromthescopeofthisinvestigationareanyproducts
           coveredbytheexistingantidumpingdutyordersonuncovered
           innerspringunitsfromChinaorVietnam.SeeUncoveredInnerspringUnits
           fromthePeople’sRepublicofChina:NoticeofAntidumpingDutyOrder,
           74FR7661(February19,2009);AntidumpingDutyOrder:Uncovered
           InnerspringUnitsfromtheSocialistRepublicofVietnam,73FR75391
           (December11,2008).
           
           Alsoexcludedfromthescopeofthisinvestigationarebassinetpadswith
           anominallengthoflessthan39inches,anominalwidthlessthan25
           inches,andanominaldepthoflessthan2inches.
           
           Additionally,alsoexcludedfromthescopeofthisinvestigationare
           “mattresstoppers.”A“mattresstopper”isaremovablebedding
           accessorythatsupplementsamattressbyprovidinganadditionallayer
           thatisplacedontopofamattress.Excludedmattresstoppershavea
           heightoffourinchesorless.
                             




                                               IͲ12
                                         Appx14804
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                                                    

Tarifftreatment
          BaseduponthescopesetforthbyCommerce,informationavailabletotheCommission
indicatesthatthemerchandisesubjecttotheseinvestigationsisimportedunderstatistical
reportingnumbers9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,
and9404.29.9087oftheHarmonizedTariffScheduleoftheUnitedStates(“HTS”).19The2021
generalrateofdutyis3percentadvaloremforHTSsubheadings9404.21.00and9404.29.10
and6percentadvaloremforHTSsubheading9404.29.90.Subheadings9404.21.00and
9404.29.90aredesignatedascoveringarticleseligiblefordutyͲfreeentryunderthe
GeneralizedSystemofPreferences(GSP)producedinCambodia,Indonesia,andSerbia,but                 
thoseproducedinThailand,Malaysia,Turkey,andVietnamarenotdesignatedforGSPbenefits.
Subheading9404.29.10(mattressesofcotton)isdesignatedascoveringonlyeligiblegoods
fromleastͲdevelopedGSPbeneficiaries,andonlyCambodiaissuchabeneficiary,amongthe
respondentcountries.Decisionsonthetariffclassificationandtreatmentofimportedgoodsare
withintheauthorityofU.S.CustomsandBorderProtection.

Section301tarifftreatment
          Merchandiseclassifiableundersubheadings9404.21.00,9404.29.10,and9404.29.90
wereincludedamongtheproductsofChinathataresubjecttoanadditionaldutyof10percent
advaloremeffectiveSeptember24,2018andincreasedto25percentadvaloremeffectiveMay
10,2019,20underHTSsubheading9903.88.03.21

Theproduct
Descriptionandapplications
          Intheindustry,theterm“mattress”generallymeansaresilientmaterialorcombination
ofmaterialsgenerallyenclosedbytickingthatisintendedorpromotedforsleepinguponby
people.Mattressesgenerallyconsistof(1)acore,(2)upholsterymaterial,and(3)ticking.The
coreprovidesthemainsupportsystemofthemattress.Thecoremayconsistofinnersprings,
nonͲinnerspringmaterials(e.g.,foam),anairorwaterbladder,22otherresilientfilling,ora

                                
     19
      Secondarystatisticalreportingnumbersunderwhichsubjectmerchandisemaybeimported
include9404.21.0095,9404.29.1095,9404.29.9095,9401.40.0000,and9401.90.5081.
    20
      UnitedStateTradeRepresentative,“StatementByU.S.TradeRepresentativeRobertLighthizeron
Section301Action,”UnitedStateTradeRepresentative.
    21
      HTSUS(2020)Revision9,USITCPublicationNo.5051,April2020,p.94Ͳ12.
    22
      Airbedsandwaterbedsareexcludedfromthescopeoftheinvestigations.

                                                 IͲ13
                                           Appx14805
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combinationofthesematerials.“Upholstery”referstothematerialbetweenthecoreandthe
ticking.23“Ticking”referstothecoverortheoutermostlayeroffabricorothermaterialthat
enclosesthecoreandanyupholsterymaterial.
          Amattressmaybeusedaloneorincombinationwithotherproducts,suchas
foundationscommonlyreferredtoasboxsprings,platforms,bases,and/orcribs.Mattresses
maybesoldindependently,aspartoffurniture(examplesareconvertiblesofabedmattresses,
cornergroupmattresses,dayͲbedmattresses,rollͲawaybedmattresses,highrisers,and
trundlebedmattresses),oraspartofasetincombinationwithamattressfoundation.
          “Adultmattresses”and“youthmattresses”arecoveredbythescopeofthispetition.
Youthmattressesaregenerallygroupedtogetherinsizedescriptionsthatinclude“crib,”
“toddler,”or“youth.”
          Mattressesarecoveredbythescopeofthispetitionevenifimportedwithoutticking,
suchasanyfoammattressesthatareimportedwithoutticking(i.e.,theoutermostcover).
Productscoveredbythispetitionincludemattressespackedandsoldtoendusersinboxes,
suchasthosemarketedas“bed(s)ͲinͲaͲbox,”“mattress(es)ͲinͲaͲbox,”and/or“compressed
mattress(es).”

Manufacturingprocesses
          Themanufacturingprocessforalltypesofmattressesissimilarinthatitconsistsofthe
assemblyofcomponentsintofinishedmattressesthatarereadyforusebytheultimate
purchaser.
          Innerspring,nonͲinnerspring,andhybridmattressesareassembledfromvarious
componentsthatdifferbasedontheparticularmattressdesign.Componentsofmattresses
generallyconsistofthecore(innerspringunits,foam(e.g.,polyurethane,memory(viscoelastic),
latex,orgel),orotherresilientfillingsoracombinationofthesame24)andtheupholstery
materials.
          Forbothinnerspringandhybridmattresses,theinnerspringunitmaybeproduced
internallyorpurchasedfromasupplier.25Dependingontheparticulardesign,layersoffabric,
                                  
     23
     Materialsusedinupholsteryincludecotton,wool,leather,linen,silk,polyester,olefinfiber,velvet,
chenillefabric,andrayon.
   24
     Thisreportwillrefertothesetypesofmattressesas“innerspring,”“hybrid,”and“foam,”or“nonͲ
innerspring.”
   25
     Therearetwomainvarietiesofmattressinnerspringunits:nonͲpocketed(e.g.,Bonnellsprings)
andpocketed.Bonnellsprings,whicharethemostcommonlyusedtypeofnonͲpocketedinnerspring
unit,haveanhourͲglassshapeandareassembledtothesizeoftheinnerspringunitandinterconnected
(continued...)

                                                     IͲ14
                                               Appx14806
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upholstery,and/orfoamareassembledaroundthecoreunitasoperators“buildͲup”the
mattressonanassemblytableorproductionline.Separately,sewersrunquiltingmachinesthat
producetheticking(alsoknownasa“cover”),whichmayincludeabackingmaterial.26Insome
instances,thecoveriscutintopanelsforthetop,bottom,andsides(alsoreferredtoas
“borders”)onapanelcuttingmachine.Aflangeissewntotheedgeofthecoverpiece(s)and
canbeattachedusinga“hogring”totheinnerspringunittopreventthecoverandfilling
materialfromshiftingoncetheborderisattachedandthemattressissewnshut.A“tape,”
whichisafabricthatcoverstheedgewherethetopandbottompanelsarejoinedtotheborder
panel,isthensewnaroundthetopandbottomedgesofthemattress.Inotherinstances,a
simple“zippered”coverisused,whichdoesnotrequireaflange,hogring,ortape.Both
innerspringandhybridmattressesmaybeshippedcompressedoruncompressed(figureIͲ1).
Manufacturerscanpackagemattressesflatcompressed,orpackagethemattressusinga
machinethatcompresses,thenrollsthemattress.Mattressesthatarecompressedandrolled
areshippedasmattressesͲinͲaͲbox(“MIB”)totheendconsumer,butflatcompressed
mattressesarenotalwaysshippedtotheendconsumerintheflatcompressedstate.Flat
compressedmattressestypicallyuseajustͲinͲtimemanufacturingprocess.MIBsrequire
investmentinwarehousesandinventorytostoremattresses.27
        




                                
withameshofmetal.Pocketedinnerspringunitsmanufacturedfrompocketedcoils(a.k.a.,Marshall
coils,wrappedcoils,orencasedcoils)generallyincludecylindricallyshapedsteelwirecoilsthatare
individuallycoveredbynonͲwovensyntheticmaterialandthenassembledtothesizeoftheinnerspring
unitandheldtogetherbyglue.UncoveredInnerspringUnitsfromChina,SouthAfrica,andVietnam,Inv.
Nos.731ͲTAͲ1140Ͳ1142(SecondReview),USITCPublication4974,September2019,pp.IͲ9–IͲ11.
    26
      Theborders,orverticalsidesofthemattress,maybeconstructedonseparatebordermachines
thatcombineticking,abackingmaterial,foamand/orotherupholstery.
    27
      Hearingtranscript,pp.61Ͳ62(Baisburd);Petitioners’posthearingbrief,exh.1,p.9.

                                                  IͲ15
                                            Appx14807
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Figure I-1
Mattresses: Innerspring mattress construction




Source: Mattress Buying Guide: How to Choose the Right Mattress, Consumer Reports (March 2018),
https://www.consumerreports.org/cro/mattresses/buying-guide/index.htm, retrieved February 24, 2021.

        FornonͲinnerspringfoammattresses,themanufacturingprocessbeginswith
productionofthefoam.Foammattressmanufacturersmaybeverticallyintegrated(producing
boththefoamandfoammattressthemselves)ortheymaypurchasefoamfromunaffiliated
foamsuppliers.Duringfoamproduction,precursorchemicalsarecombinedbasedonthe
specificformulationforthetypeoffoam.Forexample,polyurethanefoamisgenerally
comprisedofapolyol(complexalcohol)andisocyanatethatarekeptinseparatestoragetanks.
Thesematerialsaremixedwithcatalystsandasurfactantandheated,whichbeginsareaction
toformapolyurethanepolymerthatiscombinedwithcarbondioxideandsprayedor“poured”
ontoaplasticcoveredconveyorbelt.Thereactiongeneratescarbondioxidegaswhichcauses
thematerialtoexpandasitmovesdowntheconveyorbelt.Oncethefoamhasfullyexpanded
andpartiallycured,itiscutintolargeblockswhichareallowedtofullycureforupto72hours.
Afterproductpropertiesaretestedandconfirmedtomeetspecifications,thecuredblocksare
thencutintotrimmedrectangularsheets(orplates)ofvariousthicknessesthatcorrespondto
finishedmattresssizes.Thefoammattressmayconsistofasingleslaboffoam,buttypically
consistofmultiplelayers(plates)thathavebeenboundtogether.Thefoammattressmaythen
beencasedinafabric“sock”andinsertedintothecover(i.e.,theticking).Thefinalstepis
packaging.Aswithinnerspringandhybridmattresses,foammattressesmaybeshipped
compressedoruncompressed(figureIͲ2).Forcompressedmattresses,U.S.producersuse
capitalintensivemachinesthatenclosethefoammattressinplastic,compressthemattress,
thenrollthemattresstobeputintoabox.Respondentsintheirpostconferencebriefsstated
that***
                              

                                                 IͲ16
                                           Appx14808
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***.28
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Figure I-2
Mattresses: Foam mattress construction




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Source: Mattress Buying Guide: How to Choose the Right Mattress, Consumer Reports (March 2018),
https://www.consumerreports.org/cro/mattresses/buying-guide/index.htm, retrieved February 24, 2021.

          Themanufacturingprocessforyouthmattressesissimilartothatforadultmattresses
butcandifferslightlybynotusingflangematerialtoattachthepanelstotheinnerspring.The
coverscanbepresewnwithonlyoneopenend,andthecoreandupholsterymaterialsinserted
intothecoverwiththeaidofastuffingmachine.Thecoveropeningisthensewnshut(instead
ofstitchingaroundtheentireperimeterofthemattress).Youthmattressescanusevinyl
materialinadditiontoclothmaterialsasthetickingasabarriertowetness.
          ThemanufacturingprocessforoutͲofͲscopeairͲadjustablefoammattressesis
distinguishedbytheinclusionofalayerwithanairsupportsystem.Thetoplayercanconsistof
cottonorwool.Thesecondlayervariesindensityandismadeofeithermemoryfoam,latex,or
polyurethanefoamandcancomewithmultiplefoamlayers.Thethirdlayerhastheairsupport
system.MostairͲadjustablefoammattresseshaveseparateairsupportsystemsforeachsideof
thebedthatcanbemanuallyorelectronicallyadjustedtoincreaseordecreasetheamountof
airinthesystem.Theairsupportsystemisusedtoadjustthefirmnessofthemattressbasedon
                                 




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     28
      Jointrespondents’postconferencebrief,exh.3,pp.1Ͳ2.

                                                     IͲ17
                                              Appx14809
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thesupportneedsoftheuser.Thethreelayersarehousedinanenclosuremadeofdifferent
materialdependingonthemanufacturerandsitsonafoundation(figureIͲ3).
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Figure I-3
Mattresses: Air adjustable foam mattress construction




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Source: Adjustable Firmness Mattress Tips Before Buying, Natural Form,
https://naturalform.com/adjustable-firmness-mattress/, retrieved February 24, 2021.




                                                  IͲ18
                                            Appx14810
    Case 1:21-cv-00288-SAV
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Domesticlikeproductissues
          Thepetitionersargueintheseinvestigationsthatthedomesticlikeproductshouldbe
definedasallmattresses,coͲextensivewiththescopeoftheinvestigations,consistentwiththe
Commission’sdeterminationinthepriormattressinvestigation.29Inthepreliminaryphaseof
theseinvestigations,jointrespondentsClassicBrands,LLC,CVB,Inc.,SinomaxUSA,Inc.,
HealthcareEuropeDOORuma,SaffronLiving,Ltd.,DiglantMalaysiaSdnBhd,andAshley
FurnitureIndustriesnotedthattheyacceptedthedefinitionofthedomesticlikeproductas
containedinthepetitions30andrespondentsHMattressandStorkCraftindicatedthatthey
tooknopositiononthedefinitionofthedomesticlikeproductproposedinthepetitions.31In
thefinalphaseoftheseinvestigations,jointrespondentsClassicBrands,LLC,CVB,Inc.,and
AshleyFurnitureIndustries,LLCnotethattheyacceptthedefinitionofthedomesticlike
productascoͲextensivewithCommerce’sscope.32
          Nopartyrequesteddataorotherinformationnecessaryforarguingforadifferent
definitionofthedomesticlikeproductinthesefinalphaseinvestigations.33
          
                                

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     29
      Petitions,pp.13Ͳ14;petitioners’postconferencebrief,pp.4Ͳ7;andpetitioners’prehearingbrief,
pp.2Ͳ5.InthepreliminaryphaseofthepreviousinvestigationofmattressesfromChina,theCommission
concludedthatallmattressesaregenerallysimilarintermsoftheirphysicalcharacteristicsanduses;
channelsofdistribution;manufacturingfacilities,productionemployees,and,tosomeextent,
productionprocessesandproducerandcustomerperceptions.TheCommissionfurtherobservedthat
inͲscopemattressesgenerallydifferfromoutͲofͲscopefutons,airmattresses,andwaterbedsintermsof
physicalcharacteristics;manufacturingfacilities,productionprocesses,andemployees;channelsof
distribution;producerandcustomerperceptions;andprice,despitesomeoverlapwithrespecttouses
andinterchangeability.Consequently,theCommissiondefinedthedomesticlikeproductasall
mattressescoextensivewiththescopeoftheinvestigation.MattressesfromChina,Inv.No.731ͲTAͲ
1424(Preliminary),USITCPublication4842,November2018(“Chinapreliminarypublication”),p.11.In
thefinalphaseofthepreviousChinainvestigation,theCommissionfoundnonewinformationonthe
recordtoindicatethatitshouldrevisitthedomesticlikeproductdefinition.TheCommissiontherefore
definedasingledomesticlikeproductconsistingofallmattressescoextensivewiththescopeofthe
investigation.Chinafinalpublication,p.9.
    30
      Jointrespondents’postconferencebrief,p.5.
    31
      HMattressandStorkCraftpostconferencebrief,p.6.
    32
      Jointrespondents’prehearingbrief,p.1.
    33
      Commentsondraftquestionnairesonbehalfofpetitioners,July21,2020;Commentsondraft
questionnairesonbehalfofHMattressInc.andStorkCraftManufacturing(USA)Inc.,July21,2020;
CommentsondraftquestionnairesonbehalfofClassicBrands,LLC,CVB,Inc.,SinomaxUSA,Inc.,
HealthcareEuropeDOORuma,SaffronLiving,Ltd.andDiglantMalaysiaSdnBhd,July21,2020;and
CommentsondraftquestionnairesonbehalfofPTZinusGlobalIndonesia,July21,2020.

                                                   IͲ19
                                             Appx14811
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          ImporterCozyComfortLLC(“CozyComfort”)arguedinthepreliminaryphaseofthese
investigationsthattheproductthatitimports,knownasa“SeatͲtoͲSleep”furniturecomponent
(“STSfurniturecomponent”),34shouldbefoundtobeaseparatedomesticlikeproduct.35
Rejectingthisargument,andconsistentwithitsdeterminationinthepriorantidumpingduty
investigationconcerningMattressesfromChina,theCommissioninitspreliminary
determinationsfortheseinvestigationsdefinedasingledomesticlikeproductconsistingof
mattresses,coextensivewiththescopeoftheinvestigations.36Inthesefinalphase
investigations,CozyComfortdidnotprovidecommentsonthedraftquestionnairesrequesting
dataorotherinformationnecessaryforarguingforadifferentdefinitionofthedomesticlike
                               
                                
     34
      ThemattresssubͲcomponentofCozyComfort’sSTSfurniturecomponentisan8.5Ͳinchpillowtop
mattressandisdescribedbythecompanyonitswebsiteas“TheMostComfortableandDurableSofa
BedSystemintheWorld.”Itis“arealbedsystemengineeredforeverydayuse...Webasicallyhave
engineeredthesamebedthatyousleeponeverynighttofitwithinthecavityofasofa.”ThequeenͲ
sizedmattressincludesatotalof131springsͲͲtheBonnellinnerspringsystemisutilizedinmostofthe
mattressarea(fromtheheadtokneearea)andthetelescopicCozypatentedZspringsystemisused
fromthekneetofootareaofthemattress.TheCozymattressisattachedtothesofabedmechanismvia
twometalmattressmountingtubesthataresecuredwithboltstotheundersideofthemattress.If
needed,replacementmattressescanbeshippedtocustomersseparatelyfromtheSTSfurniture
component.“CozyMattressforHotels”and“ReplacingYourMattress,”CozyComfortcompanywebsite,
http://cozymattress.com/homeͲ5/,March24,2021.
    35
      CozyComfortexplainedthatitimportsthesubͲcomponent“seatingdeckandarticulation
mechanism”thatformsanSTSfurniturecomponent,whichisthenincorporatedintosofas,chaises,and
chairsaspartoftheseatingsurfaceandcanbeconvertedintoasleepingplatform.Concerningthesix
likeproductfactors,CozyComfortarguedthatitsSTSfurniturecomponent(1)isusedexclusivelyin
sofas,chaises,andchairs,andis“notindividuallyusable,marketable,orofferedforsale;”(2)isnot
availablefromanyothersupplier,andthe“seatingdecksubcomponent”cannotbeusedinanyother
typeoffurniturecomponentorasamattresswhenplacedonanyflatsurfaceotherthaninconjunction
withtheSTSfurniturecomponent;(3)issoldonlytofurnituremanufacturerstobeinstalledinto
furniturespecificallydesignedtoacceptthecomponentandisnotsolddirectlytoindividualconsumers;
(4)providesconsumerswith“asignificantqualityupgrade”over“{m}ostsleepersofasfittedwitha
mattress...withheavy,robustandplushsubͲcomponents;”(5)is***usingpatentedtechnology;and
(6)***resultingin***comparedtoallotherinͲscopemattresses.CozyComfort’spostconferencebrief,
pp.1Ͳ4.
    36
      AccordingtoCozyComfort,thereisnodomesticproductionofSTSfurniturecomponents.Asthe
Commissionexplainedinitspreliminarydeterminations,intheabsenceofdomesticproductionofSTS
furniturecomponents(andthusadomesticindustry),suchcomponentsarenotcapableofexamination
undertheCommission’straditionaldomesticlikeproductanalysis.Instead,theCommissiondefineda
singledomesticlikeproductthatincludedthedomesticallyproducedarticle“mostsimilar”tothe
importedSTSfurniturecomponentswithinthescopeoftheinvestigations,whichwasdomestically
producedsleepsofamattresses.MattressesfromCambodia,China,Indonesia,Malaysia,Serbia,
Thailand,Turkey,andVietnam,Inv.Nos.701ͲTAͲ645and731ͲTAͲ1495Ͳ1501(Preliminary),Publication
5059,May2020(“Preliminarypublication”),pp.11Ͳ12.

                                                  IͲ20
                                            Appx14812
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productthanfoundbytheCommissioninitspreliminarydeterminations,butcontinuedto
arguethattheCommissionshoulddefineSTSfurniturecomponentsasaseparatedomesticlike
productinitsprehearingandposthearingbriefs.37
          ImporterNight&DayFurnitureLLC(“Night&Day”)alsodidnotprovidecommentson
thedraftquestionnairesrequestingdataorotherinformationnecessaryforarguingfora
differentdefinitionofthedomesticlikeproduct,butprovidedseparatedomesticlikeproduct
argumentsinitsprehearingandposthearingbriefsinthefinalphaseoftheseinvestigations.
Night&Dayarguesthattheproductthatitimports,trifoldmemoryfoammattresses,shouldbe
foundtobeaseparatedomesticlikeproduct.38




                                 
     37
      CozyComfortbeganimportingtheSTSfurniturecomponentin***andenteredanappearancein
theseinvestigationonJanuary15,2021.CozyComfort’sprehearingbrief,p.10;CozyComfortentryof
appearance,January15,2021.Inthefinalphaseoftheseinvestigations,CozyComfortarguesthatthe
domesticallyproducedarticles“mostsimilar”toitsimportedSTSfurniturecomponentsarenotinͲscope
sleepsofamattresses,butoutͲofͲscopefutons.Concerningthesixlikeproductfactors,CozyComfort
arguesthatitsSTSfurniturecomponent(1)ismostsimilartoafutoninitscharacteristicsandusesin
thatitisfoldable,adjustable,pliable,andcanbeusedforsittingandthatinͲscopemattressesdonot
possessthesesimilarkeyphysicalattributes;(2)maybeusedinterchangeablywithafutoninthatitmay
beusedforsleepingandsitting;(3)issolddirectlytoindividualconsumers,likeafuton,whichissold
onlyto“specializedretailersthatdonotpurchaseorofferinͲscopemattresses;”(4)isviewedby
consumersasadistinctproductcategorythatisseparatefrommattresses,likeafuton;(5)isproduced
indifferentmanufacturingfacilitieswithdifferentemployeesusingdifferentproductionprocesses,likea
futonbutunlikeinͲscopesleepersofamattresses;and(6)***betweenCozyComfort’sSTScomponent
andalltheothermattresses(outͲofͲscopefutons,despitesomeoverlap,differfrominͲscopemattresses
inprice).CozyComfort’sprehearingbrief,pp.7Ͳ9;CozyComfort’sposthearingbrief,p.1.
    38
      Concerningthesixlikeproductfactors,Night&Dayarguesthattrifoldmemoryfoammattresses
(1)arethreeequallysizedrectangularfoamcomponents,eachencasedinaseparatepocketofathreeͲ
pocketcover,andaredistinguishablephysicallyfrominͲscopemattressesbasedontheassembly
methodthatallowsforfoldingandunfolding;(2)havedifferentendusesthaninͲscopemattressesin
thatthetrifoldmattressesforMurphyCabinetBedsarelessdurable,lightͲduty“guest”mattressesthat
arenotintendedforandarenotsuitableforeverydayuse;(3)arenotinterchangeablewithinͲscope
mattressesduetothedifferencesinfoldability,thesewnͲtogethersmallerpieces,andendͲuseperiodic
applications;(4)arenotsoldindividuallybutareincorporatedintoacabinetspecificallydesignedto
acceptthetrifoldmattressand,thus,“arenotusable,marketable,orofferedforsaleindividuallyeither
throughwholesalersorretailers;”(5)areperceivedbycustomersas“uncomfortable”andare“lower
qualitythaninͲscopemattresses;”and(6)arenotsoldseparatelyforuseotherthanintheMurphy
Cabinet,andthereisnoindividualpriceforjustatrifoldmemoryfoammattress.Night&Day’s
prehearingbrief,pp.3Ͳ5;Night&Day’sposthearingbrief,pp.4Ͳ5and8.Trifoldmemoryfoam
mattressesarenotproduceddomestically.Hearingtranscript,pp.179Ͳ180(Gallawa).

                                                   IͲ21
                                             Appx14813
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PartII: ConditionsofcompetitionintheU.S.market
U.S.marketcharacteristics
       MattressesaretypicallysoldintheUnitedStatesinstandardsizes,suchasking,queen,
twin,double,full,oryouth(crib),andcomeinavarietyofthicknesses.Theycanbeofthe
innerspringvariety,foamonly(i.e.,nonͲinnerspring,includingstandardpolyurethane,
viscoelastic(“memoryfoam”),orlatex),orahybridconsistingofinnerspringsandfoam.
Innerspringmattressesalsotypicallycontainsomefoam.MostmattressesintheUnitedStates
aresoldindividuallyoraspartofasetincludingamattressfoundation/boxspring,butcanalso
besoldaspartofasofasleeper/sofabed,rollͲawaybed,orforspecialtymarketssuchas
recreationalvehiclesortrucks.
       Inrecentyears,includingsince2017,themattressmarkethasseenanincreaseinthe
popularityofmattressessoldviaeͲcommerce,particularlymattressesͲinͲaͲbox(“MiBs”).MiBͲ
stylemattressesaretypicallycompressedandrolledforeaseofshipment.1
       RespondentsarguedthatthereismarketsegmentationbetweenMiBsandflatͲpack
mattresses(FPMs),andthatthetwotypesofmattressesdonotcompeteina“meaningful”
way,allegedlyduetosomeretailerpurchaserspreferringtopurchaseMiBs.2Accordingto
them,somelargepurchasers,likeAmazon,wanttopurchaseonlyMiBstoreduce
transportationandstoragecostsanddeliverytime.3Respondentsalsoallegedthatsome
consumersmayhaveapreferenceforMiBsorFPMs,4andthatconsumersincreasinglyprefer
therelativelynewexperienceofshoppingforMiBsontheinternet,whereconsumerscan
compareothercustomerreviews.5
       Ontheotherhand,petitionersarguedthatarecentstudyshowedthatpriceisthemain
factorconsumersconsiderinpurchasingamattress,whilepackagingwasnotmentionedasa
factorinfluencingpurchasingdecisions.6Theydescribedretailersashavingavarietyof
preferencesbetweenstockingMiBs,FPMs,orboth,7andstatedthatconsumersoftendonot



   1
    MattressesfromChina,Inv.No.731ͲTAͲ1424(Final),USITCPublication5000,December2019
(“Chinafinalpublication”),p.IIͲ1.SeealsotableIIͲ4below.
   2
    Forexample,seehearingtranscript,pp.151Ͳ52(Douglas)and253(Robertson).
   3
    Hearingtranscript,p.190(Adams).
   4
    Forexample,seehearingtranscript,pp.42Ͳ43(Fallen).
   5
    Jointrespondents’posthearingbrief,annexX,pp.1Ͳ2.
   6
    Petitioners’posthearingbrief,pp.2Ͳ3,Exhibit2.
   7
    Petitioners’posthearingbrief,exhibitIͲ1Ͳ2.



                                               IIͲ1
                                           Appx14815
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knowwhetherthemattresstheybuywillarriveasanMiBoranFPM.8Petitionersallegedthat
therecentincreasedU.S.consumptionofMiBsismorearesultofincreasedsubjectimportsin
theformofMiBs,asnecessaryfortransoceanicshipment,thanofretailerorconsumerdemand
forMiBsrelativetosuchdemandforFPMs.9
        PetitionersalsoallegedthatalargershareofconsumerscrossͲshopbothbrickͲandͲ
mortarandonlineretailers,andconsultreviewsbyotherconsumers.10However,respondents
allegedthatretailerstrytomakesuchcrossͲshoppingdifficultbynotofferingthesame
selectionsthroughdifferentretailchannels.11
        ApparentU.S.consumptionofmattressesincreased***percentduring2017Ͳ19.Itwas
***percenthigherinthefirstthreequartersof2020comparedtothefirstthreequartersof
2019.ThesetrendsarebroadlyconsistentwithincreasesinGrossDomesticProduct(“GDP”)
andhousingstarts,aswellasconsumerreactiontotheCOVIDͲ19lockdowns,asdiscussed
belowin“U.S.demand.”

U.S.purchasers
        TheCommissionreceived22usablequestionnaireresponsesfromfirmsthathad
purchasedmattressesduringJanuary2017ͲSeptember2020.Twelverespondingpurchasers
wereomniͲchannel(bothbrickͲandͲmortarandonline)retailers,sixwereonlineretailers,three
werebrickͲandͲmortarretailers,andthreeweredistributors.RespondingU.S.purchaserswere
locatedacrosstheUnitedStates.Largepurchasersofmattressesincluderetailers***.Mattress
purchasersthatalsosubmittedimporterquestionnairesinclude***.***alsosubmittedaU.S.
producers’questionnaire.
        Nineof13respondingpurchasersindicatedthattheycompetewiththeirsuppliersfor
salestobrickͲandͲmortarretailersand/oronͲline.SomeofthesepurchasersnamedTempur
SealyorSertaSimmonsasmanufacturerswithwhichtheycompete.Purchaser***statedthat
whileitsometimescompeteswithitssuppliers,thecompetingproductsfromsuppliersarenot
alwaysthesame.
                                




   8
    Forexample,seehearingtranscript,pp.56(Merwin)and60(Glassman),andjointrespondents’
prehearingbrief,p.19.
   9
    Petitioners’posthearingbrief,exhibitIͲ8.
   10
     Petitioners’posthearingbrief,exhibitIͲ45Ͳ46.
   11
     Jointrespondents’posthearingbrief,annexVI,pp.2Ͳ3.



                                                IIͲ2
                                           Appx14816
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        Sincemanypurchaserswereretailers,theyreportedtheircustomersmostlyasenduser
residentialconsumers,althoughafewpurchasersalsoreportedcustomerssuchashotels,other
institutions,orrecreationalvehiclemanufacturers.Distributorpurchasersgenerallysupplied
retailers.
        ReportedpurchasesandimportsbyallpurchaserscoveredmattressesfromtheUnited
Statesandallsubjectcountries,andtotaled14.3millionmattressesin2019.Responding
purchasersreportedpurchasingand/orimportinganestimated8.5millionMiBsand2.2million
FPMs(fromallsources)in2019.12Sixpurchasersreportedonlyimportingand/orpurchasing
MiBs,2reportedonlyimportingand/orpurchasingFPMs,and11reportedimportingand/or
purchasingbothMiBsandFPMs.

Marketingofmattresses
Changesinproductrange,mix,ormarketing
        AsshownintableIIͲ1,amajorityoffirmsreportedthattherehavenotbeensignificant
changeswithrespecttotheproductrange,productmix,ormarketingofmostmattressessince
January1,2017.(SomeoftheMiBͲrelatedchangesdiscussedabovebeganbeforeJanuary1,
2017.)However,somefirmscitedchanges(includingamajorityofU.S.producersand
purchaserswhendescribingMiBs),suchasacontinuedincreaseofdirectͲtoͲconsumersales,
increasedadvertisingofMiBs,increasedconsumeracceptanceofMiBssoldovertheinternet,
lowerpricesonimportedmattresses,increaseddigitalsalesandmarketing,andanincreased
varietyofbrands.Forexample,importer***describedanincreaseinthenumberofbrands
becauseentryintothemattressbusinessnolongerrequiresshowroomsandnational
warehouses,butinsteadsimplywebsitesforonlinesales.
        Firmsthatreportedchangeswithregardtobrandingandprivatelabelprograms
indicatedthattheuseoftheseprogramshadincreased.Importers***indicatedthatsome
largeretailershadincreaseduseofprivatelabelstopreventonlinecrossͲshoppingofbrands
theysell.U.S.producer***statedthat,whileitsinternetsalesofMiBshadincreased,they
werestillasmallshareofitsoverallsales.ItaddedthatinternetsalesofFPMswerealso
increasing.
        Amongfirmsreportingsignificantchangestotheallocationoffloorslotsatbrickand
mortarretailestablishments,somereportedincreases,whileothersreporteddecreases,to
suchallocations.Forexample,importer***describedfewerslotsatlowerpricepoints


   12
     Notallpurchaserswereabletorespondtothisquestion.



                                                 IIͲ3
                                             Appx14817
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(perhapsduetoonlinecompetition)eventhoughtherehadbeenanincreaseinslotsathigher
pricepoints.Importer***describedTargetasputtingsomeofTarget’sonlinebrandsonthe
floorofitsbrickͲandͲmortarstoresaswell,tomakethosebrandsomniͲchannel.However,
otherfirmsalsodescribedonlinecompetitionasreducingfloorslotsatbrickͲandͲmortar
retailers.

Table II-1
Mattresses: Firms’ responses regarding significant changes to product range, product mix, and
marketing in different areas since January 2017, by number of responding firms
                                  U.S. producers          U.S. importers       U.S. purchasers
              Item                Yes          No        Yes          No       Yes         No
 MiBs                              22          19         19          22        16          4
 Other direct-to-consumer
 internet sales                    13          25         14          23        6          13
 Branding                           9          29         11          26        8          10
 Private label programs            10          28         11          24        8          11
 Floor slots at brick and
 mortar retailers                  12          26         9           28        7          12
 Location in consumer search
 results on e-commerce sites       13          23         7           28        5          14
 Other                              2          16         2           16        0           8
Source: Compiled from data submitted in response to Commission questionnaires.


Floorspaceallocation
        U.S.producers,importers,andpurchaserswerealsoaskedspecificallyiftheallocation
offloorspaceformattresseshadchangedsinceJanuary1,2017.AsshownintableIIͲ2,a
pluralityofU.S.producersdescribedfloorspaceforU.S.productasdecreasing,whilefloor
spaceforsubjectimportsincreased.However,pluralitiesofimportersdescribedfloorspacefor
mattressesfromallsourcesasunchanged.13Pluralitiesormajoritiesofpurchasersdescribed
floorspaceforU.S.productasunchangedandfloorspaceforsubjectimportsasincreasingor
unchangedforallcountrysourcesbutChina,forwhichamajorityreporteddecreasingfloor
space.
        Infurthercomments,U.S.producer***statedthatmattressesfromothersubject
countrieshadtakenfloorspacepreviouslyusedforChineseproduct,especiallyinthe***
segment.Importer***statedthatoverallretailspaceformattressesisdecreasing.Importers
***statedthattheyhadseennewimportsfromTaiwan.Purchaser***statedthatithad
increasedfloorspaceforU.S.productbecauseofan


   13
     Manyfirmsofalltypesresponded“notapplicable.”



                                                 IIͲ4
                                            Appx14818
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arrangementwith***.Purchaser***statedthatithadincreasedfloorspotsforproductfrom
SerbiaanddecreasedsuchslotsforproductfromtheUnitedStates,Thailand,andVietnamdue
toissuesofqualityandvalue.***describedmovingslotsfromChinesemattressesto
nonsubjectͲcountrymattressesduetotheantidumpingduties(discussedmorebelow),aswell
asincreasingpurchasesofU.S.mattressesduetonewpartnerships.
       U.S.producers,importers,andpurchaserswereaskedtoexplainthefactorsthat
determinetheselectionofmattressesthataredisplayedonthefloorofbrickͲandͲmortar
establishmentsandtheirlocationonthesalesfloorsofsuchestablishments.Importersand
purchaserscitednumerousfactorsincludingquality,salesvelocity,leadtime,brand
recognition,supplierrelationships,reviews,vendorsupport,profitmargins/value,abilitytoget
customerattentionwhendisplayedonthefloor,theabilityofsuppliertocoverdifferentprice
points,marketing,andwarranties.U.S.producersansweredsimilarly,butoftenwerenot
retailersanddidnothaveasmuchinformation.U.S.producer***statedthatifproductisnot
displayedprominentlyonashowroomfloor,itwillhavelowersales.Importer***addedthat
lowͲpriceͲpointmattressesaccountforabout40percentofretailers’salesvolumebut25
percentofsalesvalue,midͲpriceͲpointmattressesaccountforabout35percentofsalesvolume
and40percentofsalesvalue,andhighͲpricepointmattressesaccountforabout25percentof
salesvalueand35percentofsalesvolume,aswellashigherprofitmargins.




                                              IIͲ5
                                         Appx14819
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Table II-2
Mattresses: Firms’ responses regarding changes in floor space allocation since January 2017, by
number of responding firms
           Item              Increase             No change            Decrease            Fluctuate
 U.S. producers:
   United States                 1                       9                13                   2
   Cambodia                      5                       3                 0                   1
   China                         11                      2                 0                   2
   Indonesia                     8                       3                 0                   1
   Malaysia                      9                       3                 0                   1
   Serbia                        6                       3                 0                   1
   Thailand                      7                       4                 0                   1
   Turkey                        7                       3                 0                   1
   Vietnam                       9                       4                 0                   1
   Other sources                 2                       3                 0                   1
   Overall                       1                       6                 0                   1
 Importers:
   United States                 5                      12                 1                   6
   Cambodia                      3                       5                 1                   2
   China                         2                      12                 7                   4
   Indonesia                     4                       6                 0                   2
   Malaysia                      2                       8                 1                   3
   Serbia                        2                       6                 0                   2
   Thailand                      2                       7                 2                   3
   Turkey                        2                       7                 0                   2
   Vietnam                       2                      11                 1                   4
   Other sources                 3                       7                 0                   2
   Overall                       3                      13                 2                   2
 Purchasers:
   United States                 5                       6                 2                   1
   Cambodia                      0                       2                 1                   0
   China                         0                       3                 5                   0
   Indonesia                     1                       0                 0                   0
   Malaysia                      0                       1                 0                   0
   Serbia                        2                       0                 0                   0
   Thailand                      1                       1                 1                   0
   Turkey                        1                       0                 0                   0
   Vietnam                       1                       3                 1                   0
   Other sources                 1                       1                 0                   0
   Overall                       3                       4                 1                   0
Note: Producers and importers were asked about overall floor space for mattresses generally. Purchasers
were asked about floor space allocations specifically for their firm.

Source: Compiled from data submitted in response to Commission questionnaires.
       




                                               IIͲ6
                                           Appx14820
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EͲcommerceplacement
       AsshownintableIIͲ3,U.S.producersandimportershadmixedresponseswhenasked
todescribechangesineͲcommerceplacementformattressesfromvariouscountrysources.
PluralitiesofU.S.producersindicatedthatmattressesfrommostsubjectcountrieshad
increased,butU.S.producerswerealsosplitonwhethereͲcommerceplacementofU.S.
producthadincreasedordecreased.FourU.S.producersaddedthatsubjectimportshad
increasedeͲcommerceplacementattheexpenseofU.S.product.PluralitiesofU.S.importers
indicatedthateͲcommerceplacementofU.S.andIndonesianproducthadincreased,butthat
suchplacementformostsubjectcountrieswasunchanged.ApluralityofU.S.purchasers
describedonlineplacementofU.S.Ͳproducedmattresseshadincreased,butotherwise
pluralitiesofU.S.purchasers(thatdidnotanswer“notapplicable”)indicatedthattherehad
beennochangeinonlineplacementformattressesfrommostsubjectsources.
       U.S.producers,importers,andpurchaserswerealsoaskedtoexplainthefactorsthat
determinetherankingsofmattressesyieldedbyconsumersearchresultsonthewebsiteofeͲ
commerceretailers.U.S.producer***statedthatinternetretailers’websitesoftenrank
productsaccordingtoprice,puttingU.S.productloweronthelist(ashigherpriced),andthus
hurtingsalesofU.S.product.Importersandpurchasersdescribednumerousfactors,often
similartothosedescribedforbrickͲandͲmortarretail,includingcustomerreviews,webtraffic,
salesvelocity,price,profitmargin,quality,deliveryspeed,visualappealofproduct,marketing,
andinͲstockstatus.***describedtheimportanceofcustomerranking,aswellashavingreadily
availablephotosandonlinematerials,asuniquelyimportanttoeͲcommerce.***statedthat
whileitdoessellonline,customersthatwanttocrossͲshopmattressesprefertotryoutthe
productinashowroom.U.S.producersdescribedsimilarfactorstothosedescribedbymost
importersandpurchasers,butoftenwerenoteͲcommerceretailersanddidnothaveasmuch
information.




                                              IIͲ7
                                          Appx14821
 Case 1:21-cv-00288-SAV
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Table II-3
Mattresses: Firms’ responses regarding changes in e-commerce placement since January 2017,
by number of responding firms
            Item            Increase          No change              Decrease        Fluctuate
 U.S. producers:
   United States                9                  2                    6                  2
   Cambodia                     4                  3                    0                  0
   China                        9                  0                    0                  0
   Indonesia                    5                  2                    0                  0
   Malaysia                     7                  2                    0                  0
   Serbia                       5                  2                    0                  0
   Thailand                     3                  3                    0                  0
   Turkey                       5                  3                    0                  0
   Vietnam                      8                  2                    0                  0
   Other sources                0                  2                    0                  0
   Overall                      4                  2                    0                  0
 Importers:
   United States               10                  9                    0                  6
   Cambodia                     2                  4                    0                  4
   China                        2                  11                   7                  5
   Indonesia                    5                  3                    0                  4
   Malaysia                     4                  7                    1                  4
   Serbia                       2                  3                    0                  4
   Thailand                     3                  6                    1                  4
   Turkey                       2                  4                    0                  3
   Vietnam                      4                  9                    2                  5
   Other sources                4                  6                    0                  2
   Overall                      5                  10                   1                  5
 Purchasers:
   United States                7                  6                    1                  3
   Cambodia                     1                  4                    1                  1
   China                        0                  5                    4                  2
   Indonesia                    1                  2                    0                  1
   Malaysia                     0                  3                    0                  1
   Serbia                       2                  2                    0                  1
   Thailand                     1                  3                    1                  1
   Turkey                       1                  3                    0                  1
   Vietnam                      1                  4                    1                  1
   Other sources                3                  3                    0                  1
   Overall                      2                  6                    1                  1
Note: Producers and importers were asked about overall changes in e-commerce placement for
mattresses generally. Purchasers were asked about changes in e-commerce placement specifically for
their firm.

Source: Compiled from data submitted in response to Commission questionnaires.
       
       



                                              IIͲ8
                                          Appx14822
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Channelsofdistribution
        U.S.producersandimporterssoldmainlyintotheretailchannel,asshownintableIIͲ4.
Withintheretailchannel,U.S.producerssoldmainlyintothebrickͲandͲmortarsubͲchannel,
whilemostimporterssoldmainlyintotheinternet/onlinesubͲchannel.However,importersof
***productshowedlargersalesintothebrickͲandͲmortarsubͲchannelthanimportersof
mattressesfromothercountries.14Dataonthechannelsofdistributionbymattresstype(MiB
versusFPM)ispresentedinAppendixD.




   14
     Importersofmattressesfrom***showedahighshareofsalestodistributorsin2017and2018,
butoverallimportvolumeswereminisculeintheseyears.



                                                IIͲ9
                                            Appx14823
 Case 1:21-cv-00288-SAV
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Table II-4
Mattresses: U.S. producers’ and importers’ U.S. shipments, by sources and channels of
distribution, January 2017-September 2020
                                                                     Period
                                                                                   January-
                                                       Calendar year
                                                                                  September
                       Item                   2017         2018       2019      2019       2020
                                                     Share of reported shipments (percent)
 U.S. producers’ U.S. shipments of
 mattresses:
   Retail:
       Brick and mortar                          77.8        74.0        69.4      69.8      67.9
       Internet/online                            3.7         4.3         6.4       5.8       9.1
       Omni-channel                               6.9         6.8         7.1       7.5       6.2
           Subtotal, retail                      88.3        85.1        82.9      83.0      83.2
   Distributors                                   2.6         2.9         4.6       4.5       4.7
   End users                                      9.1        12.0        12.5      12.4      12.2
 U.S. importers’ U.S. shipments of
 mattresses from Cambodia:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from China:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from Indonesia:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
Table continued on next page.




                                            IIͲ10
                                        Appx14824
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Table II-4--Continued
Mattresses: U.S. producers’ and importers’ U.S. shipments, by sources and channels of
distribution, January 2017-September 2020
                                                                     Period
                                                                                   January-
                                                       Calendar year
                                                                                  September
                       Item                   2017         2018       2019      2019       2020
                                                     Share of reported shipments (percent)
 U.S. importers’ U.S. shipments of
 mattresses from Malaysia:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from Serbia:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from Thailand:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from Turkey:
   Retail:
       Brick and mortar                            ***         ***        ***       ***       ***
       Internet/online                             ***         ***        ***       ***       ***
       Omni-channel                                ***         ***        ***       ***       ***
           Subtotal, retail                        ***         ***        ***       ***       ***
   Distributors                                    ***         ***        ***       ***       ***
   End users                                       ***         ***        ***       ***       ***
Table continued on next page.




                                            IIͲ11
                                        Appx14825
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Table II-4--Continued
Mattresses: U.S. producers’ and importers’ U.S. shipments, by sources and channels of
distribution, January 2017-September 2020
                                                                       Period
                                                                                     January-
                                                         Calendar year
                                                                                    September
                       Item                     2017         2018       2019      2019       2020
                                                       Share of reported shipments (percent)
 U.S. importers’ U.S. shipments of
 mattresses from Vietnam:
   Retail:
       Brick and mortar                              ***         ***        ***       ***       ***
       Internet/online                               ***         ***        ***       ***       ***
       Omni-channel                                  ***         ***        ***       ***       ***
           Subtotal, retail                          ***         ***        ***       ***       ***
   Distributors                                      ***         ***        ***       ***       ***
   End users                                         ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from all subject countries:
   Retail:
       Brick and mortar                            15.1        20.0        16.8      17.1      14.8
       Internet/online                             73.1        65.1        68.0      66.9      69.6
       Omni-channel                                 9.9        13.6        13.7      14.3      14.2
           Subtotal, retail                        98.1        98.7        98.5      98.3      98.7
   Distributors                                      ***         ***        ***       ***       ***
   End users                                         ***         ***        ***       ***       ***
 U.S. importers’ U.S. shipments of
 mattresses from nonsubject countries:
   Retail:
       Brick and mortar                              ***         ***        ***       ***       ***
       Internet/online                               ***         ***        ***       ***       ***
       Omni-channel                                  ***         ***        ***       ***       ***
           Subtotal, retail                          ***         ***        ***       ***       ***
   Distributors                                      ***         ***        ***       ***       ***
   End users                                         ***         ***        ***       ***       ***
Source: Compiled from data submitted in response to Commission questionnaires.

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                                             IIͲ12
                                         Appx14826
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Geographicdistribution
       U.S.producersandimporters(fromallsubjectsources)reportedsellingmattressestoall
regionsintheUnitedStates(tableIIͲ5).ForU.S.producers,31percentofsaleswerewithin100
milesoftheirproductionfacility,62percentwerebetween101and1,000miles,and7percent
wereover1,000miles.Importerssold16percentwithin100milesoftheirU.S.pointof
shipment,69percentbetween101and1,000miles,and15percentover1,000miles.
       
Table II-5
Mattresses: Geographic market areas in the United States served by U.S. producers and importers
since January 1, 2017
                         U.S.
       Region         producers        Cambodia         China      Indonesia       Malaysia
 Northeast                 32                5            27            5             10
 Midwest                   38                5            26            5             10
 Southeast                 34                5            30            6             10
 Central
 Southwest                 31                5            28            5             10
 Mountain                  31                5            28            5             10
 Pacific Coast             26                5            25            6              9
 Other                     17                6            18            5              7
 All regions
 (except Other)            24                5            23            5              9
 Reporting firms           49                6            33            6             10
       Region           Serbia          Thailand        Turkey      Vietnam        Subject
 Northeast                  3               10             3           17             31
 Midwest                    3               12             3           16             31
 Southeast                  3               12             3           21             38
 Central
 Southwest                  3               11             3           21             36
 Mountain                   3               12             3           19             33
 Pacific Coast              3               10             3           15             29
 Other                      2                8             2           12             22
 All regions
 (except Other)             3                9             3           14             27
 Reporting firms            3               12             3           24             42
Note: “Other” U.S. markets includes AK, HI, PR, and VI.
Note: “Subject” means at least one subject country.

Source: Compiled from data submitted in response to Commission questionnaires.




                                             IIͲ13
                                          Appx14827
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Supplyanddemandconsiderations
U.S.supply
        TableIIͲ6providesasummaryofthesupplyfactorsregardingmattressesfromU.S.
producersandfromsubjectcountries.Whilesomeofthesubjectcountries’industriesshowed
moderatelyhighorhighcapacityutilization,manyshowedlargeandrapidincreasesincapacity
over2017to2019,asdiscussedfurtherbelow.

Table II-6
Mattresses: Supply factors that affect the ability to increase shipments to the U.S. market
                                                          Ratio of
                                                       inventories                           Able to
                                        Capacity          to total                          shift from
              Capacity (number of       utilization     shipments Shipments by market, alternate
                  mattresses)           (percent)        (percent)    2019 (percent)        products
                                                                     Home      Exports to No. of firms
                                                                     market     non-U.S. reporting
  Country       2017        2019      2017 2019 2017 2019 shipments markets                   “yes”
United States          ***         ***     ***       ***   ***    ***          ***         ***     ***
Cambodia               ***         ***     ***       ***   ***    ***          ***         ***     ***
China                  ***         ***     ***       ***   ***    ***          ***         ***     ***
Indonesia              ***         ***     ***       ***   ***    ***          ***         ***     ***
Malaysia               ***         ***     ***       ***   ***    ***          ***         ***     ***
Serbia                 ***         ***     ***       ***   ***    ***          ***         ***     ***
Thailand               ***         ***     ***       ***   ***    ***          ***         ***     ***
Turkey                 ***         ***     ***       ***   ***    ***          ***         ***     ***
Vietnam                ***         ***     ***       ***   ***    ***          ***         ***     ***
Note: Responding U.S. producers accounted for the vast majority of U.S. production of mattresses in
2019. Data for Cambodia, Serbia, and Thailand come from the preliminary phase questionnaires.
Responding foreign producer/exporter firms accounted for a small share of U.S. imports of mattresses
from Cambodia, about one-third of imports from China, most or all imports from Indonesia, about half of
imports from Malaysia, most or all imports from Serbia, most imports from Thailand, most or all imports
from Turkey, and most or all imports from Vietnam during 2019. For additional data on the number of
responding firms and their share of U.S. production and of U.S. imports from each subject country, please
refer to Part I, “Summary data and data sources.”

Source: Compiled from data submitted in response to Commission questionnaires.

Domesticproduction

        Basedonavailableinformation,U.S.producersofmattresseshavetheabilitytorespond
tochangesindemandwithmoderateͲtoͲlargechangesinthequantityofshipmentsofU.S.Ͳ
producedmattressestotheU.S.market.Themaincontributingfactortothisdegreeof
responsivenessofsupplyistheavailabilityofunusedcapacity,restrainedbylowinventories
andlittleabilitytoshiftshipmentsfromalternatemarkets.Thereissomereportedabilityto
shiftproductiontoorfromalternateproducts.However,somepurchasersalsoindicatedan




                                                 IIͲ14
                                            Appx14828
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inabilitytoobtainspecificproductsorlargequantitiesfromU.S.producers(asdiscussedin
“Substitutability”below).
        Intheirprehearingbrief,jointrespondentsarguedthatbecausesomerawmaterials
wereinshortsupplyandbecauseproductionofFPMscannotbeconvertedeasilyinto
productionofMiBs,theU.S.industrywouldhaveamoreconstrainedresponsetochangesin
price.15Additionally,atthehearing,Ashleydescribedseveralexamplesofnewinvestmentinor
expansionofU.S.productionfacilitiesforMiBs,includingbyZinus(animporterinthese
investigations).16

SubjectimportsfromCambodia

        Basedonavailableinformation,producersofmattressesinCambodiahavetheabilityto
respondtochangesindemandwithlargechangesinthequantityofshipmentsofmattressesto
theU.S.market.Themaincontributingfactorstothisdegreeofresponsivenessofsupplyare
thedemonstratedabilityofCambodiansupplierstoincreasesupplytotheUnitedStatesfrom
2018to2019,intheabsenceofadditionalinformationonthemajorityofmattressessupplied
fromCambodia.

SubjectimportsfromChina

        Basedonavailableinformation,producersofmattressesinChinahavetheabilityto
respondtochangesindemandwithlargechangesinthequantityofshipmentsofmattressesto
theU.S.market.Themaincontributingfactortothisdegreeofresponsivenessofsupplyisthe
demonstratedabilityofChinesesupplierstosupplysubstantiallymoremattressesin2018than
theydidin2019(whenantidumpingdutiesbegan).Additionally,datafromrespondingChinese
foreignproducersindicatethatthereisunutilizedcapacityavailableforproduction.

SubjectimportsfromIndonesia

        Basedonavailableinformation,producersofmattressesinIndonesiahavetheabilityto
respondtochangesindemandwithmoderateͲtoͲlargechangesinthequantityofshipmentsof
mattressestotheU.S.market.Themaincontributingfactortothisdegreeofresponsivenessof
supplyisthedemonstratedabilityofIndonesianproducerstoincreasecapacityandproduction
quicklyfrom2018to2019.However,thisabilityisconstrainedbythelackofexportstononͲ
U.S.markets,aninabilitytoshiftproductionfromalternateproducts,andthelackof


   15
    Jointrespondents’prehearingbrief,pp.32Ͳ36.
   16
    Hearingtranscript,pp.147Ͳ9(Adams).



                                                IIͲ15
                                            Appx14829
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inventories,althoughIndonesianproducersdidindicatetheyhadsomespareproduction
capacity.

SubjectimportsfromMalaysia

        Basedonavailableinformation,producersofmattressesinMalaysiahavetheabilityto
respondtochangesindemandwithmoderateͲtoͲlargechangesinthequantityofshipmentsof
mattressestotheU.S.market.Themaincontributingfactorstothisdegreeofresponsiveness
ofsupplyarethedemonstratedabilityofMalaysianproducerstoincreasecapacityquicklyfrom
2018to2019.However,thisabilitymightbeconstrainedsomewhatbythelackofexportsto
nonͲU.S.markets,aninabilitytoshiftproductionfromalternateproducts,andthelackof
inventories.Thereissomeunusedcapacity.

SubjectimportsfromSerbia

        Basedonavailableinformation,producersofmattressesinSerbiahavetheabilityto
respondtochangesindemandwithlargechangesinthequantityofshipmentsofmattressesto
theU.S.market.Themaincontributingfactorstothisdegreeofresponsivenessofsupplyare
thedemonstratedabilityofSerbianproducerstoincreasecapacityquicklyineveryyearfrom
2017to2019,aswellastheavailabilityofunusedcapacityintheSerbianindustry,theabilityto
shiftproductionfromalternateproducts,andtheexistenceofsomeexportstononͲU.S.
markets.

SubjectimportsfromThailand

        Basedonavailableinformation,producersofmattressesinThailandhavetheabilityto
respondtochangesindemandwithlargechangesinthequantityofshipmentsofmattressesto
theU.S.market.Themaincontributingfactorstothisdegreeofresponsivenessofsupplyisthe
demonstratedabilityofThaiproducerstoincreaseproductioneachyearfrom2017to2019.
However,thisabilityisconstrainedbythelackofexportstononͲU.S.markets,aninabilityto
shiftproductionfromalternateproducts,andthelackofinventories,althoughThaiproducers
didindicatetheyhadsomespareproductioncapacity.

SubjectimportsfromTurkey

        Basedonavailableinformation,producersofmattressesfromTurkeyhavetheabilityto
respondtochangesindemandwithmoderateͲtoͲlargechangesinthequantityofshipmentsof
mattressestotheU.S.market.Themaincontributingfactorstothisdegreeofresponsiveness
ofsupplyaretheavailabilityofunusedcapacity,theexistenceofsomeinventories,andthe




                                              IIͲ16
                                          Appx14830
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highlevelofexportstoothercountries.However,thisabilitymaybeconstrainedsomewhatby
aninabilitytoshiftproductionfromalternateproducts.

SubjectimportsfromVietnam

        Basedonavailableinformation,producersofmattressesinVietnamhavetheabilityto
respondtochangesindemandwithlargechangesinthequantityofshipmentsofmattressesto
theU.S.market.Themaincontributingfactorstothisdegreeofresponsivenessofsupplyisthe
demonstratedabilityofVietnameseproducerstoincreasecapacityeveryyearfrom2017to
2019.However,thisabilityisconstrainedbythelackofexportstononͲU.S.markets,restrained
abilitytoshiftproductionfromalternateproducts,thehighlevelofcapacityutilization,andthe
lackofinventories.

Importsfromnonsubjectsources

        NonsubjectimportsdeclinedinquantityandasashareoftheU.S.marketover2017Ͳ19,
declinedagainfromthefirstthreequartersof2019tothefirstthreequartersof2020,and
neveraccountedformorethan***percentoftheU.S.market.Thelargestsourceof
nonsubjectimportsduring2017Ͳ19wasMexico.

Supplyconstraints

        Mostmattresssuppliers(29U.S.producersand32importers)indicatedthattheyhad
notrefused,declined,orbeenunabletosupplymattressessinceJanuary1,2017.Seventeen
U.S.producersindicatedthattheyhadexperiencedsuchsupplyconstraints,usuallycitinga
scarcityofrawmaterialsduetotheCOVIDͲ19outbreak,whichhasdivertedsomerawmaterials
intoproductionofmasksandmedicalequipment.Twelveimportersalsodescribed
experiencingsupplyconstraints,attributingsuchconstraintstoglobalsupplychaindisruptions
duetotheCOVIDͲ19outbreak,andalsotothevarioustariffsorotherrequirements(section
301tariffs,antidumpingdutiesonChina,andtheseinvestigations)imposedonimported
mattresses.
        Amongpurchasers,elevenstatedthattheavailabilityofU.S.Ͳproducedproductinthe
U.S.markethadnotchangedsinceJanuary1,2017,butelevenstatedthatithad.Those
describingchangesusuallydescribedU.S.productionnotbeingabletomeetdemand,either
becausedemandhadgrownorbecausetheCOVIDͲ19outbreakhadlimitedthesupplyofraw




                                              IIͲ17
                                          Appx14831
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materialsusedtoproducemattresses.17Elevenpurchasersstatedthattheavailabilityofsubject
importshadchanged,citingvariouschanges.FourdescribedimportsfromChinarisinguntilthe
antidumpingdutieswentintoeffect,andthenfallingasimportsfromothersubjectcountries
rose.Onedescribedsubjectimportvolumesasnotbeingsufficenttomeetdemand,whiletwo
describedsubjectimportsasrisingduetoincreaseddemand,especiallyforMiBs.Eight
importersstatedthattherehadbeennochangesintheavailabilityofsubjectimports.
Regardingnonsubjectimports,nineimportersstatedthattheavailabilityofsuchimportshad
notchanged,whilefivestatedthatithad,usuallycitingincreaseddemand.
        Fourteenpurchasersstatedthatnoneoftheirsuppliershadrefused,declined,orbeen
unabletosupplymattressessinceJanuary1,2017.However,eightindicatedsomesuppliers
haddoneso.TwoofthesepurchasersstatedthatU.S.producershadbeenunabletosupply
mattresses.Theothersdidnotspecificallynameasourcethatwasunabletosupplymattresses,
butlistedcausessuchasrawmaterialsupplydisruptions,hurricanescausingsupplydisruptions,
andtheCOVIDͲ19outbreakcausingsupplyand/orrawmaterialdisruptions.

ImpactofSection301investigationandtariffs

        FirmswereaskediftheannouncementinMarch2018andsubsequentimpositionof
tariffsonmattressesimportedfromChinapursuanttothesection301investigationconcerning
Chinahadaffectedtheirfirm’smattressbusinessand/ortheU.S.mattressmarketasawhole.
AsshownintableIIͲ7,manyfirmsindicatedthatthesupplyofChinesemattresseshad
decreasedandthesupplyofmattressesimportedfromothercountrieshadincreased.
        AmongU.S.producers,amajorityorpluralityindicatedthatthesection301tariffs
causedadecreaseintheU.S.supplyofChinesemattresses,anincreaseintheU.S.supplyof
otherimportedmattresses,andnochangetotheU.S.supplyofmattressesfromdomestic
producers,thepriceofmattresses,demandformattresses,ortherawmaterialcostsfor
producingmattress.Inadditionalcomments,U.S.producer***describedpricesofChinese
mattressesrisingonlyslightly,and***statedthatmattresssupplyfromothercountriesquickly
replacedChinesesupply,atevenlowerprices.However,***statedthatU.S.supplydidnot
increasebecauseU.S.producershadnosparecapacity.U.S.purchaser***statedthatitshifted
purchasesawayfromChinaafterthesection301tariffs,butthat***.
                               



   17
     TenpurchasersdescribeddecreasedavailabilityofU.S.Ͳproducedproduct.***describedCOVIDͲ19
asdisruptingsupplybutalsostatedthatmoreMiBbrandswereavailable.



                                              IIͲ18
                                           Appx14832
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       Pluralitiesormajoritiesofimportersalsoindicatedthatthesection301tariffshad
causedadecreaseintheU.S.supplyofChinesemattresses,anincreaseintheU.S.supplyof
otherimportedmattresses,andnochangetodemandformattresses.However,majoritiesor
pluralitiesofimportersindicatedthatthesection301tariffshadcausedanincreaseinthe
supplyofU.S.Ͳproducedmattresses,thepriceofmattresses,andthecostofrawmaterialsused
tomakemattresses.
       Pluralitiesormajoritiesofpurchasersindicatedthatthesection301tariffshadhadno
changeonthesupplyofU.S.Ͳproducedmattresses,haddecreasedthesupplyofmattresses
fromChina,hadincreasedthesupplyofmattressesfromothercountries,hadincreasedorleft
unchangedthepriceofmattresses,leftdemandunchanged,andincreasedthepricesofraw
materials.

Table II-7
Mattresses: Firms’ responses regarding impact in the U.S. market of the announcement and
subsequent imposition of tariffs on mattresses imported from China pursuant to the section 301
investigation concerning China, by number of responding firms
                                                                       No
                          Item                          Increase change Decrease Fluctuate
 U.S. producers:
  Impact on supply of U.S.-produced mattresses              4           7       2           5
  Impact on supply of mattresses imported from China        1           3      11           3
  Impact on supply of mattresses imported from other
 countries                                                  8           6       1           4
  Impact on prices                                          2           7       1           7
  Impact on overall U.S. demand                             4           8       0           6
  Impact on raw material costs                              8           8       0           2
 Importers
  Impact on supply of U.S.-produced mattresses              11          7       1           6
  Impact on supply of mattresses imported from China        0           1      25           2
  Impact on supply of mattresses imported from other
 countries                                                  21          1       0           3
  Impact on prices                                          19          5       1           2
  Impact on overall U.S. demand                             7           9       3           8
  Impact on raw material costs                              15          6       0           5
 Purchasers:
  Impact on supply of U.S.-produced mattresses              1           9       0           1
  Impact on supply of mattresses imported from China        0           2       9           0
  Impact on supply of mattresses imported from other
 countries                                                  8           3       0           0
  Impact on prices                                          6           6       0           0
  Impact on overall U.S. demand                             3           6       2           0
  Impact on raw material costs                              6           5       0           0
Source: Compiled from data submitted in response to Commission questionnaires.




                                             IIͲ19
                                         Appx14833
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ImpactoftheantidumpingdutiesonChina

        U.S.producers,importers,andpurchaserswereaskedtodescribetheimpactthatthe
antidumpingdutyorderimposedonmattressesfromChinahashadontheU.S.marketfor
mattressessinceDecember16,2019(theeffectivedateoftheorder).RespondingU.S.
producers,importers,andpurchasersoftendescribedChinesemattressesbeingreplacedby
mattressesfromothersubjectcountries,sometimesafterabriefperiodofhigherpricesand
greaterdemandforU.S.mattresses.U.S.producer***statedthatitisdifficulttodistinguish
theeffectoftheantidumpingdutiesfromtheimpactoftheCOVIDͲ19outbreak.Importer***
describedpurchasersasevenmorecostͲconsciousnowthanin2019,becauseoftheCOVIDͲ19
outbreak.Importer***statedthatU.S.producers’participationintheeͲcommercechannel
hasnotchangedmuchsincethedutieswentintoeffect.Severalpurchasersdescribeddemand
increasingrelativetosupplyduetotheeffectsoftheantidumpingduties,althoughsomeadded
thattheeffectwasmitigatedbyimportsfromothersubjectcountries.

Privatelabelsupply

        TwentyͲsixU.S.producersand13importersindicatedthattheyproduceorimport
privatelabelmattresses,i.e.mattressessoldtoapurchaserforsaleatretailunderthe
purchaser’sownbrandname.ThoseU.S.producersestimatedthattheyproduced3.4million
privatelabelmattressesintheUnitedStatesin2019,andthoseimportersestimatedthatthey
imported2.4millionprivatelabelmattressesin2019.18Additionally,ninepurchasersindicated
thattheypurchasedmattressesthroughaprivatelabelprogram,andestimatedthatthey
ordered1.1millionmattressesthroughsuchaprogramin2019.TwentyU.S.producersand30
importersstatedthattheydidnotproduceprivatelabelmattresses,and13purchasers
indicatedthattheydidnotpurchasemattressesthroughaprivatelabelprogram.
        NoU.S.producersorimportersstatedthattheyhadrefusedtosell,orlimiteditssaleof,
privatelabelmattressestoanywholesalepurchaserbecausethepurchasersellsitsprivatelabel
mattressestothesameretailers.TwentypurchasersstatedthatnoU.S.producerorimporter
hadrefusedtosupplyorlimitedthesupplyofprivatelabelmattresses.However,twodid.***
statedthatitscurrentsourcingfromU.S.producersis***
                                


   18
     U.S.producersandimporterswereaskedtoestimatethenumberofprivatelabelmattressesthat
theyproducedandsold,orimportedandsold,in2019.Somefirmsreportedsharesoftheirproduction
orimports.Staffappliedthissharetothosefirms’2019commercialshipments(ofsubjectimports,for
importers)tocalculatethetotal.



                                                IIͲ20
                                            Appx14834
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***.***statedthatdomesticproducers,***,hadrefusedtosellorquotemattresses,
sometimesbecause***.However,itaddedthatdomesticproducer***hadcontinuedto
supplymattresses***.

Newsuppliers

        FifteenpurchasersindicatedthatnonewsuppliersenteredtheU.S.marketsince
January1,2017.However,sevendid,namingnumerousnewsuppliers,includingU.S.Ͳproduced
mattresses,importsfromsubjectcountries,andimportsfromnonsubjectcountries.

U.S.demand
        Basedonavailableinformation,theoveralldemandformattressesislikelyto
experiencesmallchangesinresponsetochangesinprice.Themaincontributingfactoristhe
lackofwidelyusedsubstituteproducts.

Endusesandcostshare

        Mattressesareusedforsupportduringsleepandarealsosometimessoldaspartsofa
bedoradjustablebed,orwithaframe.Endusersofmattressesincluderetailconsumersand,
toalesserextent,institutional(e.g.,hotels,hospitals,etc.)customers.Whilemattressesmake
upamoderateͲtoͲlargeshareofthecostofamattressandfoundationset,theytypicallymake
upasmallͲtoͲmoderateshareofthecostofendͲuseproductsthatincorporatemattresses.19

Businesscycles

        Inthepreliminaryphase,U.S.producer***describedthetraditionalconsumercyclefor
purchasingamattressas10yearsbutstatedthattheintroductionofonlinemattresssalesmay
haveshortenedthatcycle.
        Firmsweresplitoverwhetherthemattressmarketwassubjecttodistinctivebusiness
cyclesorconditionsofcompetition.TwentyͲfiveU.S.producers,18importers,and8purchasers
indicatedthatthemarketwassubjecttobusinesscyclesand/ordistinctiveconditionsof
competition.However,22U.S.producers,26importers,and14purchasersindicatedthatthe
marketwasnotsubjecttosuchconditions.Mostfirmsdescribingdistinctiveconditionsof
competitionorbusinesscyclesdescribedtheU.S.mattressmarketasslowinginthewinter,and
thenshowingincreasesindemandduringtaxrefundseason,duringholidays(whenretailers
                                  


   19
    SeealsoChinafinalpublication,p.IIͲ13.



                                                    IIͲ21
                                               Appx14835
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offerdiscounts),and/orduringthebackͲtoͲschoolperiod.***describedsalesduring
promotionalperiodsasoftentwotothreetimeswhatsalesareatothertimes.Asmaller
numberoffirmsalsodescribedconsumerpurchasingpatternsastiedtohomebuying.U.S.
producer***andimporter***describeddemandforyouthbedsasbasedonbirthrates,and
***describedsuchdemandasslowingbecauseof“theMillennialgenerationhavingless
childrenthananyothergeneration.”OneU.S.producerandtwoimportersindicatedthatthe
COVIDͲ19outbreakhadslowedsales.
        Sixteenof25respondingU.S.producers,15of20respondingU.S.importers,and6of12
respondingpurchasersstatedthattherehadbeenchangestotheconditionsofcompetitionin
theU.S.mattressmarketsinceJanuary1,2017.Firmsindicatingchangesmostoftencitedthe
increaseinonlinesalesofMiBs.Otherfirmsdescribedawidevarietyofchanges,including
impactsfromtheCOVIDoutbreak(describedasbothpositiveandnegativefordemand),the
stimuluscheckstoconsumers(describedasincreasingdemand),thepresenceoflowͲpriced
imports(forsomeU.S.producers),and(forsomeimporters)thevarioustariffsonmattresses
constrainingsupply.

Demandtrends

        Demandformattressesiscorrelatedwithhousingactivity(exemplifiedbyhousing
starts),interestrates,GDP,andconsumersentiment.20During2017Ͳ19,thesefactorsgenerally
indicatedincreaseddemand.TherecentCOVIDͲ19outbreakandrelatedlockdownsinearly
2020causedasharpdownturninthesedemandindicators.Sincethen,theseindicatorshave
shownmodest(consumersentiment)tostrong(housingstarts)recovery,asdiscussedbelow.
        Overall,housingstartsincreased31.0percentbetweenJanuary2017andJanuary2021
(figureIIͲ1),althoughmostoftheincreasebeganinDecember2019.Initially,housingstarts
plungedwhenthelockdownsbeganinMarch2020,buttheyquicklyrecoveredandthenroseto
theirhighestlevelsoftheperiodinDecember2020.




   20
    Chinafinalpublication,p.IIͲ15.SeealsoU.S.producers’questionnairesof***.



                                                 IIͲ22
                                             Appx14836
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Figure II-1
Housing activity: Housing starts (seasonally adjusted annual rate), monthly, January 2017-
January 2021




Sources: Census Bureau, Federal Reserve Bank of St. Louis (FRED economic data), retrieved March 16,
2021.

       ConsumersentimentandrealGDPbothincreasedduringJanuary(orfirstquarter)2017
throughFebruary(orfirstquarter)2020(figureIIͲ2).Aftertheonsetoflockdownsinearly2020,
bothrecoveredsomewhat,althoughconsumersentiment(up10.0percentfromApril2020to
December2020)remainedalmost20percentlowerinJanuary2021thaninJanuary2017.Real
GDPwas4.5percenthigherinthefourthquarterof2020thaninthefirstquarterof2017,
althoughitwasalsoup8.6percentfromitslevelinthesecondquarterof2020.
       




                                             IIͲ23
                                         Appx14837
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Figure II-2
GDP and consumer sentiment: Current GDP (seasonally adjusted), and index of consumer
sentiment (3 month average), quarterly, January 2017-January 2021




Sources: Bureau of Economic Analysis (GDP through 4th quarter 2020), and University of Michigan
consumer surveys (through January 2021), via Federal Reserve Bank of St. Louis (FRED economic
data), retrieved March 16, 2021.
       
       The30ͲyearfixedaveragemortgageratefluctuatedandthenroseduringJanuary2017Ͳ
November2018,nearlyreaching5.0percentinNovember2018.Afterthat,itdecreased
throughJanuary2021,hittingperiodlowsinDecember2020andJanuary2021(figureIIͲ3).
Therehasbeenaslightincreasesincethen.Allelseequal,alowerratewouldlowerthecostof
buyingahome,aswellasthecostoffinancingamattresspurchasedirectly,andthusmaybe
correlatedwithhighermattressdemand.




                                              IIͲ24
                                          Appx14838
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Figure II-3
Interest rates: 30-year fixed rate mortgage average in the United States, weekly, January 5, 2017-
March 11, 2021




Source: Federal Reserve Bank of St. Louis (FRED economic data), retrieved March 16, 2021.
        
        ApluralityormajorityofU.S.producers,importers,andpurchasersreportedanincrease
inU.S.demandformosttypesofmattressessinceJanuary1,2017(tableIIͲ8a),althougha
pluralityofU.S.producersreportedadecreaseindemandforinnerspringmattressesandno
changeindemandforFPMs.Similarly,apluralityofimportersreportedadecreaseindemand
forFPMs.Amajorityofpurchasersreportedadecreaseindemandforinnerspringmattresses
andanincreaseinmostothertypesofmattresses(exceptFPMs).21




   21
     Inthepreliminaryphaseoftheseinvestigations,U.S.producerandimporter***,***,described
themattressmarketasdividedintothreebroadsegmentsbasedonconsumerage:consumersaged20Ͳ
29,whoprioritizepriceandfavoronlinepurchasesofMiBs;consumersaged30Ͳ59,whoprioritize
designandquality;andconsumersover59,whoprioritizeluxuryproducts.Itaddedthatasthelarger
BabyBoomcohortofolderconsumersisreplacedbythesmallerGenerationXcohort,demandfor
traditionalmattressesisnolongersustaininghigherprices.Itcontinuedthatthelargegenerations
youngerthanGenerationXpreferonlinesalesofMiBstotraditionalmattresses.



                                               IIͲ25
                                           Appx14839
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Table II-8a
Mattresses: Firms’ responses regarding current demand for mattresses in the United States
                   Item                       Increase    No change       Decrease   Fluctuate
 U.S. producers:
   Innerspring                                    8            9               15         6
   Non-innerspring                               23            6                7         5
   Hybrid                                        27            5                2         4
   Rolled and compressed MiBs                    26            4                3         4
   Flat-packed non-MiBs                           9            12               9         4
   Other                                         ---           3               ---        2
 Importers:
   Innerspring                                   15            5                9         4
   Non-innerspring                               20            5                2         6
   Hybrid                                        24            4                1         4
   Rolled and compressed MiBs                    27            3                1         3
   Flat-packed non-MiBs                           9            6               10         1
   Other                                         ---           1               ---        2
 Purchasers:
   Innerspring                                    4            3                9         1
   Non-innerspring                                9            5                1         2
   Hybrid                                        12            5               ---       ---
   Rolled and compressed MiBs                    15            1                1         1
   Flat-packed non-MiBs                           3            5                6         1
   Other                                         ---           1               ---        1
Source: Compiled from data submitted in response to Commission questionnaires.

        Describingdemandchangesformultipletypesofmattresses,numerousU.S.producers,
importers,andpurchaserscitedtheCOVIDͲ19outbreakashavingincreaseddemandas
consumers,spendingmoretimeathome,havespentmoremoneyonhomefurnishings(like
mattresses).22Similarly,somefirmscitedstimuluschecksashavingincreaseddemand.Onthe
otherhand,somefirms(especiallyamongpurchasers)describedtheoutbreakashavinghurt
demand,withsomeimportersprovidingtheexampleofreduceddemandathotelsand
colleges.23Stillotherfirmsdescribedmattressdemandasgenerallyincreasingoveralong
periodoftime,includingbecauseofanincreasedpopularinterestinimprovingsleepquality.
U.S.producerKolcraft,acribmattressproducer,describedCOVIDͲ19ashavingincreased
demandforitsonlinesales,andaddedthatitwasnotclearwhetherthepandemicwouldlead
toababyboomorbabybust.24




   22
     Nonetheless,twoimportersalsoindicatedthatthisincreaseindemandwastemporaryandhas
sinceended.
   23
     Onepurchaser(***)statedthatithadnotnoticedachangeindemandformattressesdueto
COVIDͲ19.
   24
     Hearingtranscript,pp.51Ͳ52(Koltun).



                                              IIͲ26
                                           Appx14840
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       RegardingdemandforinnerspringmattressescomparedtodemandfornonͲ
innerspring,hybrid,andMiBmattresses,multiplefirms(includingU.S.producers,importers,
andpurchasers)describedacontinuingtrendawayfrominnerspringmattressesandtoward
theseothertypes,especiallythosesoldonline.SomeofthesefirmsdescribedtheCOVIDͲ19
outbreakashavingincreasedthetrendofconsumerswantingtopurchasemattressesonline.
OthersdescribedtheincreaseduseofhybridandMiBmattressesasstemmingfromtheease
withwhichsupplierscanstore,package,andshipsuchmattresses.SomeU.S.producers
describedimportedmattressesasgainingmarketshareduetolowerprices.Purchaser***
statedthatfoammattressesarebecomingmorepopularthaninnerspringmattresses.Onthe
otherhand***statedthatdemandforhybridmattressesisreplacingdemandforfoam
mattresses.
       Firmsgenerallyanticipatedanincreaseornochangeindemandformosttypesof
mattresses,asshownintableIIͲ8b.MajoritiesofU.S.producersandimportersanticipatedan
increaseindemandforhybridandMiBmattresses,butpluralitiesofU.S.producersanticipated
nochangeinthedemandforinnerspringmattresseseventhoughapluralityofimporters
anticipatedanincrease.Firmsstatedthattheiranticipationforaslowerincreaseordecreasein
demandwouldbeduetoanyopeningoftheeconomy,whichsomefirmsthoughtmightmeana
shiftinconsumerspendingawayfromhomefurnishings.Otherfactorsfirmscitedincludedany
additionalstimulusspending,theimpactoftheseinvestigationsontheabilityofimportsto
meetdemand,andfactorscitedaboveasimpactingcurrentdemand(e.g.,increasedonline
salesofMiBs).***describedthelockdownsasclosingmanybrickͲandͲmortarestablishments
andforcingsalesovertheinternet.Itcontinuedthat,asconsumershavemadesuchinternet
purchases,theyhavebecomemorecomfortablewithdoingso.As***statedelsewherethat
MiBssoldovertheinternetarealreadyaccountingforanincreasingshareofallmattresssales,
itdescribedthelockdowneffectasa“catalysttoanalreadyexistingtrend.”Otherpurchasers
describeddemandincreasingforhybridandMiBmattressesaspartofalongertrend,and
purchaser***alsodescribedconsumersasbecomingmoreawareofhybridmattresses.




                                             IIͲ27
                                         Appx14841
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Table II-8b
Mattresses: Firms’ responses regarding anticipated demand for mattresses in the United States
                   Item                       Increase    No change       Decrease   Fluctuate
 U.S. producers:
   Innerspring                                    6            11              9         11
   Non-innerspring                               12            14              3         11
   Hybrid                                        21            6               2         8
   Rolled and compressed MiBs                    24            6               3         4
   Flat-packed non-MiBs                           8            13              6         6
   Other                                          0            3               1         2
 Importers:
   Innerspring                                   13            9               4         6
   Non-innerspring                               17            7               3         7
   Hybrid                                        21            5               0         7
   Rolled and compressed MiBs                    24            5               1         4
   Flat-packed non-MiBs                           5            9               8         2
   Other                                          0            3               0         2
 Purchasers:
   Innerspring                                    6            4               5         1
   Non-innerspring                                9            6               0         1
   Hybrid                                        12            4               0         0
   Rolled and compressed MiBs                    14            1               0         1
   Flat-packed non-MiBs                           4            6               5         2
   Other                                          0            1               0         0
Source: Compiled from data submitted in response to Commission questionnaires.

       RegardingdemandoutsidetheUnitedStates,respondingfirmsansweredsimilarlyas
theydidfortheU.S.market,withmajoritiesofU.S.producersandimportersdescribing
demandforhybridandMiBmattressesasincreasing(tableIIͲ9a).Pluralitiesdescribeddemand
forothertypesofmattresseseitherincreasingorunchanged.Firmsdescribedthesamereasons
forthesedemandtrends(COVIDͲ19lockdownsandshiftingsupplierand/orconsumer
preferenceforMiBsoverinnerspringmattresses)asreasonsforthetrends.Fewpurchasers
expressedknowledgeofoverseasdemand,buttheanswersofmajoritiesorpluralitiesof
purchasersweresimilartothoseofU.S.producers.
       




                                            IIͲ28
                                        Appx14842
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Table II-9a
Mattresses: Firms’ responses regarding current demand for mattresses outside the United States
                   Item                       Increase    No change       Decrease   Fluctuate
 U.S. producers:
   Innerspring                                    2             8              ---       3
   Non-innerspring                                5             5              ---       3
   Hybrid                                         7             3              ---       3
   Rolled and compressed MiBs                     8             3              ---       3
   Flat-packed non-MiBs                           1             8               1        3
   Other                                         ---            1              ---       2
 Importers:
   Innerspring                                    5             4              ---       3
   Non-innerspring                                4             5              ---       4
   Hybrid                                         5             3              ---       4
   Rolled and compressed MiBs                     7             2              ---       4
   Flat-packed non-MiBs                           3             3               3        3
   Other                                         ---           ---             ---       1
 Purchasers:
   Innerspring                                    1             2               2       ---
   Non-innerspring                                1             3               1       ---
   Hybrid                                         2             2               1       ---
   Rolled and compressed MiBs                     3             1               1       ---
   Flat-packed non-MiBs                          ---            3               1       ---
   Other                                         ---            1              ---      ---
Source: Compiled from data submitted in response to Commission questionnaires.

       AsshownintableIIͲ9b,firmsansweredbroadlysimilarlyforanticipatedfuturedemand
overseas,withsomenotingthattrendstowardhybridmattresses,onlinesales,anddemand
impactsfromCOVIDͲ19andrelatedlockdownsweresimilartothosewithintheU.S.market.
       




                                           IIͲ29
                                        Appx14843
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Table II-9b
Mattresses: Firms’ responses regarding anticipated demand for mattresses outside the United
States
                   Item                       Increase    No change       Decrease   Fluctuate
 U.S. producers:
   Innerspring                                    1            6               1         2
   Non-innerspring                                3            6               1         2
   Hybrid                                         6            3               1         2
   Rolled and compressed MiBs                     6            3               1         2
   Flat-packed non-MiBs                           0            6               2         2
   Other                                          0            2               0         1
 Importers:
   Innerspring                                    5            3               1         5
   Non-innerspring                                4            4               1         6
   Hybrid                                         5            3               1         4
   Rolled and compressed MiBs                     6            3               1         4
   Flat-packed non-MiBs                           4            3               2         5
   Other                                          0            0               0         3
 Purchasers:
   Innerspring                                    2            3               0         0
   Non-innerspring                                1            4               0         0
   Hybrid                                         2            3               0         0
   Rolled and compressed MiBs                     3            2               0         0
   Flat-packed non-MiBs                           0            3               1         0
   Other                                          0            2               0         0
Source: Compiled from data submitted in response to Commission questionnaires.
Substituteproducts

       FortyͲsixU.S.producers,36importers,and19purchasersstatedthattherewereno
substitutesformattresses,but3U.S.producers,9importers,and4purchasersstatedthat
therewere.Substituteslistedincludedfutons,airmattresses,andwaterbeds,althoughonly
oneoftheU.S.producersorimporters(andnoneofthepurchasers)listingsubstitutes
describedchangesinthepriceofsubstitutesasaffectingthepriceofmattresses.Importer***
describedlowerpricesforairmattressesashavingputdownwardpricepressureontheprices
ofothermattresses.Allfourpurchaserslistedfutonsassubstitutesformattresses,but***
added“realistically,adult,nonͲcollegecustomerswantarealmattress.”

Substitutabilityissues
       Thedegreeofsubstitutionbetweendomesticandimportedmattressesdependsupon
factorssuchasrelativeprices,quality(e.g.,gradestandards,defectrates,etc.),andconditions
ofsale(e.g.,pricediscounts/rebates,leadtimesbetweenorderanddeliverydates,reliabilityof
supply,productservices,etc.).Basedonavailabledata,staffbelievesthatthereisamoderately
highdegreeofsubstitutabilitybetweendomesticallyproducedmattressesandmattresses
importedfromCambodia,China,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnam.



                                              IIͲ30
                                           Appx14844
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U.S.producersgenerallydescribedsubstitutabilityasquitehigh.Importersandpurchasers,
whiledescribingU.S.mattressesandsubjectimportsasgenerallyinterchangeableand/or
comparable,alsoindicatedthatfactorsotherthanpricewereoftenimportantdifferences
betweenU.S.productandsubjectimports.Theysometimesdescribedsubjectimportsashigher
qualitythanU.S.product,availableinlargerquantitiesthanU.S.product,and/ormoreavailable
intheformofMiBsthanU.S.product.

Leadtimes
        U.S.producersmostlysoldmattressesproducedͲtoͲorder,whileimportersprimarily
madesalesfrominventory.U.S.producersshipped83.7percentoftheir2019shipments
producedͲtoͲorder,25and16.3percentfrominventory.Ontheotherhand,importersshipped
95.2percentoftheirsalesfromtheirU.S.inventoriesand0.9percentfromforeigninventory,
while3.9percentoftheirsaleswereproducedͲtoͲorder.26
        ForU.S.producers’producedͲtoͲordersales,leadtimesaveragedfivedays.For
importers’producedͲtoͲordersales,leadtimesaveraged61days.ForU.S.producers’salesfrom
inventory,leadtimesaveragedthreedays,andforimporters,leadtimesforsalesfrom
inventoryaveragedfivedays.Forimporterssalesfromforeigninventories,leadtimesaveraged
59days.

Knowledgeofcountrysources
        Twentypurchasersindicatedtheyhadmarketing/pricingknowledgeofdomestic
mattresses,5ofmattressesfromCambodia,10ofmattressesfromChina,4ofmattressesfrom
Indonesia,4ofmattressesfromMalaysia,3ofmattressesfromSerbia,5ofmattressesfrom
Thailand,2ofmattressesfromTurkey,6ofmattressesfromVietnam,and6ofnonsubject
countries,includingTaiwanandItaly(eachnamedbythreepurchasers),Canada,India,and
Mexico(eachnamedbytwopurchasers),andvariousEuropeancountries.
        Seventeenpurchasersstatedthattheydidnotspecificallyordermattressesfromone
countryinparticularoverothersourcesofsupply,butfivestatedthattheydid.***statedthat
theypreferredtopurchasedomesticproduct,but***addedthat



   25
     PetitionersstatedthatmanyU.S.producerskeepshowroomswithdisplaymodelsofmattresses,
butproducemattressesonlywhenorderedbyaconsumer.Petitioners’posthearingbrief,exhibitIͲ9.
   26
     Petitionersstatedthatsomemattressretailerskeeptheirowninventories,somedonotmake
manysalesoutofinventories,andsomehavesupplierskeepinventoriesforthem.Petitioners’
posthearingbrief,p.IͲ47.



                                               IIͲ31
                                           Appx14845
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onlyforsmallquantities,and***statedthatonlysomecustomershaveadomesticpreference.
***stateditbuysfromVietnamduetoprice.***statedthattheypurchasefromunnamed
countriesforreasonsofqualityandavailability,and***addedpricewasalsoafactor.
       Purchaserswereaskedifcertaingrades,types,orsizesofmattresseswereonly
availablefromasinglecountrysource.Eighteenstatedthattheywerenot,andthreeanswered
thatthereweresuchtypes.***statedthatsomecapabilitiesarenotavailableinsome
countries.***statedthatU.S.producershavelimitedcapacitytoturnfoamintoMiB
mattresses.***wastheotherpurchasertoindicatethatthereweresuchtypes,butdidnot
explainotherthanto***.
       AsshownintableIIͲ10,purchasershadawidevarietyofanswersaboutwhetherthey
basedtheirpurchasingdecisionsonthemattressproducer,butamajorityofpurchasersstated
thattheynevermadedecisionsbasedonthecountryoforiginofamattress.Majoritiesof
purchasersdescribedtheircustomersassometimesmakingpurchasingdecisionsbasedonthe
producerorcountryoforigin.Purchasersdescribedboththemselvesandtheircustomersas
citingtheimportanceofbrand,quality,price,producerreputation,andcapabilityasreasons
whydecisionsmightbemadebasedonproducerorcountryoforigin.Additionally,some
purchasersindicatedthatsomeretailcustomershaveadomesticpreference.

Table II-10
Mattresses: Purchasing decisions based on producer and country of origin
             Purchaser/customer decision                 Always Usually Sometimes             Never
 Purchaser makes decision based on producer                  6          4       7               5
 Purchaser’s customers make decision based on producer       1          2      12               6
 Purchaser makes decision based on country                   3          1       5              13
 Purchaser’s customers make decision based on country       ---        ---     13               8
Source: Compiled from data submitted in response to Commission questionnaires.

Factorsaffectingpurchasingdecisions
       Themostoftencitedtopthreefactorsfirmsconsiderintheirpurchasingdecisionsfor
mattresseswerequality(18firms),price(15firms),andavailability(12firms)asshownintable
IIͲ11.Inadditionalcomments,somepurchasersnamednumerousotherfactors,usuallythose
listedinthetable.Purchaser***statedthatpricebecomesafactoronlyafternumerousother
factors(includingcapacity,technicalcapability,andquality)aremet.




                                              IIͲ32
                                          Appx14846
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Table II-11
Mattresses: Ranking of factors used in purchasing decisions as reported by U.S. purchasers, by
factor
                 Factor                        First       Second         Third         Total
 Quality                                                      9               6              3             18
 Price/Value                                                  3               4              8             15
 Availability/Capacity/Scalability                            5               5              2             12
 Range/Product Line/Features/Assortment                       1               2              4             7
 Brand/Marketability                                          2               1              1             4
 Reliability                                                  1               1              0             2
 Delivery                                                     0               1              1             2
 Service                                                      0              0               1             1
Note: Other factors include level of partnership/relationship, competition with supplier, and logistics.

Source: Compiled from data submitted in response to Commission questionnaires.

        Purchasersdescribedmattressqualityasmeaningcoilquality,compressionpercentage,
foamdensity,foamtype,look,thickness,rawmaterialspecifications,andrecoverytimefrom
compression.
        SixteenpurchasersreportedthattheyonlysometimespurchasethelowestͲpriced
product,threestatedthattheyneverdid,threestatedthattheyusuallydid,andonestated
thatitalwaysdoes.

Importanceofspecifiedpurchasefactors

        Purchaserswereaskedtoratetheimportanceof26factorsintheirpurchasingdecisions
(tableIIͲ12).Thefactorsratedasveryimportantbyamajorityofrespondingpurchaserswere
availability(overallandofdifferentsizes),deliverytime,foamdensity,packaging(MiBorflatͲ
packed),price,productconsistency,quality(meetingandexceedingindustrystandards),and
reliabilityofsupply.




                                                  IIͲ33
                                              Appx14847
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Table II-12
Mattresses: Importance of purchase factors, as reported by U.S. purchasers, by factor
                                                              Very       Somewhat       Not
                              Factor                       important      important   important
 Ability to ship by common carrier (e.g., UPS, FedEx,
 USPS)                                                          9              5         7
 Availability, overall                                         18              2         2
 Availability of different sizes                               14              4         4
 Consumer in-home trials                                       ---             3         19
 Consumer in-store trials                                       3              5         13
 Consumer online ratings                                        8              8         5
 Delivery terms                                                 9              9         3
 Delivery time                                                 16              5         1
 Direct-to-consumer delivery                                    9              4         9
 Discounts offered                                              7              8         7
 Foam density                                                  12              5         5
 Foam type                                                     11              6         5
 Minimum quantity requirements                                  7              5         10
 Online sales                                                   9              6         7
 Packaging (i.e., MiBs or flat-packed mattresses)              11              8         3
 Payment terms                                                  9              8         5
 Price                                                         13              7         1
 Product consistency                                           17              3         2
 Product range                                                 11              9         2
 Quality meets industry standards                              17              3         1
 Quality exceeds industry standards                            14              6         2
 Reliability of supply                                         19              2         1
 Spring quantity                                                7              7         8
 Spring type                                                    7              7         8
 Technical support/service                                      7              8         7
 U.S. transportation costs                                      9              5         8
Source: Compiled from data submitted in response to Commission questionnaires.
Suppliercertification

       Thirteenpurchasersstatedthattheydonotrequiretheirsupplierstobecomecertified
orqualifiedtosellmattressestotheirfirm.Ninedid,reportingthatthetimetoqualifyanew
supplierrangedfrom30to180days.Qualificationproceduresrangefromcheckingthat
mattressesmeetgovernmentregulations,totesting(includingforflammability)andpurchasing
samplelots,tovisitingsupplierfactoriesandinspectingtheirproductionprocesses.Twenty
purchasersreportedthatnodomesticorforeignsupplierhadfailedinitsattempttoqualify
mattresses,orhadlostitsapprovedstatus,sinceJanuary1,2017;twodid.***reported
certification***.***reportedsuppliersfrom***failingduetoqualityand/ortechnicalissues.
                               




                                              IIͲ34
                                          Appx14848
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Changesinpurchasingpatterns

       Purchaserswereaskedaboutchangesintheirpurchasingpatternsfromdifferent
sourcessinceJanuary1,2017(tableIIͲ13).Whilenearlythesamenumberofpurchasers
reportedincreasingasdecreasingpurchasesofU.S.Ͳproducedmattresses,amajorityof
respondingpurchasersindicateddecreasingpurchasesofChinesemattresses,andmajoritiesof
thosepurchasersthatpurchasedothersubjectimportsreportedincreasingsuchpurchases.
ReasonsreportedforchangesinsourcingincludedincreaseduseofsubjectimportsoverU.S.
product(ontheonehand),increasedpartnershipswithU.S.producers(ontheotherhand),the
antidumpingandsection301tariffsonChineseproduct,suppliersmovingproductionoutof
China,theCOVIDͲ19outbreak,andassortmentchanges.

Table II-13
Mattresses: Changes in purchase patterns from U.S., subject, and nonsubject countries
                                        Did not
        Source of purchases            purchase     Decreased Increased Constant Fluctuated
 United States                                 ---           6           8        5       3
 Cambodia                                      10            2           3      ---       1
 China                                          3          14            3      ---      ---
 Indonesia                                     11          ---           4      ---       1
 Malaysia                                      11          ---           5      ---      ---
 Serbia                                        10          ---           5      ---       1
 Thailand                                       8            1           5        1       1
 Turkey                                        11          ---           4      ---       1
 Vietnam                                        5            1           7        1       1
 Other                                          8            2           8        1       1
Source: Compiled from data submitted in response to Commission questionnaires.
Importanceofpurchasingdomesticproduct

       Almostallpurchasersreportedthatalloftheirpurchasesdidnotrequirepurchasing
U.S.Ͳproducedproduct.Onepurchaserreportedthatitpurchaseddomesticproductasa
companydecision,andanotherreportedthatitpurchaseddomesticproductbecauseof
customerrequirements.

Comparisonsofdomesticproducts,subjectimports,andnonsubjectimports
       Purchaserswereaskedanumberofquestionscomparingmattressesproducedinthe
UnitedStates,subjectcountries,andnonsubjectcountries.First,purchaserswereaskedfora
countryͲbyͲcountrycomparisononthesame26factors(tableIIͲ14)forwhichtheywereasked
toratetheimportance.Asshowninthetable,majorityofpurchasersreportedthatU.S.
mattresseswerecomparablewithsubjectandnonsubjectmattressesinmostfactors.




                                            IIͲ35
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Table II-14
Mattresses: Purchasers’ comparisons between U.S.-produced and imported product
                                               U.S. vs.                            U.S. vs.
                                              Cambodia       U.S. vs. China       Indonesia
                      Factor               S      C      I   S     C       I   S      C      I
 Ability to ship by common carrier (e.g.,
 UPS, FedEx, USPS)                         1      3      2   1      8      4  ---     3      1
 Availability, overall                    ---     4      3   1     10      3  ---     5     ---
 Availability of different sizes          ---     7     --- ---    13      1  ---     5     ---
 Consumer in-home trials                  ---     6      1   2     12     --- ---     5     ---
 Consumer in-store trials                 ---     6      1   1     13     --- ---     5     ---
 Consumer online ratings                  ---     5      2  ---    13      1  ---     5     ---
 Delivery terms                            1      5      1   3     10      1   1      4     ---
 Delivery time                             2      4      1   5      6      3   2      3     ---
 Direct-to-consumer delivery               1      4      2   2      8      4   1      4     ---
 Discounts offered                        ---     6      1  ---    12      2  ---     5     ---
 Foam density                             ---     6      1   1     11      2  ---     5     ---
 Foam type                                ---     6      1   1     11      2  ---     5     ---
 Minimum quantity requirements             1      6     ---  2     11      1  ---     5     ---
 Online sales                             ---     4      3   1      8      4  ---     4      1
 Packaging (i.e., MiBs or flat-packed
 mattresses)                              ---     4      3  ---    10      4  ---     4      1
 Payment terms                             2      3      2   3      9      2   1      3      1
 Price                                     1      4      2   1      9      4   1      3      1
 Product consistency                      ---     5      2   2     10      2  ---     4      1
 Product range                            ---     6      1   1     12      1  ---     5     ---
 Quality meets industry standards         ---     6      1   2     10      2  ---     4     ---
 Quality exceeds industry standards       ---     6      1   2     10      2  ---     5     ---
 Reliability of supply                     1      3      3   3      8      3   1      3      1
 Spring quantity                          ---     5      2   1     12      1  ---     5     ---
 Spring type                              ---     5      2   1     12      1  ---     5     ---
 Technical support/service                ---     4      3   2      7      5  ---     4      1
 U.S. transportation costs                 1      5      1   4     10     ---  1      4     ---
Table continued on next page.




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Table II-14--Continued
Mattresses: Purchasers’ comparisons between U.S.-produced and imported product
                                              U.S. vs.                           U.S. vs.
                                              Malaysia      U.S. vs. Serbia      Thailand
                      Factor               S      C     I   S      C      I   S     C      I
 Ability to ship by common carrier (e.g.,
 UPS, FedEx, USPS)                        ---     4     1  ---     4      2  ---    4      3
 Availability, overall                    ---     5    --- ---     4      2  ---    4      3
 Availability of different sizes          ---     5    --- ---     6     --- ---    7     ---
 Consumer in-home trials                  ---     5    --- ---     5      1  ---    6      1
 Consumer in-store trials                 ---     5    --- ---     5      1  ---    6      1
 Consumer online ratings                  ---     5    --- ---     5      1  ---    5      2
 Delivery terms                            1      4    ---  1      5     ---  1     5      1
 Delivery time                             2      3    ---  1      4      1   1     5      1
 Direct-to-consumer delivery               2      3    ---  1      4      1   1     4      2
 Discounts offered                        ---     5    --- ---     6     --- ---    6      1
 Foam density                             ---     5    --- ---     5      1  ---    5      2
 Foam type                                ---     5    --- ---     5      1  ---    5      2
 Minimum quantity requirements            ---     5    --- ---     6     --- ---    7     ---
 Online sales                             ---     5    --- ---     5      2  ---    4      3
 Packaging (i.e., MiBs or flat-packed
 mattresses)                              ---     4     1  ---     4      2  ---    4      3
 Payment terms                             1      4    ---  2      4     ---  2     5      1
 Price                                    ---     4     1   1      4      1   1     4      2
 Product consistency                      ---     4     1  ---     5      1  ---    5      2
 Product range                            ---     5    --- ---     5      1  ---    6      1
 Quality meets industry standards         ---     5    --- ---     6     --- ---    6      1
 Quality exceeds industry standards       ---     5    --- ---     6     --- ---    6      1
 Reliability of supply                     1      3     1   1      4      1   1     4      2
 Spring quantity                          ---     5    --- ---     6     --- ---    6      1
 Spring type                              ---     5    --- ---     6     --- ---    6      1
 Technical support/service                ---     4     1  ---     4      2  ---    4      3
 U.S. transportation costs                 1      4    ---  1      4      1   1     5      1
Table continued on next page.




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Table II-14--Continued
Mattresses: Purchasers’ comparisons between U.S.-produced and imported product
                                                                                                U.S. vs.
                                                  U.S. vs. Turkey      U.S. vs. Vietnam        nonsubject
                       Factor                     S      C      I       S      C      I       S    C      I
  Ability to ship by common carrier (e.g.,
  UPS, FedEx, USPS)                                ---    4      1     ---     7      4     ---     6      5
  Availability, overall                            ---    4      1     ---     8      3     ---     8      3
  Availability of different sizes                  ---    5     ---    ---    11     ---    ---    11     ---
  Consumer in-home trials                          ---    5     ---    ---    10      1     ---    10      1
  Consumer in-store trials                         ---    5     ---    ---     9      2     ---    10      1
  Consumer online ratings                          ---    5     ---    ---     9      2     ---     9      2
  Delivery terms                                    1     4     ---     1      8      2      1      8      2
  Delivery time                                     2     3     ---     4      5      2      3      6      2
  Direct-to-consumer delivery                      ---    4      1      1      6      4      1      5      5
  Discounts offered                                ---    5     ---    ---     9      2     ---     9      2
  Foam density                                     ---    5     ---    ---    10      1     ---    10      1
  Foam type                                        ---    5     ---    ---    10      1     ---    10      1
  Minimum quantity requirements                    ---    5     ---    ---    10      1     ---    11     ---
  Online sales                                     ---    4      1     ---     7      4      1      6      4
  Packaging (i.e., MiBs or flat-packed
  mattresses)                                      ---    4      1     ---     8      3     ---     8      3
  Payment terms                                     1     4     ---     2      7      1      2      8      1
  Price                                            ---    3      2      1      7      3      1      7      3
  Product consistency                              ---    4      1     ---     9      2     ---     9      2
  Product range                                    ---    5     ---    ---    10      1     ---     9      2
  Quality meets industry standards                 ---    5     ---    ---     9      2     ---    10      1
  Quality exceeds industry standards               ---    5     ---    ---     7      3     ---     8      2
  Reliability of supply                             1     3      1      1      6      4      1      7      3
  Spring quantity                                  ---    5     ---    ---    10      1     ---    10      1
  Spring type                                      ---    5     ---    ---    10      1     ---    10      1
  Technical support/service                        ---    4      1     ---     7      4     ---     6      4
  U.S. transportation costs                         1     4     ---     1      8      2      2      7      1
Note: A rating of superior means that price/U.S. transportation cost is generally lower. For example, if a
firm reported “U.S. superior,” it meant that the U.S. product was generally priced lower than the imported
product.

Note: S=first listed country’s product is superior; C=both countries’ products are comparable; I=first list
country’s product is inferior.

Source: Compiled from data submitted in response to Commission questionnaires.

ComparisonofU.S.Ͳproducedandimportedmattresses
        InordertodeterminewhetherU.S.Ͳproducedmattressescangenerallybeusedinthe
sameapplicationsasimportsfromsubjectandnonsubjectcountries,U.S.producers,importers,
andpurchaserswereaskedwhethertheproductscanalways,frequently,sometimes,ornever
beusedinterchangeably.AsshownintableIIͲ15,majoritiesofU.S.producersdescribedU.S.
productandimportsasalwaysinterchangeable,whilemajoritiesofimportersandpurchasers
describedallcomparisonsasalwaysorfrequentlyinterchangeable.



                                                  IIͲ38
                                              Appx14852
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Table II-15
Mattresses: Interchangeability between mattresses produced in the United States and in other
countries, by country pair
                                    Number of U.S.           Number of U.S.            Number of
            Country pair          producers reporting      importers reporting    purchasers reporting
                                  A     F     S        N   A    F     S     N     A     F     S     N
 U.S. vs. subject countries:
  U.S. vs. Cambodia               18    6     1        1   6    3     4     ---   4     3     1    ---
  U.S. vs. China                  18    6     1        1   9    10    16     1    6     6     3     1
  U.S. vs. Indonesia              18    6     1        1   6    4     4     ---   4     2     1    ---
  U.S. vs. Malaysia               18    6    ---       2   6    6     6     ---   3     2     1    ---
  U.S. vs. Serbia                 17    6    ---       2   6    3     2     ---   4     3    ---   ---
  U.S. vs. Thailand               18    6     1        1   7    4     6     ---   4     4     1    ---
  U.S. vs. Turkey                 17    6    ---       1   6    3     1     ---   4     2    ---   ---
  U.S. vs. Vietnam                18    6     1        1   8    10    11     3    4     5     3     1
 Subject countries comparisons:
  Cambodia vs. China              15    5     1        1   5    3      4    ---   3     3     1    ---
  Cambodia vs. Indonesia          15    5     1        1   5    3      2    ---   3     2     1    ---
  Cambodia vs. Malaysia           15    5    ---       1   5    3      1    ---   3     2    ---   ---
  Cambodia vs. Serbia             15    5    ---       1   5    3      1    ---   3     3    ---    1
  Cambodia vs. Thailand           15    5     1        1   6    3      4    ---   3     3     1    ---
  Cambodia vs. Turkey             15    5    ---       1   5    3      1    ---   3     2    ---   ---
  Cambodia vs. Vietnam            15    5     1        1   6    3      4    ---   3     3     1    ---
  China vs. Indonesia             15    5     1        1   5    4      5    ---   3     3     1     1
  China vs. Malaysia              15    5    ---       1   6    4      5    ---   3     2     1    ---
  China vs. Serbia                15    5    ---       1   5    3      3    ---   3     4    ---   ---
  China vs. Thailand              15    5     1        1   7    4      7    ---   3     4     1    ---
  China vs. Turkey                15    5    ---       1   5    3      2    ---   3     2    ---   ---
  China vs. Vietnam               15    5     1        1   7    7     10    ---   4     4     2    ---
  Indonesia vs. Malaysia          15    5    ---       1   5    4     ---   ---   3     2    ---   ---
  Indonesia vs. Serbia            15    5    ---       1   5    3      3    ---   3     2    ---   ---
  Indonesia vs. Thailand          15    5     1        1   6    4      4    ---   3     2     1    ---
  Indonesia vs. Turkey            15    5    ---       1   5    3      2    ---   3     2    ---   ---
  Indonesia vs. Vietnam           15    5     1        2   6    4      4    ---   3     2     1     1
  Malaysia vs. Serbia             15    5    ---       1   5    3     ---   ---   3     1    ---   ---
  Malaysia vs. Thailand           15    5    ---       1   7    4      2    ---   3     2    ---   ---
  Malaysia vs. Turkey             15    5    ---       1   5    3      1    ---   3     2    ---   ---
  Malaysia vs. Vietnam            15    5    ---       1   8    4      3    ---   3     2     1    ---
  Serbia vs. Thailand             15    5    ---       1   6    3     ---   ---   3     3    ---   ---
  Serbia vs. Turkey               15    5    ---       1   5    3      1    ---   3     2    ---   ---
  Serbia vs. Vietnam              15    5    ---       1   6    3      2    ---   3     3    ---   ---
  Thailand vs. Turkey             15    5    ---       1   5    3     ---   ---   3     2    ---   ---
  Thailand vs. Vietnam            15    5     1        1   7    3      3    ---   3     3     1    ---
  Turkey vs. Vietnam              15    5    ---       1   6    3     ---   ---   3     2    ---   ---
Table continued on next page.




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Table II-15—Continued.
Mattresses: Interchangeability between mattresses produced in the United States and in other
countries, by country pair
                                      Number of U.S.         Number of U.S.            Number of
           Country pair             producers reporting    importers reporting    purchasers reporting
                                    A    F      S     N    A    F      S     N    A     F     S     N
 Nonsubject countries
 comparisons:
  U.S. vs. nonsubject             14    6     1   1        7    6      6    ---   4     5     2    ---
  Cambodia vs. nonsubject         12    5     1   1        4    3      5    ---   3     3     1    ---
  China vs. nonsubject            12    5     1   1        5    4      6    ---   4     4     2    ---
  Indonesia vs. nonsubject        12    5     1   1        4    3      4    ---   3     2     1     1
  Malaysia vs. nonsubject         12    5    ---  1        4    3      3    ---   3     2     1    ---
  Serbia vs. nonsubject           12    5    ---  1        4    3      2    ---   3     3    ---   ---
  Thailand vs. nonsubject         12    5     1   1        4    3      5    ---   3     3     1    ---
  Turkey vs. nonsubject           12    5    ---  1        5    2      2    ---   3     2    ---   ---
  Vietnam vs. nonsubject          12    5    ---  1        4    5     ---   ---   3     3    ---   ---
Note: A=Always, F=Frequently, S=Sometimes, N=Never.

Source: Compiled from data submitted in response to Commission questionnaires.

       Inadditionalcomments,importers***statedthatU.S.andVietnameseproductare
neverinterchangeablebecausethesizesaredifferent.Importer***describedqualityasa
differentiatingfactorbetweenU.S.productandsubjectimports.Importer***statedthat
mattressesaresometimesinterchangeableunlessspecificmaterialsnotavailablefromU.S.
producersarerequired.Importer***statedthatU.S.Ͳproducedmattresseshadqualityand
warrantyissuesthatproductfromChinaandVietnamdidnothave.Importer***statedthat
the***mattressesitrequiredwerenotavailablefromU.S.producers,dueto***andcapacity
constraints.ItcontinuedthatproductfromChinaandMalaysiadidcomplywithregulations.
Importers***describedMiBsasnotinterchangeablewithtraditionalflatͲpackedmattresses
becauseoftransportationandlogisticsissues.Importer***describedimportedmattressesas
sometimeshavingadvantages,suchasherbalinfusionintofoam,overU.S.product.Importer
***statedthatthepackagingofChineseandVietnamesemattressesmadethemsmallerand
easiertotransport.***describedinterchangeabilityaslimitedbymanufacturercapabilities,
thecostoflocalmaterials,andthecapabilitiesoflabor.Importer***statedthatitslongͲterm
partnershipswithsuppliersmakeitdifficultforittoswitchamongsupplysources.***stated
thatconsumersdonotseeimportedMiBsasinterchangeablewithdomesticflatͲpacked
mattresses.
                              




                                             IIͲ40
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       AscanbeseenfromtableIIͲ16,amongpurchasersthatknewwhethermattressesfrom
differentsourcesmetminimumqualityspecifications,amajoritystatedthatU.S.andimported
mattressesalwaysorusuallydidso.Whendescribingothersources,purchaserslistedthese
sourcesasBulgaria,Canada,India,Italy,Kosovo,Mexico,Spain,andTaiwan.

Table II-16
Mattresses: Ability to meet minimum quality specifications, by source
       Source               Always               Usually        Sometimes          Rarely or never
 United States                  7                    9              3                     1
 Cambodia                      2                     2              2                     1
 China                         7                     6              1                     1
 Indonesia                     2                     2              1                     1
 Malaysia                      1                     2              1                     1
 Serbia                        1                     3             ---                    1
 Thailand                      2                     3             ---                    1
 Turkey                        1                     3             ---                    1
 Vietnam                       6                     4              1                     1
 Other sources                 5                    ---             2                     1
Note: Purchasers were asked how often domestically produced or imported mattresses meets minimum
quality specifications for their own or their customers’ uses.

Source: Compiled from data submitted in response to Commission questionnaires.

       Inaddition,U.S.producers,importers,andpurchaserswereaskedtoassesshowoften
differencesotherthanpriceweresignificantinsalesofmattressesfromtheUnitedStates,
subject,ornonsubjectcountries.AsseenintableIIͲ17,majoritiesofU.S.producersindicated
thatdifferencesotherthanpricewereneversignificantinchoosingbetweenU.S.mattresses
andimportsfromeachsubjectcountry.However,importersandpurchasershadvarying
responsesdependingoncomparison,generallyindicatingthatdifferencesotherthanprice
werealways,frequently,orsometimesimportant.




                                             IIͲ41
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Table II-17
Mattresses: Significance of differences other than price between mattresses produced in the
United States and in other countries, by country pair
                                    Number of U.S.             Number of U.S.           Number of
            Country pair          producers reporting        importers reporting   purchasers reporting
                                   A    F       S       N    A    F     S     N    A     F     S     N
 U.S. vs. subject countries:
  U.S. vs. Cambodia                3    1       8       13   5    2     4     3    3     2     1     2
  U.S. vs. China                   3    1       8       13   10   8     12    6    5     5     3     4
  U.S. vs. Indonesia               3    1       8       13   5    4     4     2    3     1     1     2
  U.S. vs. Malaysia                2    1       8       13   5    4     5     4    2    ---    2     2
  U.S. vs. Serbia                  2    2       6       13   4    2     3     2    2     2     1     2
  U.S. vs. Thailand                2    1       8       13   6    3     6     3    3     2     1     2
  U.S. vs. Turkey                  2    1       7       13   4    2     2     2    2     1     1     2
  U.S. vs. Vietnam                 3    1       8       13   7    8     11    5    4     2     3     4
 Subject countries comparisons:
  Cambodia vs. China               2     1      3       12   3    2     5     2    3     1     1     2
  Cambodia vs. Indonesia           2     1      3       12   3    2     3     2    3    ---    1     2
  Cambodia vs. Malaysia            1     1      3       12   2    2     3     2    2    ---    1     2
  Cambodia vs. Serbia              1     1      3       12   2    2     3     2    2     1     1     2
  Cambodia vs. Thailand            1     1      3       12   3    2     5     2    3     1     1     2
  Cambodia vs. Turkey              1     1      3       12   2    2     3     2    2    ---    1     2
  Cambodia vs. Vietnam             2     1      3       12   3    2     5     2    3     1     1     2
  China vs. Indonesia              2     1      3       12   4    4     5     2    3    ---    1     2
  China vs. Malaysia               1     1      3       12   3    3     8     2    2    ---    2     2
  China vs. Serbia                 1     1      3       12   3    2     4     2    2     1     1     2
  China vs. Thailand               1     1      3       12   4    2     9     2    3     1     1     2
  China vs. Turkey                 1     1      3       12   3    2     3     2    2    ---    1     2
  China vs. Vietnam                2     1      3       12   4    3     13    3    3     1     3     3
  Indonesia vs. Malaysia           1     1      3       12   2    3     5     2    2    ---    1     2
  Indonesia vs. Serbia             1     1      3       12   2    2     4     2    2    ---    1     2
  Indonesia vs. Thailand           1     1      3       12   3    2     5     2    3    ---    1     2
  Indonesia vs. Turkey             1     1      3       12   2    2     3     2    2    ---    1     2
  Indonesia vs. Vietnam            2     1      3       12   3    2     4     2    3    ---    1     2
  Malaysia vs. Serbia              2    ---     3       12   2    2     4     2    2    ---    1     2
  Malaysia vs. Thailand            1     1      3       12   2    2     6     2    2    ---    1     2
  Malaysia vs. Turkey              1     1      3       12   2    2     3     2    2    ---    1     2
  Malaysia vs. Vietnam             1     1      3       12   2    2     8     2    2    ---    2     2
  Serbia vs. Thailand              1     1      3       12   2    2     4     2    2     1     1     2
  Serbia vs. Turkey                1     1      3       12   2    2     3     2    2    ---    1     2
  Serbia vs. Vietnam               1     1      3       12   2    2     4     2    2     1     1     2
  Thailand vs. Turkey              1     1      3       12   2    2     3     2    2    ---    1     2
  Thailand vs. Vietnam             2     1      3       12   3    2     7     2    3     1     1     2
  Turkey vs. Vietnam               1     1      3       12   2    2     4     2    2    ---    1     2
Table continued on next page.




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Table II-17—Continued.
Mattresses: Significance of differences other than price between mattresses produced in the
United States and in other countries, by country pair
                                      Number of U.S.        Number of U.S.            Number of
           Country pair             producers reporting   importers reporting    purchasers reporting
                                    A    F      S     N   A    F      S     N    A     F     S     N
 Nonsubject countries
 comparisons:
  U.S. vs. nonsubject             3     1    6   11       5     5     7    2     3     2       3   3
  Cambodia vs. nonsubject         2     1    3   10       4     2     4    2     3     1       1   2
  China vs. nonsubject            2     1    3   10       4     4     7    2     3     1       2   3
  Indonesia vs. nonsubject        2     1    3   10       4     3     2    2     3    ---      1   2
  Malaysia vs. nonsubject         1     1    3   10       3     3     3    2     2    ---      2   2
  Serbia vs. nonsubject           1     1    3   10       3     2     2    2     2     1       1   2
  Thailand vs. nonsubject         2     1    3   10       4     2     4    2     3     1       1   2
  Turkey vs. nonsubject           1     1    3   10       3     2     2    2     3    ---      1   2
  Vietnam vs. nonsubject          2     1    3   10       4     3     5    2     3     1       2   3
Note: A=Always, F=Frequently, S=Sometimes, N=Never.

Source: Compiled from data submitted in response to Commission questionnaires.

       Inadditionalcomments,importersandpurchasersdescribednonͲpricefactorsincluding
quality,features,availability,packaging,productrange,paymentterms,anddeliveryoptionsas
importantfactorsincomparingmattressesfromdifferentsources.Sevenimportersindicated
thatsubjectimports(especiallyfromChinaand/orVietnam)weresuperiortoproductfromthe
UnitedStates,describingimportedmattressesassuperiortoU.S.mattressesintermsof
quality,design,packaging,durability,reliability,and/orcommunication.However,importer***
statedthatdeliverytimesfromU.S.supplierswereshorterthanthosefromVietnamese
suppliers.Additionally,***statedthatimportantnonͲpricefactorsincludetheabilityto
produceMiBstoproperspecifications,theabilitytoproducemultipletypesofMiBs,andthe
abilitytoincreaseproductionquickly(flexibility)forpromotionalperiods.Purchaser***stated
thatU.S.productissuperiortothatofChinaintermsofquality,leadtimes,bulkpurchase
requirements,transittimes,andtechnicalsupport.

Elasticityestimates
       Thissectiondiscusseselasticityestimates;partieswereencouragedtocommenton
theseestimatesintheirbriefs.Theircommentsarediscussedbelow.
                              




                                             IIͲ43
                                          Appx14857
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                                                     


U.S.supplyelasticity
        Thedomesticsupplyelasticityformattressesmeasuresthesensitivityofthequantity
suppliedbyU.S.producerstochangesintheU.S.marketpriceofmattresses.Theelasticityof
domesticsupplydependsonseveralfactorsincludingthelevelofexcesscapacity,theeasewith
whichproducerscanaltercapacity,producers’abilitytoshifttoproductionofotherproducts,
theexistenceofinventories,andtheavailabilityofalternatemarketsforU.S.Ͳproduced
mattresses.AnalysisofthesefactorsaboveindicatesthattheU.S.industryhassomeabilityto
increaseordecreaseshipmentstotheU.S.market;anestimateintherangeof2to5is
suggested.27

U.S.demandelasticity
        TheU.S.demandelasticityformattressesmeasuresthesensitivityoftheoverall
quantitydemandedtoachangeintheU.S.marketpriceofmattresses.Thisestimatedepends
onfactorsdiscussedabovesuchastheexistence,availability,andcommercialviabilityof
substituteproducts,aswellasthecomponentshareofthemattressesintheproductionofany
downstreamproducts.Basedontheavailableinformation,theaggregatedemandfor
mattressesislikelytobemoderatelyinelastic;arangeofͲ0.25toͲ0.75issuggested.While
therearelimitedviablesubstitutesformattresses,whichwouldindicatealowerlevelof
demandelasticity,thevariabilityofproducts’lifeͲspansmaytemperthisdegreeof(in)elasticity.

Substitutionelasticity
        Theelasticityofsubstitutiondependsupontheextentofproductdifferentiation
betweenthedomesticandimportedproducts.28Productdifferentiation,inturn,dependsupon
suchfactorsasquality(e.g.,chemistry,appearance,etc.)andconditionsofsale(e.g.,
availability,salesterms/discounts/promotions,etc.).Basedonavailableinformation,the
elasticityofsubstitutionbetweenU.S.Ͳproducedmattressesandimportedmattressesislikely



   27
     Thisrangehasbeenadjusteddownwardsomewhatfromtheprehearingreporttoreflectjoint
respondents’pointsthattheavailabilityofrawmaterialsandtheproductioninterchangeabilityofFPMs
andMiBsmaysomewhatconstrainU.S.supplyresponsiveness.Seejointrespondents’prehearingbrief,
pp.32Ͳ36.
   28
     ThesubstitutionelasticitymeasurestheresponsivenessoftherelativeU.S.consumptionlevelsof
thesubjectimportsandthedomesticlikeproductstochangesintheirrelativeprices.Thisreflectshow
easilypurchasersswitchfromtheU.S.producttothesubjectproducts(orviceversa)whenprices
change.



                                                IIͲ44
                                            Appx14858
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                                                  


tobeintherangeof3to6,dependingonissuessuchasavailabilityofspecificproducts,the
importanceofanyperceiveddifferencesinsupplychainreliability,andleadtimes.




                                              IIͲ45
                                          Appx14859
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                               Appx14860
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                                                     


PartIII: U.S.producers’production,shipments,and
employment
         TheCommissionanalyzesanumberoffactorsinmakinginjurydeterminations(see19
U.S.C.§§1677(7)(B)and1677(7)(C)).Informationonthesubsidiesanddumpingmarginswas
presentedinPartIofthisreportandinformationonthevolumeandpricingofimportsofthe
subjectmerchandiseispresentedinPartIVandPartV.Informationontheotherfactors
specifiedispresentedinthissectionand/orPartVIand(exceptasnoted)isbasedonthe
questionnaireresponsesof53firmsthataccountedforthevastmajorityofU.S.productionof
mattressesduring2019.

U.S.producers
         TheCommissionissuedaU.S.producerquestionnairetoalmost300firmsforwhich
validcontactinformationwasobtainedbasedoninformationcontainedinthepetitions,inthe
Commission’srecentinvestigationonmattressesfromChina,andinthepreliminaryphaseof
theseinvestigations.FiftyͲthreefirmsprovidedusableandtimelydataontheiroperations.1
                               




                                

     1
    Anumberofthe53respondingU.S.producersprovidedusabledatainthetradesectionofthe
questionnairebutdidnotprovideusabledatainthefinancialorpricingsections.Thefollowing10
additionalfirmssubmittedunusableand/oruntimelyresponsestotheCommission’sU.S.producers’
questionnaireandthusarenotincorporatedintotheaggregatedatapresentationsinthisreport,unless
otherwisenoted:***.Theseadditional10firmstogetherproduced***mattressesin2019(equivalent
toalmost***percentofreportedU.S.mattressproduction).


                                                IIIͲ1
                                            Appx14861
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                                                     

         TableIIIͲ1listsU.S.producersofmattresses,theirproductionlocations,positionsonthe
petitions,andsharesoftotalreportedmattressproduction.***isthelargestU.S.producerof
mattresses,accountingfor***percentoftotaldomesticmattressproductionin2019,followed
by***,accountingfor***percentofthetotal.Alsopresentedinthetablearethesharesof
totalmattressproductionheldbyU.S.producers,andshareofproductionbytypeofmattress
packaging(i.e.,mattressͲinͲaͲbox(“MiB”)versusflatͲpackedmattresses(“FPM”).2***are
similarlythelargestU.S.producersofFPMs,accountingfor***percentand***percentof
totaldomesticFPMproductionin2019,respectively.***isthelargestU.S.producerofMiBs,
accountingfor***percentoftotalMiBdomesticmattressproductionin2019,followedby***,
accountingfor***percentoftheMiBtotal.
         MorethanoneͲhalf(29of53)ofrespondingU.S.producers,representing***percentof
reportedU.S.productionofmattressesin2019,indicatedthattheywereinsupport,inwhole
orinpart,ofthepetitions.MorethanoneͲthird(20of53)ofU.S.producers(***),collectively
representing***percentofreportedU.S.productionofmattressesin2019,indicatedthatthey
hadnopositiononthepetitions.ThreeU.S.producers,representing***percentofU.S.
production,reportedthattheywereopposedtothepetitionsandoneU.S.producer,
representing***percentofU.S.production,didnotindicateitspositiononthepetitions.3




                                

     2
     Forpurposesofthetablespresentedthroughoutthisreport,“MiBs”aremattressesofanysize,
withorwithoutinnersprings,thatarerolledandcompressed,whetherornotfurtherpackagedinplastic
orotherpackagingmaterialfordeliveryinthecompressedstatetotheultimateconsumerpurchaser.
Thesemattressesmaybereferredtointheindustrybyavarietyofnames,including“mattressesina
box,”“MiBs,”or“bedinabox.”Forpurposesoftablepresentationthroughoutthisreport,“FPMs”are
allmattressesnotcoveredbythedefinitionofMiBsabove.Theyincludemattressesofanysize,withor
withoutinnersprings,thatarenotbothrolledandcompressedfordeliverytotheultimateconsumerina
compressedstate.
    3
     Ofthe10additionalU.S.producersofmattressesthatsubmittedwhollyunusableand/oruntimely
responses,5firms,togetheraccountingfor***percentof2019U.S.production,indicatedthatthey
wereinsupport,inwholeorinpart,ofthepetitions,4firms,togetheraccountingfor***percentof
2019U.S.production,indicatedthattheyhadnopositiononthepetitions,and1firm(***),accounting
for***percentof2019U.S.production,indicatedthatitwasopposedtothepetitionsconcerning***,
anddidnotindicateitspositiononthepetitionsconcerning***.


                                                IIIͲ2
                                            Appx14862
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                                                   

Table III-1
Mattresses: U.S. producers, their position on the petitions, location of production, and share of
reported production, 2019
                                                                              Share of    Share of
                                                                  Share of      MiB        FPM
                                                Production      production production production
       Firm         Position on petition         location(s)     (percent) (percent) (percent)
 Acme                       ***              Norton Shores, MI            ***        ***         ***
 American                   ***              Athens, TN                   ***        ***         ***
 APPF                       ***              Garden Grove, CA             ***        ***         ***
                                             Verona, MS
                                             Advance, NC
 Ashley                     ***              Saltillo, MS                 ***        ***         ***
 AW Industries              ***              Hyattsville, MD              ***        ***         ***
 Brooklyn                Petitioner          Phoenix, AZ                  ***        ***         ***
 Capital                    ***             Verona, MS                    ***        ***         ***
                                             Conover, NC
                                             Temple, TX
                                             Elkhart, IN
                                             Riverside, CA
                                             Lakeland, FL
 Carpenter                  ***              Fogelsville, PA              ***        ***         ***
 Comfort                    ***              Belmont, MS                  ***        ***         ***
                                             Corsicana, TX
                                             Shelbyville, TN
                                             Aurora, IL
                                             Glendale, AZ
                                             Bartow, FL
                                             Winlock, WA
                                             Greensboro, NC
                                             Newington, CT
 Corsicana               Petitioner          Michigan City, IN            ***        ***         ***
 Dreamland                  ***             Haleyville, AL                ***        ***         ***
                                             Americus, GA
                                             Newnan, GA
                                             Conover, NC
                                             Fort Smith, AR
                                             Verona, MS
 Elite                   Petitioner          Ontario, CA                  ***        ***         ***
 England                    ***              New Tazewell, TN             ***        ***         ***
 Estee                      ***              Chicago, IL                  ***        ***         ***
Table continued on next page.




                                              IIIͲ3
                                          Appx14863
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                                                   

Table III-1--Continued
Mattresses: U.S. producers, their position on the petitions, location of production, and share of
reported production, 2019
                                                                             Share of     Share of
                                                                 Share of      MiB         FPM
                                                 Production     production production production
          Firm          Position on petition     location(s)     (percent)   (percent)   (percent)
 Everton                         ***         Filer, ID                   ***         ***         ***
                                             Middleton, WI
                                             Dallas, TX
                                             Archdale, NC
                                             Council Bluffs, IA
                                             Fullerton, CA
 Future Foam                     ***         Newton, KS                  ***         ***         ***
                                             Auburn, IN
 FXI                          Petitioner     Portland, OR                ***         ***         ***
 Hawn                            ***         Lees Summit, MO             ***         ***         ***
 Heritage                        ***         Orwell, OH                  ***         ***         ***
 Holder                          ***         Kokomo, IN                  ***         ***         ***
                                             West Chicago, IL
 Innocor                      Petitioner     Baldwyn, MS                 ***         ***         ***
                                             Webster, MA
                                             Woodstock, CT
                                             Millbury, MA
 Jeffco                          ***         Worcester, MA               ***         ***         ***
 Justice                         ***         Lebanon, MO                 ***         ***         ***
 Kolcraft                     Petitioner     Aberdeen, NC                ***         ***         ***
 Leggett & Platt              Petitioner     Tupelo, MS                  ***         ***         ***
 Leisure                         ***         Boise, ID                   ***         ***         ***
 Lions                           ***         Morristown, TN              ***         ***         ***
                                             Goshen, IN
 Lippert                         ***         Nampa, ID                   ***         ***         ***
 Mark's Mattress                 ***         Evansville, IN              ***         ***         ***
 Mattress Mill                   ***         Bozeman, MT                 ***         ***         ***
 McKinney                        ***         Springfield, MO             ***         ***         ***
 Midwest Sleep                   ***         Toledo, IA                  ***         ***         ***
 Old West                        ***         Aurora, CO                  ***         ***         ***
 Pennsylvania                    ***         Old Forge, PA               ***         ***         ***
 Pittsburgh                      ***         Ellenton, FL                ***         ***         ***
 Portland Mattress               ***         Biddeford, ME               ***         ***         ***
 Prestige                        ***         Asheboro, NC                ***         ***         ***
 Purple                          ***         Lehi, UT                    ***         ***         ***
 Rest Assured                    ***         Rochester MN                ***         ***         ***
Table continued on next page.




                                              IIIͲ4
                                          Appx14864
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                                                   

Table III-1—Continued
Mattresses: U.S. producers, their position on the petitions, location of production, and share of
reported production, 2019
                                                                             Share of     Share of
                                                                 Share of      MiB         FPM
                         Position on           Production       production production production
          Firm             petition            location(s)       (percent)   (percent)   (percent)
 Restwell                     ***       Eden Prairie, MN                 ***         ***         ***
 Royal-Pedic                  ***       Wilmington, CA                   ***         ***         ***
 Salt Lake                    ***       Salt Lake City, UT               ***         ***         ***
 Serenity                     ***       Haleyville, AL                   ***         ***         ***
 Serta Restokraft             ***       Romulus, MI                      ***         ***         ***
                                        Doraville, GA
                                        Phoenix, AZ
                                        Aurora, CO
                                        Tolleson, AZ
                                        Moreno Valley, CA
                                        Kapolei, HI
                                        Puyallup, WA
                                        West Coxsackie, NY
                                        Fredericksburg, VA
                                        Hazleton, PA
                                        Windsor Locks, CT
                                        Jamestown, NY
                                        Beloit, WI
                                        Monroe, OH
                                        Clear Lake, IA
                                        Janesville, WI
                                        Riviera Beach, FL
                                        Cullman, AL
                                        Charlotte, NC
                                        Trujillo Alto, PR
                                        Grovetown, GA
                                        Waycross, GA
                                        Houston, TX
 Serta Simmons                ***       Shawnee Mission, KS              ***         ***         ***
                                        Orlando, FL
                                        Carrollton, TX
                                        Walton, KY
 Sherwood                     ***       Tolleson, AZ                     ***         ***         ***
 Sleepworthy                  ***       Pinetops, NC                     ***         ***         ***
                                        Columbus OH
                                        Tampa FL
                                        Gallatin TN
                                        Mt Pocono PA
 Solstice                     ***       Hutchins TX                      ***         ***         ***
                                        Richmond, VA
                                        Reading, PA
                                        Jasper, AL
                                        Orlando, FL
                                        Watertown, WI
 Symbol                       ***       Olive Branch, MS                 ***         ***         ***
Table continued on next page.




                                              IIIͲ5
                                          Appx14865
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                                                      

Table III-1—Continued
Mattresses: U.S. producers, their position on the petitions, location of production, and share of
reported production, 2019
                                                                                 Share of     Share of
                                                                   Share of         MiB          FPM
                                                  Production      production production production
          Firm          Position on petition      location(s)      (percent)     (percent)    (percent)
                                               Phoenix, AZ
                                               Richmond, CA
                                               Aurora, CO
                                               Orlando, FL
                                               Conyers, GA
 Tempur Sealy                   ***            Plainfield, IL              ***           ***          ***
 Therapedic                     ***            Brockton, MA                ***           ***          ***
 Upper Midwest                  ***            Grand Forks, ND             ***           ***          ***
 Yankee                         ***            Agawam, MA                  ***           ***          ***
   Producers in
   support, in whole
   or in part                    29                                        ***           ***          ***
   Producers in
   opposition, to all             3                                        ***           ***          ***
   Producers with no
   response                      1                                         ***           ***          ***
   Producers with no
   position                      20                                        ***           ***          ***
     All firms                   53                                        ***           ***          ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: Shading highlights firms holding the largest share of U.S. production. Dark shading identifies firms
that account for the largest share; medium shading identifies firms that account for the second largest
share; light shading identifies firms that account for the third largest share.

Source: Compiled from data submitted in response to Commission questionnaires.
                                




                                                 IIIͲ6
                                             Appx14866
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
         SertaSimmons,***,wasoneofthepetitionersintherecentlycompletedinvestigation
concerningChinabutisnotapetitionerinthesecurrentinvestigations.Thefirmreportedthat
it***.Itreportedinitsquestionnaireresponsethat“***.”
         TempurSealy,***,wasalsoapetitionerinthecompletedantidumpinginvestigation
concerningChinabutisnotapetitionerinthesecurrentinvestigations.Thefirmindicatedinits
responsetotheCommission’squestionnairethatit***intheseinvestigations.Inthe
preliminaryphaseoftheseinvestigations,itexplained***whyitchosenottojoinasa
petitionerasfollows:“***.”
         ***respondingU.S.mattressproducer(***)isrelatedtomattressproducersina
subjectcountry4and***respondingU.S.producers(***)arerelatedtoU.S.importersofthe
subjectmerchandise.5Inaddition,asdiscussedingreaterdetaillaterinthis
                                




                                 

     4
    Inthepreliminaryphaseoftheseinvestigations,***additionalrespondingU.S.producers(***)
werealsoidentifiedasbeingrelatedtomattressproducersinsubjectforeigncountries;however,
neitherU.S.producernortheirrelatedforeignproducersprovidedresponsestotheCommission’s
questionnairesinthefinalphaseoftheseinvestigations.***.***.***.
   5
    ***.


                                                IIIͲ7
                                            Appx14867
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                                                   

partofthereport,***U.S.producersdirectlyimportmattressesfromsubjectcountries.Table
IIIͲ2presentsinformationonU.S.producers’ownershipandrelatedand/oraffiliatedfirms.
        
Table III-2
Mattresses: U.S. producers’ ownership, related and/or affiliated firms
     Item / Firm                         Firm name                         Affiliated/Ownership
Ownership:
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
Related importers/exporters:
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
***                  ***                                                 ***
Table continued on next page.

                             




                                              IIIͲ8
                                          Appx14868
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                                                   

Table III-2—Continued
Mattresses: U.S. producers’ ownership, related and/or affiliated firms
    Item / Firm                          Firm name                         Affiliated/Ownership
Related producers:
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
***                 ***                                                ***
Source: Compiled from data submitted in response to Commission questionnaires.

        TableIIIͲ3presentsU.S.producers’reportedchangesinoperationssinceJanuary1,
2017.Inadditiontootherreportedchanges,severalfirmsreportedrelocations,expansions,
andacquisitionsthatincreasedtheirindividualfirms’capacityforMiBproductionrelativeto
productionofFPMs.Specifically,***.***.Inaddition,***.
                             




                                              IIIͲ9
                                          Appx14869
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                                                

***.***.
        
Table III-3
Mattresses: U.S. producers’ reported changes in operations, since January 1, 2017
    Item / Firm                          Reported changed in operations
Plant openings:
***                ***
***                ***
***                 ***
***                 ***
***                 ***
Plant closings:
***                 ***
***                 ***
***                 ***
Relocations:
***                 ***
***                 ***
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***                 ***
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Table III-3—Continued
Mattresses: U.S. producers’ reported changes in operations, since January 1, 2017
    Item / Firm                          Reported changed in operations
Expansions:
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
Acquisitions:
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
Table continued on next page.

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                                           IIIͲ11
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Table III-3—Continued
Mattresses: U.S. producers’ reported changes in operations, since January 1, 2017
    Item / Firm                          Reported changed in operations
Consolidations:
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
Prolonged shutdowns or curtailments:
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
Table continued on next page.




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                                        Appx14872
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Table III-3—Continued
Mattresses: U.S. producers’ reported changes in operations, since January 1, 2017
    Item / Firm                          Reported changed in operations
Prolonged shutdowns or curtailments--Continued
***                 ***
***                 ***
***                 ***
Revised labor agreements:
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
Table continued on next page.


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                                           IIIͲ13
                                        Appx14873
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Table III-3—Continued
Mattresses: U.S. producers’ reported changes in operations, since January 1, 2017
    Item / Firm                             Reported changed in operations
Other:
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
***                 ***
Source: Compiled from data submitted in response to Commission questionnaires.




                                           IIIͲ14
                                        Appx14874
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         U.S.producerswereaskedtoindicatewhetherornottheCOVIDͲ19pandemicorany
governmentactionstakentocontainthespreadoftheCOVIDͲ19virusresultedinchangesin
relationtotheirsupplychainarrangements,production,employment,andsalesrelatingto
mattresses.TenU.S.producersreportedthatnochangesrelatedtotheseareasresultedfrom
theCOVIDͲ19pandemicand43U.S.producersreportedthattheyhadexperiencedsuch
changes.U.S.producers’narrativeresponsestothisquestionarepresentedinappendixE(table
EͲ1).

U.S.production,capacity,andcapacityutilization
         TableIIIͲ4andfigureIIIͲ1presentU.S.producers’production,capacity,andcapacity
utilization.ThetopsixU.S.producersaccountedformorethantwoͲthirdsofreportedmattress
productioninduring2019.
         
Table III-4
Mattresses: U.S. producers' capacity, production, and capacity utilization, 2017-19, January to
September 2019, and January to September 2020
                                              Calendar year                January to September
                  Item              2017          2018         2019           2019        2020
                                                          Capacity (units)
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
   Top six firms in 2019                  ***           ***          ***           ***          ***
    All other firms                       ***           ***          ***           ***          ***
      All firms                  25,465,851 24,921,072 25,456,891 19,301,122 19,868,198
                                                         Production (units)
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
 ***                                      ***           ***          ***           ***          ***
   Top six firms in 2019                  ***           ***          ***           ***          ***
    All other firms                       ***           ***          ***           ***          ***
      All firms                  19,117,584 18,472,178 18,436,244 14,156,364 14,134,447
Table continued on next page.
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                                              IIIͲ15
                                           Appx14875
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Table III-4--Continued
Mattresses: U.S. producers' capacity, production, and capacity utilization, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year                  January to September
                  Item                  2017         2018           2019          2019          2020
                                                      Capacity utilization (percent)
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
   Top six firms in 2019                     ***           ***           ***            ***          ***
    All other firms                          ***           ***           ***            ***          ***
      All firms                            75.1           74.1         72.4            73.3         71.1
                                                      Share of production (percent)
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
 ***                                         ***           ***           ***            ***          ***
   Top six firms in 2019                     ***           ***           ***            ***          ***
    All other firms                          ***           ***           ***            ***          ***
      All firms                           100.0         100.0         100.0           100.0        100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                               IIIͲ16
                                            Appx14876
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Figure III-1
Mattresses: U.S. producers' capacity, production, and capacity utilization, 2017-19, January to
September 2019, and January to September 2020


                          30                                                                                        100.0
                                                                                                                    90.0
                          25
                                                                                                                    80.0
                                                                                                                    70.0
                          20
(millions of units)




                                                                                                                    60.0




                                                                                                                              (percent)
                                                                                                                                Ratio
     Quantity




                          15                                                                                        50.0
                                                                                                                    40.0
                          10
                                                                                                                    30.0
                                                                                                                    20.0
                          5
                                                                                                                    10.0
                          0                                                                                         0.0
                                    2017              2018           2019              2019            2020
                                              Calendar year                           January to September


                               Capacity (left-axis)          Production (left-axis)           Capacity utilization (right-axis)


Source: Compiled from data submitted in response to Commission questionnaires.

                      
                      TherespondingU.S.producers’aggregateannualproductioncapacitydecreasedby2.1
percentfrom2017to2018butincreasedby2.2percentfrom2018to2019toalevelonly
marginallylowerthanreportedin2017.RespondingU.S.producers’annualcapacitywas2.9
percenthigherduringJanuaryͲSeptember(“interim”)2020thanininterim2019.Althougha
substantialnumberofU.S.producers(24outof53)reportedanincreaseincapacityfrom2017
to2019,(includingthreeofthefivelargestproducers),thesefirms’increasesinproduction
capacitywerebalancedbydecreasesincapacityreportedby***.Accordingto***,the
decreaseinitsproductioncapacitywasdueto***
                                                     




                                                                     IIIͲ17
                                                                  Appx14877
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***.6Thedecreasein***productioncapacitywasattributedto***.
         TheU.S.productionofmattressesdeclinedby3.4percentfrom2017to2018andby0.2
percentfrom2018to2019,toalevel3.6percentlowerthanin2017,andwas0.2percent
lowerininterim2020comparedwithinterim2019.Amajority(33of53)oftherespondingU.S.
producersofmattressesreportedlowerproductionin2019thanin2017.7U.S.producers’
averagecapacityutilizationdecreasedfrom75.1percentin2017to74.1percentin2018andto
72.4percentin2019.Capacityutilizationwaslowerininterim2020at71.1percentcompared
withinterim2019,at73.3percent.

U.S.productionandcapacitybypackagingtype
         TableIIIͲ5presentsU.S.producers’production,capacity,andcapacityutilizationby
packagingtype(i.e.,MiBversusFPM).Ofthe53U.S.mattressproducersthatprovidedusable
responsestotheCommission’squestionnaire,46firmsreportedproductionofFPMsatany
pointsinceJanuary1,2017and21reportedproductionofMiBs.U.S.productionofMiBs
increasedby133.2percentfrom2017to2019,whileU.S.productionofFPMsdeclinedby16.1
percentoverthesameperiod.U.S.productionofMiBswashigherininterim2020compared
withinterim2019,whereasU.S.productionofFPMswaslower.TrendsinthecapacityofU.S.
producerstoproduceMiBsandFPMsweresimilartoproductiontrends.AlthoughMiBs
representedonly8.4percentoftotalU.S.productionofmattressesin2017,theshareoftotal
U.S.mattressproductionrepresentedbyMiBsincreasedto20.3percentin2019.Theshareof
totalU.S.mattressproductionrepresentedbyMiBswasalsohigherininterim2020at22.9
percent,thanininterim2019.***accountedforthelargestshareoftheincreaseinMiB
production.***accountedforthelargestshareofthedecreaseinFPMproduction.
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                                 
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     6
     ***.***reportedthat“***.”
     7
     ***accountedforthe***ofthedecreaseduringthisperiod.


                                                IIIͲ18
                                             Appx14878
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Table III-5
Mattresses: U.S. producers' capacity and production by packaging type, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                  January to September
            Item                 2017           2018           2019          2019         2020
                                                          Quantity (units)
MiB capacity                     2,811,715      3,704,635      6,220,228    4,378,578    6,505,381
MiB production                   1,607,769      2,295,300      3,749,485    2,831,947    3,237,319
                                                   Ratios and shares (percent)
MiB capacity utilization               57.2          62.0           60.3          64.7         49.8
                                                          Quantity (units)
FPM capacity                    22,654,136     21,216,437     19,236,663   14,922,544   13,362,817
FPM production                  17,509,815     16,176,878     14,686,759   11,324,417   10,897,128
                                                   Ratios and shares (percent)
FPM capacity utilization               77.3          76.2           76.3          75.9         81.5
                                            Share of all mattress production (percent)
MiB production                          8.4          12.4           20.3          20.0         22.9
FPM production                         91.6          87.6           79.7          80.0         77.1
All mattress production              100.0          100.0          100.0         100.0       100.0
Note: MiB = mattress-in-a-box; FPM = flat-packed mattress.

Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                                IIIͲ19
                                            Appx14879
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Alternativeproducts
        AsshownintableIIIͲ6,mattressesaccountedforgreaterthan90.0percentofthetotal
productiononsharedequipmentineachfullyearduring2017Ͳ19andduringinterim2019and
interim2020.AlmostoneͲthird(17of53)ofrespondingU.S.producersreportedtheproduction
ofoutͲofͲscopemerchandiseonthesamemachineryusedtoproducemattresses.Inadditionto
theproductionofmattresses,theseU.S.producersalsoproduced***onsharedequipment.

Table III-6
Mattresses: U.S. producers' overall capacity and production on the same equipment as subject
production, 2017-19, January to September 2019, and January to September 2020
                                                   Calendar year                January to September
                 Item                      2017         2018        2019          2019           2020
                                                               Quantity (units)
Overall capacity                         26,626,102 26,294,179 26,967,061 20,410,632 20,901,923
Production:
  Mattresses                             19,117,584 18,472,178 18,436,244 14,156,364 14,134,447
  Out-of-scope production                   922,847 1,311,055 1,297,838            977,095        979,125
       Total production on same
       machinery                         20,040,431 19,783,233 19,734,082 15,133,459 15,113,572
                                                        Ratios and shares (percent)
Overall capacity utilization                   75.3        75.2         73.2           74.1          72.3
Share of production:
  Mattresses                                   95.4        93.4         93.4           93.5          93.5
  Out-of-scope production                        4.6         6.6          6.6           6.5            6.5
       Total production on same
       machinery                              100.0       100.0        100.0          100.0         100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.



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                                                IIIͲ20
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U.S.producers’U.S.shipmentsandexports
         TableIIIͲ7presentsU.S.producers’U.S.shipments,8exportshipments,andtotal
shipments.Bybothquantityandvalue,U.S.producers’U.S.shipmentsaccountedformorethan
99percentofU.S.producers’totalshipmentsineachyearduring2017Ͳ19andduringthe
interimperiods.ThequantityofU.S.producers’U.S.shipmentsdecreasedby5.3percentfrom
2017to2018,butincreasedby0.3percentfrom2018to2019,ending4.9percentlowerin
2019thanin2017.U.S.shipmentswere0.3percentlowerininterim2020comparedwith
interim2019.Amongthe53firmsthatreportedU.S.shipmentsofmattressesduring2017Ͳ19,
34firmsreportedalowerquantityofU.S.shipmentsin2019thanin2017.9However,withthe
increaseinaverageunitvaluesofU.S.shipmentsfrom$265permattressin2017to$290per
mattressin2019,thevalueofU.S.producers’U.S.shipmentswas3.8percenthigherin2019
thanin2017.ThevalueofU.S.producers’U.S.shipmentswas1.0percenthigherininterim
2020comparedwithinterim2019.
         WhilethemajorityoftherespondingU.S.producersreportedunitvaluesofU.S.
shipmentsbetween$200and$600permattress,therewassomevarianceintheunitvalues
reportedbyrespondingU.S.producers.Fivefirmsreportedaunitvalueofmorethan$1,000
permattress,whilesevenfirmsreportedaunitvalueofunder$100permattress.Kolcraft,
which***,specializesinproducingcribmattresses,whileRoyalPedic,HolderMattressCo.,
MattressMill,andPittsburghMattressFactory,whichspecializeintheproductionofhighͲend,
custom,luxurymattressesreported***.10





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     8
    U.S.producerswereaskedtoreportU.S.shipmentsbrokenoutbyU.S.commercialshipments,
internalconsumption,andtransferstorelatedU.S.parties.AlmostallU.S.shipments(96.8percentin
2019)werereportedasU.S.commercialshipments.
   9
    ***,accountedforthevastmajorityofthedecreaseinU.S.shipmentsduring2017Ͳ19andthe
interimperiods.
   10
     RoyalPedic,https://royalpedic.com/,retrievedFebruary18,2021;HolderMattressCo.,
https://holdermattress.com/,retrievedApril26,2020;MattressMill,
https://www.mattressmill.com/ourͲstory/factoryͲtour,retrievedApril26,2020;PittsburghMattress
Factory,https://www.pittsburghmattressfactory.com/home,retrievedApril26,2020.***.


                                                IIIͲ21
                                             Appx14881
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Table III-7
Mattresses: U.S. producers' U.S. shipments, export shipments, and total shipments, 2017-19,
January to September 2019, and January to September 2020
                                               Calendar year                  January to September
               Item                  2017           2018          2019           2019           2020
                                                             Quantity (units)
 U.S. shipments                   19,236,908 18,226,947 18,286,554           13,963,203      14,011,538
 Export shipments                    101,363        100,285        98,139         73,715         60,736
      Total shipments             19,338,271 18,327,232 18,384,693           14,036,918      14,072,274
                                                           Value (1,000 dollars)
 U.S. shipments                    5,103,659     5,032,747     5,298,044       3,991,781      4,030,633
 Export shipments                      39,153        38,481        35,938         26,211         26,175
      Total shipments              5,142,812      5,071,228    5,333,982       4,017,992      4,056,808
                                                       Unit value (dollars per unit)
 U.S. shipments                           265           276           290             286            288
 Export shipments                         386           384           366             356            431
      Total shipments                     266           277           290             286            288
                                                       Share of quantity (percent)
 U.S. shipments                          99.5          99.5          99.5            99.5           99.6
 Export shipments                          0.5           0.5           0.5             0.5            0.4
      Total shipments                   100.0         100.0         100.0           100.0          100.0
                                                        Share of value (percent)
 U.S. shipments                          99.2          99.2          99.3            99.3           99.4
 Export shipments                          0.8           0.8           0.7             0.7            0.6
      Total shipments                   100.0         100.0         100.0           100.0          100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.


          Twelvefirmsreportedexportshipmentsduring2017Ͳ19.11U.S.producers’export
shipments,whichaccountedforlessthan1percentofU.S.producers’totalshipmentsby
quantityandvalue,decreasedby3.2percentintermsofquantityfrom2017to2019andwere
17.6percentlowerininterim2020comparedwithinterim2019.Theaverageunitvaluesof
exportshipmentsdecreasedfrom$386permattressin2017to$366permattressin2019,but
werehigherininterim2020at$431permattressthanininterim2019.U.S.producersreporting
exportsofmattressesindicatedthattheirprimaryexportmarketsincludeAustralia,Belize,
Bermuda,Canada,China,Colombia,HongKong,Korea,andMexico.
          




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     11
      ***accountedforthemajorityofexportshipmentsduringJanuary2017ͲSeptember2020.


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U.S.producers’inventories
        TableIIIͲ8presentsU.S.producers’endͲofͲperiodinventoriesandtheratioofthese
inventoriestoU.S.producers’production,U.S.shipments,andtotalshipments.EndͲofͲperiod
inventoriesheldbyU.S.producersincreasedby33.4percentfrom2017to2018,andincreased
furtherby9.4percentfrom2018to2019,ending45.9percenthigherin2019thanin2017.
EndͲofͲperiodinventorieswere0.9percentlowerininterim2020thanininterim2019.The
ratiosofU.S.producers’endͲofͲperiodinventoriestoU.S.productionincreasedfrom2.0
percentin2017to3.0percentin2019,andremainedsteadyat3.2percentininterim2019and
interim2020.AlthoughamajorityofrespondingU.S.producers(28of53)reportedholding
endͲofͲperiodinventoriesofmattresses,U.S.producersmostlysoldmattressesproducedͲtoͲ
order.AsindicatedearlierinPartIIofthisreport,U.S.producersshipped83.7percentoftheir
2019shipmentsproducedͲtoͲorder,and16.3percentfrominventory.***accountedfor***
percentofmattressinventoriesheldbyU.S.producersattheendof2019.
        
Table III-8
Mattresses: U.S. producers' U.S. shipments, export shipments, and total shipments, 2017-19,
January to September 2019, and January to September 2020
                                                     Calendar year               January to September
                    Item                     2017         2018        2019         2019          2020
                                                                 Quantity (units)
 U.S. producers' end-of-period
 inventories                                374,097      498,910     545,677       611,919      606,614
                                                                  Ratio (percent)
 Ratio of inventories to.--
   U.S. production                                2.0        2.7          3.0           3.2          3.2
   U.S. shipments                                 1.9         2.7         3.0           3.3          3.2
   Total shipments                                1.9         2.7         3.0           3.3          3.2
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.




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U.S.producers’importsandpurchases
        U.S.producers’directimportsofmattressesarepresentedintableIIIͲ9andU.S.
producers’domesticpurchasesofmattressesarepresentedintableIIIͲ10.FiveU.S.producers
(***)reporteddirectU.S.importsofsubjectmerchandise.NineU.S.producers(***)reported
U.S.purchasesofmattressesfromotherdomesticproducersandtwoU.S.producers(***)
reportedU.S.purchasesofmattressesimportedfrom***.
        
Table III-9
Mattresses: U.S. producers' imports, 2017-19, January to September 2019, and January to
September 2020
                                             Calendar year                  January to September
               Item                 2017         2018          2019           2019         2020
                                                           Quantity (units)
*** U.S. production                      ***           ***            ***           ***          ***
*** U.S. imports from.--
  ***                                    ***           ***            ***           ***          ***
   ***                                   ***           ***            ***           ***          ***
   ***                                   ***           ***            ***           ***          ***
   ***                                   ***           ***            ***           ***          ***
      Subject sources                    ***           ***            ***           ***          ***
      Nonsubject sources                 ***           ***            ***           ***          ***
        All imports sources              ***           ***            ***           ***          ***
                                                           Ratio (percent)
*** ratio to U.S. production of
imports from.--
  ***                                    ***           ***            ***           ***          ***
   ***                                   ***           ***            ***           ***          ***
   ***                                   ***           ***            ***           ***          ***
   ***                                   ***           ***            ***           ***          ***
      Subject sources                    ***           ***            ***           ***          ***
      Nonsubject sources                 ***           ***            ***           ***          ***
        All imports sources              ***           ***            ***           ***          ***
                                                             Narrative
*** reason for importing        ***
Table continued on next page.
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                                             IIIͲ24
                                          Appx14884
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Table III-9—Continued
Mattresses: U.S. producers' imports, 2017-19, January to September 2019, and January to
September 2020
                                                Calendar year                 January to September
                 Item                 2017          2018           2019         2019        2020
                                                             Quantity (units)
 *** U.S. production                       ***           ***            ***          ***         ***
 *** U.S. imports from subject
 sources (***)                             ***           ***            ***          ***         ***
                                                              Ratio (percent)
 *** ratio to U.S. production of
 imports from subject sources
 (***)                                     ***           ***            ***          ***         ***
                                                                Narrative
 *** reason for importing         ***
                                                             Quantity (units)
*** U.S. production                         ***           ***            ***          ***         ***
*** U.S. imports from.--
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
                                                              Ratio (percent)
*** ratio to U.S. production of
imports from.--
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
***                                         ***           ***            ***          ***         ***
                                                                Narrative
*** reason for importing         ***
Table continued on next page.


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                                              IIIͲ25
                                          Appx14885
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Table III-9—Continued
Mattresses: U.S. producers' imports, 2017-19, January to September 2019, and January to
September 2020
                                                     Calendar year               January to September
                     Item                     2017       2018         2019         2019          2020
                                                                 Quantity (units)
*** U.S. production                                ***         ***          ***          ***           ***
*** U.S. imports from subject sources
(***)                                              ***         ***          ***          ***           ***
                                                                  Ratio (percent)
*** ratio to U.S. production of imports
from subject sources (***)                         ***         ***          ***          ***           ***
                                                                    Narrative
*** reason for importing                  ***
                                                                 Quantity (units)
 *** U.S. production                              ***         ***          ***          ***           ***
 *** U.S. imports from subject sources
 (***)                                            ***         ***          ***          ***           ***
                                                                  Ratio (percent)
 *** ratio to U.S. production of imports
 from subject sources (***)                       ***         ***          ***          ***           ***
                                                                    Narrative
 *** reason for importing                  ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.




                                                IIIͲ26
                                            Appx14886
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Table III-10
Mattresses: U.S. producers' purchases, 2017-19, January to September 2019, and January to
September 2020
                                                 Calendar year             January to September
                 Item                    2017        2018       2019         2019        2020
                                                            Quantity (units)
***                                           ***         ***         ***         ***         ***
   ***                                        ***         ***         ***         ***         ***
                                                               Narrative
   ***                               ***
                                                            Quantity (units)
***                                           ***         ***         ***         ***         ***
   ***                                        ***         ***         ***         ***         ***
                                                               Narrative
   ***                               ***
                                                            Quantity (units)
***                                           ***         ***         ***         ***         ***
   ***                                        ***         ***         ***         ***         ***
                                                               Narrative
   ***                               ***
                                                            Quantity (units)
***                                           ***         ***         ***         ***         ***
   ***                                        ***         ***         ***         ***         ***
                                                               Narrative
   ***                               ***
                                                            Quantity (units)
***                                           ***         ***         ***         ***         ***
   ***                                        ***         ***         ***         ***         ***
                                                               Narrative
   ***                               ***
                                                            Quantity (units)
***                                           ***         ***         ***         ***         ***
   ***                                        ***         ***         ***         ***         ***
                                                               Narrative
   ***                               ***
Table continued on next page.




                                            IIIͲ27
                                         Appx14887
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                                                 
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Table III-10--Continued
Mattresses: U.S. producers' purchases, 2017-19, January to September 2019, and January to
September 2020
                                                  Calendar year             January to September
                  Item                     2017       2020        2019         2019       2020
                                                             Quantity (units)
***                                             ***        ***          ***         ***        ***
   ***                                          ***        ***          ***         ***        ***
                                                                Narrative
   ***                                 ***
                                                             Quantity (units)
***                                             ***        ***          ***         ***        ***
   ***                                          ***        ***          ***         ***        ***
                                                                Narrative
   ***                                 ***
                                                             Quantity (units)
***                                             ***        ***          ***         ***        ***
   ***                                          ***        ***          ***         ***        ***
                                                                Narrative
   ***                                 ***
                                                             Quantity (units)
***                                             ***        ***          ***         ***        ***
   ***                                          ***        ***          ***         ***        ***
                                                                Narrative
   ***                                 ***
                                                             Quantity (units)
***                                             ***        ***          ***         ***        ***
   ***                                          ***        ***          ***         ***        ***
                                                                Narrative
   ***                                 ***
Source: Compiled from data submitted in response to Commission questionnaires.

                             




                                            IIIͲ28
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U.S.employment,wages,andproductivity
        TableIIIͲ11showsU.S.producers’employmentͲrelateddata.Thenumberofproduction
relatedworkers(“PRWs”)decreasedby3.8percentfrom2017to2018,butincreasedby1.1
percentfrom2018to2019,ending2.8percentlowerin2019thanin2017.Thenumberof
PRWswas0.2percenthigherininterim2020thanininterim2019.Outof53respondingU.S.
producers,12producersreportedfewerPRWsin2019thanin2017.***accountedformostof
thedeclineinthenumberofPRWs,explainingthatithas“***.”Hoursworked,totalwages
paid,andhourlywagespaidincreasedirregularlyfrom2017to2019,whileproductivity
declinedirregularlyfrom2017to2019.Unitlaborcostsincreasedineachyearfrom2017to
2019.AllemploymentindicatorsotherthantotalhoursworkedandhoursworkedperPRW
werehigherininterim2020comparedwithinterim2019.
        
Table III-11
Mattresses: U.S. producers' employment related data, 2017-19, January to September 2019, and
January to September 2020
                                                   Calendar year            January to September
                    Item                    2017        2018      2019         2019       2020
 Production and related workers (PRWs)
 (number)                                   13,091      12,590    12,724        12,224     12,243
 Total hours worked (1,000 hours)           25,352      23,832    25,700        20,147     19,161
 Hours worked per PRW (hours)                1,937       1,893     2,020         1,648      1,565
 Wages paid ($1,000)                       512,388     503,496   539,840       393,310    409,810
 Hourly wages (dollars per hour)            $20.21      $21.13    $21.01        $19.52     $21.39
 Productivity (units per 1,000 hours)        754.1       775.1     717.4         702.7      737.7
 Unit labor costs (dollars per unit)        $26.80      $27.26    $29.28        $27.78     $28.99
Source: Compiled from data submitted in response to Commission questionnaires.




                                            IIIͲ29
                                         Appx14889
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PartIV: U.S.imports,apparentU.S.consumption,
andmarketshares
U.S.importers
         TheCommissionissuedimporterquestionnairesto144firmsbelievedtobeimporters
ofsubjectmattressesforwhichvalidcontactinformationwasobtained,aswellasto
approximately300firmsbelievedtoproducemattressesintheUnitedStates.1Usable
questionnaireresponseswerereceivedfrom49companies,representingmostU.S.imports
fromeachofthesubjectsourcesindividuallyandallothernonsubjectcountriescombinedin
2019underprimaryHTSstatisticalreportingnumbers9404.21.0010,9404.21.0013,
9404.29.1005,9404.29.1013,9404.29.9085,and9404.29.9087asfollows:2
         
         Cambodia:***percent
         China:***percent
         Indonesia:***percent
         Malaysia:***percent
         Serbia:***percent
         Thailand:***percent
         Turkey:***percent
         Vietnam:***percent
         Allothersources:***percent
         
                                




     1
    TheCommissionissuedquestionnairestothosefirmsidentifiedasU.S.importersinthepetitions
andfromothersources***reportedunderHTSstatisticalreportingnumbers9404.21.0010,
9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,and9404.29.9087in2019.
   2
    OthersecondaryHTSstatisticalreportingnumbersunderwhichU.S.importsofsubjectmattresses
mayentertheUnitedStatesinclude:9401.40.0000,9401.90.5081,9404.21.0000,9404.21.0090,
9404.21.0095,9404.29.1095,9404.29.9050,9404.29.9091,and9404.29.9095.EntriesofU.S.imports
undersecondaryHTSnumbersexplainthegreaterthan100percentcoveragedatapresentedforcertain
sources.


                                               IVͲ1
                                           Appx14891
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        TableIVͲ1listsallrespondingU.S.importersofmattressesfromsubjectcountriesand
othersources,theirlocations,andtheirsharesofU.S.imports,in2019.
        
Table IV-1
Mattresses: U.S. importers, their headquarters, and share of total imports by source, 2019
                                                        Share of imports by source (percent)
             Firm                 Headquarters      Cambodia China Indonesia Malaysia Serbia
Amazon                        Seattle, WA                  ***       ***       ***      ***  ***
American Furniture            Englewood, CO                ***       ***       ***      ***  ***
Americanstar International    Commerce, CA                 ***       ***       ***      ***  ***
Americanstar Mattress         Houston, TX                  ***       ***       ***      ***  ***
Ashley                        Arcadia, WI                  ***       ***       ***      ***  ***
AW Industries                 Hyattsville, MD              ***       ***       ***      ***  ***
Bed & Bath                    Naples, FL                   ***       ***       ***      ***  ***
Berrios                       Cidra, PR                    ***       ***       ***      ***  ***
Best Price                    San Leandro, CA              ***       ***       ***      ***  ***
Big Lots                      Columbus, OH                 ***       ***       ***      ***  ***
Bob's Discount                Mancheste, CT                ***       ***       ***      ***  ***
Boyd                          Maryland Heights, MO         ***       ***       ***      ***  ***
Comptree                      City Of Industry, CA         ***       ***       ***      ***  ***
Continental                   Houston, TX                  ***       ***       ***      ***  ***
Costco                        Issaquah, WA                 ***       ***       ***      ***  ***
Cozy Comfort                  Lexington, NC                ***       ***       ***      ***  ***
CVB                           Logan, UT                    ***       ***       ***      ***  ***
Deep Blue                     Palatine, IL                 ***       ***       ***      ***  ***
Dickson                       Houston, TX                  ***       ***       ***      ***  ***
Dorel Home                    Wright City, MO              ***       ***       ***      ***  ***
Dorel Asia                    Wright City, MO              ***       ***       ***      ***  ***
Glideaway                     St. Louis, MO                ***       ***       ***      ***  ***
Global Sleep                  Jensen Beach, FL             ***       ***       ***      ***  ***
Haynes                        Virginia Beach, VA           ***       ***       ***      ***  ***
Homelegance                   Freemont, CA                 ***       ***       ***      ***  ***
IKEA                          Pratteln, BL                 ***       ***       ***      ***  ***
Intercon                      Salt Lake City, UT           ***       ***       ***      ***  ***
Jonathan Louis                Gardena, CA                  ***       ***       ***      ***  ***
Keetsa                        San Francisco, CA            ***       ***       ***      ***  ***
Kittrich                      Pomona, CA                   ***       ***       ***      ***  ***
Table continued on next page.




                                              IVͲ2
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Table IV-1—Continued
Mattresses: U.S. importers, their headquarters, and share of total imports by source, 2019
                                                        Share of imports by source (percent)
            Firm                   Headquarters     Cambodia China Indonesia Malaysia Serbia
Legends                       Tolleson, AZ                  ***      ***       ***      ***  ***
Leggett & Platt               Carthage, MO                  ***      ***       ***      ***  ***
Live and Sleep                Las Vegas, NV                 ***      ***       ***      ***  ***
LLYTech                       Houston, TX                   ***      ***       ***      ***  ***
Martin                        Saint Paul, MN                ***      ***       ***      ***  ***
Night and Day                 Vancouver, WA                 ***      ***       ***      ***  ***
Resource                      New York, NY                  ***      ***       ***      ***  ***
RTG                           Seffner, FL                   ***      ***       ***      ***  ***
Sarton                        Carolina, PR                  ***      ***       ***      ***  ***
Solstice                      Columbus, OH                  ***      ***       ***      ***  ***
South Bay                     Rancho Cucamonga, CA          ***      ***       ***      ***  ***
Storkcraft                    Las Vegas, NV                 ***      ***       ***      ***  ***
Synergy                       Ripely, MS                    ***      ***       ***      ***  ***
University                    Garland, TX                   ***      ***       ***      ***  ***
Vispring                      Las Vegas, NV                 ***      ***       ***      ***  ***
Walmart                       Bentonville, AR               ***      ***       ***      ***  ***
Wayfair                       Boston, MA                    ***      ***       ***      ***  ***
Williams-Sonoma               San Francisco, CA             ***      ***       ***      ***  ***
Zinus                         Tracy, CA                     ***      ***       ***      ***  ***
  All firms                                                 ***      ***       ***      ***  ***
Table continued on next page.




                                            IVͲ3
                                        Appx14893
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Table IV-1—Continued
Mattresses: U.S. importers, their headquarters, and share of total imports by source, 2019
                                                 Share of imports by source (percent)
                                                                                      All
                                                                 Subject Nonsubject import
                Firm                Thailand    Turkey Vietnam sources sources sources
Amazon                                    ***        ***     ***      ***       ***       ***
American Furniture                        ***        ***     ***      ***       ***       ***
Americanstar International                ***        ***     ***      ***       ***       ***
Americanstar Mattress                     ***        ***     ***      ***       ***       ***
Ashley                                    ***        ***     ***      ***       ***       ***
AW Industries                             ***        ***     ***      ***       ***       ***
Bed & Bath                                ***        ***     ***      ***       ***       ***
Berrios                                   ***        ***     ***      ***       ***       ***
Best Price                                ***        ***     ***      ***       ***       ***
Big Lots                                  ***        ***     ***      ***       ***       ***
Bob's Discount                            ***        ***     ***      ***       ***       ***
Boyd                                      ***        ***     ***      ***       ***       ***
Comptree                                  ***        ***     ***      ***       ***       ***
Continental                               ***        ***     ***      ***       ***       ***
Costco                                    ***        ***     ***      ***       ***       ***
Cozy Comfort                              ***        ***     ***      ***       ***       ***
CVB                                       ***        ***     ***      ***       ***       ***
Deep Blue                                 ***        ***     ***      ***       ***       ***
Dickson                                   ***        ***     ***      ***       ***       ***
Dorel Home                                ***        ***     ***      ***       ***       ***
Dorel Asia                                ***        ***     ***      ***       ***       ***
Glideaway                                 ***        ***     ***      ***       ***       ***
Global Sleep                              ***        ***     ***      ***       ***       ***
Haynes                                    ***        ***     ***      ***       ***       ***
Homelegance                               ***        ***     ***      ***       ***       ***
IKEA                                      ***        ***     ***      ***       ***       ***
Intercon                                  ***        ***     ***      ***       ***       ***
Jonathan Louis                            ***        ***     ***      ***       ***       ***
Keetsa                                    ***        ***     ***      ***       ***       ***
Kittrich                                  ***        ***     ***      ***       ***       ***
Table continued on next page.




                                             IVͲ4
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Table IV-1—Continued
Mattresses: U.S. importers, their headquarters, and share of total imports by source, 2019
                                                 Share of imports by source (percent)
                                                                                               All
                                                                       Subject Nonsubject import
                Firm                 Thailand Turkey Vietnam sources sources sources
Legends                                     ***        ***        ***         ***          ***     ***
Leggett & Platt                             ***        ***        ***         ***          ***     ***
Live and Sleep                              ***        ***        ***         ***          ***     ***
LLYTech                                     ***        ***        ***         ***          ***     ***
Martin                                      ***        ***        ***         ***          ***     ***
Night and Day                               ***        ***        ***         ***          ***     ***
Resource                                    ***        ***        ***         ***          ***     ***
RTG                                         ***        ***        ***         ***          ***     ***
Sarton                                      ***        ***        ***         ***          ***     ***
Solstice                                    ***        ***        ***         ***          ***     ***
South Bay                                   ***        ***        ***         ***          ***     ***
Storkcraft                                  ***        ***        ***         ***          ***     ***
Synergy                                     ***        ***        ***         ***          ***     ***
University                                  ***        ***        ***         ***          ***     ***
Vispring                                    ***        ***        ***         ***          ***     ***
Walmart                                     ***        ***        ***         ***          ***     ***
Wayfair                                     ***        ***        ***         ***          ***     ***
Williams-Sonoma                             ***        ***        ***         ***          ***     ***
Zinus                                       ***        ***        ***         ***          ***     ***
  All firms                                 ***        ***        ***         ***          ***     ***
Note: Shares shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: Shading highlights firms holding the largest share of imports for each source. Dark shading
identifies firms that account for the largest share; medium shading identifies firms that account for the
second largest share; light shading identifies firms that account for the third largest share.

Note: ***.

Source: Compiled from data submitted in response to Commission questionnaires.


        U.S.importerswereaskedtoindicatewhetherornottheCOVIDͲ19pandemicorany
governmentactionstakentocontainthespreadoftheCOVIDͲ19virusresultedinchangesin
relationtotheirsupplychainarrangements,importation,employment,andsalesrelatingto
mattresses.EighteenU.S.importersreportedthatnochangesrelatedtotheseareasresulted
fromtheCOVIDͲ19pandemicand30U.S.importersreportedthattheyhadexperiencedsuch
changes.NarrativeresponsestothisquestionsubmittedbyU.S.importersarepresentedin
appendixE(tableEͲ3).
                                 



                                                  IVͲ5
                                              Appx14895
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U.S.imports
        TableIVͲ2andfigureIVͲ1presentdataforU.S.importsofmattressesfromsubject
countriesandallothersourcesascompiledfromdatasubmittedinresponsetoCommission
questionnaires.

Table IV-2
Mattresses: U.S. imports, by source, 2017-19, January to September 2019, and January to
September 2020
                                               Calendar year                January to September
                Item                  2017         2018         2019          2019         2020
                                                           Quantity (units)
 U.S. imports from.--
  Cambodia                                 ***          ***           ***          ***          ***
   China                                   ***          ***           ***          ***          ***
   Indonesia                               ***          ***           ***          ***          ***
   Malaysia                                ***          ***           ***          ***          ***
   Serbia                                  ***          ***           ***          ***          ***
   Thailand                                ***          ***           ***          ***          ***
   Turkey                                  ***          ***           ***          ***          ***
   Vietnam                                 ***          ***           ***          ***          ***
     Subject sources                5,544,408    6,982,307    7,795,477     5,295,371    7,441,669
        Of which previously
        investigated source                ***          ***           ***          ***          ***
        Of which newly
        investigated sources               ***          ***           ***          ***          ***
     Nonsubject sources                    ***          ***           ***          ***          ***
        All import sources                 ***          ***           ***          ***          ***
                                                        Value (1,000 dollars)
 U.S. imports from.--
  Cambodia                                 ***          ***           ***          ***          ***
   China                                   ***          ***           ***          ***          ***
   Indonesia                               ***          ***           ***          ***          ***
   Malaysia                                ***          ***           ***          ***          ***
   Serbia                                  ***          ***           ***          ***          ***
   Thailand                                ***          ***           ***          ***          ***
   Turkey                                  ***          ***           ***          ***          ***
   Vietnam                                 ***          ***           ***          ***          ***
     Subject sources                  607,606      720,150      794,405       532,905      692,378
        Of which previously
        investigated source                ***          ***           ***          ***          ***
        Of which newly
        investigated sources               ***          ***           ***          ***          ***
     Nonsubject sources                    ***          ***           ***          ***          ***
        All import sources                 ***          ***           ***          ***          ***
Table continued on next page.




                                              IVͲ6
                                          Appx14896
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Table IV-2—Continued
Mattresses: U.S. imports, by source, 2017-19, January to September 2019, and January to
September 2020
                                                  Calendar year            January to September
                    Item                  2017        2018       2019         2019       2020
                                                       Unit value (dollars per unit)
 U.S. imports from.--
  Cambodia                                     ***        ***         ***          ***        ***
   China                                       ***        ***         ***          ***        ***
   Indonesia                                   ***        ***         ***          ***        ***
   Malaysia                                    ***        ***         ***          ***        ***
   Serbia                                      ***        ***         ***          ***        ***
   Thailand                                    ***        ***         ***          ***        ***
   Turkey                                      ***        ***         ***          ***        ***
   Vietnam                                     ***        ***         ***          ***        ***
     Subject sources                          110        103         102          101         93
        Of which previously
        investigated source                    ***        ***         ***          ***        ***
        Of which newly
        investigated sources                   ***        ***         ***          ***        ***
     Nonsubject sources                        ***        ***         ***          ***        ***
        All import sources                     ***        ***         ***          ***        ***
                                                       Share of quantity (percent)
 U.S. imports from.--
  Cambodia                                     ***        ***         ***          ***        ***
   China                                       ***        ***         ***          ***        ***
   Indonesia                                   ***        ***         ***          ***        ***
   Malaysia                                    ***        ***         ***          ***        ***
   Serbia                                      ***        ***         ***          ***        ***
   Thailand                                    ***        ***         ***          ***        ***
   Turkey                                      ***        ***         ***          ***        ***
   Vietnam                                     ***        ***         ***          ***        ***
     Subject sources                           ***        ***         ***          ***        ***
        Of which previously
        investigated source                    ***        ***         ***          ***        ***
        Of which newly
        investigated sources                   ***        ***         ***          ***        ***
     Nonsubject sources                        ***        ***         ***          ***        ***
        All import sources                     ***        ***         ***          ***        ***
Table continued on next page.




                                             IVͲ7
                                         Appx14897
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                                                     

Table IV-2—Continued
Mattresses: U.S. imports, by source, 2017-19, January to September 2019, and January to
September 2020
                                                     Calendar year               January to September
                    Item                     2017        2018         2019         2019          2020
                                                            Share of value (percent)
 U.S. imports from.--
  Cambodia                                        ***         ***          ***          ***           ***
   China                                          ***         ***          ***          ***           ***
   Indonesia                                      ***         ***          ***          ***           ***
   Malaysia                                       ***         ***          ***          ***           ***
   Serbia                                         ***         ***          ***          ***           ***
   Thailand                                       ***         ***          ***          ***           ***
   Turkey                                         ***         ***          ***          ***           ***
   Vietnam                                        ***         ***          ***          ***           ***
      Subject sources                             ***         ***          ***          ***           ***
        Of which previously
        investigated source                       ***         ***          ***          ***           ***
        Of which newly
        investigated sources                      ***         ***          ***          ***           ***
      Nonsubject sources                          ***         ***          ***          ***           ***
        All import sources                        ***         ***          ***          ***           ***
                                                            Ratio to U.S. production
 U.S. imports from.--
  Cambodia                                        ***         ***          ***          ***           ***
   China                                          ***         ***          ***          ***           ***
   Indonesia                                      ***         ***          ***          ***           ***
   Malaysia                                       ***         ***          ***          ***           ***
   Serbia                                         ***         ***          ***          ***           ***
   Thailand                                       ***         ***          ***          ***           ***
   Turkey                                         ***         ***          ***          ***           ***
   Vietnam                                        ***         ***          ***          ***           ***
      Subject sources                           29.0        37.8         42.3          37.4         52.6
        Of which previously
        investigated source                       ***         ***          ***          ***           ***
        Of which newly
        investigated sources                      ***         ***          ***          ***           ***
      Nonsubject sources                          ***         ***          ***          ***           ***
        All import sources                        ***         ***          ***          ***           ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.




                                                 IVͲ8
                                             Appx14898
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                                                  

Figure IV-1
Mattresses: U.S. import quantities and average unit values, 2017-19, January to September 2019,
and January to September 2020


                    *         *        *         *         *         *           *


Source: Compiled from data submitted in response to Commission questionnaires.


        ImportsfromChina,byquantity,accountedforthemajorityofimportsofmattresses
fromallsourcesduring2017and2018(***percent,respectively),butfellto***percentof
totalU.S.importsin2019,aftersection301dutiesandantidumpingdutiesonmattressesfrom
ChinawereimposedandasU.S.importsofmattressesfromothercountries(especially
IndonesiaandVietnam)increased.Accordingtodatacollectedinthefinalphaseofthese
investigations,thequantityofU.S.importsfromChinaincreasedby***percentfrom***
mattressesin2017to***mattressesin2018beforedecliningby***percentto***
mattressesin2019.ThequantityofU.S.importsfromChinaduringinterim2020,which
amountedto***mattresses,was***percentlowerthanduringinterim2019.Thevalueof
U.S.importsfromChinaincreasedby***percentfrom2017to2018butdeclinedby***
percentfrom2018to2019,ending***percentlowerin2019thanin2017.ThevalueofU.S.
importsfromChinaduringinterim2020was***percentlowerthanduringinterim2019.The
unitvalueofU.S.importsfromChinadecreasedfrom$***permattressin2017to$***per
mattressin2018,butincreasedto$***per
                              




                                              IVͲ9
                                           Appx14899
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                                                    

mattressin2019.TheunitvalueofmattressesimportedfromChinawas$***permattressin
interim2020.
        ImportsfromallsubjectcountriesotherthanChinaincreasedbymorethanthedecline
inimportsfromChinaduring2018Ͳ19,resultinginanoverallincreaseinU.S.importsfromall
subjectcountriescombinedof11.6percentfrom7.0millionmattressesin2018to7.8million
mattressesin2019,alevel40.6percenthigherthanin2017.Importsfromallsubjectcountries
otherthanChinawerehigherininterim2020comparedwithinterim2019,whereasimports
fromChinawerelower.Similarly,thevalueofU.S.importsfromallsubjectcountriesincreased
30.7percentfrom2017to2019andwashigherininterim2020comparedwithinterim2019.
TheunitvaluesofU.S.importsfromallsubjectcountriesdeclinedfrom$110permattressin
2017to$102permattressin2019andwerelowerat$93permattressininterim2020
comparedwith$101permattressininterim2019.OnlyIndonesia(in2019at$***per
mattress),Turkey(in2017and2018at$***permattress)andVietnam(inJanuaryͲSeptember
2019at$***permattress)reportedimportunitvaluesgreaterthanorequaltotheunitvalues
ofimportsfromChina.
        FortyͲsevenfirmsreportedimportsofmattressesfromsubjectcountriessinceJanuary
1,2017,withthefollowingfiveaccountingformorethanfourͲfifthsoftotalreportedsubject
importsin2019(listedindescendingorderof2019importquantity):***.Importsofsubject
mattressesfromChinabyfourofthefivelargestimporters(***)declinedin2019astheir
importsofmattressesfromothersubjectcountriesincreased.ImporterZinus,whichsourced
***ofitsimportedmattressesfromChinaduring2017Ͳ18,sourced***ofitsimportsfrom
othersubjectsourcesin2019.
        Importsfromnonsubjectsources,byquantity,accountedfor***percent,***percent,
***percent,***percent,and***percentofallimportsin2017,2018,2019,JanuaryͲ
September2019,andJanuaryͲSeptember2020,respectively.Thequantityofimportsfrom
nonsubjectsourcesdeclinedby***percentfrom2017to2018butincreasedby***percent
from2018to2019,ending***percenthigherin2019thanin2017.Thequantityofimports
fromnonsubjectsourceswere***percentlowerininterim2020comparedwithinterim2019.
Thevalueofimportsfromnonsubjectsourcesshowedsimilartrends.Ninefirmsreported
importsofmattressesfromnonsubjectsourcesduring2019,with***accountingforthe
overwhelmingmajority(***percent)ofreportedimportsfromnonsubjectsources.According
toofficialimportstatistics(underthesixprimaryHTSstatistical
                                




                                               IVͲ10
                                           Appx14900
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reportingnumbersformattresses),Mexicowasthelargestsourceofmattressesimportedfrom
nonsubjectcountriesin2019,followedbyTaiwan,Canada,Philippines,andItaly.Nonsubject
countriesforwhichimportdatawerereportedinquestionnaireresponsesincludeItaly,
Mexico,Poland,Slovenia,Taiwan,andtheUnitedKingdom.Theaverageunitvalueofimports
fromnonsubjectsourceswaslessthantheaverageunitvalueofimportsfromChinaineach
yearduring2017Ͳ19,butfluctuatedinrelationtoallothersubjectcountriesindividually
dependingontheyear.During2019,theaverageunitvalueofimportsfromnonsubjectsources
waslessthantheaverageunitvalueofimportsfromChina,Indonesia,andVietnambutwas
morethantheaverageunitvalueofimportsfromCambodia,Malaysia,Serbia,Thailand,and
Turkey.
        FiguresIVͲ2andIVͲ3presentmonthlyofficialU.S.importstatistics.Followingtwoyears
ofoverallincreasesinimportsofmattressesfromChinain2017and2018,asharpdeclinein
monthlyimportsfromChinabeganinDecember2018,severalmonthsaftertheSeptember
2018filingofthepetitionconcerningtheantidumpingdutyinvestigationonimportsof
mattressesfromChina.AsimportsofmattressesfromChinasharplydeclinedthroughout2019
andintothebeginningof2020,importsofmattressesfromtheothersubjectcountries
increased.Monthlyimportsofmattressesfromnonsubjectsourcesfluctuatedwithina
relativelynarrowrangefromJanuary2017toNovember2020.




                                             IVͲ11
                                          Appx14901
                            Case 1:21-cv-00288-SAV
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                                                                                   
                        
                        Figure IV-2
                        Mattresses: Subject and nonsubject U.S. imports aggregated by newly investigated sources and
                        previously investigated sources, by month, January 2017 through November 2020




                  1,000                                                                                                                                                            1

                       900                                                                                                                                                         0.9




                                                                  301 @ 10%,

                                                                  petition filed




                                                                                          301 @ 25%

                                                                                                       China AD prelim
                                                                   China AD
                       800                                                                                                                                                         0.8
(thousands of units)




                       700                                                                                                                                                         0.7




                                                                                                                                                              Prelim Commerce AD
                       600                                                                                                                                                         0.6
     Quantity




                                                                                                                                  Petition file date
                       500                                                                                                                                                         0.5

                       400                                                                                                                                                         0.4

                       300                                                                                                                                                         0.3

                       200                                                                                                                                                         0.2

                       100                                                                                                                                                         0.1

                            0                                                                                                                                                      0
                                Jan
                                Feb



                                Jun

                                Aug
                                Sep



                                Jan
                                Feb



                                Jun

                                Aug
                                Sep



                                Jan
                                Feb



                                Jun

                                Aug
                                Sep



                                Jan
                                Feb



                                Jun

                                Aug
                                Sep
                                Mar
                                Apr
                                May




                                Oct




                                Mar
                                Apr
                                May




                                Oct




                                Mar
                                Apr
                                May




                                Oct




                                Mar
                                Apr
                                May




                                Oct
                                Nov
                                Dec




                                Nov
                                Dec




                                Nov
                                Dec




                                Nov
                                 Jul




                                 Jul




                                 Jul




                                 Jul
                                       2017                        2018                               2019                                             2020



                                    Subject China                                                               New subject sources
                                    Nonsubject sources                                                          301 @ 10%, China AD petition filed
                                    301 @ 25%                                                                   China AD prelim
                                    Petition file date                                                          Prelim Commerce AD

                        Note: China CVD preliminary Commerce determination in this case (August 21, 2020) not shown in this
                        graph.

                        Source: Official U.S. import statistics for HTS statistical reporting numbers 9404.21.0010, 9404.21.0013,
                        9404.29.1005, 9404.29.1013, 9404.29.9085, and 9404.29.9087, accessed January 13, 2021. Other
                        secondary HTS statistical reporting numbers under which U.S. imports of subject mattresses may enter
                        the United States include: 9401.40.0000, 9401.90.5081, 9404.21.0000, 9404.21.0090, 9404.21.0095,
                        9404.29.1095, 9404.29.9050, 9404.29.9091, and 9404.29.9095. Entries of U.S. imports under secondary
                        HTS numbers explain the greater than 100 percent coverage data in questionnaire responses for certain
                        sources.




                                                                            IVͲ12
                                                                      Appx14902
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                                                                     
                
                Figure IV-3
                Mattresses: U.S. imports from aggregated subject and nonsubject sources, by month, January
                2017 through November 2020


                    1,000
                      900
                      800
(1,000 units)




                      700
  Quantity




                      600
                      500
                      400
                      300
                      200
                      100
                        0
                            Apr




                            Oct




                            Apr




                            Oct




                            Apr




                            Oct




                            Apr




                            Oct
                            Feb




                            Aug
                            Sep



                            Feb




                            Aug
                            Sep



                            Feb




                            Aug
                            Sep



                            Feb




                            Aug
                            Sep
                            Mar
                            May




                            Nov
                            Dec

                            Mar
                            May




                            Nov
                            Dec

                            Mar
                            May




                            Nov
                            Dec

                            Mar
                            May




                            Nov
                            Jan



                            Jun
                             Jul




                            Jan



                            Jun
                             Jul




                            Jan



                            Jun
                             Jul




                            Jan



                            Jun
                             Jul
                                    2017                    2018                    2019                   2020


                                                 Subject sources           Nonsubject sources

                Source: Official U.S. import statistics for HTS statistical reporting numbers 9404.21.0010, 9404.21.0013,
                9404.29.1005, 9404.29.1013, 9404.29.9085, and 9404.29.9087, accessed January 13, 2021. Other
                secondary HTS statistical reporting numbers under which U.S. imports of subject mattresses may enter
                the United States include: 9401.40.0000, 9401.90.5081, 9404.21.0000, 9404.21.0090, 9404.21.0095,
                9404.29.1095, 9404.29.9050, 9404.29.9091, and 9404.29.9095. Entries of U.S. imports under secondary
                HTS numbers explain the greater than 100 percent coverage data in questionnaire responses for certain
                sources.

                                               




                                                                IVͲ13
                                                            Appx14903
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Negligibility
         Thestatuterequiresthataninvestigationbeterminatedwithoutaninjury
determinationifimportsofthesubjectmerchandisearefoundtobenegligible.3Negligible
importsaregenerallydefinedintheAct,asamended,asimportsfromacountryof
merchandisecorrespondingtoadomesticlikeproductwheresuchimportsaccountforless
than3percentofthevolumeofallsuchmerchandiseimportedintotheUnitedStatesinthe
mostrecent12Ͳmonthperiodforwhichdataareavailablethatprecedesthefilingofthe
petitionortheinitiationoftheinvestigation.However,ifthereareimportsofsuchmerchandise
fromanumberofcountriessubjecttoinvestigationsinitiatedonthesamedaythatindividually
accountforlessthan3percentofthetotalvolumeofthesubjectmerchandise,andifthe
importsfromthosecountriescollectivelyaccountformorethan7percentofthevolumeofall
suchmerchandiseimportedintotheUnitedStatesduringtheapplicable12Ͳmonthperiod,then
importsfromsuchcountriesaredeemednottobenegligible.4Importsofmattressesfromeach
ofthesubjectcountriesaccountedformorethan3percentofthetotalvolumeofU.S.imports
ofmattressesduringthemostrecent12Ͳmonthperiodprecedingthefilingofthepetitions
(March2019throughFebruary2020).TableIVͲ3presentsthesharesoftotalU.S.imports,by
quantity,attributabletoeachsubjectcountryduringMarch2019throughFebruary2020as
compiledfromdatasubmittedinresponsetoCommissionquestionnaires.5
         




     3
    Sections703(a)(1),705(b)(1),733(a)(1),and735(b)(1)oftheAct(19U.S.C.§§1671b(a)(1),
1671d(b)(1),1673b(a)(1),and1673d(b)(1)).
   4
    Section771(24)oftheAct(19U.S.C§1677(24)).
   5
    ThesharesoftotalU.S.importsattributabletoeachsubjectcountryduringMarch2019through
February2020ascompiledfromofficialimportstatisticsusingthesixprimaryHTSstatisticalreporting
numbers(9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,and9404.29.9087)
areasfollows:Cambodia(7.9percent),China(8.6percent),Indonesia(17.6percent),Malaysia(7.6
percent),Serbia(5.0percent),Thailand(4.0percent),Turkey(5.5percent),andVietnam(27.2percent).


                                                IVͲ14
                                            Appx14904
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Table IV-3
Mattresses: U.S. imports in the twelve month period preceding the filing of the petitions, March
2019 through February 2020
                                                             March 2019 through February 2020
                                                                                  Share quantity
                           Item                               Quantity (units)        (percent)
 U.S. imports from.--
   Cambodia                                                                  ***                ***
   China                                                                     ***                ***
   Indonesia                                                                 ***                ***
   Malaysia                                                                  ***                ***
   Serbia                                                                    ***                ***
   Thailand                                                                  ***                ***
   Turkey                                                                    ***                ***
   Vietnam                                                                   ***                ***
     Subject sources                                                  7,622,198                 ***
     Nonsubject sources                                                      ***                ***
        All import sources                                                   ***                ***
Source: Compiled from data submitted in response to Commission questionnaires.



                              




                                             IVͲ15
                                          Appx14905
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Criticalcircumstances
         OnSeptember21,2020,petitionersfiledallegationsofcriticalcircumstanceswith
respecttoimportsofmattressesfromCambodiaandSerbiaand,onOctober7,2020,
petitionersfiledallegationsofcriticalcircumstanceswithrespecttoimportsofmattressesfrom
Turkey.6OnNovember3,2020,Commerceissuednegativepreliminarydeterminationswith
respecttothecriticalcircumstancesallegationsconcerningSerbiaandTurkey.7Commercealso
issuedonNovember3,2020,itspreliminaryaffirmativedeterminationthatcritical
circumstancesexistwithregardtoimportsfromCambodiaofmattressesfromBestMattresses
InternationalCo.Ltd.andRoseLionFurnitureInternationalCo.Ltd.(collectively,Best
Mattresses/RoseLion).8OnMarch25,2021,Commerceissuednegativefinaldeterminations
withrespecttothecriticalcircumstancesallegationsconcerningCambodia,Serbia,andTurkey.9

Cumulationconsiderations
         Inassessingwhetherimportsshouldbecumulated,theCommissiondetermines
whetherU.S.importsfromthesubjectcountriescompetewitheachotherandwiththe
domesticlikeproductandhasgenerallyconsideredfourfactors:(1)fungibility,(2)presenceof
salesorofferstosellinthesamegeographicalmarkets,(3)commonorsimilarchannelsof
distribution,and(4)simultaneouspresenceinthemarket.Informationregardingchannelsof
distribution,marketareas,andinterchangeabilityappearinPartII.Additionalinformation
concerningfungibility,geographicalmarkets,andsimultaneouspresenceinthemarketis
presentedbelow.
                                



     6
     MattressesfromCambodia:MattressPetitioners’AllegationofCriticalCircumstances,September
21,2020;MattressesfromSerbia:MattressPetitioners’AllegationofCriticalCircumstances,September
21,2020;andMattressesfromTurkey:MattressPetitioners’AllegationofCriticalCircumstances,
October7,2020.Whenpetitionersfiletimelyallegationsofcriticalcircumstances,Commerceexamines
whetherthereisareasonablebasistobelieveorsuspectthat(1)eitherthereisahistoryofdumping
andmaterialinjurybyreasonofdumpedimportsintheUnitedStatesorelsewhereofthesubject
merchandise,orthepersonbywhom,orforwhoseaccount,themerchandisewasimportedknewor
shouldhaveknownthattheexporterwassellingthesubjectmerchandiseatLTFVandthattherewas
likelytobematerialinjurybyreasonofsuchsales;and(2)therehavebeenmassiveimportsofthe
subjectmerchandiseoverarelativelyshortperiod.
    7
     85FR69571,November3,2020;85FR69589,November3,2020.
    8
     85FR69594,November3,2020.
    9
     86FR15892(Serbia),15894(Cambodia),and15917(Turkey),March25,2021.


                                               IVͲ16
                                            Appx14906
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Fungibility
U.S.shipmentsbyproducttype

U.S.shipmentsofallmattressesbyproducttype

          TableIVͲ4andfigureIVͲ4presentdataonU.S.producers’andU.S.importers’U.S.
shipmentsbymattresstype(i.e.,innerspring,nonͲinnerspring,andhybrid)10during2019.11
During2019,***percentofallmattressesshippedintheUnitedStateswereinnerspring
mattresses,***percentwerenonͲinnerspringmattresses,and***percentwerehybrid
mattresses.Theoverwhelmingmajority(***percent)ofU.S.shipmentsofinnerspring
mattressesduring2019weremanufacturedintheUnitedStates,while***percentwere
importedfromsubjectcountriesand***percentwereimportedfromnonsubjectsources.
MattressesproducedintheUnitedStatesaccountedfor***and***percentoftotalU.S.
shipmentsofnonͲinnerspringandhybridmattressesin2019,respectively.NonͲinnerspring
mattressesaccountedforthelargestshareoftotalU.S.shipmentsbyimportersfromChina,
Indonesia,Malaysia,Serbia,andVietnamduring2019,whereashybridmattressesaccounted
forthemajorityoftotalU.S.shipmentsofmattressesimportedfromCambodiaandTurkey,and
innerspringmattressesaccountedforthelargestshareoftotalU.S.shipmentsofU.S.product
andtotalU.S.shipmentsofmattressesimportedfromThailand.WiththeexceptionofU.S.
shipmentsofimportsfromSerbia,therewerereportedU.S.shipmentsofallthreetypesof
mattressesfromeachofthesubjectcountriesduring2019.OnlyU.S.shipmentsofnonͲ
innerspringmattresseswerereportedbyU.S.importersfromSerbiaduring2019,withnoU.S
shipmentsofimportsofinnerspringorhybridmattressesfromSerbia.




     10
     Forpurposesofpresentationofdatainthisreport,“innerspringmattresses”aremattressesthat
containinnersprings,whichareaseriesofmetalspringsjoinedtogetherinsizesthatcorrespondtothe
dimensionsoffinishedmattresses.Innerspringsmaybecomprisedofwrappedcoilsoropen/nonͲ
wrappedcoils.Wrappedinnerspringcoilsconsistofcoilsthatareindividuallyencasedinanonwovenor
wovenmaterialinrows,whichrowsarethenboundtogethertoformaninnerspring.Open/nonͲ
wrappedcoilsaregenerallyjoinedtogetherbyhelicalwire.“NonͲinnerspringmattresses”are
mattressesthatdonotcontainanyinnerspringunits.Theyaregenerallyproducedfromfoams(e.g.,
polyurethane,memory(viscoelastic),latexfoam,gelͲinfusedviscoelastic(gelfoam),thermobonded
polyester,polyethylene)orotherresilientfilling.“Hybridmattresses”containtwoormoresupport
systemsasthecore,suchaslayersofbothmemoryfoamandinnerspringunits.
   11
     U.S.producers’andU.S.importers’U.S.shipmentsbymattresstypeduring2017Ͳ19,Januaryto
September2019,andJanuarytoSeptember2020arepresentedinappendixF(tablesFͲ1(U.S.
producers)andFͲ2(U.S.importers)).


                                                IVͲ17
                                            Appx14907
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Table IV-4
Mattresses: U.S. producers' and U.S. importers' U.S. shipments by product type, 2019
                                                                   U.S. shipments
                                                                  Non-                      All product
                    Source                    Innerspring innerspring           Hybrid         types
                                                                   Quantity (units)
 U.S. producers                                 10,016,382       6,034,105     2,236,067     18,286,554
 Imports from.--
   Cambodia                                              ***            ***            ***           ***
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                              986,926       4,506,536     2,490,826      7,984,288
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
                                                               Share across (percent)
 U.S. producers                                        54.8           33.0           12.2          100.0
 Imports from.--                                         ***            ***            ***           ***
   Cambodia
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                  12.4           56.4           31.2          100.0
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
                                                                Share down (percent)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--
   Cambodia                                              ***            ***            ***           ***
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                               IVͲ18
                                            Appx14908
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Figure IV-4
Mattresses: U.S. producers' and U.S. importers' U.S. shipments by product type, 2019


                    *        *         *         *         *        *            *


Source: Compiled from data submitted in response to Commission questionnaires.

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                                             IVͲ19
                                           Appx14909
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U.S.shipmentsofMiBsbyproducttype

          TableIVͲ5andfigureIVͲ5presentdataonU.S.producers’andU.S.importers’U.S.
shipmentsofMiBsbymattresstype(i.e.,innerspring,nonͲinnerspring,andhybrid)during
2019.12During2019,***percentofallMiBmattressesshippedintheUnitedStateswerenonͲ
innerspringmattresses,***percentwerehybridmattresses,and***percentwereinnerspring
mattresses.Themajority(***percent)oftotalU.S.shipmentsofMiBsin2019wereimported
fromsubjectcountries,whileU.S.producers’MiBshipmentsandU.S.shipmentsofnonsubject
countryMiBimportsaccountedforsmallershares(***percentand***percent,respectively).
Likewise,themajorityofU.S.shipmentsofinnerspring,nonͲinnerspring,andhybridMiBs(***
percent,***percent,and***percent,respectively)during2019weresubjectcountryimports.
Domesticproducersaccountedfor***percent,***percent,and***percentoftotalU.S.MiB
shipmentsofinnerspring,nonͲinnerspring,andhybridmattressesin2019,respectively.NonͲ
innerspringMiBsaccountedforthelargestshareoftotalU.S.shipmentsbyU.S.producersand
importersfromChina,Indonesia,Malaysia,Serbia,andVietnamduring2019,whereashybrid
MiBsaccountedforthemajorityoftotalU.S.shipmentsofmattressesimportedfromCambodia
andTurkey,andinnerspringMiBsaccountedforthelargestshareoftotalU.S.shipmentsof
importsfromThailand.WiththeexceptionofU.S.shipmentsofimportsfromSerbiaand
Turkey,therewereU.S.shipmentsofallthreetypesofMiBsfromU.S.producersandU.S.
importersfromeachofthesubjectcountriesduring2019.TherewerenoU.Sshipmentsof
importsofinnerspringorhybridMiBsfromSerbiaandnoU.S.shipmentsofimportsof
innerspringMiBsfromTurkey.




     12
     U.S.producers’andU.S.importers’U.S.shipmentsofMiBsbymattresstypeduring2017Ͳ19,
JanuarytoSeptember2019,andJanuarytoSeptember2020arepresentedinappendixF(tablesFͲ1
(U.S.producers)andFͲ2(U.S.importers)).


                                              IVͲ20
                                           Appx14910
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Table IV-5
Mattresses: U.S. producers' and U.S. importers' U.S. shipments of MiBs by product type, 2019
                                                                 MiB U.S. shipments
                                                                  Non-                      All product
                    Source                     Innerspring innerspring          Hybrid         types
                                                                   Quantity (units)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--
   Cambodia                                              ***            ***            ***           ***
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
                                                               Share across (percent)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--                                         ***            ***            ***           ***
   Cambodia
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
                                                                Share down (percent)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--                                         ***            ***            ***           ***
   Cambodia
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
        


                                               IVͲ21
                                            Appx14911
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Figure IV-5
Mattresses: U.S. producers' and U.S. importers' U.S. shipments of MiBs by product type, 2019


                    *         *        *         *         *         *           *


Source: Compiled from data submitted in response to Commission questionnaires.

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                                             IVͲ22
                                           Appx14912
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U.S.shipmentsofFPMsbyproducttype

          TableIVͲ6andfigureIVͲ6presentdataonU.S.producers’andU.S.importers’U.S.
shipmentsofFPMsbymattresstype(i.e.,innerspring,nonͲinnerspring,andhybrid)during
2019.13During2019,***percentofallFPMsshippedintheUnitedStateswereinnerspring
mattresses,***percentwerenonͲinnerspringmattresses,and***percentwerehybrid
mattresses.Theoverwhelmingmajority(***)ofU.S.shipmentsofallthreetypesofFPMs
during2019weremanufacturedintheUnitedStates.Therewererelativelysmalleramountsof
importsofFPMsfromCambodia,China,Indonesia,Turkey,Vietnam,andnonsubjectcountries
andnoreportedimportsofFPMsin2019fromMalaysia,Serbia,andThailand.Innerspring
FPMsaccountedforthelargestshareoftotalU.S.FPMshipmentsbyU.S.producersand
importersfromCambodia,Turkey,andVietnamduring2019,whereasnonͲinnerspringFPMs
accountedforthemajorityoftotalU.S.FPMshipmentsimportedfromChinaandIndonesia.
TheU.S.producersandimportersfromChinaandVietnamreportedU.S.shipmentsofallthree
typesofFPMsduring2019.ImportersfromCambodiareportedU.S.shipmentsofinnerspring
andhybridFPMsin2019(nononͲinnerspringFPMs),IndonesiareportedU.SshipmentsofnonͲ
innerspringandhybridFPMsin2019(noinnerspringFPMs),andTurkeyreportedU.S.
shipmentsofinnerspringFPMsin2019(nononͲinnerspringandhybridFPMs).




     13
     U.S.producers’andU.S.importers’U.S.shipmentsofFPMsbymattresstypeduring2017Ͳ19,
JanuarytoSeptember2019,andJanuarytoSeptember2020arepresentedinappendixF(tablesFͲ1
(U.S.producers)andFͲ2(U.S.importers)).


                                              IVͲ23
                                           Appx14913
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Table IV-6
Mattresses: U.S. producers' and U.S. importers' U.S. shipments of FPMs by product type, 2019
                                                                 FPM U.S. shipments
                                                                  Non-                      All product
                    Source                     Innerspring innerspring          Hybrid         types
                                                                   Quantity (units)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--
   Cambodia                                              ***            ***            ***           ***
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
                                                               Share across (percent)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--
   Cambodia                                              ***            ***            ***           ***
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
                                                                Share down (percent)
 U.S. producers                                          ***            ***            ***           ***
 Imports from.--
   Cambodia                                              ***            ***            ***           ***
   China                                                 ***            ***            ***           ***
   Indonesia                                             ***            ***            ***           ***
   Malaysia                                              ***            ***            ***           ***
   Serbia                                                ***            ***            ***           ***
   Thailand                                              ***            ***            ***           ***
   Turkey                                                ***            ***            ***           ***
   Vietnam                                               ***            ***            ***           ***
      Subject sources                                    ***            ***            ***           ***
      Nonsubject sources                                 ***            ***            ***           ***
        All import sources                               ***            ***            ***           ***
 U.S. producers and U.S. importers                       ***            ***            ***           ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                               IVͲ24
                                            Appx14914
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Figure IV-6
Mattresses: U.S. producers' and U.S. importers' U.S. shipments of FPMs by product type, 2019


                    *         *        *         *         *         *           *


Source: Compiled from data submitted in response to Commission questionnaires.

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                                             IVͲ25
                                           Appx14915
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        FiguresIVͲ7andIVͲ8illustratethesharesoftotalquantitiesofU.S.producers’andU.S.
importers’U.S.shipmentsofmattresses,bytype(i.e.,innerspring,nonͲinnerspring,andhybrid)
andpackaging(MiBsandFPMs)during2019.

Figure IV-7
Mattresses: U.S. producers' U.S. shipments of MiBs and FPMs, shares of quantity by product
type and packaging, 2019


                    *         *         *         *         *         *          *


Source: Compiled from data submitted in response to Commission questionnaires.


Figure IV-8
Mattresses: Subject U.S. importers' U.S. shipments of MiBs and FPMs, shares of quantity by
product type and packaging, 2019


                    *         *         *         *         *         *          *


Source: Compiled from data submitted in response to Commission questionnaires.

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                                              IVͲ26
                                            Appx14916
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U.S.shipmentsbyproductsize

          TableIVͲ7andfigureIVͲ9presentdataonU.S.producers’andU.S.importers’U.S.
shipmentsbymattresssize(i.e.,cribandallother)14during2019.15Ofthe53U.S.producers
and49U.S.importersthatprovidedusableresponsestotheCommission’squestionnaire,2
firmsreportedU.S.productionofcribmattressesatanypointsinceJanuary1,2017(***)and6
firmsreportedU.S.importsofcribmattresses(***).During2019,only***percentofall
mattressesshippedintheUnitedStateswerecribmattresses.Themajority(***percent)of
U.S.shipmentsofcribmattressesduring2019weremanufacturedintheUnitedStates,while
smallershareswereimportedfromsubjectcountries(***percent)andnonsubjectcountries
(***percent).China,Malaysia,andVietnamweretheonlysubjectcountriesthatreported
importsofcribmattressesin2019;however,themajorityofeachcountries’U.S.shipmentsof
importswereofmattressesotherthancribͲsizedmattresses.U.S.shipmentsofcribmattresses
accountedfor***percent,***percent,and***percentoftotalU.S.shipmentsofmattress
importsfromChina,Malaysia,andVietnamand***percentoftotalU.S.producers’U.S.
shipmentsofmattressesduring2019.




     14
     Forpurposesofthisreport,“cribmattresses”haveawidthexceeding27inches,alengthexceeding
51inches,andadepthbetween1inchand6inchesinclusive,onanominalbasis.Suchmattressesare
typicallydesignedtofitUSAstandardfullͲsizecribs.
   15
     U.S.producers’andU.S.importers’U.S.shipmentsbymattresssizeduring2017Ͳ19,Januaryto
September2019,andJanuarytoSeptember2020arepresentedinappendixF(tablesFͲ3(U.S.
producers)andFͲ4(U.S.importers)).


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Table IV-7
Mattresses: U.S. producers' and U.S. importers' U.S. shipments by size, 2019
                                                                        U.S. shipments
                         Source                            Crib           All other         All sizes
                                                                        Quantity (units)
 U.S. producers                                                  ***                ***               ***
 Imports from.--                                                 ***                ***               ***
   Cambodia
   China                                                         ***                ***               ***
   Indonesia                                                     ***                ***               ***
   Malaysia                                                      ***                ***               ***
   Serbia                                                        ***                ***               ***
   Thailand                                                      ***                ***               ***
   Turkey                                                        ***                ***               ***
   Vietnam                                                       ***                ***               ***
      Subject sources                                            ***                ***               ***
      Nonsubject sources                                          ***               ***               ***
        All import sources                                       ***                ***               ***
 U.S. producers and U.S. importers                               ***                ***               ***
                                                                     Share across (percent)
 U.S. producers                                                  ***                ***               ***
 Imports from.--                                                 ***                ***               ***
   Cambodia
   China                                                         ***                ***               ***
   Indonesia                                                     ***                ***               ***
   Malaysia                                                      ***                ***               ***
   Serbia                                                        ***                ***               ***
   Thailand                                                      ***                ***               ***
   Turkey                                                        ***                ***               ***
   Vietnam                                                       ***                ***               ***
      Subject sources                                            ***                ***               ***
      Nonsubject sources                                          ***               ***               ***
        All import sources                                       ***                ***               ***
 U.S. producers and U.S. importers                               ***                ***               ***
                                                                      Share down (percent)
 U.S. producers                                                  ***                ***               ***
 Imports from.--                                                 ***                ***               ***
   Cambodia
   China                                                         ***                ***               ***
   Indonesia                                                     ***                ***               ***
   Malaysia                                                      ***                ***               ***
   Serbia                                                        ***                ***               ***
   Thailand                                                      ***                ***               ***
   Turkey                                                        ***                ***               ***
   Vietnam                                                       ***                ***               ***
      Subject sources                                            ***                ***               ***
      Nonsubject sources                                          ***               ***               ***
        All import sources                                       ***                ***               ***
 U.S. producers and U.S. importers                               ***                ***               ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
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Figure IV-9
Mattresses: U.S. producers' and U.S. importers' U.S. shipments by size, 2019


                    *         *        *         *         *         *           *


Source: Compiled from data submitted in response to Commission questionnaires.

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Geographicalmarkets
          MattressesproducedintheUnitedStatesandimportedintotheUnitedStatesare
shippednationwide.16TableIVͲ8presentsU.S.importquantitiesofmattressesbysourceand
borderofentryduring2019.17In2019,U.S.importstatisticsfortheprimaryHTSstatistical
reportingnumbersforimportsofmattresses(9404.21.0010,9404.21.0013,9404.29.1005,
9404.29.1013,9404.29.9085,and9404.29.9087)showthatimportsfromeachsubjectcountry
enteredallU.Sregionsin2019.TheWesternborderofentryaccountedforthelargestshareof
totalimportsfromCambodia,China,Malaysia,andVietnam,whereastheEasternborderof
entryaccountedforthelargestshareoftotalimportsfromIndonesia,Serbia,andThailand,and
theNorthernborderofentryaccountedforthelargestshareoftotalimportsfromTurkey.




     16
      Domesticproducersprovidingresponsesintheseinvestigationsreportedthattheymanufacture
mattressesin33states.PetitionersnotedthattheU.S.mattressindustryhasthegeographicreachto
deliveramattressanywhereintheUnitedStateswithindaysofreceivinganorder.Petitioners’
postconferencebrief,pp.22Ͳ23.Respondentsindicatethatimportsfromsubjectcountriesareavailable
inallgeographicregionsoftheUnitedStates,aswell.Jointrespondents’postconferencebrief,response
tostaffquestions,p.12.SeePartIIforadditionalinformationongeographicalmarkets.
    17
      The“East”borderofentryincludesthefollowingCustomsentrydistrictsforimportsofmattresses
fromsubjectcountriesduring2019:Baltimore,MD;Boston,MA;Buffalo,NY;Charleston,SC;NewYork,
NY;Norfolk,VA;Ogdensburg,NY;Philadelphia,PA;SanJuan,PR;Savannah,GA;St.Albans,VT;and
Washington,DC.The“North”borderofentryincludesthefollowingCustomsentrydistrictsforimports
ofmattressesfromsubjectcountriesduring2019:Chicago,IL;Cleveland,OH;Detroit,MI;Duluth,MN;
GreatFalls,MT;Minneapolis,MN;andSt.Louis,MO.The“South”borderofentryincludesthefollowing
Customsentrydistrictsforimportsofmattressesfromsubjectcountriesduring2019:DallasͲFortWorth,
TX;HoustonͲGalveston,TX;Miami,FL;Mobile,AL;NewOrleans,LA;andTampa,FL.The“West”border
ofentryincludesthefollowingCustomsentrydistrictsforimportsofmattressesfromsubjectcountries
during2019:ColumbiaͲSnake,OR;Honolulu,HI;LosAngeles,CA;SanFrancisco,CA;andSeattle,WA.


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Table IV-8
Mattresses: U.S. imports by border of entry, 2019
                                                                  Border of entry
                                                                                                All
                     Item                     East        North      South         West       borders
                                                                  Quantity (units)
    U.S. imports from.--
     Cambodia                                 84,794        74,079     18,240    333,715       510,828
      China                                  588,033       364,674    157,225    759,777     1,869,709
      Indonesia                              368,406       104,931    182,165    284,563       940,065
      Malaysia                               110,798        57,714      7,357    195,918       371,787
      Serbia                                 129,428        95,072     32,571     24,295       281,366
      Thailand                                76,396        52,360     12,466     53,376       194,598
      Turkey                                  95,062       119,284     26,683        379       241,408
      Vietnam                                549,665       375,984     91,739    671,853     1,689,241
        Subject sources                    2,002,582     1,244,098    528,446 2,323,876      6,099,002
        Nonsubject sources                    70,026        39,228    579,329    585,843     1,274,426
           All import sources              2,072,608     1,283,326 1,107,775 2,909,719       7,373,428
                                                              Share across (percent)
    U.S. imports from.--
     Cambodia                                    16.6        14.5       3.6           65.3        100.0
      China                                      31.5        19.5       8.4           40.6        100.0
      Indonesia                                  39.2        11.2      19.4           30.3        100.0
      Malaysia                                   29.8        15.5       2.0           52.7        100.0
      Serbia                                     46.0        33.8      11.6            8.6        100.0
      Thailand                                   39.3        26.9       6.4           27.4        100.0
      Turkey                                     39.4        49.4      11.1            0.2        100.0
      Vietnam                                    32.5        22.3       5.4           39.8        100.0
        Subject sources                          32.8        20.4       8.7           38.1        100.0
        Nonsubject sources                        5.5         3.1      45.5           46.0        100.0
           All import sources                    28.1        17.4      15.0           39.5        100.0
                                                             Share down (percent)
 U.S. imports from.--
  Cambodia                                        4.1         5.8          1.6         11.5          6.9
   China                                        28.4         28.4        14.2          26.1         25.4
   Indonesia                                    17.8          8.2        16.4           9.8         12.7
   Malaysia                                       5.3         4.5          0.7          6.7          5.0
   Serbia                                         6.2         7.4          2.9          0.8          3.8
   Thailand                                       3.7         4.1          1.1          1.8          2.6
   Turkey                                         4.6         9.3          2.4          0.0          3.3
   Vietnam                                      26.5         29.3          8.3         23.1         22.9
      Subject sources                           96.6         96.9         47.7         79.9         82.7
      Nonsubject sources                          3.4         3.1         52.3         20.1         17.3
        All import sources                    100.0        100.0        100.0         100.0        100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Official U.S. import statistics for HTS statistical reporting numbers 9404.21.0010, 9404.21.0013,
9404.29.1005, 9404.29.1013, 9404.29.9085, and 9404.29.9087, accessed April 6, 2020. Other secondary
HTS statistical reporting numbers under which U.S. imports of subject mattresses may enter the United
States include: 9401.40.0000, 9401.90.5081, 9404.21.0000, 9404.21.0090, 9404.21.0095, 9404.29.1095,
9404.29.9050, 9404.29.9091, and 9404.29.9095. Entries of U.S. imports under secondary HTS numbers
explain the greater than 100 percent coverage data in questionnaire responses for certain sources.
          



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Presenceinthemarket
        TableIVͲ9andfigureIVͲ10presentmonthlyofficialU.S.importstatisticsforsubject
countriesandnonsubjectsources.ThemonthlyimportstatisticsindicatethatU.S.importsof
mattressesfromChinawerepresentineachmonthduringJanuary2017toDecember2019.As
importsofmattressesfromChinaincreasedduring2017Ͳ18,monthlyimportsofmattresses
fromtheothersubjectcountriesweresporadicallypresentintheU.S.market.Duringthe24
monthsof2017Ͳ18,importsfromCambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,and
VietnamwerepresentintheU.S.marketin10,2,1,0,1,10,and7months,respectively.
However,asimportsofmattressesfromChinasharplydeclinedthroughout2019,importsof
mattressesfromtheothersubjectcountriesincreasedandwerelargelypresentintheU.S.
marketinmostmonths.Duringthe12monthsofJanuaryͲDecember2019,importsof
mattressesfromCambodia,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnamwere
presentintheU.S.marketin12,9,11,9,7,11,and12months,respectively.Importsof
mattressesfromallsubjectcountriescombinedwerepresentintheU.S.marketeverymonth
fromJune2019throughNovember2020.
        




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Table IV-9
Mattresses: U.S. imports by month, January 2017 through November 2020
         U.S. imports         Cambodia      China    Indonesia Malaysia        Serbia    Thailand
                                                       Quantity (units)
 2017.--
  January                           1,008   259,964          ---         ---       ---         ---
   February                           448   204,860          ---         ---       ---         ---
   March                               ---  151,486           1          ---       ---         ---
   April                              919   216,019          ---         ---       ---         ---
   May                                 ---  339,692          ---         ---       ---         ---
   June                                ---  379,622          ---         ---       ---         ---
   July                               125   532,724          ---         ---       ---         10
   August                              ---  444,498          ---         ---       ---         ---
   September                           ---  431,090          ---         ---       ---         ---
   October                          1,376   496,017          ---         ---       ---         ---
   November                            ---  590,440          ---         ---       ---         ---
   December                            ---  549,885          ---         ---       ---         ---
 2018.--
  January                              ---  351,304          ---         ---       ---         ---
   February                            ---  355,835          ---         ---       ---         ---
   March                               ---  246,461          ---          2        ---         ---
   April                               ---  237,227          ---         ---       ---         ---
   May                                 ---  368,489          ---         ---       ---         ---
   June                               147   490,330          ---         ---       ---         ---
   July                               300   573,482          ---         ---       ---         ---
   August                           1,150   518,574          ---         ---       ---         ---
   September                          985   580,930          ---         ---       ---         ---
   October                             ---  708,352          ---         ---       ---         ---
   November                         1,430   682,280           3          ---       ---         ---
   December                            ---  816,939          ---         ---       ---         ---
 2019.--
  January                           3,246   570,225          ---         ---       ---         ---
   February                         4,316   626,633          ---        527        ---         ---
   March                            8,766   253,970          ---      1,000        ---         ---
   April                           20,996   156,054           1         609       325          ---
   May                             25,374   176,425      12,596       5,677    24,303          ---
   June                            46,755    43,253      86,950     27,194     13,795       3,898
   July                            64,387    12,856     119,307     30,731     28,691       4,577
   August                          80,244    12,315     125,187     45,088     38,819       8,803
   September                       81,370     4,611     159,501     44,737     33,578      34,059
   October                         75,932     5,551     156,147     64,800     56,410      26,571
   November                        39,931     2,480     128,170     65,327     49,657      49,470
   December                        59,511     5,336     152,206     86,097     35,788      67,220
 2020.--
  January                          57,026     5,675     215,581    113,108     52,631      68,376
   February                        64,683     1,132     233,568    117,275     59,041      52,777
   March                           76,756     3,272     216,392    102,563     35,876      36,221
   April                           53,318     3,455     165,581     65,203     74,237      25,095
   May                           111,566        435     161,249     47,443     34,855      29,479
   June                            65,231    14,733     171,353     84,989     68,103      46,366
   July                            95,473    27,580      57,827    136,248     58,594      61,842
   August                        124,958      4,877      72,095    187,256     36,326      47,387
   September                       82,757     5,766      95,795    123,612     70,795      77,410
   October                         80,502     2,778      88,599    135,943     41,470      80,229
   November                           702     2,125      31,484     43,987     10,905       1,622
Table continued on next page.



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Table IV-9—Continued
Mattresses: U.S. imports by month, January 2017 through November 2020
                                                                       Subject Nonsubject All import
              U.S. imports                    Turkey      Vietnam sources           sources     sources
                                                                      Quantity (units)
 2017.--
   January                                          ---           ---   260,972         85,690    346,662
   February                                         ---           ---   205,308         83,013    288,321
   March                                            ---           ---   151,487         89,316    240,803
   April                                            ---           ---   216,938         79,356    296,294
   May                                              27            ---   339,719         92,471    432,190
   June                                           212             ---   379,834        126,863    506,697
   July                                             ---         200     533,059        104,918    637,977
   August                                           18          360     444,876        134,560    579,436
   September                                        ---           ---   431,090         96,709    527,799
   October                                          ---         166     497,559         79,282    576,841
   November                                           2            1    590,443         72,272    662,715
   December                                         ---           ---   549,885         66,535    616,420
 2018.--
   January                                          ---           ---   351,304         98,620    449,924
   February                                         ---           ---   355,835         97,695    453,530
   March                                            ---           ---   246,463         92,588    339,051
   April                                            26            ---   237,253        113,570    350,823
   May                                              ---           ---   368,489        111,553    480,042
   June                                             ---         145     490,622        112,635    603,257
   July                                             ---         156     573,938        121,846    695,784
   August                                           42            ---   519,766        147,299    667,065
   September                                        35            ---   581,950         94,534    676,484
   October                                        109             ---   708,461        112,558    821,019
   November                                       123             ---   683,836         96,459    780,295
   December                                       126         3,281     820,346         81,237    901,583
 2019.--
   January                                        305        21,543     595,319        104,950    700,269
   February                                     1,453        32,581     665,510         73,644    739,154
   March                                            ---      54,633     318,369         87,394    405,763
   April                                        2,274        74,023     254,282         98,675    352,957
   May                                         15,395       110,435     370,205        140,944    511,149
   June                                        13,539        91,784     327,168        120,833    448,001
   July                                        21,723       145,383     427,655        138,387    566,042
   August                                      22,161       182,791     515,408        123,427    638,835
   September                                   33,261       180,498     571,615        104,211    675,826
   October                                     28,881       266,765     681,057        115,188    796,245
   November                                    28,900       234,543     598,478         94,987    693,465
   December                                    73,516       294,262     773,936         71,786    845,722
 2020.--
   January                                     92,333       308,426     913,156        115,531  1,028,687
   February                                   101,739       210,579     840,794        108,333    949,127
   March                                      136,696       202,224     810,000         78,391    888,391
   April                                       91,561       163,121     641,571         50,935    692,506
   May                                         57,878       109,311     552,216         53,173    605,389
   June                                       103,754       176,339     730,868         93,190    824,058
   July                                       150,323       266,211     854,098        160,165  1,014,263
   August                                      87,366       273,596     833,861        140,430    974,291
   September                                  141,962       312,846     910,943        132,153  1,043,096
   October                                    105,334       414,196     949,051        129,577  1,078,628
   November                                    48,476       104,278     243,579        145,022    388,601
Source: Official U.S. import statistics for HTS statistical reporting number 9404.21.0010, 9404.21.0013,
9404.29.1005, 9404.29.1013, 9404.29.9085, and 9404.29.9087, accessed January 13, 2021.


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                Figure IV-10
                Mattresses: U.S. imports from individual subject sources, by month, January 2017 through
                November 2020



                900


                800


                700


                600
(1,000 units)
  Quantity




                500


                400


                300


                200


                100


                    0
                        Jan Mar May Jul Sep Nov Jan Mar May Jul Sep Nov Jan Mar May Jul Sep Nov Jan Mar May Jul Sep Nov
                                  2017                    2018                      2019                     2020




            Cambodia              China       Indonesia       Malaysia         Serbia       Thailand        Turkey          Vietnam


                Source: Official U.S. import statistics for HTS statistical reporting numbers 9404.21.0010, 9404.21.0013,
                9404.29.1005, 9404.29.1013, 9404.29.9085, and 9404.29.9087, accessed April 6, 2020.




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ApparentU.S.consumptionandU.S.marketshares
Allmattresses
          TableIVͲ10,tableIVͲ11,andfigureIVͲ11presentdataonapparentU.S.consumption
andU.S.marketsharesformattresses.ApparentU.S.consumptionintermsofquantity
increasedby***percentfrom2017to2018andby***percentfrom2018to2019,ending***
percenthigherin2019thanin2017.18ApparentU.S.consumptionwas***percenthigherin
interim2020comparedwithinterim2019.TheincreaseinapparentU.S.consumptionwas
capturedentirelybyU.S.importers’increasedU.S.shipmentsofmattressesfromsubject
countries,whichincreasedby52.2percentfrom2017to2019andwere29.0percenthigherin
interim2020comparedwithinterim2019,asU.S.shipmentsbyproducersandimportersfrom
nonsubjectcountriesdeclinedfrom2017to2019.U.S.shipmentsbyproducersweremarginally
higherininterim2020comparedwithinterim2019butU.S.shipmentsofimportsfrom
nonsubjectsourceswerelower.ThevalueofapparentU.S.consumptionlargelymirroredthe
changeinthequantityofapparentU.S.consumption.
          U.S.producers’marketshare,byquantity,decreasedfrom***percentin2017to***
percentin2018andto***percentin2019.TheshareoftheU.S.marketheldbyU.S.
producerswaslowerat***percentininterim2020comparedwith***percentininterim
2019.19Conversely,themarketshareofimportsfromallsubjectcountriescombinedincreased
from***percentin2017to***percentin2019andwashigherat***percentininterim2020
comparedwith***percentininterim2019.ThemarketshareofimportsfromChinaalone
increasedfrom***percentin2017to***percentin2018.However,whilethemarketshares
ofimportsfromcountriesotherthanChinaincreasedbetween2018and2019,themarket
shareofimportsfromChinadecreasedfrom***percentin2018to***percentin2019and
waslowerat***percentininterim2020.TheaggregateshareoftheU.S.marketheldby
importsfromthesevensubjectcountriesotherthanChinawas***percentin2017,***
percentin2018,and***percentin2019,***percentininterim2019,and***




     18
     Accordingtopetitionersandrespondents,demandformattressescanbeinfluencedbygross
domesticproduct,consumersentiment,andthehousingmarket.Petitioners’postconferencebrief,
responsetostaffquestions,p.6.;Petitioners’prehearingbrief,pp.12Ͳ13;Jointrespondents’
postconferencebrief,responsetostaffquestions,p.5;andjointrespondents’prehearingbrief,p.77.
   19
     ThedecreaseinU.S.producers’marketsharelargelyreflectsdecreasedU.S.shipmentsby***.See
PartIIIforadditionalinformationonrespondingU.S.producers’operations.


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                                            Appx14926
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percentininterim2020.Themarketshareofnonsubjectimportsdecreasedfrom***percent
in2017to***percentin2019,andwaslowerat***percentininterim2020comparedwith
interim2019.

Table IV-10
Mattresses: Apparent U.S. consumption, 2017-19, January to September 2019, and January to
September 2020
                                                     Calendar year                January to September
                  Item                     2017          2018         2019          2019          2020
                                                                 Quantity (units)
U.S. producers' U.S. shipments           19,236,908 18,226,947 18,286,554 13,963,203 14,011,538
U.S. importers' U.S. shipments
from.--
  Cambodia                                       ***           ***          ***           ***           ***
   China                                         ***           ***          ***           ***           ***
   Indonesia                                     ***           ***          ***           ***           ***
   Malaysia                                      ***           ***          ***           ***           ***
   Serbia                                        ***           ***          ***           ***           ***
   Thailand                                      ***           ***          ***           ***           ***
   Turkey                                        ***           ***          ***           ***           ***
   Vietnam                                       ***           ***          ***           ***           ***
     Subject sources                      5,246,403     6,754,207    7,984,288     5,665,403    7,306,008
        Of which previously
        investigated source                      ***           ***          ***           ***           ***
        Of which newly
        investigated sources                     ***           ***          ***           ***           ***
     Nonsubject sources                           ***          ***          ***           ***           ***
        All import sources                       ***           ***          ***           ***           ***
Apparent U.S. consumption                        ***           ***          ***           ***           ***
                                                              Value (1,000 dollars)
U.S. producers' U.S. shipments            5,103,659     5,032,747    5,298,044     3,991,781    4,030,633
U.S. importers' U.S. shipments
from.--
  Cambodia                                       ***           ***          ***           ***           ***
   China                                         ***           ***          ***           ***           ***
   Indonesia                                     ***           ***          ***           ***           ***
   Malaysia                                      ***           ***          ***           ***           ***
   Serbia                                        ***           ***          ***           ***           ***
   Thailand                                      ***           ***          ***           ***           ***
   Turkey                                        ***           ***          ***           ***           ***
   Vietnam                                       ***           ***          ***           ***           ***
     Subject sources                        677,335       836,988    1,042,647       726,253      928,040
        Of which previously
        investigated source                      ***           ***          ***           ***           ***
        Of which newly
        investigated sources                     ***           ***          ***           ***           ***
     Nonsubject sources                           ***          ***          ***           ***           ***
        All import sources                       ***           ***          ***           ***           ***
Apparent U.S. consumption                        ***           ***          ***           ***           ***
Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.




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                                             Appx14927
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Table IV-11
Mattresses: Market shares, 2017-19, January to September 2019, and January to September 2020
                                                  Calendar year                 January to September
                  Item                   2017         2018          2019          2019           2020
                                                              Quantity (units)
Apparent U.S. consumption                      ***          ***            ***           ***          ***
                                                        Share of quantity (percent)
U.S. producers' U.S. shipments                 ***          ***            ***           ***          ***
U.S. importers' U.S. shipments
from.--
  Cambodia                                     ***          ***            ***           ***          ***
   China                                       ***          ***            ***           ***          ***
   Indonesia                                   ***          ***            ***           ***          ***
   Malaysia                                    ***          ***            ***           ***          ***
   Serbia                                      ***          ***            ***           ***          ***
   Thailand                                    ***          ***            ***           ***          ***
   Turkey                                      ***          ***            ***           ***          ***
   Vietnam                                     ***          ***            ***           ***          ***
     Subject sources                           ***          ***            ***           ***          ***
        Of which previously
        investigated source                    ***          ***            ***           ***          ***
        Of which newly
        investigated sources                   ***          ***            ***           ***          ***
     Nonsubject sources                        ***          ***            ***           ***          ***
        All import sources                     ***          ***            ***           ***          ***
                                                           Value (1,000 dollars)
Apparent U.S. consumption                      ***          ***            ***           ***          ***
                                                          Share of value (percent)
U.S. producers' U.S. shipments                 ***          ***            ***           ***          ***
U.S. importers' U.S. shipments
from.--
  Cambodia                                     ***          ***            ***           ***          ***
   China                                       ***          ***            ***           ***          ***
   Indonesia                                   ***          ***            ***           ***          ***
   Malaysia                                    ***          ***            ***           ***          ***
   Serbia                                      ***          ***            ***           ***          ***
   Thailand                                    ***          ***            ***           ***          ***
   Turkey                                      ***          ***            ***           ***          ***
   Vietnam                                     ***          ***            ***           ***          ***
     Subject sources                           ***          ***            ***           ***          ***
        Of which previously
        investigated source                    ***          ***            ***           ***          ***
        Of which newly
        investigated sources                   ***          ***            ***           ***          ***
     Nonsubject sources                        ***          ***            ***           ***          ***
        All import sources                     ***          ***            ***           ***          ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.




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                                             Appx14928
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Figure IV-11
Mattresses: Apparent U.S. consumption, 2017-19, January to September 2019, and January to
September 2020


                    *        *         *         *         *        *            *


Source: Compiled from data submitted in response to Commission questionnaires.




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MiBmattresses
        TableIVͲ12andfigureIVͲ12presentdataonU.S.producers’andU.S.importers’U.S.
shipmentsofMiBs,andtableIVͲ13presentsdataontheshareoftheentiremattressmarket
heldbyMiBs.CombinedU.S.producers’andU.S.importers’U.S.shipmentsofMiBsincreased
by***percentfrom2017to2019,andwere***percenthigherininterim2020comparedwith
interim2019.TheseMiBcombinedshipmentsalsoaccountedforanincreasingshareof
apparentU.S.consumptionofallmattresses,increasingfrom***percentofapparentU.S.
consumptionofmattressesin2017to***percentin2019,andhigherat***percentininterim
2020comparedwith***percentininterim2019.Thesubjectcountriesheld***ofcombined
U.S.producerandimporterMiBshipmentsin2019andU.S.producersheld***.U.S.
producers’shareofcombinedU.S.MiBshipmentsincreasedfrom***percentin2017to***
percentin2019,butwas***percentagepointslowerininterim2020(at***percent)thanin
interim2019(at***percent).Theshareheldbyimportsfromallsubjectcountriescombined
increasedfrom***percentin2017to***percentin2018,butdeclinedto***percentin
2019.Importsfromsubjectcountriesheldahighershare(***percent)ininterim2020
comparedwithinterim2019(***percent).TheMiBshareheldbyimportsfromChinaalone
increasedfrom***percentin2017to***percentin2018,butdecreasedto***percentin
2019,andwaslowerat***percentininterim2020comparedwith***percentininterim
2019.TheaggregateshareoftotalU.S.MiBshipmentsheldbyimportsfromthesevensubject
countriesotherthanChinawas***percentin2017,***percentin2018,***percentin2019,
and***percentininterim2020comparedwith***percentininterim2019.TheMiBshare
heldbynonsubjectimportsdecreasedfrom***percentin2017to***percentin2019,and
waslowerininterim2020comparedwithinterim2019.




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                                         Appx14930
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Table IV-12
MiB mattresses: U.S. producers' and U.S. importers' U.S. shipments, 2017-19, January to
September 2019, and January to September 2020
                                                     Calendar year               January to September
                   Item                     2017         2018        2019          2019          2020
                                                                 Quantity (units)
U.S. producers' U.S. shipments            1,691,800 2,181,182       3,720,877 2,767,582        3,310,344
U.S. importers' U.S. shipments from.--
  Cambodia                                        ***         ***           ***          ***          ***
  China                                           ***         ***           ***          ***          ***
  Indonesia                                       ***         ***           ***          ***          ***
  Malaysia                                        ***         ***           ***          ***          ***
  Serbia                                          ***         ***           ***          ***          ***
  Thailand                                        ***         ***           ***          ***          ***
  Turkey                                          ***         ***           ***          ***          ***
  Vietnam                                         ***         ***           ***          ***          ***
    Subject sources                       4,904,645 6,267,657       7,549,278 5,339,842        6,988,907
       Of which previously
       investigated source                        ***         ***           ***          ***          ***
       Of which newly
       investigated sources                       ***         ***           ***          ***          ***
    Nonsubject sources                            ***         ***           ***          ***          ***
       All import sources                         ***         ***           ***          ***          ***
U.S. producers and U.S. importers
combined                                          ***         ***           ***          ***          ***
                                                          Share of quantity (percent)
U.S. producers' U.S. shipments                    ***         ***           ***          ***          ***
U.S. importers' U.S. shipments from.--
  Cambodia                                        ***         ***           ***          ***          ***
  China                                           ***         ***           ***          ***          ***
  Indonesia                                       ***         ***           ***          ***          ***
  Malaysia                                        ***         ***           ***          ***          ***
  Serbia                                          ***         ***           ***          ***          ***
  Thailand                                        ***         ***           ***          ***          ***
  Turkey                                          ***         ***           ***          ***          ***
  Vietnam                                         ***         ***           ***          ***          ***
    Subject sources                               ***         ***           ***          ***          ***
       Of which previously
       investigated source                        ***         ***           ***          ***          ***
       Of which newly
       investigated sources                       ***         ***           ***          ***          ***
    Nonsubject sources                            ***         ***           ***          ***          ***
       All import sources                         ***         ***           ***          ***          ***
U.S. producers and U.S. importers
combined                                          ***         ***           ***          ***          ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.                              

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Figure IV-12
MiB mattresses: U.S. producers' and U.S. importers' U.S. shipments, 2017-19, January to
September 2019, and January to September 2020


                    *        *         *         *         *        *            *


Source: Compiled from data submitted in response to Commission questionnaires.




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                                           Appx14932
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Table IV-13
MiB mattresses: Shares of apparent consumption for MiBs, 2017-19, January to September 2019,
and January to September 2020
                                                   Calendar year                January to September
                  Item                    2017         2018         2019          2019           2020
                                                               Quantity (units)
Overall apparent consumption:
All mattresses                                 ***          ***            ***           ***          ***
Combined producers and importers:
MiB mattresses                                 ***          ***            ***           ***          ***
                                         Ratio to overall apparent consumption quantity (percent)
U.S. producers' U.S. shipments                 ***          ***            ***           ***          ***
U.S. importers' U.S. shipments from.--
  Cambodia                                     ***          ***            ***           ***          ***
   China                                       ***          ***            ***           ***          ***
   Indonesia                                   ***          ***            ***           ***          ***
   Malaysia                                    ***          ***            ***           ***          ***
   Serbia                                      ***          ***            ***           ***          ***
   Thailand                                    ***          ***            ***           ***          ***
   Turkey                                      ***          ***            ***           ***          ***
   Vietnam                                     ***          ***            ***           ***          ***
     Subject sources                           ***          ***            ***           ***          ***
       Of which previously
       investigated source                     ***          ***            ***           ***          ***
       Of which newly
       investigated sources                    ***          ***            ***           ***          ***
     Nonsubject sources                        ***          ***            ***           ***          ***
       All import sources                      ***          ***            ***           ***          ***
U.S. producers and U.S. importers
combined MiBs                                  ***          ***            ***           ***          ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.




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FPMmattresses
        TableIVͲ14andfigureIVͲ13presentdataonU.S.producers’andU.S.importers’U.S.
shipmentsofFPMs,andtableIVͲ15andfigureIVͲ14presentdataontheshareoftheentire
mattressmarketheldbyFPMs.CombinedU.S.producers’andU.S.importers’U.S.shipmentsof
FPMsdecreasedby***percentfrom2017to2019,andwere***percentlowerininterim
2020comparedwithinterim2019.TheseFPMcombinedshipmentsalsoaccountedforan
decreasingshareofapparentU.S.consumptionofallmattresses,decreasingfrom***percent
ofapparentU.S.consumptionofmattressesin2017to***percentin2019,and***percentin
interim2020comparedwith***percentininterim2019.ThevastmajorityofU.S.shipments
ofFPMsweredomesticallyproducedduringtheperiodofinvestigation.U.S.producers’share
ofcombinedU.S.FPMshipmentsdecreasedslightlyfrom***percentin2017to***percentin
2019,andremainedunchangedat***percentininterim2019and2020.Theshareheldby
importsfromallsubjectcountriescombinedincreasedfrom***percentin2017to***percent
in2018and2019,andremainedroughlyunchangedat***percentininterim2020compared
with***percentininterim2019.TheshareheldbyimportsfromChinaaloneincreasedfrom
***percentin2017to***percentin2018,butdecreasedto***percentin2019,andwas
lowerat***percentininterim2020comparedwith***percentininterim2019.Cambodia,
Indonesia,Turkey,andVietnamweretheonlyothersubjectsourcesofimportedFPMs.The
aggregateshareoftotalU.S.FPMshipmentsheldbyimportsfromthesubjectcountriesother
thanChinawas***percentin2017,***percentin2018,***percentin2019,and***percent
ininterim2020comparedwith***percentininterim2019.TheshareofcombinedU.S.FPM
shipmentsheldbynonsubjectimportsincreasedfrom***percentin2017to***percentin
2019,butwaslowerininterim2020(***percent)comparedwithinterim2019(***percent).
        




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Table IV-14
FPM mattresses: U.S. shipments of domestic product, U.S. shipments of imports, and apparent
U.S. consumption, 2017-19, January to September 2019, and January to September 2020
                                                  Calendar year                 January to September
                  Item                   2017         2018          2019          2019           2020
                                                              Quantity (units)
U.S. producers' U.S. shipments         17,545,108 16,045,765 14,565,677 11,195,621 10,701,194
U.S. importers' U.S. shipments
from.--
  Cambodia                                     ***          ***            ***           ***          ***
   China                                       ***          ***            ***           ***          ***
   Indonesia                                   ***          ***            ***           ***          ***
   Malaysia                                    ***          ***            ***           ***          ***
   Serbia                                      ***          ***            ***           ***          ***
   Thailand                                    ***          ***            ***           ***          ***
   Turkey                                      ***          ***            ***           ***          ***
   Vietnam                                     ***          ***            ***           ***          ***
     Subject sources                      341,758      486,550       435,010       325,561       317,101
        Of which previously
        investigated source                    ***          ***            ***           ***          ***
        Of which newly
        investigated sources                   ***          ***            ***           ***          ***
     Nonsubject sources                        ***          ***            ***           ***          ***
        All import sources                     ***          ***            ***           ***          ***
U.S. producers and U.S. importers
combined                                       ***          ***            ***           ***          ***
                                                        Share of quantity (percent)
U.S. producers' U.S. shipments                 ***          ***            ***           ***          ***
U.S. importers' U.S. shipments
from.--
  Cambodia                                     ***          ***            ***           ***          ***
   China                                       ***          ***            ***           ***          ***
   Indonesia                                   ***          ***            ***           ***          ***
   Malaysia                                    ***          ***            ***           ***          ***
   Serbia                                      ***          ***            ***           ***          ***
   Thailand                                    ***          ***            ***           ***          ***
   Turkey                                      ***          ***            ***           ***          ***
   Vietnam                                     ***          ***            ***           ***          ***
     Subject sources                           ***          ***            ***           ***          ***
        Of which previously
        investigated source                    ***          ***            ***           ***          ***
        Of which newly
        investigated sources                   ***          ***            ***           ***          ***
     Nonsubject sources                        ***          ***            ***           ***          ***
        All import sources                     ***          ***            ***           ***          ***
U.S. producers and U.S. importers
combined                                       ***          ***            ***           ***          ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.                              


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Figure IV-13
FPM mattresses: U.S. producers' and U.S. importers' U.S. shipments, 2017-19, January to
September 2019, and January to September 2020


                    *        *         *         *         *        *            *


Source: Compiled from data submitted in response to Commission questionnaires.




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                                           Appx14936
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Table IV-15
FPM mattresses: Shares of apparent consumption for FPMs, 2017-19, January to September 2019,
and January to September 2020
                                                                                        January to
                                                 Calendar year                          September
                Item                 2017           2018          2019           2019           2020
                                                            Quantity (units)
Overall apparent consumption:
All mattresses                              ***           ***           ***             ***           ***
Combined producers and
importers: FPM mattresses                   ***           ***           ***             ***           ***
                                      Ratio to overall apparent consumption quantity (percent)
U.S. producers' U.S. shipments              ***           ***           ***             ***           ***
U.S. importers' U.S. shipments
from.--
  Cambodia                                  ***           ***           ***             ***           ***
   China                                    ***           ***           ***             ***           ***
   Indonesia                                ***           ***           ***             ***           ***
   Malaysia                                 ***           ***           ***             ***           ***
   Serbia                                   ***           ***           ***             ***           ***
   Thailand                                 ***           ***           ***             ***           ***
   Turkey                                   ***           ***           ***             ***           ***
   Vietnam                                  ***           ***           ***             ***           ***
     Subject sources                        ***           ***           ***             ***           ***
        Of which previously
        investigated source                 ***           ***           ***             ***           ***
        Of which newly
        investigated sources                ***           ***           ***             ***           ***
     Nonsubject sources                     ***           ***           ***             ***           ***
        All import sources                  ***           ***           ***             ***           ***
U.S. producers and U.S.
importers combined flat pack
mattresses                                  ***           ***           ***             ***           ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Note: “Previously investigated” subject source is China. “Newly investigated” subject sources include all
subject sources other than China.

Source: Compiled from data submitted in response to Commission questionnaires.




                                                IVͲ47
                                             Appx14937
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Figure IV-14
FPM mattresses: U.S. producers' U.S. shipments and U.S. importers' U.S. shipments, 2019


                    *        *         *         *         *        *            *


Source: Compiled from data submitted in response to Commission questionnaires.




                                             IVͲ48
                                           Appx14938
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PartV: Pricingdata
Factorsaffectingprices
Rawmaterialcosts
         During2017to2019,rawmaterialsrangedfrom75.9percent(in2019)to77.9percent
(in2018)ofcostsofgoodssoldformattresses.(Thisratiowas74.3percentinthefirstthree
quartersof2020.)Themajorrawmaterialsusedintheproductionofmattressesvary
dependingonthetypeofmattressbeingproduced.Innerspringandhybridmattressesuse
springsofironorsteel,usuallymadeofwirerod,whilefoammattressesdonot.Allthree
mattresstypestypicallyusesomefoaminvariousthicknesses,densities,andinvarious
amounts,withfoammattressesconsistingexclusivelyofoneormoretypesoffoam.Thethree
primarytypesoffoamusedarepolyurethane,viscoelastic(i.e.,“memoryfoam”),andlatex.1
TherawmaterialsusedtomakefoamincludeTDI(toluenediisocyanate),MDI(methylene
diphenyldiisocyanate),andpolyol.2
         Wirerodcostsareapproximatedbythecostsofironandsteelscrap.Theproducers’
priceindexforironandsteelscrapincreasedirregularlyfromJanuary2017toApril2018,then
decreasedirregularlythroughOctober2019,beforerisingagainthroughJanuary2021,ending
33.1percenthigherinFebruary2021thaninJanuary2017(figureVͲ1).




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     1
     Chinafinalpublication,p.IͲ1.
     2
     Hearingtranscript,p.38(Earley),petitioners’prehearingbrief,pp.22Ͳ23.



                                                      VͲ1
                                               Appx14939
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Figure V-1
Raw materials costs: Iron and steel scrap, producer price index, monthly, not seasonally adjusted,
January 2017-February 2021




Source: Bureau of Labor Statistics via Federal Reserve Bank of St. Louis, retrieved March 16, 2021.

         ThecostofMDI,polyols,andTDIinitiallyincreasedfromJanuary2017throughJanuaryͲ
March2019(forpureMDI),fromSeptemberͲNovember2018(forpolyols),andfromMarchͲ
August2018(forTDI).CostsofthesechemicalsthendecreasedthroughapproximatelyJulyͲ
September2020,beforeincreasingthroughMarch2021(figureVͲ2).
         TheincreasesinthecostsofthesechemicalsthatoccurredfromJuly2020through
March20213reflectedshortagesofallthreechemicals.PetitionersandAshleyattributedthe
shortagestotheCOVIDͲ19outbreakinAprilͲMay2020,chemicalmanufacturersmisjudgingthe
amountofinventoriestheywouldneedastheeconomyrecovered,andhurricanesintheGulf
ofMexico(wheresomechemicalmanufacturersarebased)duringAugustͲNovember2020.
Additionally,adeepfreezeinTexasinearly2021causedadditionalchemicalshortages.
MattressandfoamproducerFXIdescribedthefreezingweatherinTexasinearly2021as
disruptingthegloballyͲsourcedsupplyofpolyolusedtomakefoam.Similarly,mattressand




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     3
     Seepetitioners’posthearingbrief,exhibitIͲ22.



                                                      VͲ2
                                               Appx14940
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foamproducerLeggettandPlattdescribedplacingfoamcustomersonallocationrecently,
althoughitexpectedsuchconditionstoeasesoon.4
         However,respondentsarguedthatfoamshortageswereafrequentoccurrenceeven
before2020,andarguedthattherehadbeenforcemajeuresputinplaceforpolyolandTDIin
2018and2019.Theyalsoallegedthatsection301tariffsonTDI,anddemandforTDIand
polyolsfromotherindustries,hadcontributedtorawmaterialshortagesorincreasedprices.5
PetitionerscontendthattherewasnoshortageoffoamorinnerspringsbeforemidͲ2020.6
Figure V-2
Raw materials costs: Polyols, TDI, and pure MDI, weekly, not seasonally adjusted,
January 4, 2017-March 27, 2021

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Source: ICIS data as presented in petitioners’ posthearing brief, exhibit 8.

         FortyU.S.producersand22importersindicatedthatthecostsoftherawmaterialsused
tomakemattresseshadincreasedsinceJanuary1,2017.Thesefirmscitedincreasesinthe
costsofsteel(innersprings),foam,and/orpaperandcardboard.Importersdescribedcost
increasesasrangingfrom10Ͳ40percent.U.S.producer***statedthatitincreasedpricestwice
onmattressestooffsettheserawmaterialcostincreases.SixU.S.producersand

                                    
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     4
      Hearingtranscript,pp.29(Glassman),38Ͳ39(Earley),and151Ͳ52(Adams).Seealsopetitioners’
prehearingbriefpp.22Ͳ23andexhibit1,andpetitioners’posthearingbriefatexhibitIͲ21.
    5
      Hearingtranscript,pp.151Ͳ52,203Ͳ4(Adams).SeealsoJointRespondents’posthearingbrief,annex
IIp.3andannexV,pp.1Ͳ2,5Ͳ9.
    6
      Petitioners’posthearingbrief,p.4,Exhibit1Ͳ43Ͳ45;Hearingtranscript,pp.37Ͳ38,91(Earley).



                                                               VͲ3
                                                     Appx14941
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12importersdescribedrawmaterialcostsasfluctuating.Thesefirmsoftendescribedeither
raisingtheirsellingpricesformattressestocoverincreasedcosts,absorbingthehighercostsin
lostprofits,orboth.Siximportersindicatedthattherehadbeennochangeinrawmaterial
costs.
          Twelveof21respondingpurchasersstatedthattheywerefamiliarwiththecostsofraw
materialsusedintheproductionofmattresses,andelevenpurchasersstatedthatinformation
onrawmaterialpricesaffectedtheirfirm’snegotiationsorcontractstopurchasemattresses
sinceJanuary1,2017.Someofthesefirms,like***,werealsoproducersand/orimporters.
Thesefirmsdescribedconsideringtheirknowledgeofrawmaterialpricechangeswhen
negotiatingpricesformattresses.

TransportationcoststotheU.S.market
          TransportationcostsformattressesshippedfromsubjectcountriestotheUnitedStates
averaged4.2percentforCambodia,7.3percentforChina,7.0percentforIndonesia,5.7
percentforMalaysia,6.3percentforSerbia,9.9percentforThailand,7.1percentforTurkey,
and8.8percentforVietnamduring2019.Theseestimateswerederivedfromofficialimport
dataandrepresentthetransportationandotherchargesonimports.7

U.S.inlandtransportationcosts
          MostrespondingU.S.producers(33of43responding)andimporters(27of34
responding)reportedthattheytypicallyarrangetransportationtotheircustomers,withthe
remainingrespondingfirmsindicatingthatpurchasersarrangetransportation.8ElevenU.S.
producersand7importersreportedthattheirU.S.inlandtransportationcostsrangedfrom7to
14percent,while12U.S.producersand17importersreportedthatsuchcostsrangedfrom1to
6percent.9Anadditional2importersreportedU.S.inlandtransportationcostsof15to18
percent.



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     7
     Theestimatedtransportationcostswereobtainedbysubtractingthecustomsvaluefromthec.i.f.
valueoftheimportsfor2019andthendividingbythecustomsvaluebasedontheHTSsubheadings
9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,and9404.29.9087.
    8
     TwentyͲsiximportersindicatedthattheyshippedimportedmattressesfromastoragefacility,while
7indicatedthattheydidsofromtheirpointofimportation.
    9
     OtherU.S.producersandimportersdidnotanswerorreportedunreasonableanswers(e.g.,100
percent).



                                                   VͲ4
                                            Appx14942
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Pricingpractices
Pricingmethods
        U.S.producersandimportersreportedusingavarietyofpricesettingmethods,
includingtransactionͲbyͲtransactionnegotiations,contracts,pricelists,andothermethods.As
presentedintableVͲ1,U.S.producersandimporterssellprimarilybasedonsetpricelistsand
transactionͲbyͲtransactionnegotiations.“Othermethods”includedsettingpricesforalarger
pieceoffurnitureinwhichthemattresswasincluded,aswellaspricingonacustomerby
customerbasis.
Table V-1
Mattresses: U.S. producers’ and importers’ reported price setting methods, by number of
responding firms
                Method                             U.S. producers                Importers
 Transaction-by-transaction                                          25                             17
 Contract                                                            14                              6
 Set price list                                                      29                             18
 Other                                                                 7                             3
 Responding firms                                                    50                             32
Note: The sum of responses down may not add up to the total number of responding firms as each firm
was instructed to check all applicable price setting methods employed.

Source: Compiled from data submitted in response to Commission questionnaires.

        U.S.producersreportedsellingnearlyhalfoftheirmattressesonthespotmarket,with
approximatelyaquarteroftheirremainingshipmentsbeingsoldthroughannualcontracts,and
anotherapproximatequartersplitbetweenshortͲandlongͲtermcontracts(tableVͲ2).U.S.
importersreportedthatapproximatelytwoͲthirdsoftheirmattressesaresoldthroughspot
sales,withaboutonequarteroftheirshipmentsbeingsoldthroughshortͲtermcontracts,and
mostoftheremainderasannualcontracts.
Table V-2
Mattresses: U.S. producers’ and importers’ shares of U.S. commercial shipments by type of sale,
2019
            Type of sale                       U.S. producers               Importers
 Long-term contracts                                                ***                       ***
 Annual contracts                                                   ***                       ***
 Short-term contracts                                               ***                       ***
 Spot sales                                                         ***                       ***
   Total                                                         100.0                     100.0
Note: Because of rounding, figures may not add to the totals shown.

Source: Compiled from data submitted in response to Commission questionnaires.

        U.S.producersandimportersreportedshortͲtermcontractsrangingfrom7daysto6
months.TwoU.S.producersreportedthatthelengthsoftheirlongͲtermcontractswere


                                                 VͲ5
                                          Appx14943
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betweentwoandthreeyears.MostrespondingU.S.producersandimportersreportedthat
theircontractsarenotindexedtorawmaterials,andthatcontractsgenerallyfixprices,orfix
pricesandquantities.RegardingannualandshortͲtermcontracts,threeU.S.producers’
contractsandfourimporters’contractsdidallowpricerenegotiation,whilefourU.S.producers’
contractsandthreeimporters’contractsdidnot.RegardinglongͲtermcontracts,twoU.S.
producersindicatedthattheircontractsallowedpricerenegotiation,whiletwoU.S.producers
statedthattheirlongͲtermcontractsdidnot.
        Eightpurchasersreportedthattheypurchaseproductdaily,13purchaseweekly,and1
purchasesquarterly.Seventeenof22respondingpurchasersreportedthattheirpurchasing
frequencyhadnotchangedsinceJanuary1,2017,includingbecauseofCOVIDͲ19.Fivedid
reportchangesintheirpurchasingfrequency,withthreereportingincreasedpurchasesand
tworeportingpurchasingdisruptions.Mostpurchaserscontact1to5suppliersbeforemakinga
purchase,althoughafewcontactmore.
        Fourteenpurchasersstatedthattheirpurchasesofmattressusuallyinvolved
negotiationswiththeirsuppliers,whilesevenstatedthattheydidnot.Negotiationsinvolved
numerousfactors,includingquality,price,discounts,paymentterms,features,production
capacity,service,anddeliverytime.***explainedthat,sinceitnormallyonlynegotiateswith
firmswithwhichithasrelationships,itanditssuppliershavealreadydeterminedpayment
terms,deliverytime,andproducttermsbeforepurchases.Sixpurchasersstatedthatthey
rarelyorneversharecompetingpriceinformationwithsuppliers.
        SixteenpurchasersstatedthattheyhadchangedsupplierssinceJanuary1,2017,and
fivestatedthattheyhadnot.Purchaserscitedmeetinggrowingdemand,expandingproduct
assortment,havingparticularbrandsorwarranties,andaddingalternatesuppliersasreasons
foraddingsuppliers.Purchaserscitedaninabilitytomeetrequirementsorquantities
demandedasreasonsfordroppingsuppliers.

Salestermsanddiscounts
        AmajorityofU.S.producersreportedquotingpricesonadeliveredbasis,whilea
majorityofimportersreportedquotingpricesonanf.o.b.basis.Specifically,31U.S.producers
and11importersreportedquotingpricesonadeliveredbasis,while21U.S.producersand23
importersreportedquotingonanf.o.b.basis.
        PluralitiesofU.S.producers(22)andimporters(15)reportedhavingnospecificdiscount
policy.Amongthosethatdidreportofferingdiscounts,17U.S.producersand4importers
reportedofferingannualtotalvolumediscounts,9U.S.producersand7importersreported
offeringquantitydiscounts,and18U.S.producersand9importersreportedofferingother



                                                  VͲ6
                                          Appx14944
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typesofdiscounts.TheseotherdiscountsincludedcustomerͲspecificdiscounts,earlypayment
discounts,discountsbasedoncustomerrelationships,andseasonaldiscounts.

Priceleadership
        Purchasersnamedavarietyofpriceleaders.ThreepurchasersnamedSertaSimmons,
threepurchasersnamedMattressFirm(apurchaser***),andthreenamedTempurͲSealy.
Additionally,onepurchasernamedU.S.producerInnocor.Onepurchasereachnamedretailers
Amazon,Ashley,Corsicana,andWalmart.Purchasersdescribedpriceleadersasleadingby
beinglargesuppliersorpurchasers,andbysettingpricesthatotherfirmsfollow.

Pricedata
        TheCommissionrequestedU.S.producersandimporterstoprovidequarterlydatafor
thetotalquantityandf.o.b.valueofthefollowingmattressproductsshippedtounrelatedU.S.
customersduringJanuary2017ͲSeptember2020.

        Product1.—Memoryfoammattress(withoutanyinnersprings),queensize,height
                      (edgetoedge)greaterthanorequalto8.0inchesbutlessthan10.0inches.
                      Foamdensityinatop/comfortlayerofgreaterthanorequalto3lbsper
                      cubicfootbutlessthanorequalto5lbspercubicfoot.Shippedasa
                      MattressͲinͲaͲBox.
        
        Product2.ͲͲMemoryfoammattress(withoutanyinnersprings),queensize,height
                      (edgetoedge)greaterthanorequalto8.0inchesbutlessthan10.0inches.
                      Foamdensityinatop/comfortlayerofgreaterthanorequalto3lbsper
                      cubicfootbutlessthanorequalto5lbspercubicfoot.ShippedasaflatͲ
                      packedmattress.
                      
        Product3.—Memoryfoammattress(withoutanyinnersprings),queensize,height
                      (edgetoedge)greaterthanorequalto10.0inchesbutlessthan12.0
                      inches.Foamdensityinatop/comfortlayerofgreaterthanorequalto2
                      lbspercubicfootbutlessthan3lbspercubicfoot.ShippedasaMattressͲ
                      inͲaBox.
        
        Product4.—Memoryfoammattress(withoutanyinnersprings),queensize,height
                      (edgetoedge)greaterthanorequalto10.0inchesbutlessthan12.0
                      inches.Foamdensityinatop/comfortlayerofgreaterthanorequalto2
                      lbspercubicfootbutlessthan3lbspercubicfoot.ShippedasaflatͲ
                      packedmattress.
                               




                                                VͲ7
                                          Appx14945
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          Product5.—“Wrapped”innerspringmattress(includingmattresseswithmultiplecores
                        and/orfoaminadditiontotheinnerspring),queensize,height(edgeto
                        edge)greaterthanorequalto9.0inchesbutlessthanorequalto12.0
                        inches.Coilcountlessthan1200coilsinqueensize.ShippedasaMattressͲ
                        inͲaͲBox.
                        
          Product6.—“Wrapped”innerspringmattress(includingmattresseswithmultiplecores
                        and/orfoaminadditiontotheinnerspring),queensize,height(edgeto
                        edge)greaterthanorequalto9.0inchesbutlessthanorequalto12.0
                        inches.Coilcountlessthan1200coilsinqueensize.ShippedasaflatͲ
                        packedmattress.
                        
          Product7.ͲͲOpen/nonͲwrappedinnerspringmattress(includingmattresseswith
                        multiplecoresand/orfoaminadditiontotheinnerspring),queensize,
                        height(edgetoedge)greaterthanorequalto9.0inchesbutlessthanor
                        equalto12.0inches.Coilcountlessthan1200coilsinqueensize.Shipped
                        asaflatͲpackedmattress.
                        
          Product8.ͲͲFoammattress(withoutanyinnersprings),withawidthexceeding27
                        inches,alengthexceeding51inches,andadepthbetween1.0inchand6.0
                        inchesinclusive,onanominalbasis,typicallydesignedtofitU.S.standard
                        fullsizecribs.
                        
          TwentyͲnineU.S.producersand22importersprovidedusablepricingdataforsalesof
therequestedproducts,althoughnotallfirmsreportedpricingforallproductsforall
quarters.10Pricingdatareportedbythesefirmsaccountedforapproximately20.1percentof
U.S.producers’shipmentsofmattresses,3.1percentofU.S.importsfromCambodia,14.7
percentofU.S.importsfromChina,3.5percentofU.S.importsfromIndonesia,33.2percentof
U.S.importsfromMalaysia,12.7percentofU.S.importsfromSerbia,8.2percentofU.S.
importsfromThailand,1.6percentofU.S.importsfromTurkey,and21.8percentofU.S.
importsfromVietnamin2019.11
          Pricedataforproducts1Ͳ8arepresentedintablesVͲ3toVͲ10andfiguresVͲ3toVͲ10.12
Withinpricingproducts,thereissometimesalargespreadbetweenpricesfromindividual
                                 

     10
     PerͲunitpricingdataarecalculatedfromtotalquantityandtotalvaluedataprovidedbyU.S.
producersandimporters.Theprecisionandvariationofthesefiguresmaybeaffectedbyrounding,
limitedquantities,andproducerorimporterestimates.
   11
     PricingcoverageisbasedonU.S.shipmentsreportedinquestionnaires.
   12
     Importers***providedbothpricingandimportcostdatabutareretailersthatdidnotsellmanyor
anymattressescommerciallyatthewholesaleleveloftrade.Staffremovedtheirpricingdata.Importers
                                                                                              (continued...)


                                                    VͲ8
                                             Appx14946
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firms.Someofthesespreadsmaybeduetochannelsofdistributiondifferences;forexample,
somecommercialsalesaretoretailers,andsomearetoendusercustomers(suchashotelsand
institutions).Someofthespreadsmayalsobeduetobranddifferences.
        PricingdataexcludingU.S.producer***arepresentedinappendixG.
Table V-3
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 1 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                   Cambodia                         China
                  Price                      Price                                  Price
                  ($ per       Quantity      ($ per       Quantity      Margin      ($ per     Quantity     Margin
   Period        mattress)   (mattresses)   mattress)   (mattresses)   (percent)   mattress)  (mattresses) (percent)
 2017:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2018:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2019:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2020:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

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                                
(…continued)
***provideddataforpriceandcostbutaremostlyorentirelysellingtootherfirms.Staffremovedtheir
costdata.U.S.producer***provideddataforveryhighͲpricedmattressesthatwerenotexactlythe
samespecificationsastheproductcategories.Staffremoveditspricingdata.Staffalsoremovedprice
datafromU.S.producers***.Finally,staffremovedpricingdatafromimporter***.



                                                        VͲ9
                                               Appx14947
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Table V-3--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 1 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                  Indonesia                       Malaysia
                  Price                      Price                                   Price
                  ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period        mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress) (mattresses) (percent)
 2017:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2018:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2019:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2020:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

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                                                        VͲ10
                                               Appx14948
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Table V-3--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 1 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                   Thailand                       Vietnam
                  Price                      Price                                   Price
                  ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period        mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress) (mattresses) (percent)
 2017:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2018:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2019:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
 Oct.-Dec.             ***           ***         ***           ***         ***          ***            ***       ***
 2020:
 Jan.-Mar.             ***           ***         ***           ***         ***          ***            ***       ***
 Apr.-June             ***           ***         ***           ***         ***          ***            ***       ***
 July-Sept.            ***           ***         ***           ***         ***          ***            ***       ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

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                                                        VͲ11
                                               Appx14949
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Table V-3--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 1 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                       United States                           All subject countries
                      Price             Quantity             Price             Quantity            Margin
   Period        ($ per mattress)     (mattresses)       ($ per mattress)     (mattresses)        (percent)
 2017:
 Jan.-Mar.                     ***                 ***                 ***                 ***              ***
 Apr.-June                     ***                 ***                 ***                 ***              ***
 July-Sept.                    ***                 ***                 ***                 ***              ***
 Oct.-Dec.                     ***                 ***                 ***                 ***              ***
 2018:
 Jan.-Mar.                     ***                 ***                 ***                 ***              ***
 Apr.-June                     ***                 ***                 ***                 ***              ***
 July-Sept.                    ***                 ***                 ***                 ***              ***
 Oct.-Dec.                     ***                 ***                 ***                 ***              ***
 2019:
 Jan.-Mar.                     ***                 ***                 ***                 ***              ***
 Apr.-June                     ***                 ***                 ***                 ***              ***
 July-Sept.                    ***                 ***                 ***                 ***              ***
 Oct.-Dec.                     ***                 ***                 ***                 ***              ***
 2020:
 Jan.-Mar.                     ***                 ***                 ***                 ***              ***
 Apr.-June                     ***                 ***                 ***                 ***              ***
 July-Sept.                    ***                 ***                 ***                 ***              ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                                    VͲ12
                                              Appx14950
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Table V-4
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 2 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                      China                        Vietnam
                  Price                      Price                                   Price
                  ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
     Period      mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress) (mattresses) (percent)
  2017:
  Jan.-Mar.       221.11          6,092          ***           ***         ***          ***            ***       ***
  Apr.-June       229.73          6,104          ***           ***         ***          ***            ***       ***
  July-Sept.      213.61          4,933          ***           ***         ***          ***            ***       ***
  Oct.-Dec.       208.29          4,557          ***           ***         ***          ***            ***       ***
  2018:
  Jan.-Mar.       219.20          3,185          ***           ***         ***          ***            ***       ***
  Apr.-June       212.62          3,423          ***           ***         ***          ***            ***       ***
  July-Sept.      214.26          4,736          ***           ***         ***          ***            ***       ***
  Oct.-Dec.       208.13          4,607          ***           ***         ***          ***            ***       ***
  2019:
  Jan.-Mar.       188.73          4,097          ***           ***         ***          ***            ***       ***
  Apr.-June       190.19          4,483          ***           ***         ***          ***            ***       ***
  July-Sept.      191.78          3,809          ***           ***         ***          ***            ***       ***
  Oct.-Dec.       171.30          3,945          ***           ***         ***          ***            ***       ***
  2020:
  Jan.-Mar.       180.03          4,401          ***           ***         ***          ***            ***       ***
  Apr.-June       174.68          4,313          ***           ***         ***          ***            ***       ***
  July-Sept.      181.84          6,172          ***           ***         ***          ***            ***       ***
Note: Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
flat-packed mattress.


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                                                        VͲ13
                                               Appx14951
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Table V-4--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 2 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                       United States                            All subject countries
                      Price             Quantity             Price             Quantity            Margin
     Period      ($ per mattress)     (mattresses)       ($ per mattress)     (mattresses)        (percent)
  2017:
  Jan.-Mar.               221.11               6,092                   ***                 ***              ***
  Apr.-June               229.73               6,104                   ***                 ***              ***
  July-Sept.              213.61               4,933                   ***                 ***              ***
  Oct.-Dec.               208.29               4,557                   ***                 ***              ***
  2018:
  Jan.-Mar.               219.20               3,185                   ***                 ***              ***
  Apr.-June               212.62               3,423                   ***                 ***              ***
  July-Sept.              214.26               4,736                   ***                 ***              ***
  Oct.-Dec.               208.13               4,607                   ***                 ***              ***
  2019:
  Jan.-Mar.               188.73               4,097                   ***                 ***              ***
  Apr.-June               190.19               4,483                   ***                 ***              ***
  July-Sept.              191.78               3,809                   ***                 ***              ***
  Oct.-Dec.               171.30               3,945                   ***                 ***              ***
  2020:
  Jan.-Mar.               180.03               4,401                   ***                 ***              ***
  Apr.-June               174.68               4,313                   ***                 ***              ***
  July-Sept.              181.84               6,172                   ***                 ***              ***
Note: Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
flat-packed mattress.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                                    VͲ14
                                              Appx14952
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Table V-5
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 3 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                   Cambodia                         China
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***         ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***         ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2018:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2019:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2020:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

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Table V-5--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 3 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                  Indonesia                       Malaysia
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***         ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***         ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2018:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2019:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2020:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

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Table V-5--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 3 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                     Serbia                       Thailand
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***         ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***         ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2018:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2019:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2020:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

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Table V-5--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 3 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                    Turkey                        Vietnam
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***         ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***         ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2018:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2019:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
 Oct.-Dec.             ***           ***         ***            ***        ***         ***          ***         ***
 2020:
 Jan.-Mar.             ***           ***         ***            ***        ***         ***          ***         ***
 Apr.-June             ***           ***         ***            ***        ***         ***          ***         ***
 July-Sept.            ***           ***         ***            ***        ***         ***          ***         ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

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Table V-5--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 3 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                       United States                           All subject countries
                     Price             Quantity             Price            Quantity            Margin
   Period        ($ per mattress)     (mattresses)       ($ per mattress)     (mattresses)      (percent)
 2017:
 Jan.-Mar.                378.09             10,763                    ***                 ***            ***
 Apr.-June                347.24             20,649                    ***                 ***            ***
 July-Sept.               339.68             27,235                    ***                 ***            ***
 Oct.-Dec.                     ***                 ***                 ***                 ***            ***
 2018:
 Jan.-Mar.                     ***                 ***                 ***                 ***            ***
 Apr.-June                     ***                 ***                 ***                 ***            ***
 July-Sept.                    ***                 ***                 ***                 ***            ***
 Oct.-Dec.                     ***                 ***                 ***                 ***            ***
 2019:
 Jan.-Mar.                     ***                 ***                 ***                 ***            ***
 Apr.-June                     ***                 ***                 ***                 ***            ***
 July-Sept.                    ***                 ***                 ***                 ***            ***
 Oct.-Dec.                     ***                 ***                 ***                 ***            ***
 2020:
 Jan.-Mar.                     ***                 ***                 ***                 ***            ***
 Apr.-June                     ***                 ***                 ***                 ***            ***
 July-Sept.                    ***                 ***                 ***                 ***            ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                             Appx14957
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Table V-6
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 4 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                     Vietnam                  All subject countries
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)(mattresses)  (percent)
 2017:
 Jan.-Mar.        306.20         24,203          ***            ***        ***         ***            ***       ***
 Apr.-June        391.82         52,258          ***            ***        ***         ***            ***       ***
 July-Sept.       407.53         48,861          ***            ***        ***         ***            ***       ***
 Oct.-Dec.        411.30         43,281          ***            ***        ***         ***            ***       ***
 2018:
 Jan.-Mar.        433.93         28,316          ***            ***        ***         ***            ***       ***
 Apr.-June        478.71         24,766          ***            ***        ***         ***            ***       ***
 July-Sept.       471.20         24,372          ***            ***        ***         ***            ***       ***
 Oct.-Dec.        454.94         20,098          ***            ***        ***         ***            ***       ***
 2019:
 Jan.-Mar.        471.27         19,271          ***            ***        ***         ***            ***       ***
 Apr.-June        480.77         14,902          ***            ***        ***         ***            ***       ***
 July-Sept.       468.47         17,680          ***            ***        ***         ***            ***       ***
 Oct.-Dec.        402.27         11,789          ***            ***        ***         ***            ***       ***
 2020:
 Jan.-Mar.        413.57         10,226          ***            ***        ***         ***            ***       ***
 Apr.-June        422.76          8,981          ***            ***        ***         ***           ***        ***
 July-Sept.       440.52         12,600          ***            ***        ***         ***            ***       ***
Note: Product 4: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a flat-pack
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.

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Table V-7
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 5 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                   Cambodia                         China
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June              ***          ***         ***          ***         ***         ***           ***         ***
 July-Sept.             ***          ***         ***          ***         ***         ***           ***         ***
 Oct.-Dec.              ***          ***         ***          ***         ***         ***           ***         ***
 2018:
 Jan.-Mar.         480.42         8,287          ***          ***         ***         ***           ***         ***
 Apr.-June         504.34         9,130          ***          ***         ***         ***           ***         ***
 July-Sept.        482.49        11,437          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         299.11        11,781          ***          ***         ***         ***           ***         ***
 2019:
 Jan.-Mar.         253.12        27,258          ***          ***         ***         ***           ***         ***
 Apr.-June         282.58        46,338          ***          ***         ***         ***           ***         ***
 July-Sept.        330.70        46,899          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         346.14        54,073          ***          ***         ***         ***           ***         ***
 2020:
 Jan.-Mar.         319.72        41,039          ***          ***         ***         ***           ***         ***
 Apr.-June         335.15        39,416          ***          ***         ***         ***           ***         ***
 July-Sept.        309.72        60,094          ***          ***         ***         ***           ***         ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

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Table V-7--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 5 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                  Indonesia                       Malaysia
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June              ***          ***         ***          ***         ***         ***           ***         ***
 July-Sept.             ***          ***         ***          ***         ***         ***           ***         ***
 Oct.-Dec.              ***          ***         ***          ***         ***         ***           ***         ***
 2018:
 Jan.-Mar.         480.42         8,287          ***          ***         ***         ***           ***         ***
 Apr.-June         504.34         9,130          ***          ***         ***         ***           ***         ***
 July-Sept.        482.49        11,437          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         299.11        11,781          ***          ***         ***         ***           ***         ***
 2019:
 Jan.-Mar.         253.12        27,258          ***          ***         ***         ***           ***         ***
 Apr.-June         282.58        46,338          ***          ***         ***         ***           ***         ***
 July-Sept.        330.70        46,899          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         346.14        54,073          ***          ***         ***         ***           ***         ***
 2020:
 Jan.-Mar.         319.72        41,039          ***          ***         ***         ***           ***         ***
 Apr.-June         335.15        39,416          ***          ***         ***         ***           ***         ***
 July-Sept.        309.72        60,094          ***          ***         ***         ***           ***         ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

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Table V-7--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 5 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                     Serbia                       Thailand
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June              ***          ***         ***          ***         ***         ***           ***         ***
 July-Sept.             ***          ***         ***          ***         ***         ***           ***         ***
 Oct.-Dec.              ***          ***         ***          ***         ***         ***           ***         ***
 2018:
 Jan.-Mar.         480.42         8,287          ***          ***         ***         ***           ***         ***
 Apr.-June         504.34         9,130          ***          ***         ***         ***           ***         ***
 July-Sept.        482.49        11,437          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         299.11        11,781          ***          ***         ***         ***           ***         ***
 2019:
 Jan.-Mar.         253.12        27,258          ***          ***         ***         ***           ***         ***
 Apr.-June         282.58        46,338          ***          ***         ***         ***           ***         ***
 July-Sept.        330.70        46,899          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         346.14        54,073          ***          ***         ***         ***           ***         ***
 2020:
 Jan.-Mar.         319.72        41,039          ***          ***         ***         ***           ***         ***
 Apr.-June         335.15        39,416          ***          ***         ***         ***           ***         ***
 July-Sept.        309.72        60,094          ***          ***         ***         ***           ***         ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in Queen size. Shipped as a Mattress-in-a-
Box.

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Table V-7--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 5 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                    Turkey                        Vietnam
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June              ***          ***         ***          ***         ***         ***           ***         ***
 July-Sept.             ***          ***         ***          ***         ***         ***           ***         ***
 Oct.-Dec.              ***          ***         ***          ***         ***         ***           ***         ***
 2018:
 Jan.-Mar.         480.42         8,287          ***          ***         ***         ***           ***         ***
 Apr.-June         504.34         9,130          ***          ***         ***         ***           ***         ***
 July-Sept.        482.49        11,437          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         299.11        11,781          ***          ***         ***         ***           ***         ***
 2019:
 Jan.-Mar.         253.12        27,258          ***          ***         ***         ***           ***         ***
 Apr.-June         282.58        46,338          ***          ***         ***         ***           ***         ***
 July-Sept.        330.70        46,899          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         346.14        54,073          ***          ***         ***         ***           ***         ***
 2020:
 Jan.-Mar.         319.72        41,039          ***          ***         ***         ***           ***         ***
 Apr.-June         335.15        39,416          ***          ***         ***         ***           ***         ***
 July-Sept.        309.72        60,094          ***          ***         ***         ***           ***         ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

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                                              Appx14962
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Table V-7--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 5 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                       United States                           All subject countries
                      Price            Quantity             Price             Quantity            Margin
   Period         ($ per mattress)    (mattresses)      ($ per mattress)   (mattresses)          (percent)
 2017:
 Jan.-Mar.                      ***                ***                ***               ***                ***
 Apr.-June                      ***                ***                ***               ***                ***
 July-Sept.                     ***                ***                ***               ***                ***
 Oct.-Dec.                      ***                ***                ***               ***                ***
 2018:
 Jan.-Mar.                 480.42              8,287                  ***               ***                ***
 Apr.-June                 504.34              9,130                  ***               ***                ***
 July-Sept.                482.49            11,437                   ***               ***                ***
 Oct.-Dec.                 299.11            11,781                   ***               ***                ***
 2019:
 Jan.-Mar.                 253.12            27,258                   ***               ***                ***
 Apr.-June                 282.58            46,338                   ***               ***                ***
 July-Sept.                330.70            46,899                   ***               ***                ***
 Oct.-Dec.                 346.14            54,073                   ***               ***                ***
 2020:
 Jan.-Mar.                 319.72            41,039                   ***               ***                ***
 Apr.-June                 335.15            39,416                   ***               ***                ***
 July-Sept.                309.72            60,094                   ***               ***                ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                              Appx14963
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Table V-8
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 6 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                      China                        Vietnam
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity    Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June              ***          ***         ***          ***         ***         ***           ***         ***
 July-Sept.             ***          ***         ***          ***         ***         ***           ***         ***
 Oct.-Dec.              ***          ***         ***          ***         ***         ***           ***         ***
 2018:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June              ***          ***         ***          ***         ***         ***           ***         ***
 July-Sept.             ***          ***         ***          ***         ***         ***           ***         ***
 Oct.-Dec.              ***          ***         ***          ***         ***         ***           ***         ***
 2019:
 Jan.-Mar.              ***          ***         ***          ***         ***         ***           ***         ***
 Apr.-June         279.04       312,853          ***          ***         ***         ***           ***         ***
 July-Sept.        266.74       318,695          ***          ***         ***         ***           ***         ***
 Oct.-Dec.         276.09       224,174          ***          ***         ***         ***           ***         ***
 2020:
 Jan.-Mar.         265.85       206,872          ***          ***         ***         ***           ***         ***
 Apr.-June         250.50       190,763          ***          ***         ***         ***           ***         ***
 July-Sept.        244.69       239,871          ***          ***         ***         ***           ***         ***
Note: Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

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                                              Appx14964
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Table V-8--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 6 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                       United States                           All subject countries
                      Price            Quantity             Price             Quantity            Margin
   Period         ($ per mattress)    (mattresses)      ($ per mattress)   (mattresses)          (percent)
 2017:
 Jan.-Mar.                      ***                ***                ***               ***                ***
 Apr.-June                      ***                ***                ***               ***                ***
 July-Sept.                     ***                ***                ***               ***                ***
 Oct.-Dec.                      ***                ***                ***               ***                ***
 2018:
 Jan.-Mar.                      ***                ***                ***               ***                ***
 Apr.-June                      ***                ***                ***               ***                ***
 July-Sept.                     ***                ***                ***               ***                ***
 Oct.-Dec.                      ***                ***                ***               ***                ***
 2019:
 Jan.-Mar.                      ***                ***                ***               ***                ***
 Apr.-June                 279.04           312,853                   ***               ***                ***
 July-Sept.                266.74           318,695                   ***               ***                ***
 Oct.-Dec.                 276.09           224,174                   ***               ***                ***
 2020:
 Jan.-Mar.                 265.85           206,872                   ***               ***                ***
 Apr.-June                 250.50           190,763                   ***               ***                ***
 July-Sept.                244.69           239,871                   ***               ***                ***
Note: Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                              Appx14965
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Table V-9
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 7 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                     Vietnam                  All subject countries
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity   Margin
    Period      mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                           (mattresses)  (percent)
 2017:
 Jan.-Mar.         130.67       183,885         ***           ***         ***         ***           ***        ***
 Apr.-June         148.43       177,996         ***           ***         ***         ***           ***        ***
 July-Sept.        153.70       175,087         ***           ***         ***         ***           ***        ***
 Oct.-Dec.         147.38       172,895         ***           ***         ***         ***           ***        ***
 2018:
 Jan.-Mar.         139.48       195,298         ***           ***         ***         ***           ***        ***
 Apr.-June         146.53       200,747         ***           ***         ***         ***           ***        ***
 July-Sept.        151.19       206,912         ***           ***         ***         ***           ***        ***
 Oct.-Dec.         150.24       200,543         ***           ***         ***         ***           ***        ***
 2019:
 Jan.-Mar.         140.74       226,652         ***           ***         ***         ***           ***        ***
 Apr.-June         154.45       203,784         ***           ***         ***         ***           ***        ***
 July-Sept.        151.48       214,486         ***           ***         ***         ***           ***        ***
 Oct.-Dec.         144.41       196,231         ***           ***         ***         ***           ***        ***
 2020:
 Jan.-Mar.         133.41       220,772         ***           ***         ***         ***           ***        ***
 Apr.-June         141.97       201,430         ***           ***         ***         ***           ***        ***
 July-Sept.        143.66       215,751         ***           ***         ***         ***           ***        ***
Note: Product 7: Open/non-wrapped innerspring mattress (including mattresses with multiple cores and/or
foam in addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches
but less than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-
packed mattress.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                              Appx14966
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Table V-10
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 8 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                 United States                      China                        Malaysia
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity   Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                        (mattresses)  (percent)
 2017:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
 Oct.-Dec.              ***           ***      ***         ***         ***        ***            ***        ***
 2018:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
 Oct.-Dec.              ***           ***      ***         ***         ***        ***            ***        ***
 2019:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
 Oct.-Dec.              ***           ***      ***         ***         ***        ***            ***        ***
 2020:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
Note: Product 8: Foam mattress (without any innersprings), with a width exceeding 27 inches, a length
exceeding 51 inches, and a depth between 1.0 inch and 6.0 inches inclusive, on a nominal basis, typically
designed to fit U.S. standard full size cribs.

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Table V-10--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product 8 and
margins of underselling/(overselling), by quarter, January 2017-September 2020
                  United States                    Vietnam                  All subject countries
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per     Quantity   Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)
                                                                                        (mattresses)  (percent)
 2017:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
 Oct.-Dec.              ***           ***      ***         ***         ***        ***            ***        ***
 2018:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
 Oct.-Dec.              ***           ***      ***         ***         ***        ***            ***        ***
 2019:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
 Oct.-Dec.              ***           ***      ***         ***         ***        ***            ***        ***
 2020:
 Jan.-Mar.              ***           ***      ***         ***         ***        ***            ***        ***
 Apr.-June              ***           ***      ***         ***         ***        ***            ***        ***
 July-Sept.             ***           ***      ***         ***         ***        ***            ***        ***
Note: Product 8: Foam mattress (without any innersprings), with a width exceeding 27 inches, a length
exceeding 51 inches, and a depth between 1.0 inch and 6.0 inches inclusive, on a nominal basis, typically
designed to fit U.S. standard full size cribs.

Source: Compiled from data submitted in response to Commission questionnaires.


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                                              Appx14968
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Figure V-3
Mattresses: Weighted-average prices and quantities of domestic and imported product 1, by
quarter, January 2017-September 2020

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Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of greater than
or equal to 3 lbs per cubic foot but less than or equal 5 lbs per cubic foot. Shipped as a Mattress-in-a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.


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                                                     Appx14969
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Figure V-4
Mattresses: Weighted-average prices and quantities of domestic and imported product 2, by
quarter, January 2017-September 2020

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Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of greater than
or equal to 3 lbs per cubic foot but less than or equal 5 lbs per cubic foot. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ32
                                                     Appx14970
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Figure V-5
Mattresses: Weighted-average prices and quantities of domestic and imported product 3, by
quarter, January 2017-September 2020

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Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of greater than
or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ33
                                                     Appx14971
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Figure V-6
Mattresses: Weighted-average prices and quantities of domestic and imported product 4, by
quarter, January 2017-September 2020

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Product 4: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of greater than
or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a flat-pack mattress.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ34
                                                     Appx14972
    Case 1:21-cv-00288-SAV
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Figure V-7
Mattresses: Weighted-average prices and quantities of domestic and imported product 5, by
quarter, January 2017-September 2020

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Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in Queen size. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ35
                                                     Appx14973
    Case 1:21-cv-00288-SAV
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Figure V-8
Mattresses: Weighted-average prices and quantities of domestic and imported product 6, by
quarter, January 2017-September 2020

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Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in Queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ36
                                                     Appx14974
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Figure V-9
Mattresses: Weighted-average prices and quantities of domestic and imported product 7, by
quarter, January 2017-September 2020

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Product 7: Open/non-wrapped innerspring mattress (including mattresses with multiple cores and/or foam
in addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but
less than or equal to 12.0 inches. Coil count less than 1200 coils in Queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ37
                                                     Appx14975
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Figure V-10
Mattresses: Weighted-average prices and quantities of domestic and imported product 8, by
quarter, January 2017-September 2020

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Product 8: Foam mattress (without any innersprings), with a width exceeding 27 inches, a length
exceeding 51 inches, and a depth between 1.0 inch and 6.0 inches inclusive, on a nominal basis, typically
designed to fit U.S. standard full size cribs.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                             VͲ38
                                                    Appx14976
    Case 1:21-cv-00288-SAV
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Importpurchasecostdata
          ImportersthatdidnotreͲselltheirimportstounrelatedretailers,wholesalers,or
distributorswereaskedtoprovideimportcostdata(landeddutyͲpaidvaluesandquantities)for
thesameeightpricingproductslistedabove.Elevenimportersprovidedsuchdata.Thesedata,
alongwithpricesfromU.S.producers,arepresentedintablesVͲ11toVͲ18andfiguresVͲ11to
VͲ18.13
          Purchasecostdataaccountedfor1.8percentofimportsfromCambodia,4.5percentof
importsfromChina,15.6percentofimportsfromIndonesia,4.2percentofimportsfrom
Malaysia,4.3percentofimportsfromSerbia,and3.5percentofimportsfromVietnamin2019.
NopurchasecostdatafromThailandorTurkeyin2019werereceived.
          Importersreportingimportcostdatawereaskedtoprovideadditionalinformation
regardingthecostsandbenefitsofdirectlyimportingmattresses.Siximportersproviding
useablecostdatareportedthattheyincurredadditionalcostsbeyondlandeddutyͲpaidcosts
byimportingmattressesdirectlyratherthanpurchasingfromaU.S.producerorU.S.importer.
Thesesiximportersestimatedtheiradditionalcostsofimportingmattresses,withtheiranswers
intherangeof1to9percent.14Importersdescribedwarehousing,logistics,insurance,customs
brokeragefees,andlaborasadditionalcosts.
          Firmswerealsoaskedtodescribehowtheseadditionalcostsincurredbyimporting
mattressescomparewithanyadditionalcostsincurredwhenpurchasingfromaU.S.producer
orU.S.importer.Respondingfirmsgenerallydescribedtheadditionalcostsofholdinginventory
ofimports,whichtheyoftendescribedasnotnecessaryiftheyhadpurchasedfroman
unrelatedsupplierintheUnitedStates.Othercostsdescribedincludedlogistics,overseas
transportationcosts,andduties.
          Tenimportersindicatedthattheycomparecostsofimportingbothtothecostof
purchasingfromaU.S.producerandtothatofpurchasingfromaU.S.importerindetermining
whethertoimportmattresses.Fivereportedcomparingcostsonlytothoseofpurchasingfrom
aU.S.producer,andsiximportersreportedcomparingcoststopurchasingfromaU.S.
importer.EightimportersdonotcomparecostsofpurchasingfromeitherU.S.producersor
importers.
                                 
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     13
     LDPimportvaluedoesnotincludeanypotentialadditionalcoststhatapurchasermayincurby
importingratherthanpurchasingfromanotherimporterorU.S.producer.PriceͲcostdifferentialsare
basedonLDPimportvalueswhereasmarginsofunderselling/oversellingarebasedonimportersales
prices.
   14
     Oneadditionalimporterdescribedsuchcostsas773percent,mostlydueto***.



                                                  VͲ39
                                            Appx14977
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        Whenaskedtoidentifybenefitsfromimportingmattressesdirectlyinsteadof
purchasingfromU.S.producersorimporters,importers’answersincludedstatementsthatonly
MiBsareavailablefromimportsources,thatU.S.producerswerenotwillingorabletoprovide
theproductdemanded,and/orthatU.S.producers’priceswerehigherthanthecostof
importing.
        Whenaskedwhethertheimportcost(excludingadditionalcosts)ofmattressesthey
importedarelowerthanthepriceofpurchasingmattressesfromaU.S.producerorimporter,
11importersstatedthattheimportcostswerelower,and15statedthattheywerehigher.
Whenaskedwhethertheimportcost(includingadditionalcosts)ofmattressestheyimported
arelowerthanthepriceofpurchasingmattressesfromaU.S.producerorimporter,11
importersstatedthattheimportcostswerelower,and15statedthattheywerehigher.
        Finally,importerswereaskedtoestimatetheirfirms’savingsfromimportingmattresses
ratherthanpurchasingfromaU.S.producerorimporter.Elevenimportersprovidedestimates
oftheirsavingsfromimportingratherthanpurchasingfromaU.S.producer.Theirestimates
rangedfrom5to50percentofthepurchasepricefromaU.S.producer,withanaverageof26
percent.Twelveimportersprovidedestimatesoftheirsavingsfromimportingratherthan
purchasingfromaU.S.importer.Theirestimatesrangedfrom5to60percentofthepurchase
pricefromaU.S.importer,withanaverageof21percent.
                             




                                              VͲ40
                                         Appx14978
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Table V-11
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 1, landed duty-paid
costs and quantities of imported product 1, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                    China                            Indonesia
                                                                       Price-cost                            Price-cost
                 Price                    LDP cost                       differ-    LDP cost                   differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity       ential
   Period       mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress) (mattresses)   (percent)
 2017:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
 Oct.-Dec.             ***            ***        ***            ***        ***          ***            ***         ***
 2018:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
 Oct.-Dec.             ***            ***        ***            ***        ***          ***            ***         ***
 2019:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
 Oct.-Dec.             ***            ***        ***            ***        ***          ***            ***         ***
 2020:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

Table continued on next page.

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                                                      VͲ41
                                              Appx14979
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Table V-11--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 1, landed duty-paid
costs and quantities of imported product 1, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                  Malaysia                             Vietnam
                                                                       Price-cost                            Price-cost
                 Price                    LDP cost                       differ-    LDP cost                   differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity       ential
   Period       mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress) (mattresses)   (percent)
 2017:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
 Oct.-Dec.             ***            ***        ***            ***        ***          ***            ***         ***
 2018:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
 Oct.-Dec.             ***            ***        ***            ***        ***          ***            ***         ***
 2019:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
 Oct.-Dec.             ***            ***        ***            ***        ***          ***            ***         ***
 2020:
 Jan.-Mar.             ***            ***        ***            ***        ***          ***            ***         ***
 Apr.-June             ***            ***        ***            ***        ***          ***            ***         ***
 July-Sept.            ***            ***        ***            ***        ***          ***            ***         ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

Table continued on next page.

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                                                      VͲ42
                                              Appx14980
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Table V-11--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 1, landed duty-paid
costs and quantities of imported product 1, and price-cost differentials, by quarter, January 2017-
September 2020
                        United States                           All subject countries
                                                                                               Price-cost differ-
                       Price              Quantity               LDP cost         Quantity           ential
   Period        ($ per mattress)       (mattresses)         ($ per mattress)   (mattresses)       (percent)
 2017:
 Jan.-Mar.                    ***                 ***                ***                 ***               ***
 Apr.-June                    ***                 ***                ***                 ***               ***
 July-Sept.                   ***                 ***                ***                 ***               ***
 Oct.-Dec.                    ***                 ***                ***                 ***               ***
 2018:
 Jan.-Mar.                    ***                 ***                ***                 ***               ***
 Apr.-June                    ***                 ***                ***                 ***               ***
 July-Sept.                   ***                 ***                ***                 ***               ***
 Oct.-Dec.                    ***                 ***                ***                 ***               ***
 2019:
 Jan.-Mar.                    ***                 ***                ***                 ***               ***
 Apr.-June                    ***                 ***                ***                 ***               ***
 July-Sept.                   ***                 ***                ***                 ***               ***
 Oct.-Dec.                    ***                 ***                ***                 ***               ***
 2020:
 Jan.-Mar.                    ***                 ***                ***                 ***               ***
 Apr.-June                    ***                 ***                ***                 ***               ***
 July-Sept.                   ***                 ***                ***                 ***               ***
Note: Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
Mattress-in-a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                                       VͲ43
                                                Appx14981
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Table V-12
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 2, landed duty-paid
costs and quantities of imported product 2, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                    China                            Indonesia
                                                                       Price-cost                            Price-cost
                 Price                    LDP cost                       differ-    LDP cost                   differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity       ential
     Period     mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress) (mattresses)   (percent)
  2017:
  Jan.-Mar.       221.11           6,092         ***            ***        ***          ***            ***         ***
  Apr.-June       229.73           6,104         ***            ***        ***          ***            ***         ***
  July-Sept.      213.61           4,933         ***            ***        ***          ***            ***         ***
  Oct.-Dec.       208.29           4,557         ***            ***        ***          ***            ***         ***
  2018:
  Jan.-Mar.       219.20           3,185         ***            ***        ***          ***            ***         ***
  Apr.-June       212.62           3,423         ***            ***        ***          ***            ***         ***
  July-Sept.      214.26           4,736         ***            ***        ***          ***            ***         ***
  Oct.-Dec.       208.13           4,607         ***            ***        ***          ***            ***         ***
  2019:
  Jan.-Mar.       188.73           4,097         ***            ***        ***          ***            ***         ***
  Apr.-June       190.19           4,483         ***            ***        ***          ***            ***         ***
  July-Sept.      191.78           3,809         ***            ***        ***          ***            ***         ***
  Oct.-Dec.       171.30           3,945         ***            ***        ***          ***            ***         ***
  2020:
  Jan.-Mar.       180.03           4,401         ***            ***        ***          ***            ***         ***
  Apr.-June       174.68           4,313         ***            ***        ***          ***            ***         ***
  July-Sept.      181.84           6,172         ***            ***        ***          ***            ***         ***
Note: Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a
flat-packed mattress.

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                                                      VͲ44
                                              Appx14982
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Table V-12--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 2, landed duty-paid
costs and quantities of imported product 2, and price-cost differentials, by quarter, January 2017-
September 2020
                        United States                           All subject countries
                                                                                               Price-cost differ-
                       Price              Quantity               LDP cost         Quantity           ential
   Period        ($ per mattress)       (mattresses)         ($ per mattress)   (mattresses)       (percent)
 2017:
 Jan.-Mar.               221.11                6,092                 ***                ***                 ***
 Apr.-June               229.73                6,104                 ***                ***                 ***
 July-Sept.              213.61                4,933                 ***                ***                 ***
 Oct.-Dec.               208.29                4,557                 ***                ***                 ***
 2018:
 Jan.-Mar.               219.20                3,185                 ***                ***                 ***
 Apr.-June               212.62                3,423                 ***                ***                 ***
 July-Sept.              214.26                4,736                 ***                ***                 ***
 Oct.-Dec.               208.13                4,607                 ***                ***                 ***
 2019:
 Jan.-Mar.               188.73                4,097                 ***                ***                 ***
 Apr.-June               190.19                4,483                 ***                ***                 ***
 July-Sept.              191.78                3,809                 ***                ***                 ***
 Oct.-Dec.               171.30                3,945                 ***                ***                 ***
 2020:
 Jan.-Mar.               180.03                4,401                 ***                ***                 ***
 Apr.-June               174.68                4,313                 ***                ***                 ***
 July-Sept.              181.84                6,172                 ***                ***                 ***
Note: Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of
greater than or equal to 3 lbs per cubic foot but less than or equal 5 lbs per cubic foot. Shipped as a flat-
packed mattress.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                                Appx14983
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Table V-13
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 3, landed duty-paid
costs and quantities of imported product 3, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                    China                            Indonesia
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***          ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***          ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2018:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2019:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2020:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

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Table V-13--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 3, landed duty-paid
costs and quantities of imported product 3, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                  Malaysia                              Serbia
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***          ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***          ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2018:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2019:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2020:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

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Table V-13--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 3, landed duty-paid
costs and quantities of imported product 3, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                  Vietnam                      All subject countries
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.        378.09         10,763          ***            ***        ***         ***          ***          ***
 Apr.-June        347.24         20,649          ***            ***        ***         ***          ***          ***
 July-Sept.       339.68         27,235          ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2018:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2019:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
 Oct.-Dec.             ***            ***        ***            ***        ***         ***          ***          ***
 2020:
 Jan.-Mar.             ***            ***        ***            ***        ***         ***          ***          ***
 Apr.-June             ***            ***        ***            ***        ***         ***          ***          ***
 July-Sept.            ***            ***        ***            ***        ***         ***          ***          ***
Note: Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-
a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                             Appx14986
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Table V-14
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 4, landed duty-paid
costs and quantities of imported product 4, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                    China                            Indonesia
                                                                       Price-cost                           Price-cost
                 Price                    LDP cost                       differ-    LDP cost                  differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity      ential
   Period       mattress)    (mattresses) mattress)    (mattresses)    (percent)    mattress)
                                                                                            (mattresses)    (percent)
 2017:
 Jan.-Mar.        306.20         24,203          ***            ***        ***         ***            ***         ***
 Apr.-June        391.82         52,258          ***            ***        ***         ***            ***         ***
 July-Sept.       407.53         48,861          ***            ***        ***         ***            ***         ***
 Oct.-Dec.        411.30         43,281          ***            ***        ***         ***            ***         ***
 2018:
 Jan.-Mar.        433.93         28,316          ***            ***        ***         ***            ***         ***
 Apr.-June        478.71         24,766          ***            ***        ***         ***            ***         ***
 July-Sept.       471.20         24,372          ***            ***        ***         ***            ***         ***
 Oct.-Dec.        454.94         20,098          ***            ***        ***         ***            ***         ***
 2019:
 Jan.-Mar.        471.27         19,271          ***            ***        ***         ***            ***         ***
 Apr.-June        480.77         14,902          ***            ***        ***         ***            ***         ***
 July-Sept.       468.47         17,680          ***            ***        ***         ***            ***         ***
 Oct.-Dec.        402.27         11,789          ***            ***        ***         ***            ***         ***
 2020:
 Jan.-Mar.        413.57         10,226          ***            ***        ***         ***            ***         ***
 Apr.-June        422.76           8,981         ***            ***        ***         ***           ***          ***
 July-Sept.       440.52         12,600          ***            ***        ***         ***            ***         ***
Note: Product 4: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a flat-pack
mattress.

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Table V-14--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 4, landed duty-paid
costs and quantities of imported product 4, and price-cost differentials, by quarter, January 2017-
September 2020
                        United States                           All subject countries
                                                                                               Price-cost differ-
                       Price              Quantity               LDP cost         Quantity           ential
   Period        ($ per mattress)       (mattresses)         ($ per mattress)   (mattresses)       (percent)
 2017:
 Jan.-Mar.               306.20              24,203                  ***                ***              ***
 Apr.-June               391.82              52,258                  ***                ***              ***
 July-Sept.              407.53              48,861                  ***                ***              ***
 Oct.-Dec.               411.30              43,281                  ***                ***              ***
 2018:
 Jan.-Mar.               433.93              28,316                  ***                ***              ***
 Apr.-June               478.71              24,766                  ***                ***              ***
 July-Sept.              471.20              24,372                  ***                ***              ***
 Oct.-Dec.               454.94              20,098                  ***                ***              ***
 2019:
 Jan.-Mar.               471.27              19,271                  ***                ***              ***
 Apr.-June               480.77              14,902                  ***                ***              ***
 July-Sept.              468.47              17,680                  ***                ***              ***
 Oct.-Dec.               402.27              11,789                  ***                ***              ***
 2020:
 Jan.-Mar.               413.57              10,226                  ***                ***              ***
 Apr.-June               422.76                8,981                 ***                ***              ***
 July-Sept.              440.52              12,600                  ***                ***              ***
Note: Product 4: Memory foam mattress (without any innersprings), queen size, height (edge to edge)
greater than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of
greater than or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a flat-pack
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                                Appx14988
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Table V-15
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 5, landed duty-paid
costs and quantities of imported product 5, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                 Cambodia                               China
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)     (mattresses)mattress)   (mattresses)     (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2018:
 Jan.-Mar.         480.42           8,287        ***           ***        ***         ***           ***          ***
 Apr.-June         504.34           9,130        ***           ***        ***         ***           ***          ***
 July-Sept.        482.49         11,437         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         299.11         11,781         ***           ***        ***         ***           ***          ***
 2019:
 Jan.-Mar.         253.12         27,258         ***           ***        ***         ***           ***          ***
 Apr.-June         282.58         46,338         ***           ***        ***         ***           ***          ***
 July-Sept.        330.70         46,899         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         346.14         54,073         ***           ***        ***         ***           ***          ***
 2020:
 Jan.-Mar.         319.72         41,039         ***           ***        ***         ***           ***          ***
 Apr.-June         335.15         39,416         ***           ***        ***         ***           ***          ***
 July-Sept.        309.72         60,094         ***           ***        ***         ***           ***          ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

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Table V-15--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 5, landed duty-paid
costs and quantities of imported product 5, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                 Indonesia                            Malaysia
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)     (mattresses)mattress)   (mattresses)     (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2018:
 Jan.-Mar.         480.42           8,287        ***           ***        ***         ***           ***          ***
 Apr.-June         504.34           9,130        ***           ***        ***         ***           ***          ***
 July-Sept.        482.49         11,437         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         299.11         11,781         ***           ***        ***         ***           ***          ***
 2019:
 Jan.-Mar.         253.12         27,258         ***           ***        ***         ***           ***          ***
 Apr.-June         282.58         46,338         ***           ***        ***         ***           ***          ***
 July-Sept.        330.70         46,899         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         346.14         54,073         ***           ***        ***         ***           ***          ***
 2020:
 Jan.-Mar.         319.72         41,039         ***           ***        ***         ***           ***          ***
 Apr.-June         335.15         39,416         ***           ***        ***         ***           ***          ***
 July-Sept.        309.72         60,094         ***           ***        ***         ***           ***          ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

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Table V-15--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 5, landed duty-paid
costs and quantities of imported product 5, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                  Thailand                             Turkey
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)     (mattresses)mattress)   (mattresses)     (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2018:
 Jan.-Mar.         480.42           8,287        ***           ***        ***         ***           ***          ***
 Apr.-June         504.34           9,130        ***           ***        ***         ***           ***          ***
 July-Sept.        482.49         11,437         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         299.11         11,781         ***           ***        ***         ***           ***          ***
 2019:
 Jan.-Mar.         253.12         27,258         ***           ***        ***         ***           ***          ***
 Apr.-June         282.58         46,338         ***           ***        ***         ***           ***          ***
 July-Sept.        330.70         46,899         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         346.14         54,073         ***           ***        ***         ***           ***          ***
 2020:
 Jan.-Mar.         319.72         41,039         ***           ***        ***         ***           ***          ***
 Apr.-June         335.15         39,416         ***           ***        ***         ***           ***          ***
 July-Sept.        309.72         60,094         ***           ***        ***         ***           ***          ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

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Table V-15--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 5, landed duty-paid
costs and quantities of imported product 5, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                  Vietnam                      All subject countries
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)     (mattresses)mattress)   (mattresses)     (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2018:
 Jan.-Mar.         480.42           8,287        ***           ***        ***         ***           ***          ***
 Apr.-June         504.34           9,130        ***           ***        ***         ***           ***          ***
 July-Sept.        482.49         11,437         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         299.11         11,781         ***           ***        ***         ***           ***          ***
 2019:
 Jan.-Mar.         253.12         27,258         ***           ***        ***         ***           ***          ***
 Apr.-June         282.58         46,338         ***           ***        ***         ***           ***          ***
 July-Sept.        330.70         46,899         ***           ***        ***         ***           ***          ***
 Oct.-Dec.         346.14         54,073         ***           ***        ***         ***           ***          ***
 2020:
 Jan.-Mar.         319.72         41,039         ***           ***        ***         ***           ***          ***
 Apr.-June         335.15         39,416         ***           ***        ***         ***           ***          ***
 July-Sept.        309.72         60,094         ***           ***        ***         ***           ***          ***
Note: Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.
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Table V-16
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 6, landed duty-paid
costs and quantities of imported product 6, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                 Cambodia                               China
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)     (mattresses)mattress)   (mattresses)     (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2018:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2019:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June         279.04       312,853          ***           ***        ***         ***           ***          ***
 July-Sept.        266.74       318,695          ***           ***        ***         ***           ***          ***
 Oct.-Dec.         276.09       224,174          ***           ***        ***         ***           ***          ***
 2020:
 Jan.-Mar.         265.85       206,872          ***           ***        ***         ***           ***          ***
 Apr.-June         250.50       190,763          ***           ***        ***         ***           ***          ***
 July-Sept.        244.69       239,871          ***           ***        ***         ***           ***          ***
Note: Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

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Table V-16--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 6, landed duty-paid
costs and quantities of imported product 6, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                 Indonesia                     All subject countries
                                                                       Price-cost                          Price-cost
                 Price                    LDP cost                       differ-    LDP cost                 differ-
                 ($ per       Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
   Period       mattress)     (mattresses)mattress)   (mattresses)     (percent)    mattress)
                                                                                           (mattresses)    (percent)
 2017:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2018:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June              ***            ***       ***           ***        ***         ***           ***          ***
 July-Sept.             ***            ***       ***           ***        ***         ***           ***          ***
 Oct.-Dec.              ***            ***       ***           ***        ***         ***           ***          ***
 2019:
 Jan.-Mar.              ***            ***       ***           ***        ***         ***           ***          ***
 Apr.-June         279.04       312,853          ***           ***        ***         ***           ***          ***
 July-Sept.        266.74       318,695          ***           ***        ***         ***           ***          ***
 Oct.-Dec.         276.09       224,174          ***           ***        ***         ***           ***          ***
 2020:
 Jan.-Mar.         265.85       206,872          ***           ***        ***         ***           ***          ***
 Apr.-June         250.50       190,763          ***           ***        ***         ***           ***          ***
 July-Sept.        244.69       239,871          ***           ***        ***         ***           ***          ***
Note: Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.
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Table V-17
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product 7, landed duty-paid
costs and quantities of imported product 7, and price-cost differentials, by quarter, January 2017-
September 2020
                  United States                    China                      All subject countries
                                                                      Price-cost                          Price-cost
                 Price                   LDP cost                       differ-    LDP cost                 differ-
                 ($ per      Quantity     ($ per           Quantity     ential      ($ per     Quantity     ential
    Period      mattress)    (mattresses)mattress)    (mattresses)    (percent)    mattress)
                                                                                           (mattresses)   (percent)
 2017:
 Jan.-Mar.         130.67       183,885         ***            ***        ***         ***           ***         ***
 Apr.-June         148.43       177,996         ***            ***        ***         ***           ***         ***
 July-Sept.        153.70       175,087         ***            ***        ***         ***           ***         ***
 Oct.-Dec.         147.38       172,895         ***            ***        ***         ***           ***         ***
 2018:
 Jan.-Mar.         139.48       195,298         ***            ***        ***         ***           ***         ***
 Apr.-June         146.53       200,747         ***            ***        ***         ***           ***         ***
 July-Sept.        151.19       206,912         ***            ***        ***         ***           ***         ***
 Oct.-Dec.         150.24       200,543         ***            ***        ***         ***           ***         ***
 2019:
 Jan.-Mar.         140.74       226,652         ***            ***        ***         ***           ***         ***
 Apr.-June         154.45       203,784         ***            ***        ***         ***           ***         ***
 July-Sept.        151.48       214,486         ***            ***        ***         ***           ***         ***
 Oct.-Dec.         144.41       196,231         ***            ***        ***         ***           ***         ***
 2020:
 Jan.-Mar.         133.41       220,772         ***            ***        ***         ***           ***         ***
 Apr.-June         141.97       201,430         ***            ***        ***         ***           ***         ***
 July-Sept.        143.66       215,751         ***            ***        ***         ***           ***         ***
Note: Product 7: Open/non-wrapped innerspring mattress (including mattresses with multiple cores and/or
foam in addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches
but less than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-
packed mattress.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                                     VͲ57
                                             Appx14995
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Figure V-11
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 1, by quarter, January 2017-September 2020

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Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of greater than
or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ58
                                                     Appx14996
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Figure V-12
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 2, by quarter, January 2017-September 2020

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Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of greater than
or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ59
                                                     Appx14997
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Figure V-13
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 3, by quarter, January 2017-September 2020

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Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of greater than
or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ60
                                                     Appx14998
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Figure V-14
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 4, by quarter, January 2017-September 2020

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Product 4: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of greater than
or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a flat-pack mattress.

Source: Compiled from data submitted in response to Commission questionnaires.                               


                                                              VͲ61
                                                     Appx14999
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Figure V-15
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 5, by quarter, January 2017-September 2020

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Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ62
                                                     Appx15000
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Figure V-16
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 6, by quarter, January 2017-September 2020

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Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ63
                                                     Appx15001
    Case 1:21-cv-00288-SAV
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Figure V-17
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 7, by quarter, January 2017-September 2020

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Product 7: Open/non-wrapped innerspring mattress (including mattresses with multiple cores and/or foam
in addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but
less than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.                              


                                                              VͲ64
                                                     Appx15002
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Figure V-18
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 1, by quarter, January 2017-September 2020

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Product 1: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of greater than
or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ65
                                                     Appx15003
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Figure V-19
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 2, by quarter, January 2017-September 2020

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Product 2: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 8.0 inches but less than 10.0 inches. Foam density in a top/comfort layer of greater than
or equal to 3 lbs per cubic foot but less than or equal to 5 lbs per cubic foot. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ66
                                                     Appx15004
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Figure V-20
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 3, by quarter, January 2017-September 2020

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Product 3: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of greater than
or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a Mattress-in-a-Box.

Source: Compiled from data submitted in response to Commission questionnaires.



                                                              VͲ67
                                                     Appx15005
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Figure V-21
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 4, by quarter, January 2017-September 2020

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Product 4: Memory foam mattress (without any innersprings), queen size, height (edge to edge) greater
than or equal to 10.0 inches but less than 12.0 inches. Foam density in a top/comfort layer of greater than
or equal to 2 lbs per cubic foot but less than 3 lbs per cubic foot. Shipped as a flat-pack mattress.

Source: Compiled from data submitted in response to Commission questionnaires.                               


                                                              VͲ68
                                                     Appx15006
    Case 1:21-cv-00288-SAV
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Figure V-22
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 5, by quarter, January 2017-September 2020

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Product 5: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a Mattress-in-a-
Box.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ69
                                                     Appx15007
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Figure V-23
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 6, by quarter, January 2017-September 2020

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Product 6: “Wrapped” innerspring mattress (including mattresses with multiple cores and/or foam in
addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but less
than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                              VͲ70
                                                     Appx15008
    Case 1:21-cv-00288-SAV
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Figure V-24
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 7, by quarter, January 2017-September 2020

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Product 7: Open/non-wrapped innerspring mattress (including mattresses with multiple cores and/or foam
in addition to the innerspring), queen size, height (edge to edge) greater than or equal to 9.0 inches but
less than or equal to 12.0 inches. Coil count less than 1200 coils in queen size. Shipped as a flat-packed
mattress.

Source: Compiled from data submitted in response to Commission questionnaires.                              

                                                              VͲ71
                                                     Appx15009
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Figure V-25
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product 8, by quarter, January 2017-September 2020

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Product 8: Foam mattress (without any innersprings), with a width exceeding 27 inches, a length
exceeding 51 inches, and a depth between 1.0 inch and 6.0 inches inclusive, on a nominal basis, typically
designed to fit U.S. standard full size cribs.

Source: Compiled from data submitted in response to Commission questionnaires.


                                                             VͲ72
                                                    Appx15010
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Priceandimportpurchasecosttrends
        Ingeneral,pricesdecreasedduringJanuary2017ͲSeptember2020.TableVͲ18
summarizespricetrends,bycountryandbyproduct.PricesofU.S.productdecreasedfor6of8
pricingproducts.Amongimportsources,onlyChinahad10ormorequartersofdata,and
showedmixedincreasesanddecreases.Pricesforsubjectimportsintheaggregatedecreased
for6of8pricingproducts.
Table V-18
Mattresses: Summary of weighted-average f.o.b. prices for products 1-8 from the United States,
Cambodia, China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam
                          Number of           Low price          High price         Change in
           Item            quarters       ($ per mattress)    ($ per mattress)   price (percent)
 Product 1 – price
 United States                      ***                  ***                 ***               ***
 Cambodia-price                     ***                  ***                 ***               ***
 China-price                        ***                  ***                 ***               ***
 Indonesia-price                    ***                  ***                 ***               ***
 Malaysia-price                     ***                  ***                 ***               ***
 Serbia-price                       ***                  ***                 ***               ***
 Thailand-price                     ***                  ***                 ***               ***
 Turkey-price                       ***                  ***                 ***               ***
 Vietnam-price                      ***                  ***                 ***               ***
 All subject-price                  15                   ***                 ***               ***
 Product 2 – price
 United States                      ***                  ***                 ***               ***
 Cambodia-price                     ***                  ***                 ***               ***
 China-price                        ***                  ***                 ***               ***
 Indonesia-price                    ***                  ***                 ***               ***
 Malaysia-price                     ***                  ***                 ***               ***
 Serbia-price                       ***                  ***                 ***               ***
 Thailand-price                     ***                  ***                 ***               ***
 Turkey-price                       ***                  ***                 ***               ***
 Vietnam-price                      ***                  ***                 ***               ***
 All subject-price                  15                   ***                 ***               ***
 Product 3 – price
 United States                      ***                  ***                 ***               ***
 Cambodia-price                     ***                  ***                 ***               ***
 China-price                        ***                  ***                 ***               ***
 Indonesia-price                    ***                  ***                 ***               ***
 Malaysia-price                     ***                  ***                 ***               ***
 Serbia-price                       ***                  ***                 ***               ***
 Thailand-price                     ***                  ***                 ***               ***
 Turkey-price                       ***                  ***                 ***               ***
 Vietnam-price                      ***                  ***                 ***               ***
 All subject-price                  15                   ***                 ***               ***

Table continued on next page.




                                              VͲ73
                                         Appx15011
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Table V-18--Continued
Mattresses: Summary of weighted-average f.o.b. prices for products 1-8 from the United States,
Cambodia, China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam
                          Number of           Low price          High price         Change in
           Item            quarters       ($ per mattress)    ($ per mattress)   price (percent)
 Product 4 – price
 United States                      ***                  ***                 ***               ***
 Cambodia-price                     ***                  ***                ***                ***
 China-price                        ***                  ***                ***                ***
 Indonesia-price                    ***                  ***                ***                ***
 Malaysia-price                     ***                  ***                 ***               ***
 Serbia-price                       ***                  ***                 ***               ***
 Thailand-price                     ***                  ***                 ***               ***
 Turkey-price                       ***                  ***                 ***               ***
 Vietnam-price                      ***                  ***                 ***               ***
 All subject-price                  15                   ***                 ***               ***
 Product 5 – price
 United States                      ***                  ***                 ***               ***
 Cambodia-price                     ***                  ***                ***                ***
 China-price                        ***                  ***                ***                ***
 Indonesia-price                    ***                  ***                ***                ***
 Malaysia-price                     ***                  ***                 ***               ***
 Serbia-price                       ***                  ***                 ***               ***
 Thailand-price                     ***                  ***                 ***               ***
 Turkey-price                       ***                  ***                 ***               ***
 Vietnam-price                      ***                  ***                 ***               ***
 All subject-price                  15                   ***                 ***               ***
 Product 6 – price
 United States                      ***                  ***                 ***               ***
 Cambodia-price                     ***                  ***                ***                ***
 China-price                        ***                  ***                ***                ***
 Indonesia-price                    ***                  ***                ***                ***
 Malaysia-price                     ***                  ***                 ***               ***
 Serbia-price                       ***                  ***                 ***               ***
 Thailand-price                     ***                  ***                 ***               ***
 Turkey-price                       ***                  ***                 ***               ***
 Vietnam-price                      ***                  ***                 ***               ***
 All subject-price                  15                   ***                 ***               ***

Table continued on next page.


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                                              VͲ74
                                         Appx15012
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Table V-18--Continued
Mattresses: Summary of weighted-average f.o.b. prices for products 1-8 from the United States,
Cambodia, China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam
                                                       Low price           High price
                                    Number of                                                    Change in
                                                          ($ per              ($ per
                                     quarters                                                 price (percent)
             Item                                      mattress)            mattress)
 Product 7 – price
 United States                                 ***                  ***                 ***                ***
 Cambodia-price                                ***                  ***                 ***                ***
 China-price                                   ***                  ***                 ***                ***
 Indonesia-price                               ***                  ***                 ***                ***
 Malaysia-price                                ***                  ***                 ***                ***
 Serbia-price                                  ***                  ***                 ***                ***
 Thailand-price                                ***                  ***                 ***                ***
 Turkey-price                                  ***                  ***                 ***                ***
 Vietnam-price                                 ***                  ***                 ***                ***
 All subject-price                             15                   ***                 ***                ***
 Product 8 – price
 United States                                 ***                  ***                 ***                ***
 Cambodia-price                                ***                  ***                 ***                ***
 China-price                                   ***                  ***                 ***                ***
 Indonesia-price                               ***                  ***                 ***                ***
 Malaysia-price                                ***                  ***                 ***                ***
 Serbia-price                                  ***                  ***                 ***                ***
 Thailand-price                                ***                  ***                 ***                ***
 Turkey-price                                  ***                  ***                 ***                ***
 Vietnam-price                                 ***                  ***                 ***                ***
 All subject-price                             15                   ***                 ***                ***
Note: Percentage change from the first quarter in which data were available to the last quarter in which
price data were available.
Note: “All subject” refers to the weighted averages of all subject import prices in that quarter. Thus,
minima, maxima, and trends in “all subject” may not be the same as those for costs from individual
countries.

Source: Compiled from data submitted in response to Commission questionnaires.

        Ingeneral,importpurchasecostsincreasedduringJanuary2017ͲSeptember2020.Table
VͲ19summarizesthecosttrends,bycountryandbyproduct.Aswiththepricedata,generally
onlytheChineseproducthadreporteddatafor10ormorequarters.
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                                                    VͲ75
                                              Appx15013
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Table V-19
Mattresses: Summary of weighted-average f.o.b. import costs for products 1-8 from Cambodia,
China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam
                                                  Low cost        High cost
                               Number of                                         Change in cost
                                                   ($ per           ($ per
                                quarters                                           (percent)
             Item                                 mattress)       mattress)
 Product 1 – cost
 Cambodia-cost                            ***               ***             ***              ***
 China-cost                               ***               ***             ***              ***
 Indonesia-cost                           ***               ***             ***              ***
 Malaysia-cost                            ***               ***             ***              ***
 Serbia-cost                              ***               ***             ***              ***
 Thailand-cost                            ***               ***             ***              ***
 Turkey-cost                              ***               ***             ***              ***
 Vietnam-cost                             ***               ***             ***              ***
 All subject-cost                         15                ***             ***              ***
 Product 2 – cost
 Cambodia-cost                            ***               ***             ***              ***
 China-cost                               ***               ***             ***              ***
 Indonesia-cost                           ***               ***             ***              ***
 Malaysia-cost                            ***               ***             ***              ***
 Serbia-cost                              ***               ***             ***              ***
 Thailand-cost                            ***               ***             ***              ***
 Turkey-cost                              ***               ***             ***              ***
 Vietnam-cost                             ***               ***             ***              ***
 All subject-cost                         12                ***             ***              ***
 Product 3 – cost
 Cambodia-cost                            ***               ***             ***              ***
 China-cost                               ***               ***             ***              ***
 Indonesia-cost                           ***               ***             ***              ***
 Malaysia-cost                            ***               ***             ***              ***
 Serbia-cost                              ***               ***             ***              ***
 Thailand-cost                            ***               ***             ***              ***
 Turkey-cost                              ***               ***             ***              ***
 Vietnam-cost                             ***               ***             ***              ***
 All subject-cost                         ***               ***             ***              ***
 Product 4 – cost
 Cambodia-cost                            ***               ***             ***              ***
 China-cost                               ***               ***             ***              ***
 Indonesia-cost                           ***               ***             ***              ***
 Malaysia-cost                            ***               ***             ***              ***
 Serbia-cost                              ***               ***             ***              ***
 Thailand-cost                            ***               ***             ***              ***
 Turkey-cost                              ***               ***             ***              ***
 Vietnam-cost                             ***               ***             ***              ***
 All subject-cost                         ***               ***             ***              ***

Table continued on next page.

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Table V-19--Continued
Mattresses: Summary of weighted-average f.o.b. import costs for products 1-8 from Cambodia,
China, Indonesia, Malaysia, Serbia, Thailand, Turkey, and Vietnam
                                                       Low cost              High cost
                                    Number of                                                Change in cost
                                                          ($ per               ($ per
                                     quarters                                                    (percent)
             Item                                      mattress)             mattress)
 Product 5 – cost
 Cambodia-cost                                 ***                 ***                  ***                ***
 China-cost                                    ***                 ***                  ***                ***
 Indonesia-cost                                ***                 ***                  ***                ***
 Malaysia-cost                                 ***                 ***                  ***                ***
 Serbia-cost                                   ***                 ***                  ***                ***
 Thailand-cost                                 ***                 ***                  ***                ***
 Turkey-cost                                   ***                 ***                  ***                ***
 Vietnam-cost                                  ***                 ***                  ***                ***
 All subject-cost                              15                  ***                  ***                ***
 Product 6 – cost
 Cambodia-cost                                 ***                 ***                  ***                ***
 China-cost                                    ***                 ***                  ***                ***
 Indonesia-cost                                ***                 ***                  ***                ***
 Malaysia-cost                                 ***                 ***                  ***                ***
 Serbia-cost                                   ***                 ***                  ***                ***
 Thailand-cost                                 ***                 ***                  ***                ***
 Turkey-cost                                   ***                 ***                  ***                ***
 Vietnam-cost                                  ***                 ***                  ***                ***
 All subject-cost                              14                  ***                  ***                ***
 Product 7 – cost
 Cambodia-cost                                 ***                 ***                  ***                ***
 China-cost                                    ***                 ***                  ***                ***
 Indonesia-cost                                ***                 ***                  ***                ***
 Malaysia-cost                                 ***                 ***                  ***                ***
 Serbia-cost                                   ***                 ***                  ***                ***
 Thailand-cost                                 ***                 ***                  ***                ***
 Turkey-cost                                   ***                 ***                  ***                ***
 Vietnam-cost                                  ***                 ***                  ***                ***
 All subject-cost                              ***                 ***                  ***                ---
Note: Percentage change from the first quarter in which data were available to the last quarter in which
price data were available.
Note: “All subject” refers to the weighted averages of all subject costs in that quarter. Thus, minima,
maxima, and trends in “all subject” may not be the same as those for costs from individual countries.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                              Appx15015
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Priceandcostcomparisons
Pricecomparisons

        AsshownintableVͲ20,pricesforproductimportedfromCambodia,China,Indonesia,
Malaysia,Serbia,Thailand,Turkey,andVietnamwerebelowthoseforU.S.Ͳproducedproductin
227of235instances(3.1millionmattresses);marginsofundersellingrangedfrom1.6to71.4
percent.Intheremaining8instances(13,622mattresses),pricesforproductfromCambodia,
China,Indonesia,Malaysia,Serbia,Thailand,Turkey,andVietnamwerebetween1.0and18.7
percentabovepricesforthedomesticproduct.
Table V-20
Mattresses: Instances of underselling/(overselling) and the range and average of margins, by
country, January 2017-September 2020
                                                              Underselling
          Source                                                Average       Margin range (percent)
                              Number of        Quantity
                                                                margin
                               quarters      (mattresses)                       Min            Max
                                                               (percent)
         Cambodia                      ***              ***             ***           ***              ***
           China                       ***              ***             ***           ***              ***
         Indonesia                     ***              ***             ***           ***              ***
         Malaysia                      ***              ***             ***           ***              ***
          Serbia                       ***              ***             ***           ***              ***
          Thailand                     ***              ***             ***           ***              ***
          Turkey                       ***              ***             ***           ***              ***
          Vietnam                      ***              ***             ***           ***              ***
           Total                      227      3,141,492              37.6            1.6            71.4
                                                              (Overselling)
          Source                                                Average       Margin range (percent)
                              Number of       Quantity1
                                                                margin
                               quarters      (mattresses)                       Min            Max
                                                               (percent)
         Cambodia                      ***              ***             ***           ***              ***
           China                       ***              ***             ***           ***              ***
         Indonesia                     ***              ***             ***           ***              ***
         Malaysia                      ***              ***             ***           ***              ***
          Serbia                       ***              ***             ***           ***              ***
          Thailand                     ***              ***             ***           ***              ***
          Turkey                       ***              ***             ***           ***              ***
          Vietnam                      ***              ***             ***           ***              ***
           Total                         8         13,622            (7.5)         (1.0)          (18.7)
Note: These data include only quarters in which there is a comparison between the U.S. and subject
product.

Source: Compiled from data submitted in response to Commission questionnaires.



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                                             Appx15016
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
PriceͲcostcomparisons

        AsshownintableVͲ21,landeddutyͲpaidcostsforproductimportedfromsubject
countrieswerebelowthoseforU.S.Ͳproducedproductin144of147instances(1.3million
mattresses);priceͲcostdifferentialsrangedfrom1.1to78.9percent.Intheremainingthree
instances,(6,672mattresses),landeddutyͲpaidcostsforproductfromsubjectimportswere1.5
to12.1percentabovepricesforthedomesticproduct.
Table V-21
Mattresses: Comparisons of import purchase costs and U.S.-producer sales prices, by country,
January 2017-September 2020
                                     Import purchase cost lower than U.S. sales price
                                                        Average      Price-cost difference range
         Source           Number of       Quantity     price-cost             (percent)
                           quarters     (mattresses)   difference
                                                                         Min            Max
                                                       (percent)
        Cambodia                   ***            ***           ***            ***            ***
          China                        ***             ***            ***            ***             ***
         Indonesia                     ***             ***            ***            ***             ***
         Malaysia                      ***             ***            ***            ***             ***
          Serbia                       ***             ***            ***            ***             ***
         Thailand                      ***             ***            ***            ***             ***
          Turkey                       ***             ***            ***            ***             ***
         Vietnam                       ***             ***            ***            ***             ***
           Total                     144      1,264,177          46.1             1.1          78.9
                                       Import purchase cost higher than U.S. sales price
                                                          Average      Price-cost difference range
          Source             Number of     Quantity1     price-cost              (percent)
                              quarters    (mattresses)   difference
                                                                           Min             Max
                                                          (percent)
         Cambodia                      ***             ***            ***            ***             ***
          China                        ***             ***            ***            ***             ***
         Indonesia                     ***             ***            ***            ***             ***
         Malaysia                      ***             ***            ***            ***             ***
          Serbia                       ***             ***            ***            ***             ***
         Thailand                      ***             ***            ***            ***             ***
          Turkey                       ***             ***            ***            ***             ***
         Vietnam                       ***             ***            ***            ***             ***
          Total                          3          6,672            (5.8)         (1.5)          (12.1)
Note: These data include only quarters in which there is a comparison between the U.S. and subject
product

Source: Compiled from data submitted in response to Commission questionnaires.




                                                 VͲ79
                                             Appx15017
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Lostsalesandlostrevenue
          Inthepreliminaryphaseoftheseinvestigations,theCommissionrequestedthatU.S.
producersofmattressesreportpurchaserswithwhichtheyexperiencedinstancesoflostsales
orrevenueduetocompetitionfromimportsofmattressesfromCambodia,China,Indonesia,
Malaysia,Serbia,Thailand,Turkey,and/orVietnamduringJanuary2017toDecember2019.In
thepetition,sevenU.S.producerssubmitted28lostsalesorlostrevenueallegations.15The
allegationsdidnotalwaysincludethespecificvaluesofthesalesallegedlylost,butsome
estimatesreachedintothehundredsofmillionsofdollarsoflostsales,fromallsubject
countries.
          Inthefinalphaseoftheseinvestigations,ofthe48respondingU.S.producers,22
reportedthattheyhadtoreduceprices,and16reportedthattheyhadtorollbackannounced
priceincreases,duetosubjectimports.TwentyͲeightof47respondingU.S.producersreported
thattheyhadlostsalestosubjectimports.
          Staffcontacted84purchasersandreceivedresponsesfrom22purchasers.16Responding
purchasersreportedpurchasing57.9millionmattressesduringJanuary2017ͲSeptember2020
(tableVͲ22).
          Ofthe22respondingpurchasers,8reportedthat,since2017,theyhadpurchased
importedmattressesfromCambodia,China,Indonesia,Malaysia,Serbia,Thailand,Turkey,
and/orVietnaminsteadofU.S.Ͳproducedproduct.Sevenofthesepurchasersreportedthat
subjectimportpriceswerelowerthanU.S.Ͳproducedproduct,andthree(***)ofthese
purchasersreportedthatpricewasaprimaryreasonforthedecisiontopurchaseimported
productratherthanU.S.Ͳproducedproduct.Twopurchasersestimatedthequantityof
mattressesfromChinapurchasedinsteadofdomesticproduct;quantitiesrangedfrom***
mattresses(tablesVͲ23andVͲ24).Purchasersidentifiedavailability,quality,leadtimes,and
serviceasnonͲpricereasonsforpurchasingimportedratherthanU.S.Ͳproducedproduct.
          Oftheninerespondingpurchasers,onereportedthatU.S.producershadreducedprices
inordertocompetewithlowerͲpricedimportsfromCambodia,China,Indonesia,Malaysia,

                               


                                

     15
     Inadditiontosevenpetitionersthatsubmittedlostsales/lostrevenueallegations,threeU.S.
producers(***)submittedacombined30lostsalesandlostrevenueallegationsintheirquestionnaires.
***.
   16
     Threecontactedfirmsstatedthattheydidnotpurchasemattresses.



                                                  VͲ80
                                            Appx15018
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Serbia,Thailand,Turkey,and/orVietnam;mostreportedthattheydidnotknow(tableVͲ25).
Additionally,***indicatedthatU.S.producershaddroppedtheirpricesby49percentbuthad
alsoindicatedthatU.S.producersdidnotlowerpricestocompetewithsubjectimports.It
statedthatitsdomesticsupplierhadbeenunabletokeepupsupplyduetorawmaterial
shortagesinturncausedbytheCOVIDͲ19outbreak.
Table V-22
Mattresses: Purchasers’ reported purchases and imports, January 2017-September 2020
                      Purchases in January 2017-September
                                      2020                          Change in         Change in subject
                                   (mattresses)                   domestic share       country share
    Purchaser         Domestic       Subject      All other        (pp, 2017-19)        (pp, 2017-19)
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
    ***                        ***           ***          ***                   ***                   ***
       Total           26,080,380    28,313,537    3,507,226                 (31.2)                 27.4
Note: All other includes all other sources and unknown sources.
Note: Purchasers’ purchases from the United States fell *** percent from 2017 to 2019. Over the same
period, purchasers’ purchases plus imports fell *** percent from China, and rose from each other subject
country, for an overall increase of *** percent from all subject countries.
Note: Percentage points (pp) change: Change in the share of the firm’s total purchases of domestic
and/or subject country imports between first and last years.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                                  VͲ81
                                            Appx15019
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Table V-23
Mattresses: Purchasers’ responses to purchasing subject imports instead of domestic product
                                              If purchased imports instead of domestic, was price a primary
                 Purchased                                                 reason
                   imports     Imports                 If Yes, quantity
                 instead of     priced               purchased instead
                  domestic       lower                    of domestic
 Purchaser          (Y/N)         (Y/N)    Y/N           (mattresses)             If No, non-price reason
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
 ***            ***           ***         ***                           *** ***
Table continued on next page.
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Table V-23--Continued
Mattresses: Purchasers’ responses to purchasing subject imports instead of domestic product
                                                  If purchased imports instead of domestic, was price a primary
                  Purchased                                                     reason
                  imports        Imports                   If Yes, quantity
                  instead of     priced                  purchased instead
                  domestic       lower                       of domestic
    Purchaser     (Y/N)          (Y/N)        Y/N                (mattresses) If No, non-price reason
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
    ***           ***            ***          ***                           *** ***
       Total         Yes--8;       Yes--7;     Yes--                        ***
                     No--14         No--0        3;
                                              No--6
Source: Compiled from data submitted in response to Commission questionnaires.

Table V-24
Mattresses: Purchasers' responses to purchasing subject instead of domestic, by country
                                                                                   Count of
                                                             Count of             purchasers
                                                           purchasers            reporting that
                               Count of purchasers        reported that           price was a        Quantity subject
                                 reporting subject        imports were          primary reason         purchased
            Source             instead of domestic         priced lower             for shift         (mattresses)
    Cambodia                                        4                      2                   ---                 ***
    China                                           8                      7                    3                  ***
    Indonesia                                       2                     ---                  ---                 ***
    Malaysia                                       ---                    ---                  ---                 ***
    Serbia                                          2                      1                   ---                 ***
    Thailand                                        3                      2                   ---                 ***
    Turkey                                          2                      1                   ---                 ***
    Vietnam                                         4                      2                   ---                 ***
      Any subject source                            8                      7                    3                  ***
Source: Compiled from data submitted in response to Commission questionnaires.

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                                                         VͲ83
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Table V-25
Mattresses: Purchasers’ responses to U.S. producer price reductions
                     U.S. producers                     If U.S. producers reduced prices
                   reduced priced to    Estimated U.S. price
                 compete with subject        reduction
    Purchaser         imports (Y/N)          (percent)               Additional information, if available
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
    ***          ***                                         *** ***
       Total /        Yes--1; No--9                          ***
    average
Note: ***.
Source: Compiled from data submitted in response to Commission questionnaires.




                                                 VͲ84
                                           Appx15022
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PartVI: FinancialexperienceofU.S.producers
Background
        FortyͲsixU.S.producersprovidedusablefinancialdata.1Mostofthereporting
producershaveafiscalyearthatendsonDecember31andreportedonthebasisofgenerally
acceptedaccountingprinciples(“GAAP”);othersreportedonataxorcashbasis.2Netsales
consistedprimarilyofcommercialsales;however,elevenproducersreportedinternal
consumptionandthreereportedtransferstorelatedfirms.ThesenonͲcommercialsales
combinedaccountedfor***percentoftotalnetsalesbyquantityin2019.NonͲcommercial
salesareincludedbutnotpresentedseparatelyinthissectionofthereport.In2019,***
accountedfor***percentoftheU.S.producers’netsalesbyquantity,***accountedfor***
percent,***accountedfor***percent,***accountedfor***percent,***accountedfor***
percent,***accountedfor***percent,andallotherfirmsaccountedfor***percent.
        Staffconductedaverificationof***’sU.S.producerquestionnaireresponse.The
verificationadjustmentswereincorporatedintothisreport.***.3




   1
     ***submittedincompleteU.S.producerquestionnairesinthefinancialsectionandtheirpartial
responsesarenotincludedintheaggregatedfinancialdata.Thesesevencompaniesaccountedfor***
percentoftotalshipmentsin2019.***fileditsU.S.producers’questionnaireresponselateand
incomplete(itomittedcertainrelevantcostsneededtodetermineprofitability).Hadtheresponsebeen
used,thefirmwouldhaverepresentedapproximately***percentoftotalnetsales,byquantity,in
2019.
   2
    ***usedtaxand***usedcashastheiraccountingbases.Thefirmswithfiscalyearendsotherthan
December31are***.
   3
     Staffverificationreport,***,March29,2021.***.



                                                  VIͲ1
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Operationsonmattresses
       TableVIͲ1presentsaggregateddataonU.S.producers’operationsinrelationto
mattressesovertheperiodexamined.TableVIͲ2showsthechangesinaverageunitvalues
(“AUVs”)ofsalesandcosts.TableVIͲ3presentsselectedcompanyͲspecificfinancialdata.4

Table VI-1
Mattresses: Results of operations of U.S. producers, 2017-19, January to September 2019, and
January to September 2020
                                                 Fiscal year                 January to September
              Item                    2017          2018         2019          2019        2020
                                                            Quantity (units)
Total net sales                    18,758,994    17,732,138 17,733,600 13,555,946        13,573,510
                                                          Value (1,000 dollars)
Total net sales                      5,050,280    4,979,222    5,220,167     3,930,606    3,961,539
Cost of goods sold.--
 Raw materials                       2,316,053    2,369,097    2,408,312    1,820,548    1,767,816
  Direct labor                         350,301      328,599      355,602      271,167      256,119
  Other factory costs                  337,042      344,703      410,261      307,378      354,160
     Total COGS                      3,003,396    3,042,399    3,174,175    2,399,093    2,378,095
Gross profit                         2,046,884    1,936,823    2,045,992    1,531,513    1,583,444
SG&A expense                         1,357,123    1,308,010    1,383,236    1,011,315    1,030,288
Operating income or (loss)             689,761      628,813      662,756      520,198      553,156
Other expenses/(income), net           290,245      341,314      535,759      268,732      881,278
Net income or (loss)                   399,516      287,499      126,997      251,466    (328,122)
Depreciation/amortization              181,767      187,090      206,768      154,657      180,707
Cash flow                              581,283      474,589      333,765      406,123    (147,415)
                                                      Ratio to net sales (percent)
 Cost of goods sold.--
  Raw materials                           45.9            47.6        46.1      46.3            44.6
   Direct labor                            6.9             6.6         6.8       6.9              6.5
   Other factory costs                     6.7             6.9         7.9       7.8              8.9
      Average COGS                        59.5            61.1        60.8      61.0            60.0
 Gross profit                             40.5            38.9        39.2      39.0            40.0
 SG&A expense                             26.9            26.3        26.5      25.7            26.0
 Operating income or (loss)               13.7            12.6        12.7      13.2            14.0
 Net income or (loss)                      7.9             5.8         2.4       6.4            (8.3)
Table continued on next page.




   4
   ***.U.S.producers’questionnaireresponseof***,questionIIͲ2a.



                                                  VIͲ2
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Table VI-1—Continued
Mattresses: Results of operations of U.S. producers, 2017-19, January to September 2019, and
January to September 2020
                                             Fiscal year                    January to September
              Item               2017           2018           2019          2019          2020
                                                  Ratio to total COGS (percent)
 Cost of goods sold.--
  Raw materials                       77.1           77.9          75.9           75.9         74.3
  Direct labor                        11.7           10.8          11.2           11.3         10.8
  Other factory costs                 11.2           11.3          12.9           12.8         14.9
      Average COGS                  100.0           100.0         100.0          100.0        100.0
                                                   Unit value (dollars per unit)
 Total net sales                       269            281           294            290          292
 Cost of goods sold.--
  Raw materials                        123            134           136            134          130
   Direct labor                          19            19            20             20           19
   Other factory costs                   18            19            23             23           26
      Average COGS                     160            172           179            177          175
 Gross profit                          109            109           115            113          117
 SG&A expense                            72            74            78             75           76
 Operating income or (loss)              37            35            37             38           41
 Net income or (loss)                    21            16             7             19         (24)
                                                    Number of firms reporting
 Operating losses                         6            11             9              7            7
 Net losses                               8            14            15             14           12
 Data                                    45            45            46             46           46
Source: Compiled from data submitted in response to Commission questionnaires.




                                               VIͲ3
                                          Appx15025
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Table VI-2
Mattresses: Changes in AUVs, between fiscal years and between partial year periods
                                                                                     Between
                                                                                    partial year
                                              Between fiscal years                    period
              Item                   2017-19      2017-18          2018-19           2019-20
                                                  Change in AUVs (percent)
 Total net sales                          Ÿ9.3          Ÿ4.3             Ÿ4.8               Ÿ0.7
 Cost of goods sold.--
  Raw materials                          Ÿ10.0         Ÿ8.2             Ÿ1.6               ź(3.0)
   Direct labor                           Ÿ7.4       ź(0.8)             Ÿ8.2               ź(5.7)
   Other factory costs                   Ÿ28.8         Ÿ8.2            Ÿ19.0               Ÿ15.1
     Average COGS                        Ÿ11.8         Ÿ7.2             Ÿ4.3               ź(1.0)
                                               Change in AUVs (dollars per unit)
 Total net sales                           Ÿ25          Ÿ12              Ÿ14                   Ÿ2
 Cost of goods sold.--
   Raw materials                          Ÿ12             Ÿ10                 Ÿ2             ź(4)
   Direct labor                            Ÿ1             ź(0)                Ÿ2             ź(1)
   Other factory costs                     Ÿ5               Ÿ1                Ÿ4               Ÿ3
      Average COGS                        Ÿ19             Ÿ11                 Ÿ7             ź(2)
 Gross profit                              Ÿ6               Ÿ0                Ÿ6               Ÿ4
 SG&A expense                              Ÿ6               Ÿ1                Ÿ4               Ÿ1
 Operating income or (loss)                Ÿ1             ź(1)                Ÿ2               Ÿ2
 Net income or (loss)                    ź(14)            ź(5)               ź(9)           ź(43)
Note.--AUV changes preceded by a “Ÿ” represent an increase, while period changes preceded by a “ź”
represent a decrease.

Source: Compiled from data submitted in response to Commission questionnaires.




                                                 VIͲ4
                                          Appx15026
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Table VI-3
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                            Fiscal year                    January to September
              Item               2017          2018           2019           2019         2020
                                                     Total net sales (units)
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
    Top six firms in 2019      14,035,750    13,151,705     12,773,566      9,810,305    9,672,180
    All other firms             4,723,244     4,580,433      4,960,034      3,745,641    3,901,330
      All firms                18,758,994    17,732,138     17,733,600    13,555,946    13,573,510
                                                 Total net sales (1,000 dollars)
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
    Top six firms in 2019       4,004,758     3,804,994      3,820,443      2,889,537    2,786,174
    All other firms             1,045,522     1,174,228      1,399,724      1,041,069    1,175,365
      All firms                 5,050,280     4,979,222      5,220,167      3,930,606    3,961,539
                                               Cost of goods sold (1,000 dollars)
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
 ***                                   ***           ***            ***            ***          ***
    Top six firms in 2019       2,260,711     2,220,609      2,212,651      1,688,069    1,594,080
    All other firms               742,685       821,790        961,524        711,024      784,015
      All firms                 3,003,396     3,042,399      3,174,175      2,399,093    2,378,095
Table continued on next page.




                                                VIͲ5
                                          Appx15027
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Table VI-3—Continued
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                            Fiscal year                     January to September
               Item              2017          2018           2019           2019          2020
                                              Gross profit or (loss) (1,000 dollars)
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
    Top six firms in 2019       1,744,047     1,584,385      1,607,792      1,201,468     1,192,094
    All other firms               302,837       352,438        438,200        330,045       391,350
      All firms                 2,046,884     1,936,823      2,045,992      1,531,513     1,583,444
                                                 SG&A expenses (1,000 dollars)
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
    Top six firms in 2019       1,147,396     1,068,653      1,101,480        806,699       795,466
    All other firms               209,727       239,357        281,756        204,616       234,822
      All firms                 1,357,123     1,308,010      1,383,236      1,011,315     1,030,288
                                           Operating income or (loss) (1,000 dollars)
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
 ***                                   ***           ***             ***           ***           ***
    Top six firms in 2019         596,651       515,732        506,312        394,769       396,628
    All other firms                93,110       113,081        156,444        125,429       156,528
      All firms                   689,761       628,813        662,756        520,198       553,156
Table continued on next page.




                                                VIͲ6
                                          Appx15028
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Table VI-3—Continued
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                            Fiscal year                     January to September
               Item              2017          2018           2019           2019            2020
                                              Net income or (loss) (1,000 dollars)
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
    Top six firms in 2019        319,224       190,680           19,506       155,055       (384,115)
    All other firms               80,292         96,819         107,491        96,411          55,993
      All firms                  399,516       287,499          126,997       251,466       (328,122)
                                                COGS to net sales ratio (percent)
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
    Top six firms in 2019            56.5          58.4            57.9           58.4           57.2
    All other firms                  71.0          70.0            68.7           68.3           66.7
      All firms                      59.5          61.1            60.8           61.0           60.0
                                        Gross profit or (loss) to net sales ratio (percent)
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
 ***                                  ***            ***             ***            ***            ***
    Top six firms in 2019            43.5          41.6            42.1           41.6           42.8
    All other firms                  29.0          30.0            31.3           31.7           33.3
      All firms                      40.5          38.9            39.2           39.0           40.0
Table continued on next page.




                                                 VIͲ7
                                           Appx15029
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Table VI-3—Continued
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                              Fiscal year                  January to September
                 Item             2017          2018          2019          2019           2020
                                            SG&A expense to net sales ratio (percent)
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
    Top six firms in 2019             28.7          28.1           28.8         27.9            28.6
    All other firms                   20.1          20.4           20.1         19.7            20.0
      All firms                       26.9          26.3           26.5         25.7            26.0
                                      Operating income or (loss) to net sales ratio (percent)
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
    Top six firms in 2019             14.9          13.6           13.3         13.7            14.2
    All other firms                    8.9           9.6           11.2         12.0            13.3
      All firms                       13.7          12.6           12.7         13.2            14.0
                                         Net income or (loss) to net sales ratio (percent)
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
 ***                                   ***           ***            ***           ***            ***
    Top six firms in 2019              8.0           5.0            0.5           5.4         (13.8)
    All other firms                    7.7           8.2            7.7           9.3            4.8
      All firms                        7.9           5.8            2.4           6.4          (8.3)
Table continued on next page.




                                                VIͲ8
                                          Appx15030
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Table VI-3—Continued
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                            Fiscal year                    January to September
               Item              2017          2018           2019           2019         2020
                                             Unit net sales value (dollars per unit)
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
    Top six firms in 2019             285           289            299            295          288
    All other firms                   221           256            282            278         301
      All firms                       269           281            294            290          292
                                              Unit raw materials (dollars per unit)
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
    Top six firms in 2019             125           134            135            134          127
    All other firms                   118           132            137            135         138
      All firms                       123           134            136            134          130
                                               Unit direct labor (dollars per unit)
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
 ***                                   ***           ***            ***             ***         ***
    Top six firms in 2019              20            19             20              20          19
    All other firms                    16            18             21              20          18
      All firms                        19            19             20              20          19
Table continued on next page.




                                                VIͲ9
                                          Appx15031
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Table VI-3—Continued
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                             Fiscal year                     January to September
                Item              2017           2018           2019           2019         2020
                                             Unit other factory costs (dollars per unit)
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
    Top six firms in 2019               16             16             18             18          19
    All other firms                     23             30             36             34          45
      All firms                         18             19             23             23          26
                                                   Unit COGS (dollars per unit)
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
    Top six firms in 2019              161           169             173             ***         ***
    All other firms                    157           179             194             ***         ***
      All firms                        160           172             179             ***         ***
                                            Unit gross profit or (loss) (dollars per unit)
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
 ***                                    ***           ***             ***            ***         ***
    Top six firms in 2019              124           120             126           122          123
    All other firms                     64             77             88             88         100
      All firms                        109           109             115           113          117
Table continued on next page.




                                               VIͲ10
                                          Appx15032
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Table VI-3—Continued
Mattresses: Select results of operations of U.S. producers, by company, 2017-19, January to
September 2019, and January to September 2020
                                                 Fiscal year                   January to September
                 Item                 2017           2018          2019         2019         2020
                                                  Unit SG&A expenses (dollars per unit)
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
    Top six firms in 2019                   82             81            86          82             82
    All other firms                         44             52            57          55             60
      All firms                             72             74            78          75             76
                                            Unit operating income or (loss) (dollars per unit)
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
    Top six firms in 2019                   43             39            40          40             41
    All other firms                         20             25            32          33             40
      All firms                             37             35            37          38             41
                                                Unit net income or (loss) (dollars per unit)
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
 ***                                        ***            ***          ***          ***           ***
    Top six firms in 2019                   23             14             2          16           (40)
    All other firms                         17             21            22          26             14
      All firms                             21             16             7          19           (24)
Note: ***. Emails from ***, February 16, 2021 and ***, February 18, 2021.

Source: Compiled from data submitted in response to Commission questionnaires.




                                                VIͲ11
                                           Appx15033
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                                                     


Netsales
       Totalnetsalesquantityirregularlydeclinedby5.5percentfrom2017to2019whiletotal
netsalesvalueirregularlyincreasedby3.4percent.Bothtotalnetsalesquantityandvalue
weresomewhathigherinJanuaryͲSeptember2020(“interim2020”)thaninJanuaryͲSeptember
2019(“interim2019”).AsshownintableVIͲ3,threefirms***accountedformostofthe
declineinnetsalesquantityfrom2017to2019whilethreefirms***accountedformostofthe
increaseinnetsalesvalueoverthesameperiod.5***.6AsshownintableVIͲ3,theaverageunit
salesvalueincreasedfrom$269in2017to$294in2019andwashigherininterim2020thanin
interim2019.***.7

Costofgoodssoldandgrossprofitorloss
       Totalcostofgoodsold(“COGS”)increasedby5.7percentfrom2017to2019butwas
somewhatlowerininterim2020thanininterim2019.PerͲunitCOGSincreasedfrom2017to
2019butwaslowerininterim2020thanininterim2019.AsshownintableVIͲ3,***reported
increasingtotalCOGSfrom2017to2019,while***reportedincreasingunitCOGSduringthe
period.Asaratiotonetsales,COGSincreasedirregularlyfrom59.5percentin2017to60.8
percentin2019andwaslowerininterim2020thanininterim2019.
       AsshownintableVIͲ1,rawmaterialsrepresentthesinglelargestcomponentoftotal
COGS,andrangedfrom74.3percentoftotalCOGSininterim2020to77.9percentoftotal
       




   5
    ***.Seefootnote3.
   6
    ***.U.S.producers’questionnaireresponseof***,questionIIͲ2.
   7
    Emailfrom***,February16,2021.



                                                  VIͲ12
                                            Appx15034
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COGSin2018.PerͲunitrawmaterialcostsincreasedeachyearfrom$123in2017to$136in
2019andwerelowerininterim2020thanininterim2019.8Rawmaterialsconsistedoffoamor
otherresilientmaterials,innersprings,chemicalsandotheradditives,andothermaterialinputs
suchas***.TableVIͲ4presentsabreakͲoutoftherawmaterialcosts,bytype,forfiscalyear
2019.9

Table VI-4
Mattresses: Raw material costs, by type, 2019
                                                              Fiscal 2019
               Raw materials                Value (1,000 dollars) Share of value (percent)
 Innersprings                                             400,207                     16.6
 Foam or other resilient material                         820,502                     34.1
 Upholstery materials and ticking                         680,957                     28.3
 Chemicals and other additives                            221,436                      9.2
 Other material inputs                                    285,209                     11.8
   Total, raw materials                                 2,408,312                    100.0
Source: Compiled from data submitted in response to Commission questionnaires.
          
          AsashareoftotalCOGS,directlaborcostsrangedfrom10.8percentin2018and
interim2020to11.7percentin2017,whileotherfactorycostsrangedfrom11.2percentin
2017to14.9percentininterim2020.Theaverageperunitdirectlaborcostsincreasedfrom
$19in2017and2018to$20in2019andwerelowerininterim2020thanininterim2019.The
averageperunitotherfactorycostsincreasedfrom$18in2017to$23in2019andwerehigher
ininterim2020thanininterim2019.




   8
    ***.Emailfrom***,February16,2021.***.U.S.producers’questionnaireresponseof***,
questionIIIͲ10andemailfrom***,February17,2021.
   9
    SevenU.S.producersreportedpurchasinginputsfromrelatedsuppliers:***.U.S.producer
questionnaires,questionsIIIͲ6,IIIͲ7,andIIIͲ8.



                                                 VIͲ13
                                           Appx15035
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                                                    


          AsshownintableVIͲ3,averagerawmaterialcosts,directlabor,andotherfactorycosts
variedgreatlyfromcompanytocompany.Thesecostdifferencesreflectunderlyingdifferences
ininputcosts(e.g.,foam,upholstery,innersprings,andchemicals)andproductmix(e.g.,
recreationvehiclesizes,sofabeds,child,twin,full,queen,and/orking),andvariationsin
manufacturingprocesses,aswellascustomerrequirements.
          TableVIͲ1showsthatU.S.producers’aggregategrossprofitssomewhatdeclinedfrom
2017to2018butincreasedfrom2018to2019,resultinginadeclineof0.04percentbecause
theincreaseintotalCOGSwasgreaterthantheincreaseintotalnetsalesvalue.Theindustry’s
grossprofitwashigherininterim2020thanininterim2019duetothecombinedeffectsofthe
increaseintotalnetsalesvalueandthedeclineintotalCOGS.Grossprofitmargin(grossprofit
asaratiotonetsales)declinedfrom40.5percentin2017to38.9percentin2018butincreased
to39.2percentin2019.Grossprofitmarginwashigherininterim2020thanininterim2019.

Selling,general,andadministrativeexpensesandoperatingincomeorloss
          AsshownintableVIͲ1,theU.S.industry’sselling,general,andadministrative(“SG&A”)
expensesincreasedirregularlyfrom2017to2019andweresomewhathigherininterim2020
thanininterim2019.10SG&Aexpensesratio(i.e.,totalSG&Aexpensesdividedbynetsales)
irregularlydeclinedfrom26.9percentin2017to26.5percentin2019andwassomewhat
higherininterim2020thanininterim2019.11OnaperͲunitbasis,SG&Aexpensesincreased
from$72in2017to$78in2019andwerehigherininterim2020thanininterim2019for
producersasawhole.
          TableVIͲ1showsthatU.S.producers’aggregateoperatingincomeirregularlydeclined
from2017to2019by3.9percentandwashigherininterim2020thanininterim2019.
Operatingincomemargin(operatingincomedividedbytotalnetsales)exhibitedthesame
trend.
          




   10
    ***.Seefootnote3.
   11
    ***.U.S.producers’questionnaireresponseof***,questionIIIͲ10.



                                                 VIͲ14
                                            Appx15036
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                                                        


Otherexpensesandnetincomeorloss
          Classifiedbelowtheoperatingincomelevelareinterestexpense,otherexpense,and
otherincome.IntableVIͲ1,theseitemsareaggregatedandonlythenetamountisshown.The
allotherexpensesincreasedfrom2017to2019andwerehigherininterim2020thanininterim
2019. ***.1213
          AsshownintableVIͲ1,netincomedeclinedfrom2017to2019andwaslowerininterim
2020(anetloss)thanininterim2019(anetprofit).Netincomemargin(netincomeasaratio
tonetsales)exhibitedthesametrend.

          AppendixEͲ2providestheU.S.producers’narrativeresponsesregardingeffectson
financialperformanceofCOVIDͲ19.




     12
      ***.U.S.producers’questionnaireresponseof***,questionsIIIͲ10,IIIͲ11andIIIͲ19.
     13
      ***.U.S.producers’questionnaireresponseof***,questionIIIͲ10.



                                                     VIͲ15
                                               Appx15037
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Varianceanalysis
       Avarianceanalysisismostusefulforproductsthatdonothavesubstantialchangesin
productmixovertheperiodinvestigatedandthemethodologyismostsensitiveattheplantor
firmlevel,ratherthantheaggregatedindustrylevel.Becauseofthewidevariationinproduct
mixandunitvaluesbetweenfirmsinthisproceeding,avarianceanalysisisnotpresented.
       
Capitalexpendituresandresearchanddevelopmentexpenses
       TableVIͲ5presentsU.S.producers’capitalexpendituresandresearchanddevelopment
(“R&D”)expensesrelatedtotheirmattressoperationsandtableVIͲ6presentscorresponding
narrativedescriptions.

Table VI-5
Mattresses: Capital expenditures and R&D expenses for U.S. producers, by firm, 2017-19, January
to September 2019, and January to September 2020
                                             Fiscal year                    January to September
                                2017            2018          2019           2019          2020
              Item                             Capital expenditures (1,000 dollars)
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
    Top six firms in 2019          76,030         65,180        83,546         57,277        76,570
    All other firms                29,726         18,634        28,678         19,011        39,860
      All firms                  105,756          83,814       112,224         76,288       116,430
                                                  R&D expenses (1,000 dollars)
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
 ***                                   ***             ***          ***             ***          ***
    Top six firms in 2019          36,298         31,523        26,749         20,387        19,052
    All other firms                 4,068           4,914        7,794           5,828        7,659
      All firms                    40,366         36,437        34,543         26,215        26,711
Source: Compiled from data submitted in response to Commission questionnaires.




                                              VIͲ16
                                         Appx15038
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Table VI-6
Mattresses: Nature and focus of capital expenditures and R&D expenses for U.S. producers, by
firm, 2017-19, January to September 2019, and January to September 2020
  Item                                        Narrative responses
  ***           ***
  ***           ***
  ***           ***
  ***           ***
  ***           ***
  ***           ***
Table continued on next page.




                                            VIͲ17
                                       Appx15039
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Table VI-6—Continued
Mattresses: Nature and focus of capital expenditures and R&D expenses for U.S. producers, by
firm, 2017-19, January to September 2019, and January to September 2020
  Item                                        R&D nature and focus
  ***           ***
  ***           ***
  ***           ***
  ***           ***
  ***           ***
Source: Compiled from data submitted in response to Commission questionnaires.




                                            VIͲ18
                                       Appx15040
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Assetsandreturnonassets
        TableVIͲ7presentsdataontheU.S.producers’totalassetsandtheirreturnonassets
(operatingincomedividedbytotalassets)relatedtooperationsonmattressesandtableVIͲ8
presentscorrespondingnarrativedescriptions.14
        
Table VI-7
Mattresses: Value of assets used in production, warehousing, and sales, and return on assets for
U.S. producers, by firm, 2017-19
                                                                    Fiscal years
                        Firm                           2017             2018             2019
                                                          Total net assets (1,000 dollars)
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
    Top six firms in 2019                              4,599,613        4,504,929        4,415,962
    All other firms                                      303,682          365,529          465,955
      All firms                                        4,903,295        4,870,458        4,881,917
                                                        Operating return on assets (percent)
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
 ***                                                          ***              ***              ***
    Top six firms in 2019                                   13.0             11.4             11.5
    All other firms                                         30.7             30.9             33.6
      All firms                                             14.1             12.9             13.6
Source: Compiled from data submitted in response to Commission questionnaires.




   14
     Thereturnonassetsiscalculatedasoperatingincomedividedbytotalassets.Withrespecttoa
firm’soveralloperations,thetotalassetvaluereflectsanaggregationofanumberofassetswhichare
generallynotproductspecific.Thus,highͲlevelallocationsaregenerallyrequiredinordertoreporta
totalassetvalueforthesubjectproduct.



                                                  VIͲ19
                                             Appx15041
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Table VI-8
Mattresses: Asset description responses for U.S. producers, by firm, 2017-19
 Item                                          Narrative responses
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
Source: Compiled from data submitted in response to Commission questionnaires.




                                               VIͲ20
                                          Appx15042
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Capitalandinvestment
       TheCommissionrequestedthatU.S.producersofmattressesdescribeanyactualor
potentialnegativeeffectsofimportsofmattressesfromCambodia,China,Indonesia,Malaysia,
Serbia,Thailand,Turkey,andVietnamontheirfirms’growth,investment,abilitytoraisecapital,
developmentandproductionefforts,orthescaleofcapitalinvestmentssinceJanuary1,2017.
TableVIͲ9presentsthenumberoffirmsreportinganimpactineachcategoryandtableVIͲ10
providestheU.S.producers’narrativeresponses.

Table VI-9
Mattresses: Actual and anticipated negative effects of imports on investment and growth and
development
                                 Item                                   No            Yes
 Negative effects on investment                                                24           22
   Cancellation, postponement, or rejection of expansion projects                            5
   Denial or rejection of investment proposal                                                1
   Reduction in the size of capital investments                                              6
   Return on specific investments negatively impacted                                       12
   Other                                                                                    10
 Negative effects on growth and development                                    25           21
   Rejection of bank loans                                                                   1
   Lowering of credit rating                                                                 2
   Problem related to the issue of stocks or bonds                                           0
   Ability to service debt                                                                   5
   Other                                                                                    19
 Anticipated negative effects of imports                                       16           30
Source: Compiled from data submitted in response to Commission questionnaires.




                                              VIͲ21
                                         Appx15043
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Table VI-10
Mattresses: Narratives relating to actual and anticipated negative effects of imports on
investment and growth and development, since January 1, 2017
   Item / Firm                                       Narrative
 Cancellation, postponement, or rejection of expansion projects:
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 Denial or rejection of investment proposal:
 ***              ***
 Reduction in the size of capital investments:
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 Return on specific investments negatively impacted:
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 ***              ***
Table continued on next page.




                                               VIͲ22
                                         Appx15044
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Table VI-10--Continued
Mattresses: Narratives relating to actual and anticipated negative effects of imports on
investment and growth and development, since January 1, 2017
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 Other negative effects on investments:
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
Table continued on next page.




                                               VIͲ23
                                         Appx15045
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Table VI-10--Continued
Mattresses: Narratives relating to actual and anticipated negative effects of imports on
investment and growth and development, since January 1, 2017
 ***              ***
 Rejection of bank loans:
 ***              ***
 Lowering of credit rating:
 ***              ***
 ***              ***
 Ability to service debt:
 ***              ***
 ***              ***
 ***              ***
 ***              ***
 ***              ***
Table continued on next page.




                                               VIͲ24
                                         Appx15046
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Table VI-10--Continued
Mattresses: Narratives relating to actual and anticipated negative effects of imports on
investment and growth and development, since January 1, 2017
 Other effects on growth and development:
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
Table continued on next page.




                                               VIͲ25
                                         Appx15047
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Table VI-10--Continued
Mattresses: Narratives relating to actual and anticipated negative effects of imports on
investment and growth and development, since January 1, 2017
 Anticipated effects of imports:
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
Table continued on next page.




                                               VIͲ26
                                         Appx15048
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                                                 

Table VI-10--Continued
Mattresses: Narratives relating to actual and anticipated negative effects of imports on
investment and growth and development, since January 1, 2017
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
 ***             ***
Source: Compiled from data submitted in response to Commission questionnaires.




                                               VIͲ27
                                         Appx15049
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        Threat considerations and information on
nonsubject countries
         Section771(7)(F)(i)oftheAct(19U.S.C.§1677(7)(F)(i))providesthat—

            IndeterminingwhetheranindustryintheUnitedStatesisthreatened
            withmaterialinjurybyreasonofimports(orsalesforimportation)ofthe
            subjectmerchandise,theCommissionshallconsider,amongother
            relevanteconomicfactors1ͲͲ
            (I)     ifacountervailablesubsidyisinvolved,suchinformationasmay
                    bepresentedtoitbytheadministeringauthorityastothenature
                    ofthesubsidy(particularlyastowhetherthecountervailable
                    subsidyisasubsidydescribedinArticle3or6.1oftheSubsidies
                    Agreement),andwhetherimportsofthesubjectmerchandiseare
                    likelytoincrease,

            (II)    anyexistingunusedproductioncapacityorimminent,substantial
                    increaseinproductioncapacityintheexportingcountryindicating
                    thelikelihoodofsubstantiallyincreasedimportsofthesubject
                    merchandiseintotheUnitedStates,takingintoaccountthe
                    availabilityofotherexportmarketstoabsorbanyadditional
                    exports,

            (III)   asignificantrateofincreaseofthevolumeormarketpenetration
                    ofimportsofthesubjectmerchandiseindicatingthelikelihoodof
                    substantiallyincreasedimports,

            (IV)    whetherimportsofthesubjectmerchandiseareenteringatprices
                    thatarelikelytohaveasignificantdepressingorsuppressing
                    effectondomesticprices,andarelikelytoincreasedemandfor
                    furtherimports,

            (V)     inventoriesofthesubjectmerchandise,



                                 

     1
    Section771(7)(F)(ii)oftheAct(19U.S.C.§1677(7)(F)(ii))providesthat“TheCommissionshall
consider{thesefactors}...asawholeinmakingadeterminationofwhetherfurtherdumpedor
subsidizedimportsareimminentandwhethermaterialinjurybyreasonofimportswouldoccurunless
anorderisissuedorasuspensionagreementisacceptedunderthistitle.Thepresenceorabsenceof
anyfactorwhichtheCommissionisrequiredtoconsider...shallnotnecessarilygivedecisiveguidance
withrespecttothedetermination.Suchadeterminationmaynotbemadeonthebasisofmere
conjectureorsupposition.”


                                                 VIIͲ1
                                             Appx15051
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            (VI)     thepotentialforproductͲshiftingifproductionfacilitiesinthe
                     foreigncountry,whichcanbeusedtoproducethesubject
                     merchandise,arecurrentlybeingusedtoproduceotherproducts,

            (VII)    inanyinvestigationunderthistitlewhichinvolvesimportsofboth
                     arawagriculturalproduct(withinthemeaningofparagraph
                     (4)(E)(iv))andanyproductprocessedfromsuchrawagricultural
                     product,thelikelihoodthattherewillbeincreasedimports,by
                     reasonofproductshifting,ifthereisanaffirmativedetermination
                     bytheCommissionundersection705(b)(1)or735(b)(1)with
                     respecttoeithertherawagriculturalproductortheprocessed
                     agriculturalproduct(butnotboth),

            (VIII)   theactualandpotentialnegativeeffectsontheexisting
                     developmentandproductioneffortsofthedomesticindustry,
                     includingeffortstodevelopaderivativeormoreadvancedversion
                     ofthedomesticlikeproduct,and

            (IX)     anyotherdemonstrableadversetrendsthatindicatethe
                     probabilitythatthereislikelytobematerialinjurybyreasonof
                     imports(orsaleforimportation)ofthesubjectmerchandise
                     (whetherornotitisactuallybeingimportedatthetime).2

         Informationonthenatureofthesubsidieswaspresentedearlierinthisreport;
informationonthevolumeandpricingofimportsofthesubjectmerchandiseispresentedin
PartsIVandV;andinformationontheeffectsofimportsofthesubjectmerchandiseonU.S.
producers’existingdevelopmentandproductioneffortsispresentedinPartVI.Informationon
inventoriesofthesubjectmerchandise;foreignproducers’operations,includingthepotential
for“productͲshifting;”anyotherthreatindicators,ifapplicable;andanydumpinginthirdͲ
countrymarkets,follows.Alsopresentedinthissectionofthereportisinformationobtained
forconsiderationbytheCommissiononnonsubjectcountries.





                                 

     2
    Section771(7)(F)(iii)oftheAct(19U.S.C.§1677(7)(F)(iii))furtherprovidesthat,inantidumping
investigations,“...theCommissionshallconsiderwhetherdumpinginthemarketsofforeigncountries
(asevidencedbydumpingfindingsorantidumpingremediesinotherWTOmembermarketsagainstthe
sameclassorkindofmerchandisemanufacturedorexportedbythesamepartyasunderinvestigation)
suggestsathreatofmaterialinjurytothedomesticindustry.”


                                                VIIͲ2
                                             Appx15052
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The industry in Cambodia
         TheCommissionissuedforeignproducer/exporterquestionnairestosixfirmsforwhich
validcontactinformationwasobtainedthatarebelievedtoproduceand/orexportmattresses
fromCambodia.3NoresponsetotheCommission’squestionnaireinthefinalphaseofthese
investigationswassubmittedbyanyforeignproducerorexporterinCambodia.However,one
usableresponsetotheCommission’squestionnairewasreceivedduringthepreliminaryphase
oftheseinvestigationsfromChiusPolyurethaneMaterial(Cambodia)Co.,Ltd.(“Chius”).Unless
otherwisenoted,theinformationinthissectionofthereportconcerningCambodiaisbasedon
thepreliminaryphasequestionnaireresponseofChius.Thisfirm’sexportstotheUnitedStates
accountedfor***percentofreportedU.S.importsofmattressesfromCambodiain2019.4
TableVIIͲ1presentsinformationonthemattressoperationssubmittedbyChiusinCambodia.
         
Table VII-1
Cambodia: Summary data for producer in Cambodia, 2019

                                                              Share of                     Share of
                                                              reported                   firm's total
                                                    Exports    exports                   shipments
                                       Share of      to the     to the                  exported to
                                       reported      United    United       Total         the United
                        Production production        States     States   shipments          States
        Firm               (units)     (percent)     (units)  (percent)    (units)         (percent)
 Chius                             ***         ***        ***        ***           ***             ***
Source: Compiled from data submitted in response to Commission questionnaires in the preliminary
phase of these investigations.







                                

     3
     Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    4
     Thecoveragenumberpresentedwascalculatedusingimporterdatasubmittedinresponseto
Commissionquestionnairesinthefinalphaseoftheseinvestigations.Chiusreportedthat***percentof
itsexportstotheUnitedStateswereimportedbyitsrelatedU.S.importer,***.OtherrespondingU.S.
importersreportedthatproducersoftheirmattressimportsfromCambodiainclude***.


                                               VIIͲ3
                                            Appx15053
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Changes in operations
        Cambodianproducer/exporterChiusdidnotreportanychangesinthenatureofits
mattressoperationssinceJanuary1,2017.Further,thefirmindicatedthatitdoesnot
anticipateanychangesinthecharacterofitsoperationsororganizationrelatingtothe
productionofmattressesinthefuture.

Operations on mattresses
        TableVIIͲ2presentsinformationonthemattressoperationsofCambodian
producer/exporterChius.During2017Ͳ19,Chius’capacitytoproducemattressesremained
constant,whileitsannualproductionof***mattressesduring2017Ͳ18increasedby***
percentto***mattressesin2019.Calculatedcapacityutilization,therefore,increasedby***
percentagepointsfrom***percentin2017and2018to***percentin2019.Chiusreported
thatitscapacityandproductionareprojectedtoremainconstantduring2020and2021.Chius
wasaskedaboutconstraintsonitsproductioncapacity.Itreportedthatitscapacityislimitedby
its“***.”
        Chius’exportshipmentstotheUnitedStatesaccountedfor***shipmentsofits
mattressesduring2017Ͳ19.ExportshipmentstotheUnitedStatesmirroredthecompany’s
reportedproductiondata,increasingby***percentfrom***mattressesduring2017and2018
to***mattressesin2019.Likeproduction,exportshipmentstotheUnitedStatesareprojected
toremainconstantandareexpectedtocontinuetoaccountfor***Chius’mattressshipments
throughout2020Ͳ21.

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                                             VIIͲ4
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Table VII-2
Mattresses: Data for Cambodian producer Chius, 2017-19 and projected calendar years 2020 and
2021
                                              Actual experience               Projections
                                                 Calendar year               Calendar year
                                         2017        2018       2019        2020       2021
                                                           Quantity (units)
 Capacity                                    ***         ***         ***        ***        ***
 Production                                  ***         ***         ***        ***        ***
 End-of-period inventories                   ***         ***         ***        ***        ***
 Shipments:
  Home market shipments:
     Internal consumption/ transfers             ***        ***         ***        ***     ***
     Commercial home market
     shipments                                   ***        ***         ***        ***     ***
        Total home market shipments              ***        ***         ***        ***     ***
   Export shipments to:
     United States                               ***        ***        ***         ***     ***
     All other markets                           ***        ***        ***         ***     ***
        Total exports                            ***        ***        ***         ***     ***
          Total shipments                        ***        ***        ***         ***     ***
                                                        Ratios and shares (percent)
 Capacity utilization                            ***        ***        ***         ***     ***
 Inventories/production                          ***        ***        ***         ***     ***
 Inventories/total shipments                     ***        ***        ***         ***     ***
 Share of shipments:
  Home market shipments:
     Internal consumption/ transfers              ***       ***         ***        ***     ***
     Commercial home market
     shipments                                    ***       ***         ***        ***     ***
        Total home market shipments               ***       ***         ***        ***     ***
   Export shipments to:
     United States                                ***       ***         ***        ***     ***
     All other markets                            ***       ***         ***        ***     ***
        Total exports                             ***       ***         ***        ***     ***
          Total shipments                         ***       ***         ***        ***     ***
Source: Compiled from data submitted in response to Commission questionnaires.


Alternative products
       ***.Thefirmindicated***“***.”




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Exports
         AccordingtoGTA,theleadingexportmarket,byvalue,for“articlesofbedding”5from
CambodiaistheUnitedStates(tableVIIͲ3).During2019,theUnitedStateswasthelargest
exportmarketforarticlesofbeddingfromCambodia,accountingfor97.1percent,followedby
Canadaasadistantsecond,accountingfor2.8percent.

Table VII-3
Articles of bedding: Cambodia exports by destination market, 2017-19
                                                                            Calendar year
                    Destination market                         2017            2018            2019
                                                                         Value (1,000 dollars)
 United States                                                    1,914            2,456          44,023
 Canada                                                              474             673           1,279
 China                                                                 ---              4              14
 United Kingdom                                                        ---             ---             13
 Hong Kong                                                             ---             ---              1
 Costa Rica                                                            ---             ---              1
 All other destination markets                                          3               4               1
    All destination markets                                       2,391            3,137          45,332
                                                                      Share of Value (percent)
 United States                                                      80.1            78.3            97.1
 Canada                                                             19.8            21.4              2.8
 China                                                                 ---            0.1             0.0
 United Kingdom                                                        ---             ---            0.0
 Hong Kong                                                             ---             ---            0.0
 Costa Rica                                                            ---             ---            0.0
 All other destination markets                                        0.1             0.1             0.0
    All destination markets                                       100.0            100.0           100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data. Quantity data are not available.

Source: Official imports statistics of imports from Cambodia (constructed export statistics for Cambodia)
under HS subheadings 9404.21 and 9404.29 as reported by various statistical reporting authorities in the
Global Trade Atlas database, accessed February 18, 2020.




                                 

     5
     Throughoutthisreport,thepresentationofGTAexportdataisfor“articlesofbedding”reportedat
the6ͲdigitHSlevel,whichincludesnotonlyinͲscopemattresses,butalsoothermattressesandbedding
articlesthatarenotincludedinthescopeoftheseinvestigations,suchasspecificallyexcluded
mattresses,aswellasmattresstoppers,pillows,comforters,bedsheets,andotherbeddingitems.


                                                 VIIͲ6
                                             Appx15056
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The industry in China
         Chinaisreportedtobe***.***wereproducedbymanufacturersinChinainthatyear,
***ofwhichwereinnerspringmattresses.TherearehundredsofmattressproducersinChina,
withthelargest***accountingfor***oftotalmattressproductioninChina.6
         TheCommissionissuedforeignproducers’/exporters’questionnairesto35firmsfor
whichvalidcontactinformationwasobtainedthatarebelievedtoproduceand/orexport
mattressesfromChina.7AusableresponsetotheCommission’squestionnairewasreceived
fromonefirm:Zinus(Xiamen)Inc.(“Zinus”),***.8Zinus’exportstotheUnitedStatesaccounted
for***percentofreportedU.S.importsofmattressesfromChinain2019.9***.TableVIIͲ4
presentsinformationonthemattressoperationsoftherespondingproducer/exporterinChina.

Table VII-4
Mattresses: Summary data on firms in China, 2019
                         Share of Exports to          Share of                    Share of firm's total
                         reported the United reported exports          Total      shipments exported
           Production production      States       to the United    shipments to the United States
  Firm       (units)     (percent)    (units)     States (percent)    (units)          (percent)
Zinus                ***        ***           ***               ***           ***                    ***
Source: Compiled from data submitted in response to Commission questionnaires.




                                

     6
     Petition,Vol.1,exh.IͲ10,citing***.
     7
     Thesefirmswereidentifiedthroughareviewofinformationinthepetition,theCommission’s
recentinvestigationonmattressesfromChina,thepreliminaryphaseoftheseinvestigations,and***.
    8
     Petition,Vol.1,exh.IͲ10,citing***.
    9
     Thecoveragenumberpresentedwascalculatedusingimporterdatasubmittedinresponseto
Commissionquestionnaires.IntheCommission’srecentinvestigationonmattressesfromChina,usable
questionnaireresponseswerereceivedfrom13firmsproducingmattressesinChina.These13firms’
exportstotheUnitedStatestogetheraccountedfor59.7percentofU.S.importsofmattressesfrom
Chinain2018and***percentofoverallproductionofmattressesinChinain2018.Zinuswasthe
largestofthe13respondingproducers,accountingfor***percentof2018mattressproductioninChina
asreportedinthatproceeding.Thetimeperiodforwhichforeignproducerdatawerecollectedinthat
investigationwas2016Ͳ18,JanuaryͲJune2018,JanuaryͲJune2019,andprojected2019Ͳ20.Investigation
No.731ͲTAͲ1424(Final):MattressesfromChina,ConfidentialReport,INVͲRRͲ116,November5,2019,as
revisedinINVͲRRͲ120,November12,2019(“Chinafinalconfidentialreport”),p.VIIͲ3andtablesVIIͲ1
andVIIͲ3.


                                               VIIͲ7
                                            Appx15057
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Changes in operations
        AspresentedintableVIIͲ5,ZinusreportedtwooperationalchangessinceJanuary1,
2017—***.
        
Table VII-5
Mattresses: Reported changes in operations by the producer in China, since January 1, 2017
   Item / Firm                            Reported changed in operations
 Plant openings:
 ***            ***
 Other:
 ***            ***
Source: Compiled from data submitted in response to Commission questionnaires.


        ProducersinthesubjectcountrieswereaskedtoindicatewhetherornottheCOVIDͲ19
pandemicoranygovernmentactionstakentocontainthespreadoftheCOVIDͲ19virus
resultedinchangesinrelationtotheirsupplychainarrangements,production,andsales
(includingexportstotheUnitedStates)relatingtomattresses.Zinusreported***.Zinus’
explanationforthisresponseispresentedinappendixE(tableEͲ4).

Operations on mattresses
        TableVIIͲ6presentsinformationonthemattressoperationsofChinese
producer/exporterZinus.Thefirm’sannualproductioncapacityinChinaincreasedby***
percentfrom***mattressesin2017to***mattressesin2018,butdeclinedby***percentto
***mattressesin2019,ending***percentlowerin2019thanin2017.Productioncapacity
was***percentlowerininterim2020comparedwithinterim2019.Zinus’productioncapacity
inChinaisprojectedtobe***percentlowerin2020and2021thanin2019.Zinuswasasked
aboutconstraintsonitsproductioncapacity.Itreportedthatitscapacityislimitedby***.Zinus
explainedthat***.
                             




                                             VIIͲ8
                                          Appx15058
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Table VII-6
Mattresses: Data on Chinese producer Zinus, 2017-19, January to September 2019, and January
to September 2020 and projection calendar years 2020 and 2021
                                           Actual experience                              Projections
                                  Calendar year           January to September           Calendar year
         Item              2017       2018       2019        2019       2020             2020      2021
                                                      Quantity (units)
Capacity                        ***        ***        ***           ***      ***             ***      ***
Production                      ***        ***        ***           ***      ***             ***      ***
End-of-period
inventories                     ***          ***            ***         ***        ***       ***      ***
Shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                   ***          ***            ***         ***        ***       ***      ***
     Commercial home
     market shipments           ***          ***            ***         ***        ***       ***      ***
       Total home
       market
       shipments                ***          ***            ***         ***        ***       ***      ***
  Export shipments to:
  United States                 ***         ***             ***         ***        ***       ***      ***
    All other markets           ***         ***             ***         ***        ***       ***      ***
      Total exports             ***         ***             ***         ***        ***       ***      ***
         Total
         shipments              ***          ***           ***          ***        ***       ***      ***
                                                     Ratios and shares (percent)
Capacity utilization            ***         ***            ***          ***        ***       ***      ***
Inventories/production          ***         ***            ***          ***        ***       ***      ***
Inventories/total
shipments                       ***          ***            ***         ***        ***       ***      ***
Share of shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                   ***          ***            ***         ***        ***       ***      ***
     Commercial home
     market shipments           ***          ***            ***         ***        ***       ***      ***
       Total home
       market
       shipments                ***          ***            ***         ***        ***       ***      ***
  Export shipments to:
  United States                 ***         ***             ***         ***        ***       ***      ***
    All other markets           ***         ***             ***         ***        ***       ***      ***
      Total exports             ***         ***             ***         ***        ***       ***      ***
         Total
         shipments              ***          ***            ***         ***        ***       ***      ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.




                                                   VIIͲ9
                                            Appx15059
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        Similartoitsreportedtrendsincapacity,mattressproductionbyZinusinChina
increasedby***percentfrom***mattressesin2017to***mattressesin2018,butdeclined
by***percentto***mattressesin2019,ending***percentlowerin2019thanin2017.
Productionwas***percentlowerininterim2020comparedwithinterim2019.Projections
indicatedthatZinus’productioninChinaisexpectedtodeclineby***from2019levelsby
2021.Zinus’capacityutilizationdeclinedfrom***percentin2017to***percentin2019and
was***percentduringinterim2020.Zinusreportedthatcapacityutilizationisprojectedtobe
***percentduringcalendaryear2020and***during2021.
        TheoveralltrendinZinus’totalshipmentsmirroredthatofthefirm’sreported
production,increasingslightlyfrom2017to2018,butdecliningin2019toalevelbelowthat
reportedin2017.Zinus’exportshipmentsaccountedfor***ofitstotalshipmentsduring2017Ͳ
19and***ofitsexportsweredestinedfortheUnitedStates.Zinus’exportstotheUnited
Statesaccountedfor***percentofitstotalshipmentsin2017,***percentin2018,and***
percentin2019.ThequantityofexportstotheUnitedStatesdeclinedby***percentbetween
2017and2019,withtheoverwhelmingmajorityofthedeclineoccurringfrom2018to2019.
Zinus’totalshipmentswere***percentlowerininterim2020comparedwithinterim2019and
afurtherdeclineinitsexportstotheUnitedStatesto***wasreportedduringinterim2020.
ProjectionsindicatethatZinus’2021totalshipmentsareexpectedtobe***thelevelreported
in2019andthatitexpectstoreplaceitsexportstotheUnitedStateswithexportstoother
markets.Exportshipmentstoothercountries,whichincreasedfrom2017to2019,were
destinedfor***.
        Inventoriesrepresentedarelativelyminor(i.e.,lessthan***percent)andfluctuating
shareofZinus’productionandshipmentsduring2017Ͳ19,althoughinventoriesasashareof
totalshipmentswashigherat***percentduringinterim2020comparedwith***percent
duringinterim2019.Zinus’dataindicatethatthesharesareexpectedtoincreaseto***during
2020Ͳ21asthefirm’sproductionandshipmentsdecline.

Production and capacity by packaging type
        Zinusreportedthat***ofitsmattresscapacityisdedicatedtotheproductionofMiBs
andthat***capacitytoproduceFPMs.

        
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                                             VIIͲ10
                                          Appx15060
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Alternative products
          AsshownintableVIIͲ7,ZinusreportedtheproductionofoutͲofͲscopeproductsonthe
sameequipmentandmachineryusedtoproducemattresses.Mattressesaccountedforthe
largestshareofZinus’overallplantproductionusingsharedequipmentduring2017Ͳ19(***
percentin2017and2018and***percentin2019),althoughtheproductionoftheseother
itemsincreasedin2019asproductionofmattressesdeclined.DuringJanuaryͲSeptember2020,
mattressesaccountedforasmallershare(***percent)ofZinus’overallplantproduction.In
additiontomattresses,otheritemsproducedbyZinusonsharedequipmentincludemattress
toppersandpetitems.Zinusreportedthat***.Itaddedthat***.
          
Table VII-7
Mattresses: Overall capacity and production on the same equipment as in-scope production by
producers in China, 2017-19, January to September 2019, and January to September 2020
                                                     Calendar year               January to September
                   Item                      2017         2018         2019          2019        2020
                                                                 Quantity (units)
Overall capacity                                   ***          ***         ***           ***         ***
Production:
  Mattresses                                       ***          ***         ***           ***         ***
  Out-of-scope production                          ***          ***         ***           ***         ***
    Total production on same machinery             ***          ***         ***           ***         ***
                                                          Ratios and shares (percent)
Overall capacity utilization                       ***          ***         ***           ***         ***
Share of production:
  Mattresses                                       ***          ***         ***           ***         ***
  Out-of-scope production                          ***          ***         ***           ***         ***
    Total production on same machinery             ***          ***         ***           ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.


Exports
          Chinaisthelargestmattressexporterintheworld,accountingfor29percentofglobal
mattressexportsin2018.10AccordingtoGTAglobalexportdatafor“articlesofbedding,”China
accountedforthelargestshareofthevalueofglobalexportsofbeddingproducts(19.3
percent)in2019(seeglobalexportdatapresentedlaterinthispartofthereportattableVIIͲ
45).TheleadingexportmarketsforarticlesofbeddingfromChinain2019,byquantity,were

                                     
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     10
      Petition,Vol.1,exh.IͲ10,citing***.


                                                    VIIͲ11
                                                   Appx15061
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theUnitedStatesandJapan,accountingfor27.6percentand19.3percent,respectively(table
VIIͲ8).
           
Table VII-8
Articles of bedding: China exports by destination market, 2017-19
                                                                   Calendar year
                     Destination market                  2017           2018           2019
                                                                  Quantity (units)
    United States                                      26,852,188     27,874,795      22,232,641
    Japan                                              14,826,945     17,394,938      15,535,311
    United Kingdom                                      5,791,491      6,137,427       6,746,926
    Bangladesh                                             43,948      1,576,630       5,523,787
    Canada                                              2,282,553      2,207,274       3,113,880
    Korea                                               1,907,454      1,756,715       2,502,754
    Germany                                             1,984,202      1,808,945       2,328,059
    Australia                                           1,828,701      1,897,892       2,247,386
    Vietnam                                               926,648      1,310,633       2,023,858
    All other destination markets                      23,386,638     22,356,027      18,220,808
       Total exports                                   79,830,768     84,321,276      80,475,410
                                                                Value (1,000 dollars)
 United States                                            667,085        757,060         312,907
 Japan                                                    154,156        159,669         162,621
 United Kingdom                                            33,297         34,447          44,703
 Bangladesh                                                   432            334             184
 Canada                                                    24,340         35,880          50,286
 Korea                                                     28,700         33,743          50,404
 Germany                                                   13,180         11,327          28,690
 Australia                                                 60,743         69,903          68,534
 Vietnam                                                   13,376         25,507          32,349
 All other destination markets                            232,203        263,858         328,794
    Total exports                                       1,227,511      1,391,727       1,079,473
Table continued on next page.





                                           VIIͲ12
                                          Appx15062
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Table VII-8—Continued
Articles of bedding: China exports by destination market, 2017-19
                                                                           Calendar year
                  Destination market                           2017             2018             2019
                                                                     Unit value (dollars per unit)
 United States                                                      24.84           27.16           14.07
 Japan                                                              10.40             9.18          10.47
 United Kingdom                                                      5.75             5.61            6.63
 Bangladesh                                                          9.83             0.21            0.03
 Canada                                                             10.66           16.26           16.15
 Korea                                                              15.05           19.21           20.14
 Germany                                                             6.64             6.26          12.32
 Australia                                                          33.22           36.83           30.49
 Vietnam                                                            14.44           19.46           15.98
 All other destination markets                                       9.93           11.80           18.04
    Total exports                                                   15.38           16.51           13.41
                                                                     Share of quantity (percent)
 United States                                                       33.6             33.1            27.6
 Japan                                                               18.6             20.6            19.3
 United Kingdom                                                       7.3              7.3             8.4
 Bangladesh                                                           0.1              1.9             6.9
 Canada                                                               2.9              2.6             3.9
 Korea                                                                2.4              2.1             3.1
 Germany                                                              2.5              2.1             2.9
 Australia                                                            2.3              2.3             2.8
 Vietnam                                                              1.2              1.6             2.5
 All other destination markets                                       29.3             26.5            22.6
    Total exports                                                   100.0           100.0           100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data.

Source: Official export statistics under HS subheadings 9404.21 and 9404.29 as reported by China
Customs in the Global Trade Atlas database, accessed February 18, 2020.


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                                                VIIͲ13
                                             Appx15063
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The industry in Indonesia
          TheCommissionissuedforeignproducers’/exporters’questionnairesto12firmsfor
whichvalidcontactinformationwasobtainedthatwerebelievedtoproduceand/orexport
mattressesfromIndonesia.11UsableresponsestotheCommission’squestionnaireinthefinal
phaseoftheseinvestigationswerereceivedfromthreefirms:PTGrahaSeribusatuJaya
(“Graha”);PTRomanceBeddingandFurniture(“Romance”);andPTZinusGlobalIndonesia
(“ZinusGlobal”).12Thesefirms’exportstotheUnitedStatesaccountedfor***percentof
reportedU.S.importsofmattressesfromIndonesiain2019.13
          TableVIIͲ9presentsinformationonthemattressoperationsoftheresponding
producersandexportersinIndonesia.

Table VII-9
Mattresses: Summary data on firms in Indonesia, 2019
                                                                                              Share of
                                                                                                firm's
                                                               Share of                          total
                                                               reported                      shipments
                                                                exports                       exported
                                       Share of    Exports to    to the                         to the
                                       reported    the United   United         Total           United
                       Production production         States      States    shipments           States
          Firm           (units)       (percent)     (units)   (percent)     (units)          (percent)
 Graha                          ***           ***          ***        ***            ***               ***
 Romance                        ***           ***          ***        ***            ***               ***
 Zinus Global                   ***           ***          ***        ***            ***               ***
   All firms                    ***           ***          ***        ***            ***               ***
Source: Compiled from data submitted in response to Commission questionnaires.




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     11
      Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    12
      ThefollowingeightfirmsinIndonesiaprovidedusableinformationinthepreliminaryphaseof
theseinvestigations:PTCelebesPutraPrima;PTGrahaAnomJaya;PTDemakPutraMandiri;PTDynasti
Indomegah;PTEcosJayaIndonesia;Graha;Romance;andZinusGlobal.Theseeightfirmstogether
produced***mattressesin2019.OneadditionalfirminIndonesia(***)submittedanunusable
responsetotheCommission’squestionnaireinthepreliminaryphaseoftheinvestigations.***
produced***mattressesin2019.ThethreefirmsthatrespondedtotheCommission’squestionnairein
thefinalphaseoftheseinvestigations(Graha,Romance,andZinusGlobal)accountedfor***of2019
Indonesianmattressproductionreportedinthepreliminaryphaseoftheinvestigations.
    13
      Thecoveragenumberpresentedwascalculatedusingimporterdatasubmittedinresponseto
Commissionquestionnaires.


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Changes in operations
        AspresentedintableVIIͲ10,tworespondingproducersinIndonesiareportedintheir
finalphasequestionnaireresponsescertainchangesinoperationssinceJanuary1,2017,
includingplantopenings,expansions,andequipmentacquisitions.

Table VII-10
Mattresses: Reported changes in operations by producers in Indonesia, since January 1, 2017
     Item / Firm                             Reported changed in operations
 Plant openings:
 ***                  ***
 Expansions:
 ***                  ***
 Acquisitions:
 ***                  ***
Source: Compiled from data submitted in response to Commission questionnaires.


        ProducersinthesubjectcountrieswereaskedtoindicatewhetherornottheCOVIDͲ19
pandemicoranygovernmentactionstakentocontainthespreadoftheCOVIDͲ19virus
resultedinchangesinrelationtotheirsupplychainarrangements,production,andsales
(includingexportstotheUnitedStates)relatingtomattresses.Romancereported***;Graha
andZinusGlobalreported***.Foreignproducers’narrativeresponsestothisquestionare
presentedinappendixE(tableEͲ4).

Operations on mattresses
        TableVIIͲ11presentsinformationonthemattressoperationsoftheresponding
producersandexportersinIndonesia.
        
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Table VII-11
Mattresses: Data on industry in Indonesia, 2017-19, January to September 2019, and January to
September 2020 and projection calendar years 2020 and 2021
                                             Actual experience                         Projections
                                    Calendar year          January to September       Calendar year
            Item              2017     2018       2019        2019        2020       2020       2021
                                                           Quantity (units)
Capacity                          ***      ***         ***         ***         ***       ***           ***
Production                        ***      ***         ***         ***         ***       ***           ***
End-of-period inventories         ***      ***         ***          ***        ***       ***           ***
Shipments:
  Home market shipments:
   Internal consumption/
   transfers                        ***     ***             ***     ***        ***       ***           ***
    Commercial home
    market shipments                ***     ***             ***     ***        ***       ***           ***
      Total home market
      shipments                     ***     ***             ***     ***        ***       ***           ***
    Export shipments to:
      United States                 ***     ***          ***        ***        ***       ***           ***
      All other markets             ***     ***          ***        ***        ***       ***           ***
        Total exports               ***     ***          ***        ***        ***       ***           ***
           Total shipments          ***     ***          ***        ***        ***       ***           ***
                                                      Ratios and shares (percent)
Capacity utilization                ***     ***          ***        ***        ***       ***           ***
Inventories/production              ***     ***          ***        ***        ***       ***           ***
Inventories/total shipments         ***     ***          ***        ***        ***       ***           ***
Share of shipments:
  Home market shipments:
    Internal consumption/
    transfers                       ***     ***             ***     ***        ***       ***           ***
     Commercial home
     market shipments               ***     ***             ***     ***        ***       ***           ***
       Total home market
       shipments                    ***     ***             ***     ***        ***       ***           ***
    Export shipments to:
      United States                 ***     ***             ***     ***        ***       ***           ***
      All other markets             ***     ***             ***     ***        ***       ***           ***
        Total exports               ***     ***             ***     ***        ***       ***           ***
           Total shipments          ***     ***             ***     ***        ***       ***           ***
Source: Compiled from data submitted in response to Commission questionnaires.
                               




                                                  VIIͲ16
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          Respondingproducers’capacityinIndonesiaincreasedby***percentduring2017Ͳ19,
whileproductionincreasedby***percentduringthesameperiod.Capacityandproduction
were***percentand***percenthigher,respectively,ininterim2020comparedwithinterim
2019.ThemajorityoftheincreaseincapacityandproductioninIndonesiawasreportedfrom
2018to2019andininterim2020,andwasattributabletotheopeningof***.14Inaddition,
***.***beganmattressproductioninIndonesiain***and,by2019,was***producerof
mattressesinIndonesia,accountingfor***oftotalreportedproduction.Responding
producers’capacityinIndonesiaisprojectedtobe***percenthigherin2021thanin2019and
productionisprojectedtobe***percenthigher.Capacityutilizationdecreasedoverallfrom
***percentin2017to***percentin2019,washigherat***percentininterim2020,andis
projectedtobe***percentin2021.
          TheoveralltrendinIndonesianproducers’totalshipmentsmirroredthatofreported
production,increasingby***percentfrom2017to2019,withthemajorityoftheincrease
occurringfrom2018to2019.Totalshipmentswere***percenthigherininterim2020
comparedwithinterim2019.Commercialhomemarketshipmentsaccountedfor***oftotal
shipmentsbyIndonesianproducersduring2017(***percent)and2018(***percent).
However,by2019,exportstotheUnitedStatesaccountedfor***oftotalshipments(***
percent)withtheopeningof***,whichexported***oftheirmattressproductiontothe
UnitedStates.ExportstotheUnitedStatesincreasedfrom***mattressesin2017and2018to
***mattressesin2019and***mattressesduringJanuaryͲSeptember2020.Exportstothe
UnitedStatesareprojectedtoincreasefurtherto***mattressesannuallyby2020and2021.
Homemarketshipmentsincreasedmodestlyfrom***mattressesin2017to***mattressesin
2019butwerelowerininterim2020comparedwithinterim2019.Homemarketshipmentsare
projectedtoincreaseto***mattressesby2021.Exportshipmentstoothercountries,which
accountedfor***percentoftotalshipments,increasedfrom***mattressesin2017to***
mattressesin2019andareprojectedtoincreaseto***mattressesby2021.Thesemattress
exportstocountriesotherthantheUnitedStates,whichwerereportedbytwoproducers(***),
weredestinedfor***.
                               




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     14
      ***.


                                             VIIͲ17
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        EndͲofͲperiodinventories,whichincreasedintermsofquantityfrom2017to2019and
werehigherininterim2020comparedwithinterim2019,representedarelativelyminor(i.e.,
***)butgenerallyincreasingshareofIndonesianproductionandshipments.

Production and capacity by packaging type
        TableVIIͲ12presentsproduction,capacity,andcapacityutilizationinIndonesiaby
packagingtype(i.e.,MiBversusFPM).OfthemattressproducersinIndonesiathatprovided
usableresponsestotheCommission’squestionnaire,allthreereportedproductionofFPMsat
anypointsinceJanuary1,2017andtworeportedproductionofMiBs.ProductionofMiBs
increasedby***percentfrom2017to2019,whileproductionofFPMincreasedby***percent
inthesameperiod.ProductionofMiBsandFPMswerehigherininterim2020comparedwith
interim2019.ThecapacitytoproduceMiBsandFPMsshowedsimilartrendsasreported
production.AlthoughMiBsheldonly***percentoftotalproductionofmattressesinIndonesia
during2017,theshareoftotalmattressproductionheldbyMiBsincreasedto***percentin
2019.TheshareoftotalmattressproductionheldbyMiBswasalsohigherat***percentin
interim2020thanininterim2019.TheincreaseinMiBproductionin2019waslargely
attributableto***.

Table VII-12
Mattresses: Capacity and production by packaging type in Indonesia, 2017-19, January to
September 2019, and January to September 2020
                                                   Calendar year                January to September
                   Item                    2017        2018         2019          2019           2020
                                                                Quantity (units)
 MiB capacity                                  ***         ***           ***            ***           ***
 MiB production                                ***         ***           ***            ***           ***
                                                         Ratios and shares (percent)
 MiB capacity utilization                      ***         ***           ***            ***           ***
                                                                Quantity (units)
 FPM capacity                                  ***         ***           ***            ***           ***
 FPM production                                ***         ***           ***            ***           ***
                                                         Ratios and shares (percent)
 FPM capacity utilization                      ***         ***           ***            ***           ***
                                                  Share of all mattress production (percent)
 MiB production                                ***         ***           ***            ***           ***
 FPM production                                ***         ***           ***            ***           ***
 All mattress production                       ***         ***           ***            ***           ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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                                               VIIͲ18
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Alternative products
        DataonoverallplantcapacityforthethreerespondingmattressproducersinIndonesia
arepresentedintableVIIͲ13.Mattressesaccountedforagenerallyincreasingmajorityofthe
aggregatefirms’overallplantproductionusingsharedequipment,accountingfor***percent
in2017,***percentin2019,and***percentininterim2020.***reportedtheproductionof
otherproductsinadditiontomattressesonthesameequipmentandmachineryusedto
producemattresses,butdidnotnamethoseotheritemsinitsresponse.***reportedthat***.
        
Table VII-13
Mattresses: Overall capacity and production on the same equipment as in-scope production by
producers in Indonesia, 2017-19, January to September 2019, and January to September 2020
                                                       Calendar year             January to September
                   Item                      2017         2018        2019           2019        2020
                                                                  Quantity (units)
Overall capacity                                   ***         ***           ***          ***         ***
Production:
  Mattresses                                       ***         ***           ***          ***         ***
  Out-of-scope production                         ***          ***           ***          ***         ***
    Total production on same machinery             ***         ***           ***          ***         ***
                                                           Ratios and shares (percent)
Overall capacity utilization                       ***         ***           ***          ***         ***
Share of production:
  Mattresses                                       ***         ***           ***          ***         ***
  Out-of-scope production                         ***          ***           ***          ***         ***
    Total production on same machinery             ***         ***           ***          ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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Exports
        AccordingtoGTA,theleadingexportmarketfor“articlesofbedding”fromIndonesiais
currentlytheUnitedStates(tableVIIͲ14).During2017,Singaporewasthelargestexport
market,byvalue,forarticlesofbeddingfromIndonesia,accountingfor30.0percent,followed
bytheUnitedStates,accountingfor11.4percent.However,by2019,theUnitedStates
became,byfar,thelargestexportmarket,accountingfor93.3percent,followedbySingapore
asadistantsecond,accountingfor3.0percent.
        
Table VII-14
Articles of bedding: Indonesia exports by destination market, 2017-19
                                                                            Calendar year
                    Destination market                         2017             2018            2019
                                                                         Value (1,000 dollars)
 United States                                                     2,025           8,979          192,686
 Singapore                                                         5,330           7,122            6,103
 Germany                                                           1,527           1,297            1,225
 Malaysia                                                             871            762            1,078
 East Timor                                                           763            557              805
 Denmark                                                              447            731              674
 Australia                                                            453            633              496
 Vietnam                                                           2,656             102              438
 Thailand                                                             209            189              316
 All other destination markets                                     3,461           2,237            2,794
    All destination markets                                       17,742          22,608         206,614
                                                                       Share of value (percent)
 United States                                                       11.4           39.7             93.3
 Singapore                                                           30.0           31.5               3.0
 Germany                                                               8.6            5.7              0.6
 Malaysia                                                              4.9            3.4              0.5
 East Timor                                                            4.3            2.5              0.4
 Denmark                                                               2.5            3.2              0.3
 Australia                                                             2.6            2.8              0.2
 Vietnam                                                             15.0             0.5              0.2
 Thailand                                                              1.2            0.8              0.2
 All other destination markets                                       19.5             9.9              1.4
    All destination markets                                        100.0           100.0            100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data. Quantity data are not available.

Source: Official export statistics under HS subheadings 9404.21 and 9404.29 as reported by Statistics
Indonesia in the Global Trade Atlas database, accessed January 27, 2021.

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The industry in Malaysia
          TheCommissionissuedforeignproducers’/exporters’questionnairesto18firmsfor
whichvalidcontactinformationwasobtainedthatwerebelievedtoproduceand/orexport
mattressesfromMalaysia.15UsableresponsestotheCommission’squestionnairewere
receivedfromfivefirms:BedcoSistem(M)SdnBhd(“Bedco”);FarEastFoamIndustriesSDN
BHD(“FEFI”);LSKMattressworldSdnBhd(“Mattressworld”);MasterfoamIndustriesSdnBhd
(“Masterfoam”);andWansernFoamIndSdnBhd(“Wansern”).16Thesefirms’exportstothe
UnitedStatesaccountedfor***percentofU.S.importsofmattressesfromMalaysiain2019.17
          TableVIIͲ15presentsinformationonthemattressoperationsoftheresponding
producersandexportersinMalaysia.

Table VII-15
Mattresses: Summary data on firms in Malaysia, 2019
                                                                                             Share of
                                                                                               firm's
                                                               Share of                         total
                                                               reported                     shipments
                                                     Exports    exports                      exported
                                         Share of     to the     to the                        to the
                                         reported     United    United         Total          United
                         Production production        States     States    shipments          States
           Firm            (units)       (percent)    (units)  (percent)     (units)         (percent)
 Bedco                            ***           ***        ***        ***            ***              ***
 FEFI                             ***           ***        ***        ***            ***              ***
 Mattressworld                    ***           ***        ***        ***            ***              ***
 Masterfoam                       ***           ***        ***        ***            ***              ***
 Wansern                          ***           ***        ***        ***            ***              ***
   All firms                      ***           ***        ***        ***            ***              ***
Source: Compiled from data submitted in response to Commission questionnaires.




                                
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     15
      Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    16
      ThefollowingfourfirmsinMalaysiaprovidedusableinformationinthepreliminaryphaseofthese
investigations:Bedco;DiglantMalaysiaSdnBhd(“Diglant”);Masterfoam;andWansern.Diglant,theonly
firmthatrespondedinthepreliminaryphasebutdidnotrespondinthefinalphaseofthese
investigationsreportedproductionof***mattressesin2019,***percentofwhichwereexportedto
theUnitedStatesinthesameyear.
    17
      ThecoveragenumberpresentedwascalculatedusingofficialimportstatisticsunderprimaryHTS
statisticalreportingnumbers9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,
and9404.29.9087.


                                               VIIͲ21
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Changes in operations
        AspresentedintableVIIͲ16,***respondingproducersinMalaysiareportedcertain
changesinoperationssinceJanuary1,2017,includingplantopenings,expansions,and
equipmentacquisitions.
        
Table VII-16
Mattresses: Reported changes in operations by producers in Malaysia, since January 1, 2017
          Item / Firm                            Reported changed in operations
 Plant openings:
 ***                           ***
 Expansions:
 ***                           ***
 ***                           ***
 Revised labor agreements:
 ***                           ***
 Other:
 ***                           ***
 ***                           ***
 ***                           ***
Source: Compiled from data submitted in response to Commission questionnaires.



        ProducersinthesubjectcountrieswereaskedtoindicatewhetherornottheCOVIDͲ19
pandemicoranygovernmentactionstakentocontainthespreadoftheCOVIDͲ19virus
resultedinchangesinrelationtotheirsupplychainarrangements,production,andsales
(includingexportstotheUnitedStates)relatingtomattresses.MasterfoamandWansern
reported***;Bedco,FEFI,andMattressworldreported***.Foreignproducers’narrative
responsestothisquestionarepresentedinappendixE(tableEͲ4).





                                           VIIͲ22
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Operations on mattresses
        TableVIIͲ17presentsinformationonthemattressoperationsoftheresponding
producersandexportersinMalaysia.Respondingproducers’capacityinMalaysiaincreasedby
***percentduring2017Ͳ19,whileproductionincreasedby***percentduringthesame
period.Capacityandproductionwere***percentand***percenthigher,respectively,during
interim2020comparedwithinterim2019.***firmsinMalaysiareportedhighercapacityand
productionofmattressesin2019thanin2017,whereas***reportedloweramounts.
AggregatereportedcapacityandproductioninMalaysiaisprojectedtobe***percentand***
percenthigher,respectively,in2021thanin2019.CapacityutilizationinMalaysiaincreased
from***percentin2017to***percentin2019butwaslowerat***percentininterim2020.
Capacityutilizationisprojectedtobe***percentduring2021.
        TheoverallupwardtrendintheMalaysianproducers’totalshipmentsissimilartothat
ofreportedproduction,increasingby***percentfrom2017to2019.Totalshipmentswere
***percenthigherininterim2020comparedwithinterim2019.Homemarketshipments
accountedfor***oftotalshipmentsbyMalaysianproducersduring2017(***percent)and
2018(***percent).However,by2019,exportstotheUnitedStatesledtoadeclineintheshare
heldbyhomemarketshipments,whichaccountedfor***percentoftotalshipmentsin2019
and***percentininterim2020,whiletheshareofexportstotheUnitedStatesincreasedfrom
***percentin2018to***percent,andwere***percentininterim2020.Exportstocountries
otherthantheUnitedStates,whichdeclinedonanabsoluteandrelativebasisfrom2017to
2019,accountedfor***percentoftotalshipmentsin2019.Exportstoothercountries,
however,areexpectedtoincreaseslightlyinto2020and2021.Principalotherexportmarkets
reportedbythe***mattressproducersinMalaysiainclude***.
        EndͲofͲperiodinventories,whichfluctuatedwithinarelativelynarrowrange,
representedarelativelyminor(i.e.,***)anddecliningshareofMalaysianproductionand
shipments.Projectionsindicatethatinventorieswilldeclinein2021from2019and2020levels.
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Table VII-17
Mattresses: Data on industry in Malaysia, 2017-19, January to September 2019, and January to
September 2020 and projection calendar years 2020 and 2021
                                          Actual experience                      Projections
                               Calendar year           January to September     Calendar year
           Item           2017      2018      2019       2019         2020     2020       2021
                                                       Quantity (units)
Capacity                      ***        ***       ***         ***         ***      ***        ***
Production                    ***        ***       ***        ***          ***      ***        ***
End-of-period
inventories                   ***        ***       ***        ***          ***      ***        ***
Shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                 ***        ***       ***        ***          ***      ***        ***
     Commercial home
     market shipments         ***        ***       ***        ***          ***      ***        ***
        Total home
        market
        shipments             ***        ***       ***        ***          ***      ***        ***
  Export shipments to:
    United States             ***        ***       ***        ***          ***      ***        ***
     All other markets        ***        ***       ***        ***          ***      ***        ***
        Total exports         ***        ***       ***        ***          ***      ***        ***
          Total
          shipments           ***        ***       ***        ***          ***      ***        ***
                                                Ratios and shares (percent)
Capacity utilization          ***        ***       ***        ***          ***      ***        ***
Inventories/production        ***        ***       ***        ***          ***      ***        ***
Inventories/total
shipments                     ***        ***       ***        ***          ***      ***        ***
Share of shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                 ***        ***       ***        ***          ***      ***        ***
     Commercial home
     market shipments         ***        ***       ***        ***          ***      ***        ***
        Total home
        market
        shipments             ***        ***       ***        ***          ***      ***        ***
  Export shipments to:
    United States             ***        ***       ***        ***          ***      ***        ***
     All other markets        ***        ***       ***        ***          ***      ***        ***
        Total exports         ***        ***       ***        ***          ***      ***        ***
          Total
          shipments           ***        ***       ***        ***          ***      ***        ***
Source: Compiled from data submitted in response to Commission questionnaires.

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Production and capacity by packaging type
        TableVIIͲ18presentsproduction,capacity,andcapacityutilizationinMalaysiaby
packagingtype(i.e.,MiBversusFPM).OfthefivemattressproducersinMalaysiathatprovided
usableresponsestotheCommission’squestionnaire,allreportedproductionofFPMssince
January1,2017andfourbeganproductionofMiBsin2019.ProductionofMiBsincreasedfrom
***mattressesin2017and2018to***mattressesin2019,whileproductionofFPMs
decreasedoverallduring2017Ͳ19by***percent.ProductionofMiBswerehigherininterim
2020comparedwithinterim2019,whereasproductionofFPMswerelower.Thecapacityto
produceMiBsandFPMsshowedsimilartrendsasreportedproduction.AlthoughMiBsheld***
percentoftotalproductionofmattressesinMalaysiaduring2017Ͳ18,theshareoftotal
mattressproductionheldbyMiBsincreasedto***percentin2019andwashigherat***
percentininterim2020comparedwith***percentininterim2019.

Table VII-18
Mattresses: Capacity and production by packaging type in Malaysia, 2017-19, January to
September 2019, and January to September 2020
                                                     Calendar year               January to September
                    Item                     2017        2018         2019         2019          2020
                                                                 Quantity (units)
 MiB capacity                                     ***         ***          ***           ***          ***
 MiB production                                   ***         ***          ***           ***          ***
                                                          Ratios and shares (percent)
 MiB capacity utilization                         ***         ***          ***           ***          ***
                                                                 Quantity (units)
 FPM capacity                                     ***         ***          ***           ***          ***
 FPM production                                   ***         ***          ***           ***          ***
                                                          Ratios and shares (percent)
 FPM capacity utilization                         ***         ***          ***           ***          ***
                                                   Share of all mattress production (percent)
 MiB production                                   ***         ***          ***           ***          ***
 FPM production                                   ***         ***          ***           ***          ***
 All mattress production                          ***         ***          ***           ***          ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.


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Alternative products
        DataonoverallplantcapacityforthefiverespondingmattressproducersinMalaysia
arepresentedintableVIIͲ19.Mattressesaccountedformorethan***oftheaggregatefirms’
overallplantproductionusingsharedequipmentduring2017Ͳ19andalmost***duringinterim
2020.Otheritems,whichwerereportedby***respondingmattressproducersinMalaysia,
accountedforthemajorityofaggregateoverallplantproduction.Inadditiontomattresses,
otheritemsproducedonthesameequipmentandmachineryusedtoproducemattressesby
these***firmsinMalaysiaincludepillows,polyurethaneandpolyesterfoam,foundations,
bedding,mattressprotectors,mattresstoppers,bolsters,andcushions.Allbutoneresponding
producerinMalaysia(***)reportedthatthey***.
        
Table VII-19
Mattresses: Overall capacity and production on the same equipment as in-scope production by
producers in Malaysia, 2017-19, January to September 2019, and January to September 2020
                                                    Calendar year            January to September
                   Item                      2017       2018       2019        2019        2020
                                                              Quantity (units)
Overall capacity                                  ***        ***         ***        ***         ***
Production:
  Mattresses                                      ***        ***         ***        ***         ***
  Out-of-scope production                         ***        ***         ***        ***         ***
    Total production on same machinery            ***        ***         ***        ***         ***
                                                        Ratios and shares (percent)
Overall capacity utilization                      ***        ***         ***        ***         ***
Share of production:
  Mattresses                                      ***        ***         ***        ***         ***
  Out-of-scope production                         ***        ***         ***        ***         ***
    Total production on same machinery            ***        ***         ***        ***         ***
Source: Compiled from data submitted in response to Commission questionnaires.
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Exports
        AccordingtoGTA,theleadingexportmarketfor“articlesofbedding”fromMalaysia,by
quantity,iscurrentlytheUnitedStates(tableVIIͲ20).During2019,theUnitedStateswasthe
largestexportmarketforarticlesofbeddingfromMalaysia,accountingfor75.9percentoftotal
exports,followedbySingaporeandIndonesia,accountingfor11.4percentand4.3percent,
respectively.

Table VII-20
Articles of bedding: Malaysia exports by destination market, 2017-19
                                                                    Calendar year
                   Destination market                    2017            2018            2019
                                                                   Quantity (units)
 United States                                            160,495         589,549        5,288,033
 Singapore                                              1,095,679         936,031          792,198
 Indonesia                                                339,760         414,496          300,823
 Japan                                                    198,032         174,548          195,917
 Hong Kong                                                 74,727          25,126          110,191
 Korea                                                     77,876         163,093           62,256
 Taiwan                                                    70,283          85,351           42,256
 Brunei Darussalam                                         29,141          26,111           33,204
 Germany                                                   25,582          25,727           18,149
 All other destination markets                            299,011         212,588          120,347
    Total exports                                       2,370,586       2,652,620        6,963,374
                                                                 Value (1,000 dollars)
 United States                                               2,481          5,121         125,475
 Singapore                                                 17,013          17,340          14,626
 Indonesia                                                   2,637          2,815           1,350
 Japan                                                     12,561          15,579          18,102
 Hong Kong                                                   4,657          4,869           3,410
 Korea                                                       7,353          7,766           6,269
 Taiwan                                                      3,395          3,555           2,878
 Brunei Darussalam                                           1,630          1,658           1,336
 Germany                                                       458            427             328
 All other destination markets                               9,516          7,392           8,031
    Total exports                                          61,703          66,522         181,805
Table continued on next page.
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Table VII-20—Continued
Articles of bedding: Malaysia exports by destination market, 2017-19
                                                                           Calendar year
                   Destination market                         2017             2018             2019
                                                                     Unit value (dollars per unit)
 United States                                                    15.46             8.69            23.73
 Singapore                                                        15.53            18.53            18.46
 Indonesia                                                         7.76             6.79             4.49
 Japan                                                            63.43            89.25            92.39
 Hong Kong                                                        62.32           193.77            30.95
 Korea                                                            94.42            47.61           100.69
 Taiwan                                                           48.31            41.65            68.11
 Brunei Darussalam                                                55.94            63.51            40.23
 Germany                                                          17.91            16.60            18.09
 All other destination markets                                    31.83            34.77            66.73
    Total exports                                                 26.03            25.08            26.11
                                                                     Share of quantity (percent)
 United States                                                      6.8             22.2             75.9
 Singapore                                                         46.2             35.3             11.4
 Indonesia                                                         14.3             15.6              4.3
 Japan                                                              8.4               6.6             2.8
 Hong Kong                                                          3.2               0.9             1.6
 Korea                                                              3.3               6.1             0.9
 Taiwan                                                             3.0               3.2             0.6
 Brunei Darussalam                                                  1.2               1.0             0.5
 Germany                                                            1.1               1.0             0.3
 All other destination markets                                     12.6               8.0             1.7
    Total exports                                                 100.0            100.0            100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data.

Source: Official export statistics under HS subheadings 9404.21 and 9404.29 as reported by Department
of Statistics Malaysia in the Global Trade Atlas database, accessed February 18, 2021.
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The industry in Serbia
          TheCommissionissuedforeignproducers’/exporters’questionnairesto11firmsfor
whichvalidcontactinformationwasobtainedthatarebelievedtoproduceand/orexport
mattressesfromSerbia.18NoresponsetotheCommission’squestionnaireinthefinalphaseof
theseinvestigationswassubmittedbyanyforeignproducerorexporterinSerbia.However,
oneusableresponsetotheCommission’squestionnairewasreceivedduringthepreliminary
phaseoftheseinvestigationsfromHealthcareEuropeDOORuma(“HealthcareEurope”).19
Unlessotherwisenoted,theinformationinthissectionofthereportconcerningSerbiaisbased
onthepreliminaryphasequestionnaireresponseofHealthcareEurope.Thisfirm’sexportsto
theUnitedStatesaccountedfor***percentofreportedU.S.importsofmattressesfromSerbia
in2019.20TableVIIͲ21presentsinformationonthemattressoperationssubmittedby
HealthcareEuropeinSerbia.
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                                
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     18
      Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    19
      HealthcareEuropereportedinthepreliminaryphaseoftheseinvestigationsthatitisrelatedto
producersofmattressesin***.***.
    20
      Thecoveragenumberpresentedwascalculatedusingimporterdatasubmittedinresponseto
Commissionquestionnairesinthefinalphaseoftheseinvestigations.HealthcareEuropereportedinits
questionnaireresponseinthepreliminaryphaseoftheseinvestigationsthatitaccountedfor***
percentofmattressproductioninSerbiaand***percentofexportsofmattressfromSerbiatothe
UnitedStates.HealthcareEuropeindicatedthat***arerelatedU.S.importersandlisted***asitstop
U.S.importersduring2019.Importers***submittedresponsestotheCommission’squestionnairein
thefinalphaseoftheseinvestigations,butrelatedimporters***didnot.Twoofthethreeresponding
U.S.importersofmattressesfromSerbiaidentifiedHealthcareEuropeastheproducerofthemattresses
theyimport,whereasoneU.S.importer(***)reportedthatthemattressbranditimportsfromSerbiais
***.


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Table VII-21
Mattresses: Summary data on firms in Serbia, 2019
                                                                                            Share of
                                                                 Share of                 firm's total
                                                     Exports reported                     shipments
                                         Share of     to the    exports to                exported to
                                         reported     United the United        Total      the United
                           Production production      States      States    shipments        States
          Firm               (units)     (percent)    (units)    (percent)    (units)      (percent)
Healthcare Europe                    ***         ***        ***         ***           ***           ***
Source: Compiled from data submitted in response to Commission questionnaires in the preliminary
phase of these investigations.

Changes in operations
        AspresentedintableVIIͲ22,HealthcareEuropereported***.

Table VII-22
Mattresses: Reported changes in operations by producers in Serbia, since January 1, 2017
 Item / Firm                             Reported changed in operations
 Plant openings:
 ***          ***
Source: Compiled from data submitted in response to Commission questionnaires.


Operations on mattresses
        TableVIIͲ23presentsinformationonthemattressoperationsofSerbian
producer/exporterHealthcareEurope.Thefirm’scapacityinSerbiaincreasedby***percent
during2017Ͳ19,whileproductionincreasedby***percentduringthesameperiod.Projections
indicatedthatthefirmisexpectingitscapacitytobe***percenthigherin2021thanin2019
anditsproductiontobe***percenthigher,asitanticipatestheopeningofanadditionalplant
inSerbiaduring2020Ͳ21tosupplymattressestotheEuropeanUnion(“EU”)market.Healthcare
Europe’scapacityutilizationincreasedfrom***percentin2017to***percentin2019asit
***.Thefirmprojectsitscapacityutilizationtoincreaseto***by2021.HealthcareEuropewas
askedaboutshiftsincapacityandconstraintsonitsproductioncapacity.Itreportedthat
increasesinreportedcapacityweretheresultof***andthatitscapacityislimitedbyits“***.”
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Table VII-23
Mattresses: Data on Serbian producer Healthcare Europe, 2017-19 and projected calendar years
2020 and 2021
                                               Actual experience               Projections
                                                  Calendar year               Calendar year
                   Item                   2017        2018       2019        2020       2021
                                                            Quantity (units)
 Capacity                                     ***         ***         ***        ***        ***
 Production                                   ***         ***         ***        ***        ***
 End-of-period inventories                    ***         ***         ***        ***        ***
    Shipments:
     Home market shipments:
        Internal consumption/ transfers            ***          ***         ***         ***          ***
        Commercial home market
        shipments                                  ***          ***         ***         ***          ***
           Total home market shipments             ***          ***         ***         ***          ***
      Export shipments to:
        United States                              ***         ***        ***         ***            ***
        All other markets                          ***         ***        ***         ***            ***
           Total exports                           ***         ***        ***         ***            ***
             Total shipments                       ***         ***        ***         ***            ***
                                                           Ratios and shares (percent)
    Capacity utilization                           ***         ***        ***         ***            ***
    Inventories/production                         ***         ***        ***         ***            ***
    Inventories/total shipments                    ***         ***        ***         ***            ***
 Share of shipments:
  Home market shipments:
     Internal consumption/ transfers               ***         ***          ***          ***         ***
      Commercial home market
      Shipments                                    ***         ***          ***          ***         ***
         Total home market shipments               ***         ***          ***          ***         ***
   Export shipments to:
     United States                                 ***         ***          ***          ***         ***
      All other markets                            ***         ***          ***          ***         ***
         Total exports                             ***         ***          ***          ***         ***
           Total shipments                         ***         ***          ***          ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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        TheupwardtrendinHealthcareEurope’stotalshipments,whichmirroredthatof
reportedproduction,increasedby***percentfrom2017to2019,andareprojectedto
increasefurtherby***percentfrom2019to2021.ExportstomarketsotherthantheUnited
Statesaccountedfor***oftotalshipmentsbytheSerbianproducerduring2017(***percent)
and2018(***percent).However,by2019,exportstotheUnitedStatesaccountedfor***of
totalshipments(***percent).ExportstotheUnitedStates,increasedfrom***mattressesin
2017to***mattressesin2019andareprojectedtoincreaseto***mattressesby2021.
HealthcareEurope’shomemarketshipments,whichdeclinedasashareoftotalshipments
from***percentin2017to***percentin2019,alsodeclinedinabsolutetermsfrom***
mattressesin2017to***mattressesin2019.Exportshipmentstoothercountries,which
accountedfor***percentoftotalshipmentsin2019,increasedfrom***mattressesin2017to
***mattressesin2019andareprojectedtoincreaseto***mattressesby2021.These
mattressexportstocountriesotherthantheUnitedStatesweredestinedfor***.
        EndͲofͲperiodinventories,whichincreasedintermsofquantityfrom2017to2019,
representedarelativelyminor(i.e.,***)andfluctuatingshareofSerbiaproduction.
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Alternative products
        DataonoverallplantcapacityfortherespondingmattressproducerinSerbiaare
presentedintableVIIͲ24.Mattressesaccountedfor***percent,***percent,and***percent
ofthefirm’soverallplantproductionusingsharedequipmentduring2017Ͳ19.Inadditionto
mattresses,HealthcareEuropeinSerbiareportedtheproductionof***andindicatedthat***.
Itexplainedthat“***.”
        
Table VII-24
Mattresses: Overall capacity and production on the same equipment as in-scope production by
the producer in Serbia, 2017-19
                                                                     Calendar year
                            Item                         2017           2018           2019
                                                                    Quantity (units)
 Overall capacity                                              ***             ***          ***
 Production:
   Mattresses                                                  ***             ***          ***
   Out-of-scope production                                     ***             ***          ***
     Total production on same machinery                        ***             ***          ***
                                                              Ratios and shares (percent)
 Overall capacity utilization                                  ***             ***          ***
 Share of production:
   Mattresses                                                  ***             ***          ***
   Out-of-scope production                                     ***             ***          ***
     Total production on same machinery                        ***             ***          ***
Source: Compiled from data submitted in response to Commission questionnaires.


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Exports
        AccordingtoGTA,theleadingexportmarketfor“articlesofbedding”fromSerbia,based
onvalue,iscurrentlytheUnitedStates(tableVIIͲ25).During2017,however,therewereno
exportsfromSerbiatotheUnitedStates.GermanyandFrancewerethelargestexportmarkets
forarticlesofbeddingfromSerbiain2017,togetheraccountingfor30.5percentoftotal
exports.By2019,theUnitedStatesbecamethelargestexportmarketforarticlesofbedding
producedinSerbia,accountingfor67.5percentoftotalexports,followedbyPolandasthe
secondlargestexportmarket,accountingfor13.8percent.

Table VII-25
Articles of bedding: Serbia exports by destination market, 2017-19
                                                                             Calendar year
                   Destination market                         2017              2018            2019
                                                                          Value (1,000 dollars)
 United States                                                        ---           2,560         53,802
 Poland                                                             884             7,156         11,039
 Germany                                                          1,859             4,666          2,420
 France                                                           1,555             4,762          1,959
 Croatia                                                          1,155             1,507          1,450
 Montenegro                                                       1,349             1,444          1,310
 Bosnia & Herzegovina                                             1,340             1,496          1,303
 Hungary                                                              42            1,826          1,297
 Bulgaria                                                           325               905          1,284
 All other destination markets                                    2,688             3,499          3,885
    Total exports                                               11,196             29,822         79,750
                                                                       Share of value (percent)
 United States                                                        ---              8.6           67.5
 Poland                                                              7.9             24.0            13.8
 Germany                                                           16.6              15.6             3.0
 France                                                            13.9              16.0             2.5
 Croatia                                                           10.3                5.1            1.8
 Montenegro                                                        12.1                4.8            1.6
 Bosnia & Herzegovina                                              12.0                5.0            1.6
 Hungary                                                             0.4               6.1            1.6
 Bulgaria                                                            2.9               3.0            1.6
 All other destination markets                                     24.0              11.7             4.9
    Total exports                                                 100.0             100.0          100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data. Quantity data are not available.

Source: Official exports statistics under HS subheading 9404.21 and 9404.29 as reported by Statistics
Serbia and Montenegro in the Global Trade Atlas database, accessed January 14, 2021.
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The industry in Thailand
          TheCommissionissuedforeignproducers’/exporters’questionnairesto15firmsfor
whichvalidcontactinformationwasobtainedthatarebelievedtoproduceand/orexport
mattressesfromThailand.21NoresponsetotheCommission’squestionnaireinthefinalphase
oftheseinvestigationswassubmittedbyanyforeignproducerorexporterinThailand.
However,oneusableresponsetotheCommission’squestionnairewasreceivedduringthe
preliminaryphaseoftheseinvestigationsfromSaffronLivingCo.,Ltd.(“Saffron”).22Unless
otherwisenoted,theinformationinthissectionofthereportconcerningThailandisbasedon
thepreliminaryphasequestionnaireresponseofSaffron.Thisfirm’sexportstotheUnited
Statesaccountedfor***percentofreportedU.S.importsofmattressesfromThailandin
2019.23TableVIIͲ26presentsinformationonthemattressoperationssubmittedbySaffronin
Thailand.
          





                                 
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     21
      Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    22
      AlthoughSaffronreportedinitsresponsetotheCommission’squestionnaireinthepreliminary
phaseoftheseinvestigationsthatitisnotrelatedtoanyproducersofmattressesinanyothercountry,it
appearstoberelatedtoSaffronLiving,aproducerofmattressesinChina.“SaffronLivingInksLandand
BuildingLeaseDealatWHAEasternSeaboardIndustrialEstate1,”https://www.whaͲ
industrialestate.com/en/mediaactivities/news/customerͲnews/3001/saffronͲlivingͲinksͲlandͲandͲ
buildingͲleaseͲdealͲatͲwhaͲeasternseaboardͲindustrialͲestateͲ1,retrievedFebruary24,2021;“Saffron
LivingInauguratesNewManufacturingFacilityatEEC,”https://www.whaͲ
industrialestate.com/en/mediaͲactivities/news/customernews/3091/saffronͲlivingͲinauguratesͲnewͲ
manufacturingͲfacilityͲatͲeec,retrievedFebruary24,2021.
    23
      Thecoveragenumberpresentedwascalculatedusingimporterdatasubmittedinresponseto
Commissionquestionnairesinthefinalphaseoftheseinvestigations.Saffronreportedinits
questionnaireresponseinthepreliminaryphaseoftheseinvestigationsthatitaccountedfor***
percentofmattressproductioninThailandand***percentofexportsofmattressfromThailandtothe
UnitedStates.SaffronlistedinitspreliminaryphasequestionnaireresponsefivetopU.S.importersofits
mattressesin2019(***),threeofwhich(***)respondedtotheCommission’simporterquestionnairein
thefinalphaseoftheseinvestigations.RespondingU.S.importersinthefinalphaseofthese
investigationsreportedthatproducersoftheirmattressimportsfromThailandinclude***.


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Table VII-26
Mattresses: Summary data on firms in Thailand, 2019
                                                                                           Share of
                                                                                             firm's
                                                               Share of                       total
                                                               reported                   shipments
                                                     Exports    exports                    exported
                                         Share of     to the     to the                      to the
                                         reported     United    United        Total         United
                           Production production      States     States    shipments        States
          Firm               (units)     (percent)    (units)  (percent)     (units)       (percent)
 Saffron                            ***         ***        ***        ***           ***             ***
Source: Compiled from data submitted in response to Commission questionnaires in the preliminary
phase of these investigations.


Changes in operations
        AspresentedintableVIIͲ27,Saffronreported***.
        
Table VII-27
Mattresses: Reported changes in operations by producers in Thailand, since January 1, 2017
              Item / Firm                             Reported changed in operations
 Plant openings:
 ***                                       ***
Source: Compiled from data submitted in response to Commission questionnaires.

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Operations on mattresses
        TableVIIͲ28presentsinformationonthemattressoperationsofThaiproducer/exporter
Saffron.Thefirmopeneditsoperationon***.Thefirm’sreportedcapacityinThailandwas***
mattressesin2019,whichisexpectedto***by2020Ͳ21.Itsproductionof***mattressesin
2019isexpectedtoincreaseby***percentto***mattressesin2020Ͳ21.Saffronprojectsthat
itscapacityutilizationwillincreasefrom***percentin2019to***percentin2020Ͳ21asit
***.Thefirmreportedthat***constraintoncapacity.
        Saffron’stotalshipmentsmirroredthatofreportedproduction.Thefirm’sreported
totalshipmentsof***mattressesin2019isexpectedtoincreaseby***percentto***
mattressesin2020Ͳ21.ExportstotheUnitedStates,whichaccountedfor***ofSaffron’s
mattressshipmentsduring2019,areexpectedtodeclineto***percentoftotalshipmentsin
2020Ͳ21asthecompanyexpectstoshiftsomesalestothecommercialhomemarketandother
exportmarkets.ExportstotheUnitedStatesareexpectedtoamountto***mattresses
annuallyduring2020Ͳ21,whereasSaffron’sannualcommercialhomemarketshipmentsand
otherexportmarketsareexpectedtobe***mattresseseachduringthattime.Saffronexpects
todevelopexportmarketsforitsmattressesin***during2020Ͳ21.
        EndͲofͲperiodinventoriesrepresentedarelativelyminorshare(i.e.,***)ofSaffron’s
productionandshipmentsduring2019andare***during2020Ͳ21.
        
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Table VII-28
Mattresses: Data on industry in Thailand, 2017-19 and projected calendar years 2020 and 2021
                                                Actual experience                Projections
                                                   Calendar year                Calendar year
                   Item                    2017        2018       2019         2020       2021
                                                              Quantity (units)
 Capacity                                      ***          ***         ***        ***        ***
 Production                                    ***          ***         ***        ***        ***
 End-of-period inventories                     ***          ***         ***        ***        ***
    Shipments:
     Home market shipments:
        Internal consumption/ transfers           ***          ***          ***         ***          ***
        Commercial home market
        shipments                                 ***          ***          ***         ***          ***
           Total home market shipments            ***          ***          ***         ***          ***
      Export shipments to:
        United States                             ***          ***        ***         ***            ***
        All other markets                         ***          ***        ***         ***            ***
           Total exports                          ***          ***        ***         ***            ***
             Total shipments                      ***          ***        ***         ***            ***
                                                           Ratios and shares (percent)
    Capacity utilization                          ***          ***        ***         ***            ***
    Inventories/production                        ***          ***        ***         ***            ***
    Inventories/total shipments                   ***          ***        ***         ***            ***
 Share of shipments:
  Home market shipments:
     Internal consumption/ transfers              ***          ***          ***          ***         ***
      Commercial home market
      Shipments                                   ***          ***          ***          ***         ***
         Total home market shipments              ***          ***          ***          ***         ***
   Export shipments to:
     United States                                ***          ***          ***          ***         ***
      All other markets                           ***          ***          ***          ***         ***
         Total exports                            ***          ***          ***          ***         ***
           Total shipments                        ***          ***          ***          ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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Alternative products
        ***.

Exports
        AccordingtoGTA,theleadingexportmarketfor“articlesofbedding”fromThailand,by
quantity,istheUnitedStates(tableVIIͲ29).During2019,theUnitedStateswasthelargest
exportmarketforarticlesofbeddingfromThailand,accountingfor32.4percent,followedby
China(27.1percent)andSouthAfrica(21.0percent).
        
Table VII-29
Articles of bedding: Thailand exports by destination market, 2017-19
                                                                    Calendar year
                  Destination market                      2017           2018            2019
                                                                   Quantity (units)
 United States                                              83,564         74,797          830,158
 China                                                     233,429        494,549          696,090
 South Africa                                              324,660        205,025          538,087
 Cambodia                                                   19,553         22,158          149,531
 Laos                                                       97,739         98,056          133,130
 Korea                                                      69,022         56,347           45,780
 Singapore                                                  38,567         19,566           20,210
 Myanmar                                                    14,978        341,313           20,118
 United Arab Emirates                                       19,817         20,265           18,492
 All other destination markets                             136,772        359,382          112,858
    Total exports                                        1,038,101      1,691,458        2,564,454
                                                                 Value (1,000 dollars)
 United States                                               1,109          1,243          62,942
 China                                                      22,028         32,901          39,950
 South Africa                                                  812            513             556
 Cambodia                                                      797          1,212           1,381
 Laos                                                        2,754          2,646           3,385
 Korea                                                       5,791          4,737           3,512
 Singapore                                                   3,663          4,148           3,515
 Myanmar                                                       693            927             569
 United Arab Emirates                                           50             90              55
 All other destination markets                              10,065         10,713           8,689
    Total exports                                           47,762         59,130         124,554
Table continued on next page.




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Table VII-29—Continued
Articles of bedding: Thailand exports by destination market, 2017-19
                                                                                Calendar year
                   Destination market                            2017              2018               2019
                                                                          Unit value (dollars per unit)
 United States                                                        13.27             16.62             75.82
 China                                                                94.37             66.53             57.39
 South Africa                                                          2.50               2.50             1.03
 Cambodia                                                             40.75             54.70              9.24
 Laos                                                                 28.18             26.99             25.43
 Korea                                                                83.90             84.06             76.71
 Singapore                                                            94.98            212.02            173.91
 Myanmar                                                              46.30               2.72            28.27
 United Arab Emirates                                                  2.51               4.43             2.99
 All other destination markets                                        73.59             29.81             76.99
    Total exports                                                     46.01             34.96             48.57
                                                                          Share of quantity (percent)
 United States                                                           8.0               4.4             32.4
 China                                                                 22.5               29.2             27.1
 South Africa                                                          31.3               12.1             21.0
 Cambodia                                                                1.9               1.3              5.8
 Laos                                                                    9.4               5.8              5.2
 Korea                                                                   6.6               3.3              1.8
 Singapore                                                               3.7               1.2              0.8
 Myanmar                                                                 1.4              20.2              0.8
 United Arab Emirates                                                    1.9               1.2              0.7
 All other destination markets                                         13.2               21.2              4.4
    Total exports                                                     100.0             100.0             100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data.

Source: Official export statistics under HS subheadings 9404.21 and 9404.29 as reported by Thai
Customs Department in the Global Trade Atlas database, accessed February 18, 2021.

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The industry in Turkey
          TheCommissionissuedforeignproducers’/exporters’questionnairesto18firmsor
whichvalidcontactinformationwasobtainedthatarebelievedtoproduceand/orexport
mattressesfromTurkey.24UsableresponsestotheCommission’squestionnairewerereceived
fromtwofirms:BRNYatakBazaEvTekstiliInsaatSanayiTicaretA.S.(“BRN”)andYatsanYatak
SungerA.S.(“Yatsan”).***.***exportstotheUnitedStatesaccountedfor***percentofU.S.
importsofmattressesfromTurkeyin2019.25TableVIIͲ30presentsinformationonthemattress
operationssubmittedbyBRNandYatsaninTurkey.

Table VII-30
Mattresses: Summary data on firms in Turkey, 2019
                                                                                               Share of
                                                                                                 firm's
                                                               Share of                           total
                                                               reported                       shipments
                                                     Exports    exports                        exported
                                         Share of     to the     to the                          to the
                                         reported     United    United         Total            United
                         Production production        States     States    shipments            States
           Firm            (units)       (percent)    (units)  (percent)     (units)           (percent)
 BRN                              ***           ***        ***        ***            ***                ***
 Yatsan                           ***           ***        ***        ***            ***                ***
   All firms                      ***           ***        ***        ***            ***                ***
Source: Compiled from data submitted in response to Commission questionnaires.


Changes in operations
          AspresentedintableVIIͲ31,bothrespondingproducersinTurkeyreportedcertain
changesinoperationssinceJanuary1,2017,includingaplantopening,additionalequipment
installments,andarevisedlaboragreement.
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     24
      Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    25
      ThecoveragenumberpresentedwascalculatedusingofficialimportstatisticsunderprimaryHTS
statisticalreportingnumbers9404.21.0010,9404.21.0013,9404.29.1005,9404.29.1013,9404.29.9085,
and9404.29.9087.


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Table VII-31
Mattresses: Reported changes in operations by producers in Turkey, since January 1, 2017
     Item / Firm                            Reported changed in operations
 Plant openings:
 ***                ***
 Revised labor agreements:
 ***                ***
 Other:
 ***                ***
Source: Compiled from data submitted in response to Commission questionnaires.


        ProducersinthesubjectcountrieswereaskedtoindicatewhetherornottheCOVIDͲ19
pandemicoranygovernmentactionstakentocontainthespreadoftheCOVIDͲ19virus
resultedinchangesinrelationtotheirsupplychainarrangements,production,andsales
(includingexportstotheUnitedStates)relatingtomattresses.BRNandYatsanreported***.
Foreignproducers’narrativeresponsestothisquestionarepresentedinappendixE(tableEͲ4).

Operations on mattresses
        TableVIIͲ32presentsinformationonthemattressoperationsofresponding
producers/exportersinTurkey.During2017Ͳ19,aggregatecapacitytoproducemattresses
remainedunchangedfrom2017to2018,butincreasedby***percentin2019as***.
AggregateproductionofmattressesinTurkeydeclinedby***percentfrom***mattressesin
2017to***mattressesin2018,butincreasedby***percentfrom2018to***mattressesin
2019,alevelthatwas***percenthigherthanreportedin2017.Aggregatedcapacityand
productionwere***percentand***percenthigher,respectively,ininterim2020compared
withinterim2019.CapacityutilizationofrespondingfirmsinTurkeydeclinedfrom***percent
in2017to***percentin2019,andwashigherat***percentininterim2020thanat***
percentreportedininterim2019.Capacityandproductionareprojectedtoincrease***,
respectively,from2019to2021andcapacityutilizationisprojectedtoincreaseto***percent
in2020butdeclineto***percentin2021.
        
        
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Table VII-32
Mattresses: Data on industry in Turkey, 2017-19, January to September 2019, and January to
September 2020 and projection calendar years 2020 and 2021
                                           Actual experience                           Projections
                                Calendar year           January to September          Calendar year
           Item            2017      2018      2019       2019         2020          2020        2021
                                                        Quantity (units)
Capacity                       ***        ***       ***        ***           ***          ***         ***
Production                     ***        ***       ***        ***           ***          ***         ***
End-of-period
inventories                    ***        ***       ***        ***           ***          ***         ***
Shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                  ***        ***       ***        ***           ***          ***         ***
     Commercial home
     market shipments          ***        ***       ***        ***           ***          ***         ***
        Total home
        market
        shipments              ***        ***       ***        ***           ***          ***         ***
  Export shipments to:
     United States             ***        ***       ***        ***           ***          ***         ***
     All other markets         ***        ***       ***        ***           ***          ***         ***
        Total exports          ***        ***       ***        ***           ***          ***         ***
          Total
          shipments            ***        ***       ***        ***           ***          ***         ***
                                                 Ratios and shares (percent)
Capacity utilization           ***        ***       ***        ***           ***          ***         ***
Inventories/production         ***        ***       ***        ***           ***          ***         ***
Inventories/total
shipments                      ***        ***       ***        ***           ***          ***         ***
Share of shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                  ***        ***       ***        ***           ***          ***         ***
     Commercial home
     market shipments          ***        ***       ***        ***           ***          ***         ***
        Total home
        market
        shipments              ***        ***       ***        ***           ***          ***         ***
  Export shipments to:
     United States             ***        ***       ***        ***           ***          ***         ***
     All other markets         ***        ***       ***        ***           ***          ***         ***
        Total exports          ***        ***       ***        ***           ***          ***         ***
          Total
          shipments            ***        ***       ***        ***           ***          ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.


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        TheoveralltrendintotalshipmentsofrespondingproducersinTurkeyissimilartothat
ofreportedproduction,decliningby***percentfrom2017to2018,butincreasingby***
percentfrom2018to2019,foranoverallincreaseof***percentfrom2017to2019.Total
shipmentswere***percenthigherininterim2020comparedwithinterim2019and
projectionsindicatethattotalshipmentsin2021areexpectedtobe***percenthigherthan
reportedduring2019.Exportsaccountedfor***oftotalshipmentsbyproducersinTurkey
during2017(***percent),2018(***percent),2019(***percent),JanuaryͲSeptember2019
(***percent),andJanuaryͲSeptember2020(***percent);andtheyareprojectedtoremainat
comparablelevelsasinterim2020duringcalendaryears2020(***percent)and2021(***
percent).ExportstotheUnitedStatesincreasedfrom***mattressesin2017and2018to***
mattressesin2019andwere***percenthigherininterim2020comparedwithinterim2019.
TheshareoftotalshipmentsheldbyexportstotheUnitedStateswas***percentin2019,***
percentininterim2019,and***percentininterim2020.Projectionsindicatethatexportsto
theUnitedStatesareexpectedtobe***percenthigherin2021thanreportedin2019andare
expectedtoaccountfor***percentoftotalshipmentsin2021.Exportstocountriesotherthan
theUnitedStates,whichdeclinedonanabsoluteandrelativebasisfrom2017to2019and
weresimilarlylowerininterim2020comparedwithinterim2019,accountedfor***percentof
totalshipmentsin2019.Exportstoothercountriesareexpectedtoaccountfor***percentof
totalshipmentsin2021.Principalotherexportmarketsreportedby***include***.***.
        EndͲofͲperiodinventories,whichfluctuatedwithinarelativelynarrowrangeonan
absolutebasis,representedadecliningshareofproductionandshipmentsofmattressesin
Turkey.During2017,endͲofͲperiodinventoriesaccountedfor***percentofproductionin
2017,***percentin2019,and***percentininterim2020.Projectionsindicatethatfurther
declinesonanabsoluteandrelativebasisareexpectedinto2021.

                             




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Production and capacity by packaging type
        TableVIIͲ33presentsproduction,capacity,andcapacityutilizationinTurkeyby
packagingtype(i.e.,MiBversusFPM).OfthetwomattressproducersinTurkeythatprovided
usableresponsestotheCommission’squestionnaire,bothreportedproductionofFPMssince
January1,2017andone(***)beganproductionofMiBsin2019.ProductionofMiBsincreased
from***mattressesin2017and2018to***mattressesin2019,whileproductionofFPMs
decreasedoverallduring2017Ͳ19by***percent.ProductionofMiBsandFPMswerehigherin
interim2020comparedwithinterim2019.ThecapacitytoproducebothMiBsandFPMs
increasedduring2017Ͳ19andwashigherininterim2020forMiBsbutlowerforFPMs.
AlthoughMiBsheld***percentoftotalproductionofmattressesinTurkeyduring2017Ͳ18,the
shareoftotalmattressproductionheldbyMiBsincreasedto***percentin2019andwas
higherat***percentininterim2020comparedwith***percentininterim2019.

Table VII-33
Mattresses: Capacity and production by packaging type in Turkey, 2017-19, January to
September 2019, and January to September 2020
                                                     Calendar year               January to September
                    Item                     2017        2018         2019         2019          2020
                                                                 Quantity (units)
 MiB capacity                                     ***         ***          ***           ***          ***
 MiB production                                   ***         ***          ***           ***          ***
                                                          Ratios and shares (percent)
 MiB capacity utilization                         ***         ***          ***           ***          ***
                                                                 Quantity (units)
 FPM capacity                                     ***         ***          ***           ***          ***
 FPM production                                   ***         ***          ***           ***          ***
                                                          Ratios and shares (percent)
 FPM capacity utilization                         ***         ***          ***           ***          ***
                                                   Share of all mattress production (percent)
 MiB production                                   ***         ***          ***           ***          ***
 FPM production                                   ***         ***          ***           ***          ***
 All mattress production                          ***         ***          ***           ***          ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                            Appx15095
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Alternative products
        DataonoverallplantcapacityfortherespondingmattressproducersinTurkeyare
presentedintableVIIͲ34.Since2017,mattressesaccountedfor***ofoverallplantproduction
usingsharedequipmentbyrespondingproducersinTurkey.Inadditiontomattresses,Yatsanin
Turkeyreported***andBRNreported***.Bothfirmsreported***.
        
Table VII-34
Mattresses: Overall capacity and production on the same equipment as in-scope production by
producers in Turkey, 2017-19, January to September 2019, and January to September 2020
                                                       Calendar year             January to September
                   Item                      2017         2018        2019          2019         2020
                                                                  Quantity (units)
Overall capacity                                   ***         ***           ***         ***          ***
Production:
  Mattresses                                       ***         ***           ***         ***          ***
  Out-of-scope production                         ***          ***           ***         ***          ***
    Total production on same machinery             ***         ***           ***         ***          ***
                                                           Ratios and shares (percent)
Overall capacity utilization                       ***         ***           ***         ***          ***
Share of production:
  Mattresses                                       ***         ***           ***         ***          ***
  Out-of-scope production                         ***          ***           ***         ***          ***
    Total production on same machinery             ***         ***           ***         ***          ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.


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Exports
        AccordingtoGTA,theleadingexportmarketfor“articlesofbedding”fromTurkey,by
value,iscurrentlytheUnitedStates(tableVIIͲ35).During2017,IraqandItalywerethelargest
exportmarketsforbeddingarticlesfromTurkey,accountingfor15.0percentand11.1percent
ofTurkey’stotalexports,respectively.TheUnitedStatesaccountedforonly1.2percentoftotal
exportsofbeddingarticlesfromTurkeyduring2017.However,by2019,theUnitedStatesgrew
tobeTurkey’slargestexportmarket,accountingfor26.3percentoftotalexports,followedby
theUnitedKingdomandItalyasthesecondandthirdlargestexportmarkets,accountingfor8.8
percentand8.6percentofthetotal.

Table VII-35
Articles of bedding: Turkey exports by destination market, 2017-19
                                                                            Calendar year
                  Destination market                         2017               2018           2019
                                                                         Value (1,000 dollars)
 United States                                                    1,173             4,917        46,299
 United Kingdom                                                   4,945            14,796        15,524
 Italy                                                           10,436            11,961        15,131
 Germany                                                          7,900             9,040        10,702
 Iraq                                                            14,126             8,934          9,948
 Netherlands                                                      5,092             8,275          9,631
 Ireland                                                          4,311             7,666          8,830
 Greece                                                           5,079             6,139          5,912
 France                                                           4,474             4,909          4,826
 All other destination markets                                   36,437            43,241        49,477
    All destination markets                                      93,971          119,878        176,280
                                                                      Share of value (percent)
 United States                                                       1.2               4.1          26.3
 United Kingdom                                                      5.3             12.3             8.8
 Italy                                                             11.1              10.0             8.6
 Germany                                                             8.4               7.5            6.1
 Iraq                                                              15.0                7.5            5.6
 Netherlands                                                         5.4               6.9            5.5
 Ireland                                                             4.6               6.4            5.0
 Greece                                                              5.4               5.1            3.4
 France                                                              4.8               4.1            2.7
 All other destination markets                                     38.8              36.1           28.1
    All destination markets                                       100.0             100.0          100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data. Quantity data are not available.

Source: Official exports statistics under HS subheading 9404.21 and 9404.29 as reported by State
Institute of Statistics in the Global Trade Atlas database, accessed January 14, 2021.




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The industry in Vietnam
          TheCommissionissuedforeignproducers’/exporters’questionnairesto12firmsfor
whichvalidcontactinformationwasobtainedthatwerebelievedtoproduceand/orexport
mattressesfromVietnam.26UsableresponsestotheCommission’squestionnairewerereceived
fromfivefirms:ComfortBeddingCo.,Ltd.(“Comfort”);Hava’sCo.,Ltd.(“Hava’s”);Millennium
FurnitureCo.Ltd.(“Millennium”);SuperFoamVietnamLtd.(“SuperFoam”);andWanek
FurnitureLLC(“Wanek”).27Thesefirms’exportstotheUnitedStatesaccountedfor***percent
ofU.S.importsofmattressesfromVietnamin2019.28TableVIIͲ36presentsinformationonthe
mattressoperationsoftherespondingproducersandexportersinVietnam.

Table VII-36
Mattresses: Summary data on firms in Vietnam, 2019
                                                           Share of                      Share of firm's
                              Share of     Exports to      reported                     total shipments
                             reported      the United exports to the         Total      exported to the
               Production production         States      United States shipments United States
     Firm        (units)     (percent)       (units)       (percent)        (units)         (percent)
Comfort                  ***           ***           ***              ***           ***               ***
Hava's                   ***           ***           ***              ***           ***               ***
Millennium               ***           ***           ***              ***           ***               ***
Super Foam               ***           ***           ***              ***           ***               ***
Wanek                    ***           ***           ***              ***           ***               ***
  All firms              ***           ***           ***              ***           ***               ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.




                                

     26
      Thesefirmswereidentifiedthroughareviewofinformationinthepetition,thepreliminaryphase
oftheseinvestigations,and***.
    27
      ThefollowingfourfirmsinVietnamprovidedusableinformationinresponsetotheCommission’s
foreignproducerquestionnaireinthepreliminaryphaseoftheseinvestigationsbutdidnotrespondin
thefinalphase:CongTyTnhhNemThienKimdbaBetterZsCo.,Ltd.;SaigonͲKymdanRubberStockCo.;
SinomaxMacaoCommercialOffshoreLtd.;andTongliVietnamIndustrialCo.,Ltd.Thesefourfirms
togetherreportedproductionof***mattressesin2019,***percentofwhichwereexportedtothe
UnitedStatesinthesameyear.Together,theyaccountedfor***percentoftotal2019productionin
Vietnamand***percentoftotal2019exportsfromVietnamtotheUnitedStatesasreportedin
questionnairesduringthepreliminaryphaseoftheinvestigations.Additionalmattress
producers/exportersinVietnamidentifiedbyU.S.importersrespondingtotheCommission’s
questionnaireinclude:***.
    28
      Thecoveragenumberpresentedwascalculatedusingimporterdatasubmittedinresponseto
Commissionquestionnaires.


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                                            Appx15098
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Changes in operations
        AspresentedintableVIIͲ37,allfiverespondingproducersinVietnamreportedcertain
changesinoperationssinceJanuary1,2017,includingplantopenings,expansions,
consolidations,closings,shutdowns,curtailments,andnewinvestments.Notably,***,which
***,wasthelargestproducerofmattressesinVietnamin2019,accountingfor***percentof
totalreportedproduction.

Table VII-37
Mattresses: Reported changes in operations by producers in Vietnam, since January 1, 2017
     Item / Firm                            Reported changed in operations
 Plant openings:
 ***                 ***
 ***                 ***
 ***                 ***
 Plant closings:
 ***                 ***
 Relocations:
 ***                 ***
 Expansions:
 ***                 ***
 Consolidations:
 ***                 ***
 Prolonged shutdowns or curtailments:
 ***                 ***
 ***                 ***
 ***                 ***
 Other:
 ***                 ***
Source: Compiled from data submitted in response to Commission questionnaires.

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                                            VIIͲ49
                                         Appx15099
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          ProducersinthesubjectcountrieswereaskedtoindicatewhetherornottheCOVIDͲ19
pandemicoranygovernmentactionstakentocontainthespreadoftheCOVIDͲ19virus
resultedinchangesinrelationtotheirsupplychainarrangements,production,andsales
(includingexportstotheUnitedStates)relatingtomattresses.Allfiverespondingproducersin
Vietnamreported***.Foreignproducers’narrativeresponsestothisquestionarepresentedin
appendixE(tableEͲ4).

Operations on mattresses
          TableVIIͲ38presentsinformationonthemattressoperationsoftheresponding
producersandexportersinVietnam.Respondingproducers’capacityinVietnamincreasedby
***percentduring2017Ͳ19,whileproductionincreasedby***percentduringthesame
period.Capacityandproductionwere***percentand***percenthigher,respectively,in
interim2020comparedwithinterim2019.Themajorityoftheincreaseincapacityand
productioninVietnamwasreportedfrom2018to2019andsuchincreaseswereindicatedby
allfivefirmsasnewplantsopenedandnewinvestmentsinmachineryandexistingfacilities
weremade.29Respondingproducers’capacityandproductioninVietnamisprojectedtobe***
percentand***percentlower,respectively,in2021thanin2019,asthelargestproducer,***,
***.CapacityutilizationforproducersinVietnamfluctuatedbetweenalowof***percentin
2018andahighof***percentduring2017andisprojectedtodeclineto***percentin2021.
                               




                                

     29
      OnerespondingproducerinVietnam(***)reportedinitsresponsetotheCommission’s
questionnairethatitiscurrentlynotrelatedtoanyproducersofmattressesinanyothercountry.The
followingfourrespondingproducersinVietnamindicatedthattheyarerelatedtoproducersof
mattressesinothercountries:***.
    
    


                                                VIIͲ50
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Table VII-38
Mattresses: Data on industry in Vietnam, 2017-19, January to September 2019, and January to
September 2020 and projection calendar years 2020 and 2021
                                            Actual experience                           Projections
                                 Calendar year            January to September         Calendar year
           Item            2017      2018       2019        2019         2020          2020       2021
                                                        Quantity (units)
Capacity                       ***        ***         ***          ***          ***         ***       ***
Production                     ***        ***         ***          ***          ***         ***       ***
End-of-period
inventories                    ***        ***         ***          ***          ***         ***       ***
Shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                  ***        ***         ***          ***          ***         ***       ***
     Commercial home
     market shipments          ***        ***         ***          ***          ***         ***       ***
        Total home
        market
        shipments              ***        ***         ***          ***          ***         ***       ***
  Export shipments to:
     United States             ***        ***         ***          ***          ***         ***       ***
     All other markets         ***        ***         ***         ***           ***         ***       ***
        Total exports          ***        ***         ***          ***          ***         ***       ***
          Total
          shipments            ***        ***         ***          ***          ***         ***       ***
                                                 Ratios and shares (percent)
Capacity utilization           ***        ***         ***          ***          ***         ***       ***
Inventories/production         ***        ***         ***          ***          ***         ***       ***
Inventories/total
shipments                      ***        ***         ***          ***          ***         ***       ***
Share of shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                  ***        ***         ***          ***          ***         ***       ***
     Commercial home
     market shipments          ***        ***         ***          ***          ***         ***       ***
        Total home
        market
        shipments              ***        ***         ***          ***          ***         ***       ***
  Export shipments to:
     United States             ***        ***         ***          ***          ***         ***       ***
     All other markets         ***        ***         ***         ***           ***         ***       ***
        Total exports          ***        ***         ***          ***          ***         ***       ***
          Total
          shipments            ***        ***         ***          ***          ***         ***       ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.


                                               VIIͲ51
                                            Appx15101
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        TheupwardtrendintheVietnameseproducers’totalshipmentsmirroredthatof
reportedproduction,increasingby***percentfrom2017to2019,withthemajorityofthe
increaseoccurringfrom2018to2019.ExportstotheUnitedStatesaccountedforalargeand
increasingshareoftotalshipmentsbyproducersinVietnamduring2017Ͳ19(***percentin
2018,***percentin2018,***percentin2019,***percentinJanuaryͲSeptember2019,and
***percentinJanuaryͲSeptember2020),whereashomemarketshipmentsfellrelativetototal
shipmentsduringthattime(***percentin2017,***percentin2018,***percentin2019,***
percentinJanuaryͲSeptember2019,and***percentinJanuaryͲSeptember2020).Exportsto
theUnitedStatesincreasedby***percentfrom***mattressesin2017to***mattressesin
2019andwere***percenthigherininterim2020comparedwithinterim2019.Exportstothe
UnitedStates,however,areprojectedtodecreaseto***mattressesduring2020.No
producersinVietnamreportedprojectedexportstotheUnitedStatesduring2021.Home
marketshipmentsincreased,althoughatamoremodestrate,from***mattressesin2017to
***mattressesin2019,butwerelowerininterim2020comparedwithinterim2019.Home
marketshipmentsareprojectedtodecreaseslightlyto***mattressesby2021.Export
shipmentstoothercountries,whichaccountedfor***percentorlessoftotalshipments,
increasedfrom***mattressesin2017to***mattressesin2019andwerehigherduring
interim2020comparedwithinterim2019.Suchexportsareprojectedtoincreaseto***
mattressesby2021.MattressexportstocountriesotherthantheUnitedStates,whichwere
reportedbyallfiverespondingproducersinVietnam,weredestinedfor***.
        EndͲofͲperiodinventories,whichincreasedintermsofquantityfrom2017to2019but
werelowerininterim2020comparedwithinterim2019,fluctuatedasashareoftotal
shipmentsbetweenalowof***percentin2017andahighof***percentin2018.
        
                            




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Production and capacity by packaging type
        TableVIIͲ39presentsproduction,capacity,andcapacityutilizationinVietnamby
packagingtype(i.e.,MiBversusFPM).OfthefivemattressproducersinVietnamthatprovided
usableresponsestotheCommission’squestionnaire,allreportedproductionofMiBsandthree
reportedproductionofFPMs.ProductionofMiBsincreasedfrom***mattressesin2017to***
mattressesin2019,andwashigherininterim2020comparedwithinterim2019.Productionof
FPMslikewiseincreasedby***percentfrom2017to2019,andwashigherininterim2020
comparedwithinterim2019.ThecapacitytoproducebothMiBsandFPMsincreasedduring
2017Ͳ19andwashigherininterim2020comparedwithinterim2019forMiBsbutlowerfor
FPMs.AlthoughMiBsheld***percentoftotalproductionofmattressesinVietnamduring
2017,theshareoftotalmattressproductionheldbyMiBsincreasedto***percentin2019and
washigherininterim2020comparedwithinterim2019.

Table VII-39
Mattresses: Capacity and production by packaging type in Vietnam, 2017-19, January to
September 2019, and January to September 2020
                                                   Calendar year                January to September
                   Item                    2017        2018         2019          2019           2020
                                                                Quantity (units)
 MiB capacity                                  ***         ***           ***            ***           ***
 MiB Production                                ***         ***           ***            ***           ***
                                                         Ratios and shares (percent)
 MiB capacity utilization                      ***         ***           ***            ***           ***
                                                                Quantity (units)
 FPM Capacity                                  ***         ***           ***            ***           ***
 FPM Production                                ***         ***           ***            ***           ***
                                                         Ratios and shares (percent)
 FPM capacity utilization                      ***         ***           ***            ***           ***
                                                  Share of all mattress production (percent)
 MiB Production                                ***         ***           ***            ***           ***
 FPM Production                                ***         ***           ***            ***           ***
 All mattress production                       ***         ***           ***            ***           ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.
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Alternative products
        DataonoverallplantcapacityfortherespondingmattressproducersinVietnamare
presentedintableVIIͲ40.Mattressesaccountedforthelargestbutdecliningshareofoverall
plantproductionusingsharedequipmentinVietnam(***percentin2017,***percentin2018,
and***percentin2019,***percentinJanuaryͲSeptember2019,and***percentinJanuaryͲ
September2020).FourfirmsinVietnamreportedtheproductionofotherproductsinaddition
tomattressesonthesameequipmentandmachineryusedtoproducemattresses.Inaddition
tomattresses,otheritemsproducedbythesefirmsinVietnaminclude***.Threeofthe
respondingproducersinVietnamreportedthatthey***.
        
Table VII-40
Mattresses: Overall capacity and production on the same equipment as in-scope production by
producers in Vietnam, 2017-19, January to September 2019, and January to September 2020
                                                       Calendar year             January to September
                   Item                      2017         2018        2019           2019        2020
                                                                  Quantity (units)
Overall capacity                                   ***         ***           ***          ***         ***
Production:
  Mattresses                                       ***         ***           ***          ***         ***
  Out-of-scope production                         ***          ***           ***          ***         ***
    Total production on same machinery             ***         ***           ***          ***         ***
                                                           Ratios and shares (percent)
Overall capacity utilization                       ***         ***           ***          ***         ***
Share of production:
  Mattresses                                       ***         ***           ***          ***         ***
  Out-of-scope production                         ***          ***           ***          ***         ***
    Total production on same machinery             ***         ***           ***          ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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Exports
        AccordingtoGTA,theleadingexportmarketfor“articlesofbedding”fromVietnam,by
value,iscurrentlytheUnitedStates(tableVIIͲ41).During2017,Japanwasthelargestexport
marketforbeddingarticlesfromVietnam,accountingfor68.2percentofVietnam’stotal
exports.TheUnitedStatesaccountedfor9.6percentoftotalexportsofbeddingarticlesfrom
Vietnamduring2017.However,by2019,theUnitedStatesbecameVietnam’slargestexport
market,accountingfor68.3percentoftotalexports,followedbyJapanasthesecondlargest
exportmarket,accountingfor23.9percentofthetotal.

Table VII-41
Articles of bedding: Vietnam exports by destination market, 2017-19
                                                                            Calendar year
                  Destination market                          2017              2018           2019
                                                                         Value (1,000 dollars)
 United States                                                    7,349            12,839       247,779
 Japan                                                           52,367            68,126        86,658
 China                                                            3,633             4,979          9,371
 Singapore                                                        2,151             2,307          3,847
 Canada                                                             321               142          3,707
 Korea                                                            2,983             2,860          2,313
 Taiwan                                                           1,314             1,489          1,642
 Cambodia                                                           692               801          1,034
 Hong Kong                                                          236               866             902
 All other destination markets                                    5,758             5,753          5,372
    All destination markets                                      76,804          100,163        362,625
                                                                      Share of value (percent)
 United States                                                       9.6             12.8           68.3
 Japan                                                             68.2              68.0           23.9
 China                                                               4.7               5.0             2.6
 Singapore                                                           2.8               2.3             1.1
 Canada                                                              0.4               0.1             1.0
 Korea                                                               3.9               2.9             0.6
 Taiwan                                                              1.7               1.5             0.5
 Cambodia                                                            0.9               0.8             0.3
 Hong Kong                                                           0.3               0.9             0.2
 All other destination markets                                       7.5               5.7            1.5
    All destination markets                                       100.0             100.0          100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
United States is shown at the top, all remaining top export destinations shown in descending order of
2019 data. Quantity is not available.

Source: Official imports statistics of imports from Vietnam (constructed export statistics for Vietnam)
under HS subheadings 9404.21 and 9404.29 as reported by various statistical reporting authorities in the
Global Trade Atlas database, accessed January 14, 2021.




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Subject countries combined
       TableVIIͲ42presentssummarydataonmattressoperationsofthesubjectcountries
combined.Ofthetotalreportedmattressproductionbysubjectforeignproducersin2019,
Indonesiaaccountedforthelargestshare(***percent),followedbyVietnam(***percent),
China(***percent),Malaysia(***percent),Serbia(***percent),Turkey(***percent),
Thailand(***percent),andCambodia(***percent).
       Aggregatesubjectproducers’capacityincreasedfrom5.0millionmattressesin2017to
9.4millionmattressesin2019,andwashigherininterim2020comparedwithinterim2019.
Capacityisprojectedtodeclinebetween2020and2021whileremaininghigherthanin2019.
Likewise,productionincreasedoverallfrom4.3millionmattressesin2017to7.4million
mattressesin2019,andwashigherat6.6millionmattressesduringinterim2020compared
with4.3millionmattressesininterim2019.Productionprojectionsfor2021indicatean
increasefrom2019to2020butadeclinein2021slightlyabovethe2019level.Capacity
utilizationdeclinedfrom86.2percentin2017to78.9percentin2019,butwashigherininterim
2020(84.7percent)thanininterim2019(77.3percent).Capacityutilizationisprojectedto
declineto78.4percentin2021.
       ExportstotheUnitedStatesbythesubjectcountriescombinedaccountedforalarger
shareoftheirtotalshipmentsin2019(***percent)thanin2017(***percent)andwerehigher
asashareoftotalshipmentsininterim2020(***percent)thanininterim2019(***percent).
ExportstotheUnitedStatesareprojectedtoincreaseto***percentoftotalshipmentsin2020
butdeclineto***percentofsubjectproducers’totalshipmentsin2021.
       
       




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Table VII-42
Mattresses: Data on industry in subject countries, 2017-19, January to September 2019, and
January to September 2020 and projection calendar years 2020 and 2021
                                             Actual experience                            Projections
                                    Calendar year           January to September         Calendar year
                             2017       2018       2019        2019         2020       2020         2021
                                                           Quantity (units)
Capacity                   4,969,338 5,734,786 9,440,763 5,549,913 7,782,630          11,085,086   10,027,351
Production                 4,284,413 4,648,091 7,445,601 4,291,933 6,592,890           9,114,436    7,856,996
End-of-period
inventories                 101,971     168,888     233,968     150,904    197,772      254,723      292,827
Shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                    ***         ***         ***         ***        ***          ***           ***
    Commercial home
    market shipments             ***         ***         ***         ***        ***          ***           ***
       Total home
       market
       shipments                 ***         ***         ***         ***        ***          ***           ***
    Export shipments to:
      United States              ***         ***         ***         ***        ***          ***           ***
      All other markets          ***         ***         ***         ***        ***          ***           ***
         Total exports           ***         ***         ***         ***        ***          ***           ***
           Total
           shipments       4,292,160   4,581,464   7,380,245 4,303,734 6,609,108       9,085,535    7,818,892
                                                      Ratios and shares (percent)
Capacity utilization            86.2        81.1        78.9       77.3        84.7         82.2         78.4
Inventories/production           2.4         3.6          3.1       3.5         3.0          2.8          3.7
Inventories/total
shipments                        2.4         3.7         3.2        3.5         3.0          2.8           3.7
Share of shipments:
  Home market
  shipments:
    Internal
    consumption/
    transfers                    ***         ***         ***         ***        ***          ***           ***
    Commercial home
    market shipments             ***         ***         ***         ***        ***          ***           ***
       Total home
       market
       shipments                 ***         ***         ***         ***        ***          ***           ***
    Export shipments to:
      United States              ***         ***         ***         ***        ***          ***           ***
      All other markets          ***         ***         ***         ***        ***          ***           ***
         Total exports           ***         ***         ***         ***        ***          ***           ***
           Total
           shipments          100.0       100.0       100.0       100.0      100.0         100.0       100.0
Source: Compiled from data submitted in response to Commission questionnaires.

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U.S. inventories of imported merchandise
          TableVIIͲ43presentsdataonU.S.importers’reportedinventoriesofmattresses.U.S.
importers’endͲofͲperiodinventoriesofimportsfromtheeightsubjectcountriescombined
increasedby19.3percentfrom965,212mattressesin2017to1.1millionmattressesin2018,
butdeclinedby19.9percentto921,922mattressesin2019,ending4.5percentlowerin2019
thanin2017.Inventorieswere31.6percenthigherininterim2020comparedwithinterim
2019.ThisaggregatetrendlargelytrackedtheinventoriesheldbyimportsfromChinaalone,
whiletheendͲofͲperiodinventoriesofimportsfromeachoftheothersevensubjectcountries
showedconsistentincreasesfrom2017to2019.Acomparisonofinventoriesreportedduring
theinterimperiodsindicatethatimportersfromCambodia,China,andSerbiaheldfewer
inventoriesforinterim2020thaninterim2019,butthatimportersfromtheotherfivesubject
countriesheldmore.ThirtyͲsiximportersofmattressesfromsubjectcountriesheldendͲofͲ
periodinventoriesofsubjectmerchandiseduringatleastonepointsince2017,with***
holdingthelargestquantitiesofinventoriesofsubjectimportsattheendof2019andinterim
2020.Subjectsourcesaccountedfor***percentand***percentoftotalimportinventoriesat
theendof2019andinterim2020,respectively.
          TheratioofinventoriestoU.S.importsduring2019was***percentforimportsfrom
Cambodia,***percentforChina,***percentforIndonesia,***percentforMalaysia,***
percentforSerbia,***percentforThailand,***percentforTurkey,and***percentfor
Vietnam.30





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     30
      Thepetitionersarguethatinordertotimelyfulfilltheircustomers’orders,U.S.importersrequire
significantlylargerlevelsofinventorythanU.S.producers.Petitioners’postconferencebrief,responseto
staffquestions,p.11;petitioners’prehearingbrief,pp.15Ͳ16;petitioners’posthearingbrief,exh.IͲ26.
JointrespondentsarguethatMiBs,unlikeFPMs,aremoreoftenshippedfromacentrallocationand
requirehigherinventoriestofacilitatequickshippingandonͲtimedelivery;andaremuchbetter
positionedtoaccommodatehighͲvolumedemand.Jointrespondentspostconferencebrief,responseto
staffquestions,p.13;andposthearingbrief,annexIII,p.11.


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Table VII-43
Mattresses: U.S. importers' end-of-period inventories of imports by source, 2017-19, January to
September 2019, and January to September 2020
                                                    Calendar year              January to September
                     Item                  2017          2018        2019         2019       2020
                                                     Inventories (units); Ratios (percent)
Imports from Cambodia:
  Inventories                                   ***            ***         ***         ***        ***
  Ratio to U.S. imports                         ***            ***         ***         ***        ***
  Ratio to U.S. shipments of imports            ***            ***         ***         ***        ***
   Ratio to total shipments of imports          ***            ***         ***         ***        ***
Imports from China:
  Inventories                                   ***            ***         ***         ***        ***
  Ratio to U.S. imports                         ***            ***         ***         ***        ***
  Ratio to U.S. shipments of imports            ***            ***         ***         ***        ***
   Ratio to total shipments of imports          ***            ***         ***         ***        ***
Imports from Indonesia:
  Inventories                                   ***            ***         ***         ***        ***
  Ratio to U.S. imports                         ***            ***         ***         ***        ***
  Ratio to U.S. shipments of imports            ***            ***         ***         ***        ***
   Ratio to total shipments of imports          ***            ***         ***         ***        ***
Imports from Malaysia:
  Inventories                                   ***            ***         ***         ***        ***
  Ratio to U.S. imports                         ***            ***         ***         ***        ***
  Ratio to U.S. shipments of imports            ***            ***         ***         ***        ***
   Ratio to total shipments of imports          ***            ***         ***         ***        ***
Imports from Serbia:
  Inventories                                   ***            ***         ***         ***        ***
  Ratio to U.S. imports                         ***            ***         ***         ***        ***
  Ratio to U.S. shipments of imports            ***            ***         ***         ***        ***
   Ratio to total shipments of imports          ***            ***         ***         ***        ***
Imports from Thailand:
  Inventories                                   ***            ***         ***         ***        ***
  Ratio to U.S. imports                         ***            ***         ***         ***        ***
  Ratio to U.S. shipments of imports            ***            ***         ***         ***        ***
   Ratio to total shipments of imports          ***            ***         ***         ***        ***
Table continued on next page.




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Table VII-43—Continued
Mattresses: U.S. importers' end-of-period inventories of imports by source, 2017-19, January to
September 2019, and January to September 2020
                                                     Calendar year               January to September
                     Item                     2017         2018        2019          2019        2020
                                                       Inventories (units); Ratios (percent)
Imports from Turkey:
  Inventories                                      ***          ***          ***          ***         ***
  Ratio to U.S. imports                            ***          ***          ***          ***         ***
  Ratio to U.S. shipments of imports               ***          ***          ***          ***         ***
   Ratio to total shipments of imports             ***          ***          ***          ***         ***
Imports from Vietnam:
  Inventories                                      ***          ***          ***          ***         ***
  Ratio to U.S. imports                            ***          ***          ***          ***         ***
  Ratio to U.S. shipments of imports               ***          ***          ***          ***         ***
   Ratio to total shipments of imports             ***          ***          ***          ***         ***
Imports from subject sources:
  Inventories                                 965,212 1,151,606        921,992       802,995 1,056,755
  Ratio to U.S. imports                           17.4        16.5         11.8         11.4         10.7
  Ratio to U.S. shipments of imports              18.4        17.1         11.5         10.6         10.8
   Ratio to total shipments of imports             ***          ***          ***          ***         ***
 Imports from nonsubject sources:
  Inventories                                      ***          ***          ***          ***         ***
  Ratio to U.S. imports                            ***          ***          ***          ***         ***
  Ratio to U.S. shipments of imports               ***          ***          ***          ***         ***
   Ratio to total shipments of imports             ***          ***          ***          ***         ***
 Imports from all import sources:
  Inventories                                      ***          ***          ***          ***         ***
  Ratio to U.S. imports                            ***          ***          ***          ***         ***
  Ratio to U.S. shipments of imports               ***          ***          ***          ***         ***
   Ratio to total shipments of imports             ***          ***          ***          ***         ***
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Compiled from data submitted in response to Commission questionnaires.

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U.S. importers’ outstanding orders
        TheCommissionrequestedimporterstoindicatewhethertheyimportedorarrangedfor
theimportationofmattressesafterSeptember30,2020.TwentyͲsevenrespondingimporters
reportedoutstandingordersofmattressesfromsubjectsourcesduringOctober2020–
September2021,withfourfirms(***)collectivelyaccountingfor***ofsucharrangedimports.
TableVIIͲ44presentsdataforquantitiesofmattressesarrangedforU.S.importationafter
September30,2020.
        
Table VII-44
Mattresses: Arranged imports, October 2020 through September 2021
                                                             Period
              Item            Oct-Dec 2020 Jan-Mar 2021 Apr-Jun 2021 Jul-Sep 2021        Total
                                                         Quantity (units)
Arranged U.S. imports from.--
  Cambodia                                 ***          ***            ***     ***               ***
  China                                    ***          ***            ***     ***               ***
  Indonesia                                ***          ***            ***     ***               ***
  Malaysia                                 ***          ***            ***     ***               ***
  Serbia                                   ***          ***            ***     ***               ***
  Thailand                                 ***          ***            ***     ***               ***
  Turkey                                   ***          ***            ***     ***               ***
  Vietnam                                  ***          ***            ***     ***               ***
    Subject sources                        ***          ***            ***     ***               ***
    Nonsubject sources                     ***          ***            ***     ***               ***
       All import sources                  ***          ***            ***     ***               ***
Source: Compiled from data submitted in response to Commission questionnaires.
        

Antidumping or countervailing duty orders in thirdͲcountry markets
        Therearenoknowntraderemedyactionsonmattressesfromanyoftheeightsubject
countriesinthirdͲcountrymarkets.
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Information on nonsubject countries
       TableVIIͲ45reportsdataonglobalexportsofbeddingproducts.China,byvalue,
accountedforthelargestshareofglobalexportsofbeddingproducts,19.3percent,in2019.
Polandwasthesecondlargestexporterofbeddingproducts,accountingfor14.2percent,in
2019.Vietnamaccountedforthethirdlargestshareofexportsofbeddingproducts,6.5
percent,in2019.




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Table VIIͲ45
Articles of bedding: Global exports by exporter, 2017-19
                                                                              Calendar year
                          Exporter                                 2017            2018              2019
                                                                           Value (1,000 dollars)
 United States                                                      175,705           199,325          178,530
 Cambodia                                                             2,391             3,137            45,332
 China                                                           1,227,511         1,391,727         1,079,473
 Indonesia                                                           17,742            22,608          206,614
 Malaysia                                                            61,703            66,522          181,805
 Serbia                                                              11,196            29,822            79,750
 Thailand                                                            47,762            59,130          124,554
 Turkey                                                              93,971           119,878          176,280
 Vietnam                                                             76,804           100,163          362,625
    Subject sources                                               1,539,080        1,792,986         2,256,433
 Poland                                                             744,874           821,280          793,771
 Germany                                                            156,897           202,314          223,127
 Belgium                                                            205,198           222,969          219,687
 Italy                                                              177,590           199,991          191,226
 Denmark                                                            218,527           218,031          189,584
 All other exporters                                              1,430,706        1,595,271         1,545,006
    All reporting exporters                                       4,648,577        5,252,167         5,597,362
                                                                         Share of value (percent)
 United States                                                           3.8               3.8               3.2
 Cambodia                                                                0.1               0.1               0.8
 China                                                                 26.4              26.5              19.3
 Indonesia                                                               0.4               0.4               3.7
 Malaysia                                                                1.3               1.3               3.2
 Serbia                                                                  0.2               0.6               1.4
 Thailand                                                                1.0               1.1               2.2
 Turkey                                                                  2.0               2.3               3.1
 Vietnam                                                                 1.7               1.9               6.5
    Subject sources                                                    33.1              34.1              40.3
 Poland                                                                16.0              15.6              14.2
 Germany                                                                 3.4               3.9               4.0
 Belgium                                                                 4.4               4.2               3.9
 Italy                                                                   3.8               3.8               3.4
 Denmark                                                                 4.7               4.2               3.4
 All other exporters                                                   30.8              30.4              27.6
    All reporting exporters                                           100.0             100.0             100.0
Note: Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.

Source: Official exports statistics under HS subheading 9404.21 and 9404.29 reported by various
national statistical authorities in the Global Trade Atlas database, accessed February 18, 2021 and official
global imports statistics from Cambodia and Vietnam under HS subheading 9404.21 and 9404.29 as
reported by UN comtrade in the Global Trade Atlas database, accessed February 18, 2021.
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                                   APPENDIXA

                           FEDERALREGISTERNOTICES
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          TheCommissionmakesavailablenoticesrelevanttoitsinvestigationsandreviewsonits
website,www.usitc.gov.Inaddition,thefollowingtabulationpresents,inchronologicalorder,
FederalRegisternoticesissuedbytheCommissionandCommerceduringthecurrent
proceeding.
          
          Citation                          Title                               Link
                          MattressesFromCambodia,China,
                          Indonesia,Malaysia,Serbia,Thailand,
                          Turkey,andVietnam;InstitutionofAntiͲ
                          DumpingandCountervailingDuty            https://www.govinfo.gov/
    85FR19503,        InvestigationsandSchedulingof           content/pkg/FRͲ2020Ͳ04Ͳ
    April7,2020        PreliminaryPhaseInvestigations           07/pdf/2020Ͳ07207.pdf
                          MattressesFromthePeople’sRepublicof https://www.govinfo.gov/
    85FR22998,         China:InitiationofCountervailingDuty content/pkg/FRͲ2020Ͳ04Ͳ
    April24,2020       Investigation                            24/pdf/2020Ͳ08844.pdf
                          MattressesFromCambodia,Indonesia,
                          Malaysia,Serbia,Thailand,theRepublic
                          ofTurkey,andtheSocialistRepublicof   https://www.govinfo.gov/
    85FR23002,         Vietnam:InitiationofLessͲThanͲFairͲ      content/pkg/FRͲ2020Ͳ04Ͳ
    April24,2020       ValueInvestigations                       24/pdf/2020Ͳ08758.pdf
                          MattressesFromCambodia,China,           https://www.govinfo.gov/
    85FR30984,         Indonesia,Malaysia,Serbia,Thailand,     content/pkg/FRͲ2020Ͳ05Ͳ
    May21,2020         Turkey,andVietnam;Determinations        21/pdf/2020Ͳ10938.pdf
                          MattressesFromthePeople’sRepublicof
                          China:PostponementofPreliminary       https://www.govinfo.gov/
    85FR35415,         DeterminationintheCountervailingDuty content/pkg/FRͲ2020Ͳ06Ͳ
    June10,2020        Investigation                            10/pdf/2020Ͳ12562.pdf
                          MattressesFromCambodia,Indonesia,
                          Malaysia,Serbia,Thailand,theRepublic
                          ofTurkey,andtheSocialistRepublicof
                          Vietnam:PostponementofPreliminary       https://www.govinfo.gov/
                          DeterminationsintheLessͲThanͲFairͲ       content/pkg/FRͲ2020Ͳ08Ͳ
    August11,2020      ValueInvestigations                       11/pdf/2020Ͳ17531.pdf
                        MattressesFromthePeople’sRepublicof
                        China:PreliminaryAffirmative
                        CountervailingDutyDetermination,and https://www.govinfo.gov/
    85FR56216,       AlignmentofFinalDeterminationWith    content/pkg/FRͲ2020Ͳ09Ͳ
    September11,2020 FinalAntidumpingDutyDetermination     11/pdf/2020Ͳ20073.pdf
                                                  
                                                 AͲ3
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         Citation                        Title                             Link
                        MattressesFromCambodia:Preliminary
                        AffirmativeDeterminationofSalesat
                        LessThanFairValue,Preliminary
                        AffirmativeDeterminationofCritical
                        Circumstances,PostponementofFinal      https://www.govinfo.gov/
    85FR69594,       Determination,andExtensionof           content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020   ProvisionalMeasures                      03/pdf/2020Ͳ24301.pdf
                        MattressesFromIndonesia:Preliminary
                        AffirmativeDeterminationofSalesat
                        LessThanFairValue,Postponementof     https://www.govinfo.gov/
    85FR69597,       FinalDetermination,andExtensionof     content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020   ProvisionalMeasures                      03/pdf/2020Ͳ24297.pdf
                        MattressesFromMalaysia:Preliminary
                        AffirmativeDeterminationofSalesat
                        LessThanFairValue,Postponementof     https://www.govinfo.gov/
    85FR69574,       FinalDetermination,andExtensionof     content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020   ProvisionalMeasures                      03/pdf/2020Ͳ24298.pdf
                        MattressesFromtheSerbia:Preliminary
                        AffirmativeDeterminationofSalesat
                        LessThanFairValue,Preliminary
                        NegativeDeterminationofCritical
                        Circumstances,PostponementofFinal      https://www.govinfo.gov/
    85FR69589,       Determination,andExtensionof           content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020   ProvisionalMeasures                      03/pdf/2020Ͳ24302.pdf
                        MattressesFromThailand:Preliminary
                        AffirmativeDeterminationofSalesat
                        LessThanFairValue,Postponementof     https://www.govinfo.gov/
    85FR69568,       FinalDetermination,andExtensionof     content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020   ProvisionalMeasures                      03/pdf/2020Ͳ24296.pdf
                        MattressesFromtheRepublicofTurkey:
                        PreliminaryAffirmativeDeterminationof
                        SalesatLessThanFairValue,Preliminary
                        NegativeDeterminationofCritical
                        Circumstances,PostponementofFinal       https://www.govinfo.gov/
    85FR69571,       Determination,andExtensionof            content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020   ProvisionalMeasures                       03/pdf/2020Ͳ24299.pdf



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                         MattressesFromtheSocialistRepublicof
                         Vietnam:PreliminaryAffirmative
                         DeterminationofSalesatLessThanFair
                         Value,PostponementofFinal              https://www.govinfo.gov/
    85FR69591,        Determination,andExtensionof           content/pkg/FRͲ2020Ͳ11Ͳ
    November3,2020    ProvisionalMeasures                      03/pdf/2020Ͳ24300.pdf
                         MattressesFromCambodia,China,
                         Indonesia,Malaysia,Serbia,Thailand,     
                         Turkey,andVietnam;Schedulingofthe     https://www.govinfo.gov/
    85FR76105,        FinalPhaseofCountervailingDutyand     content/pkg/FRͲ2020Ͳ11Ͳ
    November27,2020   AntidumpingDutyInvestigations            27/pdf/2020Ͳ26164.pdf
                         MattressesFromCambodia:Final
                         AffirmativeDeterminationofSalesat      https://www.govinfo.gov/
    85FR15894,        LessThanFairValueandFinalNegative    content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      DeterminationofCriticalCircumstances    25/pdf/2021Ͳ06188.pdf
                         MattressesFromthePeople’sRepublicof https://www.govinfo.gov/
    85FR15910,        China:FinalAffirmativeCountervailing  content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      DutyDetermination                       25/pdf/2021Ͳ06189.pdf
                         MattressesFromIndonesia:Final           https://www.govinfo.gov/
    85FR15899,        AffirmativeDeterminationofSalesat      content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      LessThanFairValue                       25/pdf/2021Ͳ06195.pdf
                         MattressesFromMalaysia:Final            https://www.govinfo.gov/
    85FR15901,        AffirmativeDeterminationofSalesat      content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      LessThanFairValue                       25/pdf/2021Ͳ06187.pdf
                         MattressesFromSerbia:Final
                         AffirmativeDeterminationofSalesat      https://www.govinfo.gov/
    85FR15892,        LessThanFairValue,andFinalNegative   content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      FindingofCriticalCircumstances          25/pdf/2021Ͳ06192.pdf
                         MattressesFromThailand:Final            https://www.govinfo.gov/
    85FR15928,        AffirmativeDeterminationofSalesat      content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      LessThanFairValue                       25/pdf/2021Ͳ06191.pdf
                         MattressesFromtheRepublicofTurkey:
                         FinalAffirmativeDeterminationofSales
                         atLessThanFairValueandFinal          https://www.govinfo.gov/
    85FR15917,        NegativeDeterminationofCritical         content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021      Circumstances                              25/pdf/2021Ͳ06193.pdf

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         Citation                     Title                             Link
                      MattressesFromtheSocialistRepublicof
                     Vietnam:FinalAffirmative                https://www.govinfo.gov/
    85FR15889,     DeterminationofSalesatLessThanFair content/pkg/FRͲ2021Ͳ03Ͳ
    March25,2021   Value                                     25/pdf/2021Ͳ06194.pdf
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                                   APPENDIXB

                           LISTOFHEARINGWITNESSES
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                            CALENDAR OF PUBLIC HEARING

       Those listed below appeared in the United States International Trade Commission’s
hearing via videoconference:

              Subject:              Mattresses from Cambodia, China, Indonesia, Malaysia,
                                    Serbia, Thailand, Turkey, and Vietnam

              Inv. Nos.:            701-TA-645 and 731-TA-1495-1501 (Final)

              Date and Time:        March 18, 2021 - 9:30 a.m.

CONGRESSIONAL APPEARANCE:

The Honorable Frank J. Mrvan, U.S. Representative, 1st District, Indiana

EMBASSY APPEARANCE:

Embassy of Indonesia
Washington, DC

       Mr. Wijayanto, Commercial Attaché

OPENING REMARKS:

Petitioners (Mary Jane Alves, Cassidy Levy Kent (USA) LLP)
Respondents (Kristin H. Mowry, Mowry & Grimson PLLC)

In Support of the Imposition of
      Antidumping and Countervailing Duty Orders:

Cassidy Levy Kent (USA) LLP
Washington, DC
on behalf of

Brooklyn Bedding; Corsicana Mattress Company;
Elite Comfort Solutions; FXI, Inc.; Innocor, Inc.;
Kolcraft Enterprises, Inc.; Leggett & Platt, Incorporated;
The International Brotherhood of Teamsters, and United Steel, Paper
       and Forestry, Rubber, Manufacturing, Energy, Allied Industrial
       and Service Workers International Union, AFL-CIO (“USW”)

              Karl Glassman, Chairman of the Board and Chief Executive Officer,
                    Leggett & Platt, Incorporated

              Tyson Hagale, Vice President, Commercial, Leggett & Platt, Incorporated

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In Support of the Imposition of
      Antidumping and Countervailing Duty Orders (continued):

              Pete W. Wallace, Chief Commercial Officer, Elite Comfort Solutions, LLC

              Thomas Koltun, President, Kolcraft Enterprises, Inc.

              Harold Earley, President and Chief Executive Officer, FXI, Inc.

              Michael F. Dolan, Trade Policy Specialist, International Brotherhood of
                    Teamsters

              Stuart Fallen, Vice President, Corsicana Bedding LLC

              John Merwin, Chief Executive Officer, Brooklyn Bedding

              Deirdre Maloney, Senior International Trade Advisor, Cassidy Levy Kent (USA)
                    LLP

                                    Yohai Baisburd               )
                                                                 ) – OF COUNSEL
                                    Mary Jane Alves              )

In Opposition to the Imposition of
      Antidumping and Countervailing Duty Orders:

Steptoe & Johnson LLP
Washington, DC
on behalf of

CVB, Inc. d/b/a Malouf

              Scott Carr, Director, Specialty Retail, Malouf

              Steven Douglas, Director, E-Commerce, Malouf

              Jordan Haws, Director, Supply Chain, Malouf

              Kyle Robertson, Director, Product Development, Malouf

              Jeffrey Steed, Chief Legal Officer, Malouf

              James P. Dougan, Vice President, Economic Consulting Services, LLC




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In Opposition to the Imposition of
      Antidumping and Countervailing Duty Orders (continued);

              Cara Groden, Senior Economist, Economic Consulting Services, LLC

                                   Eric C. Emerson             )
                                   Thomas J. Trendl            ) – OF COUNSEL
                                   Zachary Simmons             )

Mowry & Grimson PLLC
Washington, DC
on behalf of

Ashley Furniture Industries, LLC

              Brian Adams, Vice President of International Sourcing Operations,
                     Regulatory Affairs, and Procurement, Ashley Furniture Industries, LLC

              Tom Wynyard Bellhouse, Senior Trade Economist, Mowry & Grimson PLLC

                                   Kristin H. Mowry            )
                                                               ) – OF COUNSEL
                                   Jeffrey S. Grimson          )

Doyle, Barlow & Mazard PLLC
Washington, DC
on behalf of

Night & Day Furniture LLC ("Night & Day")

              Mike Gallawa, Owner, Night & Day

                                   Camelia C. Mazard           ) – OF COUNSEL

Thompson Hine LLP
Washington, DC
on behalf of

Cozy Comfort LLC
Kellex Corporation (“Kellex Seating”)

              W. Neil Owens, President, Cozy Comfort LLC

              R.A. Raymond, Managing Director and Founder, Cozy Comfort LLC
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In Opposition to the Imposition of
      Antidumping and Countervailing Duty Orders (continued);

              Bryan Beam, Partner and Chief Operating Officer, Kellex Seating


                                   David M. Schwartz           ) – OF COUNSEL

Appleton Luff PTE LTD
Washington, DC
on behalf of

BRN Yatak BazaEv Tekstili Insaat Sanayi Ticaret A.S. (“BRN”)

                                   Edmund W. Sim               )
                                                               ) – OF COUNSEL
                                   Kelly A. Slater             )

REBUTTAL/CLOSING REMARKS:

Petitioners (Yohai Baisburd, Cassidy Levy Kent (USA) LLP)
Respondents (Eric C. Emerson, Steptoe & Johnson LLP)

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                                   APPENDIXC

                                 SUMMARYDATA
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September2019,andJanuarytoSeptember2020.........................................................CͲ3
CͲ2.Mattresses:SummarydataconcerningtheU.S.marketexcludingoneproducer
            ***,2017Ͳ19,JanuarytoSeptember2019,andJanuarytoSeptember2020..................CͲ6
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                                                                                                                                            All U.S.producers
Table C-1
Mattresses: Summary data concerning the U.S. market, 2017-19, January to September 2019, and January to September 2020
              (Quantity=units; Value=1,000 dollars; Unit values, unit labor costs, and unit expenses=dollars per unit; Period changes=percent--exceptions noted)

                                                                                                Reported data                                              Period changes
                                                                                Calendar year                      January to September              Comparison years            Jan-Sep
                                                                   2017             2018            2019            2019          2020       2017-19    2017-18      2018-19     2019-20

U.S. consumption quantity:
 Amount........................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
 Producers' share (fn1).................................                  ***             ***              ***            ***         ***          ***         ***         ***         ***
 Importers' share (fn1):
   Cambodia.................................................              ***             ***              ***            ***         ***          ***         ***         ***         ***
   China........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Indonesia..................................................            ***             ***              ***            ***         ***          ***         ***         ***         ***
   Malaysia...................................................            ***             ***              ***            ***         ***          ***         ***         ***         ***
   Serbia.......................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Thailand....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Turkey.......................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Vietnam....................................................            ***             ***              ***            ***         ***          ***         ***         ***         ***
     Subject sources.....................................                 ***             ***              ***            ***         ***          ***         ***         ***         ***
       Of which previously invesitgated........                           ***             ***              ***            ***         ***          ***         ***         ***         ***
       Of which newly investigated...............                         ***             ***              ***            ***         ***          ***         ***         ***         ***
     Nonsubject sources...............................                    ***             ***              ***            ***         ***          ***         ***         ***         ***
       All import sources...............................                  ***             ***              ***            ***         ***          ***         ***         ***         ***

U.S. consumption value:
 Amount........................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
 Producers' share (fn1).................................                  ***             ***              ***            ***         ***          ***         ***         ***         ***
 Importers' share (fn1):
   Cambodia.................................................              ***             ***              ***            ***         ***          ***         ***         ***         ***
   China........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Indonesia..................................................            ***             ***              ***            ***         ***          ***         ***         ***         ***
   Malaysia...................................................            ***             ***              ***            ***         ***          ***         ***         ***         ***
   Serbia.......................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Thailand....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Turkey.......................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Vietnam....................................................            ***             ***              ***            ***         ***          ***         ***         ***         ***
     Subject sources.....................................                 ***             ***              ***            ***         ***          ***         ***         ***         ***
       Of which previously invesitgated........                           ***             ***              ***            ***         ***          ***         ***         ***         ***
       Of which newly investigated...............                         ***             ***              ***            ***         ***          ***         ***         ***         ***
     Nonsubject sources...............................                    ***             ***              ***            ***         ***          ***         ***         ***         ***
       All import sources...............................                  ***             ***              ***            ***         ***          ***         ***         ***         ***

U.S. importers' U.S. shipments of imports from:
 Cambodia:
   Quantity....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***          ***         ***         ***         ***
 China:
   Quantity....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***          ***         ***         ***         ***
 Indonesia:
   Quantity....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***          ***         ***         ***         ***
 Malaysia:
   Quantity....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***          ***         ***         ***         ***
 Serbia:
   Quantity....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***          ***         ***         ***         ***
 Thailand:
   Quantity....................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***          ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***          ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***          ***         ***         ***         ***


Table continued on next page.




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Table C-1--Continued
Mattresses: Summary data concerning the U.S. market, 2017-19, January to September 2019, and January to September 2020
                (Quantity=units; Value=1,000 dollars; Unit values, unit labor costs, and unit expenses=dollars per unit; Period changes=percent--exceptions noted)

                                                                                              Reported data                                                 Period changes
                                                                              Calendar year                      January to September                 Comparison years            Jan-Sep
                                                               2017               2018            2019            2019          2020          2017-19    2017-18      2018-19     2019-20

U.S. importers' U.S. shipments of imports from--Continued:
 Turkey:
   Quantity....................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Value........................................................        ***             ***              ***              ***           ***         ***         ***         ***         ***
   Unit value..................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Ending inventory quantity.........................                   ***             ***              ***              ***           ***         ***         ***         ***         ***
 Vietnam:
   Quantity....................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Value........................................................        ***             ***              ***              ***           ***         ***         ***         ***         ***
   Unit value..................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Ending inventory quantity.........................                   ***             ***              ***              ***           ***         ***         ***         ***         ***
 Subject sources:
   Quantity....................................................  5,246,403      6,754,207       7,984,288        5,665,403       7,306,008      Ÿ52.2       Ÿ28.7      Ÿ18.2        Ÿ29.0
   Value........................................................   677,335        836,988       1,042,647          726,253         928,040      Ÿ53.9       Ÿ23.6      Ÿ24.6        Ÿ27.8
   Unit value..................................................       $129          $124             $131             $128           $127        Ÿ1.1       ź(4.0)      Ÿ5.4        ź(0.9)
   Ending inventory quantity.........................              965,212      1,151,606         921,992          802,995       1,056,755      ź(4.5)      Ÿ19.3      ź(19.9)      Ÿ31.6
 Subject sources previously investigated:
   Quantity....................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Value........................................................        ***             ***              ***              ***           ***         ***         ***         ***         ***
   Unit value..................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
 Subject sources newly investigated:
   Quantity....................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Value........................................................        ***             ***              ***              ***           ***         ***         ***         ***         ***
   Unit value..................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
 Nonsubject sources:
   Quantity....................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Value........................................................        ***             ***              ***              ***           ***         ***         ***         ***         ***
   Unit value..................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Ending inventory quantity.........................                   ***             ***              ***              ***           ***         ***         ***         ***         ***
 All import sources:
   Quantity....................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Value........................................................        ***             ***              ***              ***           ***         ***         ***         ***         ***
   Unit value..................................................         ***             ***              ***              ***           ***         ***         ***         ***         ***
   Ending inventory quantity.........................                   ***             ***              ***              ***           ***         ***         ***         ***         ***
U.S. producers':
 Average capacity quantity........................... 25,465,851               24,921,072      25,456,891       19,301,122      19,868,198       ź(0.0)     ź(2.1)      Ÿ2.2        Ÿ2.9
 Production quantity...................................... 19,117,584          18,472,178      18,436,244       14,156,364      14,134,447       ź(3.6)     ź(3.4)      ź(0.2)      ź(0.2)
 Capacity utilization (fn1)..............................             75.1           74.1            72.4             73.3            71.1       ź(2.7)     ź(0.9)      ź(1.7)      ź(2.2)
 U.S. shipments:
   Quantity.................................................... 19,236,908     18,226,947      18,286,554       13,963,203      14,011,538       ź(4.9)     ź(5.3)       Ÿ0.3        Ÿ0.3
   Value........................................................ 5,103,659      5,032,747       5,298,044        3,991,781       4,030,633       Ÿ3.8       ź(1.4)       Ÿ5.3        Ÿ1.0
   Unit value..................................................       $265          $276            $290             $286            $288        Ÿ9.2       Ÿ4.1         Ÿ4.9        Ÿ0.6
 Export shipments:
   Quantity....................................................    101,363        100,285          98,139             73,715       60,736       ź(3.2)      ź(1.1)      ź(2.1)     ź(17.6)
   Value........................................................    39,153         38,481          35,938             26,211       26,175       ź(8.2)      ź(1.7)      ź(6.6)      ź(0.1)
   Unit value..................................................       $386           $384            $366               $356         $431       ź(5.2)      ź(0.7)      ź(4.6)     Ÿ21.2
 Ending inventory quantity............................             374,097        498,910         545,677            611,919      606,614       Ÿ45.9       Ÿ33.4       Ÿ9.4        ź(0.9)
 Inventories/total shipments (fn1).................                    1.9            2.7             3.0                3.3          3.2        Ÿ1.0        Ÿ0.8       Ÿ0.2        ź(0.0)
 Production workers......................................           13,091         12,590          12,724             12,224       12,243       ź(2.8)      ź(3.8)      Ÿ1.1        Ÿ0.2
 Hours worked (1,000s)................................              25,352         23,832          25,700             20,147       19,161        Ÿ1.4       ź(6.0)      Ÿ7.8        ź(4.9)
 Wages paid ($1,000)...................................            512,388        503,496         539,840            393,310      409,810        Ÿ5.4       ź(1.7)      Ÿ7.2        Ÿ4.2
 Hourly wages (dollars per hour)..................                  $20.21         $21.13          $21.01             $19.52       $21.39        Ÿ3.9        Ÿ4.5       ź(0.6)      Ÿ9.6
 Productivity (units per 1,000 hours).............                   754.1          775.1           717.4              702.7        737.7       ź(4.9)       Ÿ2.8       ź(7.4)      Ÿ5.0
 Unit labor costs............................................       $26.80         $27.26          $29.28             $27.78       $28.99        Ÿ9.3        Ÿ1.7       Ÿ7.4        Ÿ4.4


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Table C-1--Continued
Mattresses: Summary data concerning the U.S. market, 2017-19, January to September 2019, and January to September 2020
                 (Quantity=units; Value=1,000 dollars; Unit values, unit labor costs, and unit expenses=dollars per unit; Period changes=percent--exceptions noted)

                                                                                                 Reported data                                               Period changes
                                                                                 Calendar year                     January to September                Comparison years            Jan-Sep
                                                                     2017            2018            2019           2019          2020         2017-19    2017-18       2018-19    2019-20

U.S. producers'--Continued:
 Net sales:
   Quantity....................................................    18,758,994     17,732,138      17,733,600      13,555,946    13,573,510        ź(5.5)      ź(5.5)      Ÿ0.0       Ÿ0.1
   Value........................................................    5,050,280      4,979,222       5,220,167       3,930,606     3,961,539        Ÿ3.4        ź(1.4)      Ÿ4.8       Ÿ0.8
   Unit value..................................................          $269           $281            $294            $290          $292        Ÿ9.3        Ÿ4.3        Ÿ4.8       Ÿ0.7
 Cost of goods sold (COGS).........................                 3,003,396      3,042,399       3,174,175       2,399,093     2,378,095        Ÿ5.7        Ÿ1.3        Ÿ4.3       ź(0.9)
 Gross profit or (loss) (fn2)............................           2,046,884      1,936,823       2,045,992       1,531,513     1,583,444        ź(0.0)      ź(5.4)      Ÿ5.6       Ÿ3.4
 SG&A expenses...........................................           1,357,123      1,308,010       1,383,236       1,011,315     1,030,288        Ÿ1.9        ź(3.6)      Ÿ5.8       Ÿ1.9
 Operating income or (loss) (fn2)..................                   689,761        628,813         662,756         520,198       553,156        ź(3.9)      ź(8.8)      Ÿ5.4       Ÿ6.3
 Net income or (loss) (fn2)............................               399,516        287,499         126,997         251,466      (328,122)      ź(68.2)     ź(28.0)     ź(55.8)     ź(---)
 Capital expenditures....................................             105,756         83,814         112,224          76,288       116,430        Ÿ6.1       ź(20.7)     Ÿ33.9      Ÿ52.6
 Research and development expenses.........                            40,366         36,437          34,543          26,215        26,711       ź(14.4)      ź(9.7)      ź(5.2)     Ÿ1.9
 Net assets....................................................     4,903,295      4,870,458       4,881,917               NA            NA       ź(0.4)      ź(0.7)      Ÿ0.2          NA
 Unit COGS...................................................            $160           $172            $179            $177          $175       Ÿ11.8        Ÿ7.2        Ÿ4.3       ź(1.0)
 Unit SG&A expenses...................................                     $72            $74            $78             $75           $76        Ÿ7.8        Ÿ2.0        Ÿ5.7       Ÿ1.7
 Unit operating income or (loss) (fn2)...........                         $37            $35             $37             $38           $41        Ÿ1.6        ź(3.6)      Ÿ5.4       Ÿ6.2
 Unit net income or (loss) (fn2).....................                     $21            $16              $7             $19          $(24)      ź(66.4)     ź(23.9)     ź(55.8)     ź(---)
 COGS/sales (fn1)........................................                 59.5           61.1            60.8            61.0          60.0       Ÿ1.3        Ÿ1.6        ź(0.3)     ź(1.0)
 Operating income or (loss)/sales (fn1)........                          13.7           12.6            12.7            13.2          14.0        ź(1.0)      ź(1.0)      Ÿ0.1       Ÿ0.7
 Net income or (loss)/sales (fn1)...................                       7.9            5.8             2.4             6.4          (8.3)      ź(5.5)      ź(2.1)      ź(3.3)    ź(14.7)


Note.--Shares and ratios shown as “0.0” percent represent non-zero values less than “0.05” percent (if positive) and greater than “ (0.05)” percent (if negative). Zeroes, null values, and
undefined calculations are suppressed and shown as “---“. Period changes preceded by a “ Ÿ” represent an increase, while period changes preceded by a “ź” represent a decrease.
The data presented do not include data from firms that submitted unusable and/or untimely responses to the Commission’s questionnaires, such as ***.


fn1.--Reported data are in percent and period changes are in percentage points.
fn2.--Percent changes only calculated when both comparison values represent profits; The directional change in profitability provided when one or both comparison values represent
a loss.
fn3.--Percent change not shown given small base.

Source: Compiled from data submitted in response to Commission questionnaires.




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                                                                                                                                Relatedpartyexclusion
Table C-2
Mattresses: Summary data concerning the U.S. market excluding one U.S. producer ***, 2017-19, January to September 2019, and January to September 2020

                         (Quantity=units; Value=1,000 dollars; Unit values, unit labor costs, and unit expenses=dollars per unit; Period changes=percent--exceptions noted)

                                                                                                Reported data                                                 Period changes
                                                                                Calendar year                      January to September                 Comparison years            Jan-Sep
                                                                   2017             2018            2019            2019          2020          2017-19    2017-18      2018-19     2019-20

U.S. consumption quantity:
 Amount........................................................           ***             ***              ***            ***             ***         ***         ***         ***         ***
 Producers' share (fn1):
   Included producers...................................                  ***             ***              ***            ***         ***             ***         ***         ***         ***
   Excluded producers..................................                   ***             ***              ***            ***         ***             ***         ***         ***         ***
     All producers..........................................              ***             ***              ***            ***         ***             ***         ***         ***         ***
 Importers' share (fn1):
   Cambodia.................................................              ***             ***              ***            ***         ***             ***         ***         ***         ***
   China........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Indonesia..................................................            ***             ***              ***            ***         ***             ***         ***         ***         ***
   Malaysia...................................................            ***             ***              ***            ***         ***             ***         ***         ***         ***
   Serbia.......................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Thailand....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Turkey.......................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Vietnam....................................................            ***             ***              ***            ***         ***             ***         ***         ***         ***
      Subject sources.....................................                ***             ***              ***            ***         ***             ***         ***         ***         ***
       Of which previously invesitgated........                           ***             ***              ***            ***         ***             ***         ***         ***         ***
       Of which newly investigated...............                         ***             ***              ***            ***         ***             ***         ***         ***         ***
      Nonsubject sources...............................                   ***             ***              ***            ***         ***             ***         ***         ***         ***
       All import sources...............................                  ***             ***              ***            ***         ***             ***         ***         ***         ***

U.S. consumption value:
 Amount........................................................           ***             ***              ***            ***             ***         ***         ***         ***         ***
 Producers' share (fn1):
   Included producers...................................                  ***             ***              ***            ***         ***             ***         ***         ***         ***
   Excluded producers..................................                   ***             ***              ***            ***         ***             ***         ***         ***         ***
     All producers..........................................              ***             ***              ***            ***         ***             ***         ***         ***         ***
 Importers' share (fn1):
   Cambodia.................................................              ***             ***              ***            ***         ***             ***         ***         ***         ***
   China........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Indonesia..................................................            ***             ***              ***            ***         ***             ***         ***         ***         ***
   Malaysia...................................................            ***             ***              ***            ***         ***             ***         ***         ***         ***
   Serbia.......................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Thailand....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Turkey.......................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Vietnam....................................................            ***             ***              ***            ***         ***             ***         ***         ***         ***
      Subject sources.....................................                ***             ***              ***            ***         ***             ***         ***         ***         ***
       Of which previously invesitgated........                           ***             ***              ***            ***         ***             ***         ***         ***         ***
       Of which newly investigated...............                         ***             ***              ***            ***         ***             ***         ***         ***         ***
      Nonsubject sources...............................                   ***             ***              ***            ***         ***             ***         ***         ***         ***
       All import sources...............................                  ***             ***              ***            ***         ***             ***         ***         ***         ***

U.S. importers' U.S. shipments of imports from:
 Cambodia:
   Quantity....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***             ***         ***         ***         ***
 China:
   Quantity....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***             ***         ***         ***         ***
 Indonesia:
   Quantity....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***             ***         ***         ***         ***
 Malaysia:
   Quantity....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***             ***         ***         ***         ***
 Serbia:
   Quantity....................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Value........................................................          ***             ***              ***            ***         ***             ***         ***         ***         ***
   Unit value..................................................           ***             ***              ***            ***         ***             ***         ***         ***         ***
   Ending inventory quantity.........................                     ***             ***              ***            ***         ***             ***         ***         ***         ***


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Table C-2--Continued
Mattresses: Summary data concerning the U.S. market excluding one U.S. producer ***, 2017-19, January to September 2019, and January to September 2020

                         (Quantity=units; Value=1,000 dollars; Unit values, unit labor costs, and unit expenses=dollars per unit; Period changes=percent--exceptions noted)

                                                                                                 Reported data                                                Period changes
                                                                                 Calendar year                      January to September                Comparison years            Jan-Sep
                                                                    2017             2018            2019            2019          2020          2017-19   2017-18      2018-19     2019-20

U.S. importers' U.S. shipments of imports from--Continued:
 Thailand:
   Quantity....................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Value........................................................        ***                ***              ***            ***          ***            ***        ***         ***         ***
   Unit value..................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Ending inventory quantity.........................                   ***                ***              ***            ***          ***            ***        ***         ***         ***
 Turkey:
   Quantity....................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Value........................................................        ***                ***              ***            ***          ***            ***        ***         ***         ***
   Unit value..................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Ending inventory quantity.........................                   ***                ***              ***            ***          ***            ***        ***         ***         ***
 Vietnam:
   Quantity....................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Value........................................................        ***                ***              ***            ***          ***            ***        ***         ***         ***
   Unit value..................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Ending inventory quantity.........................                   ***                ***              ***            ***          ***            ***        ***         ***         ***
 Subject sources:
   Quantity....................................................  5,246,403         6,754,207       7,984,288        5,665,403    7,306,008         Ÿ52.2       Ÿ28.7     Ÿ18.2        Ÿ29.0
   Value........................................................   677,335           836,988       1,042,647          726,253      928,040         Ÿ53.9       Ÿ23.6     Ÿ24.6        Ÿ27.8
   Unit value..................................................       $129             $124             $131             $128        $127           Ÿ1.1       ź(4.0)     Ÿ5.4        ź(0.9)
   Ending inventory quantity.........................              965,212         1,151,606         921,992          802,995    1,056,755         ź(4.5)      Ÿ19.3     ź(19.9)      Ÿ31.6
 Subject sources previously investigated:
   Quantity....................................................         ***                ***              ***            ***             ***         ***         ***        ***         ***
   Value........................................................        ***                ***              ***            ***             ***         ***         ***        ***         ***
   Unit value..................................................         ***                ***              ***            ***             ***         ***         ***        ***         ***
 Subject sources newly investigated:
   Quantity....................................................         ***                ***              ***            ***             ***         ***         ***        ***         ***
   Value........................................................        ***                ***              ***            ***             ***         ***         ***        ***         ***
   Unit value..................................................         ***                ***              ***            ***             ***         ***         ***        ***         ***
 Nonsubject sources:
   Quantity....................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Value........................................................        ***                ***              ***            ***          ***            ***        ***         ***         ***
   Unit value..................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Ending inventory quantity.........................                   ***                ***              ***            ***          ***            ***        ***         ***         ***
 All import sources:
   Quantity....................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Value........................................................        ***                ***              ***            ***          ***            ***        ***         ***         ***
   Unit value..................................................         ***                ***              ***            ***          ***            ***        ***         ***         ***
   Ending inventory quantity.........................                   ***                ***              ***            ***          ***            ***        ***         ***         ***

Included U.S. producers':
  Average capacity quantity...........................                     ***             ***              ***            ***          ***            ***        ***         ***         ***
  Production quantity......................................                ***             ***              ***            ***          ***            ***        ***         ***         ***
  Capacity utilization (fn1)..............................                 ***             ***              ***            ***          ***            ***        ***         ***         ***
  U.S. shipments:
    Quantity....................................................           ***             ***              ***            ***             ***         ***         ***        ***         ***
    Value........................................................          ***             ***              ***            ***             ***         ***         ***        ***         ***
    Unit value..................................................           ***             ***              ***            ***             ***         ***         ***        ***         ***
  Export shipments:
    Quantity....................................................           ***             ***              ***            ***          ***            ***        ***         ***         ***
    Value........................................................          ***             ***              ***            ***          ***            ***        ***         ***         ***
    Unit value..................................................           ***             ***              ***            ***          ***            ***        ***         ***         ***
  Ending inventory quantity............................                    ***             ***              ***            ***          ***            ***        ***         ***         ***
  Inventories/total shipments (fn1).................                       ***             ***              ***            ***          ***            ***        ***         ***         ***
  Production workers......................................                 ***             ***              ***            ***          ***            ***        ***         ***         ***
  Hours worked (1,000s)................................                    ***             ***              ***            ***          ***            ***        ***         ***         ***
  Wages paid ($1,000)...................................                   ***             ***              ***            ***          ***            ***        ***         ***         ***
  Hourly wages (dollars per hour)..................                        ***             ***              ***            ***          ***            ***        ***         ***         ***
  Productivity (units per 1,000 hours).............                        ***             ***              ***            ***          ***            ***        ***         ***         ***
  Unit labor costs............................................             ***             ***              ***            ***          ***            ***        ***         ***         ***


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Table C-2--Continued
Mattresses: Summary data concerning the U.S. market excluding one U.S. producer ***, 2017-19, January to September 2019, and January to September 2020

                          (Quantity=units; Value=1,000 dollars; Unit values, unit labor costs, and unit expenses=dollars per unit; Period changes=percent--exceptions noted)

                                                                                                 Reported data                                                 Period changes
                                                                                 Calendar year                      January to September                 Comparison years             Jan-Sep
                                                                    2017             2018            2019            2019          2020          2017-19    2017-18       2018-19     2019-20

Included U.S. producers'--Continued:
  Net sales:
    Quantity....................................................           ***             ***              ***            ***             ***          ***         ***         ***         ***
    Value........................................................          ***             ***              ***            ***             ***          ***         ***         ***         ***
    Unit value..................................................           ***             ***              ***            ***             ***          ***         ***         ***         ***
  Cost of goods sold (COGS).........................                       ***             ***              ***            ***             ***          ***         ***         ***         ***
  Gross profit or (loss) (fn2)............................                 ***             ***              ***            ***             ***          ***         ***         ***         ***
  SG&A expenses...........................................                 ***             ***              ***            ***             ***          ***         ***         ***         ***
  Operating income or (loss) (fn2)..................                       ***             ***              ***            ***             ***          ***         ***         ***         ***
  Net income or (loss) (fn2)............................                   ***             ***              ***            ***             ***          ***         ***         ***         ***
  Capital expenditures....................................                 ***             ***              ***            ***             ***          ***         ***         ***         ***
  Research and development expenses.........                               ***             ***              ***            ***             ***          ***         ***         ***         ***
  Net assets....................................................           ***             ***              ***            ***             ***          ***         ***         ***         ***
  Unit COGS...................................................             ***             ***              ***            ***             ***          ***         ***         ***         ***
  Unit SG&A expenses...................................                    ***             ***              ***            ***             ***          ***         ***         ***         ***
  Unit operating income or (loss) (fn2)...........                         ***             ***              ***            ***             ***          ***         ***         ***         ***
  Unit net income or (loss) (fn2).....................                     ***             ***              ***            ***             ***          ***         ***         ***         ***
  COGS/sales (fn1)........................................                 ***             ***              ***            ***             ***          ***         ***         ***         ***
  Operating income or (loss)/sales (fn1)........                           ***             ***              ***            ***             ***          ***         ***         ***         ***
  Net income or (loss)/sales (fn1)...................                      ***             ***              ***            ***             ***          ***         ***         ***         ***


Note.--Shares and ratios shown as “0.0” percent represent non-zero values less than “0.05” percent (if positive) and greater than “ (0.05)” percent (if negative). Zeroes, null values, and
undefined calculations are suppressed and shown as “---“. Period changes preceded by a “ Ÿ” represent an increase, while period changes preceded by a “ź” represent a decrease.
The data presented do not include data from firms that submitted unusable and/or untimely responses to the Commission’s questionnaires, such as ***.


fn1.--Reported data are in percent and period changes are in percentage points.
fn2.--Percent changes only calculated when both comparison values represent profits; The directional change in profitability provided when one or both comparison values represent
a loss.
fn3.--Percent change not shown given small base.

Source: Compiled from data submitted in response to Commission questionnaires.




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                                   APPENDIXD

               CHANNELSOFDISTRIBUTIONBYPACKAGINGFORMAT
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Table D-1
Mattresses: U.S. producers’ and U.S. importers' U.S. shipments by packaging format, channel of
distribution, and source, 2017-19, January to September 2019, and January to September 2020
                                                 Calendar year               January to September
                                        2017         2018        2019          2019         2020
                                      Share of format within specified shipment source and channel
                Item                                            (percent)
    U.S. producers: MiB.--
     Retailers:
        Brick and mortar stores            ***          ***          ***           ***          ***
        Internet/online                    ***          ***          ***           ***          ***
        Omni-channel                       ***          ***          ***           ***          ***
           All retail                      ***          ***          ***           ***          ***
      Distributors                         ***          ***          ***           ***          ***
      End users                            ***          ***          ***           ***          ***
        All channels                       ***          ***          ***           ***          ***
    U.S. producers: FPM.--
     Retailers:
        Brick and mortar stores            ***          ***          ***           ***          ***
        Internet/online                    ***          ***          ***           ***          ***
        Omni-channel                       ***          ***          ***           ***          ***
           All retail                      ***          ***          ***           ***          ***
      Distributors                         ***          ***          ***           ***          ***
      End users                            ***          ***          ***           ***          ***
        All channels                       ***          ***          ***           ***          ***
    U.S. importers: MiB: Cambodia.--
     Retailers:
        Brick and mortar stores            ***          ***          ***           ***          ***
        Internet/online                    ***          ***          ***           ***          ***
        Omni-channel                       ***          ***          ***           ***          ***
           All retail                      ***          ***          ***           ***          ***
      Distributors                         ***          ***          ***           ***          ***
      End users                            ***          ***          ***           ***          ***
        All channels                       ***          ***          ***           ***          ***
 U.S. importers: FPM: Cambodia.--
  Retailers:
     Brick and mortar stores               ***          ***          ***           ***          ***
     Internet/online                       ***          ***          ***           ***          ***
     Omni-channel                          ***          ***          ***           ***          ***
        All retail                         ***          ***          ***           ***          ***
   Distributors                            ***          ***          ***           ***          ***
   End users                               ***          ***          ***           ***          ***
     All channels                          ***          ***          ***           ***          ***
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Table D-1—Continued
Mattresses: U.S. producers’ and U.S. importers' U.S. shipments by packaging format, channel of
distribution, and source, 2017-19, January to September 2019, and January to September 2020
                                                 Calendar year               January to September
                                       2017          2018         2019         2019         2020
                                      Share of format within specified shipment source and channel
                    Item                                        (percent)
 U.S. importers: MiB: China.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
 U.S. importers: FPM: China.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
 U.S. importers: MiB: Indonesia.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
 U.S. importers: FPM: Indonesia.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
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Table D-1—Continued
Mattresses: U.S. producers’ and U.S. importers' U.S. shipments by packaging format, channel of
distribution, and source, 2017-19, January to September 2019, and January to September 2020
                                                 Calendar year               January to September
                                       2017          2018         2019         2019         2020
                                      Share of format within specified shipment source and channel
                    Item                                        (percent)
 U.S. importers: MiB: Malaysia.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
 U.S. importers: FPM: Malaysia.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
 U.S. importers: MiB: Serbia.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
 U.S. importers: FPM: Serbia.--
   Retailers:
      Brick and mortar stores                ***          ***           ***          ***         ***
      Internet/online                        ***          ***           ***          ***         ***
      Omni-channel                           ***          ***           ***          ***         ***
         All retail                          ***          ***           ***          ***         ***
   Distributors                              ***          ***           ***          ***         ***
   End users                                 ***          ***           ***          ***         ***
      All channels                           ***          ***           ***          ***         ***
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Table D-1—Continued
Mattresses: U.S. producers’ and U.S. importers' U.S. shipments by packaging format, channel of
distribution, and source, 2017-19, January to September 2019, and January to September 2020
                                                 Calendar year               January to September
                                       2017          2018         2019         2019         2020
                                      Share of format within specified shipment source and channel
                Item                                            (percent)
    U.S. importers: MiB: Thailand.--
     Retailers:
        Brick and mortar stores            ***          ***          ***           ***          ***
        Internet/online                    ***          ***          ***           ***          ***
        Omni-channel                       ***          ***          ***           ***          ***
           All retail                      ***          ***          ***           ***          ***
      Distributors                         ***          ***          ***           ***          ***
      End users                            ***          ***          ***           ***          ***
        All channels                       ***          ***          ***           ***          ***
 U.S. importers: FPM: Thailand.--
  Retailers:
     Brick and mortar stores               ***          ***          ***           ***          ***
     Internet/online                       ***          ***          ***           ***          ***
     Omni-channel                          ***          ***          ***           ***          ***
        All retail                         ***          ***          ***           ***          ***
   Distributors                            ***          ***          ***           ***          ***
   End users                               ***          ***          ***           ***          ***
     All channels                          ***          ***          ***           ***          ***
 U.S. importers: MiB: Turkey.--
  Retailers:
     Brick and mortar stores               ***          ***          ***           ***          ***
     Internet/online                       ***          ***          ***           ***          ***
     Omni-channel                          ***          ***          ***           ***          ***
        All retail                         ***          ***          ***           ***          ***
  Distributors                             ***          ***          ***           ***          ***
  End users                                ***          ***          ***           ***          ***
     All channels                          ***          ***          ***           ***          ***
 U.S. importers: FPM: Turkey.--
  Retailers:
     Brick and mortar stores               ***          ***          ***           ***          ***
     Internet/online                       ***          ***          ***           ***          ***
     Omni-channel                          ***          ***          ***           ***          ***
        All retail                         ***          ***          ***           ***          ***
  Distributors                             ***          ***          ***           ***          ***
  End users                                ***          ***          ***           ***          ***
     All channels                          ***          ***          ***           ***          ***
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Table D-1—Continued
Mattresses: U.S. producers’ and U.S. importers' U.S. shipments by packaging format, channel of
distribution, and source, 2017-19, January to September 2019, and January to September 2020
                                                 Calendar year               January to September
                                        2017         2018        2019          2019         2020
                                      Share of format within specified shipment source and channel
                Item                                            (percent)
 U.S. importers: MiB: Vietnam.--
   Retailers:
     Brick and mortar stores              ***            ***         ***           ***          ***
      Internet/online                     ***            ***         ***           ***          ***
      Omni-channel                        ***            ***         ***           ***          ***
         All retail                       ***            ***         ***           ***          ***
   Distributors                           ***            ***         ***           ***          ***
   End users                              ***            ***         ***           ***          ***
      All channels                        ***            ***         ***           ***          ***
 U.S. importers: FPM: Vietnam.--
   Retailers:
     Brick and mortar stores              ***            ***         ***           ***          ***
      Internet/online                     ***            ***         ***           ***          ***
      Omni-channel                        ***            ***         ***           ***          ***
        All retail                        ***            ***         ***           ***          ***
   Distributors                           ***            ***         ***           ***          ***
   End users                              ***            ***         ***           ***          ***
      All channels                        ***            ***         ***           ***          ***
 U.S. importers: MiB: All subject
 sources.--
   Retailers:
     Brick and mortar stores              ***            ***         ***           ***         ***
      Internet/online                     ***            ***         ***           ***         ***
      Omni-channel                        ***            ***         ***           ***         ***
        All retail                        ***            ***         ***           ***         ***
   Distributors                           ***            ***         ***           ***         ***
   End users                              ***            ***         ***           ***         ***
     All channels                       100.0         100.0        100.0         100.0       100.0
 U.S. importers: FPM: All subject
 sources.--
   Retailers:
     Brick and mortar stores              ***            ***         ***           ***         ***
      Internet/online                     ***            ***         ***           ***         ***
      Omni-channel                        ***            ***         ***           ***         ***
        All retail                        ***            ***         ***           ***         ***
   Distributors                           ***            ***         ***           ***         ***
   End users                              ***            ***         ***           ***         ***
     All channels                       100.0         100.0        100.0         100.0       100.0
Note: MiB means mattress-in-a-box. FPM means flat-packed mattress.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                   APPENDIXE

                           COVIDͲ19PANDEMICEFFECTS
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      EͲ1. Mattresses:COVIDͲ19pandemiceffectsonU.S.producers’supplychain
            arrangements,production,employment,andsalesrelatingtomattresses.......... EͲ3
                                                                                                                                                            
      EͲ2. Mattresses:COVIDͲ19pandemiceffectsonU.S.producers’financial
            performance..........................................................................................................  EͲ9
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      EͲ3. Mattresses:COVIDͲ19pandemiceffectsonU.S.importers’supplychain
            arrangements,imports,employment,andsalesrelatingtomattresses............... EͲ12
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            arrangements,production,andsalesrelatingtomattresses................................ EͲ15
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Table E-1
Mattresses: COVID-19 pandemic effects on U.S. producers’ supply chain arrangements,
production, employment, and sales relating to mattresses
  Item / Firm                                      Narrative
COVID-19 pandemic responses:
***           ***
***           ***
***           ***
***           ***
***           ***
***           ***
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Table E-1--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ supply chain arrangements,
production, employment, and sales relating to mattresses
 Item / Firm                                      Narrative
COVID-19 pandemic responses:
***          ***
***          ***
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Table E-1--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ supply chain arrangements,
production, employment, and sales relating to mattresses
  Item / Firm                                      Narrative
COVID-19 pandemic responses:
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
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Table E-1--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ supply chain arrangements,
production, employment, and sales relating to mattresses
  Item / Firm                                      Narrative
COVID-19 pandemic responses:
***             ***
***             ***
***             ***
***             ***
***             ***
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***             ***
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Table E-1--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ supply chain arrangements,
production, employment, and sales relating to mattresses
  Item / Firm                                      Narrative
COVID-19 pandemic responses:
***            ***
***            ***
***            ***
***            ***
Table continued on next page.




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Table E-1--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ supply chain arrangements,
production, employment, and sales relating to mattresses
  Item / Firm                                        Narrative
COVID-19 pandemic responses:
***           ***
***           ***
***           ***
***           ***
***           ***
***           ***
Source: Compiled from data submitted in response to Commission questionnaires.        




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Table E-2
Mattresses: COVID-19 pandemic effects on U.S. producers’ financial performance
  Item / Firm                                    Narrative
COVID-19 pandemic responses:
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
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***             ***
***             ***
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Table E-2--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ financial performance
  Item / Firm                                    Narrative
COVID-19 pandemic responses:
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
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Table E-2--Continued
Mattresses: COVID-19 pandemic effects on U.S. producers’ financial performance
  Item / Firm                                    Narrative
COVID-19 pandemic responses:
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
***            ***
Source: Compiled from data submitted in response to Commission questionnaires.
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Table E-3
Mattresses: COVID-19 pandemic effects on U.S. importers’ supply chain arrangements, imports,
employment, and sales relating to mattresses
   Item / Firm                                   Narrative
COVID-19 pandemic responses:
***              ***
***              ***
***              ***
***              ***
***              ***
***              ***
Table continued on next page.




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Table E-3--Continued
Mattresses: COVID-19 pandemic effects on U.S. importers’ supply chain arrangements, imports,
employment, and sales relating to mattresses
   Item /
    Firm                                        Narrative
COVID-19 pandemic responses:
***         ***
***         ***
***         ***
***         ***
***         ***
***         ***
***         ***
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Table E-3--Continued
Mattresses: COVID-19 pandemic effects on U.S. importers’ supply chain arrangements, imports,
employment, and sales relating to mattresses
   Item / Firm                                        Narrative
COVID-19 pandemic responses:
***             ***
***             ***
***             ***
***             ***
***             ***
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***             ***
Source: Compiled from data submitted in response to Commission questionnaires.
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Table E-4
Mattresses: COVID-19 pandemic effects on foreign producers’ supply chain arrangements,
production, and sales relating to mattresses
   Item / Firm                                        Narrative
COVID-19 pandemic responses:
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
***             ***
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***             ***
Source: Compiled from data submitted in response to Commission questionnaires.
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                                   APPENDIXF

             U.S.SHIPMENTSBYPRODUCTTYPE,PACKAGING,ANDSIZE
                                      
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      FͲ4. Mattresses:U.S.importers’U.S.shipmentsbysize.............................................. FͲ52
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Table F-1
Mattresses: U.S. producers’ U.S. shipments by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                         Calendar year                  January to September
              Item              2017         2018          2019          2019          2020
                                                       Quantity (units)
 U.S. producers' U.S.
 shipments of MiBs.--
   Innerspring                       ***           ***            ***         ***           ***
    Non-innerspring                  ***           ***            ***         ***           ***
    Hybrid                           ***           ***            ***         ***           ***
      All product types              ***           ***            ***         ***           ***
 U.S. producers' U.S.
 shipments of FPMs.--
   Innerspring                       ***           ***            ***         ***           ***
    Non-innerspring                  ***           ***            ***         ***           ***
    Hybrid                           ***           ***            ***         ***           ***
      All product types              ***           ***            ***         ***           ***
 U.S. producers' U.S.
 shipments of all
 mattresses.--
   Innerspring                       ***           ***            ***         ***           ***
    Non-innerspring                  ***           ***            ***         ***           ***
    Hybrid                           ***           ***            ***         ***           ***
      All product types              ***           ***            ***         ***           ***
                                                   Value (1,000 dollars)
 U.S. producers' U.S.
 shipments of MiBs.--
   Innerspring                       ***           ***            ***         ***           ***
    Non-innerspring                  ***           ***            ***         ***           ***
    Hybrid                           ***           ***            ***         ***           ***
      All product types              ***           ***            ***         ***           ***
 U.S. producers' U.S.
 shipments of FPMs.--
   Innerspring                       ***           ***            ***         ***           ***
    Non-innerspring                  ***           ***            ***         ***           ***
    Hybrid                           ***           ***            ***         ***           ***
      All product types              ***           ***            ***         ***           ***
 U.S. producers' U.S.
 shipments of all
 mattresses.--
   Innerspring                       ***           ***            ***         ***           ***
    Non-innerspring                  ***           ***            ***         ***           ***
    Hybrid                           ***           ***            ***         ***           ***
      All product types              ***           ***            ***         ***           ***
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Mattresses: U.S. producers’ U.S. shipments by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
            Item                 2017          2018           2019           2019           2020
                                                   Unit value (dollars per unit)
 U.S. producers: MiBs.--
  Innerspring                         ***            ***             ***           ***            ***
   Non-innerspring                    ***            ***             ***           ***            ***
   Hybrid                             ***            ***             ***           ***            ***
     All product types                ***            ***             ***           ***            ***
 U.S. producers: FPM.--
  Innerspring                         ***            ***             ***           ***            ***
   Non-innerspring                    ***            ***             ***           ***            ***
   Hybrid                             ***            ***             ***           ***            ***
     All product types                ***            ***             ***           ***            ***
 U.S. producers: All
 packaging.--
  Innerspring                         ***            ***             ***           ***            ***
   Non-innerspring                    ***            ***             ***           ***            ***
   Hybrid                             ***            ***             ***           ***            ***
     All product types                ***            ***             ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. producers: MiBs.--
  Innerspring                         ***            ***             ***           ***            ***
   Non-innerspring                    ***            ***             ***           ***            ***
   Hybrid                             ***            ***             ***           ***            ***
     All product types                ***            ***             ***           ***            ***
 U.S. producers: FPM.--
  Innerspring                         ***            ***             ***           ***            ***
   Non-innerspring                    ***            ***             ***           ***            ***
   Hybrid                             ***            ***             ***           ***            ***
     All product types                ***            ***             ***           ***            ***
 U.S. producers: All
 packaging.--
  Innerspring                         ***            ***             ***           ***            ***
   Non-innerspring                    ***            ***             ***           ***            ***
   Hybrid                             ***            ***             ***           ***            ***
     All product types                ***            ***             ***           ***            ***
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Table F-1--Continued
Mattresses: U.S. producers’ U.S. shipments by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year            January to September
                   Item                 2017         2018       2019         2019       2020
                                                      Share of quantity (percent)
 U.S. producers: MiBs.--
  Innerspring                                ***         ***         ***          ***        ***
   Non-innerspring                           ***         ***         ***          ***        ***
   Hybrid                                    ***         ***         ***          ***        ***
     All product types                       ***         ***         ***          ***        ***
 U.S. producers: FPM.--
  Innerspring                                ***         ***         ***          ***        ***
   Non-innerspring                           ***         ***         ***          ***        ***
   Hybrid                                    ***         ***         ***          ***        ***
     All product types                       ***         ***         ***          ***        ***
 U.S. producers: All packaging.--
  Innerspring                                ***         ***         ***          ***        ***
   Non-innerspring                           ***         ***         ***          ***        ***
   Hybrid                                    ***         ***         ***          ***        ***
     All product types                       ***         ***         ***          ***        ***
                                      Ratio to overall apparent consumption quantity (percent)
 U.S. producers: MiBs.--
  Innerspring                                ***         ***         ***          ***        ***
   Non-innerspring                           ***         ***         ***          ***        ***
   Hybrid                                    ***         ***         ***          ***        ***
     All product types                       ***         ***         ***          ***        ***
 U.S. producers: FPM.--
  Innerspring                                ***         ***         ***          ***        ***
   Non-innerspring                           ***         ***         ***          ***        ***
   Hybrid                                    ***         ***         ***          ***        ***
     All product types                       ***         ***         ***          ***        ***
 U.S. producers: All packaging.--
  Innerspring                                ***         ***         ***          ***        ***
   Non-innerspring                           ***         ***         ***          ***        ***
   Hybrid                                    ***         ***         ***          ***        ***
     All product types                       ***         ***         ***          ***        ***
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Table F-1--Continued
Mattresses: U.S. producers’ U.S. shipments by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                     Calendar year               January to September
                    Item                     2017        2018         2019         2019          2020
                                                            Share of value (percent)
 U.S. producers: MiBs.--
  Innerspring                                     ***         ***          ***           ***          ***
   Non-innerspring                                ***         ***          ***           ***          ***
   Hybrid                                         ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. producers: FPM.--
  Innerspring                                     ***         ***          ***           ***          ***
   Non-innerspring                                ***         ***          ***           ***          ***
   Hybrid                                         ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. producers: All packaging.--
  Innerspring                                     ***         ***          ***           ***          ***
   Non-innerspring                                ***         ***          ***           ***          ***
   Hybrid                                         ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
                                            Ratio to overall apparent consumption value (percent)
 U.S. producers: MiBs.--
  Innerspring                                     ***         ***          ***           ***          ***
   Non-innerspring                                ***         ***          ***           ***          ***
   Hybrid                                         ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. producers: FPM.--
  Innerspring                                     ***         ***          ***           ***          ***
   Non-innerspring                                ***         ***          ***           ***          ***
   Hybrid                                         ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. producers: All packaging.--
  Innerspring                                     ***         ***          ***           ***          ***
   Non-innerspring                                ***         ***          ***           ***          ***
   Hybrid                                         ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
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Source: Compiled from data submitted in response to Commission questionnaires.
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Table F-2
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                   Calendar year             January to September
                   Item                   2017         2018       2019          2019       2020
                                                               Quantity (units)
 U.S. importers: MiBs: Cambodia.--
  Innerspring                                  ***         ***          ***          ***        ***
   Non-innerspring                             ***         ***          ***          ***        ***
   Hybrid                                     ***          ***          ***          ***        ***
     All product types                         ***         ***          ***          ***        ***
 U.S. importers: FPM: Cambodia.--
  Innerspring                                  ***         ***          ***          ***        ***
   Non-innerspring                             ***         ***          ***          ***        ***
   Hybrid                                     ***          ***          ***          ***        ***
     All product types                         ***         ***          ***          ***        ***
 U.S. importers: All packaging:
 Cambodia.--
  Innerspring                                  ***         ***          ***          ***        ***
   Non-innerspring                             ***         ***          ***          ***        ***
   Hybrid                                     ***          ***          ***          ***        ***
     All product types                         ***         ***          ***          ***        ***
                                                           Value (1,000 dollars)
 U.S. importers: MiBs: Cambodia.--             ***         ***          ***          ***        ***
  Innerspring
   Non-innerspring                             ***         ***          ***          ***        ***
   Hybrid                                      ***         ***          ***          ***        ***
     All product types                         ***         ***          ***          ***        ***
 U.S. importers: FPM: Cambodia.--              ***         ***          ***          ***        ***
  Innerspring
   Non-innerspring                             ***         ***          ***          ***        ***
   Hybrid                                      ***         ***          ***          ***        ***
     All product types                         ***         ***          ***          ***        ***
 U.S. importers: All packaging:                ***         ***          ***          ***        ***
 Cambodia.--
  Innerspring
   Non-innerspring                             ***         ***          ***          ***        ***
   Hybrid                                      ***         ***          ***          ***        ***
     All product types                         ***         ***          ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
            Item                 2017        2018           2019             2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Cambodia.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Cambodia.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Cambodia.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Cambodia.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Cambodia.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Cambodia.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                 2017       2018         2019          2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Cambodia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Cambodia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Cambodia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Cambodia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Cambodia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Cambodia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                  2017       2018        2019         2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Cambodia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: FPM: Cambodia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Cambodia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Cambodia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: FPM: Cambodia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Cambodia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                Calendar year               January to September
                 Item                 2017          2018         2019          2019       2020
                                                           Quantity (units)
 U.S. importers: MiBs: China.--
  Innerspring                               ***          ***          ***           ***       ***
   Non-innerspring                          ***          ***          ***           ***       ***
   Hybrid                                   ***          ***          ***           ***       ***
     All product types                      ***          ***          ***           ***       ***
 U.S. importers: FPM: China.--
  Innerspring                               ***          ***          ***           ***       ***
   Non-innerspring                          ***          ***          ***           ***       ***
   Hybrid                                   ***          ***          ***           ***       ***
     All product types                      ***          ***          ***           ***       ***
 U.S. importers: All packaging:
 China.--
  Innerspring                               ***          ***          ***           ***       ***
   Non-innerspring                          ***          ***          ***           ***       ***
   Hybrid                                   ***          ***          ***           ***       ***
     All product types                      ***          ***          ***           ***       ***
                                                        Value (1,000 dollars)
 U.S. importers: MiBs: China.--
  Innerspring                               ***          ***          ***           ***       ***
   Non-innerspring                          ***          ***          ***           ***       ***
   Hybrid                                   ***          ***          ***           ***       ***
     All product types                      ***          ***          ***           ***       ***
 U.S. importers: FPM: China.--
  Innerspring                               ***          ***          ***           ***       ***
   Non-innerspring                          ***          ***          ***           ***       ***
   Hybrid                                   ***          ***          ***           ***       ***
     All product types                      ***          ***          ***           ***       ***
 U.S. importers: All packaging:
 China.--
  Innerspring                               ***          ***          ***           ***       ***
   Non-innerspring                          ***          ***          ***           ***       ***
   Hybrid                                   ***          ***          ***           ***       ***
     All product types                      ***          ***          ***           ***       ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
            Item                  2017          2018          2019           2019          2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 China.--
  Innerspring                          ***            ***            ***          ***             ***
   Non-innerspring                     ***            ***            ***          ***             ***
   Hybrid                              ***            ***            ***          ***             ***
     All product types                 ***            ***            ***          ***             ***
 U.S. importers: FPM:
 China.--
  Innerspring                          ***            ***            ***          ***             ***
   Non-innerspring                     ***            ***            ***          ***             ***
   Hybrid                              ***            ***            ***          ***             ***
     All product types                 ***            ***            ***          ***             ***
 U.S. importers: All
 packaging: China.--
  Innerspring                          ***            ***            ***          ***             ***
   Non-innerspring                     ***            ***            ***          ***             ***
   Hybrid                              ***            ***            ***          ***             ***
     All product types                 ***            ***            ***          ***             ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 China.--
  Innerspring                          ***            ***            ***          ***             ***
   Non-innerspring                     ***            ***            ***          ***             ***
   Hybrid                              ***            ***            ***          ***             ***
     All product types                 ***            ***            ***          ***             ***
 U.S. importers: FPM:
 China.--
  Innerspring                          ***            ***            ***          ***             ***
   Non-innerspring                     ***            ***            ***          ***             ***
   Hybrid                              ***            ***            ***          ***             ***
     All product types                 ***            ***            ***          ***             ***
 U.S. importers: All
 packaging: China.--
  Innerspring                          ***            ***            ***          ***             ***
   Non-innerspring                     ***            ***            ***          ***             ***
   Hybrid                              ***            ***            ***          ***             ***
     All product types                 ***            ***            ***          ***             ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                   Item                  2017         2018       2019         2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: China.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: FPM: China.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 China.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: China.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: FPM: China.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 China.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                   Item                   2017        2018        2019       2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: China.--
  Innerspring                                  ***         ***        ***         ***         ***
   Non-innerspring                             ***         ***        ***         ***         ***
   Hybrid                                      ***         ***        ***         ***         ***
     All product types                         ***         ***        ***         ***         ***
 U.S. importers: FPM: China.--
  Innerspring                                  ***         ***        ***         ***         ***
   Non-innerspring                             ***         ***        ***         ***         ***
   Hybrid                                      ***         ***        ***         ***         ***
     All product types                         ***         ***        ***         ***         ***
 U.S. importers: All packaging: China.--
  Innerspring                                  ***         ***        ***         ***         ***
   Non-innerspring                             ***         ***        ***         ***         ***
   Hybrid                                      ***         ***        ***         ***         ***
     All product types                         ***         ***        ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: China.--
  Innerspring                                  ***         ***        ***         ***         ***
   Non-innerspring                             ***         ***        ***         ***         ***
   Hybrid                                      ***         ***        ***         ***         ***
     All product types                         ***         ***        ***         ***         ***
 U.S. importers: FPM: China.--
  Innerspring                                  ***         ***        ***         ***         ***
   Non-innerspring                             ***         ***        ***         ***         ***
   Hybrid                                      ***         ***        ***         ***         ***
     All product types                         ***         ***        ***         ***         ***
 U.S. importers: All packaging: China.--
  Innerspring                                  ***         ***        ***         ***         ***
   Non-innerspring                             ***         ***        ***         ***         ***
   Hybrid                                      ***         ***        ***         ***         ***
     All product types                         ***         ***        ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year            January to September
                    Item                 2017       2018        2019         2019      2020
                                                            Quantity (units)
 U.S. importers: MiBs: Indonesia.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: FPM: Indonesia.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: All packaging:
 Indonesia.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
                                                          Value (1,000 dollars)
 U.S. importers: MiBs: Indonesia.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: FPM: Indonesia.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: All packaging:
 Indonesia.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                2017        2018           2019             2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Indonesia.--
   Innerspring                        ***         ***                ***           ***            ***
    Non-innerspring                   ***         ***                ***           ***            ***
    Hybrid                            ***         ***                ***           ***            ***
      All product types               ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Indonesia.--
   Innerspring                        ***         ***                ***           ***            ***
    Non-innerspring                   ***         ***                ***           ***            ***
    Hybrid                            ***         ***                ***           ***            ***
      All product types               ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Indonesia.--
   Innerspring                        ***         ***                ***           ***            ***
    Non-innerspring                   ***         ***                ***           ***            ***
    Hybrid                            ***         ***                ***           ***            ***
      All product types               ***         ***                ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Indonesia.--
   Innerspring                        ***         ***                ***           ***            ***
    Non-innerspring                   ***         ***                ***           ***            ***
    Hybrid                            ***         ***                ***           ***            ***
      All product types               ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Indonesia.--
   Innerspring                        ***         ***                ***           ***            ***
    Non-innerspring                   ***         ***                ***           ***            ***
    Hybrid                            ***         ***                ***           ***            ***
      All product types               ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Indonesia.--
   Innerspring                        ***         ***                ***           ***            ***
    Non-innerspring                   ***         ***                ***           ***            ***
    Hybrid                            ***         ***                ***           ***            ***
      All product types               ***         ***                ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                    Item                2017       2018         2019          2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Indonesia.--
   Innerspring                               ***        ***           ***          ***        ***
    Non-innerspring                          ***        ***           ***          ***        ***
    Hybrid                                   ***        ***           ***          ***        ***
      All product types                      ***        ***           ***          ***        ***
 U.S. importers: FPM: Indonesia.--
   Innerspring                               ***        ***           ***          ***        ***
    Non-innerspring                          ***        ***           ***          ***        ***
    Hybrid                                   ***        ***           ***          ***        ***
      All product types                      ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Indonesia.--
   Innerspring                               ***        ***           ***          ***        ***
    Non-innerspring                          ***        ***           ***          ***        ***
    Hybrid                                   ***        ***           ***          ***        ***
      All product types                      ***        ***           ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Indonesia.--
   Innerspring                               ***        ***           ***          ***        ***
    Non-innerspring                          ***        ***           ***          ***        ***
    Hybrid                                   ***        ***           ***          ***        ***
      All product types                      ***        ***           ***          ***        ***
 U.S. importers: FPM: Indonesia.--
   Innerspring                               ***        ***           ***          ***        ***
    Non-innerspring                          ***        ***           ***          ***        ***
    Hybrid                                   ***        ***           ***          ***        ***
      All product types                      ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Indonesia.--
   Innerspring                               ***        ***           ***          ***        ***
    Non-innerspring                          ***        ***           ***          ***        ***
    Hybrid                                   ***        ***           ***          ***        ***
      All product types                      ***        ***           ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                    Item                 2017       2018        2019         2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Indonesia.--
   Innerspring                               ***        ***           ***         ***         ***
    Non-innerspring                          ***        ***           ***         ***         ***
    Hybrid                                   ***        ***           ***         ***         ***
      All product types                      ***        ***           ***         ***         ***
 U.S. importers: FPM: Indonesia.--
   Innerspring                               ***        ***           ***         ***         ***
    Non-innerspring                          ***        ***           ***         ***         ***
    Hybrid                                   ***        ***           ***         ***         ***
      All product types                      ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Indonesia.--
   Innerspring                               ***        ***           ***         ***         ***
    Non-innerspring                          ***        ***           ***         ***         ***
    Hybrid                                   ***        ***           ***         ***         ***
      All product types                      ***        ***           ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Indonesia.--
   Innerspring                               ***        ***           ***         ***         ***
    Non-innerspring                          ***        ***           ***         ***         ***
    Hybrid                                   ***        ***           ***         ***         ***
      All product types                      ***        ***           ***         ***         ***
 U.S. importers: FPM: Indonesia.--
   Innerspring                               ***        ***           ***         ***         ***
    Non-innerspring                          ***        ***           ***         ***         ***
    Hybrid                                   ***        ***           ***         ***         ***
      All product types                      ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Indonesia.--
   Innerspring                               ***        ***           ***         ***         ***
    Non-innerspring                          ***        ***           ***         ***         ***
    Hybrid                                   ***        ***           ***         ***         ***
      All product types                      ***        ***           ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                  2017       2018        2019          2019      2020
                                                             Quantity (units)
 U.S. importers: MiBs: Malaysia.--
  Innerspring                                ***         ***          ***         ***        ***
   Non-innerspring                           ***         ***          ***         ***        ***
   Hybrid                                    ***         ***          ***         ***        ***
     All product types                       ***         ***          ***         ***        ***
 U.S. importers: FPM: Malaysia.--
  Innerspring                                ***         ***          ***         ***        ***
   Non-innerspring                           ***         ***          ***         ***        ***
   Hybrid                                    ***         ***          ***         ***        ***
     All product types                       ***         ***          ***         ***        ***
 U.S. importers: All packaging:
 Malaysia.--
  Innerspring                                ***         ***          ***         ***        ***
   Non-innerspring                           ***         ***          ***         ***        ***
   Hybrid                                    ***         ***          ***         ***        ***
     All product types                       ***         ***          ***         ***        ***
                                                          Value (1,000 dollars)
 U.S. importers: MiBs: Malaysia.--
  Innerspring                                ***         ***          ***         ***        ***
   Non-innerspring                           ***         ***          ***         ***        ***
   Hybrid                                    ***         ***          ***         ***        ***
     All product types                       ***         ***          ***         ***        ***
 U.S. importers: FPM: Malaysia.--
  Innerspring                                ***         ***          ***         ***        ***
   Non-innerspring                           ***         ***          ***         ***        ***
   Hybrid                                    ***         ***          ***         ***        ***
     All product types                       ***         ***          ***         ***        ***
 U.S. importers: All packaging:
 Malaysia.--
  Innerspring                                ***         ***          ***         ***        ***
   Non-innerspring                           ***         ***          ***         ***        ***
   Hybrid                                    ***         ***          ***         ***        ***
     All product types                       ***         ***          ***         ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                2017        2018           2019             2019          2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Malaysia.--
  Innerspring                         ***         ***                ***          ***             ***
   Non-innerspring                    ***         ***                ***          ***             ***
   Hybrid                             ***         ***                ***          ***             ***
     All product types                ***         ***                ***          ***             ***
 U.S. importers: FPM:
 Malaysia.--
  Innerspring                         ***         ***                ***          ***             ***
   Non-innerspring                    ***         ***                ***          ***             ***
   Hybrid                             ***         ***                ***          ***             ***
     All product types                ***         ***                ***          ***             ***
 U.S. importers: All
 packaging: Malaysia.--
  Innerspring                         ***         ***                ***          ***             ***
   Non-innerspring                    ***         ***                ***          ***             ***
   Hybrid                             ***         ***                ***          ***             ***
     All product types                ***         ***                ***          ***             ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Malaysia.--
  Innerspring                         ***         ***                ***          ***             ***
   Non-innerspring                    ***         ***                ***          ***             ***
   Hybrid                             ***         ***                ***          ***             ***
     All product types                ***         ***                ***          ***             ***
 U.S. importers: FPM:
 Malaysia.--
  Innerspring                         ***         ***                ***          ***             ***
   Non-innerspring                    ***         ***                ***          ***             ***
   Hybrid                             ***         ***                ***          ***             ***
     All product types                ***         ***                ***          ***             ***
 U.S. importers: All
 packaging: Malaysia.--
  Innerspring                         ***         ***                ***          ***             ***
   Non-innerspring                    ***         ***                ***          ***             ***
   Hybrid                             ***         ***                ***          ***             ***
     All product types                ***         ***                ***          ***             ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                 2017       2018         2019          2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Malaysia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Malaysia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Malaysia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Malaysia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Malaysia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Malaysia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                  2017       2018        2019         2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Malaysia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: FPM: Malaysia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Malaysia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Malaysia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: FPM: Malaysia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Malaysia.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year             January to September
                   Item                   2017        2018       2019          2019       2020
                                                              Quantity (units)
 U.S. importers: MiBs: Serbia.--
  Innerspring                                   ***       ***          ***          ***        ***
   Non-innerspring                              ***       ***          ***          ***        ***
   Hybrid                                       ***       ***          ***          ***        ***
     All product types                          ***       ***          ***          ***        ***
 U.S. importers: FPM: Serbia.--
  Innerspring                                   ***       ***          ***          ***        ***
   Non-innerspring                              ***       ***          ***          ***        ***
   Hybrid                                       ***       ***          ***          ***        ***
     All product types                          ***       ***          ***          ***        ***
 U.S. importers: All packaging: Serbia.--
  Innerspring                                   ***       ***          ***          ***        ***
   Non-innerspring                              ***       ***          ***          ***        ***
   Hybrid                                       ***       ***          ***          ***        ***
     All product types                          ***       ***          ***          ***        ***
                                                          Value (1,000 dollars)
 U.S. importers: MiBs: Serbia.--                ***       ***          ***          ***        ***
  Innerspring
   Non-innerspring                              ***       ***          ***          ***        ***
   Hybrid                                       ***       ***          ***          ***        ***
     All product types                          ***       ***          ***          ***        ***
 U.S. importers: FPM: Serbia.--                 ***       ***          ***          ***        ***
  Innerspring
   Non-innerspring                              ***       ***          ***          ***        ***
   Hybrid                                       ***       ***          ***          ***        ***
     All product types                          ***       ***          ***          ***        ***
 U.S. importers: All packaging: Serbia.--       ***       ***          ***          ***        ***
  Innerspring
   Non-innerspring                              ***       ***          ***          ***        ***
   Hybrid                                       ***       ***          ***          ***        ***
     All product types                          ***       ***          ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
            Item                  2017          2018           2019         2019          2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Serbia.--
  Innerspring                          ***            ***            ***         ***              ***
   Non-innerspring                     ***            ***            ***         ***              ***
   Hybrid                              ***            ***            ***         ***              ***
     All product types                 ***            ***            ***         ***              ***
 U.S. importers: FPM:
 Serbia.--
  Innerspring                          ***            ***            ***         ***              ***
   Non-innerspring                     ***            ***            ***         ***              ***
   Hybrid                              ***            ***            ***         ***              ***
     All product types                 ***            ***            ***         ***              ***
 U.S. importers: All
 packaging: Serbia.--
  Innerspring                          ***            ***            ***         ***              ***
   Non-innerspring                     ***            ***            ***         ***              ***
   Hybrid                              ***            ***            ***         ***              ***
     All product types                 ***            ***            ***         ***              ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Serbia.--
  Innerspring                          ***            ***            ***         ***              ***
   Non-innerspring                     ***            ***            ***         ***              ***
   Hybrid                              ***            ***            ***         ***              ***
     All product types                 ***            ***            ***         ***              ***
 U.S. importers: FPM:
 Serbia.--
  Innerspring                          ***            ***            ***         ***              ***
   Non-innerspring                     ***            ***            ***         ***              ***
   Hybrid                              ***            ***            ***         ***              ***
     All product types                 ***            ***            ***         ***              ***
 U.S. importers: All
 packaging: Serbia.--
  Innerspring                          ***            ***            ***         ***              ***
   Non-innerspring                     ***            ***            ***         ***              ***
   Hybrid                              ***            ***            ***         ***              ***
     All product types                 ***            ***            ***         ***              ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                 2017       2018         2019          2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Serbia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Serbia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Serbia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Serbia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Serbia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Serbia.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
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Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year             January to September
                   Item                   2017       2018        2019         2019        2020
                                                          Share of value (percent)
 U.S. importers: MiBs: Serbia.--
  Innerspring                                 ***        ***           ***         ***         ***
   Non-innerspring                            ***        ***           ***         ***         ***
   Hybrid                                     ***        ***           ***         ***         ***
     All product types                        ***        ***           ***         ***         ***
 U.S. importers: FPM: Serbia.--
  Innerspring                                 ***        ***           ***         ***         ***
   Non-innerspring                            ***        ***           ***         ***         ***
   Hybrid                                     ***        ***           ***         ***         ***
     All product types                        ***        ***           ***         ***         ***
 U.S. importers: All packaging: Serbia.--
  Innerspring                                 ***        ***           ***         ***         ***
   Non-innerspring                            ***        ***           ***         ***         ***
   Hybrid                                     ***        ***           ***         ***         ***
     All product types                        ***        ***           ***         ***         ***
                                          Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Serbia.--
  Innerspring                                 ***        ***           ***         ***         ***
   Non-innerspring                            ***        ***           ***         ***         ***
   Hybrid                                     ***        ***           ***         ***         ***
     All product types                        ***        ***           ***         ***         ***
 U.S. importers: FPM: Serbia.--
  Innerspring                                 ***        ***           ***         ***         ***
   Non-innerspring                            ***        ***           ***         ***         ***
   Hybrid                                     ***        ***           ***         ***         ***
     All product types                        ***        ***           ***         ***         ***
 U.S. importers: All packaging: Serbia.--
  Innerspring                                 ***        ***           ***         ***         ***
   Non-innerspring                            ***        ***           ***         ***         ***
   Hybrid                                     ***        ***           ***         ***         ***
     All product types                        ***        ***           ***         ***         ***
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Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year            January to September
                   Item                 2017      2018        2019           2019       2020
                                                            Quantity (units)
 U.S. importers: MiBs: Thailand.--
  Innerspring                               ***      ***             ***          ***        ***
   Non-innerspring                          ***      ***             ***          ***        ***
   Hybrid                                   ***      ***             ***          ***        ***
     All product types                      ***      ***             ***          ***        ***
 U.S. importers: FPM: Thailand.--
  Innerspring                               ***      ***             ***          ***        ***
   Non-innerspring                          ***      ***             ***          ***        ***
   Hybrid                                   ***      ***             ***          ***        ***
     All product types                      ***      ***             ***          ***        ***
 U.S. importers: All packaging:
 Thailand.--
  Innerspring                               ***      ***             ***          ***        ***
   Non-innerspring                          ***      ***             ***          ***        ***
   Hybrid                                   ***      ***             ***          ***        ***
     All product types                      ***      ***             ***          ***        ***
                                                          Value (1,000 dollars)
 U.S. importers: MiBs: Thailand.--
  Innerspring                               ***      ***             ***          ***        ***
   Non-innerspring                          ***      ***             ***          ***        ***
   Hybrid                                   ***      ***             ***          ***        ***
     All product types                      ***      ***             ***          ***        ***
 U.S. importers: FPM: Thailand.--
  Innerspring                               ***      ***             ***          ***        ***
   Non-innerspring                          ***      ***             ***          ***        ***
   Hybrid                                   ***      ***             ***          ***        ***
     All product types                      ***      ***             ***          ***        ***
 U.S. importers: All packaging:
 Thailand.--
  Innerspring                               ***      ***             ***          ***        ***
   Non-innerspring                          ***      ***             ***          ***        ***
   Hybrid                                   ***      ***             ***          ***        ***
     All product types                      ***      ***             ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                2017        2018           2019             2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Thailand.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Thailand.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Thailand.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Thailand.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Thailand.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Thailand.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                 2017       2018         2019          2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Thailand.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Thailand.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Thailand.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Thailand.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: FPM: Thailand.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
 U.S. importers: All packaging:
 Thailand.--
  Innerspring                                ***        ***           ***          ***        ***
   Non-innerspring                           ***        ***           ***          ***        ***
   Hybrid                                    ***        ***           ***          ***        ***
     All product types                       ***        ***           ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year             January to September
                   Item                  2017       2018        2019         2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Thailand.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: FPM: Thailand.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Thailand.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Thailand.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: FPM: Thailand.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
 U.S. importers: All packaging:
 Thailand.--
  Innerspring                                ***        ***           ***         ***         ***
   Non-innerspring                           ***        ***           ***         ***         ***
   Hybrid                                    ***        ***           ***         ***         ***
     All product types                       ***        ***           ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year            January to September
                    Item                 2017     2018        2019           2019      2020
                                                            Quantity (units)
 U.S. importers: MiBs: Turkey.--
   Innerspring                              ***      ***             ***         ***        ***
    Non-innerspring                         ***      ***             ***         ***        ***
    Hybrid                                  ***      ***             ***         ***        ***
      All product types                     ***      ***             ***         ***        ***
 U.S. importers: FPM: Turkey.--
   Innerspring                              ***      ***             ***         ***        ***
    Non-innerspring                         ***      ***             ***         ***        ***
    Hybrid                                  ***      ***             ***         ***        ***
      All product types                     ***      ***             ***         ***        ***
 U.S. importers: All packaging: Turkey.-
 -
   Innerspring                              ***      ***             ***         ***        ***
    Non-innerspring                         ***      ***             ***         ***        ***
    Hybrid                                  ***      ***             ***         ***        ***
      All product types                     ***      ***             ***         ***        ***
                                                          Value (1,000 dollars)
 U.S. importers: MiBs: Turkey.--
   Innerspring                              ***      ***             ***         ***        ***
    Non-innerspring                         ***      ***             ***         ***        ***
    Hybrid                                  ***      ***             ***         ***        ***
      All product types                     ***      ***             ***         ***        ***
 U.S. importers: FPM: Turkey.--
   Innerspring                              ***      ***             ***         ***        ***
    Non-innerspring                         ***      ***             ***         ***        ***
    Hybrid                                  ***      ***             ***         ***        ***
      All product types                     ***      ***             ***         ***        ***
 U.S. importers: All packaging: Turkey.-
 -
   Innerspring                              ***      ***             ***         ***        ***
    Non-innerspring                         ***      ***             ***         ***        ***
    Hybrid                                  ***      ***             ***         ***        ***
      All product types                     ***      ***             ***         ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
            Item                 2017        2018           2019             2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Turkey.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Turkey.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Turkey.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Turkey.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: FPM:
 Turkey.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
 U.S. importers: All
 packaging: Turkey.--
  Innerspring                         ***         ***                ***           ***            ***
   Non-innerspring                    ***         ***                ***           ***            ***
   Hybrid                             ***         ***                ***           ***            ***
     All product types                ***         ***                ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                   Item                  2017         2018       2019         2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Turkey.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: FPM: Turkey.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Turkey.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Turkey.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: FPM: Turkey.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Turkey.--
  Innerspring                                 ***         ***         ***          ***        ***
   Non-innerspring                            ***         ***         ***          ***        ***
   Hybrid                                     ***         ***         ***          ***        ***
     All product types                        ***         ***         ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                  2017        2018        2019       2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Turkey.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Turkey.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging: Turkey.-
 -
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Turkey.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Turkey.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging: Turkey.-
 -
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                 Calendar year            January to September
                    Item                 2017      2018         2019         2019      2020
                                                            Quantity (units)
 U.S. importers: MiBs: Vietnam.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: FPM: Vietnam.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: All packaging:
 Vietnam.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
                                                          Value (1,000 dollars)
 U.S. importers: MiBs: Vietnam.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: FPM: Vietnam.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
 U.S. importers: All packaging:
 Vietnam.--
   Innerspring                               ***        ***          ***         ***        ***
    Non-innerspring                          ***        ***          ***         ***        ***
    Hybrid                                   ***        ***          ***         ***        ***
      All product types                      ***        ***          ***         ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                 2017         2018          2019            2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Vietnam.--
   Innerspring                         ***          ***              ***           ***            ***
    Non-innerspring                    ***          ***              ***           ***            ***
    Hybrid                             ***          ***              ***           ***            ***
      All product types                ***          ***              ***           ***            ***
 U.S. importers: FPM:
 Vietnam.--
   Innerspring                         ***          ***              ***           ***            ***
    Non-innerspring                    ***          ***              ***           ***            ***
    Hybrid                             ***          ***              ***           ***            ***
      All product types                ***          ***              ***           ***            ***
 U.S. importers: All
 packaging: Vietnam.--
   Innerspring                         ***          ***              ***           ***            ***
    Non-innerspring                    ***          ***              ***           ***            ***
    Hybrid                             ***          ***              ***           ***            ***
      All product types                ***          ***              ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Vietnam.--
   Innerspring                         ***          ***              ***           ***            ***
    Non-innerspring                    ***          ***              ***           ***            ***
    Hybrid                             ***          ***              ***           ***            ***
      All product types                ***          ***              ***           ***            ***
 U.S. importers: FPM:
 Vietnam.--
   Innerspring                         ***          ***              ***           ***            ***
    Non-innerspring                    ***          ***              ***           ***            ***
    Hybrid                             ***          ***              ***           ***            ***
      All product types                ***          ***              ***           ***            ***
 U.S. importers: All
 packaging: Vietnam.--
   Innerspring                         ***          ***              ***           ***            ***
    Non-innerspring                    ***          ***              ***           ***            ***
    Hybrid                             ***          ***              ***           ***            ***
      All product types                ***          ***              ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                 2017         2018       2019         2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Vietnam.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: Vietnam.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Vietnam.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Vietnam.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: Vietnam.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Vietnam.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                  2017        2018        2019       2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Vietnam.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Vietnam.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging:
 Vietnam.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Vietnam.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Vietnam.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging:
 Vietnam.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
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Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                               Calendar year                January to September
                 Item                 2017         2018         2019          2019        2020
                                                           Quantity (units)
 U.S. importers: MiBs: Subject
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: FPM: Subject
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: All packaging:
 Subject sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
                                                        Value (1,000 dollars)
 U.S. importers: MiBs: Subject
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: FPM: Subject
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: All packaging:
 Subject sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                 2017          2018           2019          2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Subject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: FPM:
 Subject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: All
 packaging: Subject
 sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Subject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: FPM:
 Subject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: All
 packaging: Subject
 sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
Table continued on next page.
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                                           Appx15198
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                 2017         2018       2019         2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Subject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: Subject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Subject sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Subject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: Subject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Subject sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                  2017        2018        2019       2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Subject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Subject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging: Subject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Subject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Subject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging: Subject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                Calendar year               January to September
                  Item                2017          2018         2019         2019        2020
                                                           Quantity (units)
 U.S. importers: MiBs: Nonsubject
 sources.--
   Innerspring                              ***          ***          ***          ***         ***
    Non-innerspring                         ***          ***          ***          ***         ***
    Hybrid                                  ***          ***          ***          ***         ***
      All product types                     ***          ***          ***          ***         ***
 U.S. importers: FPM: Nonsubject
 sources.--
   Innerspring                              ***          ***          ***          ***         ***
    Non-innerspring                         ***          ***          ***          ***         ***
    Hybrid                                  ***          ***          ***          ***         ***
      All product types                     ***          ***          ***          ***         ***
 U.S. importers: All packaging:
 Nonsubject sources.--
   Innerspring                              ***          ***          ***          ***         ***
    Non-innerspring                         ***          ***          ***          ***         ***
    Hybrid                                  ***          ***          ***          ***         ***
      All product types                     ***          ***          ***          ***         ***
                                                        Value (1,000 dollars)
 U.S. importers: MiBs: Nonsubject
 sources.--
   Innerspring                              ***          ***          ***          ***         ***
    Non-innerspring                         ***          ***          ***          ***         ***
    Hybrid                                  ***          ***          ***          ***         ***
      All product types                     ***          ***          ***          ***         ***
 U.S. importers: FPM: Nonsubject
 sources.--
   Innerspring                              ***          ***          ***          ***         ***
    Non-innerspring                         ***          ***          ***          ***         ***
    Hybrid                                  ***          ***          ***          ***         ***
      All product types                     ***          ***          ***          ***         ***
 U.S. importers: All packaging:
 Nonsubject sources.--
   Innerspring                              ***          ***          ***          ***         ***
    Non-innerspring                         ***          ***          ***          ***         ***
    Hybrid                                  ***          ***          ***          ***         ***
      All product types                     ***          ***          ***          ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                 2017          2018           2019          2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs:
 Nonsubject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: FPM:
 Nonsubject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: All
 packaging: Nonsubject
 sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs:
 Nonsubject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: FPM:
 Nonsubject sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: All
 packaging: Nonsubject
 sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                 2017         2018       2019         2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: Nonsubject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: Nonsubject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Nonsubject sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: Nonsubject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: Nonsubject
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging:
 Nonsubject sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                  2017        2018        2019       2019        2020
                                                         Share of value (percent)
 U.S. importers: MiBs: Nonsubject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Nonsubject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging:
 Nonsubject sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
                                         Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: Nonsubject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: FPM: Nonsubject
 sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
 U.S. importers: All packaging:
 Nonsubject sources.--
   Innerspring                                 ***         ***        ***         ***         ***
    Non-innerspring                            ***         ***        ***         ***         ***
    Hybrid                                     ***         ***        ***         ***         ***
      All product types                        ***         ***        ***         ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                               Calendar year                January to September
                 Item                 2017         2018         2019          2019        2020
                                                           Quantity (units)
 U.S. importers: MiBs: All import
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: FPM: All import
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: All packaging: All
 import sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
                                                        Value (1,000 dollars)
 U.S. importers: MiBs: All import
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: FPM: All import
 sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
 U.S. importers: All packaging: All
 import sources.--
   Innerspring                             ***          ***           ***          ***         ***
    Non-innerspring                        ***          ***           ***          ***         ***
    Hybrid                                 ***          ***           ***          ***         ***
      All product types                    ***          ***           ***          ***         ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                            Calendar year                   January to September
             Item                 2017          2018           2019          2019           2020
                                                   Unit value (dollars per unit)
 U.S. importers: MiBs: All
 import sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: FPM: All
 import sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: All
 packaging: All import
 sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
                              Difference from AUV for this source for all products (dollars per unit)
 U.S. importers: MiBs: All
 import sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: FPM: All
 import sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
 U.S. importers: All
 packaging: All import
 sources.--
   Innerspring                         ***            ***            ***           ***            ***
    Non-innerspring                    ***            ***            ***           ***            ***
    Hybrid                             ***            ***            ***           ***            ***
      All product types                ***            ***            ***           ***            ***
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Table F-2--Continued
Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                  Calendar year            January to September
                    Item                 2017         2018       2019         2019       2020
                                                       Share of quantity (percent)
 U.S. importers: MiBs: All import
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: All import
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging: All
 import sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
                                       Ratio to overall apparent consumption quantity (percent)
 U.S. importers: MiBs: All import
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: FPM: All import
 sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
 U.S. importers: All packaging: All
 import sources.--
   Innerspring                                ***         ***         ***          ***        ***
    Non-innerspring                           ***         ***         ***          ***        ***
    Hybrid                                    ***         ***         ***          ***        ***
      All product types                       ***         ***         ***          ***        ***
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Mattresses: U.S. importers’ U.S. shipments, by product type and packaging, 2017-19, January to
September 2019, and January to September 2020
                                                     Calendar year               January to September
                    Item                     2017        2018         2019         2019          2020
                                                            Share of value (percent)
 U.S. importers: MiBs: All import
 sources.--
   Innerspring                                    ***         ***          ***           ***          ***
    Non-innerspring                               ***         ***          ***           ***          ***
    Hybrid                                        ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. importers: FPM: All import
 sources.--
   Innerspring                                    ***         ***          ***           ***          ***
    Non-innerspring                               ***         ***          ***           ***          ***
    Hybrid                                        ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. importers: All packaging: All
 import sources.--
   Innerspring                                    ***         ***          ***           ***          ***
    Non-innerspring                               ***         ***          ***           ***          ***
    Hybrid                                        ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
                                            Ratio to overall apparent consumption value (percent)
 U.S. importers: MiBs: All import
 sources.--
   Innerspring                                    ***         ***          ***           ***          ***
    Non-innerspring                               ***         ***          ***           ***          ***
    Hybrid                                        ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. importers: FPM: All import
 sources.--
   Innerspring                                    ***         ***          ***           ***          ***
    Non-innerspring                               ***         ***          ***           ***          ***
    Hybrid                                        ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
 U.S. importers: All packaging: All
 import sources.--
   Innerspring                                    ***         ***          ***           ***          ***
    Non-innerspring                               ***         ***          ***           ***          ***
    Hybrid                                        ***         ***          ***           ***          ***
      All product types                           ***         ***          ***           ***          ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
        
Source: Compiled from data submitted in response to Commission questionnaires.
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Table F-3
Mattresses: U.S. producers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                             Calendar year                    January to September
              Item                2017            2018           2019            2019           2020
                                                           Quantity (units)
 U.S. producers' U.S.
 shipments.--
   Crib                                  ***           ***             ***             ***            ***
   All other mattresses                  ***           ***             ***             ***            ***
      All sizes                          ***           ***             ***             ***            ***
                                                        Value (1,000 dollars)
 U.S. producers' U.S.
 shipments.--
   Crib                                  ***           ***             ***             ***            ***
   All other mattresses                  ***           ***             ***             ***            ***
      All sizes                          ***           ***             ***             ***            ***
                                                     Unit value (dollars per unit)
 U.S. producers' U.S.
 shipments.--
   Crib                                  ***           ***             ***             ***            ***
   All other mattresses                  ***           ***             ***             ***            ***
      All sizes                          ***           ***             ***             ***            ***
                                                     Share of quantity (percent)
 U.S. producers' U.S.
 shipments.--
   Crib                                  ***           ***             ***             ***            ***
   Non-crib                              ***           ***             ***             ***            ***
      All sizes                          ***           ***             ***             ***            ***
                                                      Share of value (percent)
 U.S. producers' U.S.
 shipments.--
   Crib                                  ***           ***             ***             ***            ***
   All other mattresses                  ***           ***             ***             ***            ***
      All sizes                          ***           ***             ***             ***            ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
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Source: Compiled from data submitted in response to Commission questionnaires.
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Table F-4
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year             January to September
                   Item                 2017      2018         2019           2019       2020
                                                             Quantity (units)
 U.S. importers' U.S. shipments from
 Cambodia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                          Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Cambodia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                       Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Cambodia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                       Share of quantity (percent)
 U.S. importers' U.S. shipments from
 Cambodia.--
  Crib                                      ***      ***              ***          ***        ***
   Non-crib                                 ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments from
 Cambodia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
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                                         Appx15210
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                Calendar year               January to September
                  Item                2017          2018         2019          2019       2020
                                                           Quantity (units)
 U.S. importers' U.S. shipments
 from China.--
   Crib                                     ***          ***           ***          ***       ***
    All other mattresses                    ***          ***           ***          ***       ***
      All sizes                             ***          ***           ***          ***       ***
                                                        Value (1,000 dollars)
 U.S. importers' U.S. shipments
 from China.--
   Crib                                     ***          ***           ***          ***       ***
    All other mattresses                    ***          ***           ***          ***       ***
      All sizes                             ***          ***           ***          ***       ***
                                                     Unit value (dollars per unit)
 U.S. importers' U.S. shipments
 from China.--
   Crib                                     ***          ***           ***          ***       ***
    All other mattresses                    ***          ***           ***          ***       ***
      All sizes                             ***          ***           ***          ***       ***
                                                     Share of quantity (percent)
 U.S. importers' U.S. shipments
 from China.--
   Crib                                     ***          ***           ***          ***       ***
    Non-crib                                ***          ***           ***          ***       ***
      All sizes                             ***          ***           ***          ***       ***
                                                      Share of value (percent)
 U.S. importers' U.S. shipments
 from China.--
   Crib                                     ***          ***           ***          ***       ***
    All other mattresses                    ***          ***           ***          ***       ***
      All sizes                             ***          ***           ***          ***       ***
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                                         Appx15211
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year              January to September
                   Item                 2017     2018          2019            2019      2020
                                                              Quantity (units)
 U.S. importers' U.S. shipments from
 Indonesia.--
   Crib                                    ***      ***                ***         ***        ***
   All other mattresses                    ***      ***                ***         ***        ***
      All sizes                            ***      ***                ***         ***        ***
                                                           Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Indonesia.--
   Crib                                    ***      ***                ***         ***        ***
   All other mattresses                    ***      ***                ***         ***        ***
      All sizes                            ***      ***                ***         ***        ***
                                                        Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Indonesia.--
   Crib                                    ***      ***                ***         ***        ***
   All other mattresses                    ***      ***                ***         ***        ***
      All sizes                            ***      ***                ***         ***        ***
                                                        Share of quantity (percent)
 U.S. importers' U.S. shipments from
 Indonesia.--
   Crib                                    ***      ***                ***         ***        ***
   Non-crib                                ***      ***                ***         ***        ***
      All sizes                            ***      ***                ***         ***        ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments from
 Indonesia.--
   Crib                                    ***      ***                ***         ***        ***
   All other mattresses                    ***      ***                ***         ***        ***
      All sizes                            ***      ***                ***         ***        ***
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                                         Appx15212
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year             January to September
                   Item                 2017      2018         2019           2019      2020
                                                             Quantity (units)
 U.S. importers' U.S. shipments from
 Malaysia.--
  Crib                                      ***      ***              ***         ***        ***
   All other mattresses                     ***      ***              ***         ***        ***
     All sizes                              ***      ***              ***         ***        ***
                                                          Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Malaysia.--
  Crib                                      ***      ***              ***         ***        ***
   All other mattresses                     ***      ***              ***         ***        ***
     All sizes                              ***      ***              ***         ***        ***
                                                       Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Malaysia.--
  Crib                                      ***      ***              ***         ***        ***
   All other mattresses                     ***      ***              ***         ***        ***
     All sizes                              ***      ***              ***         ***        ***
                                                       Share of quantity (percent)
 U.S. importers' U.S. shipments from
 Malaysia.--
  Crib                                      ***      ***              ***         ***        ***
   Non-crib                                 ***      ***              ***         ***        ***
     All sizes                              ***      ***              ***         ***        ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments from
 Malaysia.--
  Crib                                      ***      ***              ***         ***        ***
   All other mattresses                     ***      ***              ***         ***        ***
     All sizes                              ***      ***              ***         ***        ***
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                                        Appx15213
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year             January to September
                   Item                 2017      2018         2019           2019       2020
                                                             Quantity (units)
 U.S. importers' U.S. shipments from
 Serbia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                          Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Serbia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                       Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Serbia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                       Share of quantity (percent)
 U.S. importers' U.S. shipments from
 Serbia.--
  Crib                                      ***      ***              ***          ***        ***
   Non-crib                                 ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments from
 Serbia.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
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                                         Appx15214
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year             January to September
                   Item                 2017      2018         2019           2019       2020
                                                             Quantity (units)
 U.S. importers' U.S. shipments from
 Thailand.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                          Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Thailand.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                       Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Thailand.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                       Share of quantity (percent)
 U.S. importers' U.S. shipments from
 Thailand.--
  Crib                                      ***      ***              ***          ***        ***
   Non-crib                                 ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments from
 Thailand.--
  Crib                                      ***      ***              ***          ***        ***
   All other mattresses                     ***      ***              ***          ***        ***
     All sizes                              ***      ***              ***          ***        ***
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                                         Appx15215
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year             January to September
                   Item                  2017       2018        2019          2019      2020
                                                             Quantity (units)
 U.S. importers' U.S. shipments from
 Turkey.--
  Crib                                       ***        ***           ***         ***        ***
   All other mattresses                      ***        ***           ***         ***        ***
     All sizes                               ***        ***           ***         ***        ***
                                                           Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Turkey.--
  Crib                                       ***        ***           ***         ***        ***
   All other mattresses                      ***        ***           ***         ***        ***
     All sizes                               ***        ***           ***         ***        ***
                                                       Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Turkey.--
  Crib                                       ***        ***           ***         ***        ***
   All other mattresses                      ***        ***           ***         ***        ***
     All sizes                               ***        ***           ***         ***        ***
                                                       Share of quantity (percent)
 U.S. importers' U.S. shipments from
 Turkey.--
  Crib                                       ***        ***           ***         ***        ***
   Non-crib                                  ***        ***           ***         ***        ***
     All sizes                               ***        ***           ***         ***        ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments from
 Turkey.--
  Crib                                       ***        ***           ***         ***        ***
   All other mattresses                      ***        ***           ***         ***        ***
     All sizes                               ***        ***           ***         ***        ***
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                                        Appx15216
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                 Calendar year             January to September
                   Item                  2017        2018        2019         2019      2020
                                                             Quantity (units)
 U.S. importers' U.S. shipments from
 Vietnam.--
   Crib                                      ***         ***          ***         ***        ***
   All other mattresses                      ***         ***          ***         ***        ***
      All sizes                              ***         ***          ***         ***        ***
                                                           Value (1,000 dollars)
 U.S. importers' U.S. shipments from
 Vietnam.--
   Crib                                      ***         ***          ***         ***        ***
   All other mattresses                      ***         ***          ***         ***        ***
      All sizes                              ***         ***          ***         ***        ***
                                                       Unit value (dollars per unit)
 U.S. importers' U.S. shipments from
 Vietnam.--
   Crib                                      ***         ***          ***         ***        ***
   All other mattresses                      ***         ***          ***         ***        ***
      All sizes                              ***         ***          ***         ***        ***
                                                       Share of quantity (percent)
 U.S. producers' U.S. shipments.--
   Crib                                      ***         ***          ***         ***        ***
   Non-crib                                  ***         ***          ***         ***        ***
      All sizes                              ***         ***          ***         ***        ***
                                                         Share of value (percent)
 U.S. producers' U.S. shipments.--
   Crib                                      ***         ***          ***         ***        ***
   All other mattresses                      ***         ***          ***         ***        ***
      All sizes                              ***         ***          ***         ***        ***
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                                        Appx15217
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                               Calendar year                January to September
                 Item                 2017         2018          2019         2019        2020
                                                           Quantity (units)
 U.S. importers' U.S. shipments
 from subject sources.--
   Crib                                    ***          ***           ***          ***         ***
    All other mattresses                   ***          ***           ***          ***         ***
      All sizes                            ***          ***           ***          ***         ***
                                                        Value (1,000 dollars)
 U.S. importers' U.S. shipments
 from subject sources.--
   Crib                                    ***          ***           ***          ***         ***
    All other mattresses                   ***          ***           ***          ***         ***
      All sizes                            ***          ***           ***          ***         ***
                                                     Unit value (dollars per unit)
 U.S. importers' U.S. shipments
 from subject sources.--
   Crib                                    ***          ***           ***          ***         ***
    All other mattresses                   ***          ***           ***          ***         ***
      All sizes                            ***          ***           ***          ***         ***
                                                     Share of quantity (percent)
 U.S. importers' U.S. shipments
 from subject sources.--
   Crib                                    ***          ***           ***          ***         ***
    Non-crib                               ***          ***           ***          ***         ***
      All sizes                            ***          ***           ***          ***         ***
                                                      Share of value (percent)
 U.S. importers' U.S. shipments
 from subject sources.--
   Crib                                    ***          ***           ***          ***         ***
    All other mattresses                   ***          ***           ***          ***         ***
      All sizes                            ***          ***           ***          ***         ***
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                                         Appx15218
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                Calendar year               January to September
                  Item                2017          2018         2019         2019        2020
                                                           Quantity (units)
 U.S. importers' U.S. shipments
 from nonsubject sources.--
   Crib                                     ***          ***           ***         ***         ***
    All other mattresses                    ***          ***           ***         ***         ***
      All sizes                             ***          ***           ***         ***         ***
                                                        Value (1,000 dollars)
 U.S. importers' U.S. shipments
 from nonsubject sources.--
   Crib                                     ***          ***           ***         ***         ***
    All other mattresses                    ***          ***           ***         ***         ***
      All sizes                             ***          ***           ***         ***         ***
                                                     Unit value (dollars per unit)
 U.S. importers' U.S. shipments
 from nonsubject sources.--
   Crib                                     ***          ***           ***         ***         ***
    All other mattresses                    ***          ***           ***         ***         ***
      All sizes                             ***          ***           ***         ***         ***
                                                     Share of quantity (percent)
 U.S. importers' U.S. shipments
 from nonsubject sources.--
   Crib                                     ***          ***           ***         ***         ***
    Non-crib                                ***          ***           ***         ***         ***
      All sizes                             ***          ***           ***         ***         ***
                                                      Share of value (percent)
 U.S. importers' U.S. shipments
 from nonsubject sources.--
   Crib                                     ***          ***           ***         ***         ***
    All other mattresses                    ***          ***           ***         ***         ***
      All sizes                             ***          ***           ***         ***         ***
Table continued on next page.
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                                         Appx15219
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Table F-4--Continued
Mattresses: U.S. importers’ U.S. shipments by size, 2017-19, January to September 2019, and
January to September 2020
                                                  Calendar year                 January to September
                 Item                    2017         2018          2019          2019           2020
                                                              Quantity (units)
 U.S. importers' U.S. shipments
 from all import sources.--
   Crib                                       ***          ***           ***            ***           ***
    All other mattresses                      ***          ***           ***            ***           ***
      All sizes                               ***          ***           ***            ***           ***
                                                           Value (1,000 dollars)
 U.S. importers' U.S. shipments
 from all import sources.--
   Crib                                       ***          ***           ***            ***           ***
    All other mattresses                      ***          ***           ***            ***           ***
      All sizes                               ***          ***           ***            ***           ***
                                                        Unit value (dollars per unit)
 U.S. importers' U.S. shipments
 from all import sources.--
   Crib                                       ***          ***           ***            ***           ***
    All other mattresses                      ***          ***           ***            ***           ***
      All sizes                               ***          ***           ***            ***           ***
                                                        Share of quantity (percent)
 U.S. importers' U.S. shipments
 from all import sources.--
   Crib                                       ***          ***           ***            ***           ***
    Non-crib                                  ***          ***           ***            ***           ***
      All sizes                               ***          ***           ***            ***           ***
                                                         Share of value (percent)
 U.S. importers' U.S. shipments
 from all import sources.--
   Crib                                       ***          ***           ***            ***           ***
    All other mattresses                      ***          ***           ***            ***           ***
      All sizes                               ***          ***           ***            ***           ***
Note.--Shares and ratios shown as "0.0" represent values greater than zero, but less than "0.05" percent.
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Source: Compiled from data submitted in response to Commission questionnaires.
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                                   APPENDIXG

         PRICEANDPURCHASECOSTDATAEXCLUDINGU.S.PRODUCER***
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                                   Appx15221
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        Inthepreliminaryphaseoftheseinvestigations,theCommissionfoundthatU.S.
producers***wererelatedparties.Inthisfinalphase,***providedatimelyresponsetothe
questionnairewithU.S.producerpricingdata.
        InitsU.S.producers’questionnaireinthisfinalphase,***provideddataonlyfor
product***.TableGͲ1andfigureGͲ1providepricedataforproduct***excludingthesedata
from***,correspondingtotableVͲ***andfigureVͲ***.TableGͲ2andfigureGͲ2provideU.S.
priceandcostforproduct***excludingthedatafrom***,correspondingtotableVͲ***and
figureVͲ***.FigureGͲ3correspondstofigureVͲ***andshowspriceandcostdataforU.S.
producers(excluding***)andimporters.
        TableVͲ18showspricetrendsforthevariouspricingproductsbycountry.Withthe
removalof***fromtheproducerpricingdata,theprice***forU.S.product***wouldbe***
percent.TherangeofU.S.pricesforproduct***wouldbefromaminimumof$***tothe***
maximumof$***.
        TablesGͲ3andGͲ4correspondtotablesVͲ20andVͲ21,presentingunderselling/
(overselling)marginsforprices(tableGͲ3)andpriceͲcostdifferencesinstancesforU.S.prices
andcosts(tableGͲ4),withdataforU.S.producer***excluded.
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                                                GͲ3
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                                          Appx15223
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Table G-1
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product ***
(excluding U.S. producer data from ***) and margins of underselling/(overselling), by quarter,
January 2017-September 2020
                  United States                 Cambodia                             China
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per       Quantity      Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
Note: Product ***.

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Table G-1--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product ***
(excluding U.S. producer data from ***) and margins of underselling/(overselling), by quarter,
January 2017-September 2020
                  United States                 Indonesia                           Malaysia
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per       Quantity      Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
Note: Product ***.

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                                              Appx15225
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Table G-1--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product ***
(excluding U.S. producer data from ***) and margins of underselling/(overselling), by quarter,
January 2017-September 2020
                  United States                   Serbia                            Thailand
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per       Quantity      Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
Note: Product ***.

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                                              Appx15226
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Table G-1--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product ***
(excluding U.S. producer data from ***) and margins of underselling/(overselling), by quarter,
January 2017-September 2020
                  United States                  Turkey                             Vietnam
                 Price                      Price                                   Price
                 ($ per       Quantity      ($ per        Quantity      Margin      ($ per       Quantity      Margin
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)   mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***         ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***         ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***         ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***         ***            ***         ***
Note: Product ***.

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                                                       GͲ7
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                                              Appx15227
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Table G-1--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic and imported product ***
(excluding U.S. producer data from ***) and margins of underselling/(overselling), by quarter,
January 2017-September 2020
                       United States                           All subject countries
                      Price            Quantity                      Price           Quantity            Margin
   Period        ($ per mattress)    (mattresses)              ($ per mattress)    (mattresses)         (percent)
 2017:
 Jan.-Mar.                     ***                  ***                      ***                  ***               ***
 Apr.-June                     ***                  ***                      ***                  ***               ***
 July-Sept.                    ***                  ***                      ***                  ***               ***
 Oct.-Dec.                     ***                  ***                      ***                  ***               ***
 2018:
 Jan.-Mar.                     ***                  ***                      ***                  ***               ***
 Apr.-June                     ***                  ***                      ***                  ***               ***
 July-Sept.                    ***                  ***                      ***                  ***               ***
 Oct.-Dec.                     ***                  ***                      ***                  ***               ***
 2019:
 Jan.-Mar.                     ***                  ***                      ***                  ***               ***
 Apr.-June                     ***                  ***                      ***                  ***               ***
 July-Sept.                    ***                  ***                      ***                  ***               ***
 Oct.-Dec.                     ***                  ***                      ***                  ***               ***
 2020:
 Jan.-Mar.                     ***                  ***                      ***                  ***               ***
 Apr.-June                     ***                  ***                      ***                  ***               ***
 July-Sept.                    ***                  ***                      ***                  ***               ***
Note: Product ***.

Source: Compiled from data submitted in response to Commission questionnaires.




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                                             Appx15228
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Figure G-1
Mattresses: Weighted-average prices and quantities of domestic and imported product ***, by
quarter, January 2017-September 2020

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Product ***.

Source: Compiled from data submitted in response to Commission questionnaires.


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                                           Appx15229
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Table G-2
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product *** excluding ***,
landed duty-paid costs and quantities of imported product ***, and price-cost differentials, by
quarter, January 2017-September 2020
                  United States                 Cambodia                             China
                                                                       Price-cost                              Price-cost
                 Price                     LDP cost                      differ-    LDP cost                     differ-
                 ($ per       Quantity      ($ per        Quantity       ential      ($ per       Quantity       ential
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)    mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
Note: Product ***

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                                              Appx15230
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Table G-2--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product *** excluding ***,
landed duty-paid costs and quantities of imported product ***, and price-cost differentials, by
quarter, January 2017-September 2020
                  United States                 Indonesia                           Malaysia
                                                                       Price-cost                              Price-cost
                 Price                     LDP cost                      differ-    LDP cost                     differ-
                 ($ per       Quantity      ($ per        Quantity       ential      ($ per       Quantity       ential
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)    mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
Note: Product ***.

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                                              Appx15231
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Table G-2--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product *** excluding ***,
landed duty-paid costs and quantities of imported product ***, and price-cost differentials, by
quarter, January 2017-September 2020
                  United States                 Thailand                             Turkey
                                                                       Price-cost                              Price-cost
                 Price                     LDP cost                      differ-    LDP cost                     differ-
                 ($ per       Quantity      ($ per        Quantity       ential      ($ per       Quantity       ential
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)    mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
Note: Product ***.

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                                              Appx15232
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Table G-2--Continued
Mattresses: Weighted-average f.o.b. prices and quantities of domestic product *** excluding ***,
landed duty-paid costs and quantities of imported product ***, and price-cost differentials, by
quarter, January 2017-September 2020
                  United States                  Vietnam                     All subject countries
                                                                       Price-cost                              Price-cost
                 Price                     LDP cost                      differ-    LDP cost                     differ-
                 ($ per       Quantity      ($ per        Quantity       ential      ($ per       Quantity       ential
   Period       mattress)   (mattresses)   mattress)    (mattresses)   (percent)    mattress)   (mattresses)   (percent)
 2017:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2018:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2019:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
 Oct.-Dec.            ***            ***         ***             ***         ***          ***            ***         ***
 2020:
 Jan.-Mar.            ***            ***         ***             ***         ***          ***            ***         ***
 Apr.-June            ***            ***         ***             ***         ***          ***            ***         ***
 July-Sept.           ***            ***         ***             ***         ***          ***            ***         ***
Note: Product ***.

Source: Compiled from data submitted in response to Commission questionnaires.
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                                              Appx15233
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Figure G-2
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product ***, by quarter, January 2017-September 2020

                     *        *        *        *       *        *        *




Product ***

Source: Compiled from data submitted in response to Commission questionnaires.


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                                           Appx15234
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Figure G-3
Mattresses: Weighted-average prices, landed duty-paid costs, and quantities of domestic and
imported product ***, excluding data from U.S. producer ***, by quarter, January 2017-September
2020

                     *        *        *        *       *        *        *




Product ***.

Source: Compiled from data submitted in response to Commission questionnaires.


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                                           Appx15235
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Table G-3
Mattresses: Instances of underselling/(overselling) and the range and average of margins, by
country, January 2017-September 2020, excluding data for U.S. producer ***
                                                              Underselling
          Source                                                Average       Margin range (percent)
                              Number of        Quantity
                                                                margin
                               quarters      (mattresses)                      Min             Max
                                                               (percent)
         Cambodia                      ***              ***             ***          ***               ***
           China                       ***              ***             ***          ***               ***
         Indonesia                     ***              ***             ***          ***               ***
         Malaysia                      ***              ***             ***          ***               ***
          Serbia                       ***              ***             ***          ***               ***
          Thailand                     ***              ***             ***          ***               ***
          Turkey                       ***              ***             ***          ***               ***
          Vietnam                      ***              ***             ***          ***               ***
           Total                       ***              ***             ***          ***               ***
                                                              (Overselling)
          Source                                                Average       Margin range (percent)
                              Number of       Quantity1
                                                                margin
                               quarters      (mattresses)                      Min             Max
                                                               (percent)
         Cambodia                      ***              ***             ***          ***               ***
           China                       ***              ***             ***          ***               ***
         Indonesia                     ***              ***             ***          ***               ***
         Malaysia                      ***              ***             ***          ***               ***
          Serbia                       ***              ***             ***          ***               ***
          Thailand                     ***              ***             ***          ***               ***
          Turkey                       ***              ***             ***          ***               ***
          Vietnam                      ***              ***             ***          ***               ***
           Total                        ***             ***            ***           ***               ***
Note: These data include only quarters in which there is a comparison between the U.S. and subject
product.

Source: Compiled from data submitted in response to Commission questionnaires.




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                                             Appx15236
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Table G-4
Mattresses: Comparisons of import purchase costs and U.S.-producer sales prices, by country,
January 2017-September 2020, excluding data for U.S. producer ***
                                     Import purchase cost lower than U.S. sales price
                                                         Average     Price-cost difference range
         Source           Number of       Quantity      price-cost            (percent)
                           quarters     (mattresses)    difference
                                                                         Min            Max
                                                        (percent)
        Cambodia                   ***            ***            ***           ***            ***
          China                        ***             ***            ***            ***             ***
         Indonesia                     ***             ***            ***            ***             ***
         Malaysia                      ***             ***            ***            ***             ***
          Serbia                       ***             ***            ***            ***             ***
         Thailand                      ***             ***            ***            ***             ***
          Turkey                       ***             ***            ***            ***             ***
         Vietnam                       ***             ***            ***            ***             ***
           Total                      ***           ***           ***             ***           ***
                                      (Import purchase cost higher than U.S. sales price)
                                                          Average      Price-cost difference range
          Source             Number of      Quantity     price-cost              (percent)
                              quarters    (mattresses)   difference
                                                                           Min             Max
                                                          (percent)
         Cambodia                      ***             ***            ***            ***             ***
          China                        ***             ***            ***            ***             ***
         Indonesia                     ***             ***            ***            ***             ***
         Malaysia                      ***             ***            ***            ***             ***
          Serbia                       ***             ***            ***            ***             ***
         Thailand                      ***             ***            ***            ***             ***
          Turkey                       ***             ***            ***            ***             ***
         Vietnam                       ***             ***            ***            ***             ***
          Total                         ***             ***            ***           ***             ***
Note: These data include only quarters in which there is a comparison between the U.S. and subject
product

Source:CompiledfromdatasubmittedinresponsetoCommissionquestionnaires.




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